           Case: 25-1812       Document: 148        Page: 1     Filed: 07/20/2025

                                Nos. 2025-1812, -1813

              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FEDERAL CIRCUIT

  V.O.S. SELECTIONS, INC., PLASTIC SERVICES AND PRODUCTS, LLC, dba Genova Pipe,
           MICROKITS, LLC, FISHUSA INC., TERRY PRECISION CYCLING LLC,
                                                   Plaintiffs-Appellees,
                                             v.
 DONALD J. TRUMP, in his official capacity as President of the United States, EXECUTIVE
  OFFICE OF THE PRESIDENT, UNITED STATES, RODNEY S. SCOTT, Commissioner for
  United States Customs and Border Protection, in his official capacity as Commissioner for
 United States Customs and Border Protection, JAMIESON GREER, in his official capacity as
      United States Trade Representative, OFFICE OF THE UNITED STATES TRADE
  REPRESENTATIVE, HOWARD LUTNICK, UNITED STATES CUSTOMS AND BORDER
                                     PROTECTION,
                                                   Defendants-Appellants.


  THE STATE OF OREGON, THE STATE OF ARIZONA, THE STATE OF COLORADO, THE
 STATE OF CONNECTICUT, THE STATE OF DELAWARE, THE STATE OF ILLINOIS, THE
STATE OF MAINE, THE STATE OF MINNESOTA, THE STATE OF NEVADA, THE STATE OF
        NEW MEXICO, THE STATE OF NEW YORK, THE STATE OF VERMONT,
                                                   Plaintiffs-Appellees,
                                             v.
   PRESIDENT DONALD J. TRUMP, UNITED STATES DEPARTMENT OF HOMELAND
SECURITY, KRISTI NOEM, Secretary of Homeland Security, in her official capacity as Secretary
    of the Department of Homeland Security, UNITED STATES CUSTOMS AND BORDER
PROTECTION, RODNEY S. SCOTT, Commissioner for United States Customs and Border Pro-
   tection, in his official capacity as Commissioner for U.S. Customs and Border Protection,
                                         UNITED STATES,
                                                   Defendants-Appellants.


       On Appeal from the United States Court of International Trade
           Nos. 25-66, -77, Judges Katzmann, Reif, and Restani

                                 JOINT APPENDIX

                                                  BRETT A. SHUMATE
                                                    Assistant Attorney General

                                                    Signature block continued
                                                    on inside cover
Case: 25-1812   Document: 148     Page: 2   Filed: 07/20/2025




                                MICHAEL S. RAAB
                                BRAD HINSHELWOOD
                                DANIEL WINIK
                                SOPHIA SHAMS
                                  Attorneys, Appellate Staff
                                  Civil Division, Room 7245
                                  U.S. Department of Justice
                                  950 Pennsylvania Avenue NW
                                  Washington, DC 20530
                                  (202) 305-8849
              Case: 25-1812           Document: 148          Page: 3       Filed: 07/20/2025




                                     TABLE OF CONTENTS

Court of International Trade Opinion....................................................... Appx1

Court of International Trade Judgment .................................................. Appx59

Court of International Trade Order on Stay Motions ........................... Appx62

VOS v. United States Docket, No. 25-cv-66 ............................................. Appx67

Oregon v. DHS Docket, No. 25-cv-77 ....................................................... Appx85

Complaint, V.O.S. Dkt. 2 ......................................................................... Appx102

Exhibits to Motion for a Preliminary Injunction or Summary
  Judgment, V.O.S. Dkt. 10 ................................................................... Appx127

Exhibits to Reply in Support of Motion for a Preliminary
  Injunction or Summary Judgment, V.O.S. Dkt. 35......................... Appx154

Notice of Appeal, V.O.S. Dkt. 57 ........................................................... Appx162

Complaint, Oregon Dkt. 2 ........................................................................ Appx165

Selected Exhibits to Motion for a Preliminary Injunction,
   Oregon Dkt. 14 ...................................................................................... Appx203

Exhibit to Reply in Support of Summary Judgment,
  Oregon Dkt. 47 ...................................................................................... Appx434

Additional Exhibits to Response in Opposition to Motion
  for a Preliminary Injunction or Summary Judgment,
  V.O.S. Dkt. 53 ....................................................................................... Appx445

Notice of Appeal, Oregon Dkt. 67 .......................................................... Appx469

Exhibit to Response to Motion for a Stay Pending Appeal,
  Oregon Dkt. 72 ...................................................................................... Appx472
           Case: 25-1812     Document: 148     Page: 4     Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR         Document 55       Filed 05/28/25   Page 1 of 49




                                    Slip Op. 25-66

             UNITED STATES COURT OF INTERNATIONAL TRADE


V.O.S. SELECTIONS, INC.; PLASTIC
SERVICES AND PRODUCTS, LLC d/b/a
GENOVA PIPE; MICROKITS, LLC;
FISHUSA INC.; and TERRY PRECISION
CYCLING LLC;

             Plaintiffs,

      v.
                                             Before: Gary S. Katzmann, Judge
THE UNITED STATES OF AMERICA;
                                                     Timothy M. Reif, Judge
UNITED STATES CUSTOMS AND
                                                     Jane A. Restani, Judge
BORDER PROTECTION; PETE R.
FLORES in his official capacity as Acting
                                             Court No. 25-00066
Commissioner for United States Customs
and Border Protection; JAMIESON
GREER, in his official capacity as United
States Trade Representative; OFFICE OF
THE UNITED STATES TRADE
REPRESENTATIVE; and HOWARD
LUTNICK, in his official capacity as
Secretary of Commerce;

             Defendants.



THE STATE OF OREGON; THE STATE
OF ARIZONA; THE STATE OF
COLORADO; THE STATE OF
CONNECTICUT; THE STATE OF
                                             Before: Gary S. Katzmann, Judge
DELAWARE; THE STATE OF ILLINOIS,
                                                     Timothy M. Reif, Judge
THE STATE OF MAINE; THE STATE OF
                                                     Jane A. Restani, Judge
MINNESOTA; THE STATE OF NEVADA;
THE STATE OF NEW MEXICO; THE
STATE OF NEW YORK; and THE STATE
                                             Court No. 25-00077
OF VERMONT;

             Plaintiffs,

      v.

                                     - Appx1 -
              Case: 25-1812        Document: 148        Page: 5      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR               Document 55        Filed 05/28/25       Page 2 of 49




Court Nos. 25-00066 & 25-00077                                                               Page 2


 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY; KRISTI NOEM,
 in her official capacity as Secretary of the
 Department of Homeland Security; U.S.
 CUSTOMS AND BORDER PROTECTION;
 PETE R. FLORES in his official capacity as
 Acting Commissioner for United States
 Customs and Border Protection; and THE
 UNITED STATES OF AMERICA;

                Defendants.



                                            OPINION

[ The court grants Plaintiffs’ Motions for Summary Judgment and denies Plaintiffs’ Motions for
Preliminary Injunction as moot. ]

                                                                              Dated: May 28, 2025

Jeffrey M. Schwab, Liberty Justice Center, of Austin, Tex., argued for Plaintiffs V.O.S. Selections,
Inc; Plastic Services and Products, LLC d/b/a Genova Pipe; MicroKits, LLC; FishUSA Inc.; and
Terry Precision Cycling LLC. With him on the briefs were Reilly Stephens, James McQuaid,
Bridget F. Conlan, and Ilya Somin, Antonin Scalia Law School, George Mason University, of
Arlington, Vir.

Brian Simmonds Marshall, Senior Assistant Attorney General, Oregon Department of Justice, of
Portland, Or., argued for Plaintiffs The State of Oregon, The State of Arizona, The State of
Colorado, The State of Connecticut, The State of Delaware, The State of Illinois, The State of
Maine, The State of Minnesota, The State of Nevada, The State of New Mexico, The State of New
York, and The State of Vermont. With him on the briefs were Dan Rayfield, Attorney General of
State of Oregon, Benjamin Gutman, Solicitor General, Dustin Buehler, Special Counsel,
Christopher A. Perdue, Leigh Salmon, and Nina R. Englander, Senior Assistant Attorneys General,
YoungWoo Joh and Alexander C. Jones, Assistant Attorneys General, of the State of Oregon;
Kristin K. Mayes, Attorney General of the State of Arizona, Joshua D. Bendor, Solicitor General,
Syreeta A. Tyrell, Senior Litigation Counsel, of the State of Arizona; Keith Ellison, Attorney
General of the State of Minnesota and Peter J. Farrell, Deputy Solicitor General of the State of
Minnesota; Philip J. Weiser, Attorney General of the State of Colorado and Sarah H. Weiss, Senior
Assistant Attorney General of the State of Colorado; William Tong, Attorney General of the State
of Connecticut, and Michael K. Skold, Solicitor General of the State of Connecticut; Kathleen
Jennings, Attorney General of the State of Delaware, and Ian R. Liston, Director of Impact
Litigation, Vanessa L. Kassab, Deputy Attorney General of the Delaware Department of Justice;
Aaron D. Ford, Attorney General of the State of Nevada, and Heidi Parry Stern, Solicitor General
                                             - Appx2 -
              Case: 25-1812        Document: 148       Page: 6     Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR              Document 55        Filed 05/28/25      Page 3 of 49




Court Nos. 25-00066 & 25-00077                                                             Page 3

of the Office of the Nevada Attorney General; Raúl Torrez, Attorney General of the State of New
Mexico, James W. Grayson, Chief Deputy Attorney General, and Amy Senier, of the New Mexico
Department of Justice; Letitia James, Attorney General of the State of New York, Rabia
Muqaddam, Special Counsel for Federal Initiatives, and Mark Ladov, Special Counsel, of the State
of New York; Kwame Raoul, Attorney General of the State of Illinois, Cara Hendrickson,
Assistant Chief Deputy Attorney General, and Gretchen Helfrich, Deputy Chief, Special Litigation
Bureau of the Office of the Illinois Attorney General; Aaron M. Frey, Attorney General of the
State of Maine, and Vivian A. Mikhail, Deputy Attorney General, of the State of Maine; and
Charity R. Clark, Attorney General of the State of Vermont, and Ryan P. Kane, Deputy Solicitor
General of the State of Vermont.

Eric J. Hamilton, Deputy Assistant Attorney General, U.S. Department of State, of Washington,
D.C., argued for Defendants The United States Of America; U.S. Customs and Border Protection;
Pete R. Flores in his official capacity as Acting Commissioner for U.S. Customs and Border
Protection; Jamieson Greer, in his official capacity as United States Trade Representative; Office
of the United States Trade Representative; and Howard Lutnick, in his official capacity as
Secretary of Commerce. With him on the briefs were Yaakov M. Roth, Acting Assistant Attorney
General, Patricia M. McCarthy, Director, Claudia Burke, Deputy Director, Justin R. Miller,
Attorney-in-Charge, International Trade Office, and Sosun Bae, Senior Trial Counsel. Of counsel,
Alexander K. Haas, Director, and Stephen M. Elliott, Assistant Director, U.S. Department of
Justice, Civil Division, Federal Programs Branch, of Washington D.C; and Luke Mathers and
Blake W. Cowman, Trial Attorneys, U.S. Department of Justice Civil Division, Commercial
Litigation Branch, of Washington, D.C.

Brett A. Shumate, Deputy Assistant Attorney General, Civil Division, U.S. Department of Justice,
of Washington, D.C., argued for Defendants U.S. Department of Homeland Security; Kristi Noem,
in her official capacity as Secretary of the Department of Homeland Security; U.S. Customs and
Border Protection; Pete R. Flores in his official capacity as Acting Commissioner for U.S. Customs
and Border Protection; and the United States. With him on the briefs were Yaakov M. Roth,
Acting Assistant Attorney General, Eric J. Hamilton, Deputy Assistant Attorney General, Patricia
M. McCarthy, Director, Claudia Burke, Deputy Director, Justin R. Miller, Attorney-in-Charge,
International Trade Office, Sosun Bae, Senior Trial Counsel, Luke Mathers, Catherine M. Yang,
Blake W. Cowman, and Collin T. Mathias, trial attorneys. Of counsel, Alexander K. Haas,
Director, and Stephen M. Elliott, Assistant Director, U.S. Department of Justice, Civil Division,
Federal Programs Branch, of Washington D.C.

       Per Curiam: The Constitution assigns Congress the exclusive powers to “lay and collect

Taxes, Duties, Imposts and Excises,” and to “regulate Commerce with foreign Nations.” U.S.

Const. art. I, § 8, cls. 1, 3. The question in the two cases before the court is whether the

International Emergency Economic Powers Act of 1977 (“IEEPA”) delegates these powers to the

President in the form of authority to impose unlimited tariffs on goods from nearly every country
                                            - Appx3 -
               Case: 25-1812        Document: 148         Page: 7     Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR                Document 55         Filed 05/28/25      Page 4 of 49




Court Nos. 25-00066 & 25-00077                                                                Page 4

in the world. The court does not read IEEPA to confer such unbounded authority and sets aside

the challenged tariffs imposed thereunder.

                                         BACKGROUND

       I.      Legal Background

               A.      The Constitution

       While “Congress . . . may not transfer to another branch powers which are strictly and

exclusively legislative . . . Congress . . . may confer substantial discretion . . . to implement and

enforce the laws.” Gundy v. United States, 588 U.S. 128, 135 (2019) (internal quotation marks

and citation omitted). Thus, courts have consistently upheld statutory delegations as long as

Congress “lay[s] down by legislative act an intelligible principle to which the person or body

authorized to [exercise that authority] is directed to conform.” Mistretta v. United States, 488 U.S.

361, 372 (1989) (quoting J.W. Hampton, Jr., & Co. v. United States, 276 U.S. 394, 409 (1928)).

This reflects the idea that in modern government, “[t]he legislative process would frequently bog

down if Congress were constitutionally required to appraise before-hand the myriad situations to

which it wishes a particular policy to be applied and to formulate specific rules for each situation.”

American Power & Light Co. v. SEC, 329 U.S. 90, 105 (1946).

               B.      Tariffs

       Early in the nation’s history, tariffs were a key means by which the federal government

raised money to pay wages and to fund the national debt. See John M. Dobson, Two Centuries of

Tariffs: The Background and Emergence of the U.S. International Trade Commission 6 (U.S. Int’l

Trade Comm’n 1976). The revenue-raising purpose of tariffs has declined significantly since the

ratification of the Sixteenth Amendment in 1913 permitted the imposition of income taxes. See

id. at 1, 70. Since then, and with the increasing complexity and interconnectedness of the global
                                              - Appx4 -
               Case: 25-1812        Document: 148        Page: 8      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR                Document 55         Filed 05/28/25      Page 5 of 49




Court Nos. 25-00066 & 25-00077                                                                Page 5

economic landscape, tariffs have served more diverse purposes including restricting the

importation of certain goods, protecting American industry, and leveraging negotiations with

foreign counterparts. See, e.g., id. at 80 (describing the use of tariffs to restrict Japanese textile

imports).

       As global economic relations grew in volume and complexity, Congress saw a need for

specialized, nonpartisan assistance in administering tariffs. See id. at 87. Congress accordingly

passed legislation creating the United States Tariff Commission, later renamed the United States

International Trade Commission (“ITC”).         See id.; Revenue Act of 1916, Pub. L. 64-271,

§§ 700–09, 39 Stat. 756, 795–98. To provide this assistance, the Commission “shall have the

power to investigate the tariff relations between the United States and foreign countries,

commercial treaties, . . . the volume of importations compared with domestic production and

consumption, and conditions, causes, and effects relating to competition of foreign industries with

those of the United States.” 19 U.S.C. § 1332. The ITC is responsible for maintaining the United

States Harmonized Tariff Schedule (“HTSUS”), which sets tariff rates for all merchandise

imported into the United States. See id. § 1202. The HTSUS itself “is indeed a statute but is not

published physically in the United States Code.” Libas, Ltd. v. United States, 193 F.3d 1361, 1364

(Fed. Cir. 1999). Congress’s enactment of the HTSUS provided that its terms “shall be considered

to be statutory provisions of law for all purposes.” Omnibus Trade and Competitiveness Act of

1988, Pub. L. No. 100-418, § 1204(c)(1), 102 Stat. 1107, 1149.

       In addition to forming the ITC, Congress has responded to the growing complexity of

global economic relations by delegating trade authority to the President. These delegations have

included clear limitations that retain legislative power over the imposition of duties and over

                                              - Appx5 -
                 Case: 25-1812      Document: 148         Page: 9     Filed: 07/20/2025




Case 1:25-cv-00066-GSK-TMR-JAR                Document 55         Filed 05/28/25      Page 6 of 49




Court Nos. 25-00066 & 25-00077                                                                Page 6

foreign commerce. See, e.g., Norwegian Nitrogen Prods. Co. v. United States, 288 U.S. 294, 305

(1933) (“What is done by the Tariff Commission and the President in changing the tariff rates to

conform to new conditions is in substance a delegation, though a permissible one, of the legislative

process.”).

       For example, in 1962, Congress delegated to the President the power to take action to adjust

imports when the Secretary of Commerce finds that an “article is being imported into the United

States in such quantities or under such circumstances as to threaten to impair the national security.”

Trade Expansion Act of 1962, Pub. L. No. 87-794, § 232(b), 76 Stat. 872, 877 (codified as

amended at 19 U.S.C. § 1862(c)(1)(A)). This delegation is conditioned upon an investigation and

findings by the Secretary of Commerce, and agreement by the President. See id. Section 301 of

the Trade Act of 1974, as amended, requires that the U.S. Trade Representative (“USTR”) take

action, which may include imposing tariffs, where “the rights of the United States under any trade

agreement are being denied” or “an act, policy, or practice of a foreign country” is “unjustifiable

and burdens or restricts United States commerce.” 19 U.S.C. § 2411(a)(1)(A)–(B). The USTR

may impose duties also where the USTR determines that “an act, policy, or practice of a foreign

country is unreasonable or discriminatory and burdens or restricts United States commerce.” Id.

§ 2411(b)(1). This power is conditioned on extensive procedural requirements including an

investigation that culminates in an affirmative finding that another country imposed unfair trade

barriers under § 2411(a)(1)(A) or (B) or § 2411(b), and a public notice and comment period. See

id. § 2414(b).




                                              - Appx6 -
              Case: 25-1812        Document: 148        Page: 10     Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55        Filed 05/28/25       Page 7 of 49




Court Nos. 25-00066 & 25-00077                                                               Page 7

               C.      Presidential Authority to Regulate Importation During National
                       Emergencies

       In 1917, Congress passed the Trading with the Enemy Act (“TWEA”) to grant the President

powers to regulate international transactions with enemy powers following the entry of the United

States into World War I. See Trading with the Enemy Act, Pub. L. No. 65-91, § 2, 40 Stat. 411

(1917) (codified as amended at 50 U.S.C. §§ 4301 to 4341); see also Christopher A. Casey

& Jennifer K. Elsea, Cong. Rsch. Serv., R45168, The International Emergency Economic Powers

Act: Origins, Evolution, and Use 2–3 (2024). The Great Depression then led Congress to expand

the President’s authority under TWEA to declare states of emergency and exercise authority over

international trade even outside times of war.           See Emergency Banking Relief Act,

Pub. L. No. 73-1, § 2, 48 Stat. 1, 1–2 (1933) (amending TWEA). TWEA, as amended, grants the

President the broad authority to “regulate . . . importation or exportation of . . . any property in

which any foreign country or a national thereof has any interest.” 50 U.S.C. § 4305(b)(1)(B).

       In 1974, the United States Customs Court, the predecessor to the United States Court of

International Trade, heard a challenge to President Nixon’s imposition of a supplemental duty on

all dutiable merchandise imported into the United States. See Yoshida Int’l, Inc. v. United States,

378 F. Supp. 1155 (1974) (“Yoshida I”); see also Proclamation No. 4074, Imposition of

Supplemental Duty for Balance of Payments Purpose, 85 Stat. 926 (Aug. 15, 1971). The

Government argued that President Nixon’s actions were lawfully authorized by TWEA. Yoshida

I, 378 F. Supp. at 1157. The U.S. Customs Court construed TWEA “so as to preserve its

constitutionality” and held that TWEA “precludes the President from laying the supplemental

duties provided by [President Nixon].” Id. at 1173. The United States Court of Customs and

Patent Appeals, the predecessor to the United States Court of Appeals for the Federal Circuit

                                             - Appx7 -
                Case: 25-1812        Document: 148        Page: 11      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR                 Document 55        Filed 05/28/25       Page 8 of 49




Court Nos. 25-00066 & 25-00077                                                                 Page 8

(“Federal Circuit”), reversed the lower court’s decision, holding that President Nixon’s duties were

“within the power constitutionally delegated to him.” United States v. Yoshida Int’l. Inc., 526

F.2d 560, 584 (C.C.P.A. 1975) (“Yoshida II”). The court reasoned that “Congress, in enacting

[TWEA], authorized the President, during an emergency, to exercise the delegated substantive

power, i.e., to ‘regulate importation,’ by imposing an import duty surcharge or by other means

appropriately and reasonably related . . . to the particular nature of the emergency declared.” Id.

at 576.

          Shortly after this decision and following a review by a Senate bipartisan special committee,

Congress reformed the President’s emergency powers. As part of this reform, Congress cabined

the President’s powers under TWEA to wartime. See Amendments to the Trading with the Enemy

Act, Pub. L. No. 95-223, § 101–03, 91 Stat. 1625, 1625–26 (1977) (“[TWEA] is amended by

striking out ‘or during any other period of national emergency declared by the President’ in the

text preceding subparagraph (A).”). Congress also enacted a new statute, IEEPA, to confer “upon

the President a new set of authorities for use in time of national emergency which are both more

limited in scope than those of [TWEA] and subject to more procedural limitations, including those

of the National Emergencies Act.” Comm. on Int’l Rels., Trading with the Enemy Act Reform

Legislation, H.R. Rep. No. 95-459, at 2 (1977); see also International Emergency Economic

Powers Act, Pub. L. No. 95-223, § 201–08, 91 Stat. 1625, 1626–29 (1977) (codified as amended

at 50 U.S.C. §§ 1701–10). Congress drew much of the relevant language in IEEPA from TWEA,

including language authorizing the President to “regulate . . . importation . . . of . . . any property

in which any foreign country or a national thereof has any interest by any person . . . subject to the

jurisdiction of the United States . . . .” 50 U.S.C. § 1702(a)(1)(B). In full, the relevant provision

                                               - Appx8 -
             Case: 25-1812         Document: 148        Page: 12      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55         Filed 05/28/25       Page 9 of 49




Court Nos. 25-00066 & 25-00077                                                                   Page 9

of IEEPA provides that the President may:

       (A) investigate, regulate, or prohibit—

           (i) any transactions in foreign exchange,

           (ii) transfers of credit or payments between, by, through, or to any banking
           institution, to the extent that such transfers or payments involve any interest of
           any foreign country or a national thereof,

           (ii) the importing or exporting of currency or securities, by any person, or with
           respect to any property, subject to the jurisdiction of the United States;

       (B) investigate, block during the pendency of an investigation, regulate, direct and
       compel, nullify, void, prevent or prohibit, any acquisition, holding, withholding,
       use, transfer, withdrawal, transportation, importation or exportation of, or dealing
       in, or exercising any right, power, or privilege with respect to, or transactions
       involving, any property in which any foreign country or a national thereof has any
       interest by any person, or with respect to any property, subject to the jurisdiction of
       the United States . . . .

Id. § 1702. IEEPA further provides that these authorities “may only be exercised to deal with an

unusual and extraordinary threat with respect to which a national emergency has been declared for

purposes of this chapter and may not be exercised for any other purpose.” Id. § 1701(b).

              D.      The National Emergencies Act

       As part of Congress’s reform of the President’s emergency powers and in addition to

amending TWEA and enacting IEEPA, Congress enacted the National Emergencies Act (“NEA”)

in 1976. See National Emergencies Act, Pub. L. No. 94-412, § 201, 90 Stat. 1255, 1255–56 (1976)

(codified as amended at 50 U.S.C. § 1622). That act provided for the termination of all existing

emergencies in 1978, except those making use of TWEA, and placed new restrictions on the

declaration of emergencies. Id. First, the NEA requires the President to transmit to Congress a

notification of the declaration of a national emergency. Id. Second, the act requires a biannual

review whereby “each House of Congress shall meet to consider a vote on a . . . resolution to

                                              - Appx9 -
              Case: 25-1812       Document: 148        Page: 13      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR              Document 55        Filed 05/28/25       Page 10 of 49




Court Nos. 25-00066 & 25-00077                                                            Page 10

determine whether that emergency shall be terminated.” Id. At the time of its enactment in 1976,

the NEA afforded Congress the means to terminate a national emergency by adopting a concurrent

resolution in each chamber. See id. However, the Supreme Court later found Congress’s use of

unicameral legislative vetoes, which terminated executive determinations without presentment, to

be unconstitutional. See INS v. Chadha, 462 U.S. 919 (1983). Congress subsequently amended

the NEA to require a joint resolution rather than a concurrent resolution to align the statutory

scheme with the implicit logic of Chadha. See Foreign Relations Authorization Act, Fiscal Years

1986 and 1987, Pub. L. No. 99-93, § 801, 98 Stat. 405, 448 (1985) (codified as amended at 50

U.S.C. § 1622). Following Chadha, congressional action terminating a national emergency is still

subject to presidential veto, making congressional review no more than the ordinary power to

legislate.

        II.    Factual Background

        Since taking office on January 20, 2025, the President has declared several national

emergencies and imposed various tariffs in response. The President has subsequently issued a

number of pauses and modifications to those tariffs, as outlined in detail below.

               A.     Trafficking Tariffs

        On the date of his inauguration, the President issued Executive Order 14157, declaring a

national emergency under IEEPA to deal with the threats posed by international cartels that “have

engaged in a campaign of violence and terror throughout the Western Hemisphere that has not

only destabilized countries with significant importance for our national interests but also flooded

the United States with deadly drugs, violent criminals, and vicious gangs.” Executive Order

14157, Designating Cartels and Other Organizations as Foreign Terrorist Organizations and

Specially Designated Global Terrorists, 90 Fed. Reg. 8439, 8439 (Jan. 20, 2025). The President
                                            - Appx10 -
              Case: 25-1812        Document: 148        Page: 14      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR              Document 55         Filed 05/28/25      Page 11 of 49




Court Nos. 25-00066 & 25-00077                                                             Page 11

issued Proclamation 10886 on the same day, declaring a national emergency at the southern border

caused by “cartels, criminal gangs, known terrorists, human traffickers, smugglers, unvetted

military-age males from foreign adversaries, and illicit narcotics that harm Americans.”

Proclamation 10886, Declaring a National Emergency at the Southern Border of the United States,

90 Fed. Reg. 8327, 8327 (Jan. 20, 2025).

       Shortly thereafter, the President expanded the national emergency “to cover the threat to

the safety and security of Americans, including the public health crisis of deaths due to the use of

fentanyl and other illicit drugs, and the failure of Canada to do more to arrest, seize, detain, or

otherwise intercept [drug trafficking organizations], other drug and human traffickers, criminals

at large, and drugs.” Executive Order 14193, Imposing Duties to Address the Flow of Illicit Drugs

Across Our Northern Border, 90 Fed. Reg. 9113, 9114 (Feb. 1, 2025) (“Canada Tariff Order”).

Similarly, the President expanded the national emergency “to cover the failure of the [People’s

Republic of China] government to arrest, seize, detain, or otherwise intercept chemical precursor

suppliers, money launderers, other [transnational criminal organizations], criminals at large, and

drugs.” Executive Order 14195, Imposing Duties to Address the Synthetic Opioid Supply Chain

in the People’s Republic of China, 90 Fed. Reg. 9121, 9122 (Feb. 1, 2025) (“China Tariff Order”).

       In response to these emergencies, the President imposed 25 percent ad valorem duties on

articles that are products of Canada and Mexico, see Executive Order 14193, 90 Fed. Reg. at 9114;

Executive Order 14194, Imposing Duties to Address the Situation at Our Southern Border, 90 Fed.

Reg. 9117, 9118 (Feb. 1, 2025) (“Mexico Tariff Order”), and a 10 percent ad valorem duty on

articles that are the products of China, see Executive Order 14195, 90 Fed. Reg. at 9122. The

President imposed a lower 10 percent ad valorem rate on energy and energy resources from

                                             - Appx11 -
                Case: 25-1812       Document: 148       Page: 15     Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55       Filed 05/28/25      Page 12 of 49




Court Nos. 25-00066 & 25-00077                                                            Page 12

Canada. See Executive Order 14193, 90 Fed. Reg. at 9114. These duties were to take effect on

February 4, 2025. See id. The President later raised the trafficking tariffs on Chinese products

from 10 percent to 20 percent. See Executive Order 14228, Further Amendment to Duties

Addressing the Synthetic Opioid Supply Chain in the People’s Republic of China, 90 Fed. Reg.

11463, 11463 (Mar. 3, 2025).

          On February 3, shortly after imposing the trafficking tariffs, the President issued two

additional executive orders, finding that the governments of Mexico and Canada “ha[ve] taken

immediate steps designed to alleviate the illegal migration and illicit drug crisis through

cooperative actions.” Executive Order 14198, Progress on the Situation at Our Southern Border,

90 Fed. Reg. 9185, 9185 (Feb. 3, 2025); Executive Order 14197, Progress on the Situation at Our

Northern Border, 90 Fed. Reg. 9183, 9183 (Feb. 3, 2025). As a result, the President imposed a

pause on the 25 percent duties on Mexican and Canadian products and on the 10 percent duties on

Canadian energy and energy resources, moving the effective date of those duties to March 4, 2025.

See id.

          Since the trafficking tariffs took effect on February 4 for China and March 4 for Canada

and Mexico, the President has modified the rates further. The President lowered the duty rate for

potash 1 from Canada and Mexico to 10 percent. See Executive Order 14231, Amendment to

Duties To Address the Flow of Illicit Drugs Across Our Northern Border, 90 Fed. Reg. 11785,

11785 (Mar. 6, 2025); Executive Order 14232, Amendment to Duties To Address the Flow of



1
  Potash is a soluble source of potassium and is primarily used as an agricultural fertilizer. See
National Minerals Information Center, Potash Statistics and Information, U.S. Geological Service,
https://www.usgs.gov/centers/national-minerals-information-center/potash-statistics-and-
information (last visited May 28, 2025).

                                             - Appx12 -
              Case: 25-1812         Document: 148        Page: 16      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR               Document 55         Filed 05/28/25      Page 13 of 49




Court Nos. 25-00066 & 25-00077                                                              Page 13

Illicit Drugs Across Our Southern Border, 90 Fed. Reg. 11787, 11787 (Mar. 6, 2025).

Additionally, the President implemented duty-free de minimis treatment for otherwise eligible

covered articles. See Executive Order 14226, Amendment to Duties to Address the Flow of Illicit

Drugs Across Our Northern Border, 90 Fed. Reg. 11369, 11369 (Mar. 2, 2025); Executive Order

14227, Amendment to Duties to Address the Situation at Our Southern Border, 90 Fed. Reg.

11371, 11371 (Mar. 2, 2025); Executive Order 14200, Amendment to Duties Addressing the

Synthetic Opioid Supply Chain in the People’s Republic of China, 90 Fed. Reg. 9277, 9277 (Feb.

5, 2025). The President later removed this duty-free de minimis treatment for Chinese products.

See Executive Order 14256, Further Amendment to Duties Addressing the Synthetic Opioid

Supply Chain in the People’s Republic of China as Applied to Low-Value Imports, 90 Fed. Reg.

14899, 14899 (Apr. 2, 2025).

       Currently, the trafficking tariffs all remain in place, set at 25 percent for Mexican and

Canadian products and at 20 percent for Chinese products. The tariffs on Canadian energy and

energy resources remain at the lower 10 percent rate.           All of these tariffs, including the

modifications listed here, are hereafter referred to as the “Trafficking Tariffs.”

               B.      Worldwide and Retaliatory Tariffs

       On April 2, 2025, the President issued Executive Order 14257, invoking IEEPA to impose

a general 10 percent ad valorem duty on “all imports from all trading partners,” which “shall

increase for” a list of 57 countries to higher rates ranging from 11 percent to as high as 50 percent

ad valorem. Executive Order 14257, Regulating Imports With a Reciprocal Tariff to Rectify Trade

Practices That Contribute to Large and Persistent Annual United States Goods Trade Deficits, 90

Fed. Reg. 15041, 15045 (Apr. 2, 2025). The President imposed these tariffs in response to a

national emergency with respect to “underlying conditions, including a lack of reciprocity in our
                                              - Appx13 -
              Case: 25-1812         Document: 148         Page: 17       Filed: 07/20/2025




Case 1:25-cv-00066-GSK-TMR-JAR                Document 55          Filed 05/28/25       Page 14 of 49




Court Nos. 25-00066 & 25-00077                                                                  Page 14

bilateral trade relationships, disparate tariff rates and non-tariff barriers, and U.S. trading partners’

economic policies that suppress domestic wages and consumption, as indicated by large and

persistent annual U.S. goods trade deficits.” Id. at 15041. The President stated that these “large

and persistent annual U.S. goods trade deficits” constitute an “unusual and extraordinary threat to

the national security and economy of the United States,” having “its source in whole or substantial

part outside the United States in the domestic economic policies of key trading partners and

structural imbalances in the global trading system.” Id. On April 9, 2025, the President issued

another Executive Order that paused, for all countries but China, the implementation of the higher

country-specific tariffs for 90 days, moving their effective date to July 9, 2025. See Executive

Order 14266, Modifying Reciprocal Tariff Rates to Reflect Trading Partner Retaliation and

Alignment, 90 Fed. Reg. 15625, 15626 (Apr. 9, 2025).

        As China responded to the various country-specific tariff adjustments by adjusting its own

tariff rates on U.S. goods, the President has amended the duty rate on Chinese goods several times

in retaliation. The President first increased the China-specific duty rate from 34 to 84 percent

effective April 8, see Executive Order 14259, Amendment to Reciprocal Tariffs and Updated

Duties as Applied to Low-Value Imports From the People’s Republic of China, 90 Fed. Reg.

15509, 15509 (Apr. 8, 2025), and then from 84 to 125 percent effective April 10, 2025, see

Executive Order 14266, 90 Fed. Reg. at 15626.

        Currently, the worldwide tariffs remain in place at 10 percent for all countries, while the

country-specific higher rates are set to take effect on July 9, 2025. The China-specific rate is now




                                               - Appx14 -
              Case: 25-1812        Document: 148        Page: 18      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR              Document 55         Filed 05/28/25       Page 15 of 49




Court Nos. 25-00066 & 25-00077                                                              Page 15

also at 10 percent 2 after President Trump lowered the 125 percent retaliatory tariffs in response to

China, taking “a significant step . . . toward remedying non-reciprocal trade arrangements and

addressing the concerns of the United States relating to economic and national security matters.”

Executive Order 14298, Modifying Reciprocal Tariff Rates To Reflect Discussions With the

People’s Republic of China, 90 Fed. Reg. 21831, 21831 (May 12, 2025). This lower rate is

effective until August 12, 2025. See id. All of these tariffs, including the modifications listed

here, are hereafter referred to as the “Worldwide and Retaliatory Tariffs.”

       III.    Procedural Background

       The V.O.S. Plaintiffs brought an action against Defendants the United States, the President,

and certain agencies and officials (collectively, “the Government”) on April 14, 2025, challenging

the President’s imposition of the Worldwide and Retaliatory Tariffs in Executive Orders 14257

and 14266. See Compl., V.O.S. v. United States, No. 25-00066, Apr. 14, 2025, ECF No. 2

(“V.O.S. Compl.”), and subsequently filed an application for a temporary restraining order

alongside motions for preliminary injunction and summary judgment. See Application for TRO

& Mot. for Prelim. Inj., and or Summ. J., V.O.S. v. United States, No. 25-00066, Apr. 18, 2025,

ECF No. 10 (“Pls.’ V.O.S. Mots.”). After the court denied the motion for a temporary restraining

order, see Order Denying TRO, V.O.S. v. United States, No. 25-00066, Apr. 22, 2025, ECF No.

13, the Government filed its combined response, see Resp. in Opp’n to Mot. for Summ. J. and

Prelim. Inj., V.O.S. v. United States, No. 25-00066, Apr. 29, 2025, ECF No. 32 (“Gov’t Resp. to

V.O.S. Mots.”), and the V.O.S. Plaintiffs replied on May 6, 2025, see Reply in Supp. of Mots. for


2
  This 10 percent rate is in addition to the 20 percent Trafficking Tariff addressed above. The total
rate on Chinese goods is thus currently set at 30 percent (subject to various exemptions not
discussed here).

                                             - Appx15 -
             Case: 25-1812        Document: 148        Page: 19      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR              Document 55        Filed 05/28/25      Page 16 of 49




Court Nos. 25-00066 & 25-00077                                                            Page 16

Prelim. Inj. and Summ. J., V.O.S. v. United States, No. 25-00066, May 6, 2025, ECF No. 35 (“Pls.’

V.O.S. Reply”). 3

       After the V.O.S. Plaintiffs filed their motions and during briefing in that case, the State

Plaintiffs brought a similar action against the Government on April 23, 2025, challenging the

President’s Worldwide and Retaliatory Tariffs along with the President’s imposition of Trafficking

Tariffs in Executive Orders 14193, 14194, and 14195. See Compl., Oregon v. United States, No.

25-00077, Apr. 23, 2025, ECF No. 2 (“Oregon Compl.”). The plaintiffs in Oregon (“State

Plaintiffs”) filed their own motion for preliminary injunction on May 7, 2025, see Or. Pls.’ Mot.,

Oregon v. United States, No. 25-00077, May 7, 2025, ECF No. 14 (“Pls.’ Oregon Mot.”). The

court construed the State Plaintiffs’ motion for preliminary injunction as a motion for summary

judgment, see Order Construing Mot. for Prelim. Inj. as Mot. for Summ. J., Oregon v. United

States, No. 25-00077, May 8, 2025, ECF No. 18, the State Plaintiffs filed a supplemental brief, see

Supp’l Resp. to Mot. for Summ. J., Oregon v. United States, No. 25-00077, May 13, 2025, ECF

No. 32 (“Pls.’ Oregon Supp’l Br.”), the Government responded, see Gov’t Resp. in Opp’n to Mot.

for Summ. J., Oregon v. United States, No. 25-00077, May 16, 2025, ECF No. 41, and the State

Plaintiffs replied, see Reply in Supp. of Summ. J., Oregon v. United States, No. 25-00077, May

20, 2025, ECF No. 47 (“Pls.’ Oregon Reply”). The Government filed an amended response shortly

thereafter. See Order for Amended Resp., May 17, 2025, Oregon v. United States, No. 25-00077,

ECF No. 42; Amended Resp., Oregon v. United States, No. 25-00077, May 19, 2025, ECF No. 46


3
 Several entities filed amicus briefs in support of the Plaintiffs in V.O.S. See Amici Curiae Br.,
V.O.S. v. United States, No. 25-00066, Apr. 28, 2025, ECF No. 31 (“Legal Scholars Amicus Br.”);
Mot. for Leave to File an Amici Curiae Br., V.O.S. v. United States, No. 25-00066, May 12, 2025,
ECF No. 49 (“Princess Awesome Amicus Br.”); Amicus Curiae Br., V.O.S. v. United States, No.
25-00066, May 9, 2025, ECF No. 44 (“Inst. for Pol. Integrity Amicus Br.”).

                                            - Appx16 -
              Case: 25-1812         Document: 148        Page: 20      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55         Filed 05/28/25       Page 17 of 49




Court Nos. 25-00066 & 25-00077                                                               Page 17

(“Gov’t Resp. to Oregon Mots.”). 4 The court held oral argument in V.O.S. on Tuesday, May 13,

2025, and in Oregon on Wednesday, May 21, 2025.

                                         JURISDICTION

       The Court of International Trade has exclusive jurisdiction to hear this action under 28

U.S.C. § 1581(i), which gives the court:

       exclusive jurisdiction of any civil action commenced against the United States, its
       agencies, or its officers, that arises out of any law of the United States providing
       for--

               (A) revenue from imports or tonnage;

               (B) tariffs, duties, fees, or other taxes on the importation of merchandise for
               reasons other than the raising of revenue;

               (C) embargoes or other quantitative restrictions on the importation of
               merchandise for reasons other than the protection of the public health or
               safety; or

               (D) administration and enforcement with respect to the matters referred to
               in subparagraphs (A) through (C) of this paragraph and subsections (a)-(h)
               of this section.

Id. § 1581(i)(1); see also id. § 1337(c) (“The district courts shall not have jurisdiction under this

section of any matter within the exclusive jurisdiction of the Court of International Trade . . . .”).

Here, the plaintiffs in both cases (collectively, “Plaintiffs”) challenge tariffs imposed by the

President under IEEPA, which provides that the President, under certain conditions and with some




4
 Several entities filed amicus briefs in support of the Plaintiffs in Oregon. See Amicus Curiae
Br., Oregon v. United States, No. 25-00077, May 16, 2025, ECF No. 40 (“Members of Congress
Amicus Br.”); Amicus Curiae Br., Oregon v. United States, No. 25-00077, May 15, 2025, ECF
No. 38 (“Cal. Amicus Br.”); Amicus Curiae Br., Oregon v. United States, No. 25-00077, May 20,
2025, ECF No. 53 (“Wash. Amicus Br.”). One party filed an amicus brief in support of the
Government in Oregon. See Amicus Curiae Br., Oregon v. United States, No. 25-00077, May 20,
2025, ECF No. 51 (“America First Legal Found. Amicus Br.”).

                                              - Appx17 -
              Case: 25-1812         Document: 148         Page: 21       Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR                Document 55          Filed 05/28/25       Page 18 of 49




Court Nos. 25-00066 & 25-00077                                                                  Page 18

elsewhere-enumerated exceptions, may:

        investigate, block during the pendency of an investigation, regulate, direct and
        compel, nullify, void, prevent or prohibit, any acquisition, holding, withholding,
        use, transfer, withdrawal, transportation, importation or exportation of, or dealing
        in, or exercising any right, power, or privilege with respect to, or transactions
        involving, any property in which any foreign country or a national thereof has any
        interest by any person, or with respect to any property, subject to the jurisdiction of
        the United States.

50 U.S.C. § 1702(a)(1)(B). The challenged Executive Orders, in turn, invoke this statute to impose

tariffs (alternatively referred to as “duties”) on merchandise from both specific countries and a list

that includes “all trading partners” of the United States. See, e.g., Executive Order 14266, 90 Fed.

Reg. at 15645. The Executive Orders made amendments to the HTSUS, which are set forth in

subheading 9903.01. The HTSUS is the law of the United States setting tariffs. 5

        For the purpose of locating jurisdiction under 28 U.S.C. § 1581(i), an action involving a

challenge to a presidential action that imposes tariffs, duties, or other import restrictions is one that

arises from a “law providing for” those measures. See Luggage & Leather Goods Mfrs. of Am.,

Inc. v. United States, 7 CIT 258, 267, 588 F. Supp. 1413, 1419–21 (1984); U.S. Cane Sugar

Refiners’ Ass’n v. Block, 3 CIT 196, 200–01, 544 F. Supp. 883, 886 (1982), aff’d, 683 F.2d 399

(C.C.P.A. 1982); see also 28 U.S.C. § 255 (contemplating “civil action[s]” falling under this

court’s jurisdiction that “raise[] . . . issue[s] of the constitutionality of . . . a proclamation of the



5
  This does not mean that Plaintiffs’ ultra vires claims must instead route through 28 U.S.C.
§ 1581(a), which provides for “any civil action commenced to contest the denial of a protest” to
“the . . . amount of duties chargeable” on an entry, 19 U.S.C. § 1514(a)(2). As the Supreme Court
has explained, “protests are not pivotal” in circumstances where Customs operates under a binding
external directive—as where “Customs performs no active role, it undertakes no analysis or
adjudication, issues no directives, imposes no liabilities; instead, Customs merely passively
collects . . . payments.” United States v. U.S. Shoe Corp., 523 U.S. 360, 365 (1998) (internal
quotation marks, alterations, and citation omitted).

                                               - Appx18 -
              Case: 25-1812         Document: 148        Page: 22      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55         Filed 05/28/25       Page 19 of 49




Court Nos. 25-00066 & 25-00077                                                               Page 19

President or an Executive order”). The Federal Circuit has confirmed that presidential action

creates an appropriate basis for (i) jurisdiction, noting without disapproval that there are

“numerous cases in which the Court of International Trade has . . . considered challenges to the

actions of the President pursuant to the grant of jurisdiction in § 1581(i).” Humane Soc’y of United

States v. Clinton, 236 F.3d 1320, 1327 (Fed. Cir. 2001) (citing, inter alia, Luggage & Leather

Goods, 7 CIT 258, 588 F. Supp. 1413 and U.S. Cane Sugar Refiners’ Ass’n, 3 CIT 196, 544

F. Supp. 883).

       This means that Plaintiffs’ various challenges to the presidential actions here, successful

or not, fall under this court’s exclusive jurisdiction. And while “section 1581(i) does not authorize

proceedings directly against the President,” meaning the President must be dismissed from the two

cases before the court, Corus Grp. PLC. v. ITC, 352 F.3d 1351, 1359 (Fed. Cir. 2003), the court

retains “jurisdiction to consider challenges to the President’s actions in suits against subordinate

officials who are charged with implementing the presidential directives,” USP Holdings, Inc. v.

United States, 36 F.4th 1359, 1366 (Fed. Cir. 2022). That group covers the rest of the named

Defendants in both cases. All relief will run against the United States and its “officers,” a category

which for jurisdictional purposes does not include the President. See 28 U.S.C. § 1581(i).

                                            STANDING

       Article III of the Constitution requires plaintiffs in federal court to have standing to sue.6

“[T]he plaintiff must have suffered an injury in fact—a concrete and imminent harm to a legally

protected interest, like property or money—that is fairly traceable to the challenged conduct and


6
 The Government does not appear to contest statutory or “prudential” standing, which unlike
Article III standing can be waived. See Brooklyn Brewery Corp. v. Brooklyn Brew Shop, 17 F.4th
129, 140 (Fed. Cir. 2021).

                                              - Appx19 -
                Case: 25-1812       Document: 148        Page: 23       Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55         Filed 05/28/25        Page 20 of 49




Court Nos. 25-00066 & 25-00077                                                                 Page 20

likely to be redressed by the lawsuit.” Biden v. Nebraska, 600 U.S. 477, 489 (2023) (citing Lujan

v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)). “A plaintiff may establish its injury-in-fact

‘in the same way as any other matter on which the plaintiff bears the burden of proof.’” Canadian

Lumber Trade All. v. United States, 517 F.3d 1319, 1333 (Fed. Cir. 2008) (quoting Lujan, 504

U.S. at 561).

       I.        Article III Standing of V.O.S. Plaintiffs

       A non-importer plaintiff may “fairly employ economic logic” to establish a concrete and

particularized injury-in-fact that is fairly traceable to a challenged tariff. Id. at 1333. A plaintiff

that takes that route must show that the challenged tariff is “likely to cause [the plaintiff] an

economic injury,” and that “this injury would be prevented by a declaratory judgment and

injunction” setting that tariff aside. Id. at 1334. The V.O.S. Plaintiffs have done so here.

       The businesses that bring the V.O.S. action—V.O.S. Selections, Genova Pipe, MicroKits,

FishUSA, and Terry Cycling—allege and aver 7 that they have suffered (and will continue to suffer)

economic injuries as a result of the Worldwide and Retaliatory Tariffs.                   See V.O.S.

Compl. ¶¶ 52–56. V.O.S. alleges that the Worldwide and Retaliatory Tariffs have occasioned

difficulties with sourcing and pricing, and also that “[t]he reduction in cash flow caused by

increased tariffs also necessarily reduces the company’s inventory and the level of business that

V.O.S. can conduct, leading to an overall reduction in purchase orders placed with both foreign



7
  To establish standing at the summary judgment stage, a plaintiff “must set forth by affidavit or
other evidence specific facts, which for purposes of the summary judgment motion will be taken
to be true.” Lujan, 504 U.S. at 561 (internal quotation marks and citation omitted). Executives of
the various V.O.S. Plaintiffs have submitted declarations with their companies’ motions. See Pls.’
V.O.S. Mots. at Exs. A–E (Decls. of Victor Schwartz, Andrew Reese, David Levi, Dan Pastore,
& Nikolaus Holm).

                                              - Appx20 -
              Case: 25-1812         Document: 148        Page: 24      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55         Filed 05/28/25       Page 21 of 49




Court Nos. 25-00066 & 25-00077                                                               Page 21

and domestic suppliers.” Id. ¶ 52. Its CEO avers in a declaration that “[t]ariffs must be paid by

V.O.S. upon arrival at the Port of New York, putting a large, immediate, strain on its cash flow.”

Schwartz Decl. ¶ 25.      Genova Pipe alleges major sourcing problems stemming from the

Worldwide Tariffs, and also that “[t]he tariffs will directly increase the cost of raw materials,

manufacturing equipment, and resale goods imported from abroad by Genova Pipe.” V.O.S.

Compl. ¶ 53; see generally Reese Decl. MicroKits alleges that “[a]t the current rates” of the

Worldwide and Retaliatory Tariffs it “cannot order parts from China and will have to pause

operations when it runs out of parts,” and also that as a result it “will likely be unable to pay its

employees, will lose money, and as a result may go out of business.” V.O.S. Compl. ¶ 54; see also

Levi Decl. ¶ 13. FishUSA alleges that “[t]he tariffs have caused [it] to delay shipment of finished

goods from China due to the unpredictability of the tariff rate that will be imposed when the

product arrives, and [that] it has also paused production of some products,” and states that these

conditions inhibit its business growth. V.O.S. Compl. ¶ 55; see generally Pastore Decl. Terry

Cycling alleges that it “has already paid $25,000 in unplanned tariffs this year for goods for which

Terry was the importer of record,” and “projects that the tariffs will cost the company

approximately $250,000 by the end of 2025.” V.O.S. Compl. ¶ 56; see generally Holm Decl.

       These allegations and declarations establish the Article III standing of all V.O.S. Plaintiffs.

While the Government objects that “no plaintiff has offered evidence that it has actually paid tariffs

pursuant to the Executive Orders,” Gov’t Resp. to V.O.S. TRO Application at 17, Apr. 21, 2025,

ECF No. 12, the Government does not meaningfully contest the “economic logic” tracing the

Worldwide and Retaliatory Tariffs to the V.O.S. Plaintiffs’ showings of downstream harm. See

Canadian Lumber, 517 F.3d at 1333.

                                              - Appx21 -
              Case: 25-1812        Document: 148          Page: 25    Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR              Document 55         Filed 05/28/25       Page 22 of 49




Court Nos. 25-00066 & 25-00077                                                              Page 22

       While the Government further objects that “[a]t the very least, the Court should hold that

FishUSA and MicroKits lack standing, given that they do not even allege that they intend to import

articles subject to the tariffs within any particular period of time,” Gov’t Resp. to V.O.S. TRO

Application at 18, this point rests on an unsupported import-only rule of standing. 8 To suffer an

economic injury from a tariff it is not necessary to incur direct liability to Customs, or even to

directly import an article of dutiable merchandise. Fair traceability is more flexible than that. See

Invenergy Renewables LLC v. United States, 43 CIT __, __, 422 F. Supp. 3d 1255, 1273 (2019)

(“The court determines that this ‘economic logic’ applies here: the duty on bifacial panels will

increase—and, with it, likely Plaintiffs’ costs—if the Withdrawal goes into effect.”). Here, injuries

like (1) the prohibitively high price of operationally necessary components, see Levi Decl., and

(2) the stoppage of orders and product production, see Pastore Decl., are “concrete and imminent

harm[s] to a legally protected interest, like property or money—that [are] fairly traceable to the

challenged conduct and likely to be redressed by the lawsuit.” Biden v. Nebraska, 600 U.S. at 489.

       II.     Article III Standing of State Plaintiffs

       The standing inquiry is even simpler for the State Plaintiffs. The State Plaintiffs allege

“direct financial harm” from the challenged tariffs’ impact on the cost of imported goods that are

“essential” to the states’ provision of public services, see Oregon Compl. ¶¶ 94–112, and also from



8
  Responding to the State Plaintiffs’ Motions, the Government argues that “[w]hile importers have
standing to challenge tariffs, purchasers of imported goods do not.” Gov’t Resp. to Oregon Mots.
at 11. For that proposition the Government quotes Totes-Isotoner Corp. v. United States, where
the Federal Circuit held that “purchasers have no remedy to challenge the tariff classification.”
594 F.3d 1346, 1352 (Fed. Cir. 2010). This reference to a lack of a remedy, however, had nothing
to do with the purchasers’ Article III standing. It instead had to do with the fact that a purchaser
could not have “sought a refund of duties” that it never paid to Customs, a fact that in turn
supported an importer’s claim of third-party standing on the purchaser’s behalf. See id. at 1350.

                                             - Appx22 -
              Case: 25-1812        Document: 148        Page: 26      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR              Document 55         Filed 05/28/25       Page 23 of 49




Court Nos. 25-00066 & 25-00077                                                              Page 23

their impact on “Plaintiff States’ ability to procure goods and services and to budget for and audit

price adjustments,” id. ¶ 114.

       The Government implicitly concedes that Oregon, Arizona, Colorado, and Connecticut are

“importers who have personally paid tariffs” who thus “have standing to challenge tariffs.” Gov’t

Resp. to Oregon Mots. at 11. The Government is right to make this concession: challenged conduct

that “directly injures” a state can also “confer[] standing on that State.” Biden v. Nebraska, 600

U.S. at 489. And an importer’s allegation that it pays unlawful U.S. duties “typically would satisfy

constitutional standing requirements.” Totes-Isotoner, 594 F.3d at 1351.

       Since “[i]f at least one plaintiff has standing, the suit may proceed,” Biden v. Nebraska,

600 U.S. at 489 (citation omitted), there is no need to go further. The State Plaintiffs seek only

broad injunctive and declaratory relief. That means that even if the non-importer states among

them were to hypothetically lack standing, the contours of available relief would not change. See

Oregon Compl. at 35–36.

                                   STANDARD OF REVIEW

       “The court shall grant summary judgment if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” USCIT

R. 56(a).

       28 U.S.C. § 2640(e) provides that “[i]n any civil action not specified in this section,” which

includes actions under 28 U.S.C. § 1581(i), “the Court of International Trade shall review the

matter as provided in section 706 of title 5.” This references the “[s]cope of review” section of

the Administrative Procedure Act (“APA”), codified at 5 U.S.C. § 706, which provides that “[t]he

reviewing court shall . . . hold unlawful and set aside agency action, findings, and conclusions

                                            - Appx23 -
               Case: 25-1812        Document: 148         Page: 27       Filed: 07/20/2025



Case 1:25-cv-00066-GSK-TMR-JAR                Document 55         Filed 05/28/25        Page 24 of 49




Court Nos. 25-00066 & 25-00077                                                                 Page 24

found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with

law” or “in excess of statutory jurisdiction, authority, or limitations, or short of statutory right.”

          28 U.S.C. § 2640(e) does not address what happens when an action under 28

U.S.C. § 1581(i) challenges actions by the President, which unlike agency actions “are not subject

to [the APA’s] requirements.” Franklin v. Massachusetts, 505 U.S. 788, 800–01 (1992). But the

court “presume[s] that review is available when a statute is silent,” Patel v. Garland, 596 U.S. 328,

346 (2022). Also, “claims that the President’s actions violated the statutory authority delegated to

him . . . are reviewable.” USP Holdings, 36 F.4th at 1365. The Federal Circuit has observed that

“[i]t is enough to say that some non-APA review remains available for constitutional issues,

questions about the scope of statutory authority, and compliance with procedural requirements.”

Am. Inst. for Int’l Steel, Inc. v. United States, 806 F. App’x 982, 991 (Fed. Cir. 2020)

(nonprecedential); see also Florsheim Shoe Co. v. United States, 744 F.2d 787, 795 (Fed. Cir.

1984) (“[T]he Executive’s decisions in the sphere of international trade are reviewable only to

determine whether the President’s action falls within his delegated authority, whether the statutory

language has been properly construed, and whether the President’s action conforms with the

relevant procedural requirements.”); Maple Leaf Fish Co. v. United States, 762 F.2d 86, 89 (Fed.

Cir. 1985) (“For a court to interpose, there has to be a clear misconstruction of the governing

statute, a significant procedural violation, or action outside delegated authority.”); United States

v. Sears, Roebuck & Co., 20 C.C.P.A. 295, 305 (1932) (reviewing the President’s issuance of a

proclamation “for the purpose of determining whether he has exceeded the powers delegated to

him.”).


                                               - Appx24 -
              Case: 25-1812        Document: 148        Page: 28     Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR              Document 55         Filed 05/28/25      Page 25 of 49




Court Nos. 25-00066 & 25-00077                                                             Page 25

       As it undertakes this review function, “[t]he Court of International Trade shall possess all

the powers in law and equity of, or as conferred by statute upon, a district court of the United

States.” 28 U.S.C. § 1585.

                                          DISCUSSION

       Underlying the issues in this case is the notion that “the powers properly belonging to one

of the departments ought not to be directly and completely administered by either of the other

departments.” Federalist No. 48 (James Madison). Because of the Constitution’s express

allocation of the tariff power to Congress, see U.S. Const. art. I, § 8, cl. 1, we do not read IEEPA

to delegate an unbounded tariff authority to the President. We instead read IEEPA’s provisions to

impose meaningful limits on any such authority it confers. Two are relevant here. First, § 1702’s

delegation of a power to “regulate . . . importation,” read in light of its legislative history and

Congress’s enactment of more narrow, non-emergency legislation, at the very least does not

authorize the President to impose unbounded tariffs. The Worldwide and Retaliatory Tariffs lack

any identifiable limits and thus fall outside the scope of § 1702. Second, IEEPA’s limited

authorities may be exercised only to “deal with an unusual and extraordinary threat with respect

to which a national emergency has been declared . . . and may not be exercised for any other

purpose.” 50 U.S.C. § 1701(b) (emphasis added). As the Trafficking Tariffs do not meet that

condition, they fall outside the scope of § 1701.

       I.      50 U.S.C. § 1702 Does Not Authorize the Worldwide and Retaliatory Tariffs

       Plaintiffs in both cases argue that the words “regulate . . . importation” do not confer the

power to impose tariffs. See Pls.’ V.O.S. Reply at 3; Pls.’ Oregon Mot. at 15. Any other

interpretation, according to Plaintiffs, would run afoul of both the nondelegation doctrine and the

major questions doctrine. See Pls.’ V.O.S. Mot at 15; Pls.’ Oregon Mot. at 18–19. The
                                             - Appx25 -
               Case: 25-1812         Document: 148         Page: 29      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR                Document 55          Filed 05/28/25       Page 26 of 49




Court Nos. 25-00066 & 25-00077                                                                  Page 26

Government counters that the words “regulate . . . importation” have the same meaning that they

did in TWEA, an older statute that was found to delegate a power to impose tariffs. See Gov’t

Resp. to V.O.S. Mots. at 17–19; Gov’t Resp. to Oregon Mots. at 17–18.

        Plaintiffs are correct in the narrow sense that the imprecise term “regulate . . . importation,”

under any construction that would comport with the separation-of-powers underpinnings of the

nondelegation and major questions doctrines, does not authorize anything as unbounded as the

Worldwide and Retaliatory Tariffs. See Jennings v. Rodriguez, 583 U.S. 281, 286 (2018)

(“[W]hen statutory language is susceptible of multiple interpretations, a court may shun an

interpretation that raises serious constitutional doubts and instead . . . adopt an alternative that

avoids those problems.”). The court in Yoshida II recognized that a case involving a claim to such

unlimited authority might arise, observing that “[w]hether a delegation of such breadth as to have

authorized [the tariffs here] would be constitutionally embraced, is determined . . . by the nature

of the particular surcharge herein and its relationship to other statutes, as well as by its relationship

to the particular emergency confronted.” 526 F.2d at 576–77; see also Proclamation No. 4074, 85

Stat. 926. That case has arisen here.

                A.      An Unlimited Delegation of Tariff Authority Would Be Unconstitutional

        The Constitution provides that “[a]ll legislative Powers herein granted shall be vested in a

Congress of the United States.” U.S. Const. art. 1, § 1. Congress is empowered “[t]o make all

Laws which shall be necessary and proper for carrying into Execution” its general powers. Id. § 8,

cl. 18. The Constitution thus establishes a separation of powers between the legislative and

executive branches that the Framers viewed as essential to the preservation of individual liberty.

See, e.g., The Federalist No. 48 (James Madison). To maintain this separation of powers, “[t]he

Congress manifestly is not permitted to abdicate or to transfer to others the essential legislative
                                               - Appx26 -
             Case: 25-1812        Document: 148        Page: 30      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR              Document 55         Filed 05/28/25     Page 27 of 49




Court Nos. 25-00066 & 25-00077                                                            Page 27

functions with which it is thus vested.” Pan. Refining Co. v. Ryan, 293 U.S. 388, 421 (1935); see

also Marshall Field & Co. v. Clark, 143 U.S. 649, 692 (1892).

       The parties cite two doctrines—the nondelegation doctrine and the major questions

doctrine—that the judiciary has developed to ensure that the branches do not impermissibly

abdicate their respective constitutionally vested powers. Under the nondelegation doctrine,

Congress must “lay down by legislative act an intelligible principle to which the person or body

authorized to fix such [tariff] rates is directed to conform.” J.W. Hampton, Jr., 276 U.S. at 409

(1928); see also Pan. Refining, 293 U.S. at 429–30. A statute lays down an intelligible principle

when it “meaningfully constrains” the President’s authority. Touby v. United States, 500 U.S.

160, 166 (1991); see also Fed. Energy Admin. v. Algonquin SNG, Inc., 426 U.S. 548, 559–60

(1976). Under the major questions doctrine, when Congress delegates powers of “‘vast economic

and political significance,’” it must “speak clearly.” Ala. Ass’n of Realtors v. HHS, 594 U.S. 758,

764 (2021) (quoting Util. Air Regul. Grp. v. EPA, 573 U.S. 302, 324 (2014)); Indus. Union Dep’t,

AFL-CIO v. Am. Petrol. Inst., 448 U.S. 607, 645 (1980). The doctrine applies in “‘extraordinary

cases’ . . . in which the ‘history and the breadth of the authority that [the executive branch] has

asserted,’ and the ‘economic and political significance’ of that assertion, provide ‘a reason to

hesitate before concluding that Congress meant to confer such authority.’” West Virginia v. EPA,

597 U.S. 697, 721 (2022) (quoting FDA v. Brown & Williamson Tobacco Co., 529 U.S. 120,

159–60 (2000)); see also Biden v. Nebraska, 600 U.S. at 501.

       Plaintiffs and some Amici argue that the Government’s interpretation transforms IEEPA

into an impermissible delegation of power because “[t]he President’s assertion of authority here

has no meaningful limiting standards, essentially enabling him to impose any tariff rate he wants

                                            - Appx27 -
              Case: 25-1812        Document: 148        Page: 31      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR              Document 55         Filed 05/28/25       Page 28 of 49




Court Nos. 25-00066 & 25-00077                                                              Page 28

on any country at any time, for virtually any reason.” Pls.’ V.O.S. Mots. at 25; see also Pls.’

Oregon Mots. at 19; Pls.’ V.O.S. Reply at 22. Similarly, Plaintiffs suggest that Congress’s use of

the words “regulate . . . importation” does not indicate the clear mandate necessary to delegate

“such unbounded authority to the President to make such decisions of ‘vast economic and political

significance,’” as the wide-scale imposition of tariffs. Pls.’ Oregon Mot. at 18; see also Pls.’

V.O.S. Reply at 17; Inst. for Pol. Integrity’s Amicus Br. at 16–18. The Government counters that

IEEPA contains sufficient limitations: the President must declare a national emergency, the

emergency expires after one year unless renewed, the emergency must be declared with respect to

an “unusual and extraordinary threat,” and the powers must extend only to property in which a

foreign country or foreign national has an interest. Gov’t Resp. to V.O.S. Mots. at 28–29.

       The separation of powers is always relevant to delegations of power between the branches.

Both the nondelegation and the major questions doctrines, even if not directly applied to strike

down a statute as unconstitutional, provide useful tools for the court to interpret statutes so as to

avoid constitutional problems. These tools indicate that an unlimited delegation of tariff authority

would constitute an improper abdication of legislative power to another branch of government.

Regardless of whether the court views the President’s actions through the nondelegation doctrine,

through the major questions doctrine, or simply with separation of powers in mind, any

interpretation of IEEPA that delegates unlimited tariff authority is unconstitutional.

                       1.      The Words “Regulate . . . Importation” Do Not Authorize the
                               President to Impose Unlimited Tariffs

       With these principles in place, the court turns to the interpretive question at hand. Recall

that both TWEA and IEEPA authorize the President to “regulate . . . importation.” See 50 U.S.C.

§ 4305(b)(1)(B); id. § 1702(a)(1)(B). The court in Yoshida II noted that “[t]he express delegation

                                             - Appx28 -
              Case: 25-1812        Document: 148         Page: 32      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55         Filed 05/28/25       Page 29 of 49




Court Nos. 25-00066 & 25-00077                                                               Page 29

in [TWEA] is broad” and includes the power to “impos[e] an import duty surcharge.” Yoshida II,

526 F.2d at 573, 576. While the words “regulate . . . importation” may exist in identical form in

IEEPA, those words do not confer unlimited tariff authority.

       In interpreting TWEA, the appellate court in Yoshida II recognized the importance of the

separation of powers, noting the lower court’s warning that “a finding that the President has the

power under [TWEA] to impose whatever tariff rates he deems desirable simply by declaring a

national emergency would not only render our trade agreements program nugatory, it would

subvert the manifest Congressional intent to maintain control over its Constitutional powers to

levy tariffs.” Yoshida II, 526 F.2d at 577 (quoting Yoshida I, 378 F. Supp. at 1182 (Maletz, J.,

concurring)). Though the appellate court in Yoshida II interpreted TWEA so as to include tariff

authority, the court also repeatedly noted the constitutional concerns that would arise if the

President exercised unlimited tariff authority based on the words “regulate . . . importation.” For

example, the court stated that “[t]he mere incantation of ‘national emergency’ cannot, of course,

sound the death-knell of the Constitution.” Id. at 583. Indeed, according to the court, “[t]he

declaration of a national emergency is not a talisman enabling the President to rewrite the tariff

schedules.” Id. 9 While the court in Yoshida II ultimately reversed the lower court’s decision and

upheld President Nixon’s tariffs, it upheld the tariffs on the basis that they were limited, “which is

quite different from imposing whatever tariff rates he deems desirable.” Id. at 578 (internal


9
  This concern is even more significant today given the limited nature of Congress’s review over
national emergencies. Recall that the NEA originally provided Congress with the means to
terminate a national emergency by adopting a concurrent resolution. See National Emergencies
Act, Pub. L. No. 94-412, § 201, 90 Stat. 1255, 1255–56 (1976) (codified as amended at 50 U.S.C.
§ 1622). Today the NEA is much less restricted, requiring Congress to act with a veto-proof
majority of both houses. See Foreign Relations Authorization Act, Fiscal Years 1986 and 1987,
Pub. L. No. 99-93, § 801, 98 Stat. 405, 448 (1985) (codified as amended at 50 U.S.C. § 1622).

                                             - Appx29 -
              Case: 25-1812        Document: 148         Page: 33      Filed: 07/20/2025



Case 1:25-cv-00066-GSK-TMR-JAR               Document 55        Filed 05/28/25       Page 30 of 49




Court Nos. 25-00066 & 25-00077                                                              Page 30

quotation marks omitted).

        The limitations of President Nixon’s tariffs were essential to the court’s determination that

“regulate . . . importation” permitted the President’s actions in Yoshida II. For example, the court

noted that President Nixon did not “fix[] rates in disregard of congressional will.” Id. at 577. The

court emphasized that President Nixon “imposed a limited surcharge, as a temporary measure

calculated to help meet a particular national emergency, which is quite different from imposing

whatever tariff rates he deems desirable.” Id. at 578 (internal quotation marks and citation omitted)

(emphasis added). The court emphasized further that it was not deciding a case in which the

President exerted unlimited tariff authority, and that “presidential actions must be judged in the

light of what the President actually did, not in the light of what he could have done.” Id. at 577.

The court also explicitly stated that its decision did not “approve in advance any future surcharge

of a different nature,” id., and its decision did “not here sanction the exercise of an unlimited

power, which, we agree with the Customs Court, would be to strike a blow to our Constitution,”

id. at 583.

        Like the court in Yoshida II, this court does not read the words “regulate . . . importation”

in IEEPA as authorizing the President to impose whatever tariff rates he deems desirable. Indeed,

such a reading would create an unconstitutional delegation of power. See id. Importantly,

President Trump’s tariffs do not include the limitations that the court in Yoshida II relied upon in

upholding President Nixon’s actions under TWEA.            Where President Nixon’s tariffs were

expressly limited by the rates established in the HTSUS, see Proclamation No. 4074, 85 Stat. at

927, the tariffs here contain no such limit. Absent these limitations, this is exactly the scenario


                                             - Appx30 -
               Case: 25-1812         Document: 148        Page: 34     Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR              Document 55          Filed 05/28/25        Page 31 of 49




Court Nos. 25-00066 & 25-00077                                                              Page 31

that the lower court warned of in Yoshida I—and that the appellate court acknowledged in Yoshida

II.

         In sum, just as the court recognized in Yoshida II, the words “regulate . . . importation”

cannot    grant    the   President   unlimited   tariff   authority.    Thus,   this    court   reads

“regulate . . . importation” to provide more limited authority so as to avoid constitutional

infirmities and maintain the “separate and distinct exercise of the different powers of government”

that is “essential to the preservation of liberty.” The Federalist No. 51 (Alexander Hamilton or

James Madison).

                  B.     Congress Delegated Narrower Authority to the President Through
                         IEEPA than It Delegated Through TWEA

         While TWEA and IEEPA both grant the President the power to “regulate . . . importation,”

see 50 U.S.C. § 4305(b)(1)(B); id. § 1702(a)(1)(B), Congress enacted IEEPA with the intent of

limiting presidential power. The legislative history surrounding IEEPA confirms that the words

“regulate . . . importation” have a narrower meaning than the power to impose any tariffs

whatsoever. Id. § 1702(a)(1)(B). Congress’s enactment of Section 122 of the Trade Act of 1974,

see Pub. L. No. 93-618, § 122, 88 Stat. 1978, 1987 (codified at 19 U.S.C. § 2132), and Section 301

of the Trade Act of 1974, see Pub. L. No. 93-618, § 301, 88 Stat. 1978, 2041 (codified at 19 U.S.C.

§ 2411), grants the President authority to impose restricted tariffs in response to “fundamental

international payment problems,” including “large and serious balance-of-payments deficits,” and

unfair trading practices, thereby limiting any such authority in the broader emergency powers

under IEEPA. Trade Act of 1974, Pub. L. No. 93-618, § 122, 88 Stat. 1978, 1987 (1974).

         In enacting reform legislation including IEEPA, Representative John Bingham, Chair of

the House International Relations Committee’s Subcommittee on Economic Policy, described

                                             - Appx31 -
              Case: 25-1812        Document: 148       Page: 35      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR              Document 55        Filed 05/28/25      Page 32 of 49




Court Nos. 25-00066 & 25-00077                                                            Page 32

TWEA as conferring “on the president what could have been dictatorial powers that he could have

used without any restraint by the Congress.” House Committee on International Relations, 95th

Cong., Revision of the Trading with the Enemy Act: Markup before the Committee on

International Relations 5 (Comm. Print 1977).       Similarly, the House report on the reform

legislation called TWEA “essentially an unlimited grant of authority for the President to exercise,

at his discretion, broad powers in both the domestic and international economic arena, without

congressional review.” Comm. on Int’l Rels., Trading with the Enemy Act Reform Legislation,

H.R. Rep. No. 95-459, at 7 (1977).

       Congress reformed the President’s emergency powers in part by enacting IEEPA to provide

“the President a new set of authorities for use in time of national emergency which are both more

limited in scope than those of [TWEA] and subject to various procedural limitations, including

those of the [NEA].” Id. at 2; see also International Emergency Economic Powers Act, Pub. L.

No. 95-223, §§ 201–08, 91 Stat. 1625, 1626–29 (1977) (codified as amended at 50 U.S.C.

§§ 1701–10). Thus, Congress enacted IEEPA to limit executive authority over international

economic transactions, not merely to continue the executive authority granted by TWEA.

                      1.      Congress Cabined the President’s Authority to Impose Tariffs
                              in Response to Balance-of-Payments Deficits to Non-Emergency
                              Legislation

       When President Nixon imposed in 1971 the tariffs challenged in Yoshida II, he was

responding to a monetary crisis—brought on by the peg of the U.S. dollar to a fixed price of 35

dollars per ounce of gold—as reflected in part in growing balance-of-payments deficits. See The

Office of the Historian, Nixon and the End of the Bretton Woods System, 1971-1973, U.S. Dep’t

of State, https://history.state.gov/milestones/1969-1976/nixon-shock (last visited May 28, 2025).

External values of foreign currencies were fixed in relation to the U.S. dollar, whose value was in
                                            - Appx32 -
               Case: 25-1812       Document: 148         Page: 36      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR               Document 55         Filed 05/28/25       Page 33 of 49




Court Nos. 25-00066 & 25-00077                                                               Page 33

turn expressed in gold at a congressionally set price. See id. A surplus of U.S. dollars threatened

the ability of the United States to meet its obligations and, thereby, the entire Bretton Woods

system, as the United States did not have enough gold to cover the volume of dollars in worldwide

circulation. See id. Accordingly, on August 15, 1971, President Nixon immediately cancelled the

direct international convertibility of the U.S. dollar to gold, took a series of other actions such as

the imposition of wage and price controls, and issued Proclamation 4074 in which he declared a

national emergency and introduced a ten percent import surcharge. 10 See Christopher A. Casey &

Jennifer K. Elsea, Cong. Rsch. Serv., R45168, The International Emergency Economic Powers

Act: Origins, Evolution, and Use 2 (2024).

         In 1974, Congress enacted the Trade Act, including Section 122 dealing with remedies for

balance-of-payments deficits. See Trade Act of 1974, Pub. L. No. 93-618, § 122, 88 Stat. 1978,

1987–89 (codified at 19 U.S.C. § 2132). Section 122 is titled “[b]alance-of-payments authority”

and specifically addresses Presidential proclamations of “temporary import surcharge[s]” and

“temporary limitations through the use of quotas” in situations of “fundamental international

payments problems.” Id. Section 122 sets specific limits on the President’s authority to respond

to balance-of-payments problems, such as a 15 percent cap on tariffs and a maximum duration of

150 days. See id. Congress’s enactment of Section 122 indicates that even “large and serious

United States balance-of-payments deficits” do not necessitate the use of emergency powers and

justify only the President’s imposition of limited remedies subject to enumerated procedural

constraints. See id.; see also Yoshida II, 526 F.2d at 578 (“Congress has said what may be done

with respect to foreseeable events in the Tariff Act, the [Trade Expansion Act], and in the Trade



10
     Notably, Proclamation 4074 did not mention TWEA. See generally 85 Stat. 926.
                                             - Appx33 -
              Case: 25-1812         Document: 148        Page: 37      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55         Filed 05/28/25       Page 34 of 49




Court Nos. 25-00066 & 25-00077                                                               Page 34

Act of 1974 (all of which are in force) and has said what may be done with respect to unforeseeable

events in the TWEA.”). In these ways, Section 122 removes the President’s power to impose

remedies in response to balance-of-payments deficits, and specifically trade deficits, from the

broader powers granted to a president during a national emergency under IEEPA by establishing

an explicit non-emergency statute with greater limitations. 11

       The President’s imposition of the Worldwide and Retaliatory Tariffs responds to an

imbalance in trade—a type of balance-of-payments deficit—and thus falls under the narrower,

non-emergency authorities in Section 122.          The balance-of-payments is the “[r]ecord of

transactions between U.S. residents and foreign residents during a given time period . . . includ[ing]

transactions in goods, services, income, assets, and liabilities,” and always balances to zero.

Balance of Payments, Bureau of Econ. Analysis (last modified Apr. 11, 2018),

https://www.bea.gov/help/glossary/balance-payments. The term “balance-of-payments deficits”

within Section 122 refers, necessarily, to deficits within the various accounts comprising the


11
  The court in Yoshida II recognized that before Section 122 was in effect, the Nixon surcharge
“did not run counter to any explicit legislation” and there existed no statute “other than the TWEA,
providing procedures for dealing with a national emergency involving a balance of payments
problem such as that which existed in 1971.” United States v. Yoshida Int’l, Inc., 526 F.2d 560,
578 (C.C.P.A. 1975) (internal quotation marks omitted). The court in Yoshida II recognized
further that after Section 122 was in effect, Section 122’s limits would apply regardless of whether
an emergency declared was extant. Id. at 582 n.33. The court noted that the balance-of-payments
emergency declared by President Nixon had not been terminated, in contradiction with the
expectation that “emergencies are expected to be shortlived.” Id. at 582. However, the court found
that “the failure to terminate the emergency has been rendered moot by Congressional enactment
of [Section 122], specifically requiring the President, within certain parameters, to impose a
surcharge or quotas in response to balance of payments problems.” Id. at 582 n.33. The court
concluded that “[a] surcharge imposed after Jan. 3, 1975 must, of course, comply with the statute
now governing such action.” Id. Thus, the court reasoned that any tariffs imposed in response to
the balance-of-payments problem after the enactment of Section 122, including any imposed in
response to the balance-of-payments emergency declared by President Nixon, must comply not
with a broad emergency statute, but with Section 122.

                                              - Appx34 -
              Case: 25-1812         Document: 148        Page: 38       Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55         Filed 05/28/25        Page 35 of 49




Court Nos. 25-00066 & 25-00077                                                                Page 35

balance-of-payments (including the trade of goods) rather than to an overall summary deficit,

because there cannot be a balance-of-payments deficit per se. Trade deficits are one of the key

balance-of-payment deficits and can be directly impacted by mechanisms such as import quotas

and tariffs, as authorized by Section 122. As a result, tariffs responding to a trade deficit fit under

Section 122 because they “deal with [a] large and serious United States balance-of-payments

deficit[].” 19 U.S.C. § 2132(a)(1). Thus, the President’s Worldwide and Retaliatory Tariffs,

imposed in response to a balance-of-payments deficit, must conform with the limits of Section

122.

       The legislative history surrounding IEEPA confirms that Congress cabined any presidential

authority to impose tariffs in response to balance-of-payments deficits to a narrower,

non-emergency statute. To prevent IEEPA from becoming another “essentially . . . unlimited grant

of authority,” the House International Relations Committee suggested that “whenever possible,

authority for routine, non[-]emergency regulation of international economic transactions which

has heretofore been conducted under [TWEA] should be transferred to other legislation,” and

further stated that IEEPA “does not include authorities more appropriately lodged in other

legislation . . . .” H.R. Rep. No. 95-459 at 7, 10–11. This reflects that in enacting Section 122,

Congress narrowed the President’s emergency authority to impose tariffs in response to

balance-of-payments deficits. The words “regulate . . . importation” within IEEPA do not,

therefore, permit the President to impose tariffs in response to balance-of-payments deficits.

       Because the Worldwide and Retaliatory Tariffs deal with “large and persistent annual U.S.

goods trade deficits,” Executive Order 14257, 90 Fed. Reg. at 15041, these actions address a

balance-of-payments deficit and therefore must comply with the limitations in Sections 122. The

                                              - Appx35 -
              Case: 25-1812         Document: 148         Page: 39       Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR                Document 55         Filed 05/28/25       Page 36 of 49




Court Nos. 25-00066 & 25-00077                                                                 Page 36

Worldwide and Retaliatory Tariffs do not comply with the limitations Congress imposed upon the

President’s power to respond to balance-of-payments deficits. The President’s assertion of

tariff-making authority in the instant case, unbounded as it is by any limitation in duration or scope,

exceeds any tariff authority delegated to the President under IEEPA. The Worldwide and

Retaliatory tariffs are thus ultra vires and contrary to law.

       II.     50 U.S.C. § 1701 Does Not Authorize the Trafficking Tariffs

       IEEPA does not authorize the Trafficking Tariffs for the separate reason that they do not

satisfy the conditions that Congress imposed in 50 U.S.C. § 1701:

       (a) Any authority granted to the President by section 1702 of this title may be
       exercised to deal with any unusual and extraordinary threat, which has its source in
       whole or substantial part outside the United States, to the national security, foreign
       policy, or economy of the United States, if the President declares a national
       emergency with respect to such threat.

       (b) The authorities granted to the President by section 1702 of this title may only
       be exercised to deal with an unusual and extraordinary threat with respect to which
       a national emergency has been declared for purposes of this chapter and may not
       be exercised for any other purpose. Any exercise of such authorities to deal with
       any new threat shall be based on a new declaration of national emergency which
       must be with respect to such threat.

This provision limits the President’s exercise of IEEPA powers to a limited set of situations. Cf.

Silfab Solar, Inc. v. United States, 892 F.3d 1340, 1346 (Fed. Cir. 2018) (identifying a statutory

“condition necessary for the President to take action”). Under it, IEEPA powers are available only

where all of the following conditions pertain: First, there must be a “threat . . . which has its source

in whole or substantial part outside the United States, to the national security, foreign policy, or

economy of the United States.” 50 U.S.C. § 1701(a). Second, this threat must be “unusual and

extraordinary.” Id. § 1701(b). Third, a national emergency must be declared with respect to the

threat. Id. And fourth, the President’s exercise of IEEPA authority must “deal with” the threat.

                                               - Appx36 -
              Case: 25-1812        Document: 148        Page: 40     Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR              Document 55         Filed 05/28/25      Page 37 of 49




Court Nos. 25-00066 & 25-00077                                                             Page 37

Id.

       Both sets of Plaintiffs assert that the orders implementing the Worldwide and Retaliatory

Tariffs (“Worldwide and Retaliatory Tariff Orders”) do not meet the “unusual and extraordinary”

condition 12 imposed by this section, see Pls.’ V.O.S. Mots. at 18; Pls.’ Oregon Mot. at 20, and the

State Plaintiffs argue that the orders implementing the Trafficking Tariffs (“Trafficking Tariff

Orders”) do not meet the “deal with” condition, see Pls.’ Oregon Mot. at 25.

       By the Government’s telling, the court cannot ever question the President’s assertion that

his IEEPA authority “deal[s] with an unusual and extraordinary threat.” See Gov’t Resp. to

Oregon Mots. at 33. The Government invokes the “political question doctrine,” under which “a

controversy is nonjusticiable . . . where there is ‘a textually demonstrable constitutional

commitment of the issue to a coordinate political department; or a lack of judicially discoverable

and manageable standards for resolving it.’” Nixon v. United States, 506 U.S. 224, 228 (1993)

(alteration omitted) (quoting Baker v. Carr, 369 U.S. 186, 217 (1962)). The court concludes,

however, that the question of the scope of § 1701 is (1) a justiciable question of statutory

construction that (2) resolves in favor of Plaintiffs’ contention that the Trafficking Tariff Orders

do not “deal with an unusual and extraordinary threat.” 50 U.S.C. § 1701(b). Those Orders thus

lie outside the bounds of Congress’s delegation of authority to the executive branch.

               A.      The Political Question Doctrine Does Not Preclude Judicial Review of
                       the Trafficking Orders’ Compliance with 50 U.S.C. § 1701

       The political question doctrine bars judicial review in a number of different scenarios. The



12
  As the court holds that the Worldwide and Retaliatory Tariffs are unlawful for the reasons set
forth in Section I of this opinion, the court does not reach the argument that their implementing
Orders separately fail to invoke an “unusual and extraordinary threat.” 50 U.S.C. § 1701.

                                            - Appx37 -
              Case: 25-1812        Document: 148        Page: 41      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR              Document 55         Filed 05/28/25       Page 38 of 49




Court Nos. 25-00066 & 25-00077                                                              Page 38

Supreme Court has listed them as follows:

        Prominent on the surface of any case held to involve a political question is found a
        textually demonstrable constitutional commitment of the issue to a coordinate
        political department; or a lack of judicially discoverable and manageable standards
        for resolving it; or the impossibility of deciding without an initial policy
        determination of a kind clearly for nonjudicial discretion; or the impossibility of a
        court's undertaking independent resolution without expressing lack of the respect
        due coordinate branches of government; or an unusual need for unquestioning
        adherence to a political decision already made; or the potentiality of embarrassment
        from multifarious pronouncements by various departments on one question.

Baker, 369 U.S. at 217; see also Zivotofsky ex rel. Zivotofsky v. Clinton, 566 U.S. 189, 195,

(2012) (explaining that “a court lacks the authority to decide the dispute before it” when one of

the Baker factors pertains). The Court clarified, however, that this is not a “doctrine . . . of

‘political cases,’” Baker, 369 U.S. at 217, and that “it is error to suppose that every case or

controversy which touches foreign relations lies beyond judicial cognizance,” id. at 211.

        The Government argues that two Baker factors preclude the court’s review of whether the

challenged Tariff Orders are permissible under § 1701’s “deal with an unusual and extraordinary

threat” standard. The Government asserts “a profound ‘lack of judicially discoverable and

manageable standards for resolving’ the validity of the President’s threat assessment,” and also the

“impossibility of deciding [the question] without an initial policy determination of a kind clearly

for nonjudicial discretion.” Gov’t Resp. to Oregon Mots. at 30–31 (quoting Baker, 369 U.S. at

217).

        This reliance on the political question doctrine is misplaced. The court can “manage” the

standards for applying 50 U.S.C. § 1701’s “deal with an unusual and extraordinary threat”

language just as it “manages” the standards for any other statutory enactment that constrains

independent executive action. See Feliciano v. Dep’t of Transp., 605 U.S. __, __, 145 S. Ct. 1284,

1291 (2025) (listing instances of substantive conditions that federal statutes impose on the exercise
                                             - Appx38 -
                Case: 25-1812         Document: 148        Page: 42      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR                 Document 55         Filed 05/28/25       Page 39 of 49




Court Nos. 25-00066 & 25-00077                                                                 Page 39

of executive authority). “[U]nder the Constitution, one of the Judiciary’s characteristic roles is to

interpret statutes, and we cannot shirk this responsibility merely because our decision may have

significant political overtones.” Japan Whaling Ass’n v. Am. Cetacean Soc’y, 478 U.S. 221, 230

(1986).

          Even when it goes unmentioned, this principle is a common feature of statutory

construction. In the trade context, for example, the antidumping statute permits the imposition of

duties only where “the Commission determines that . . . an industry in the United States . . . is

threatened with material injury.” 19 U.S.C. § 1673. The court does not automatically uphold

every material injury determination of the ITC on lack-of-manageable-standards grounds simply

because “threatened with material injury” is an imprecise term that sounds in foreign affairs.

Instead, the court consults “the traditional tools of statutory construction” to ascertain the term’s

meaning and applies that meaning to specific cases. Loper Bright Enters. v. Raimondo, 603 U.S.

369, 403 (2024); see, e.g., Rhone Poulenc, S.A. v. United States, 8 CIT 47, 50–54, 592 F. Supp.

1318, 1322–25 (1984) (citing legislative history for the proposition that while “[i]t is true that

threat of material injury may not be based on supposition or conjecture . . . [t]he threat must be

real and imminent”). As the Supreme Court explained in Zivotofsky, “[r]esolution of Zivotofsky’s

claim demands careful examination of the textual, structural, and historical evidence put forward

by the parties regarding the nature of the statute and of the passport and recognition powers. This

is what courts do. The political question doctrine poses no bar to judicial review of this case.” 566

U.S. at 201.

          Indeed, that “[t]rade policy is an increasingly important aspect of foreign policy, an area in

which the executive branch is traditionally accorded considerable deference . . . is not to

                                                - Appx39 -
              Case: 25-1812        Document: 148        Page: 43      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR              Document 55         Filed 05/28/25      Page 40 of 49




Court Nos. 25-00066 & 25-00077                                                             Page 40

say . . . that courts will unthinkingly defer to the Government’s view of Congressional

enactments.” Fed.-Mogul Corp. v. United States, 63 F.3d 1572, 1581 (Fed. Cir. 1995). This is

especially so where the relevant congressional enactment is exactly what determines how much

deference the President is entitled to in the first place. See U.S. Cane Sugar Refiners’ Ass’n, 3

CIT at 212, 544 F. Supp. at 895 (“[I]f the President’s action is authorized by the statutes relied

upon, the judiciary may not properly inquire or probe into the President’s reasoning or into the

existence of the facts calling for the action taken.” (emphasis added)). Either § 1701 entails that

the President invokes IEEPA “pursuant to an express or implied authorization of Congress,” which

would mean that “his authority is at its maximum,” or § 1701 entails that he invokes it

“incompatibl[y] with the expressed or implied will of Congress,” which would mean that “his

power is at its lowest ebb.” Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579, 635–37

(1952) (Jackson, J., concurring). If a court could never question the President’s interpretation of

statutory language to place himself in Justice Jackson’s first zone, there would only be one zone.

“[T]he issue here . . . involves the apportionment of power between the executive and legislative

branches,” and “[t]he duty of courts to decide such questions has been repeatedly reaffirmed by

the Supreme Court.” Crockett v. Reagan, 558 F. Supp. 893, 898 (D.D.C. 1982), aff’d, 720 F.2d

1355 (D.C. Cir. 1983) (per curiam).

       The Government’s position on the unreviewability of § 1701 is also at odds with IEEPA’s

text. Section 1701 is not the particular type of “statute [that] gives a discretionary power to any

person, to be exercised by him upon his own opinion of certain facts,” such that “it is a sound rule

of construction, that the statute constitutes him the sole and exclusive judge of the existence of

those facts.” Martin v. Mott, 25 U.S. 19, 31–32 (1827). That may be true of the NEA, whose

                                             - Appx40 -
                Case: 25-1812       Document: 148       Page: 44      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55       Filed 05/28/25       Page 41 of 49




Court Nos. 25-00066 & 25-00077                                                             Page 41

operation requires only that the President “specifically declare[] a national emergency.” 50 U.S.C.

§ 1621(b); see also Yoshida II, 526 F.2d at 581 n.32. 13 But IEEPA requires more than just the fact

of a presidential finding or declaration: “The authorities granted to the President by section 1702

of this title may only be exercised to deal with an unusual and extraordinary threat with respect to

which a national emergency has been declared for purposes of this chapter and may not be

exercised for any other purpose.” 50 U.S.C. § 1701(b) (emphasis added). This language,

importantly, does not commit the question of whether IEEPA authority “deal[s] with an unusual

and extraordinary threat” to the President’s judgment. It does not grant IEEPA authority to the

President simply when he “finds” or “determines” that an unusual and extraordinary threat exists.

Cf., e.g., Silfab Solar, 892 F.3d at 1349 (collecting cases involving “statute[s] authoriz[ing] a

Presidential ‘determination’”); United States v. George S. Bush & Co., 310 U.S. 371, 376–77

(1940).

          Section 1701 is not a symbolic festoon; it is a “meaningful[] constrain[t] [on] the

President’s discretion,” United States v. Dhafir, 461 F.3d 211, 216 (2d Cir. 2006) (internal

quotation marks, alteration, and citation omitted). It sets out “the happening of the contingency

on which [IEEPA powers] depend,” and the court will give it its due effect. The Aurora, 11 U.S.

(7 Cranch) 382, 386 (1813).

          Congress enacted § 1701, after all, as a substantive addition to TWEA’s basic framework.

And “[w]hen Congress amends legislation,” courts must “presume it intends the change to have

real and substantial effect.” Ross v. Blake, 578 U.S. 632, 641–42 (2016) (internal quotation marks,



13
  The State Plaintiffs confirm that they “are not challenging the President’s declaration of an
emergency under the National Emergencies Act.” Pls.’ Oregon Mot. at 21.

                                             - Appx41 -
              Case: 25-1812        Document: 148         Page: 45     Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55        Filed 05/28/25       Page 42 of 49




Court Nos. 25-00066 & 25-00077                                                              Page 42

alteration, and citation omitted). Thus, although “[w]here a statute . . . commits decisionmaking

to the discretion of the President, judicial review of the President’s decision is not available,”

Dalton v. Specter, 511 U.S. 462, 477 (1994), § 1701 is a statute that conditions this commitment

on factors that the court retains the power to review.

        In doing so, the court does not ask whether a threat is worth “deal[ing]” with, or venture to

“review the bona fides of a declaration of an emergency by the President.” Yoshida II, 526 F.2d

at 581 n.32; see also United States v. Am. Bitumuls & Asphalt Co., 246 F.2d 270, 276–77

(C.C.P.A. 1957) (“No doubt the courts cannot substitute their discretion for that of the President

in proclaiming trade agreements, but where, as here, the President bases his action on an incorrect

interpretation of the effect of a law or proclamation, the courts are not bound to accept that

interpretation as correct.”).

         Indeed, “[t]he question here is not whether something should be done; it is who has the

authority to do it.” Biden v. Nebraska, 600 U.S. at 501. The court simply asks whether the

President’s action “deal[s] with an unusual and extraordinary threat.” Congress provided the

necessary standards for resolving this inquiry when it enacted IEEPA, and the court’s task is to

apply them. “This duty requires one body of public servants, the judges, to construe the meaning

of what another body, the legislators, has said.” United States v. Am. Trucking Ass’ns, 310 U.S.

534, 544 (1940). The duty does not abate when foreign economic conduct forms part of the issue.

See Totes-Isotoner, 594 F.3d at 1352–53.

        According to the Government, there are two ways that the “deal with an unusual and

extraordinary threat” provision retains its meaning despite its unreviewability. The first is that

“it . . . binds the President.” V.O.S. Oral Arg. Tr. at 47:11–12 (statement of E. Hamilton), May

                                             - Appx42 -
              Case: 25-1812         Document: 148        Page: 46     Filed: 07/20/2025




Case 1:25-cv-00066-GSK-TMR-JAR                  Document 55     Filed 05/28/25      Page 43 of 49




Court Nos. 25-00066 & 25-00077                                                             Page 43

27, 2025, ECF No. 54. This means, the Government states, that “[t]he President still has to look

at and faithfully apply that statute . . . .”    V.O.S. Oral Arg. Tr. at 47:11–13 (statement of

E. Hamilton). But what happens if the President does not do so? Does the court still have no role?

Even if Congress could hypothetically undo the President’s invocation of IEEPA powers by

passing a law to that effect (over the President’s likely veto, see generally Chadha, 462 U.S. 919),

Congress’s inherent power to legislate is no substitute for the “judicial function” of “determining

the limits of statutory grants of authority.” Stark v. Wickard, 321 U.S. 288, 310 (1944). “The

supremacy of law,” moreover, “demands that there shall be opportunity to have some court decide

whether an erroneous rule of law was applied.” St. Joseph Stock Yards Co. v. United States, 298

U.S. 38, 84 (1936) (Brandeis, J., concurring).

       The Government also argues that § 1701 “informs legislative review of any national

emergency declared under IEEPA.” V.O.S. Oral Arg. Tr. at 47:16–18 (statement of E. Hamilton).

But Congress has already legislated on the relevant question by enacting IEEPA “to limit the

President’s emergency power in peacetime.” Dames & Moore v. Regan, 453 U.S. 654, 672–73

(1981). Congress should not have to enact new statutes to enforce the statutory constraints it has

already enacted.

       B.      The Trafficking Orders Fall Outside 50 U.S.C. § 1701’s Delegation of Authority

       The court proceeds to adjudicate the justiciable question of whether the Trafficking Orders

satisfy the statutory requirement that IEEPA powers be exercised only to “deal with an unusual

and extraordinary threat.” 50 U.S.C. § 1701.




                                                - Appx43 -
               Case: 25-1812        Document: 148         Page: 47      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55         Filed 05/28/25        Page 44 of 49




Court Nos. 25-00066 & 25-00077                                                                Page 44

         The State Plaintiffs 14 do not argue that the Trafficking Orders fail to invoke “unusual and

extraordinary threat[s],” as they do regarding the Worldwide and Retaliatory Tariffs (an argument

that the court does not reach). Instead, the State Plaintiffs argue that the Trafficking Tariffs do not

“deal with” the specific threats 15 they invoke. See Pls.’ Oregon Mot. at 25–26; Pls.’ Oregon Supp’l

Br. at 4. The Government responds that “the President’s actions are reasonably related to the

desired change in behavior the President seeks from Mexico, Canada, and China because the

President’s actions pressure those countries to address the crisis.” Gov’t Resp. to Oregon Mots. at

39. 16

         By this description, and by their own language, the Trafficking Tariff Orders rest on a

construction of “deal with” that is at odds with the ordinary meaning of the phrase.

         “Deal with” connotes a direct link between an act and the problem it purports to address.

A tax deals with a budget deficit by raising revenue. A dam deals with flooding by holding back

a river. But there is no such association between the act of imposing a tariff and the “unusual and


14
  The V.O.S. Plaintiffs do not seek to enjoin the operation of the Trafficking Tariff Orders. See
V.O.S. Compl. at 24.
15
  The Canada Tariff Order purports to “address” an “unusual and extraordinary threat” in the form
of “the failure of Canada to do more to arrest, seize, detain, or otherwise intercept [drug trafficking
organizations], other drug and human traffickers, criminals at large, and drugs.” Executive Order
14193, 90 Fed. Reg. at 9113. The Mexico Tariff Order identifies a threat in the form of “the failure
of Mexico to arrest, seize, detain, or otherwise intercept [drug trafficking organizations], other
drug and human traffickers, criminals at large, and illicit drugs.” Executive Order 14194, 90
Fed. Reg. at 9118. And the China Tariff Order refers to the “failure of the PRC government to
arrest, seize, detain, or otherwise intercept chemical precursor suppliers, money launderers, other
TCOs, criminals at large, and drugs.” Executive Order 14195, 90 Fed. Reg. at 9122.
16
   Counsel for the Government stated at oral argument that “[t]he purpose of these tariffs is to
create pressure, to tariff-pressure other countries to change bad behaviors that the President
believes are hurting Americans and our national security.” Oregon Oral Arg. Tr. at 31:19–22
(statement of B. Shumate), May 27, 2025, ECF No. 64.

                                              - Appx44 -
              Case: 25-1812        Document: 148         Page: 48      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55         Filed 05/28/25       Page 45 of 49




Court Nos. 25-00066 & 25-00077                                                               Page 45

extraordinary threat[s]” that the Trafficking Orders purport to combat. Customs’s collection of

tariffs on lawful imports does not evidently relate to foreign governments’ efforts “to arrest, seize,

detain, or otherwise intercept” bad actors within their respective jurisdictions. The Government’s

only suggested connection between these two activities—that “[t]he President’s action . . . deters

importation of illicit drugs concealed within seemingly lawful imports,” Gov’t Resp. to Oregon

Mots. at 40—has no apparent basis in the Trafficking Orders themselves. The Orders cite the

general problem of a failure to thwart trafficking and other crime as their target “unusual and

extraordinary threat[s],” not the specific problem of drugs smuggled within shipments of dutiable

merchandise. 17 And if this specific problem were really what the Trafficking Tariff Orders aimed

to “deal with,” the Orders would have to “deal with” that specific problem, not create “leverage”

ostensibly to do so. 50 U.S.C. § 1701(b).

       The Trafficking Orders do not “deal with” their stated objectives.             Rather, as the

Government acknowledges, the Orders aim to create leverage to “deal with” those objectives. See

Oregon Oral Arg. Tr. at 31:19–25, 33:7–16 (statements of B. Shumate). That approach differs

from what the Yoshida II court identified was Proclamation 4074’s “direct effect on our nation’s

balance of trade and, in turn, on its balance of payments deficit and its international monetary

reserves.” 526 F.2d at 580. The approach also differs from the relationship identified in Regan v.

Wald, where the Supreme Court sustained on constitutional grounds “the President’s decision to

curtail the flow of hard currency to Cuba—currency that could then be used in support of Cuban

adventurism—by restricting travel.” 468 U.S. at 243.



17
  The Trafficking Tariffs, of course, do not change the effective rate of duty (zero percent ad
valorem) for smuggled drugs themselves.

                                             - Appx45 -
              Case: 25-1812         Document: 148         Page: 49       Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR                Document 55         Filed 05/28/25       Page 46 of 49




Court Nos. 25-00066 & 25-00077                                                                 Page 46

        The Government’s “pressure” argument effectively concedes that the direct effect of the

country-specific tariffs is simply to burden the countries they target. It is the prospect of mitigating

this burden, the Government explains, that will induce the target countries to crack down on

trafficking within their jurisdictions. See Gov’t Resp. to Oregon Mots. at 39. But however sound

this might be as a diplomatic strategy, it does not comfortably meet the statutory definition of

“deal[ing] with” the cited emergency. It is hard to conceive of any IEEPA power that could not

be justified on the same ground of “pressure.”

        The Government’s reading would cause the meaning of “deal with an unusual and

extraordinary threat” to permit any infliction of a burden on a counterparty to exact concessions,

regardless of the relationship between the burden inflicted and the concessions exacted. If “deal

with” can mean “impose a burden until someone else deals with,” then everything is permitted. It

means a President may use IEEPA to take whatever actions he chooses simply by declaring them

“pressure” or “leverage” tactics that will elicit a third party’s response to an unconnected “threat.”

Surely this is not what Congress meant when it clarified that IEEPA powers “may not be exercised

for any other purpose” than to “deal with” a threat.

        The court in Yoshida II explained that “[w]hether a delegation of such breadth as to have

authorized Proclamation 4074 would be constitutionally embraced” was a function of the

surcharge’s “relationship to the particular emergency confronted.” 526 F.2d at 576–77. The court

further explained that “[a] standard inherently applicable to the exercise of delegated emergency

powers is the extent to which the action taken bears a reasonable relation . . . to the emergency

giving rise to the action,” and that “the nature of the emergency restricts the how of its doing, i.e.,

the means of execution.” Id. at 578–79.

                                               - Appx46 -
                Case: 25-1812        Document: 148       Page: 50      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR                Document 55        Filed 05/28/25      Page 47 of 49




Court Nos. 25-00066 & 25-00077                                                              Page 47

          The Government’s concept of “leverage” would sap these words of their meaning. The

President’s chosen “means of execution” here are tariffs on “[a]rticles that are products of

Canada,” Executive Order 14193, 90 Fed. Reg. at 9114, “[a]ll articles that are products of Mexico,”

Executive Order 14194, 90 Fed. Reg. at 9118, and “[a]ll articles that are products of the PRC,”

Executive Order 14195, 90 Fed. Reg. at 9122. If leverage were all it took to establish a “reasonable

relation” between these means and the “particular emergency” of trafficking, Yoshida II’s

means-end test would be trivially easy to pass. See 526 F.2d at 578–79.

          In so holding, the court does not pass upon the wisdom or likely effectiveness of the

President’s use of tariffs as leverage. 18 That use is impermissible not because it is unwise or

ineffective, but because § 1701 does not allow it.         Rather, the Trafficking Orders’ “clear

misconstruction” of § 1701’s “deal with” condition renders them “action[s] outside delegated

authority.” Maple Leaf Fish, 762 F.2d at 89.

          Soon after joining the Supreme Court, Justice Story declared invalid a proclamation by

President Madison that revived an embargo on trade with Britain and France in the

Non-Intercourse Act of 1809. The proclamation lacked statutory authority because it relied on an



18
     Another three-judge panel of this court made a similar point in Tembec, Inc. v. United States:

          Consideration of the USTR’s authority to order implementation of affirmative
          section 129(a) determinations does not depend on the court’s evaluation of the
          wisdom of a given implementation. The court is neither called upon to make trade
          policy, nor to direct the USTR as to whether any section 129 determination should
          be implemented. Rather, the court is merely asked to determine the bounds of the
          USTR’s authority to order implementation.

30 CIT 958, 982–83, 441 F. Supp. 2d 1302, 1326–27 (2006), judgment vacated as moot by 31 CIT
241, 251, 475 F. Supp. 2d 1393, 1401–02 (leaving prior decision in place for precedential purposes
despite vacatur of judgment).

                                              - Appx47 -
              Case: 25-1812         Document: 148        Page: 51      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR               Document 55         Filed 05/28/25       Page 48 of 49




Court Nos. 25-00066 & 25-00077                                                               Page 48

expired embargo provision in the Act. The young Justice’s account of the judicial role in that case

applies undiminished today:

       I take it to be an incontestable principle, that the president has no common law
       prerogative to interdict commercial intercourse with any nation; or revive any act,
       whose operation has expired. His authority for this purpose must be derived from
       some positive law . . . . For the executive department of the government, this court
       entertain the most entire respect; and amidst the multiplicity of cares in that
       department, it may, without any violation of decorum, be presumed, that sometimes
       there may be an inaccurate construction of a law. It is our duty to expound the laws
       as we find them in the records of state; and we cannot, when called upon by the
       citizens of the country, refuse our opinion, however it may differ from that of very
       great authorities. I do not perceive any reasonable ground to imply an authority in
       the president to revive this act, and I must therefore, with whatever reluctance,
       pronounce it to have been, as to this purpose, invalid.

The Orono, 18 F. Cas. 830, 830–31 (C.C.D. Mass. 1812) (No. 10,585).

                                          CONCLUSION

       The court holds for the foregoing reasons that IEEPA does not authorize any of the

Worldwide, Retaliatory, or Trafficking Tariff Orders. The Worldwide and Retaliatory Tariff

Orders exceed any authority granted to the President by IEEPA to regulate importation by means

of tariffs. The Trafficking Tariffs fail because they do not deal with the threats set forth in those

orders. This conclusion entitles Plaintiffs to judgment as a matter of law; as the court further finds

no genuine dispute as to any material fact, summary judgment will enter against the United States.

See USCIT R. 56. The challenged Tariff Orders will be vacated and their operation permanently

enjoined.

       There is no question here of narrowly tailored relief; if the challenged Tariff Orders are

unlawful as to Plaintiffs they are unlawful as to all. “[A]ll Duties, Imposts and Excises shall be

uniform throughout the United States,” U.S. Const. art. I, § 8, cl. 1, and “[t]he tax is uniform when

it operates with the same force and effect in every place where the subject of it is found.” Head

                                              - Appx48 -
              Case: 25-1812         Document: 148     Page: 52      Filed: 07/20/2025




Case 1:25-cv-00066-GSK-TMR-JAR               Document 55      Filed 05/28/25       Page 49 of 49




Court Nos. 25-00066 & 25-00077                                                           Page 49

Money Cases, 112 U.S. 580, 594 (1884); see also Siemens Am., Inc. v. United States, 692 F.2d

1382, 1383 (Fed. Cir. 1982); Nat’l Corn Growers Ass’n v. Baker, 10 CIT 517, 521, 643

F. Supp. 626, 630–31 (1986) (noting “the statutory and constitutional mandate of uniformity in the

interpretation of the international trade laws”).

       Plaintiffs’ Motions for Summary Judgment are granted, and their Motions for Preliminary

Injunction are denied as moot. Judgment will enter accordingly.


                                                                   By the panel.


Dated: May 28, 2025
       New York, New York




                                              - Appx49 -
         Case: 25-1812   Document: 148      Page: 53      Filed: 07/20/2025




Case 1:25-cv-00066-GSK-TMR-JAR     Document 55-1       Filed 05/28/25     Page 1 of 9




                         Web Pages Cited in the Opinion




                                  - Appx50 -
                           Case: 25-1812                Document: 148                 Page: 54           Filed: 07/20/2025

             Case
5/28/25, 10:50 AM 1:25-cv-00066-GSK-TMR-JAR      Document
                                         Potash Statistics         55-1 | U.S.Filed
                                                           and Information          05/28/25
                                                                               Geological Survey                      Page 2 of 9




 Potash Statistics and Information
 By National Minerals Information Center

    Statistics and information on the worldwide supply of, demand for,
    and flow of the mineral commodity potash




    Potash is used primarily as an agricultural fertilizer (plant nutrient) because it is a
    source of soluble potassium, one of the three primary plant nutrients; the others are
    fixed nitrogen and soluble phosphorus. Potash and phosphorus are mined products, and
    fixed nitrogen is produced from the atmosphere by using industrial processes. Modern
    agricultural practice uses these primary nutrients in large amounts plus additional
    nutrients, such as boron, calcium, chlorine, copper, iron, magnesium, manganese,
    molybdenum, sulfur, and zinc, to assure plant health and proper maturation. The three
    major plant nutrients have no substitutes, but low nutrient content, alternative sources
    of plant nutrients, such as animal manure and guano, bone meal, compost, glauconite,
    and "tankage" from slaughterhouses, can be used. Potash denotes a variety of mined
    and manufactured salts, all containing the element potassium in water soluble form.

    Subscribe to receive an email notification when a new publication is added to this page. On the
    Questions tab of the subscriber preferences page, please select "Potash" and any other options in
    which you may be interested. Please see the list services page for more information.

    Annual Publications
    Mineral Commodity Summaries

           Potash
             PDF Format:
               | 1996 | 1997 | 1998 | 1999 | 2000 | 2001 | 2002 | 2003 | 2004 | 2005 | 2006 | 2007

                                                                                                      Was this page helpful?
https://www.usgs.gov/centers/national-minerals-information-center/potash-statistics-and-information                                 1/4
                                                                      - Appx51 -
                           Case: 25-1812                Document: 148                 Page: 55        Filed: 07/20/2025

             Case
5/28/25, 10:50 AM 1:25-cv-00066-GSK-TMR-JAR      Document
                                         Potash Statistics         55-1 | U.S.Filed
                                                           and Information          05/28/25
                                                                               Geological Survey                   Page 3 of 9
           | 2008 | 2009 | 2010 | 2011 | 2012 | 2013 | 2014 | 2015 | 2016 | 2017 | 2018 | 2019 |
           2020 | 2021 | 2022 | 2023 | 2024 | 2025 |
           Appendixes

    Minerals Yearbook

           Potash
             PDF Format:
               | 1994 | 1995 | 1996 | 1997 | 1998 | 1999 | 2000 | 2001 | 2002 | 2003 | 2004 | 2005
           | 2006 | 2007 | 2008 | 2009 | 2010 | 2011 | 2012 | 2013 | 2014 | 2015 | 2016 | 2017 |
            2018 | 2019 |
             XLS Format:
               | 2002 | 2003 | 2004 | 2005 | 2006 | 2007 | 2008 | 2009 | 2010 | 2011 | 2012 | 2013
           | 2014 | 2015 | 2016 | 2017 | 2018 | 2019 | 2020 tables only release | 2021 tables only
           release | 2022 tables-only release | 2023 tables-only release |
           Archive
               | 1932-1993 |

    Mineral Industry Surveys

           Potash, Crop Year
             PDF Format:
               | 1999 | 2000 | 2001 | 2002 | 2003 | 2004 | 2013 | 2014 | 2015 | 2016 | 2017 | 2018 |
            2019 | 2020 | 2021 | 2022 | 2023 | 2024 |
             XLS Format:
               | 2003 | 2004 | 2013 | 2014 | 2015 | 2016 | 2017 | 2018 | 2019 | 2020 | 2021 | 2022 |
           2023 | 2024 |


    Special Publications
           Earth Mapping Resources Initiative (Earth MRI)                                      Focus areas for data acquisition
           for potential domestic resources of 13 critical minerals in the conterminous United
           States and Puerto Rico — Antimony, barite, beryllium, chromium, fluorspar,
           hafnium, helium, magnesium, manganese, potash, uranium, vanadium, and
           zirconium
           Fertilizers            Sustaining Global Food Supplies
           Historical Statistics for Mineral and Material Commodities in the United States
           Data Series 140                                     Was this page helpful?
https://www.usgs.gov/centers/national-minerals-information-center/potash-statistics-and-information                               2/4
                                                                      - Appx52 -
                           Case: 25-1812                Document: 148                 Page: 56           Filed: 07/20/2025

             Case
5/28/25, 10:50 AM 1:25-cv-00066-GSK-TMR-JAR      Document
                                         Potash Statistics         55-1 | U.S.Filed
                                                           and Information          05/28/25
                                                                               Geological Survey                             Page 4 of 9
                 Potash
           Potash--A Global Overview of Evaporite-Related Potash Resources, Including
           Spatial Databases of Deposits, Occurrences, and Permissive Tracts
           Potash A Vital Agricultural Nutrient Sourced from Geologic Deposits
           Open-File Report 2016-1167
           Technical Announcement: Plenty of Potash, but Some Regions Lack Low Cost
           Sources for Crop Production




    Contacts
    Stephen Jasinski
    Mineral Commodity Specialist
    National Minerals Information Center
    Email: sjasinsk@usgs.gov
    Phone: 703-648-7711




    SCIENCE                                             PRODUCTS                                          NEWS

    Science Explorer                                    Data                                              Featured Stories
    Mission Areas                                       Maps                                              News Releases
    Programs                                            Publications                                      Science Snippets
    Regions                                             Multimedia Gallery                                Technical Announcements
    Science Centers                                     Web Tools                                         Employees in the News
    Observatories                                       Software                                          Get Our News
    Laboratories                                        U.S. Board on Geographic Names                    Media Contacts
    Frequently Asked Questions                          The National Map                                  I'm a Reporter
    Educational Resources                               USGS Library                                      Newsletters
    Special Topics                                      USGS Store
                                                        Park Passes




                                                                                                      Was this page helpful?
https://www.usgs.gov/centers/national-minerals-information-center/potash-statistics-and-information                                        3/4
                                                                      - Appx53 -
                           Case: 25-1812                Document: 148                 Page: 57           Filed: 07/20/2025

             Case
5/28/25, 10:50 AM 1:25-cv-00066-GSK-TMR-JAR      Document
                                         Potash Statistics         55-1 | U.S.Filed
                                                           and Information          05/28/25
                                                                               Geological Survey                             Page 5 of 9
    CONNECT                                             ABOUT                                             LEGAL

    Headquarters                                        About Us                                          Accessibility
    Locations                                           Survey Manual                                     FOIA
    Staff Profiles                                      Organization                                      Site Policies
    Social Media                                        Key Officials                                     Privacy Policy
    Careers                                             Congressional                                     Site Map
    Contact Us                                          Budget                                            DOI and USGS link policies apply
                                                        Careers and Employees                             No FEAR Act
                                                        Doing Business                                    USA.gov
                                                        Emergency Management                              Vulnerability Disclosure Policy




                                                                                                                     Contact USGS
                                                                                                                           1-888-392-8545
    U.S. Geological Survey
    U.S. Department of the Interior                                                                                       answers.usgs.gov




                                                                                                      Was this page helpful?
https://www.usgs.gov/centers/national-minerals-information-center/potash-statistics-and-information                                          4/4
                                                                      - Appx54 -
                          Case: 25-1812                 Document: 148   Page: 58       Filed: 07/20/2025

             Case
5/28/25, 10:44 AM 1:25-cv-00066-GSK-TMR-JAR
                                     Milestones in theDocument        55-1 Relations
                                                      History of U.S. Foreign  Filed    05/28/25
                                                                                     - Office                Page 6 of 9
                                                                                              of the Historian




MILESTONES: 1969–1976


   NOTE TO READERS
   “Milestones in the History of U.S. Foreign Relations” has been retired and is no longer maintained. For more information,
   please see the full notice.


Nixon and the End of the Bretton Woods System, 1971–1973
On August 15, 1971, President Richard M. Nixon announced his New Economic Policy, a program “to create a new
prosperity without war.” Known colloquially as the “Nixon shock,” the initiative marked the beginning of the end for the
Bretton Woods system of fixed exchange rates established at the end of World War II.




Secretary of the Treasury John Connally on the day that President Richard Nixon announced his New Economic Policy, August 15, 1971.
(Nixon Presidential Library)
Under the Bretton Woods system, the external values of foreign currencies were fixed in relation to the U.S. dollar, whose
value was in turn expressed in gold at the congressionally-set price of $35 per ounce. By the 1960s, a surplus of U.S.
dollars caused by foreign aid, military spending, and foreign investment threatened this system, as the United States did
not have enough gold to cover the volume of dollars in worldwide circulation at the rate of $35 per ounce; as a result, the
dollar was overvalued. Presidents John F. Kennedy and Lyndon B. Johnson adopted a series of measures to support the
dollar and sustain Bretton Woods: foreign investment disincentives; restrictions on foreign lending; efforts to stem the

https://history.state.gov/milestones/1969-1976/nixon-shock                                                                      1/2
                                                               - Appx55 -
                          Case: 25-1812                 Document: 148   Page: 59       Filed: 07/20/2025

             Case
5/28/25, 10:44 AM 1:25-cv-00066-GSK-TMR-JAR
                                     Milestones in theDocument        55-1 Relations
                                                      History of U.S. Foreign  Filed    05/28/25
                                                                                     - Office                Page 7 of 9
                                                                                              of the Historian


official outflow of dollars; international monetary reform; and cooperation with other countries. Nothing worked.
Meanwhile, traders in foreign exchange markets, believing that the dollar’s overvaluation would one day compel the U.S.
government to devalue it, proved increasingly inclined to sell dollars. This resulted in periodic runs on the dollar.
It was just such a run on the dollar, along with mounting evidence that the overvalued dollar was undermining the
nation’s foreign trading position, which prompted President Richard M. Nixon to act. On August 13, 1971, Nixon
convened a meeting of his top economic advisers, including Secretary of the Treasury John Connally and Office of
Management and Budget Director George Shultz, at the Camp David presidential retreat to consider a program of action.
Notably absent from the meeting were Secretary of State William Rogers and President’s Assistant for National Security
Affairs Henry Kissinger. After two days of talks, on the evening of August 15, Nixon announced his New Economic Policy
in an address to the nation on “The Challenge of Peace.” Asserting that progress in bringing an end to U.S. involvement
in the war in Vietnam meant that it was time for Americans to turn their minds to the challenges of a post-Vietnam
world, Nixon identified a three-fold task: “We must create more and better jobs; we must stop the rise in the cost of
living; we must protect the dollar from the attacks of international money speculators.” To achieve the first two goals, he
proposed tax cuts and a 90-day freeze on prices and wages; to achieve the third, Nixon directed the suspension of the
dollar’s convertibility into gold. He also ordered that an extra 10 percent tariff be levied on all dutiable imports; like the
suspension of the dollar’s gold convertibility, this measure was intended to induce the United States’ major trading
partners to adjust the value of their currencies upward and the level of their trade barriers downward so as to allow for
more imports from the United States.
A success at home, Nixon’s speech shocked many abroad, who saw it as an act of worrisome unilateralism; the assertive
manner in which Connally conducted the ensuing exchange rate negotiations with his foreign counterparts did little to
allay such concerns. Nevertheless, after months of negotiations, the Group of Ten (G–10) industrialized democracies
agreed to a new set of fixed exchange rates centered on a devalued dollar in the December 1971 Smithsonian Agreement.
Although characterized by Nixon as “the most significant monetary agreement in the history of the world,” the
exchange rates established in the Smithsonian Agreement did not last long. Fifteen months later, in February 1973,
speculative market pressure led to a further devaluation of the dollar and another set of exchange parities. Several weeks
later, the dollar was yet again subjected to heavy pressure in financial markets; however, this time there would be no
attempt to shore up Bretton Woods. In March 1973, the G–10 approved an arrangement wherein six members of the
European Community tied their currencies together and jointly floated against the U.S. dollar, a decision that effectively
signaled the abandonment of the Bretton Woods fixed exchange rate system in favor of the current system of floating
exchange rates.




https://history.state.gov/milestones/1969-1976/nixon-shock                                                                 2/2
                                                               - Appx56 -
                         Case: 25-1812               Document: 148       Page: 60     Filed: 07/20/2025

             Case
5/28/25, 10:49 AM 1:25-cv-00066-GSK-TMR-JAR        Document
                                        Balance of payments        55-1 of Economic
                                                            | U.S. Bureau    Filed 05/28/25
                                                                                    Analysis (BEA)    Page 8 of 9




        Home (/) | Help (/help) | Glossary (/help/glossary) | Balance of payments



        Balance of payments

        Glossary

           A-Z:

              - Any -
           Search Glossary term:




             Apply



        Record of transactions between U.S. residents (/help/glossary/us-residents) and foreign
        residents (/help/glossary/foreign-residents) during a given time period. Includes transactions in
        goods, services (/help/glossary/services), income, assets, and liabilities. It is broken down into the
        current accounts (international), capital accounts (international) (/help/glossary/capital-account-
        international), and financial accounts (international) (/help/glossary/financial-account-
        international).


                                                                 Download Acrobat Reader (http://get.adobe.com/reader/)
        Page last modified on 4/11/18




        Bureau of Economic Analysis 4600 Silver Hill Road • Suitland, MD 20746

        Contact Us (//www.bea.gov/contact-us)
        Working at BEA (//www.bea.gov/about/working-at-bea)
        Frequently Asked Questions (//www.bea.gov/help/faq)
        Our Policies (//www.bea.gov/about/policies-and-information)
        Privacy (/privacy)
https://www.bea.gov/index.php/help/glossary/balance-payments                                                              1/2
                                                               - Appx57 -
                         Case: 25-1812               Document: 148     Page: 61    Filed: 07/20/2025

             Case
5/28/25, 10:49 AM 1:25-cv-00066-GSK-TMR-JAR        Document
                                        Balance of payments        55-1 of Economic
                                                            | U.S. Bureau    Filed 05/28/25
                                                                                    Analysis (BEA)   Page 9 of 9
        Commitment to Scientific Integrity (//www.bea.gov/statement-commitment-scientific-integrity-
        principal-statistical-agencies)
        Data Dissemination Practices (//www.bea.gov/about/policies-and-information/data-dissemination)
        Open Data (//www.bea.gov/open-data)
        USA.gov (https://www.usa.gov/)
        Business USA (https://business.usa.gov)
        No FEAR Act (http://www.osec.doc.gov/ocr/nofear/nofear.htm)
        FOIA (https://www.commerce.gov/opog)
        U.S. Department of Commerce (https://www.commerce.gov/)
        Emergency Status (https://apps.bea.gov/status/)

        The BEA Wire | BEA's Official Blog (//www.bea.gov/news/blog)
        News Release Feed (RSS) (https://apps.bea.gov/rss/rss.xml)
        Sign up for Email Notifications (/_subscribe/)

             (https://www.linkedin.com/company/bureau-
             of-
             economic-
        (https://x.com/bea_news)
                  (https://www.youtube.com/channel/UCCP9QD1x_z__duUivA6Yb5w)
             analysis)  (https://www.instagram.com/usbeagov/)
                            (https://www.facebook.com/usbeagov)




https://www.bea.gov/index.php/help/glossary/balance-payments                                                       2/2
                                                               - Appx58 -
           Case: 25-1812    Document: 148   Page: 62     Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR         Document 56     Filed 05/28/25   Page 1 of 3




              UNITED STATES COURT OF INTERNATIONAL TRADE


V.O.S. SELECTIONS, INC.; PLASTIC
SERVICES AND PRODUCTS, LLC d/b/a
GENOVA PIPE; MICROKITS, LLC;
FISHUSA INC.; and TERRY PRECISION
CYCLING LLC;

              Plaintiffs,

      v.
                                            Before: Gary S. Katzmann, Judge
THE UNITED STATES OF AMERICA;
                                                    Timothy M. Reif, Judge
UNITED STATES CUSTOMS AND
                                                    Jane A. Restani, Judge
BORDER PROTECTION; PETE R.
FLORES in his official capacity as Acting
                                            Court No. 25-00066
Commissioner for United States Customs
and Border Protection; JAMIESON
GREER, in his official capacity as United
States Trade Representative; OFFICE OF
THE UNITED STATES TRADE
REPRESENTATIVE; and HOWARD
LUTNICK, in his official capacity as
Secretary of Commerce;

              Defendants.



THE STATE OF OREGON; THE STATE
OF ARIZONA; THE STATE OF
COLORADO; THE STATE OF
CONNECTICUT; THE STATE OF
DELAWARE; THE STATE OF ILLINOIS,            Before: Gary S. Katzmann, Judge
THE STATE OF MAINE; THE STATE OF                    Timothy M. Reif, Judge
MINNESOTA; THE STATE OF NEVADA;                     Jane A. Restani, Judge
THE STATE OF NEW MEXICO; THE
STATE OF NEW YORK; and THE STATE            Court No. 25-00077
OF VERMONT;

              Plaintiffs,

      v.

                                    - Appx59 -
              Case: 25-1812         Document: 148        Page: 63      Filed: 07/20/2025



Case 1:25-cv-00066-GSK-TMR-JAR                 Document 56         Filed 05/28/25   Page 2 of 3




Court Nos. 25-00066 & 25-00077                                                             Page 2


 UNITED STATES DEPARTMENT OF
 HOMELAND SECURITY; KRISTI NOEM,
 in her official capacity as Secretary of the
 Department of Homeland Security; U.S.
 CUSTOMS AND BORDER PROTECTION;
 PETE R. FLORES in his official capacity as
 Acting Commissioner for United States
 Customs and Border Protection; and THE
 UNITED STATES OF AMERICA;

                Defendants.



                                           JUDGMENT

                                                                              Dated: May 28, 2025

       In accordance with the court’s opinion of this date, it is hereby

       ORDERED that Executive Order 14193, Imposing Duties To Address the Flow of Illicit

Drugs Across Our Northern Border, 90 Fed. Reg. 9113 (Feb. 1, 2025); Executive Order 14194,

Imposing Duties To Address the Situation at Our Southern Border, 90 Fed. Reg. 9117 (Feb. 1,

2025); Executive Order 14195, Imposing Duties To Address the Synthetic Opioid Supply Chain

in the People’s Republic of China, 90 Fed. Reg. 9121 (Feb. 1, 2025); Executive Order 14257,

Regulating Imports with a Reciprocal Tariff to Rectify Trade Practices that Contribute to Large

and Persistent Annual United States Goods Trade Deficits, 90 Fed. Reg. 15041 (Apr. 2, 2025)

(collectively, the “Challenged Tariff Orders”); and all modifications and amendments thereto; be,

and hereby are, declared to be invalid as contrary to law; it is further

       ORDERED that the operation of the Challenged Tariff Orders and all modifications and

amendments thereto be, and hereby is, permanently enjoined; it is further


                                              - Appx60 -
              Case: 25-1812        Document: 148      Page: 64   Filed: 07/20/2025




Case 1:25-cv-00066-GSK-TMR-JAR                Document 56    Filed 05/28/25      Page 3 of 3




Court Nos. 25-00066 & 25-00077                                                         Page 3

       ORDERED that within 10 calendar days necessary administrative orders to effectuate the

permanent injunction shall issue; and it is further

       ORDERED that each party shall bear its own costs.

                                                                 By the panel.


Dated: May 28, 2025
       New York, New York




                                             - Appx61 -
           Case: 25-1812     Document: 148   Page: 65    Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR         Document 63      Filed 06/03/25   Page 1 of 5




               UNITED STATES COURT OF INTERNATIONAL TRADE


V.O.S. SELECTIONS, INC.; PLASTIC
SERVICES AND PRODUCTS, LLC d/b/a
GENOVA PIPE; MICROKITS, LLC;
FISHUSA INC.; and TERRY PRECISION
CYCLING LLC;

               Plaintiffs,

      v.
                                             Before: Gary S. Katzmann, Judge
THE UNITED STATES OF AMERICA;
                                                     Timothy M. Reif, Judge
UNITED STATES CUSTOMS AND
                                                     Jane A. Restani, Judge
BORDER PROTECTION; PETE R.
FLORES in his official capacity as Acting
                                             Court No. 25-00066
Commissioner for United States Customs
and Border Protection; JAMIESON
GREER, in his official capacity as United
States Trade Representative; OFFICE OF
THE UNITED STATES TRADE
REPRESENTATIVE; and HOWARD
LUTNICK, in his official capacity as
Secretary of Commerce;

               Defendants.



THE STATE OF OREGON; THE STATE
OF ARIZONA; THE STATE OF
COLORADO; THE STATE OF
CONNECTICUT; THE STATE OF
DELAWARE; THE STATE OF ILLINOIS,
                                             Before: Gary S. Katzmann, Judge
THE STATE OF MAINE; THE STATE OF
                                                     Timothy M. Reif, Judge
MINNESOTA; THE STATE OF NEVADA;
                                                     Jane A. Restani, Judge
THE STATE OF NEW MEXICO; THE
STATE OF NEW YORK; and THE STATE
                                             Court No. 25-00077
OF VERMONT;

               Plaintiffs,

      v.


                                    - Appx62 -
               Case: 25-1812      Document: 148        Page: 66      Filed: 07/20/2025

    Case 1:25-cv-00066-GSK-TMR-JAR           Document 63        Filed 06/03/25       Page 2 of 5




Court Nos. 25-00066 & 25-00077                                                              Page 2

    UNITED STATES DEPARTMENT OF
    HOMELAND SECURITY; KRISTI NOEM,
    in her official capacity as Secretary of the
    Department of Homeland Security; U.S.
    CUSTOMS AND BORDER PROTECTION;
    PETE R. FLORES in his official capacity as
    Acting Commissioner for United States
    Customs and Border Protection; and THE
    UNITED STATES OF AMERICA;

                 Defendants.


                                            ORDER

         On May 28, the court entered summary judgment against the United States and issued both

declaratory and permanent injunctive relief in V.O.S. Selections, Inc. v. United States, Slip Op.

25-66 (May 28, 2025) (per curiam). 1 This relief included an injunction against the operation of

the challenged Tariff Orders and all amendments and modifications thereto. The injunction issued

on account of Plaintiffs’ success on the merits and the unavailability under the Uniformity Clause

of a complete legal remedy in the form of piecemeal duty refunds to specific plaintiffs. Intrinsic

to this exercise of equitable discretion was the compelling public interest in “ensuring that

governmental bodies comply with the law,” Am. Signature, Inc. v. United States, 598 F.3d 816,

830 (Fed. Cir. 2010), and the lack of any cognizable hardship borne by the United States in the

form of its non-enforcement of orders issued ultra vires. The court’s issuance of injunctive relief

did not depend on the wisdom or policy consequences of such non-enforcement. The principle at

work was more straightforward: “[I]njunctive relief is generally available to preclude ultra vires

conduct by subordinate executive officials.” Kemet Elecs. Corp. v. Barshefsky, 21 CIT 912, 925,



1
  As the court explained in its combined opinion, the court also granted summary judgment against
the United States in Oregon v. U.S. Dep’t of Homeland Security, Case No. 25-00077.
                                            - Appx63 -
              Case: 25-1812         Document: 148        Page: 67       Filed: 07/20/2025

    Case 1:25-cv-00066-GSK-TMR-JAR             Document 63         Filed 06/03/25       Page 3 of 5




Court Nos. 25-00066 & 25-00077                                                                 Page 3

976 F. Supp. 1012, 1024 (1997) (citing Soucie v. David, 448 F.2d 1067, 1072 n.12

(D.C. Cir. 1971)); see also Youngstown Sheet & Tube Co. v. Sawyer, 343 U.S. 579 (1952).

        The court has exclusive jurisdiction to hear this action because the challenged Tariff Orders

are “law[s] of the United States providing for” tariffs. 28 U.S.C. § 1581(i)(1). “[L]aw” is a broader

term than “statutes.” To the extent the challenged Tariff Orders bind Customs to collect duties at

the rates they prescribe, they are laws of the United States. See Old Dominion Branch No. 496,

Nat. Ass’n of Letter Carriers, AFL-CIO v. Austin, 418 U.S. 264, 273 (1974) (holding for

Supremacy-Clause purposes that “the relevant federal law is Executive Order No. 11491 rather

than the [National Labor Relations Act].”). The challenged Tariff Orders also effect changes to

the Harmonized Tariff Schedule of the United States (“HTSUS”). See, e.g., Executive Order

14257, 90 Fed. Reg. 15041, 15047 (Apr. 2, 2025) (“In order to establish the duty rates described

in this order, the HTSUS is modified as set forth in the Annexes to this order.”). This means the

Orders are “law[s]” in the additional sense that they modify a statute: The HTSUS “shall be

considered to be statutory provisions of law for all purposes.” 19 U.S.C. § 3004(c)(1).

        This jurisdictional conclusion does not hinge on whether IEEPA authorizes tariffs as a

categorical matter—a question this court did not reach in its opinion on May 28. 2 Nor is it material



2
  If jurisdiction followed the merits in this way, the Court of International Trade would have
exclusive jurisdiction to hear only unsuccessful claims of ultra vires presidential tariff orders, with
successful claims left to the federal district courts (or to no court at all). That would accomplish
the opposite of “remedy[ing] the confusion over the division of jurisdiction between . . . the Court
of International Trade . . . and the district courts and . . . ensur[ing] uniformity in the judicial
decisionmaking process.” K Mart Corp. v. Cartier, Inc., 485 U.S. 176, 188 (1988) (internal
quotation marks, citation, and parenthesis omitted); see also Conoco, Inc. v. U.S. Foreign-Trade
Zones Bd., 18 F.3d 1581, 1586 (Fed. Cir. 1994) (“Congress had in mind consolidating this area of
administrative law in one place, and giving to the Court of International Trade, with an already
developed expertise in international trade and tariff matters, the opportunity to bring to it a degree
of uniformity and consistency. Obviously that would not be possible if jurisdiction were spread
                                              - Appx64 -
              Case: 25-1812        Document: 148        Page: 68      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR               Document 63         Filed 06/03/25      Page 4 of 5




Court Nos. 25-00066 & 25-00077                                                               Page 4

that some non-tariff-related litigation involving IEEPA takes place in the federal district courts.

“The district courts and the Court of International Trade can both have jurisdiction over actions

arising out of the same act . . . .” Orleans Int’l, Inc. v. United States, 334 F.3d 1375, 1379

(Fed. Cir. 2003) (USCIT has exclusive jurisdiction over import assessment related to the Beef

Promotion and Research Act of 1985).

       The Government now moves to stay the court’s enforcement of its judgment pending

appeal of that judgment to the U.S. Court of Appeals for the Federal Circuit (“Federal Circuit”).

See V.O.S. Mot. to Stay, May 28, 2025, ECF No. 59; Oregon Mot. to Stay, May 28, 2025, ECF

No. 69 (collectively “USCIT Motions to Stay”). The Government has also moved for the same

relief from the Federal Circuit, which on May 29 issued an administrative stay of this court’s

judgment pending consideration of the appellate motion to stay. See Order, No. 2025-1812 (Fed.

Cir. May 29, 2025) (per curiam). Plaintiffs in both V.O.S. and Oregon oppose the Government’s

motions. See Pls.’ V.O.S. Resp. to Mot. to Stay, June 2, 2025, ECF No. 62; Pls.’ Oregon Resp. to

Mot. to Stay, June 2, 2025, ECF No. 72.

       Ultimately, the Federal Circuit’s impending consideration of the motion to stay before it

makes it unnecessary for this court to rule on the USCIT Motions to Stay. The two motions seek

identical relief; the Federal Circuit’s ruling will control. At the very least, the court cannot

determine whether the Government “will be irreparably injured absent a stay” while (1) this court’s

denial of a stay (if ordered) would leave in place the temporary administrative stay issued by the

Federal Circuit and (2) this court’s denial of a stay could be immediately superseded by the Federal

Circuit’s imposition of one. Nken v. Holder, 556 U.S. 418, 426 (2009). It is accordingly



among the district courts throughout the land.”).
                                             - Appx65 -
              Case: 25-1812      Document: 148       Page: 69      Filed: 07/20/2025




Case 1:25-cv-00066-GSK-TMR-JAR              Document 63       Filed 06/03/25      Page 5 of 5




Court Nos. 25-00066 & 25-00077                                                           Page 5

          ORDERED that the USCIT Motions to Stay are HELD IN ABEYANCE pending the

Federal Circuit’s consideration of the Government’s motion to stay this court’s judgment pending

appeal.

                                                                  By the panel.

Dated: June 3, 2025
       New York, New York




                                           - Appx66 -
                  Case: 25-1812     Document: 148         Page: 70      Filed: 07/20/2025



     1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America
                                  US Court of International Trade - New York
                                                New York City
                                   This case was retrieved on 06/23/2025

Header
Case Number: 1:25-cv-00066
Date Filed: 04/14/2025
Date Full Case Retrieved: 06/23/2025
Status: Open
Misc: (15) Other; Civil

Summary
Judge: Gary S. Katzmann, Timothy M. Reif, Jane A. Restani
 Jurisdiction: 28USC 1581(i) Residual Jurisdiction
 Country: (Not Applicable)
 Jury Demand: No
 Date Terminated: 05/28/2025
 Constitutionality Issue: Y

Participants
 Litigants                                              Attorneys
 FishUSA Inc.                                           Jeffrey        Michael     Schwab
 Plaintiff                                              Plaintiff
                                                        (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                        BE NOTICED Bar Status: ACTIVE

                                                        Bridget        F.        Conlan
                                                        Plaintiff
                                                        (See above for address) ATTORNEY TO BE NOTICED Bar
                                                        Status: ACTIVE

                                                        Ilya         Somin
                                                        Plaintiff
                                                        (See above for address) ATTORNEY TO BE NOTICED Bar
                                                        Status: ACTIVE

                                                        Reilly        Walsh       Stephens
                                                        Plaintiff
                                                        (See above for address) ATTORNEY TO BE NOTICED Bar
                                                        Status: ACTIVE
 MicroKits, LLC                                         Jeffrey        Michael     Schwab
 Plaintiff                                              Plaintiff
                                                        (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                        BE NOTICED Bar Status: ACTIVE

                                                        Bridget        F.        Conlan
                                                        Plaintiff
                                                        (See above for address) ATTORNEY TO BE NOTICED Bar
                                                        Status: ACTIVE


                                              - Appx67 -
                  Case: 25-1812             Document: 148         Page: 71        Filed: 07/20/2025
                                                                                                            Page 2 of 18
                          1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Litigants                                                      Attorneys

                                                               Ilya         Somin
                                                               Plaintiff
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE

                                                               Reilly        Walsh       Stephens
                                                               Plaintiff
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE
Plastic Services and Products, LLC                             Jeffrey        Michael     Schwab
Plaintiff                                                      Plaintiff
doing business as Genova Pipe                                  (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                               BE NOTICED Bar Status: ACTIVE

                                                               Bridget        F.        Conlan
                                                               Plaintiff
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE

                                                               Ilya         Somin
                                                               Plaintiff
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE

                                                               Reilly        Walsh       Stephens
                                                               Plaintiff
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE
Terry Precision Cycling LLC                                    Jeffrey        Michael     Schwab
Plaintiff                                                      Plaintiff
                                                               (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                               BE NOTICED Bar Status: ACTIVE

                                                               Bridget        F.        Conlan
                                                               Plaintiff
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE

                                                               Ilya         Somin
                                                               Plaintiff
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE

                                                               Reilly          Walsh       Stephens
                                                               Plaintiff
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE
V.O.S. Selections, Inc.                                        Jeffrey         Michael      Schwab
Plaintiff                                                      Plaintiff
                                                               Liberty Justice Center 7500 Rialto Boulevard Suite 1-250
                                                               Austin, TX 78735 (512) 481-4400 Email:
                                                               jschwab@libertyjusticecenter.org LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED Bar Status: ACTIVE

                                                               Bridget          F.       Conlan
                                                               Plaintiff
                                                               Liberty Justice Center 7500 Rialto Boulevard Suite 1-250
                                                      - Appx68 -
                   Case: 25-1812             Document: 148       Page: 72        Filed: 07/20/2025

                                                                                                           Page 3 of 18
                        1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Litigants                                                     Attorneys
                                                              Austin, TX 78735 (630) 267-9913 Email:
                                                              bconlan@libertyjusticecenter.org ATTORNEY TO BE
                                                              NOTICED Bar Status: ACTIVE

                                                              Ilya         Somin
                                                              Plaintiff
                                                              George Mason University 3301 Fairfax Drive Arlington, VA
                                                              22201 (703) 993-8069 Email: isomin@gmu.edu ATTORNEY
                                                              TO BE NOTICED Bar Status: ACTIVE

                                                              Reilly          Walsh       Stephens
                                                              Plaintiff
                                                              Liberty Justice Center 7500 Rialto Boulevard Suite 1-250
                                                              Austin, TX 78735 (512) 481-4400 Email: rstephens@ljc.org
                                                              ATTORNEY TO BE NOTICED Bar Status: ACTIVE
Donald J. Trump                                               Sosun             Bae
Defendant                                                     Defendant
in his official capacity as President of the United States    U.S. Department of Justice Commercial Litigation Branch -
                                                              Civil Division P.O. Box 480 Ben Franklin Station Washington,
                                                              DC 20044 (202) 305-7568 Fax: (202) 514-8624 Email:
                                                              sosun.bae@usdoj.gov LEAD ATTORNEY ATTORNEY TO
                                                              BE NOTICED Bar Status: ACTIVE

                                                              Claudia           Burke
                                                              Defendant
                                                              U.S. Department of Justice Commercial Litigation Branch -
                                                              Civil Division P.O. Box 480 Ben Franklin Station Washington,
                                                              DC 20044 (202) 353-9063 Fax: (202) 307-7965 Email:
                                                              claudia.burke@usdoj.gov ATTORNEY TO BE NOTICED Bar
                                                              Status: ACTIVE

                                                              Eric          J.        Hamilton
                                                              Defendant
                                                              U.S. Department of Justice Federal Programs Branch - Civil
                                                              Division 950 Pennsylvania Avenue, NW. Washington, DC
                                                              20530 (202) 353-2793 Email: eric.hamilton@usdoj.gov
                                                              ATTORNEY TO BE NOTICED Bar Status: ACTIVE

                                                              Justin         Reinhart     Miller
                                                              Defendant
                                                              U.S. Department of Justice International Trade Field Office
                                                              26 Federal Plaza New York, NY 10278 (212) 264-9241 Fax:
                                                              (212) 264-1916 Email: Justin.R.Miller@usdoj.gov
                                                              ATTORNEY TO BE NOTICED Bar Status: ACTIVE
Executive Office of the President                             Sosun           Bae
Defendant                                                     Defendant
                                                              (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                              BE NOTICED Bar Status: ACTIVE

                                                              Claudia         Burke
                                                              Defendant
                                                              (See above for address) ATTORNEY TO BE NOTICED Bar
                                                              Status: ACTIVE

                                                              Eric          J.        Hamilton
                                                              Defendant
                                                              (See above for address) ATTORNEY TO BE NOTICED Bar
                                                              Status: ACTIVE

                                                         - Appx69 -
                  Case: 25-1812            Document: 148            Page: 73     Filed: 07/20/2025
                                                                                                       Page 4 of 18
                       1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Litigants                                                        Attorneys
                                                                 Justin         Reinhart    Miller
                                                                 Defendant
                                                                 (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                 Status: ACTIVE
Howard Lutnick                                                   Sosun           Bae
Defendant                                                        Defendant
in his official capacity as Secretary of Commerce                (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                                 BE NOTICED Bar Status: ACTIVE

                                                                 Claudia         Burke
                                                                 Defendant
                                                                 (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                 Status: ACTIVE

                                                                 Eric          J.        Hamilton
                                                                 Defendant
                                                                 (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                 Status: ACTIVE

                                                                 Justin         Reinhart    Miller
                                                                 Defendant
                                                                 (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                 Status: ACTIVE
Jamieson Greer                                                   Sosun           Bae
Defendant                                                        Defendant
in his official capacity as United States Trade Representative   (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                                 BE NOTICED Bar Status: ACTIVE

                                                                 Claudia         Burke
                                                                 Defendant
                                                                 (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                 Status: ACTIVE

                                                                 Eric          J.        Hamilton
                                                                 Defendant
                                                                 (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                 Status: ACTIVE

                                                                 Justin         Reinhart    Miller
                                                                 Defendant
                                                                 (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                 Status: ACTIVE
Office of the United States Trade Representative                 Sosun           Bae
Defendant                                                        Defendant
                                                                 (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                                 BE NOTICED Bar Status: ACTIVE

                                                                 Claudia         Burke
                                                                 Defendant
                                                                 (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                 Status: ACTIVE

                                                                 Eric          J.        Hamilton
                                                                 Defendant
                                                                 (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                 Status: ACTIVE

                                                                 Justin      Reinhart    Miller
                                                       - Appx70 -
                  Case: 25-1812            Document: 148           Page: 74     Filed: 07/20/2025
                                                                                                      Page 5 of 18
                       1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Litigants                                                       Attorneys
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE
Pete R. Flores                                                  Sosun           Bae
Defendant                                                       Defendant
in his official capacity as Acting Commissioner of the United   (See above for address) LEAD ATTORNEY ATTORNEY TO
States Customs and Border Protection                            BE NOTICED Bar Status: ACTIVE

                                                                Claudia         Burke
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE

                                                                Eric          J.        Hamilton
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE

                                                                Justin         Reinhart    Miller
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE
United States                                                   Sosun           Bae
Defendant                                                       Defendant
                                                                (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                                BE NOTICED Bar Status: ACTIVE

                                                                Claudia         Burke
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE

                                                                Eric          J.        Hamilton
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE

                                                                Justin         Reinhart    Miller
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE
United States Customs and Border Protection                     Sosun           Bae
Defendant                                                       Defendant
                                                                (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                                BE NOTICED Bar Status: ACTIVE

                                                                Claudia         Burke
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE

                                                                Eric          J.        Hamilton
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE

                                                                Justin      Reinhart    Miller
                                                                Defendant
                                                       - Appx71 -
                   Case: 25-1812       Document: 148          Page: 75       Filed: 07/20/2025
                                                                                                     Page 6 of 18
                      1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Litigants                                                  Attorneys
                                                           (See above for address) ATTORNEY TO BE NOTICED Bar
                                                           Status: ACTIVE
300 Below, Inc.                                            Oliver         James        Dunford
Amicus                                                     Amicus
                                                           Pacific Legal Foundation 4440 PGA Boulevard Suite 307
                                                           Palm Beach Gardens, FL 33410 (916) 503-9060 Fax: (916)
                                                           419-7747 Email: odunford@pacificlegal.org LEAD
                                                           ATTORNEY ATTORNEY TO BE NOTICED Bar Status:
                                                           ACTIVE
Alan Sykes                                                 John            Bowers      Brew
Amicus                                                     Amicus
                                                           (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                           BE NOTICED Bar Status: ACTIVE

                                                           Daniel         J.        Cannistra
                                                           Amicus
                                                           (See above for address) ATTORNEY TO BE NOTICED Bar
                                                           Status: ACTIVE

                                                           Weronika         Bukowski
                                                           Amicus
                                                           (See above for address) ATTORNEY TO BE NOTICED Bar
                                                           Status: ACTIVE
Charles Hagel                                              John           Bowers      Brew
Amicus                                                     Amicus
                                                           (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                           BE NOTICED Bar Status: ACTIVE

                                                           Daniel         J.        Cannistra
                                                           Amicus
                                                           (See above for address) ATTORNEY TO BE NOTICED Bar
                                                           Status: ACTIVE

                                                           Weronika         Bukowski
                                                           Amicus
                                                           (See above for address) ATTORNEY TO BE NOTICED Bar
                                                           Status: ACTIVE
George Allen                                               John           Bowers      Brew
Amicus                                                     Amicus
                                                           Crowell & Moring, LLP 1001 Pennsylvania Avenue, NW.
                                                           Washington, DC 20004-2595 (202) 624-2720 Fax: (202) 628-
                                                           5116 Email: jbrew@crowell.com LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED Bar Status: ACTIVE

                                                           Daniel         J.        Cannistra
                                                           Amicus
                                                           Crowell & Moring, LLP 1001 Pennsylvania Avenue, NW.
                                                           Washington, DC 20004-2595 (202) 624-2902 Fax: (202) 628-
                                                           5116 Email: dcannistra@crowell.com ATTORNEY TO BE
                                                           NOTICED Bar Status: ACTIVE

                                                           Weronika         Bukowski
                                                           Amicus
                                                           Crowell & Moring, LLP Two Manhattan West 375 9th Avenue
                                                           New York, NY 10001 (212) 530-1930 Email:
                                                           wbukowski@crowell.com ATTORNEY TO BE NOTICED Bar
                                                           Status: ACTIVE
Gerard Magliocca                                           John           Bowers      Brew
Amicus                                                     Amicus
                                                  - Appx72 -
                    Case: 25-1812           Document: 148         Page: 76       Filed: 07/20/2025
                                                                                                          Page 7 of 18
                          1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Litigants                                                      Attorneys
                                                               (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                               BE NOTICED Bar Status: ACTIVE

                                                               Daniel         J.        Cannistra
                                                               Amicus
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE

                                                               Weronika         Bukowski
                                                               Amicus
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE
Harold Hongju Koh                                              John           Bowers      Brew
Amicus                                                         Amicus
                                                               (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                               BE NOTICED Bar Status: ACTIVE

                                                               Daniel         J.        Cannistra
                                                               Amicus
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE

                                                               Weronika            Bukowski
                                                               Amicus
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE
Institute for Policy Integrity                                 Max               R.        Sarinsky
Amicus                                                         Amicus
                                                               Institute for Policy at NYU School of Law Wilf Hall 139
                                                               MacDougal Street Ste Third Floor New York, NY 10012 (212)
                                                               992-8641 Email: max.sarinsky@nyu.edu LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED Bar Status: ACTIVE
John C. Danforth                                               John              Bowers      Brew
Amicus                                                         Amicus
                                                               (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                               BE NOTICED Bar Status: ACTIVE

                                                               Daniel         J.        Cannistra
                                                               Amicus
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE

                                                               Weronika         Bukowski
                                                               Amicus
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE
John Daniel Tinder                                             John           Bowers      Brew
Amicus                                                         Amicus
                                                               (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                               BE NOTICED Bar Status: ACTIVE

                                                               Daniel         J.        Cannistra
                                                               Amicus
                                                               (See above for address) ATTORNEY TO BE NOTICED Bar
                                                               Status: ACTIVE

                                                               Weronika        Bukowski
                                                               Amicus
                                                      - Appx73 -
                   Case: 25-1812            Document: 148      Page: 77        Filed: 07/20/2025
                                                                                                   Page 8 of 18
                      1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Litigants                                                   Attorneys
                                                            (See above for address) ATTORNEY TO BE NOTICED Bar
                                                            Status: ACTIVE
Joshua Claybourn                                            John           Bowers      Brew
Amicus                                                      Amicus
                                                            (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                            BE NOTICED Bar Status: ACTIVE

                                                            Daniel         J.        Cannistra
                                                            Amicus
                                                            (See above for address) ATTORNEY TO BE NOTICED Bar
                                                            Status: ACTIVE

                                                            Weronika         Bukowski
                                                            Amicus
                                                            (See above for address) ATTORNEY TO BE NOTICED Bar
                                                            Status: ACTIVE
KingSeal Corporation                                        Oliver         James       Dunford
Amicus                                                      Amicus
doing business as Wesco Enterprises, Inc.                   (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                            BE NOTICED Bar Status: ACTIVE
Michael McConnell                                           John           Bowers      Brew
Amicus                                                      Amicus
                                                            (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                            BE NOTICED Bar Status: ACTIVE

                                                            Daniel         J.        Cannistra
                                                            Amicus
                                                            (See above for address) ATTORNEY TO BE NOTICED Bar
                                                            Status: ACTIVE

                                                            Weronika         Bukowski
                                                            Amicus
                                                            (See above for address) ATTORNEY TO BE NOTICED Bar
                                                            Status: ACTIVE
Michael Mukasey                                             John           Bowers      Brew
Amicus                                                      Amicus
                                                            (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                            BE NOTICED Bar Status: ACTIVE

                                                            Daniel         J.        Cannistra
                                                            Amicus
                                                            (See above for address) ATTORNEY TO BE NOTICED Bar
                                                            Status: ACTIVE

                                                            Weronika         Bukowski
                                                            Amicus
                                                            (See above for address) ATTORNEY TO BE NOTICED Bar
                                                            Status: ACTIVE
Mischief, LLC                                               Oliver         James       Dunford
Amicus                                                      Amicus
doing business as Mischief Toy Store                        (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                            BE NOTICED Bar Status: ACTIVE
Peter Wallison                                              John           Bowers      Brew
Amicus                                                      Amicus
                                                            (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                            BE NOTICED Bar Status: ACTIVE

                                                            Daniel        J.       Cannistra
                                                   - Appx74 -
                   Case: 25-1812          Document: 148         Page: 78        Filed: 07/20/2025
                                                                                                    Page 9 of 18
                        1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Litigants                                                    Attorneys
                                                             Amicus
                                                             (See above for address) ATTORNEY TO BE NOTICED Bar
                                                             Status: ACTIVE

                                                             Weronika         Bukowski
                                                             Amicus
                                                             (See above for address) ATTORNEY TO BE NOTICED Bar
                                                             Status: ACTIVE
Philip Zelikow                                               John           Bowers      Brew
Amicus                                                       Amicus
                                                             (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                             BE NOTICED Bar Status: ACTIVE

                                                             Daniel         J.        Cannistra
                                                             Amicus
                                                             (See above for address) ATTORNEY TO BE NOTICED Bar
                                                             Status: ACTIVE

                                                             Weronika         Bukowski
                                                             Amicus
                                                             (See above for address) ATTORNEY TO BE NOTICED Bar
                                                             Status: ACTIVE
Princess Awesome, LLC                                        Oliver         James       Dunford
Amicus                                                       Amicus
                                                             (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                             BE NOTICED Bar Status: ACTIVE
Reclamation Studio, LLC                                      Oliver         James       Dunford
Amicus                                                       Amicus
doing business as WitsEnd Mosaic                             (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                             BE NOTICED Bar Status: ACTIVE
Richard Epstein                                              John           Bowers      Brew
Amicus                                                       Amicus
                                                             (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                             BE NOTICED Bar Status: ACTIVE

                                                             Daniel         J.        Cannistra
                                                             Amicus
                                                             (See above for address) ATTORNEY TO BE NOTICED Bar
                                                             Status: ACTIVE

                                                             Weronika         Bukowski
                                                             Amicus
                                                             (See above for address) ATTORNEY TO BE NOTICED Bar
                                                             Status: ACTIVE
Rookie Mage Games LLC                                        Oliver         James       Dunford
Amicus                                                       Amicus
                                                             (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                             BE NOTICED Bar Status: ACTIVE
Spielcraft Games, LLC                                        Oliver         James       Dunford
Amicus                                                       Amicus
                                                             (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                             BE NOTICED Bar Status: ACTIVE
Steven Calabresi                                             John           Bowers      Brew
Amicus                                                       Amicus
                                                             (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                             BE NOTICED Bar Status: ACTIVE

                                                             Daniel        J.        Cannistra
                                                    - Appx75 -
                Case: 25-1812              Document: 148           Page: 79        Filed: 07/20/2025
                                                                                                       Page 10 of 18
                      1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Litigants                                                       Attorneys
                                                                Amicus
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE

                                                                Weronika         Bukowski
                                                                Amicus
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE
Stonemaier, LLC                                                 Oliver         James       Dunford
Amicus                                                          Amicus
                                                                (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                                BE NOTICED Bar Status: ACTIVE
Tinkerhouse, Inc.                                               Oliver         James       Dunford
Amicus                                                          Amicus
                                                                (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                                BE NOTICED Bar Status: ACTIVE
Upward Glance, LLC                                              Oliver         James       Dunford
Amicus                                                          Amicus
doing business as Quent Cordair Fine Art                        (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                                BE NOTICED Bar Status: ACTIVE
XYZ Game Labs, Inc.                                             Oliver         James       Dunford
Amicus                                                          Amicus
                                                                (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                                BE NOTICED Bar Status: ACTIVE


Proceedings

Date           #               Proceeding Text                                   Details
04/14/2025     1
                               Summons . Filed by Jeffrey Michael Schwab
                               of Liberty Justice Center on behalf of All
                               Plaintiffs. (Schwab, Jeffrey) (Entered:
                               04/14/2025)
04/14/2025     2
                               Complaint against All Defendants. Answer
                               due by 6/13/2025. Filed by Jeffrey Michael
                               Schwab of Liberty Justice Center on behalf of
                               All Plaintiffs.(Schwab, Jeffrey) (Entered:
                               04/14/2025)
04/14/2025     3
                               Form 5 Information Statement . Filed by
                               Jeffrey Michael Schwab of Liberty Justice
                               Center on behalf of All Plaintiffs. (Schwab,
                               Jeffrey) (Entered: 04/14/2025)
04/14/2025     4
                               Form 11 Notice of Appearance . Filed by
                               Jeffrey Michael Schwab of Liberty Justice
                               Center on behalf of All Plaintiffs.(Schwab,
                               Jeffrey) (Entered: 04/14/2025)
04/14/2025     5
                               Form 13 Corporate Disclosure Statement for
                               all Plaintiffs. Filed by Jeffrey Michael Schwab
                               of Liberty Justice Center on behalf of All
                               Plaintiffs. (Schwab, Jeffrey) (Entered:
                               04/14/2025)
04/14/2025     6
                               Form 11 Notice of Appearance . Filed by
                               Bridget F. Conlan of Liberty Justice Center
                               on behalf of All Plaintiffs.(Conlan, Bridget)
                               (Entered: 04/14/2025)

                                                     - Appx76 -
                 Case: 25-1812        Document: 148            Page: 80        Filed: 07/20/2025
                                                                                                   Page 11 of 18
                    1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Date         #             Proceeding Text                                  Details
04/14/2025   7
                           Certificate of service . Filed by Bridget F.
                           Conlan of Liberty Justice Center on behalf of
                           All Plaintiffs. (Conlan, Bridget) (Entered:
                           04/14/2025)
04/16/2025   8
                           Order entered on 4/16/2025 assigning action
                           to Judges Gary S. Katzmann, Timothy M.
                           Reif and Jane A. Restani.(Swindell, Stephen)
                           (Entered: 04/16/2025)
04/17/2025   9
                           Form 11 Notice of Appearance . Filed by
                           Sosun Bae of U.S. Department of Justice on
                           behalf of All Defendants.(Bae, Sosun)
                           (Entered: 04/17/2025)
04/18/2025   10
                           Application/Motion for temporary restraining
                           order , Application/Motion for preliminary
                           injunction and or Summary Judgment for
                           Permanent Injunction . Responses due by
                           4/21/2025. Filed by Bridget F. Conlan of
                           Liberty Justice Center on behalf of All
                           Plaintiffs.(Conlan, Bridget) Modified on
                           4/18/2025 (Swindell, Stephen). (Entered:
                           04/18/2025)
04/18/2025   11
                           Order entered on 4/18/2025 PAPERLESS
                           ORDER - The Defendants are directed to file
                           a response to Plaintiffs' Application for
                           Temporary Restraining Order in the above
                           captioned matter by close of business,
                           Monday April 21, 2025. By the Panel
                           (Swindell, Stephen) (Entered: 04/18/2025)
04/21/2025   12
                           Response in Opposition to Motion for
                           Temporary Restraining Order (related
                           document(s) 10 ). Filed by Sosun Bae of U.S.
                           Department of Justice on behalf of All
                           Defendants.(Bae, Sosun) (Entered:
                           04/21/2025)
04/22/2025   13
                           Order entered on 4/22/2025: Upon
                           consideration of Plaintiffs' Application for a
                           Temporary Restraining Order, April 18, 2025,
                           ECF No. 10, Defendants' response thereto,
                           April 21, 2025, ECF No. 12, and all other
                           pertinent papers, and upon a determination
                           that Plaintiffs have not clearly shown a
                           likelihood that immediate and irreparable
                           harm would occur before consideration of
                           their Motion for Preliminary Injunction, April
                           18, 2025, ECF No. 10, it is hereby
                           ORDERED that Plaintiffs' Application is
                           DENIED. Defendants are directed to file a
                           combined response to Plaintiffs' Motions for
                           Preliminary Injunction and Summary
                           Judgment, April 18, 2025, ECF No. 10, no
                           later than close of business on April 29,
                           2025. This response shall be filed as a single
                           document of no more than 14,000 words,
                           and shall fully set forth all legal arguments
                           relevant to Defendants' opposition to the
                           entry of summary judgment in favor of

                                                 - Appx77 -
                 Case: 25-1812        Document: 148             Page: 81         Filed: 07/20/2025
                                                                                                     Page 12 of 18
                    1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Date         #             Proceeding Text                                    Details
                           Plaintiffs. Plaintiffs are directed to file a
                           combined reply of no more than 10,000
                           words to all of Defendants' responsive filings
                           no later than close of business on May 6,
                           2025. This reply shall also be filed as a single
                           document. A hearing on all then-pending
                           motions will take place at 11:00 a.m. in
                           Courtroom 1 of the James L. Watson
                           Courthouse on May 13, 2025. (Goell,
                           Geoffrey) (Entered: 04/22/2025)
04/23/2025   14
                           Form 11 Notice of Appearance . Filed by
                           George Allen, Steven Calabresi, Joshua
                           Claybourn, John C. Danforth, Richard
                           Epstein, Charles Hagel, Harold Hongju Koh,
                           Gerard Magliocca, Michael McConnell,
                           Michael Mukasey, Alan Sykes, John Daniel
                           Tinder, Peter Wallison, Philip Zelikow of
                           Crowell & Moring, LLP George Allen, Steven
                           Calabresi, Joshua Claybourn, John C.
                           Danforth, Richard Epstein, Charles Hagel,
                           Harold Hongju Koh, Gerard Magliocca,
                           Michael McConnell, Michael Mukasey, Alan
                           Sykes, John Daniel Tinder, Peter Wallison,
                           Philip Zelikow.(Bukowski, Weronika)
                           (Entered: 04/23/2025)
04/23/2025   15
                           Form 13 Corporate Disclosure Statement .
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of George Allen.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   16
                           Form 13 Corporate Disclosure Statement .
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of Alan Sykes.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   17
                           Form 13 Corporate Disclosure Statement .
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of Charles Hagel.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   18
                           Form 13 Corporate Disclosure Statement .
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of Gerard Magliocca.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   19
                           Form 13 Corporate Disclosure Statement .
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of Harold Hongju Koh.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   20
                           Form 13 Corporate Disclosure Statement .
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of John C. Danforth.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   21
                           Form 13 Corporate Disclosure Statement .
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of John Daniel Tinder.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   22
                           Form 13 Corporate Disclosure Statement .

                                                  - Appx78 -
                 Case: 25-1812        Document: 148             Page: 82        Filed: 07/20/2025
                                                                                                    Page 13 of 18
                    1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Date         #             Proceeding Text                                   Details
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of Joshua Claybourn.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   23
                           Form 13 Corporate Disclosure Statement .
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of Michael Mukasey.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   24
                           Form 13 Corporate Disclosure Statement .
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of Michael McConnell.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   25
                           Form 13 Corporate Disclosure Statement .
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of Peter Wallison.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   26
                           Form 13 Corporate Disclosure Statement .
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of Philip Zelikow.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   27
                           Form 13 Corporate Disclosure Statement .
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of Richard Epstein.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   28
                           Form 13 Corporate Disclosure Statement .
                           Filed by Weronika Bukowski of Crowell &
                           Moring, LLP on behalf of Steven Calabresi.
                           (Bukowski, Weronika) (Entered: 04/23/2025)
04/23/2025   29
                           Motion to appear as amicus curiae .
                           Responses due by 5/14/2025. Filed by
                           Weronika Bukowski of Crowell & Moring, LLP
                           on behalf of Philip Zelikow, Peter Wallison,
                           John Daniel Tinder, Alan Sykes, Michael
                           Mukasey, Michael McConnell, Gerard
                           Magliocca, Harold Hongju Koh, Charles
                           Hagel, Richard Epstein, John C. Danforth,
                           Joshua Claybourn, Steven Calabresi, George
                           Allen. (Attachments: # 1 Brief)(Bukowski,
                           Weronika) (Entered: 04/23/2025)
04/28/2025   30
                           Paperless Order entered on 4/28/2025: Upon
                           consideration of the motion of proposed
                           amici curiae for leave to file a Brief of Amici
                           Curiae Constitutional Scholars, Retired
                           Judges, and Former Public Officials in
                           support of Plaintiffs, April 23, 2025, ECF No.
                           29 , it is hereby ORDERED by the panel that
                           the motion is granted; and it is further
                           ORDERED that the proposed brief is
                           accepted for filing; and it is further
                           ORDERED that the movants be permitted to
                           participate in these proceedings as amici
                           curiae. By the Panel. (Goell, Geoffrey)
                           (Entered: 04/28/2025)
04/28/2025   31
                           Brief of Amici Curiae Constitutional Scholars,
                           Retired Judges, and Former Public Officials

                                                  - Appx79 -
                 Case: 25-1812        Document: 148             Page: 83        Filed: 07/20/2025
                                                                                                    Page 14 of 18
                    1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Date         #             Proceeding Text                                   Details
                           deemed filed. (Goell, Geoffrey) (Entered:
                           04/28/2025)
04/29/2025   32
                           Response in Opposition to Motion for
                           Summary Judgment and Preliminary
                           Injunction (related document(s) 10 ). Replies
                           due by 5/6/2025. Filed by Sosun Bae of U.S.
                           Department of Justice on behalf of All
                           Defendants.(Bae, Sosun) Modified on
                           4/30/2025 (Goell, Geoffrey). (Entered:
                           04/29/2025)
04/29/2025   33
                           The parties are referred to the scheduling
                           order (ECF No. 10) set forth in Oregon v.
                           Trump, CIT No. 25-00077. (Goell, Geoffrey)
                           (Entered: 04/29/2025)
05/06/2025   34
                           Paperless Order entered on 5/6/2025:
                           Concerning the hearing scheduled for May
                           13th, 2025 at 11 AM in Court No. 25-00066,
                           V.O.S. Selections, Inc. et al v. Donald J.
                           Trump et al, the Court is anticipating a fully
                           public proceeding and making provisions to
                           livestream the audio of the proceeding to the
                           public. The parties are to respond to the
                           Case Manager by close of business
                           Wednesday, May 7, 2025 if they anticipate
                           discussing confidential information during the
                           proceeding or have any concerns with audio
                           of the proceeding being livestreamed to the
                           public. By the panel. (Goell, Geoffrey)
                           (Entered: 05/06/2025)
05/06/2025   35
                           Reply in support of Motion for Preliminary
                           Injunction and Summary Judgment (related
                           document(s) 32 ). Filed by Jeffrey Michael
                           Schwab of Liberty Justice Center on behalf of
                           All Plaintiffs.(Schwab, Jeffrey) (Entered:
                           05/06/2025)
05/08/2025   36
                           Form 11 Notice of Appearance for Eric
                           Hamilton. Filed by Sosun Bae of U.S.
                           Department of Justice on behalf of All
                           Defendants.(Bae, Sosun) (Entered:
                           05/08/2025)
05/08/2025   37
                           Motion for leave to File an Amici Curiae Brief.
                           Responses due by 5/29/2025. Filed by Oliver
                           James Dunford of Pacific Legal Foundation
                           on behalf of 300 Below, Inc., KingSeal
                           Corporation d/b/a Wesco Enterprises, Inc.,
                           Mischief, LLC d/b/a Mischief Toy Store,
                           Princess Awesome, LLC, Upward Glance
                           LLC d/b/a Quent Cordair Fine Art, Rookie
                           Mage Games LLC, Spielcraft Games, LLC,
                           Stonemaier, LLC, Tinkerhouse, Inc.,
                           Reclamation Studios LLC d/b/a WitsEnd
                           Mosaic, XYZ Game Labs, Inc.. (Attachments:
                           # 1 Brief of Amici Curiae Princess Awesome,
                           LLC, et al.) (Dunford, Oliver) (Entered:
                           05/08/2025)
05/08/2025   38
                           Form 13 Corporate Disclosure Statement .

                                                  - Appx80 -
                 Case: 25-1812        Document: 148              Page: 84       Filed: 07/20/2025
                                                                                                    Page 15 of 18
                    1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Date         #             Proceeding Text                                   Details
                           Filed by Oliver James Dunford of Pacific
                           Legal Foundation on behalf of XYZ Game
                           Labs, Inc., Reclamation Studios LLC d/b/a
                           WitsEnd Mosaic, Tinkerhouse, Inc.,
                           Stonemaier, LLC, Spielcraft Games, LLC,
                           Rookie Mage Games LLC, Upward Glance
                           LLC d/b/a Quent Cordair Fine Art, Princess
                           Awesome, LLC, Mischief, LLC d/b/a Mischief
                           Toy Store, KingSeal Corporation d/b/a
                           Wesco Enterprises, Inc., 300 Below, Inc..
                           (Dunford, Oliver) (Entered: 05/08/2025)
05/08/2025   39
                           Motion to appear as amicus curiae .
                           Responses due by 5/29/2025. Filed by Max
                           R. Sarinsky of Institute for Policy at NYU
                           School of Law on behalf of Institute for Policy
                           Integrity. (Attachments: # 1 Brief Proposed
                           Amicus Brief)(Sarinsky, Max) (Entered:
                           05/08/2025)
05/08/2025   40
                           Form 11 Notice of Appearance of Oliver J.
                           Dunford, Molly E. Nixon, and Joshua M.
                           Robbins. Filed by Oliver James Dunford of
                           Pacific Legal Foundation on behalf of XYZ
                           Game Labs, Inc., Reclamation Studios LLC
                           d/b/a WitsEnd Mosaic, Tinkerhouse, Inc.,
                           Stonemaier, LLC, Spielcraft Games, LLC,
                           Rookie Mage Games LLC, Upward Glance
                           LLC d/b/a Quent Cordair Fine Art, Princess
                           Awesome, LLC, Mischief, LLC d/b/a Mischief
                           Toy Store, KingSeal Corporation d/b/a
                           Wesco Enterprises, Inc., 300 Below,
                           Inc..(Dunford, Oliver) (Entered: 05/08/2025)
05/08/2025   41
                           Form 11 Notice of Appearance . Filed by Max
                           R. Sarinsky of Institute for Policy at NYU
                           School of Law on behalf of Institute for Policy
                           Integrity.(Sarinsky, Max) (Entered:
                           05/08/2025)
05/08/2025   42
                           Form 13 Corporate Disclosure Statement .
                           Filed by Max R. Sarinsky of Institute for
                           Policy at NYU School of Law on behalf of
                           Institute for Policy Integrity. (Sarinsky, Max)
                           (Entered: 05/08/2025)
05/09/2025   43
                           Order entered on 5/9/2025: Upon
                           consideration of the motion by the Institute
                           for Policy Integrity at New York University
                           School of Law for Leave to File an Amicus
                           Curiae Brief in Support of Plaintiffs' Pending
                           Motion, May 8, 2025, ECF No. 39, it is
                           hereby ORDERED by the panel that the
                           motion is granted; and it is further ORDERED
                           that the proposed brief is accepted for filing.
                           SO ORDERED by the panel (Related Doc #
                           39 ). (Goell, Geoffrey) (Entered: 05/09/2025)
05/09/2025   44
                           Brief of Amici Curiae Institute for Policy
                           Integrity deemed filed. (Goell, Geoffrey)
                           (Entered: 05/09/2025)
05/09/2025   45
                           Information concerning public access of the

                                                   - Appx81 -
                 Case: 25-1812        Document: 148             Page: 85        Filed: 07/20/2025
                                                                                                    Page 16 of 18
                    1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Date         #             Proceeding Text                                   Details
                           audio livestream of the hearing scheduled for
                           May 13th, 2025 at 11 AM is available on the
                           Court's website at:
                           https://www.cit.uscourts.gov/upcoming-court-
                           proceedings-accessible-teleconference.
                           (Goell, Geoffrey) (Entered: 05/09/2025)
05/12/2025   46
                           Form 11 Notice of Appearance . Filed by
                           Reilly Walsh Stephens of Liberty Justice
                           Center on behalf of All Plaintiffs.(Stephens,
                           Reilly) (Entered: 05/12/2025)
05/12/2025   47
                           Form 11 Notice of Appearance . Filed by Ilya
                           Somin of George Mason University on behalf
                           of All Plaintiffs.(Somin, Ilya) (Entered:
                           05/12/2025)
05/12/2025   48
                           Order entered on 5/12/2025: Upon
                           consideration of the motion by Princess
                           Awesome, LLC et al. for Leave to File an
                           Amicus Curiae Brief, May 8, 2025, ECF No.
                           37, it is hereby ORDERED by the panel that
                           the motion is granted; and it is further
                           ORDERED that the proposed brief is
                           accepted for filing. SO ORDERED by the
                           panel (Related Doc # 37 ). (Goell, Geoffrey)
                           (Entered: 05/12/2025)
05/12/2025   49
                           Brief of Amici Curiae Princess Awesome,
                           LLC et al deemed filed. (Goell, Geoffrey)
                           (Entered: 05/12/2025)
05/14/2025   50
                           Hearing held on May 13, 2025 at 11:00 a.m.
                           in CIT Courtroom 1 . (Goell, Geoffrey)
                           (Entered: 05/14/2025)
05/16/2025   51
                           Form 11 Notice of Appearance for Claudia
                           Burke and Justin Miller. Filed by Justin
                           Reinhart Miller of U.S. Department of Justice
                           on behalf of All Defendants.(Miller, Justin)
                           (Entered: 05/16/2025)
05/21/2025   52
                           Notice of Supplemental Authority filed. . Filed
                           by Sosun Bae of U.S. Department of Justice
                           on behalf of All Defendants.(Bae, Sosun)
                           (Entered: 05/21/2025)
05/23/2025   53
                           Notice of Exhibits (related document(s) 35 ,
                           32 ). Filed by Claudia Burke of U.S.
                           Department of Justice on behalf of All
                           Defendants. (Burke, Claudia) (Entered:
                           05/23/2025)
05/27/2025   54
                           Transcript of Hearing held on 5/13/2025 filed
                           with court. Pursuant to Administrative Order
                           08-01 re: the redaction of personal data
                           identifiers. Notice of Intent to Redact
                           Deadline due 6/3/2025. Redaction Request
                           due 6/17/2025. Redacted Transcript
                           Deadline set for 6/27/2025. Release of
                           Transcript Restriction set for 8/25/2025.
                           (Goell, Geoffrey) (Entered: 05/27/2025)
05/28/2025   55
                           Order entered on 5/28/2025, Slip-Op. 25-66:

                                                  - Appx82 -
                 Case: 25-1812        Document: 148             Page: 86         Filed: 07/20/2025
                                                                                                     Page 17 of 18
                    1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

Date         #             Proceeding Text                                    Details
                           The court grants Plaintiffs' Motions for
                           Summary Judgment and denies Plaintiffs'
                           Motions for Preliminary Injunction as moot.
                           By the panel. (related document(s) 13 , 12 ,
                           10 , 54 , 32 ) (Attachments: # 1 Cited Web
                           Page(s)) (Chien, Jason) (Entered:
                           05/28/2025)
05/28/2025   56
                           Judgment to Slip-Op. 25-66 entered on
                           5/28/2025: In accordance with the court's
                           opinion of this date, it is hereby ORDERED
                           that Executive Order 14193, Imposing Duties
                           To Address the Flow of Illicit Drugs Across
                           Our Northern Border, 90 Fed. Reg. 9113
                           (Feb. 1, 2025); Executive Order 14194,
                           Imposing Duties To Address the Situation at
                           Our Southern Border, 90 Fed. Reg. 9117
                           (Feb. 1, 2025); Executive Order 14195,
                           Imposing Duties To Address the Synthetic
                           Opioid Supply Chain in the People's Republic
                           of China, 90 Fed. Reg. 9121 (Feb. 1, 2025);
                           Executive Order 14257, Regulating Imports
                           with a Reciprocal Tariff to Rectify Trade
                           Practices that Contribute to Large and
                           Persistent Annual United States Goods
                           Trade Deficits, 90 Fed. Reg. 15041 (Apr. 2,
                           2025) (collectively, the "Challenged Tariff
                           Orders"); and all modifications and
                           amendments thereto; be, and hereby are,
                           declared to be invalid as contrary to law; it is
                           further ORDERED that the operation of the
                           Challenged Tariff Orders and all
                           modifications and amendments thereto be,
                           and hereby is, permanently enjoined; it is
                           further ORDERED that within 10 calendar
                           days necessary administrative orders to
                           effectuate the permanent injunction shall
                           issue; and it is further ORDERED that each
                           party shall bear its own costs. By the panel.
                           (related document(s) 55 ) (Chien, Jason)
                           (Entered: 05/28/2025)
05/28/2025   57
                           Notice of Appeal of judgment of 05/28/2025
                           filed. (related document(s) 56 , 55 ). Filed by
                           Claudia Burke of U.S. Department of Justice
                           on behalf of All Defendants.(Burke, Claudia)
                           (Entered: 05/28/2025)
05/28/2025   58
                           Appeal of Slip-Op. 25-66 docketed on
                           5/28/2025 by the CAFC as appeal no. 2025-
                           1812 (related document(s) 57 ). (Chien,
                           Jason) (Entered: 05/28/2025)
05/28/2025   59
                           Motion to stay enforcement of judgment
                           pending appeal. Responses due by
                           6/18/2025. Filed by Sosun Bae of U.S.
                           Department of Justice on behalf of All
                           Defendants.(Bae, Sosun) (Entered:
                           05/28/2025)
05/29/2025   60
                           Paperless Order entered on 5/29/2025:
                           ORDERED that by 12 pm ET on May 30,

                                                  - Appx83 -
                     Case: 25-1812          Document: 148              Page: 87         Filed: 07/20/2025




                                                                                                            Page 18 of 18
                        1:25-cv-00066, V.O.S. Selections, Inc. et al v. United States of America

 Date            #               Proceeding Text                                     Details
                                 2025, Plaintiffs shall file a brief of no more
                                 than 5,000 words responding to the
                                 Government's Motion to Stay Enforcement of
                                 Judgment Pending Appeal, May 28, 2025,
                                 ECF No. 59. (Goell, Geoffrey) (Entered:
                                 05/29/2025)
 05/29/2025      61
                                 Order entered on 5/29/2025 Paperless Order
                                 - ORDERED that the courts Order of May 29,
                                 2025, ECF No. 60, is hereby amended; and it
                                 is further ORDERED that by 5 pm ET on
                                 June 2, 2025, Plaintiffs shall file a brief of no
                                 more than 5,000 words responding to the
                                 Governments Motion to Stay Enforcement of
                                 Judgment Pending Appeal, May 28, 2025,
                                 ECF No. 59.(Swindell, Stephen) (Entered:
                                 05/29/2025)
 06/02/2025      62
                                 Response to Motion to Stay Enforcement
                                 (related document(s) 59 ). Filed by Jeffrey
                                 Michael Schwab of Liberty Justice Center on
                                 behalf of All Plaintiffs.(Schwab, Jeffrey)
                                 (Entered: 06/02/2025)
 06/03/2025      63
                                 Order entered on 6/3/2025: ORDERED that
                                 the USCIT Motions to Stay are HELD IN
                                 ABEYANCE pending the Federal Circuit's
                                 consideration of the Government's motion to
                                 stay this court's judgment pending appeal.
                                 (Goell, Geoffrey) (Entered: 06/03/2025)
 06/11/2025      64
                                 Order from CAFC The motions for a stay
                                 pending appeal are granted. See Order.
                                 (Goell, Geoffrey) (Entered: 06/11/2025)
 06/16/2025      65
                                 Paperless Order entered on 6/16/2025: Upon
                                 the Federal Circuit's Order granting a stay of
                                 the rulings enjoining certain Executive Orders
                                 imposing tariffs, June 11, 2025, ECF No. 64,
                                 it is hereby ORDERED that Defendants'
                                 Motion to Stay Enforcement of Judgment
                                 Pending Appeal, May 28, 2025, ECF No. 59,
                                 is DENIED as moot. (Goell, Geoffrey)
                                 (Entered: 06/16/2025)

Copyright © LexisNexis CourtLink, Inc. All Rights Reserved.
*** THIS DATA IS FOR INFORMATIONAL PURPOSES ONLY ***



  End of Document




                                                         - Appx84 -
                  Case: 25-1812        Document: 148        Page: 88       Filed: 07/20/2025



    1:25-cv-00077, The State of Oregon et al v. United States Department of
                              Homeland Security
                                   US Court of International Trade - New York
                                                 New York City
                                    This case was retrieved on 06/23/2025

Header
Case Number: 1:25-cv-00077
Date Filed: 04/23/2025
Date Full Case Retrieved: 06/23/2025
Status: Open
Misc: (206) Tariffs, Duties, Fees, Other Taxes 28USC 1581(i)(2), Embargoes or Other Quantitative Restrictions
28USC 1581(i)(3), Administration and Enforcement 28USC 1581(i)(4); Civil

Summary
Judge: Gary S. Katzmann, Timothy M. Reif, Jane A. Restani
 Jurisdiction: 28USC 1581(i) Residual Jurisdiction
 Agency: U.S. Customs and Border Protection
 Country: (Not Applicable)
 Jury Demand: No
 Date Terminated: 05/28/2025
 Constitutionality Issue: Y

Participants
 Litigants                                               Attorneys
 The State of Arizona                                    Joshua          David Rothenber Bendor
 Plaintiff                                               Plaintiff
                                                         Arizona Attorney General's Office 2005 North Central Avenue
                                                         Phoenix, AZ 85004 (602) 542-8958 Email:
                                                         joshua.bendor@azag.gov LEAD ATTORNEY ATTORNEY
                                                         TO BE NOTICED Bar Status: ACTIVE

                                                         Syreeta         Tyrell
                                                         Plaintiff
                                                         Arizona Attorney General's Office 2005 North Central Avenue
                                                         Phoenix, AZ 85004 (602) 542-8310 Email:
                                                         syreeta.tyrell@azag.gov ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE
 The State of Colorado                                   Sarah           H.         Weiss
 Plaintiff                                               Plaintiff
                                                         Colorado Department of Law Civil Litigation 1300 Broadway
                                                         Ste 10th Floor Denver, CO 80203 (720) 508-6910 Email:
                                                         sarah.weiss@coag.gov LEAD ATTORNEY ATTORNEY TO
                                                         BE NOTICED Bar Status: ACTIVE
 The State of Connecticut                                Michael         Kenneth         Skold
 Plaintiff                                               Plaintiff
                                                         State of Connecticut Office of the Attorney General
                                                         Administration 165 Capitol Avenue Suite 5000 Hartford, CT
                                                         06106 (860) 808-5316 Fax: (860) 808-5387 Email:



                                                 - Appx85 -
                 Case: 25-1812         Document: 148        Page: 89        Filed: 07/20/2025
                                                                                                 Page 2 of 17
            1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Litigants                                                Attorneys
                                                         Michael.Skold@ct.gov LEAD ATTORNEY ATTORNEY TO
                                                         BE NOTICED Bar Status: ACTIVE
The State of Delaware
Plaintiff
The State of Illinois                                    Cara              Ann          Hendrickson
Plaintiff                                                Plaintiff
                                                         Office of the Illinois Attorney General 115 South LaSalle
                                                         Street Chicago, IL 60603 (312) 814-3000 Email:
                                                         cara.hendrickson@ilag.gov ATTORNEY TO BE NOTICED
                                                         Bar Status: ACTIVE

                                                         Gretchen             Elizabeth    Helfrich
                                                         Plaintiff
                                                         Office of the Illinois Attorney General Special Litigation
                                                         Bureau 115 South LaSalle Street 35th Floor Chicago, IL
                                                         60603 (312) 814-1136 Email: gretchen.helfrich@ilag.gov
                                                         ATTORNEY TO BE NOTICED Bar Status: ACTIVE
The State of Maine                                       Vivian            A.          Mikhail
Plaintiff                                                Plaintiff
                                                         Office of the Maine Attorney General 6 State House Station
                                                         Augusta, ME 04333 (207) 626-8800 Email:
                                                         vivian.mikhail@maine.gov LEAD ATTORNEY ATTORNEY
                                                         TO BE NOTICED Bar Status: ACTIVE
The State of Minnesota                                   Peter             J.         Farrell
Plaintiff                                                Plaintiff
                                                         Office of the Minnesota Attorney General 445 Minnesota
                                                         Street Suite 600 St. Paul, MN 55101-2127 (651) 757-1424
                                                         Email: peter.farrell@ag.state.mn.us LEAD ATTORNEY
                                                         ATTORNEY TO BE NOTICED Bar Status: ACTIVE
The State of Nevada                                      Heidi             Parry        Stern
Plaintiff                                                Plaintiff
                                                         Nevada Attorney General's Office Solicitor General 1 State of
                                                         Nevada Way Suite 100 Las Vegas, NV 89119 (702) 486-
                                                         3420 Fax: (702) 486-3768 Email: HStern@ag.nv.gov LEAD
                                                         ATTORNEY ATTORNEY TO BE NOTICED Bar Status:
                                                         ACTIVE
The State of New Mexico                                  Amy                Senier
Plaintiff                                                Plaintiff
                                                         New Mexico Department of Justice P.O. Drawer 1508 Santa
                                                         Fe, NM 87504-1508 (505) 490-4060 Email:
                                                         ASenier@nmdoj.gov LEAD ATTORNEY ATTORNEY TO BE
                                                         NOTICED Bar Status: ACTIVE
The State of New York                                    Mark               H.         Ladov
Plaintiff                                                Plaintiff
                                                         NYS Office of The Attorney General 28 Liberty Street New
                                                         York, NY 10005 (212) 416-8240 Email:
                                                         mark.ladov@ag.ny.gov LEAD ATTORNEY ATTORNEY TO
                                                         BE NOTICED Bar Status: ACTIVE

                                                         Rabia            C.        Muqaddam
                                                         Plaintiff
                                                         NYS Office of the Attorney General 28 Liberty Street New
                                                         York, NY 10005 (212) 416-8883 Email:
                                                         rabia.muqaddam@ag.ny.gov ATTORNEY TO BE NOTICED
                                                         Bar Status: ACTIVE
The State of Oregon                                      Brian            Simmonds     Marshall
Plaintiff                                                Plaintiff
                                                         Oregon Department of Justice Trial Division, Special
                                                         Litigation Unit 100 SW Market Street Portland, OR 97201
                                                - Appx86 -
                   Case: 25-1812            Document: 148          Page: 90       Filed: 07/20/2025

                                                                                                 Page 3 of 17
            1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Litigants                                                       Attorneys
                                                                (503) 507-5014 Email: brian.s.marshall@doj.oregon.gov
                                                                LEAD ATTORNEY ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE

                                                                YoungWoo            Joh
                                                                Plaintiff
                                                                Oregon Department of Justice Trial Division, Special
                                                                Litigation Unit 100 SW Market Street Portland, OR 97201
                                                                (503) 689-5696 Email: youngwoo.joh@doj.oregon.gov
                                                                ATTORNEY TO BE NOTICED Bar Status: ACTIVE
The State of Vermont                                            Ryan             P.       Kane
Plaintiff                                                       Plaintiff
                                                                Vermont Attorney General's Office 109 State Street
                                                                Montpelier, VT 05609 (802) 828-2153 Email:
                                                                ryan.kane@vermont.gov LEAD ATTORNEY ATTORNEY TO
                                                                BE NOTICED Bar Status: ACTIVE
Kristi Noem                                                     Sosun             Bae
Defendant                                                       Defendant
in her official capacity as Secretary of the Department of      (See above for address) LEAD ATTORNEY ATTORNEY TO
Homeland Security                                               BE NOTICED Bar Status: ACTIVE

                                                                Claudia         Burke
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE

                                                                Eric          J.        Hamilton
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE

                                                                Justin         Reinhart    Miller
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE

                                                                Patricia       M.         McCarthy
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE
Peter R. Flores                                                 Sosun           Bae
Defendant                                                       Defendant
in his official capacity as Acting Commissioner for U.S.        (See above for address) LEAD ATTORNEY ATTORNEY TO
Customs and Border Protection                                   BE NOTICED Bar Status: ACTIVE

                                                                Claudia         Burke
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE

                                                                Eric          J.        Hamilton
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE

                                                                Justin         Reinhart    Miller
                                                                Defendant
                                                                (See above for address) ATTORNEY TO BE NOTICED Bar
                                                           - Appx87 -
                 Case: 25-1812        Document: 148         Page: 91        Filed: 07/20/2025
                                                                                                 Page 4 of 17
            1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Litigants                                                Attorneys
                                                         Status: ACTIVE

                                                         Patricia         M.        McCarthy
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE
President Donald J. Trump                                Sosun             Bae
Defendant                                                Defendant
                                                         U.S. Department of Justice Commercial Litigation Branch -
                                                         Civil Division P.O. Box 480 Ben Franklin Station Washington,
                                                         DC 20044 (202) 305-7568 Fax: (202) 514-8624 Email:
                                                         sosun.bae@usdoj.gov LEAD ATTORNEY ATTORNEY TO
                                                         BE NOTICED Bar Status: ACTIVE

                                                         Brett         A.         Shumate
                                                         Defendant
                                                         U.S. Department of Justice Civil Division 950 Pennsylvania
                                                         Avenue, NW. Washington, DC 20530 (202) 514-2000 Email:
                                                         brett.a.shumate@usdoj.gov ATTORNEY TO BE NOTICED
                                                         Bar Status: ACTIVE

                                                         Claudia           Burke
                                                         Defendant
                                                         U.S. Department of Justice Commercial Litigation Branch -
                                                         Civil Division P.O. Box 480 Ben Franklin Station Washington,
                                                         DC 20044 (202) 353-9063 Fax: (202) 307-7965 Email:
                                                         claudia.burke@usdoj.gov ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Eric          J.        Hamilton
                                                         Defendant
                                                         U.S. Department of Justice Federal Programs Branch - Civil
                                                         Division 950 Pennsylvania Avenue, NW. Washington, DC
                                                         20530 (202) 353-2793 Email: eric.hamilton@usdoj.gov
                                                         ATTORNEY TO BE NOTICED Bar Status: ACTIVE

                                                         Justin         Reinhart     Miller
                                                         Defendant
                                                         U.S. Department of Justice International Trade Field Office
                                                         26 Federal Plaza New York, NY 10278 (212) 264-9241 Fax:
                                                         (212) 264-1916 Email: Justin.R.Miller@usdoj.gov
                                                         ATTORNEY TO BE NOTICED Bar Status: ACTIVE

                                                         Patricia         M.        McCarthy
                                                         Defendant
                                                         U.S. Department of Justice Commercial Litigation Branch -
                                                         Civil Division P.O. Box 480 Ben Franklin Station Washington,
                                                         DC 20044 (202) 307-0164 Fax: (202) 514-7969 Email:
                                                         patricia.mccarthy@usdoj.gov ATTORNEY TO BE NOTICED
                                                         Bar Status: ACTIVE
United States                                            Sosun             Bae
Defendant                                                Defendant
                                                         (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                         BE NOTICED Bar Status: ACTIVE

                                                         Brett         A.         Shumate
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE
                                                - Appx88 -
                 Case: 25-1812          Document: 148       Page: 92      Filed: 07/20/2025
                                                                                                 Page 5 of 17
            1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Litigants                                                Attorneys

                                                         Claudia         Burke
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Eric          J.        Hamilton
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Justin         Reinhart    Miller
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Patricia       M.         McCarthy
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE
United States Customs and Border Protection              Sosun           Bae
Defendant                                                Defendant
                                                         (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                         BE NOTICED Bar Status: ACTIVE

                                                         Brett         A.         Shumate
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Claudia         Burke
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Eric          J.        Hamilton
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Justin         Reinhart    Miller
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Patricia       M.         McCarthy
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE
United States Department of Homeland Security            Sosun           Bae
Defendant                                                Defendant
                                                         (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                         BE NOTICED Bar Status: ACTIVE

                                                         Brett         A.         Shumate
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE
                                                - Appx89 -
                 Case: 25-1812         Document: 148        Page: 93       Filed: 07/20/2025
                                                                                                 Page 6 of 17
            1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Litigants                                                Attorneys

                                                         Claudia         Burke
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Eric          J.        Hamilton
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Justin         Reinhart    Miller
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Patricia       M.        McCarthy
                                                         Defendant
                                                         (See above for address) ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE
148 Members of the United States Congress                William        Fred       Norton
Amicus                                                   Amicus
                                                         The Norton Law Firm PC 300 Frank H. Ogawa Plaza Suite
                                                         450 Oakland, CA 94612 (510) 906-4900 Email:
                                                         fnorton@nortonlaw.com LEAD ATTORNEY ATTORNEY TO
                                                         BE NOTICED Bar Status: ACTIVE

                                                         Celine         Georges     Purcell
                                                         Amicus
                                                         The Norton Law Firm PC 300 Frank H. Ogawa Plaza Suite
                                                         450 Oakland, CA 94612 (510) 906-4900 Email:
                                                         cpurcell@nortonlaw.com ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Emily         Kirk
                                                         Amicus
                                                         The Norton Law Firm PC 300 Frank H. Ogawa Plaza Suite
                                                         450 Oakland, CA 94612 (510) 906-4900 Email:
                                                         ekirk@nortonlaw.com ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Josephine        Kendra      Petrick
                                                         Amicus
                                                         The Norton Law Firm PC 300 Frank H. Ogawa Plaza Suite
                                                         450 Oakland, CA 94612 (510) 906-4900 Email:
                                                         jpetrick@nortonlaw.com ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Nathan         Loy       Walker
                                                         Amicus
                                                         The Norton Law Firm PC 300 Frank H. Ogawa Plaza Suite
                                                         450 Oakland, CA 94612 (510) 906-4900 Email:
                                                         nwalker@nortonlaw.com ATTORNEY TO BE NOTICED Bar
                                                         Status: ACTIVE

                                                         Rebecca         Kutlow
                                                         Amicus
                                                         The Norton Law Firm PC 300 Frank H. Ogawa Plaza Suite
                                                         450 Oakland, CA 94612 (510) 906-4900 Email:
                                                - Appx90 -
                 Case: 25-1812            Document: 148            Page: 94       Filed: 07/20/2025
                                                                                                  Page 7 of 17
             1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Litigants                                                       Attorneys
                                                                rkutlow@nortonlaw.com ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE
America First Legal Foundation                                  R. Trent       McCotter
Amicus                                                          Amicus
                                                                Boyden Gray PLLC 800 Connecticut Avenue, NW. Suite 900
                                                                Washington, DC 20006 (202) 706-5488 Email:
                                                                tmccotter@boydengray.com LEAD ATTORNEY ATTORNEY
                                                                TO BE NOTICED Bar Status: ACTIVE
Bob Ferguson                                                    Steven         W.         Fogg
Amicus                                                          Amicus
                                                                Corr Cronin LLP 1015 Second Avenue Ste 10th Floor
                                                                Seattle, WA 98104 (206) 625-8600 Email:
                                                                sfogg@corrcronin.com LEAD ATTORNEY ATTORNEY TO
                                                                BE NOTICED Bar Status: ACTIVE

                                                                Kathryn          Joy
                                                                Amicus
                                                                Corr Cronin LLP 1015 Second Avenue Ste Floor 10 Seattle,
                                                                WA 98104 (206) 501-3542 Email: kjoy@corrcronin.com
                                                                ATTORNEY TO BE NOTICED Bar Status: ACTIVE
Gavin Newsom                                                    Shiwon           Choe
Amicus                                                          Amicus
                                                                (See above for address) LEAD ATTORNEY ATTORNEY TO
                                                                BE NOTICED Bar Status: ACTIVE
The State of California                                         Shiwon           Choe
Amicus                                                          Amicus
                                                                California Attorney General's Office Government Law Section
                                                                455 Golden Gate Avenue Suite 11000 San Francisco, CA
                                                                94102 (415) 510-3835 Email: shiwon.choe@doj.ca.gov
                                                                LEAD ATTORNEY ATTORNEY TO BE NOTICED Bar
                                                                Status: ACTIVE


Proceedings

Date            #                Proceeding Text                               Details
04/23/2025      1
                                 Summons . Filed by Brian Simmonds
                                 Marshall of Oregon Department of Justice on
                                 behalf of The State of Oregon. (Marshall,
                                 Brian) (Entered: 04/23/2025)
04/23/2025      2
                                 Complaint against All Defendants. Answer
                                 due by 6/23/2025. Filed by Brian Simmonds
                                 Marshall of Oregon Department of Justice on
                                 behalf of All Plaintiffs.(Marshall, Brian)
                                 (Entered: 04/23/2025)
04/23/2025      3
                                 Form 5 Information Statement . Filed by
                                 Brian Simmonds Marshall of Oregon
                                 Department of Justice on behalf of All
                                 Plaintiffs. (Marshall, Brian) (Entered:
                                 04/23/2025)
04/23/2025      4
                                 Form 13 Corporate Disclosure Statement .
                                 Filed by Brian Simmonds Marshall of Oregon
                                 Department of Justice on behalf of All
                                 Plaintiffs. (Marshall, Brian) (Entered:
                                 04/23/2025)
04/23/2025      5
                                 Form 11 Notice of Appearance . Filed by

                                                      - Appx91 -
                    Case: 25-1812        Document: 148              Page: 95         Filed: 07/20/2025

                                                                                                  Page 8 of 17
             1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Date            #             Proceeding Text                                     Details
                              Sosun Bae of U.S. Department of Justice on
                              behalf of All Defendants.(Bae, Sosun)
                              (Entered: 04/23/2025)
04/24/2025      6
                              Order entered on 4/24/2025 assigning action
                              to Judges Gary S. Katzmann, Timothy M.
                              Reif and Jane A. Restani. (Swindell,
                              Stephen) (Entered: 04/24/2025)
04/25/2025      7
                              Form 11 Notice of Appearance . Filed by
                              YoungWoo Joh of Oregon Department of
                              Justice on behalf of The State of
                              Oregon.(Joh, YoungWoo) (Entered:
                              04/25/2025)
04/25/2025      8
                              Form 11 Notice of Appearance . Filed by
                              Sarah H. Weiss of Colorado Department of
                              Law on behalf of The State of
                              Colorado.(Weiss, Sarah) (Entered:
                              04/25/2025)
04/29/2025      9
                              Form 11 Notice of Appearance . Filed by
                              Rabia C. Muqaddam of New York Office of
                              the Attorney General on behalf of The State
                              of New York.(Muqaddam, Rabia) (Entered:
                              04/29/2025)
04/29/2025      10
                              Paperless Order entered on 4/29/2025: By
                              close of business on May 8, 2025, Plaintiffs
                              may file a brief of no more than 10,000 words
                              setting forth Plaintiffs' position on the Motion
                              for Summary Judgment currently pending in
                              V.O.S. Selections, Inc. v. Trump, No. 25-
                              00066 (USCIT filed Apr. 18, 2025, ECF No.
                              10). This deadline does not preclude
                              Plaintiffs' filing of their own dispositive or
                              non-dispositive motion at a later date.
                              Plaintiffs' non-filing of a brief by May 8, 2025,
                              will not be construed as a waiver or forfeiture
                              of any claim or argument. Defendants are
                              directed to file a response to the
                              aforementioned brief, of no more than 7,000
                              words, no later than close of business on
                              May 12, 2025. SO ORDERED by the panel.
                              (Goell, Geoffrey) (Entered: 04/29/2025)
04/30/2025      11
                              Form 11 Notice of Appearance . Filed by
                              Michael Kenneth Skold of State of
                              Connecticut Office of the Attorney General
                              on behalf of The State of Connecticut.(Skold,
                              Michael) (Entered: 04/30/2025)
05/01/2025      12
                              Form 11 Notice of Appearance . Filed by
                              Gretchen Elizabeth Helfrich of Office of the
                              Illinois Attorney General on behalf of The
                              State of Illinois.(Helfrich, Gretchen) (Entered:
                              05/01/2025)
05/01/2025      13
                              Form 11 Notice of Appearance . Filed by
                              Vivian A. Mikhail of Office of the Maine
                              Attorney General on behalf of The State of
                              Maine.(Mikhail, Vivian) (Entered: 05/01/2025)

                                                      - Appx92 -
                  Case: 25-1812          Document: 148             Page: 96         Filed: 07/20/2025
                                                                                                  Page 9 of 17
             1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Date            #             Proceeding Text                                    Details
05/07/2025      14
                              Application/Motion for preliminary injunction .
                              Responses due by 5/28/2025. Filed by Brian
                              Simmonds Marshall of Oregon Department of
                              Justice on behalf of All Plaintiffs.
                              (Attachments: # 1 Appendix Index of
                              Attachments, # 2 Declaration of James R.
                              Hines Jr., # 3 Declaration of Brian Simmonds
                              Marshall, # 4 Declaration of Hanna Emerson,
                              # 5 Declaration of Elizabeth Hayes, # 6
                              Declaration of Robert Jaros, # 7 Declaration
                              of Jenifer Johnson, # 8 Declaration of
                              Jeanette Moy, # 9 Declaration of Amy
                              Ramsdell, # 10 Declaration of Joshua Root, #
                              11 Declaration of Gregory Shabram, # 12
                              Declaration of Todd Strole, # 13 Declaration
                              of Kristine Ward, # 14 Declaration of Jake
                              Zelenka)(Marshall, Brian) (Entered:
                              05/07/2025)
05/07/2025      15
                              Brief on V.O.S, Selections' Motion for
                              Summary Judgment (related document(s) 10
                              ). Filed by Brian Simmonds Marshall of
                              Oregon Department of Justice on behalf of
                              All Plaintiffs. (Marshall, Brian) (Entered:
                              05/07/2025)
05/08/2025      16
                              Form 11 Notice of Appearance . Filed by
                              Ryan P. Kane of Vermont Attorney General's
                              Office on behalf of The State of
                              Vermont.(Kane, Ryan) (Entered: 05/08/2025)
05/08/2025      17
                              Form 11 Notice of Appearance . Filed by
                              Amy Senier of New Mexico Department of
                              Justice on behalf of The State of New
                              Mexico.(Senier, Amy) (Entered: 05/08/2025)
05/08/2025      18
                              Order entered on 5/8/2025: The court will
                              construe Plaintiffs Motion for Preliminary
                              Injunction, May 7, 2025, ECF No. 14, as a
                              Motion for Summary Judgment. See USCIT
                              R. 56(f). Plaintiffs are therefore directed to
                              file, no later than close of business on May
                              13, 2025, a supplemental brief of not more
                              than 10,000 words that presents all
                              arguments relevant to establishing Plaintiffs
                              entitlement to judgment as a matter of law.
                              Defendants will file a response of not more
                              than 14,000 words to Plaintiffs Motion and
                              supplemental brief no later than close of
                              business on May 16, 2025. Plaintiffs will file a
                              reply of not more than 7,000 words in further
                              support of their Motion no later than 12:00
                              p.m. on May 20, 2025. A hearing will take
                              place on May 21, 2025, at 2:00 p.m. EDT in
                              Courtroom 1 in the James L. Watson
                              Courthouse. (SO ORDERED by the
                              panel).(Warner, Scott) (Entered: 05/08/2025)
05/09/2025      19
                              Form 11 Notice of Appearance . Filed by
                              Mark H. Ladov of New York Office of the
                              Attorney General on behalf of The State of
                              New York.(Ladov, Mark) (Entered:

                                                     - Appx93 -
                    Case: 25-1812        Document: 148            Page: 97        Filed: 07/20/2025
                                                                                                 Page 10 of 17
             1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Date            #             Proceeding Text                                  Details
                              05/09/2025)
05/12/2025      20
                              Form 11 Notice of Appearance . Filed by
                              Cara Ann Hendrickson of Office of the Illinois
                              Attorney General on behalf of The State of
                              Illinois.(Hendrickson, Cara) (Entered:
                              05/12/2025)
05/12/2025      21
                              Form 11 Notice of Appearance . Filed by
                              William Fred Norton of The Norton Law Firm
                              PC on behalf of 148 Members of the United
                              States Congress.(Norton, William) (Entered:
                              05/12/2025)
05/12/2025      22
                              Form 11 Notice of Appearance . Filed by
                              Nathan Loy Walker of The Norton Law Firm
                              PC on behalf of 148 Members of the United
                              States Congress.(Walker, Nathan) (Entered:
                              05/12/2025)
05/12/2025      23
                              Form 11 Notice of Appearance . Filed by
                              Josephine Kendra Petrick of The Norton Law
                              Firm PC on behalf of 148 Members of the
                              United States Congress.(Petrick, Josephine)
                              (Entered: 05/12/2025)
05/12/2025      24
                              Form 11 Notice of Appearance . Filed by
                              Celine Georges Purcell of The Norton Law
                              Firm PC on behalf of 148 Members of the
                              United States Congress.(Purcell, Celine)
                              (Entered: 05/12/2025)
05/12/2025      25
                              Form 11 Notice of Appearance . Filed by
                              Emily Kirk of The Norton Law Firm PC on
                              behalf of 148 Members of the United States
                              Congress.(Kirk, Emily) (Entered: 05/12/2025)
05/12/2025      26
                              Form 11 Notice of Appearance . Filed by
                              Rebecca Kutlow of The Norton Law Firm PC
                              on behalf of 148 Members of the United
                              States Congress.(Kutlow, Rebecca)
                              (Entered: 05/12/2025)
05/12/2025      27
                              Brief Responding to Plaintiffs' Views on
                              V.O.S. Summary Judgment (related
                              document(s) 15 ). Filed by Sosun Bae of U.S.
                              Department of Justice on behalf of All
                              Defendants. (Bae, Sosun) (Entered:
                              05/12/2025)
05/12/2025      28
                              Motion for leave to File Amicus Curiae Brief
                              in Support of Plaintiffs. Responses due by
                              6/2/2025. Filed by William Fred Norton of
                              The Norton Law Firm PC on behalf of 148
                              Members of the United States Congress.
                              (Attachments: # 1 Exhibit A, # 2 Exhibit B)
                              (Norton, William) (Entered: 05/12/2025)
05/12/2025      29
                              Form 13 Corporate Disclosure Statement .
                              Filed by William Fred Norton of The Norton
                              Law Firm PC on behalf of 148 Members of
                              the United States Congress. (Norton,
                              William) (Entered: 05/12/2025)

                                                     - Appx94 -
                  Case: 25-1812          Document: 148             Page: 98        Filed: 07/20/2025
                                                                                                 Page 11 of 17
             1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Date            #             Proceeding Text                                   Details
05/13/2025      30
                              Notice of Form 11 Notice of Appearance
                              Appearance. Filed by Peter J. Farrell of
                              Office of the Minnesota Attorney General on
                              behalf of The State of Minnesota.(Farrell,
                              Peter) (Entered: 05/13/2025)
05/13/2025      31
                              Form 11 Notice of Appearance for Eric
                              Hamilton. Filed by Sosun Bae of U.S.
                              Department of Justice on behalf of All
                              Defendants.(Bae, Sosun) (Entered:
                              05/13/2025)
05/13/2025      32
                              Supplemental Response to Motion for
                              Summary Judgment (related document(s) 14
                              ). Filed by Brian Simmonds Marshall of
                              Oregon Department of Justice on behalf of
                              All Plaintiffs. (Attachments: # 1 Appendix
                              Plaintiffs' Statement of Undisputed Material
                              Facts, # 2 Declaration Second Declaration of
                              Brian Simmonds Marshall)(Marshall, Brian)
                              (Entered: 05/13/2025)
05/13/2025      33
                              Motion to appear as amicus curiae .
                              Responses due by 6/3/2025. Filed by The
                              State of California, Gavin Newsom The State
                              of California, Gavin Newsom. (Attachments:
                              # 1 Proposed Amici Curiae Brief, # 2
                              Proposed Order)(Choe, Shiwon) (Entered:
                              05/13/2025)
05/13/2025      34
                              Form 11 Notice of Appearance . Filed by
                              Gavin Newsom, The State of California of
                              California Attorney General's Office Gavin
                              Newsom, The State of California.(Choe,
                              Shiwon) (Entered: 05/13/2025)
05/13/2025      35
                              Form 13 Corporate Disclosure Statement .
                              Filed by Gavin Newsom, The State of
                              California Gavin Newsom, The State of
                              California. (Choe, Shiwon) (Entered:
                              05/13/2025)
05/15/2025      36
                              Information concerning public access to the
                              audio livestream for the hearing scheduled
                              for May 21st, 2025 at 2:00 p.m. EDT is
                              available on the Court's website at:
                              https://www.cit.uscourts.gov/upcoming-court-
                              proceedings-accessible-teleconference-or-
                              audio-livestream. (Warner, Scott) (Entered:
                              05/15/2025)
05/15/2025      37
                              Paperless Order entered on 5/15/2025: Upon
                              consideration of the motion by the State of
                              California and Governor Gavin Newsom for
                              Leave to File an Amici Curiae Brief, May 13,
                              2025, ECF No. 33, it is hereby ORDERED by
                              the panel that the motion is granted; and it is
                              further ORDERED that the proposed brief is
                              accepted for filing. SO ORDERED by the
                              panel (Related Doc # 33 ). (Goell, Geoffrey)
                              (Entered: 05/15/2025)
05/15/2025      38
                              Amici Curiae Brief of the State of California

                                                     - Appx95 -
                    Case: 25-1812        Document: 148             Page: 99        Filed: 07/20/2025
                                                                                                 Page 12 of 17
             1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Date            #             Proceeding Text                                   Details
                              and Governor Gavin Newsom deemed filed
                              (related document(s) 33 ). Filed by Shiwon
                              Choe of the California Attorney General's
                              Office on behalf of The State of California
                              and Governor Gavin Newsom. (Goell,
                              Geoffrey) (Entered: 05/15/2025)
05/16/2025      39
                              Paperless Order entered on 5/16/2025: Upon
                              consideration of the motion by 148 Members
                              of the United States Congress for Leave to
                              File an Amici Curiae Brief, May 12, 2025,
                              ECF No. 28, it is hereby ORDERED by the
                              panel that the motion is granted; and it is
                              further ORDERED that the proposed brief is
                              accepted for filing. SO ORDERED by the
                              panel (Related Doc # 28 ). (Goell, Geoffrey)
                              (Entered: 05/16/2025)
05/16/2025      40
                              Amici Curiae Brief of 148 Members of
                              Congress deemed filed (related document(s)
                              28 ). Filed by William Fred Norton of The
                              Norton Law Firm PC on behalf of 148
                              Members of the United States Congress.
                              (Goell, Geoffrey) (Entered: 05/16/2025)
05/16/2025      41
                              Response in Opposition to Motion for
                              Summary Judgment and Preliminary
                              Injunction (related document(s) 14 ). Replies
                              due by 6/6/2025. Filed by Sosun Bae of U.S.
                              Department of Justice on behalf of All
                              Defendants.(Bae, Sosun) (Entered:
                              05/16/2025)
05/17/2025      42
                              Order entered on 5/17/2025 Paperless
                              Order: Defendants are directed to re-file their
                              Response in Opposition to Plaintiffs Motion
                              for Preliminary Injunction and Summary
                              Judgment, May 16, 2025, ECF No. 41, in a
                              form that complies with USCIT Rule 56.3(b),
                              no later than close of business on May 19,
                              2025. (By the panel).(Swindell, Stephen)
                              (Entered: 05/17/2025)
05/19/2025      43
                              Unopposed Motion to appear as amicus
                              curiae . Responses due by 6/9/2025. Filed by
                              R. Trent McCotter of Boyden Gray PLLC on
                              behalf of America First Legal Foundation.
                              (Attachments: # 1 Exhibit Proposed Amicus
                              Brief, # 2 Proposed Order)(McCotter, R.
                              Trent) (Entered: 05/19/2025)
05/19/2025      44
                              Form 11 Notice of Appearance . Filed by R.
                              Trent McCotter of Boyden Gray PLLC on
                              behalf of America First Legal
                              Foundation.(McCotter, R. Trent) (Entered:
                              05/19/2025)
05/19/2025      45
                              Form 13 Corporate Disclosure Statement .
                              Filed by R. Trent McCotter of Boyden Gray
                              PLLC on behalf of America First Legal
                              Foundation. (McCotter, R. Trent) (Entered:
                              05/19/2025)

                                                     - Appx96 -
                 Case: 25-1812          Document: 148             Page: 100         Filed: 07/20/2025
                                                                                                 Page 13 of 17
             1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Date            #             Proceeding Text                                   Details
05/19/2025      46
                              Amended Response in Opposition to Motion
                              for Summary Judgment and Preliminary
                              Injunction (related document(s) 14 ). Replies
                              due by 6/9/2025. Filed by Sosun Bae of U.S.
                              Department of Justice on behalf of All
                              Defendants.(Bae, Sosun) (Entered:
                              05/19/2025)
05/20/2025      47
                              Reply in Support of Summary Judgment to
                              Motion (related document(s) 14 ). Replies
                              due by 6/10/2025. Filed by Brian Simmonds
                              Marshall of Oregon Department of Justice on
                              behalf of The State of Vermont, The State of
                              New York, The State of New Mexico, The
                              State of Nevada, The State of Minnesota,
                              The State of Maine, The State of Illinois, The
                              State of Delaware, The State of Connecticut,
                              The State of Colorado, The State of Arizona,
                              The State of Oregon. (Attachments: # 1
                              Second Declaration of Professor James R.
                              Hines, Jr.) (Marshall, Brian) (Entered:
                              05/20/2025)
05/20/2025      48
                              Form 11 Notice of Appearance for Patricia
                              McCarthy and Justin Miller. Filed by Sosun
                              Bae of U.S. Department of Justice on behalf
                              of All Defendants.(Bae, Sosun) (Entered:
                              05/20/2025)
05/20/2025      49
                              Motion for leave to File Amicus Brief.
                              Responses due by 6/10/2025. Filed by
                              Steven W. Fogg of Corr Cronin LLP on
                              behalf of Bob Ferguson. (Attachments: # 1
                              Proposed Order, # 2 Brief Washington State
                              Amici Brief)(Fogg, Steven) (Entered:
                              05/20/2025)
05/20/2025      50
                              Paperless Order entered on 5/20/2025
                              granting Motion to appear as amicus curiae.
                              Upon consideration of the motion by America
                              First Legal Foundation for Leave to File an
                              Amicus Brief, May 19, 2025, ECF No. 43, it is
                              hereby ORDERED by the panel that the
                              motion is granted; and it is further ORDERED
                              that the proposed brief is accepted for filing.
                              (By the panel). (Related Doc # 43 ). (Goell,
                              Geoffrey) (Entered: 05/20/2025)
05/20/2025      51
                              Amici Curiae Brief on behalf of America First
                              Legal Foundation deemed filed (related
                              document(s) 50 ). (Goell, Geoffrey) (Entered:
                              05/20/2025)
05/20/2025      52
                              Paperless Order entered on 5/20/2025
                              granting Motion for leave to file Amicus Brief.
                              Upon consideration of the motion by
                              Washington State Amici Curiae for Leave to
                              File an Amicus Brief, May 20, 2025, ECF No.
                              49, it is hereby ORDERED by the panel that
                              the motion is granted; and it is further
                              ORDERED that the proposed brief is
                              accepted for filing. (By the panel) (Related

                                                     - Appx97 -
                 Case: 25-1812          Document: 148             Page: 101         Filed: 07/20/2025
                                                                                                 Page 14 of 17
             1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Date            #             Proceeding Text                                   Details
                              Doc # 49 ). (Goell, Geoffrey) (Entered:
                              05/20/2025)
05/20/2025      53
                              Amici Curiae Brief on behalf the State of
                              Washington deemed filed (related
                              document(s) 52 ). (Goell, Geoffrey) (Entered:
                              05/20/2025)
05/20/2025      54
                              Form 11 Notice of Appearance of Kathryn
                              C.M. Joy. Filed by Kathryn Joy of Corr Cronin
                              LLP on behalf of Bob Ferguson.(Joy,
                              Kathryn) (Entered: 05/20/2025)
05/20/2025      55
                              Form 11 Notice of Appearance of Steven W.
                              Fogg. Filed by Steven W. Fogg of Corr
                              Cronin LLP on behalf of Bob
                              Ferguson.(Fogg, Steven) (Entered:
                              05/20/2025)
05/20/2025      56
                              Form 13 Corporate Disclosure Statement on
                              behalf of The Washington State Amici. Filed
                              by Steven W. Fogg of Corr Cronin LLP on
                              behalf of Bob Ferguson. (Fogg, Steven)
                              (Entered: 05/20/2025)
05/20/2025      57
                              Form 11 Notice of Appearance for Brett
                              Shumate. Filed by Sosun Bae of U.S.
                              Department of Justice on behalf of All
                              Defendants.(Bae, Sosun) (Entered:
                              05/20/2025)
05/20/2025      58
                              Notice of Supplemental Authority filed. . Filed
                              by Sosun Bae of U.S. Department of Justice
                              on behalf of All Defendants.(Bae, Sosun)
                              (Entered: 05/20/2025)
05/21/2025      59
                              Hearing held on May 21, 2025 at 2:00 p.m. in
                              CIT Courtroom 1. . (Goell, Geoffrey)
                              (Entered: 05/21/2025)
05/22/2025      60
                              Form 11 Notice of Appearance . Filed by
                              Syreeta Tyrell of Arizona Attorney General's
                              Office on behalf of The State of
                              Arizona.(Tyrell, Syreeta) (Entered:
                              05/22/2025)
05/22/2025      61
                              Form 11 Notice of Appearance . Filed by
                              Joshua David Rothenber Bendor of Arizona
                              Attorney General's Office on behalf of The
                              State of Arizona.(Bendor, Joshua) (Entered:
                              05/22/2025)
05/23/2025      62
                              Consent Motion for errata to correct Amici
                              Curiae Brief document number# 53 filed with
                              the Court electronically on 05/20/2025
                              (related document(s) 53 ). Responses due by
                              6/13/2025. Filed by Steven W. Fogg of Corr
                              Cronin LLP on behalf of Bob Ferguson.
                              (Attachments: # 1 Proposed Order, # 2 Brief
                              Redline Amicus Brief, # 3 Brief Amicus Brief
                              (Clean))(Fogg, Steven) (Entered:
                              05/23/2025)
05/23/2025      63
                              Notice of Exhibits (related document(s) 41 ,

                                                     - Appx98 -
                 Case: 25-1812          Document: 148              Page: 102          Filed: 07/20/2025
                                                                                                 Page 15 of 17
             1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Date            #             Proceeding Text                                     Details
                              46 ). Filed by Claudia Burke of U.S.
                              Department of Justice on behalf of All
                              Defendants. (Burke, Claudia) (Entered:
                              05/23/2025)
05/27/2025      64
                              Transcript of Oral argument held on
                              5/21/2025 filed with court. Pursuant to
                              Administrative Order 08-01 re: the redaction
                              of personal data identifiers. Notice of Intent to
                              Redact Deadline due 6/3/2025. Redaction
                              Request due 6/17/2025. Redacted Transcript
                              Deadline set for 6/27/2025. Release of
                              Transcript Restriction set for 8/25/2025.
                              (Cheevers, Casey) (Entered: 05/27/2025)
05/28/2025      65
                              Order entered on 5/28/2025, Slip-Op. 25-66:
                              The court grants Plaintiffs' Motions for
                              Summary Judgment and denies Plaintiffs'
                              Motions for Preliminary Injunction as moot.
                              By the panel. (related document(s) 10 , 15 ,
                              64 , 18 , 47 , 41 , 32 , 14 ) (Attachments: # 1
                              Cited Web Page(s)) (Chien, Jason) (Entered:
                              05/28/2025)
05/28/2025      66
                              Judgment to Slip-Op. 25-66 entered on
                              5/28/2025: In accordance with the court's
                              opinion of this date, it is hereby ORDERED
                              that Executive Order 14193, Imposing Duties
                              To Address the Flow of Illicit Drugs Across
                              Our Northern Border, 90 Fed. Reg. 9113
                              (Feb. 1, 2025); Executive Order 14194,
                              Imposing Duties To Address the Situation at
                              Our Southern Border, 90 Fed. Reg. 9117
                              (Feb. 1, 2025); Executive Order 14195,
                              Imposing Duties To Address the Synthetic
                              Opioid Supply Chain in the People's Republic
                              of China, 90 Fed. Reg. 9121 (Feb. 1, 2025);
                              Executive Order 14257, Regulating Imports
                              with a Reciprocal Tariff to Rectify Trade
                              Practices that Contribute to Large and
                              Persistent Annual United States Goods
                              Trade Deficits, 90 Fed. Reg. 15041 (Apr. 2,
                              2025) (collectively, the "Challenged Tariff
                              Orders"); and all modifications and
                              amendments thereto; be, and hereby are,
                              declared to be invalid as contrary to law; it is
                              further ORDERED that the operation of the
                              Challenged Tariff Orders and all
                              modifications and amendments thereto be,
                              and hereby is, permanently enjoined; it is
                              further ORDERED that within 10 calendar
                              days necessary administrative orders to
                              effectuate the permanent injunction shall
                              issue; and it is further ORDERED that each
                              party shall bear its own costs. By the panel.
                              (related document(s) 65 ) (Chien, Jason)
                              (Entered: 05/28/2025)
05/28/2025      67
                              Notice of Appeal of judgment of 05/28/2025
                              filed. (related document(s) 65 , 66 ). Filed by
                              Claudia Burke of U.S. Department of Justice
                              on behalf of All Defendants.(Burke, Claudia)

                                                      - Appx99 -
                 Case: 25-1812          Document: 148               Page: 103         Filed: 07/20/2025
                                                                                                 Page 16 of 17
             1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

Date            #             Proceeding Text                                     Details
                              (Entered: 05/28/2025)
05/28/2025      68
                              Appeal of Slip-Op. 25-66 docketed on
                              5/28/2025 by the CAFC as appeal no. 2025-
                              1813 (related document(s) 67 ). (Chien,
                              Jason) (Entered: 05/28/2025)
05/28/2025      69
                              Motion to stay enforcement of judgment
                              pending appeal. Responses due by
                              6/18/2025. Filed by Sosun Bae of U.S.
                              Department of Justice on behalf of All
                              Defendants.(Bae, Sosun) (Entered:
                              05/28/2025)
05/29/2025      70
                              Paperless Order entered on 5/29/2025:
                              ORDERED that by 12 pm ET on May 30,
                              2025, Plaintiffs shall file a brief of no more
                              than 5,000 words responding to the
                              Government's Motion to Stay Enforcement of
                              Judgment Pending Appeal, May 28, 2025,
                              ECF No. 69. (Goell, Geoffrey) (Entered:
                              05/29/2025)
05/29/2025      71
                              Order entered on 5/29/2025 Paperless Order
                              - ORDERED that the court's Order of May
                              29, 2025, ECF No. 70, is hereby amended;
                              and it is further ORDERED that by 5 pm ET
                              on June 2, 2025, Plaintiffs shall file a brief of
                              no more than 5,000 words responding to the
                              Governments Motion to Stay Enforcement of
                              Judgment Pending Appeal, May 28, 2025,
                              ECF No. 69.(Swindell, Stephen) (Entered:
                              05/29/2025)
06/02/2025      72
                              Response to Motion for a Stay of
                              Enforcement of Judgment Pending Appeal
                              (related document(s) 69 ). Filed by Brian
                              Simmonds Marshall of Oregon Department of
                              Justice on behalf of All Plaintiffs.
                              (Attachments: # 1 Declaration of Brian
                              Simmonds Marshall)(Marshall, Brian)
                              (Entered: 06/02/2025)
06/03/2025      73
                              Order entered on 6/3/2025: ORDERED that
                              the USCIT Motions to Stay are HELD IN
                              ABEYANCE pending the Federal Circuit's
                              consideration of the Government's motion to
                              stay this court's judgment pending appeal.
                              (Goell, Geoffrey) (Entered: 06/03/2025)
06/03/2025      74
                              Form 23 Certification of Filing and Service of
                              Physical Exhibit or Item (flash drive
                              containing media files referenced in the Third
                              Marshall Declaration, ECF Doc. No. 72-1).
                              Filed by Mark H. Ladov of NYS Office of The
                              Attorney General on behalf of The State of
                              New York. (Ladov, Mark) (Entered:
                              06/03/2025)
06/04/2025      75
                              Paperless Order entered on 6/4/2025: The
                              Washington State Amici's consent motion for
                              errata is GRANTED. It is hereby ORDERED
                              that the corrections are deemed made by

                                                     - Appx100 -
                     Case: 25-1812         Document: 148            Page: 104         Filed: 07/20/2025




                                                                                                  Page 17 of 17
              1:25-cv-00077, The State of Oregon et al v. United States Department of Homeland Security

 Date            #               Proceeding Text                                  Details
                                 physical substitution of the corrected version
                                 of the Joint Brief of Washington State Amici
                                 Curiae in Support of Plaintiffs' Motion
                                 forPreliminary Injunction and Summary
                                 Judgment. (Goell, Geoffrey) (Entered:
                                 06/04/2025)
 06/04/2025      76
                                 Amended Amici Curiae Brief on behalf the
                                 State of Washington deemed filed (related
                                 document(s) 75 ). Filed by Steven W. Fogg
                                 of Corr Cronin LLP on behalf of Bob
                                 Ferguson. (Goell, Geoffrey) (Entered:
                                 06/04/2025)
 06/11/2025      77
                                 Order from CAFC The motions for a stay
                                 pending appeal are granted. See Order.
                                 (Goell, Geoffrey) (Entered: 06/11/2025)
 06/16/2025      78
                                 Paperless Order entered on 6/16/2025: Upon
                                 the Federal Circuit's Order granting a stay of
                                 the rulings enjoining certain Executive Orders
                                 imposing tariffs, June 11, 2025, ECF No. 77,
                                 it is hereby ORDERED that Defendants'
                                 Motion to Stay Enforcement of Judgment
                                 Pending Appeal, May 28, 2025, ECF No. 69,
                                 is DENIED as moot. (Goell, Geoffrey)
                                 (Entered: 06/16/2025)
 06/18/2025      79
                                 Form 11 Notice of Appearance for Heidi
                                 Parry Stern. Filed by Heidi Parry Stern of
                                 Nevada Attorney General's Office on behalf
                                 of The State of Nevada.(Stern, Heidi)
                                 (Entered: 06/18/2025)

Copyright © LexisNexis CourtLink, Inc. All Rights Reserved.
*** THIS DATA IS FOR INFORMATIONAL PURPOSES ONLY ***



  End of Document




                                                       - Appx101 -
          Case: 25-1812      Document: 148       Page: 105   Filed: 07/20/2025

        Case 1:25-cv-00066-N/A      Document 2     Filed 04/14/25    Page 1 of 25




                          IN THE UNITED STATES COURT
                            OF INTERNATIONAL TRADE


V.O.S. SELECTIONS, INC.; PLASTIC
SERVICES AND PRODUCTS, LLC d/b/a                 Case No. 25-00066
GENOVA PIPE; MICROKITS, LLC;
FISHUSA INC.; TERRY PRECISION
CYCLING LLC,
                                                        Complaint
                      Plaintiffs,

v.

DONALD J. TRUMP, in his official
capacity as President of the United
States; EXECUTIVE OFFICE OF THE
PRESIDENT; the UNITED STATES OF
AMERICA; UNITED STATES CUSTOMS AND
BORDER PROTECTION; PETE R. FLORES,
in his official capacity as Acting
Commissioner of United States Customs
and Border Protection; JAMIESON
GREER, in his official capacity as United
States Trade Representative; OFFICE OF
THE UNITED STATES TRADE
REPRESENTATIVE; HOWARD LUTNICK, in
his official capacity as Secretary of
Commerce,

                      Defendants.


     1. The President of the United States claims the authority to unilaterally levy

tariffs on goods imported from any and every country in the world, at any rate,

calculated via any methodology—or mere caprice—immediately, with no notice, or

public comment, or phase-in, or delay in implementation, despite massive economic

impacts that are likely to do severe damage to the global economy.




                                            1

                                      - Appx102 -
         Case: 25-1812       Document: 148      Page: 106     Filed: 07/20/2025

      Case 1:25-cv-00066-N/A       Document 2      Filed 04/14/25    Page 2 of 25




   2. If actually granted by statute, this power would be an unlawful delegation of

legislative power to the executive without any intelligible principle to limit his

discretion.

   3. But Congress has not delegated any such power. The statute the President

invokes—the International Emergency Economic Powers Act (“IEEPA”)—does not

authorize the President to unilaterally issue across-the-board worldwide tariffs.

   4. And the President’s justification does not meet the standards set forth in the

IEEPA. His claimed emergency is a figment of his own imagination: trade deficits,

which have persisted for decades without causing economic harm, are not an

emergency. Nor do these trade deficits constitute an “unusual and extraordinary

threat.” The President’s attempt to use IEEPA to impose sweeping tariffs also runs

afoul of the major questions doctrine.

   5. This Court should declare the President’s unprecedented power grab illegal,

enjoin the operation of the executive actions that purport to impose these tariffs

under the IEEPA, and reaffirm this country’s core founding principle: there shall be

no taxation without representation.

                                   JURISDICTION

   6. The Court has subject matter jurisdiction under 28 U.S.C. § 1581 because

this action is commenced against an officer of the United States and arises out of an

executive order providing for tariffs. 28 U.S.C. § 1581(i)(1)(B); see Silfab Solar, Inc.

v. United States, 296 F. Supp. 3d 1296 (Ct Int’l Trade 2018).

   7. The Court possesses all the powers in law and equity of, or as conferred by

statute upon, a district court of the United States. 28 U.S.C. § 1585. The Court may

                                            2

                                      - Appx103 -
         Case: 25-1812       Document: 148       Page: 107     Filed: 07/20/2025

      Case 1:25-cv-00066-N/A       Document 2      Filed 04/14/25    Page 3 of 25




enter a money judgment for or against the United States in any civil action

commenced under 28 U.S.C. § 1581 or 28 U.S.C. § 1582 and may also order any

other form of relief that is appropriate in a civil action, including but not limited to

declaratory judgments, orders of remand, injunctions, and writs of mandamus and

prohibition. 28 U.S.C. §§ 2643(a)(1), (c)(1).

                                       PARTIES

   8. Plaintiff V.O.S. Selections, Inc. is a 39-year-old New York-based business,

founded by Victor Owen Schwartz, that specializes in the importation and

distribution of small-production wines, spirits, and sakes from six continents. V.O.S.

Selections has made and makes significant direct purchases of wines, spirits, and

sakes from Austria, Italy, Greece, Lebanon, Morocco, Spain, France, Portugal,

Mexico, Argentina, Germany, Croatia, Hungary, and South Africa. The products it

imports are not reasonably available from a producer in the United States.

   9. Plaintiff Plastic Services and Products, LLC d/b/a Genova Pipe is a Utah-

based manufacturer of plastic pipe, conduit, and fittings for plumbing, irrigation,

drainage, and electrical applications. Genova Pipe imports raw materials, including

plastic resins, from South Korea, Japan, China, Taiwan, Thailand, and Oman;

manufacturing equipment from India, Italy, China, and Taiwan; and finished

plumbing goods and steel pipe from China, Taiwan, Thailand, Vietnam, and Oman.

Genova Pipe has seven facilities across the United States where it manufactures its

products, relying on raw materials and equipment from abroad. The products it

imports are not reasonably available from a supplier in the United States.



                                            3

                                      - Appx104 -
         Case: 25-1812     Document: 148        Page: 108    Filed: 07/20/2025

      Case 1:25-cv-00066-N/A       Document 2     Filed 04/14/25   Page 4 of 25




   10. Plaintiff MicroKits, LLC is a Virginia-based company founded by David Levi

in 2020 that makes educational electronic kits and musical instruments. It imports

electronic parts from China, Mexico, Thailand, and Taiwan, which are used to

assemble kits by Mr. Levi and one part-time employee at its Charlottesville,

Virginia location. The electronic parts MicroKits imports are not readily available

from United States suppliers at all, without substantial additional costs, or without

having to redesign its products.

   11. Plaintiff FishUSA Inc., is a 25-year-old retail and wholesale e-commerce

business based in Erie County, Pennsylvania, specializing in the production and

sale of sportfishing tackle and related gear. FishUSA imports many of its products,

including private label products, from foreign countries including Canada, China,

South Korea, and Kenya. The imports FishUSA relies on are not readily available

from a United States supplier and cannot be obtained from a United States supplier

without substantial additional cost and delay in delivery.

   12. Plaintiff Terry Precision Cycling, LLC is a Vermont-based brand of women’s

cycling apparel. It imports finished goods directly from China, Taiwan, Vietnam,

Italy, and the Philippines. Its U.S.-based manufacturing partner imports fabrics

and trims from several other countries including Guatemala, El Salvador, China,

and the European Union to produce products domestically for Terry Cycling. The

imports Terry Cycling relies on are not reasonably available from a supplier in the

United States.




                                          4

                                     - Appx105 -
         Case: 25-1812        Document: 148      Page: 109    Filed: 07/20/2025

       Case 1:25-cv-00066-N/A       Document 2     Filed 04/14/25   Page 5 of 25




   13. Defendant Donald J. Trump is the President of the United States and is sued

in his official capacity.

   14. Defendant Executive Office of the President is the federal agency that

oversees core functions of the executive branch, including the Office of the United

States Trade Representative. It is headquartered in Washington, D.C.

   15. Defendant United States of America is the federal government of the United

States of America.

   16. Defendant United States Customs and Border Protection (“CPB”) is a federal

agency and a component of the Department of Homeland Security, responsible for,

among other things, securing ports of entry and collecting tariffs on imported goods.

It is headquartered in Washington, D.C.

   17. Defendant Pete R. Flores is the Acting Commissioner of United States

Customs and Border Protection. He is sued in his official capacity.

   18. Defendant Jameson Greer is the United States Trade Representative and is

sued in his official capacity.

   19. Defendant Office of the United States Trade Representative is the federal

agency responsible for developing United States trade policy. It is headquartered in

Washington, D.C.

   20. Defendant Howard Lutnick is the United States Secretary of Commerce and

is sued in his official capacity.




                                           5

                                      - Appx106 -
        Case: 25-1812      Document: 148       Page: 110    Filed: 07/20/2025

      Case 1:25-cv-00066-N/A      Document 2     Filed 04/14/25    Page 6 of 25




                                       FACTS
The Executive Actions

   21. On February 1, 2025, the President issued Executive Order 14195, entitled

“Imposing Duties to Address the Synthetic Opioid Supply Chain in the People’s

Republic of China” (the “China Executive Order”).1

   22. The China Executive Order declared that a national emergency posed by the

influx of illegal aliens and drugs into the United States applied to the Chinese

government’s failure to “arrest, seize, detain, or otherwise intercept chemical

precursor suppliers, money launderers, other TCOs, criminals at large, and drugs.”

It declared that China’s failure to act constituted “an unusual and extraordinary

threat, which has its source in substantial part outside the United States, to the

national security, foreign policy, and economy of the United States.”

   23. The China Executive Order imposed an incremental 10% tariff in addition to

existing tariffs on all imports from China.

   24. On March 3, 2025, the President issued Executive Order 14228, entitled

“Further Amendment to Duties Addressing the Synthetic Opioid Supply Chain in

the People's Republic of China,” 2 which doubled the incremental tariffs on imports

from China to 20%. As justification for the rate increase, it stated that the Chinese

government had “not taken adequate steps to alleviate the illicit drug crisis.”



1 Available at https://www.whitehouse.gov/presidential-actions/2025/02/imposing-

duties-to-address-the-synthetic-opioid-supply-chain-in-the-peoples-republic-of-
china/
2 Available at https://www.whitehouse.gov/presidential-actions/2025/04/further-

amendment-to-duties-addressing-the-synthetic-opioid-supply-chain-in-the-peoples-
republic-of-china-as-applied-to-low-value-imports/
                                          6

                                    - Appx107 -
         Case: 25-1812        Document: 148      Page: 111    Filed: 07/20/2025

      Case 1:25-cv-00066-N/A      Document 2       Filed 04/14/25   Page 7 of 25




   25. On April 2, 2025, “Liberation Day,” the President issued Executive Order

14257, entitled “Regulating Imports with a Reciprocal Tariff to Rectify Trade

Practices that Contribute to Large and Persistent Annual United States Goods

Trade Deficits” (the “Liberation Day Order”).3

   26. The Liberation Day Order imposed sweeping new tariffs at rates not seen

since the Great Depression—including a global 10% tariffs on nearly all countries in

the world, regardless of whether they impose tariffs on United States products, the

rates at which they do so,4 or the existence of any trade agreements governing the

relationship. These tariffs even applied to places with no civilian population or

international trade activity, such as the British Indian Ocean Territory, whose only

human inhabitants belong to a joint American and British military base on the

island of Diego Garcia, and the Heard and McDonald Islands, which are inhabited

only by penguins and seals.

   27. In addition to the global 10% tariff, the Liberation Day Order levied much

higher tariff rates on dozens of countries based on what the administration claimed

to be an estimate of “tariff and nontariff barriers,” but ultimately turned out to be a




3 Available at https://www.whitehouse.gov/presidential-actions/2025/04/regulating-

imports-with-a-reciprocal-tariff-to-rectify-trade-practices-that-contribute-to-large-
and-persistent-annual-united-states-goods-trade-deficits/
4 Some of the targeted countries, including Israel and Switzerland, impose no tariffs

on imports of goods from the United States. See Ilya Somin, The Tariff Madness
Isn’t Over, REASON, Apr.10, 2025, available at
https://reason.com/volokh/2025/04/10/the-tariff-madness-isnt-over/; Liz Alderman &
Melissa Eddy, Swiss Indignant to Make the Top 10 of Trump’s Tariffs List, N.Y.
TIMES, Apr. 4, 2025, available at
https://www.nytimes.com/2025/04/04/business/trump-tariffs-switzerland.html,
                                           7

                                     - Appx108 -
         Case: 25-1812      Document: 148       Page: 112     Filed: 07/20/2025

      Case 1:25-cv-00066-N/A      Document 2       Filed 04/14/25       Page 8 of 25




simple ratio of the trade deficit in goods (excluding services) as a percentage of total

U.S. imports from the given country.

   28. The chosen formula is not an accepted methodology for calculating trade

barriers and has no basis in economic theory.

   29. On April 9, 2025, the President issued an additional Executive Order,

entitled “Modifying Reciprocal Tariff Rates To Reflect Trading Partner Retaliation

And Alignment,”5 which paused the elevated tariff rates on most countries for 90

days, while leaving the global 10% tariff in place for all countries.

   30. The April 9 Order did not reduce the tariff rate applied to imports from

China. Instead, it imposed a new, higher tariff rate of 125% on Chinese goods in

retaliation for China’s imposition of its own tariffs in response to the President’s

imposition of elevated tariffs on China. The tariff rate imposed on China was later

increased to 145%.

   31. On April 11, 2025, the President issued a Memorandum entitled

“Clarification of Exceptions Under Executive Order 14257 of April 2, 2025, as

Amended,”6 providing clarification of allowable exceptions under the Liberation Day

Order. The Memorandum states that “semiconductors,” defined as including

products classified in various headings and subheadings of Chapters 84 and 85 of




5 Available at https://www.whitehouse.gov/presidential-actions/2025/04/modifying-

reciprocal-tariff-rates-to-reflect-trading-partner-retaliation-and-alignment/
6 Available at https://www.whitehouse.gov/presidential-

actions/2025/04/clarification-of-exceptions-under-executive-order-14257-of-april-2-
2025-as-amended/
                                           8

                                      - Appx109 -
           Case: 25-1812      Document: 148      Page: 113    Filed: 07/20/2025

       Case 1:25-cv-00066-N/A       Document 2     Filed 04/14/25   Page 9 of 25




the Harmonized Tariff Schedule of the United States (HTSUS), are exempted from

the tariffs imposed by the Liberation Day Order.

   32. As a statutory basis, the Liberation Day Order cites the International

Emergency Economic Powers Act of 1977, 50 U.S.C. § 1701 et seq. (“IEEPA”), the

National Emergencies Act, 50 U.S.C. § 1601 et seq., section 604 of the Trade Act of

1974, as amended, 19 U.S.C. § 2483, and section 301 of title 3, United States Code.

   33. But none of these statutes grants the President the authority to impose

tariffs.

   34. The Constitution explicitly reserves to Congress the power to “lay and collect

taxes, duties, imposts and excises,” and “[t]o regulate commerce with foreign

nations.” U.S. Const. art. I, § 8 cl.1, 3.

   35. Indeed, Title 19 of the United States Code, “Customs and Duties,” (as

opposed to Title 50, “War and National Defense”) is where one would expect to find

such presidential authority, but it makes no mention of such authority.

   36. Congress knows how to grant the President tariff authority when it wants to.

   37. Under 19 U.S. Code § 1862, the President has a clear framework for

adjusting duties and import restrictions for the purpose of “safeguarding national

security.” Yet the President has attempted to avoid that framework by stretching

Congress’s specific grant of emergency authority into general tariff authority. See

Nat’l Fed’n of Indep. Bus. v. Occupational Safety & Health Admin., 595 U.S. 109,

125 (2022) (quoting Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 468 (2001))

(Congress “does not . . . ‘hide elephants in mouseholes’”).



                                             9

                                        - Appx110 -
         Case: 25-1812            Document: 148      Page: 114     Filed: 07/20/2025

     Case 1:25-cv-00066-N/A            Document 2      Filed 04/14/25    Page 10 of 25




   38. Other specific grants of authority for the President to impose tariffs in

limited specific circumstances exist. Under 19 U.S.C. § 2411, the President may

impose tariffs on other countries that have violated trade agreements. And the

President may provide specific, targeted relief to industries that need time to adjust

to foreign competition pursuant to 19 U.S.C. § 2251.

   39. IEEPA provides that the President may:

        (A)          investigate, regulate, or prohibit—
              (i)       any transactions in foreign exchange,
              (ii)      transfers of credit or payments between, by, through, or to any
                        banking institution, to the extent that such transfers or payments
                        involve any interest of any foreign country or a national thereof,
              (iii)     the importing or exporting of currency or securities, by any
                        person, or with respect to any property, subject to the jurisdiction
                        of the United States;
        (B)          investigate, block during the pendency of an investigation, regulate,
                     direct and compel, nullify, void, prevent or prohibit, any acquisition,
                     holding, withholding, use, transfer, withdrawal, transportation,
                     importation or exportation of, or dealing in, or exercising any right,
                     power, or privilege with respect to, or transactions involving, any
                     property in which any foreign country or a national thereof has any
                     interest by any person, or with respect to any property, subject to the
                     jurisdiction of the United States . . . .

50 U.S.C. § 1702.

   40. IEEPA further provides that these authorities “may only be exercised to deal

with an unusual and extraordinary threat with respect to which a national

emergency has been declared for purposes of this chapter and may not be exercised

for any other purpose.” 50 U.S.C. § 1701(b).

   41. But the word “tariff” does not appear in the IEEPA, nor does any synonym or

equivalent.


                                                10

                                           - Appx111 -
         Case: 25-1812      Document: 148       Page: 115     Filed: 07/20/2025

      Case 1:25-cv-00066-N/A      Document 2      Filed 04/14/25    Page 11 of 25




   42. No previous President has used IEEPA to impose tariffs, except for President

Trump himself briefly during his first term, in an executive action that was

withdrawn before it was fully implemented or subject to judicial review. Tom

Campbell, Presidential Authority to Impose Tariffs, 83 La. L. Rev. 596, 597 (2023).

   43. The “unusual and extraordinary threat” asserted as a “national emergency”

by the Liberation Day Order is not an emergency, and is not unusual,

extraordinary, new, unexpected, odd, or even surprising.

   44. According to the Liberation Day order, the President

      find[s] that underlying conditions, including a lack of reciprocity in our
      bilateral trade relationships, disparate tariff rates and non-tariff barriers,
      and U.S. trading partners’ economic policies that suppress domestic wages
      and consumption, as indicated by large and persistent annual U.S. goods
      trade deficits, constitute an unusual and extraordinary threat to the
      national security and economy of the United States. That threat has its
      source in whole or substantial part outside the United States in the
      domestic economic policies of key trading partners and structural
      imbalances in the global trading system. I hereby declare a national
      emergency with respect to this threat.

   45. In other words, the national emergency claimed to be unusual and

extraordinary in this case is the existence of bilateral trade deficits in goods

(excluding services, for which the United States runs a trade surplus with the

world) with some foreign trading partners.

   46. Trade deficits are not unusual or extraordinary—the United States has run a

net trade deficit at most times since World War II, and consistently since the 1970s.

Brian Reinbold, Yi Wen, Historical U.S. Trade Deficits, Federal Reserve Bank of St.




                                           11

                                     - Appx112 -
         Case: 25-1812      Document: 148      Page: 116    Filed: 07/20/2025

      Case 1:25-cv-00066-N/A      Document 2    Filed 04/14/25    Page 12 of 25




Louis, May 17, 2019.7 That necessarily includes bilateral trade deficits with many

individual nations.

   47. Nor are trade deficits an emergency or even necessarily a problem; they

simply mean that some other country sells lots of things Americans want to buy, or

that its people are unwilling or unable (often because of poverty) to purchase many

American goods.8 Moreover, trade deficits go hand in hand with capital surpluses,

which increases investment in the United States. Norbert Michel, Trade and

Investment Are Not a Balancing Act, Cato Institute, Nov. 9, 2023.9

   48. Section 604 of the Trade Act of 1974 provides that “[t]he President shall from

time to time, as appropriate, embody in the Harmonized Tariff Schedule of the

United States the substance of the relevant provisions of this chapter, and of other

Acts affecting import treatment, and actions thereunder, including removal,

modification, continuance, or imposition of any rate of duty or other import

restriction.” 19 U.S.C. § 2483.


7 Available at https://www.stlouisfed.org/on-the-economy/2019/may/historical-u-s-

trade-deficits
8 Economists generally agree bilateral trade deficits are not a meaningful problem

at all, much less an emergency or an extraordinary and unusual threat. For
overviews, see James McBride and Andrew Chatzky, The U.S. Trade Deficit: How
Much Does It Matter?, Council on Foreign Relations (2019), available at
https://www.cfr.org/backgrounder/us-trade-deficit-how-much-does-it-matter (noting
that most economists recognize bilateral trade deficits do not matter, and the
overall trade deficit is determined mainly by macroeconomic forces); Michael
Chapman, Ignore the Politicians: Trade Deficits Don’t Really Matter, Cato Institute
(Aug. 29, 2024), available at https://www.cato.org/blog/ignore-politicians-trade-
deficits-dont-really-matter (summarizing standard economic analysis showing that
trade deficits don’t matter).
9 Available at https://www.cato.org/policy-analysis/trade-investment-are-not-

balancing-act
                                         12

                                    - Appx113 -
         Case: 25-1812       Document: 148       Page: 117    Filed: 07/20/2025

      Case 1:25-cv-00066-N/A       Document 2     Filed 04/14/25    Page 13 of 25




   49. Section 604 is a bookkeeping provision: it assigns to the President the task of

periodically updating the Harmonized Tariff Schedule to reflect changes in policy

that have occurred. It does not set out any power, authority, or process by which the

President may unilaterally set such policies.

   50. The National Emergencies Act, 50 U.S.C. § 1601 et seq., provides the general

framework for declarations of national emergencies. It explicitly disclaims granting

any substantive authority itself, instead requiring that “[w]hen the President

declares a national emergency, no powers or authorities made available by statute

for use in the event of an emergency shall be exercised unless and until the

President specifies the provisions of law under which he proposes that he, or other

officers will act.” 50 U.S.C. § 1631.

   51. And 3 U.S.C. § 301 gives the President “[g]eneral authorization to delegate

functions” to subordinate federal officials. It has nothing to do with tariffs or trade

regulation.

The Plaintiffs

   52. V.O.S. Selections, Inc. cannot domestically source the variety of wines,

spirits, and sake it offers. Wine produced in different regions of the globe is not

fungible due to unique characteristics of taste, texture, and aroma imparted by

climate, soil quality, grape varietals, elevation and other factors. V.O.S. works with

small artisanal producers who craft products that represent the highest level of

authenticity and quality of the place they are from. While there are wines, spirits,

and sakes produced in the United States, they are not equivalent substitutes for



                                            13

                                        - Appx114 -
         Case: 25-1812      Document: 148      Page: 118     Filed: 07/20/2025

     Case 1:25-cv-00066-N/A      Document 2      Filed 04/14/25    Page 14 of 25




those that are produced abroad. V.O.S. is on the cutting edge, bringing products to

the market from producers and regions that the United States market is not

familiar with, and building loyal relationships with these foreign producers that

span generations. The uncertainty of the tariff rates is particularly severe for V.O.S.

because as a wholesaler of alcoholic beverages it is required to post prices a month

in advance of sales and is not permitted to change the prices until the next posting

period; this prevents V.O.S. from updating prices to reflect the tariffs charged. This

uncertainty also hinders its ability to plan shipments and select products that fall

within the correct price points for its customers. The reduction in cash flow caused

by increased tariffs also necessarily reduces the company’s inventory and the level

of business that V.O.S. can conduct, leading to an overall reduction in purchase

orders placed with both foreign and domestic suppliers.

   53. Genova Pipe cannot domestically source the raw materials, including plastic

resins, and manufacturing equipment that are necessary to manufacture its

American-made plastic pipe, conduit, and fittings. Of the two U.S. producers of ABS

resin suitable for pipe and fittings made by Genova Pipe, one producer is shutting

down its only American plant and the other is unavailable to supply Genova Pipe.

With over 75% of global ABS resin production concentrated in Northeast Asia,

Genova Pipe is dependent on imports to continue its manufacturing operations. The

tariffs will directly increase the cost of raw materials, manufacturing equipment,

and resale goods imported from abroad by Genova Pipe. And its Canadian




                                          14

                                     - Appx115 -
         Case: 25-1812        Document: 148      Page: 119   Filed: 07/20/2025

      Case 1:25-cv-00066-N/A      Document 2      Filed 04/14/25   Page 15 of 25




customers may opt for local suppliers who are not subject to the tariffs, potentially

resulting in a large loss of revenue.

   54. At the current rates, MicroKits cannot order parts from China and will have

to pause operations when it runs out of parts. The tariffs on imports from countries

other than China will force MicroKits to raise prices—even if the tariffs on Chinese

imports didn’t force it to pause operations. Because of the Liberation Day Order and

the April 9 Executive Order, MicroKits will likely be unable to pay its employees,

will lose money, and as a result may go out of business. And the clarification set

forth in the April 11 Memorandum exempting semiconductors does not change the

threat to MicroKits because many of the components imported by MicroKits needed

to fabricate its products are not listed as semiconductors exempt under the

Memorandum.

   55. FishUSA has spent years working with factories to design and build the

products it sells. Shifting production to the United States would mean starting the

whole process over again. The tariffs have caused FishUSA to delay shipment of

finished goods from China due to the unpredictability of the tariff rate that will be

imposed when the product arrives, and it has also paused production of some

products. The chaos created by the uncertain tariffs is preventing FishUSA from

growing its business, creating more jobs in the United States, and developing new

products for its customers.

   56. Terry Cycling cannot domestically source its fabrics and finished goods at the

quality and price necessary to remain viable in a competitive industry. The impacts



                                            15

                                        - Appx116 -
         Case: 25-1812      Document: 148       Page: 120     Filed: 07/20/2025

      Case 1:25-cv-00066-N/A      Document 2      Filed 04/14/25    Page 16 of 25




of the tariffs on Terry Cycling have been severe and escalating. Terry Cycling has

already paid $25,000 in unplanned tariffs this year for goods for which Terry was

the importer of record, and Terry projects that the tariffs will cost the company

approximately $250,000 by the end of 2025. Looking ahead to 2026, if no changes

are made to current trade policy or its supply chain structure, Terry Cycling will

face an estimated $1.2 million in tariff costs—an amount that is simply not

survivable for a business of its size. To manage these increases, Terry has been

forced to pass along costs to its customers and will also decrease product offerings

and reduce availability to retail partners. In the short run, these tariffs are an

existential threat to Terry Cycling.

   57. As these impacts on the Plaintiffs show, the tariffs imposed by the Liberation

Day Order are unprecedented, and simply breathtaking in scale.

                                       COUNT I
   The President’s action levying tariffs exceeds his statutory authority.

   58. The preceding paragraphs are incorporated herein by reference.

   59. Presidential authority to unilaterally impose worldwide tariffs, if Congress

were to grant it at all, must be granted clearly and unmistakably—not through

some implication so vague and indeterminate that it went unnoticed by every other

President for nearly five decades. See Nat’l Fed’n of Indep. Bus. v. Occupational

Safety & Health Admin., 595 U.S. at 125 (quoting Whitman, 531 U.S. at 468)

(“Congress does not usually ‘hide elephants in mouseholes.’”).

   60. IEEPA does not mention tariffs or duties, or at any point suggest that it is

granting the power to lay and collect such.

                                           16

                                       - Appx117 -
         Case: 25-1812      Document: 148       Page: 121    Filed: 07/20/2025

     Case 1:25-cv-00066-N/A      Document 2      Filed 04/14/25    Page 17 of 25




   61. There is no precedent for using IEEPA to impose tariffs. No other President

has ever done so or ever claimed the power to do so.

   62. The existence of trade deficits in goods with some other countries does not

qualify as a national emergency, as required by IEEPA.

   63. The existence of trade deficits in goods with some other countries is not an

unusual and extraordinary threat, as required by IEEPA.

   64. Courts are generally skeptical of newly claimed grants of authority

discovered for the first time in decades-old statutes. Utility Air Regulatory Group v.

EPA, 573 U.S. 302, 324 (2014) (“When an agency claims to discover in a long-extant

statute an unheralded power to regulate ‘a significant portion of the American

economy,’ . . . we typically greet its announcement with a measure of skepticism.”)

(quoting FDA v. Brown & Williamson Tobacco Corp., 529 U.S. 120, 159 (2000)).

   65. Indeed, Congress passed IEEPA to limit what it saw as presidential abuses of

emergency authorities in the years prior to 1977. Peter E. Harrell, The Case Against

IEEPA Tariffs, Lawfare, Jan. 31, 2025.10

   66. Congress knows how to grant the President authority to impose or adjust

tariffs when it wishes to, and it has done so in more limited statutes contained in

Title 19 of the United States Code. But the President has decided to avoid the limits

on his authority imposed by Congress by finding a new never-before-seen authority

under IEEPA.




10 Available at https://www.lawfaremedia.org/article/the-case-against-ieepa-tariffs


                                           17

                                     - Appx118 -
         Case: 25-1812       Document: 148      Page: 122     Filed: 07/20/2025

      Case 1:25-cv-00066-N/A      Document 2      Filed 04/14/25    Page 18 of 25




   67. The President’s interpretation of IEEPA is not entitled to deference—rather,

it is the duty of the courts to independently “determine the best reading” of the

statute at issue. Loper Bright Enterprises v. Raimondo, 603 U.S. 369, 400 (2024).

   68. IEEPA does not grant the President power to impose tariffs at all—it does

not mention such a power or imply it. The President’s actions exceed the statutory

authority Congress granted him.

   69. “Courts expect Congress to speak clearly if it wishes to assign to an agency

decisions of vast economic and political significance.” West Virginia v. EPA, 597 U.S.

697, 716 (2022) (cleaned up) (quoting Utility Air Regulatory Group v. EPA, 573 U. S.

302, 324 (2014)). The assertion that IEEPA grants the President his claimed

authority raises a major question that requires Congress to speak clearly in

granting such a broad and consequential power to upend the global economy.

   70. “In the absence of a clear mandate in the Act, it is unreasonable to assume

that Congress intended to give the [President] the unprecedented power over

American industry that would result from the Government's view.” Indus. Union

Dep’t, AFL-CIO v. API, 448 U.S. 607, 645 (1980). If anything qualifies as a

“decision . . . of vast economic and political significance,” requiring a clear statement

under the major question doctrine, this is it. West Virginia, 597 U.S. at 716.

   71. The Liberation Day Order would impose an estimated average of almost

$1,300 in new taxes per year on American households, for a total tax burden of

some $1.4 to 2.2 billion over the next ten years, reducing US gross domestic product

by some 0.8% (without accounting for retaliation by foreign states). Erica York &



                                           18

                                      - Appx119 -
         Case: 25-1812      Document: 148       Page: 123     Filed: 07/20/2025

      Case 1:25-cv-00066-N/A      Document 2      Filed 04/14/25    Page 19 of 25




Alex Durante, Trump Tariffs: The Economic Impact of the Trump Trade War, Tax

Foundation, Apr. 11, 2025.11

   72. This impact is at least as large—and likely much larger—than executive

actions previously found by the Supreme Court to be “major questions,” requiring a

clear statement by Congress to authorize executive discretion. See, e.g.¸ Biden v.

Nebraska, 600 U.S. 477 (2023) (approximately $400 billion in student loan

forgiveness); West Virginia v. Environmental Protection Agency, 597 U.S. 697 (2022)

(EPA authority to regulate carbon emissions where the administration had not

offered a specific emission reduction plan); Nat’l Fed’n of Indep. Bus. v.

Occupational Safety & Health Admin., 595 U.S. 109 (2022) (pandemic-era

vaccination mandate for workers employed by firms with 100 or more employees);

Ala. Ass’n of Realtors v. HHS, 594 U.S. 758 (2021) (temporary pandemic-era

nationwide eviction moratorium).

   73. The tariffs illegally imposed by the President via IEEPA directly and

irreparably harm Plaintiffs, who will face increase costs for the goods they sell, less

demand for their higher priced products, and disrupted supply chains, among other

threats to their livelihood, up to and including potentially bankrupting otherwise

solvent companies.




11 Available at https://taxfoundation.org/research/all/federal/trump-tariffs-trade-

war. These estimates include the impact of a few smaller tariff increases adopted by
the administration under IEEPA, but most of the effect is from the Liberation Day
Order.
                                          19

                                     - Appx120 -
            Case: 25-1812    Document: 148       Page: 124     Filed: 07/20/2025

          Case 1:25-cv-00066-N/A   Document 2      Filed 04/14/25    Page 20 of 25




                                       COUNT II
           If the IEEPA grants broad, unlimited authority to issue tariffs
                worldwide to the President, it is an unconstitutional
                        delegation of legislative authority.

    74. The preceding paragraphs are incorporated herein by reference.

    75. Article I, Section 1 of the Constitution provides that “[a]ll legislative powers

herein granted shall be vested in a Congress of the United States.” U.S. Const. art.

I, § 1.

    76. The nondelegation doctrine is at bottom an attempt to take this provision

seriously: there are legislative powers to make laws, and all such power resides in

the Congress. See Dep’t of Transp. v. Ass’n of Am. R.R., 575 U.S. 43, 74 (2015)

(Thomas, J., concurring) (“[T]he separation of powers is, in part, what supports our

enduring conviction that the Vesting Clauses are exclusive and that the branch in

which a power is vested may not give it up or otherwise reallocate it.”).

    77. Implicit in this setup is the premise that neither branch may delegate its

sphere of power to any other. “The Vesting Clauses, and indeed the entire structure

of the Constitution, make no sense [if there is no limit on delegations].” Gary

Lawson, Delegation and Original Meaning, 88 Va. L. Rev. 327, 340 (2002).

    78. “The nondelegation doctrine is rooted in the principle of separation of powers

that underlies our tripartite system of Government.” Mistretta v. United States, 488

U.S. 361, 371 (1989).

    79. The Court therefore requires that any grant of regulatory authority be

provided with an “intelligible principle” that will form the basis of agency action.




                                            20

                                      - Appx121 -
         Case: 25-1812       Document: 148       Page: 125    Filed: 07/20/2025

      Case 1:25-cv-00066-N/A        Document 2    Filed 04/14/25    Page 21 of 25




See A.L.A. Schechter Poultry Corp. v. United States, 295 U.S. 495, 529 (1935);

Panama Refining Co. v. Ryan, 293 U.S. 388, 430 (1935).

   80. The basic requirement that derives from the Supreme Court’s cases is that

“Congress must set forth standards sufficiently definite and precise to enable

Congress, the courts, and the public to ascertain whether Congress’s guidance has

been followed.” Gundy v. United States, 588 U.S. 128, 158 (2019) (Gorsuch, J.,

dissenting) (quoting Yakus v. United States, 321 U. S. 414, 426 (1944)).

   81. IEEPA does not authorize tariffs at all, and this Court should so hold, by

applying the rule of constitutional avoidance if necessary. But even if IEEPA did

grant the President the broad, standardless discretion he claims—which it does

not—and had done so clearly enough to satisfy the major questions doctrine—which

it has not—it would be an unlawful delegation of legislative authority without any

intelligible governing principle.

   82. If there are any constitutional limits to delegation at all, they apply here, in a

case where the executive claims virtually limitless authority to impose massive tax

increases and start a worldwide trade war. This is the most “sweeping delegation of

legislative power” claimed by the executive since the Supreme Court invalidated the

National Recovery Act in 1935. Schechter Poultry, 295 U.S. at 539; see id. at 542

(noting that the NRA gave the “virtually unfettered’’ discretion to the President “in

approving or prescribing codes, and thus enacting laws for the government of trade

and industry throughout the country”).




                                           21

                                       - Appx122 -
         Case: 25-1812      Document: 148      Page: 126     Filed: 07/20/2025

      Case 1:25-cv-00066-N/A     Document 2      Filed 04/14/25     Page 22 of 25




   83. “The Government’s theory would give [the President] power to impose

enormous costs that might produce little, if any, discernible benefit.” Indus. Union

Dep’t, 448 U.S. at 645.

   84. This interpretation would render the Act the equivalent of the delegations

the Supreme Court previously struck down, “one of which provided literally no

guidance for the exercise of discretion, and the other of which conferred authority to

regulate the entire economy on the basis of no more precise a standard than

stimulating the economy by assuring ‘fair competition.’” Whitman, 531 U.S. at 474.

   85. This interpretation of the IEEPA would constitute a “sweeping delegation of

legislative power” of the kind rejected in previous Supreme Court cases. Indus.

Union Dep’t, 448 U.S. at 646 (quoting Schechter Poultry, 295 U.S. at 539).

   86. If longstanding, perfectly normal, bilateral trade deficits qualify as an

“emergency” and as an “unusual and extraordinary threat,” the same can be said of

virtually any international economic transaction that the President disapproves of

for virtually any reason. The President would have the power to impose any level of

tariffs on goods or services from any country, for any purpose, pretty much anytime

he wants.

   87. The sheer breadth of this claimed power—to impose tariffs at any level on

any country at any time, at levels that could very well crash the global economy—

counsels against reading IEEPA to confer such an extreme delegation of authority.

Crowell v. Benson, 285 U.S. 22, 62 (1932) (“When the validity of an act of the

Congress is drawn in question, and even if a serious doubt of constitutionality is



                                          22

                                     - Appx123 -
         Case: 25-1812       Document: 148      Page: 127     Filed: 07/20/2025

      Case 1:25-cv-00066-N/A      Document 2      Filed 04/14/25    Page 23 of 25




raised, it is a cardinal principle that this Court will first ascertain whether a

construction of the statute is fairly possible by which the question may be

avoided.”).

   88. IEEPA provides no intelligible principle for the imposition of tariffs—indeed,

it provides no principle at all by which this Court, or anyone else, might determine

whether the guidance Congress provided has been followed.

   89. The tariffs illegally imposed by the President via the unconstitutional

delegation of authority under IEEPA directly and irreparable harm Plaintiffs, who

will face increase costs for the goods they sell, less demand for their higher prices

products, and disrupted supply chains, among other threats to their livelihood, up

to and including potentially bankrupting otherwise-solvent companies.

                               PRAYER FOR RELIEF

   WHEREFORE, Plaintiffs pray that the Court grant the following relief:

   a. Declare that IEEPA grants the President no statutory authority to

      unilaterally impose tariffs;

   b. Declare that the President has not identified a valid national emergency as

      required by IEEPA and that the continued existence of trade deficits in goods

      is not in and of itself a national emergency;

   c. Declare that the President has failed to make any showing of an “unusual

      and extraordinary threat” as required by IEEPA;




                                           23

                                      - Appx124 -
        Case: 25-1812      Document: 148      Page: 128      Filed: 07/20/2025

     Case 1:25-cv-00066-N/A      Document 2     Filed 04/14/25        Page 24 of 25




   d. Declare that, if Congress has granted the President unilateral authority to

      impose global tariffs of any amount at his whim, it is an unconstitutional

      delegation of legislative power;

   e. Enjoin the operation of the April 2, 2025, Executive Order entitled

      “Regulating Imports with a Reciprocal Tariff to Rectify Trade Practices that

      Contribute to Large and Persistent Annual United States Goods Trade

      Deficits”;

   f. Enjoin the operation of the April 9, 2025, Executive Order entitled “Modifying

      Reciprocal Tariff Rates To Reflect Trading Partner Retaliation And

      Alignment”;

   g. Award Plaintiffs damages in the amount of any tariffs collected by

      Defendants pursuant to the challenged orders;

   h. Award Plaintiffs other such damages as are appropriate;

   i. Award Plaintiffs their attorneys’ fees and costs under the Equal Access to

      Justice Act, 28 U.S.C. § 2412(d), and any other applicable law; and

   j. Grant any such other relief as this Court may deem just or proper.


Dated: April 14, 2025


                                              Respectfully submitted,


                                              /s/ Jeffrey M. Schwab




                                         24

                                    - Appx125 -
     Case: 25-1812       Document: 148    Page: 129     Filed: 07/20/2025

     Case 1:25-cv-00066-N/A     Document 2      Filed 04/14/25   Page 25 of 25




Jeffrey Schwab                                Ilya Somin
Reilly Stephens                               Antonin Scalia Law School
James McQuaid                                 George Mason University
Bridget Conlan                                3301 Fairfax Dr.
Liberty Justice Center                        Arlington, Virginia 22201
7500 Rialto Blvd.                             703-993-8069
Suite 1-250                                   isomin@gmu.edu
Austin, Texas 78735
512-481-4400
jschwab@ljc.org
rstephens@ljc.org
jmcquaid@ljc.org
bconlan@ljc.org




                                         25

                                - Appx126 -
           Case: 25-1812   Document: 148   Page: 130   Filed: 07/20/2025




Case 1:25-cv-00066-GSK-TMR-JAR   Document 10    Filed 04/18/25   Page 42 of 68




                    Exhibit
                                 A

                                  - Appx127 -
     Case: 25-1812    Document: 148     Page: 131    Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR    Document 10   Filed 04/18/25   Page 43 of 68




                                 - Appx128 -
     Case: 25-1812    Document: 148     Page: 132    Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR    Document 10   Filed 04/18/25   Page 44 of 68




                                 - Appx129 -
     Case: 25-1812    Document: 148     Page: 133    Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR    Document 10   Filed 04/18/25   Page 45 of 68




                                 - Appx130 -
     Case: 25-1812    Document: 148     Page: 134    Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR    Document 10   Filed 04/18/25   Page 46 of 68




                                 - Appx131 -
     Case: 25-1812    Document: 148     Page: 135    Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR    Document 10   Filed 04/18/25   Page 47 of 68




                                 - Appx132 -
     Case: 25-1812    Document: 148     Page: 136    Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR    Document 10   Filed 04/18/25   Page 48 of 68




                                 - Appx133 -
           Case: 25-1812   Document: 148   Page: 137   Filed: 07/20/2025




Case 1:25-cv-00066-GSK-TMR-JAR   Document 10    Filed 04/18/25   Page 49 of 68




                    Exhibit
                                 B

                                  - Appx134 -
                    Case 1:25-cv-00066-GSK-TMR-JAR    Document 10   Filed 04/18/25   Page 50 of 68
Filed: 07/20/2025
Page: 138
Document: 148
Case: 25-1812




                                                     - Appx135 -
                    Case 1:25-cv-00066-GSK-TMR-JAR    Document 10   Filed 04/18/25   Page 51 of 68
Filed: 07/20/2025
Page: 139
Document: 148
Case: 25-1812




                                                     - Appx136 -
                    Case 1:25-cv-00066-GSK-TMR-JAR    Document 10   Filed 04/18/25   Page 52 of 68
Filed: 07/20/2025
Page: 140
Document: 148
Case: 25-1812




                                                     - Appx137 -
     Case: 25-1812    Document: 148     Page: 141    Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR    Document 10   Filed 04/18/25   Page 53 of 68




                     Exhibit
                                   C




                                 - Appx138 -
         Case: 25-1812        Document: 148        Page: 142      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR            Document 10       Filed 04/18/25    Page 54 of 68




                            IN THE UNITED STATES COURT
                              OF INTERNATIONAL TRADE


 V.O.S. SELECTIONS, INC., et al.
                                                   Case No. 25-00066
                        Plaintiffs,

 v.

 DONALD J. TRUMP, et al.,

                        Defendants.


                            DECLARATION OF DAVID LEVI

I, David Levi, state as follows:

      1. I am a US citizen at least 18 years of age. If called to testify, I would testify

as follows:

      2. I am the CEO of MicroKits LLC (“MicroKits”).

      3. MicroKits is headquartered in Charlottesville, Virginia.

      4. MicroKits makes small educational electronic kits and musical instruments

that students and hobbyists can assemble. They are a useful tool to teach students

and hobbyists the basics of electrical engineering.

      5. MicroKits employs one part-time worker in addition to David Levi.

      6. MicroKits imports electronic parts from China, Mexico, Thailand, and

Taiwan, but final assembly takes place in Charlottesville.

      7. At the current rates, MicroKits cannot order parts from China and will have

to pause operations when it runs out of parts.




                                               1




                                        - Appx139 -
      Case: 25-1812       Document: 148       Page: 143      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR        Document 10      Filed 04/18/25    Page 55 of 68




   8. The tariffs on imports from countries other than China will force MicroKits to

raise prices—even if the tariffs on Chinese imports didn’t force it to pause

operations.

   9. Because of the Liberation Day Order and the April 9 Executive Order,

MicroKits will likely be unable to order more parts to make its products, which will

cause it to furlough its employees, lose money, and potentially go out of business.

   10. MicroKits estimates that it currently has enough parts to continue

manufacturing operations as usual for 7 weeks before it will have to shut down its

U.S. manufacturing.

   11. The length of the shutdown is dependent upon the duration of the tariffs; due

to an estimated 10 week delay between ordering and receiving imported parts, if the

injunction were granted today MicroKits estimates they would shut down for 3

weeks.

   12. MicroKits will not be able to produce enough inventory to stay in stock during

the crucial Q4 holiday sales season if more parts are not ordered to continue

manufacturing.

   13. MicroKits cannot afford to pay higher prices for the component parts it

orders from China and cannot source the component parts domestically for a

reasonable price.

   14. MicroKits is currently fighting to compete with Chinese factories that have

stolen its code and designs.




                                          2




                                    - Appx140 -
       Case: 25-1812       Document: 148       Page: 144     Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR         Document 10      Filed 04/18/25    Page 56 of 68




   15.MicroKits will not be able to compete with copycat versions of its product,

made by companies infringing on its intellectual and fully producing their products

in China, if it has to pay more for its oomponent parts due to tariffs or if MicroKits

runs out of inventory.

   16.MicroKits had planned to hire an operations assistant to provide more time

for David Levi to design products, but the tariffs have put that plan on hold.

   17. MicroKits will suffer irreparable harm to its business absent an injunction

due to loss of business opportunities, harm to its reputation and loss of goodwill

with consumers.


Under penalty of perjury, I affirm that the foregoing is true and correct.



Dated: _'t'._1/,_l_?>_(2..0_2S
                    __
                                               David Levi




                                           3




                                    - Appx141 -
     Case: 25-1812    Document: 148     Page: 145    Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR    Document 10   Filed 04/18/25   Page 57 of 68




                     Exhibit
                                  D




                                 - Appx142 -
        Case: 25-1812         Document: 148       Page: 146      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR            Document 10      Filed 04/18/25     Page 58 of 68



                           IN THE UNITED STATES COURT
                             OF INTERNATIONAL TRADE


V.O.S. SELECTIONS, INC., et al.
                                                  Case No. 25-00066
                       Plaintiffs,

v.

DONALD J. TRUMP, et al.,

                       Defendants.


                         DECLARATION OF DAN PASTORE

I, Dan Pastore, state as follows:

     1. I am a US citizen at least 18 years of age. If called to testify, I would testify

as follows:

     2. I am the President of Fish USA, Inc. ("Fish USA'').

     3. Fish USA is headquartered in Fairview, Pennsylvania. It employs

approximately 70 full and part-time employees.

     4. FishUSA produces and sells sportfishing tackle and related gear.

     5. Fish USA is a direct importer of many products from foreign countries,

including from Canada, China, South Korea, and Kenya.

     6. The imports Fish USA relies on are not reasonably available from a United

States supplier.

     7. Fish USA imports some of its product directly from vendors in Canada, whose

product is manufactured in Canada and in other countries.·



                                              1




                                       - Appx143 -
       Case: 25-1812        Document: 148        Page: 147      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR          Document 10       Filed 04/18/25    Page 59 of 68



   8. Fish USA also produces its own private label products. For private label

products FishUSA goes through a multi-year development process with the

manufacturer    to source, design, and test before going into production. These private

label products include fishing rods, fishing nets, tackle storage and fly boxes,

terminal tackle and apparel.

   9. Fish USA purchases fishing tacking from major tackle manufacturers         and

that product is made all over the world. Much of the fishing tackle available in the

United States is manufactured    in China and other Asian countries.

   10. Fish USA also sells tackle, gear and apparel manufactured      by hundreds of

different suppliers, including U.S.-based companies or the U.S. divisions of

international   companies that import their products from foreign countries. Much of

this gear is produced in foreign countries, especially China. FishUSA anticipates

manufacturers    will raise the prices on the products Fish USA purchases due to the

tariffs; some have already done so.

   11.Many if not most of the products that Fish USA purchases from domestic

suppliers are sourced in whole or in part from abroad, meaning that almost all of its

inventory sources will be impacted by the tariffs at some level.

   12. There is currently no alternative source for cost-effective fishing tackle that is

made entirely in the United States, and there is not sufficient time for businesses

like FishUSA to develop that infrastructure     before the business will face dire

consequences.




                                            2




                                      - Appx144 -
      Case: 25-1812           Document: 148    Page: 148       Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR         Document 10      Filed 04/18/25    Page 60 of 68



   13. It takes many months and in many cases years working with a factory to

design FishUSA's private label product. Fish USA cannot just shift this production

to the US without starting over.

   14. The imposition of tariffs that effectively require Fish USA to shift production

to the United States will push back delivery of their product at least months and in

many cases years, and the cost will be substantially higher.

   15. If Fish USA had the ability to source its products in the United States at a

competitive price, it would have already done so.

   16. Fish USA would be willing to source products manufactured in the United

States, if they were competitively priced to make economic sense for the business; to

FishUSA's knowledge, this does not exist currently and would take many years to

develop. Fish USA is building a private label rod in the United States, but the cost of

the rod is significantly higher than having a comparable rod built overseas.

   17.The tariffs have caused FishUSA to delay shipment of finished goods from

China due to the unpredictability of the tariff rate that will be imposed when the

product arrives.

   18. The tariffs have also caused Fish USA to pause production of some products.

   19. The chaos created by the uncertain tariffs is preventing Fish USA from

growing its business, creating more jobs in the United States, and developing new

products for its customers.

   20. From the time the order is placed it takes 2-3 months for an order to arrive in

the United States; the current state of fluctuating tariff rates means that when


                                           3




                                     - Appx145 -
       Case: 25-1812        Document: 148        Page: 149     Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR           Document 10      Filed 04/18/25   Page 61 of 68



Fish USA places an order it is unable to predict what tariff rate it will be required to

pay when that order arrives.

   21. This level of uncertainty is untenable for a for-profit business; Fish USA

needs to know the net cost of its imports before placing an order.

   22. Without complete information on its costs, Fish USA cannot determine if a

product will be profitable and if it is even worth ordering.

   23. Due to this uncertainty,   Fish USA has decided to pause some of its orders

until there is more clarity on the future of tariffs.

   24. Fish USA will suffer damage to its reputation and loss of goodwill in its

relationships with suppliers if Fish USA is forced to continue pausing orders and

becomes unreliable as a purchaser.

   25. There is not sufficient time for FishUSA to develop the necessary supply

chain infrastructure   before the business will face dire consequences from the

inability to keep inventory in stock for its customers.

   26. Fish USA has a reputation with its customers as a reliable source of fishing

tackle and related gear. Fish USA will lose customers if it is unable to keep

inventory in stock on its website.

   27. Fish USA has also stopped work on a project in China that was slotted to go

into production imminently, because the current tariffs would make that project

unworkable.

   28. The tariffs are directly causing Fish USA the irreparable harm of lost

business opportunities.



                                             4




                                      - Appx146 -
       Case: 25-1812       Document: 148       Page: 150      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR         Document 10      Filed 04/18/25       Page 62 of 68



Under penalty of perjury, I affirm that the foregoing is true and correct.



Dated: April 15, 2025

                                               Dan Pastore




                                           5




                                    - Appx147 -
     Case: 25-1812    Document: 148     Page: 151    Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR    Document 10   Filed 04/18/25   Page 63 of 68




                     Exhibit
                                   E




                                 - Appx148 -
        Case: 25-1812          Document: 148         Page: 152      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR              Document 10       Filed 04/18/25      Page 64 of 68




                               IN THE UNITED STATES COURT
                                 OF INTERNATIONAL TRADE


   V.O.S. SELECTIONS, INC., et al.
                                                     Case No. 25-00066
                          Plaintiffs,

   V.


   DONALD J. TRUMP, et al.,

                          Defendants.



                          DECLARATION OF NIKOLAUS HOLM

  I, Nikolaus Holm, state as follows:

        1. I am a US citizen at least 18 years of age. If called to testify, I would testify

  as follows:

        2. I am the President of Terry Precision Cycling, LLC ("Terry Cycling'').

        3. Terry Cycling is a brand of women's cycling apparel, registered in Delaware

  with its principal place of business in Burlington, Vermont.

        4. Terry Cycling is a family-owned business with 16 employees.

        5. The current IEEPA tariffs represent an existential threat more severe than

  anything Terry Cycling has faced before.

        6. Today, Terry Cycling imports finished goods directly from China, Taiwan,

  Vietnam, Italy and the Philippines.

        7. Terry Cycling's US-based manufacturing       partner imports fabrics and trims

  from several other countries including Guatemala, El Salvador, China, and the

  European Union to produce products domestically for Terry Cycling.

                                                 1




                                         - Appx149 -
      Case: 25-1812        Document: 148         Page: 153      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR          Document 10        Filed 04/18/25     Page 65 of 68




     8. Many of the fabric imports Terry Cycling relies on are not reasonably

  available from a supplier in the United States.

     9. Terry Cycling cannot domestically source its fabrics and finished goods at the

  quality and price necessary to remain viable in a competitive industry.

     10. Terry Cycling has actively explored opportunities to expand its U.S.-based

  manufacturing.   Terry Cycling continues to work with a longstanding domestic

  partner in Washington State, but despite ongoing efforts, Terry Cycling has not

  found additional U.S. manufacturers   able to meet its product quality standards at a

  market-competitive   price point.

     11. Even factoring in the already high tariffs on goods made in China (typically

  28-32%), the cost of goods produced abroad has consistently been 30-40% lower

  than domestic production for Terry Cycling's products.

     12. Terry Cycling's saddle products have always been manufactured        in Taiwan

  and Italy, where the expertise, equipment, and quality standards required for this

  highly technical product exist. Currently, there is no U.S.-based manufacturing     for

  saddles that meets Terry Cycling's performance and quality requirements.

     13. U.S. production has always remained part of Terry Cycling's supply chain

  through a long-standing partnership   in Washington State.

     14. Terry Cycling would like to expand its domestic manufacturing      footprint, but

  this would require significant time and price increases to its consumers.

     15. Over the years, Terry Cycling has absorbed shrinking margins on U.S.-made

  goods due to ongoing wage inflation with higher margin product from overseas.


                                             2




                                      - Appx150 -
      Case: 25-1812         Document: 148         Page: 154      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR            Document 10      Filed 04/18/25     Page 66 of 68




     16. Currently our margins on our US made products are less than the margins of

  imported goods. U.S. made products would need to generate higher margins to keep

  the business financially sustainable.

     17. Even if Terry Cycling moved all manufacturing      to the United States, under

  the current tariff regime the tariffs on raw material costs needed for U.S.

  production will still make US production unstainable     without a dramatic increase

  in prices on goods sold to the consumer

     18. Terry Cycling expects to implement some level of tariff mitigation, but the

  nature of these tariffs-both   far-reaching and unpredictable-makes       long-term

  planning nearly impossible for a small business to navigate.

     19. Terry Cycling's largest wholesale customer, which represents approximately

  14% of projected 2025 revenue, is currently requesting confirmation of fall pricing.

  Due to the uncertainty   surrounding the tariffs, Terry Cycling is unable to confirm

  costs, and may lose this business if it is forced to increase prices to account for the

  IEEPA duties.

     20. Product development in Terry Cycling's product category is complex and

  time-intensive; it typically takes 1-2 years to develop a new product with an

  existing supplier or to onboard a new manufacturing     partner.

     21. The product development process includes fine-tuning fit, engineering prints,

  building detailed BO Ms (Bills of Materials), and developing production-ready

  patterns.




                                              3




                                      - Appx151 -
      Case: 25-1812         Document: 148             Page: 155       Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR           Document 10         Filed 04/18/25      Page 67 of 68




     22. The technical components of product development are handled by Terry

  Cycling's manufacturing    partners, as the business is not large enough to support

  redundant   development resources for each supplier, especially given the unique

  requirements   at every factory.

     23. While Terry Cycling is actively exploring options to mitigate tariff impacts, a

  full-scale shift to new sources of production or tariff-free regions is not a quick or

  simple solution.

     24. The impacts of the tariffs on Terry Cycling have been severe and escalating;

  Terry Cycling has already paid $25,000 in unplanned tariffs this year for goods

  where Terry was the importer of record.

     25. Terry Cycling projects that the tariffs will cost the company approximately

  $250,000 by the end of 2025.

     26. If no changes are made to current trade policy or its supply chain structure,

  Terry Cycling will face an estimated $1.2 million in tariff costs in 2026; this amount

  is not survivable for a business of its size.

     27. Tariffs will become the single largest line item operating expense on Terry

  Cycling's Profit & Loss Statement. It would be larger than payroll.

     28. To attempt to manage these increases Terry Cycling has already been forced

  to pass on costs to consumers by increasing some prices by 30% or more.

     29. Terry Cycling's newest high-performance        product-the     Caicos Short-may

  need to increase in retail price from $165 to $199 to offset nearly $50 in added duty

  per unit.



                                                  4




                                      - Appx152 -
      Case: 25-1812         Document: 148          Page: 156       Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR           Document 10        Filed 04/18/25      Page 68 of 68




     30. Terry Cycling is raising the price of its best-selling Soleil tops by $5 in its

  upcoming summer catalog.

     31. Current price adjustments    were made before the full scope of tariff increases

  became clear; future pricing will need to be even higher.

     32. Terry Cycling sells consumer discretionary products, a category that is highly

  sensitive to price elasticity, particularly in an inflationary environment.

     33. The ripple effects of the tariffs will be felt across the entire business and

  materialize as a decrease in product offerings, constrained seasonal product lines,

  and reduced availability of inventory for its retail partners.

     34. These tariffs are an existential threat to Terry Cycling, and will cause

  irreparable harm through lost business opportunities, loss of goodwill, and damage

  to its reputation as a pioneering brand of women's cycling apparel.

     35. In the short run, these tariffs are an existential threat to Terry Cycling.


  Under penalty of perjury, I affirm that the foregoing is true and correct.



                                                   ~----

                                                    Nikolaus Holm




                                               5




                                      - Appx153 -
        Case: 25-1812   Document: 148   Page: 157   Filed: 07/20/2025




Case 1:25-cv-00066-GSK-TMR-JAR    Document 35   Filed 05/06/25   Page 47 of 54




                         Exhibit
                           A




                                 - Appx154 -
     Case: 25-1812    Document: 148     Page: 158    Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR    Document 35   Filed 05/06/25   Page 48 of 54




                                 - Appx155 -
     Case: 25-1812    Document: 148     Page: 159    Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR    Document 35   Filed 05/06/25   Page 49 of 54




                                 - Appx156 -
        Case: 25-1812   Document: 148   Page: 160   Filed: 07/20/2025




Case 1:25-cv-00066-GSK-TMR-JAR    Document 35   Filed 05/06/25   Page 50 of 54




                         Exhibit
                           B




                                 - Appx157 -
Case: 25-1812   Document: 148                                         Page: 161                      Filed: 07/20/2025
                     Case 1:25-cv-00066-GSK-TMR-JAR   Document 35   Filed 05/06/25   Page 51 of 54




                              - Appx158 -
Case: 25-1812   Document: 148                                         Page: 162                      Filed: 07/20/2025
                     Case 1:25-cv-00066-GSK-TMR-JAR   Document 35   Filed 05/06/25   Page 52 of 54




                              - Appx159 -
Case: 25-1812   Document: 148                                         Page: 163                      Filed: 07/20/2025
                     Case 1:25-cv-00066-GSK-TMR-JAR   Document 35   Filed 05/06/25   Page 53 of 54




                              - Appx160 -
Case: 25-1812   Document: 148                                         Page: 164                      Filed: 07/20/2025
                     Case 1:25-cv-00066-GSK-TMR-JAR   Document 35   Filed 05/06/25   Page 54 of 54




                              - Appx161 -
              Case: 25-1812       Document: 148        Page: 165     Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR                Document 57        Filed 05/28/25      Page 1 of 3




             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE:          THE HONORABLE GARY S. KATZMANN, JUDGE
                 THE HONORABLE TIMOTHY M. REIF, JUDGE
                 THE HONORABLE JANE A. RESTANI, JUDGE
__________________________________________
                                           )
V.O.S. SELECTIONS, INC., PLASTIC           )
SERVICES AND PRODUCTS, LLC d/b/a           )
GENOVA PIPE, MICROKITS, LLC,               )
FISHUSA INC., TERRY PRECISION              )
CYCLING LLC,                               )      Court No. 25-00066
                                           )
                 Plaintiffs,               )
                                           )
v.                                         )
                                           )
DONALD J. TRUMP in his official capacity,  )
EXECUTIVE OFFICE OF THE PRESIDENT,         )
THE UNITED STATES, U.S. CUSTOMS AND )
BORDER PROTECTION, PETE R. FLORES          )
in his official capacity, JAMIESON GREER   )
in his official capacity, OFFICE OF THE    )
UNITED STATES TRADE                        )
REPRESENTATIVE, and HOWARD                 )
LUTNICK in his official capacity,          )
                                           )
                 Defendants.               )
                                           )

                            DEFENDANTS’ NOTICE OF APPEAL

         Notice is hereby given that defendants appeal to the United States Court of Appeals for

the Federal Circuit from the Court’s opinion and final judgment of May 28, 2025. See ECF Nos.

55-56.


DATED: May 28, 2025                                  Respectfully submitted

OF COUNSEL:                                          YAAKOV M. ROTH
                                                     Acting Assistant Attorney General
ALEXANDER K. HAAS
Director                                             ERIC J. HAMILTON
                                                     Deputy Assistant Attorney General


                                            - Appx162 -
        Case: 25-1812        Document: 148       Page: 166     Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR         Document 57           Filed 05/28/25     Page 2 of 3




STEPHEN M. ELLIOTT
Assistant Director                               PATRICIA M. McCARTHY
U.S. Department of Justice                       Director
Civil Division
Federal Programs Branch                          /s/ Claudia Burke
                                                 CLAUDIA BURKE
                                                 Deputy Director

                                                 /s/ Justin R. Miller
                                                 JUSTIN R. MILLER
                                                 Attorney-In-Charge
                                                 International Trade Field Office

                                                 /s/ Sosun Bae
                                                 SOSUN BAE
                                                 Senior Trial Counsel
                                                 LUKE MATHERS
                                                 CATHERINE M. YANG
                                                 BLAKE W. COWMAN
                                                 COLLIN T. MATHIAS
                                                 Trial Attorneys
                                                 U.S. Department of Justice
                                                 Civil Division
                                                 Commercial Litigation Branch
                                                 PO Box 480, Ben Franklin Station
                                                 Washington, DC 20044
                                                 (202) 305-7568
                                                 sosun.bae@usdoj.gov


                                                 Attorneys for Defendants




                                             2

                                    - Appx163 -
          Case: 25-1812        Document: 148       Page: 167       Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR              Document 57       Filed 05/28/25    Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that, on May 28, 2025, I caused the foregoing “NOTICE OF APPEAL”

to be filed and served electronically via the Court’s CM/ECF system.


                                       /s/Claudia Burke




                                               3

                                        - Appx164 -
            Case: 25-1812         Document: 148               Page: 168             Filed: 07/20/2025

            Case 1:25-cv-00077-N/A           Document 2               Filed 04/23/25       Page 1 of 38



                  IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
     THE STATE OF OREGON, THE STATE OF                       Case No. 1:25-cv-00077-N/A
     ARIZONA, THE STATE OF COLORADO,
     THE STATE OF CONNECTICUT, THE                           COMPLAINT
     STATE OF DELAWARE, THE STATE OF
     ILLINOIS, THE STATE OF MAINE, THE                       THREE-JUDGE COURT REQUESTED
     STATE OF MINNESOTA, THE STATE OF
     NEVADA, THE STATE OF NEW MEXICO,
     THE STATE OF NEW YORK, and THE
     STATE OF VERMONT,
                    Plaintiffs,

            v.
     DONALD J. TRUMP, in his capacity as
     President of the United States;
     DEPARTMENT OF HOMELAND
     SECURITY; KRISTI NOEM, in her official
     capacity as Secretary of the Department of
     Homeland Security; UNITED STATES
     CUSTOMS AND BORDER PROTECTION;
     PETER R. FLORES, in his official capacity as
     Acting Commissioner for U.S. Customs and
     Border Protection; and THE UNITED
     STATES,

                    Defendants.

                                        I.        INTRODUCTION
            1.      The Constitution assigns to Congress, not the President, the “Power To lay and
     collect Taxes, Duties, Imposts and Excises.” Art. I, § 8. Yet over the last three months, the
     President has imposed, modified, escalated, and suspended tariffs by executive order,
     memoranda, social media post, and agency decree. These edicts reflect a national trade policy
     that now hinges on the President’s whims rather than the sound exercise of his lawful authority.

     By claiming the authority to impose immense and ever-changing tariffs on whatever goods
     entering the United States he chooses, for whatever reason he finds convenient to declare an
     emergency, the President has upended the constitutional order and brought chaos to the
     American economy.



Page 1 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                 Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000

                                             - Appx165 -
             Case: 25-1812         Document: 148              Page: 169            Filed: 07/20/2025

             Case 1:25-cv-00077-N/A          Document 2              Filed 04/23/25       Page 2 of 38




             2.     The President has no authority to arbitrarily impose tariffs as he has done here.
     The text and history of the International Emergency Economic Powers Act (IEEPA)—the statute
     the President has invoked for the most damaging of his tariffs—confirm that the President cannot
     impose such tariffs under that law. And even if it did, it would not allow the worldwide tariffs he
     has imposed, which were not a response to an emergency as IEEPA defines it and have no nexus
     to the circumstances that purported to justify them.
             3.     Because these tariffs are unlawful, this Court should declare that they are not in
     force, enjoin the Defendant agencies and officers from enforcing them, and vacate the agency

     actions implementing them.
                                              II.       PARTIES

     A.      Plaintiff States
             4.     The State of Oregon is a sovereign state of the United States. Oregon is
     represented by Attorney General Dan Rayfield. The Attorney General is the chief legal officer of

     Oregon and is authorized to institute this action.
             5.     The State of Arizona is a sovereign state of the United States. Arizona is

     represented by Attorney General Kris Mayes. The Attorney General is Arizona’s chief law
     enforcement officer and is authorized to institute this action.
             6.     The State of Colorado is a sovereign state in the United States. Colorado is
     represented by Phil Weiser, the Attorney General of Colorado. The Attorney General acts as the
     chief legal representative of the state and is authorized by Colo Rev. Stat. § 24-31-101 to pursue
     this action.

             7.     The State of Connecticut is a sovereign state of the United States. Connecticut is
     represented by and through its chief legal officer, Attorney General William Tong, who is
     authorized under General Statutes § 3-125 to pursue this action on behalf of the State of
     Connecticut.



Page 2 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx166 -
              Case: 25-1812        Document: 148               Page: 170            Filed: 07/20/2025

              Case 1:25-cv-00077-N/A         Document 2               Filed 04/23/25       Page 3 of 38




              8.    The State of Delaware is a sovereign state of the United States. Delaware is
     represented by and through its Attorney General, Kathleen Jennings. The Attorney General is
     Delaware’s chief law enforcement officer and is authorized to pursue this action pursuant to 29
     Del. C. § 2504.
              9.    The State of Illinois is a sovereign state of the United States. Illinois is
     represented by Attorney General Kwame Raoul. The Attorney General is Illinois’s chief law
     enforcement officer and is authorized to institute this action. See Ill. Const. art. V, § 15; 15 ILCS
     205/4.

              10.   The State of Maine is a sovereign state of the United States. Maine is represented
     by Attorney General Aaron Frey. The Attorney General is Maine’s chief law enforcement officer
     and is authorized to institute this action pursuant to 5 Me. Rev. Stat. § 191.
              11.   The State of Minnesota is a sovereign state of the United States. Minnesota is
     represented by and through its chief legal officer, Minnesota Attorney General Keith Ellison,

     who has common law and statutory authority to sue on Minnesota’s behalf.
              12.   The State of Nevada, represented by and through Attorney General Aaron D.

     Ford, is a sovereign State within the United States. The Attorney General is the chief law
     enforcement of the State of Nevada and is authorized to pursue this action under Nev. Rev. Stat.
     228.110 and Nev. Rev. Stat. 228.170.
              13.   The State of New Mexico is a sovereign state in the United States. New Mexico is
     represented by Attorney General Raúl Torrez, who is the chief law enforcement officer of New
     Mexico authorized by N.M. Stat. Ann. § 8-5-2 to pursue this action.

              14.   The State of New York is a sovereign state in the United States. New York is
     represented by Attorney General Letitia James, who is the chief law enforcement officer of New
     York.




Page 3 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                 Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx167 -
              Case: 25-1812         Document: 148              Page: 171            Filed: 07/20/2025

              Case 1:25-cv-00077-N/A         Document 2               Filed 04/23/25       Page 4 of 38




              15.    The State of Vermont is a sovereign state of the United States. Vermont is
     represented by Attorney General Charity Clark. The Attorney General is the chief legal officer of
     Vermont and is authorized to institute this action.

     B.       Federal Defendants
              16.    Donald Trump is President of the United States. He is sued in his official capacity
     for declaratory relief only.
              17.    The Department of Homeland Security is an agency of the United States federal
     government.

              18.    Kristi Noem is Secretary of the Department of Homeland Security. She is sued in
     her official capacity.
              19.    U.S. Customs and Border Protection is an agency of the United States federal
     government and a component of the Department of Homeland Security.
              20.    Pete R. Flores is the Acting Commissioner for U.S. Customs and Border

     Protection. He is sued in his official capacity.
              21.    The United States is a statutory defendant under 28 U.S.C. § 1581. That statute

     also waives the United States’ sovereign immunity. See Humane Soc. of U.S. v. Clinton, 236
     F.3d 1320, 1328 (Fed. Cir. 2001).
                                          III.      JURISDICTION
              22.    This Court has subject-matter jurisdiction under 28 U.S.C. § 1581(i)(1).
              23.    The Plaintiff States request the Chief Judge of this Court designate three judges
     “to hear and determine” this action because it “(1) raises an issue of the constitutionality of an

     Act of Congress, a proclamation of the President or an Executive order;” and “(2) has broad or
     significant implications in the administration or interpretation of the customs laws.” 28 U.S.C.
     § 255.




Page 4 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                 Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000

                                                 - Appx168 -
             Case: 25-1812         Document: 148              Page: 172            Filed: 07/20/2025

            Case 1:25-cv-00077-N/A           Document 2              Filed 04/23/25       Page 5 of 38




                            IV.    FACTUAL AND LEGAL BACKGROUND

     A.     Congress’s tariff powers
            24.     The U.S. Constitution provides: “The Congress shall have Power To lay and
     collect Taxes, Duties, Imposts and Excises, to pay the Debts and provide for the common
     Defence and general Welfare of the United States; but all Duties, Imposts and Excises shall be
     uniform throughout the United States….” Art. I, § 8.
            25.     Congress has exercised this authority by providing an extensive statutory structure
     for “Duties, Imposts and Excises” on imports to the United States, which are codified in Title 19

     of the U.S. Code.
            26.     For most of the nation’s history, Congress directly legislated tariffs.
            27.     After the disastrous Smoot-Hawley Tariff Act of 1930, which contributed to the
     Great Depression, Congress moved to create a two-part structure for the nation’s tariffs.
     Congress delegated to the President the authority to negotiate agreements with foreign countries

     that would reduce the United States’ tariffs in exchange for reductions in other nations’ tariffs.
     Today, the United States is party to more than a dozen such trade agreements that set limited

     U.S. tariffs. Congress has passed legislation consenting to and implementing these agreements as
     a matter of federal law. See, e.g., 19 U.S.C. ch. 22 (implementing the Uruguay Round
     Agreements); 19 U.S.C. ch. 26 (implementing the Dominican Republic-Central America Free
     Trade Agreement (“CAFTA”)); 19 U.S.C. ch. 29 (implementing the United States-Mexico-
     Canada Agreement (“USMCA”)).
            28.     Congress has authorized the President to raise duties, more commonly called

     tariffs, in specific circumstances. For example, the Executive Branch may impose
     “countervailing duties” when “the government of a country or any public entity within the
     territory of a country is providing, directly or indirectly, a countervailable subsidy” of a product
     imported in the United States in a manner that injures a domestic industry. 19 U.S.C. § 1671(a).
     To impose such tariffs, however, an agency must investigate and enter a “final determination of

Page 5 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx169 -
             Case: 25-1812          Document: 148              Page: 173            Filed: 07/20/2025

            Case 1:25-cv-00077-N/A           Document 2               Filed 04/23/25       Page 6 of 38




     whether or not a countervailable subsidy is being provided with respect to the subject
     merchandise,” 19 U.S.C. § 1671d(a)(1), among other findings.
            29.     Similar prerequisites are required to impose antidumping tariffs, 19 U.S.C.
     § 1673, et seq.; to institute tariffs to address threats to national security, 19 U.S.C. § 1862(b)–(c)
     (Section 232 of the Trade Expansion Act of 1962); to impose tariffs to protect domestic
     industries, 19 U.S.C. § 2251 (Section 201 of the Trade Act of 1974); to institute tariffs to
     respond to violations of international trade agreements, 19 U.S.C. §§ 2411–2420 (Section 301 of
     the Trade Act of 1974); and to impose a “temporary import surcharge” to “deal with large and

     serious United States balance-of-payments deficits,” 19 U.S.C. § 2132(a)(1) (Section 122(a) of
     the Trade Act of 1974).
            30.     In addition to requiring a finding of certain facts before imposing tariffs, Congress
     also limited the duration and manner of tariffs imposed under each of these statutes. See, e.g., 19
     U.S.C. § 1675(a) (requiring annual review of antidumping and countervailing duty orders); 19

     U.S.C. § 2132(a)(3) & (d) (limiting tariffs or other import measures to 150 days and requiring
     that they be nondiscriminatory). Together, the factual predicates, procedural requirements, and

     substantive limits established by these statutes ensure that Congress retains control over its
     “Power to lay and collect Taxes, Duties, Imposts and Excises,” U.S. Const., Art. I, § 8, cl. 1, and
     prevents the President from exercising this power arbitrarily.
            31.     None of these prerequisites to impose congressionally authorized tariffs has been
     met, and the tariffs challenged here do not purport to rest on any of these statutory authorities.
     Instead, the President relies on IEEPA as the sole substantive legal authority for his orders.

     B.     IEEPA was enacted to restrain the President’s powers, not enlarge them.
            32.     Congress enacted IEEPA five decades ago with the goal of restraining the
     President’s emergency powers that were frequently invoked and abused in the preceding
     decades. See H.R. Rep. No. 95-459, at 3–9 (1977).



Page 6 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                 Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000

                                               - Appx170 -
            Case: 25-1812           Document: 148              Page: 174             Filed: 07/20/2025

            Case 1:25-cv-00077-N/A            Document 2               Filed 04/23/25       Page 7 of 38




            33.     By the 1970s, Congress had grown troubled with the proliferation of emergency
     declarations under laws like the Trading with the Enemies Act (TWEA). Such laws were
     originally intended to lend the President special or heightened powers during times of crisis but
     were ultimately used as shortcuts around peacetime constraints on the President’s powers.
     Congress recognized that the exception threatened to swallow the rule. As one House report on
     efforts to reform TWEA noted, TWEA bestowed upon the President “essentially an unlimited
     grant of authority for the President to exercise, at his discretion, broad powers in both the
     domestic and international economic arena, without congressional review.” H.R. Rep. No. 95-

     459, at 7 (1977).
            34.     One reform Congress made to curb the President’s emergency powers was to
     restrict TWEA to its original purpose, limiting its application to “time[s] of war.” 50 U.S.C.
     § 4305(b)(1). At the same time, Congress enacted IEEPA, which allowed the President to
     regulate imports and exports in response to certain non-wartime emergencies, while stressing

     that the triggering event had to be an “unusual and extraordinary threat.” 50 U.S.C. § 1701
     (emphasis added). Thus, it is not enough that the President declare a national emergency under

     the National Emergencies Act (NEA); only those arising from unusual and extraordinary threats
     originating “in whole or substantial part outside the United States” unlock IEEPA’s grant of
     powers. Id. Congress also subjected the President’s authority under IEEPA to reporting
     requirements and reserved for itself the ability to terminate declared emergencies by joint
     resolution. 50 U.S.C. § 1706.
            35.     The powers set forth in IEEPA do not expressly include imposing or collecting

     tariffs. Rather, the President is empowered to:
                    (A) investigate, regulate, or prohibit—
                         (i) any transactions in foreign exchange,
                         (ii) transfers of credit or payments between, by, through, or to
                         any banking institution, to the extent that such transfers or

Page 7 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                  Oregon Department of Justice
                                                     100 SW Market Street
                                                      Portland, OR 97201
                                              (971) 673-1880 / Fax: (971) 673-5000

                                               - Appx171 -
            Case: 25-1812          Document: 148              Page: 175            Filed: 07/20/2025

            Case 1:25-cv-00077-N/A          Document 2               Filed 04/23/25       Page 8 of 38




                       payments involve any interest of any foreign country or a
                       national thereof,
                       (iii) the importing or exporting of currency or securities,
                       by any person, or with respect to any property, subject to the
                       jurisdiction of the United States;
                    (B) investigate, block during the pendency of an investigation,
                    regulate, direct and compel, nullify, void, prevent or prohibit, any
                    acquisition, holding, withholding, use, transfer, withdrawal,

                    transportation, importation or exportation of, or dealing in, or
                    exercising any right, power, or privilege with respect to, or
                    transactions involving, any property in which any foreign country
                    or a national thereof has any interest by any person, or with respect
                    to any property, subject to the jurisdiction of the United States….

     50 U.S.C. § 1702(a)(1). The President has additional authority to confiscate property “when the
     United States is engaged in armed hostilities or has been attacked by a foreign country or foreign

     nationals….” 50 U.S.C. § 1702(a)(1)(C).
            36.     Not once has any other President used IEEPA to impose tariffs. In the nearly five
     decades since IEEPA was enacted, no other President has imposed tariffs based on the existence
     of any national emergency, despite global anti-narcotics campaigns spearheaded by the United
     States and longstanding trade deficits. United States v. Yoshida Int’l, 526 F.2d 560, 576 (Cust. &
     Pat. App. 1975), held that similar language in TWEA authorized the imposition of a limited

     import duty surcharge, but that case does not take into account subsequent actions by Congress
     to rein in the President’s authority, as explained above. And Yoshida made clear that even under
     TWEA the President lacks authority to impose a surcharge “not reasonably related to the
     emergency declared.” Id. at 577.



Page 8 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                             - Appx172 -
             Case: 25-1812          Document: 148              Page: 176            Filed: 07/20/2025

            Case 1:25-cv-00077-N/A           Document 2               Filed 04/23/25       Page 9 of 38




            37.     Even in light of Yoshida, there is reason to believe that IEEPA does not authorize
     tariffs. Tariffs on products are not currency exchanges or banking transactions, so subsection
     (a)(1)(A) should not apply. Subsection (a)(1)(B), which gives the President the power to
     “regulate,” should not authorize the challenged tariffs either because the regulation of imports is
     not synonymous with and does not include the power to impose tariffs on imports.
            38.     Section 1702(a)(1)(B) allows the President to “investigate, block during the
     pendency of an investigation, regulate, direct and compel, nullify, void, prevent or prohibit”
     transactions involving the property of a foreign country or national. This is the language of

     embargoes and sanctions (which is what IEEPA has consistently been used for), and interpreting
     “regulate” to mean “ad valorem duty” would be incongruous with the context in which it
     appears. See McDonnell v. United States, 579 U.S. 550, 569 (2016) (“Under the familiar
     interpretive canon noscitur a sociis, ‘a word is known by the company it keeps.’”) (citation
     omitted). IEEPA is designed to give the President appropriate powers to respond if a hostile

     power were importing items into the United States for nefarious purposes. It is not clear why
     under IEEPA that should continue upon payment of an appropriate duty.

            39.     It is also noteworthy that IEEPA, in § 1702(a)(1)(B), envisions the President
     “regulat[ing]” both imports and exports under its authority. Because the export clause of the
     Constitution, Art. I, § 9, cl. 5, expressly prohibits imposing duties on exports, interpreting
     “regulate” to mean “impose a duty” would create a facial, and unnecessary, tension with the
     Constitution. The more natural reading of the statute is that Congress never intended it to be used
     for tariffs. Almendarez-Torres v. United States, 523 U.S. 224, 237 (1998) (statutes “must be

     construed, if fairly possible, so as to avoid not only the conclusion that it is unconstitutional but
     also grave doubts upon that score”) (internal quotations omitted).
            40.     Even assuming IEEPA does authorize some tariffs when there is an “unusual and
     extraordinary threat,” 50 U.S.C. § 1701 (emphasis added), President Trump’s unilateral
     imposition of his tariffs invoking IEEPA are aberrations that fly in the face of history and the

Page 9 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                 Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx173 -
            Case: 25-1812           Document: 148             Page: 177            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A           Document 2              Filed 04/23/25       Page 10 of 38




     legislative text. The novelty of citing IEEPA for the carte blanche tariff authority the President
     has exercised is itself good reason to treat these Orders with suspicion. See Util. Air Reg. Grp. v.
     EPA, 573 U.S. 302, 324 (2014) (when the executive branch claims “an unheralded power” to
     regulate ‘a significant portion of the American economy’” courts greet such announcements with
     skepticism because they “expect Congress to speak clearly if it wishes to assign to an agency
     decisions of vast economic and political significance.” (citations omitted)).
            41.     The powers explicitly set forth by IEEPA “may only be exercised to deal with an
     unusual and extraordinary threat with respect to which a national emergency has been declared

     for purposes of this chapter and may not be exercised for any other purpose.” 50 U.S.C.
     § 1701(b).

     C.     The IEEPA Tariff Orders
            42.     Since February 1, 2025, President Trump has issued a flurry of executive orders
     imposing sweeping tariffs, interspersed with other orders and memoranda modifying,

     suspending, and clarifying some of the tariffs he just imposed. The President purported to rely on
     IEEPA emergency powers as the substantive authority to impose all the tariffs described below.

     These tariffs—defined below as the Canada Tariff Order, the Mexico Tariff Order, the China
     Tariff Order, and the Worldwide Tariff Order, each as amended—are herein collectively referred
     to as “IEEPA Tariff Orders.”
            43.     The preambles to the IEEPA Tariff Orders also cite other statutes, specifically the
     NEA, 50 U.S.C. § 1601 et seq.; section 604 of the Trade Act of 1974, as amended, 19 U.S.C.
     § 2483; and 3 U.S.C. § 301. However, none of those statutes grants the President substantive

     authority: the NEA governs procedures for declaring and ending emergencies but not substantive
     emergency powers; section 604 of the Trade Act of 1974, as amended, requires the President to
     memorialize import duties in the Harmonized Tariff Schedule of the United States but does not
     provide substantive authority to impose tariffs; and 3 U.S.C. § 301 allows the President to



Page 10 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx174 -
                Case: 25-1812       Document: 148              Page: 178            Filed: 07/20/2025

            Case 1:25-cv-00077-N/A          Document 2               Filed 04/23/25       Page 11 of 38




     delegate powers within the Executive Branch. None of the cited statutes authorizes the President
     to impose tariffs.
            i.       The Canada Tariff Order
             44.     On February 1, 2025, President Trump issued Executive Order 14193, 90 Fed.
     Reg. 9113 (“Canada Tariff Order”), entitled Imposing Duties To Address the Flow of Illicit
     Drugs Across Our Northern Border. The Canada Tariff Order imposed an additional 10 percent
     tariff on energy imports and an additional 25 percent tariff on most other imports from Canada.
             45.     The Canada Tariff Order relies only on IEEPA as the basis for its substantive

     authority to unilaterally institute these sweeping changes to U.S. trade policy toward Canada.
             46.     The President’s claim of emergency powers was based on “the threat to the safety
     and security of Americans, including the public health crisis of deaths due to the use of fentanyl
     and other illicit drugs, and the failure of Canada to do more to arrest, seize, detain, or otherwise
     intercept [drug trafficking organizations], other drug and human traffickers, criminals at large,

     and drugs.” Canada Tariff Order § 1.
             47.     The Plaintiff States agree that the fentanyl crisis requires urgent government

     action, but the imposition of tariffs is neither an effective nor a lawful response to that crisis. The
     Canada Tariff Order lacks any rationale for the tariff rates imposed and bears no relationship
     between the goods subject to the Order and the claimed emergency.
          ii.        The Mexico Tariff Order
             48.     On February 1, 2025, President Trump issued Executive Order 14194, 90 Fed.
     Reg. 9117 (“Mexico Tariff Order”), entitled Imposing Duties To Address the Situation at Our

     Southern Border. The Mexico Tariff Order imposed an additional 25 percent tariff on the import
     of goods from Mexico.
             49.     The Mexico Tariff Order relies only on IEEPA as the basis for its substantive
     authority to unilaterally institute these sweeping changes to U.S. trade policy toward Mexico.



Page 11 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                 Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx175 -
                 Case: 25-1812      Document: 148              Page: 179            Filed: 07/20/2025

            Case 1:25-cv-00077-N/A          Document 2               Filed 04/23/25       Page 12 of 38




             50.      The President’s claim of emergency powers was based on “the grave threat to the
     United States posed by the influx of illegal aliens and illicit drugs into the United States” and
     “the failure of Mexico to arrest, seize, detain, or otherwise intercept [drug trafficking
     organizations], other drug and human traffickers, criminals at large, and illicit drugs.” Mexico
     Tariff Order § 1.
             51.      As with the Canada Tariff Order, the President provided no justification for which
     goods would be subject to the Mexico Tariff Order or why he had chosen a 25 percent tariff rate.
          iii.        The China Tariff Order

             52.      On February 1, 2025, President Trump issued Executive Order 14195, 90 Fed.
     Reg. 9121 (“China Tariff Order”), entitled Imposing Duties To Address the Situation at Our
     Southern Border. The China Tariff Order imposed an additional 10 percent tariff on the import of
     most goods from China.
             53.      The China Tariff Order relies only on IEEPA as the basis for its substantive

     authority to unilaterally institute these sweeping changes to U.S. trade policy toward China.
             54.      The President’s claim of emergency powers was based on “the grave threat to the

     United States posed by the influx of illegal aliens and illicit drugs into the United States” and
     “the failure of the [People’s Republic of China] government to arrest, seize, detain, or otherwise
     intercept chemical precursor suppliers, money launderers, other [transnational criminal
     organizations], criminals at large, and drugs.” China Tariff Order § 1.
             55.      And, again, the China Tariff Order contained no rationale for why it was
     necessary to tariff all products of China, or why the President had chosen 10 percent as the tariff

     rate, departing from the already unexplained 25 percent rate he had imposed on Mexico and
     Canada.
          iv.         The Worldwide Tariff Order
             56.      On April 2, 2025, President Trump issued Executive Order 14257, 90 Fed. Reg.
     15041 (“Worldwide Tariff Order”), entitled Regulating Imports with a Reciprocal Tariff to

Page 12 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                 Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000

                                               - Appx176 -
            Case: 25-1812          Document: 148              Page: 180            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A           Document 2              Filed 04/23/25       Page 13 of 38




     Rectify Trade Practices that Contribute to Large and Persistent Annual United States Goods
     Trade Deficits. The Worldwide Tariff Order imposed a 10% baseline tariff on nearly all imports
     to the United States, effective April 5, and additional “reciprocal” tariffs on 57 countries,
     effective April 9 (Annex I). The President revised the additional “reciprocal” tariffs in Annex I
     on April 3.
            57.     The Worldwide Tariff Order relies only on IEEPA as the basis for its substantive
     authority to unilaterally institute these sweeping changes to the trade policy of the United States.
            58.     A few years before Congress enacted IEEPA, Congress also enacted Section 122

     of the Trade Act of 1974 to give the President explicit power to impose tariffs (temporary import
     surcharges) in response to balance-of-payments issues but then chose to omit the express power
     to tariff under IEEPA. Although the Worldwide Tariff Order purports to address the “large and
     persistent annual U.S. goods trade deficits,” it does not rely on Section 122(a) of the Trade Act
     of 1974, 19 U.S.C. § 2132, which expressly contemplates tariffs to address the related concern of

     balance-of-payment deficits. That statute provides that “[w]henever fundamental international
     payments problems require special import measures to restrict imports” in order “(1) to deal with

     large and serious United States balance-of-payments deficits[,] (2) to prevent an imminent and
     significant depreciation of the dollar in foreign exchange markets, or (3) to cooperate with other
     countries in correcting an international balance-of-payments disequilibrium,” the President “shall
     proclaim, for a period not exceeding 150 days … a temporary import surcharge, not to exceed 15
     percent ad valorem, in the form of duties … on articles imported into the United States ….” 19
     U.S.C. § 2132(a). The Worldwide Tariff Order neither relies on this statutory authority nor

     abides by its limits on the magnitude and duration of the tariffs it imposes.
            59.     In providing tariff powers via Section 122 of the Trade Act of 1974, much like
     with other tariff statutes, Congress included substantive limitations and procedural safeguards
     limiting the grant of power to the executive. The President attempts to circumvent these types of
     substantive limitations and procedural safeguards by imposing tariffs under IEEPA in a

Page 13 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx177 -
             Case: 25-1812         Document: 148              Page: 181            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A           Document 2              Filed 04/23/25       Page 14 of 38




     unilateral, unpredictable, and far-reaching manner that is entirely unlawful. His unlawful actions
     have in turn caused persistent uncertainty that has resulted in erratic financial markets (see § IV.,
     D, below).
            60.     In addition, the purported “unusual and extraordinary threats” identified by
     President Trump as “national emergencies” do not amount to emergencies. Nor are they
     extraordinary or even unusual.
            61.     The Worldwide Tariff Order asserts that “U.S. trading partners’ economic policies
     … suppress domestic wages and consumption, as indicated by large and persistent annual U.S.

     goods trade deficits,” but that does not constitute an “unusual and extraordinary threat” that
     would allow the President to invoke IEEPA’s powers. 50 U.S.C. § 1701(a).
            62.     As the Worldwide Tariff Order acknowledges, “annual U.S. goods trade deficits”
     are “persistent”; thus, by definition, they are not “unusual and extraordinary.” The United States
     has run a persistent trade deficit in goods since the 1970s. Similarly, there is no “unusual and

     extraordinary” threat to wages or consumption.
            63.     The IEEPA Tariff Orders impose, by executive order, the highest tariffs on

     imports the country has seen since the 1940s. The baseline 10 percent tariff imposed by the
     Worldwide Tariff Order already matches the highest average tariff rates on all imports seen
     toward the end of the 1940s. The Worldwide Tariff Orders even impose tariffs on places that are
     not involved in international trade, such as the British Indian Ocean Territory, whose only human
     inhabitants live on a joint American and British military base on the island of Diego Garcia, and
     the Heard and McDonald Islands, which have no known human inhabitants.

            64.     Despite being described as “reciprocal” tariffs, the reciprocal tariffs described in
     the Worldwide Tariff Order were calculated with the intent of “balanc[ing] bilateral trade deficits
     between the U.S. and each of our trading partners.” Office of the U.S. Trade Rep., Reciprocal
     Tariff Calculations; see also Office of the U.S. Trade Rep., Presidential Tariff Actions. The U.S.
     Trade Representative has acknowledged that there are “many causes,” including “non-tariff

Page 14 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx178 -
            Case: 25-1812             Document: 148             Page: 182            Filed: 07/20/2025

            Case 1:25-cv-00077-N/A           Document 2               Filed 04/23/25       Page 15 of 38




     economic fundamentals.” But the U.S. Trade Representative provided no explanation for why
     President Trump’s calculation entirely ignores a major driver of trade deficits: relative domestic
     purchasing power. In effect, the reciprocal tariff calculation unreasonably ignores that certain
     trading partners’ populace simply has less aggregate purchasing power.
             65.     The tariffs are also not designed to “deal with” the purported emergencies. The
     Administration published its basis for the country-by-country tariff rates. See Office of the
     United States Trade Representative, Reciprocal Tariff Calculations. The Administration’s
     estimate of a key input of that formula—“the elasticity of import prices with respect to tariffs”—

     is a fabrication. The country-by-country tariff rates are based on what the administration claims
     as an estimate of “tariff and nontariff barriers” but are in fact a simple ratio of the trade deficit in
     goods as a percentage of total U.S. imports from the country arbitrarily subjected to the tariff.
     The Administration’s chosen formula is not an accepted methodology for calculating trade
     barriers and has no basis in economic theory.

             66.     The specific academic work the Administration cites concludes that nearly all of
     the cost of tariffs (95%) carries over to domestic purchasers, but the Administration falsely

     claims that only 25% of the cost of tariffs is passed through to domestic customers. As the co-
     author of the article cited to justify that calculation explained, the Administration’s misstatement
     of the evidence results in vastly higher tariff levels than called for by its own methodology. See
     Brent Neiman, “The Trump White House Cited My Research to Justify Tariffs. It Got It All
     Wrong.” N.Y. Times (Apr. 7, 2025).
             67.     The U.S. Trade Representative also provided no explanation justifying setting the

     baseline tariff at 10 percent.
             68.     The tariffs are also not designed to “deal with” the purported emergencies,
     because they are intended, at least in part, to raise revenue. See, e.g., The President’s News
     Conference With Prime Minister Keir Starmer of the United Kingdom (Feb. 27, 2025) (“[W]e



Page 15 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                  Oregon Department of Justice
                                                     100 SW Market Street
                                                      Portland, OR 97201
                                              (971) 673-1880 / Fax: (971) 673-5000

                                               - Appx179 -
                Case: 25-1812       Document: 148             Page: 183             Filed: 07/20/2025

            Case 1:25-cv-00077-N/A           Document 2              Filed 04/23/25       Page 16 of 38




     took in hundreds of billions of dollars [with past tariffs]. . . . [I]t’s going to make our country
     rich.”).
                69.   The tariffs will depress Americans’ wages by slowing economic growth,
     increasing unemployment, and raising inflation. And, instead of reducing threats to Americans’
     consumption levels, the tariffs will make the goods that Americans (and the Plaintiff States)
     depend on more expensive and scarce.
           v.         Delaying and adding exceptions to the Canada and Mexico Tariff Orders
                70.   On February 3, 2025, President Trump issued Executive Order 14197, 90 Fed.

     Reg. 9183, entitled Progress on the Situation at Our Northern Border, and Executive Order
     14198, 90 Fed. Reg. 9185, entitled Progress on the Situation at Our Southern Border. These
     executive orders delayed by four weeks implementation of the Canada Tariff Order and the
     Mexico Tariff Order, respectively.
                71.   On March 6, 2025, President Trump issued Executive Order 14231, 90 Fed. Reg.

     11785, entitled Amendment to Duties To Address the Flow of Illicit Drugs Across Our Northern
     Border, and Executive Order 14232, 90 Fed. Reg. 11788, entitled Amendment to Duties To

     Address the Flow of Illicit Drugs Across Our Southern Border. These orders exempted products
     originated in Mexico and Canada under the rules of the United States of America, United
     Mexican States, and Canada Agreement. The orders also reduced the tariff rates on potash
     imports from both countries from 25 percent to 10 percent.
          vi.         Increasing the tariffs on imports from China
                72.   On March 3, 2025, President Trump issued Executive Order 14228, 90 Fed. Reg.

     11463, entitled Further Amendment to Duties Addressing the Synthetic Opioid Supply Chain in
     the People’s Republic of China, which increased the additional tariff on nearly all imports
     imposed by the February 1 China Tariff Order from 10 percent to 20 percent. The justification
     for this action was his “determin[ation] that the [People’s Republic of China] has not taken



Page 16 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                 Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx180 -
            Case: 25-1812          Document: 148              Page: 184            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A           Document 2              Filed 04/23/25       Page 17 of 38




     adequate steps to alleviate the illicit drug crisis through cooperative enforcement actions, and
     that the crisis described in [the China Tariff Order] has not abated.”
            73.     On April 2, the Worldwide Tariff Order imposed two additional tariffs on imports
     from China: the 10 percent worldwide tariff, plus a 34 percent “reciprocal tariff” (Annex 1). In
     aggregate, that raised the overall additional tariffs on nearly all China imports to 64 percent (20
     percent from the China Tariff Order, as amended March 3 and April 2, plus 44 percent from the
     Worldwide Tariff Order).
            74.     On April 8, 2025, President Trump issued Executive Order 14259, 90 Fed. Reg.

     15509, entitled Amendment to Reciprocal Tariffs and Updated Duties as Applied to Low-Value
     Imports From the People’s Republic of China, which imposed an additional 50 percent tariff on
     goods from China under the Worldwide Tariffs Order, raising the total level of tariffs to 114
     percent. The President’s justification was that the People’s Republic of China (PRC) imposed a
     “34 percent tariff … on all goods imported into the PRC originating from the United States.” “In

     [the President’s] judgment, this modification [was] necessary and appropriate to effectively
     address the threat to the national security and economy of the United States.”

            75.     The next day, April 9, the President again increased the tariffs on imports from
     China, issuing Executive Order 14266, 90 Fed. Reg. 15625, entitled Modifying Reciprocal Tariff
     Rates to Reflect Trading Partner Retaliation and Alignment. That executive order amended the
     Worldwide Tariff Order to increase the tariff on nearly all imports from China another 31
     percent, to a total of 145 percent (20 percent from the China Tariff Order, as amended March 3
     and April 2, plus 125 percent from the Worldwide Tariff Order). The executive order again

     “determined that it is necessary and appropriate to address the national emergency … by
     modifying the [Harmonized Tariff Schedule of the United States] and taking other actions to
     increase the duties imposed on the PRC in response to this latest retaliation. In [the President’s]
     judgment, this modification [was] necessary and appropriate to effectively address the threat to
     U.S. national and economic security posed by the PRC’s contribution to the conditions reflected

Page 17 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx181 -
                Case: 25-1812      Document: 148              Page: 185            Filed: 07/20/2025

               Case 1:25-cv-00077-N/A       Document 2              Filed 04/23/25       Page 18 of 38




     in large and persistent trade deficits, including PRC industrial policies that have produced
     systemic excess manufacturing capacity in the PRC and suppressed U.S. domestic manufacturing
     capacity, which conditions are made worse by the PRC’s recent actions.”
               76.   The President also changed the administration of tariffs with China by applying
     tariffs to even low-value imports that had historically been excluded from duties. On April 2,
     2025, President Trump issued Executive Order 14256, 90 Fed. Reg. 14899, entitled Further
     Amendment to Duties Addressing the Synthetic Opioid Supply Chain in the People’s Republic
     of China as Applied to Low-Value Imports, which eliminated the de minimis exclusion on low-

     value imports from China. The President’s April 8 order further changed the rates imposed. On
     April 9, Executive Order 14266 further increased the tariff rate for low-value imports to 120
     percent, plus $100 per postal item.
         vii.        Partially suspending the Worldwide Tariff Order
               77.   Executive Order 14266, issued on April 9, also delayed the country-specific

     “reciprocal” tariffs listed in Annex 1 of the Worldwide Tariff Order by 90 days (except for those
     imposed on China, as described above). Those tariffs are now scheduled to go into effect on

     July 9.
               78.   The April 9 executive order left in place, however, the 10 percent tariff on nearly
     all goods imported worldwide.
        viii.        Exempting electronics from the Worldwide Tariff Order
               79.   On April 11, 2025, President Trump issued a Presidential Memorandum entitled
     Clarification of Exceptions Under Executive Order 14257 of April 2, 2025, as Amended. That

     memorandum “clarified” that the exclusion in the Worldwide Tariff Order for semiconductors
     included various other electronic devices, such as smartphones, solid-state storage devices, and
     monitors.




Page 18 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx182 -
               Case: 25-1812       Document: 148               Page: 186            Filed: 07/20/2025

            Case 1:25-cv-00077-N/A          Document 2               Filed 04/23/25       Page 19 of 38




          ix.        Current tariff rates under the IEEPA Tariff Orders
               80.   Currently, the Canada and Mexico Tariff Orders, as amended, provide for a 25
     percent additional tariff on imports from Canada and Mexico (except for imports governed by
     USMCA, which are subject to no additional tariff, and potash imports from both countries and
     energy imports from Canada, which are subject to a 10 percent additional tariff). Currently, the
     China Tariff Order and Worldwide Tariff Order, as amended, impose a 145 percent tariff rate for
     imports from China (except for electronics, steel, aluminum, automotive, copper,
     pharmaceutical, lumber, certain minerals, and energy products, and other products listed in

     Annex II of the Worldwide Tariff Order, which are subject only to the 20 percent rate under the
     China Tariff Order only). Currently, the Worldwide Tariff Order, as amended, imposes a 10
     percent tariff rate for imports from the rest of the world (except for electronics, steel, aluminum,
     automotive, copper, pharmaceutical, lumber, certain minerals, and energy products, and other
     products listed in Annex II of the Worldwide Tariff Order, which are not tariffed under the

     order).
               81.   Under the Worldwide Tariff Order, as amended by Executive Order 14266, 90

     Fed. Reg. 15625 (Apr. 9, 2025), the Worldwide Tariff Order will impose additional tariffs on 56
     trading partners on July 9.
               82.   Under the Administration’s interpretation of IEEPA, the President can change
     these tariff policies at any time without notice.

     D.        Collection and enforcement under the IEEPA Tariff Orders
               83.   U.S. Customs and Border Protection is responsible for the collection of tariffs.

     6 U.S.C. §§ 211(c)(4), 215(1); 19 U.S.C. § 4301(2)(A). To facilitate the collection of tariffs,
     Customs and Border Protection uses its Cargo Systems Messaging Service to inform importers
     of changes to the amount and administration of import duties. The guidance incorporates and
     imposes the current duties imposed under the IEEPA Tariff Orders.



Page 19 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                 Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx183 -
            Case: 25-1812           Document: 148             Page: 187            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A           Document 2              Filed 04/23/25       Page 20 of 38




            84.     Customs and Border Protection enforces the Canada Tariff Order under CSMS #
     64297449 - GUIDANCE: Additional Duties on Imports from Canada (issued March 3, 2025),
     and CSMS # 64336037 - GUIDANCE – Update on Additional Duties on Imports from Canada –
     USMCA Qualifying Products and Potash (issued March 6, 2025).
            85.     Customs and Border Protection enforces the Mexico Tariff Order under CSMS #
     64297292 – Guidance: Additional Duties on Imports from Mexico (issued March 3, 2025), and
     CSMS # 64335789 - GUIDANCE – Update on Additional Duties on Imports from Mexico -
     USMCA Qualifying Products and Potash (issued March 6, 2025).

            86.     Customs and Border Protection enforces the China Tariff Order under CSMS #
     64299816 - UPDATE – Additional Duties on Imports from China and Hong Kong (issued March
     3, 2025).
            87.     Customs and Border Protection enforces the Worldwide Tariff Order under
     CSMS # 64701128 - UPDATED GUIDANCE – Reciprocal Tariffs – Increase in Rate for China

     and Reversion of Other Country-Specific Rates, Effective April 10, 2025 (issued April 10,
     2025), and CSMS # 64724565 - UPDATED GUIDANCE – Reciprocal Tariff Exclusion for

     Specified Products; April 5, 2025 Effective Date (issued April 11, 2025).
            88.     IEEPA establishes civil and criminal penalties, including up to 20 years in prison,
     for a violation or attempted violation of an order or regulation issued under its statutory
     authority. 50 U.S.C. § 1705.

     E.     The IEEPA Tariff Orders’ economic destruction
            89.     President Trump has chosen to wield IEEPA to impose tariffs on the world at his

     whim, muddled by threats, additions, exceptions, exemptions, and pauses. The direct
     consequence has been an erratic financial market and a destabilized U.S. and global economy.
            90.     The IEEPA Tariff Orders will cause a substantial increase in prices for goods
     within the Plaintiff States and throughout the United States. The U.S. Trade Representative’s
     methodology for calculating the size of the “reciprocal” tariffs assumes that 25 percent of the

Page 20 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx184 -
             Case: 25-1812          Document: 148              Page: 188            Filed: 07/20/2025

            Case 1:25-cv-00077-N/A          Document 2               Filed 04/23/25       Page 21 of 38




     tariffs will be passed on as increases to retail prices on the tariffed goods, and the studies that
     USTR’s analysis cites conclude that the actual figure is 95 percent. The overwhelming consensus
     of economists is that these price increases will lead to significant inflation and risk recession.
            91.     The immediate impact of these predictions can be seen in the capital markets.
     Between March 3 and April 8, 2025, the S&P 500 lost about 850 points (a 14.5 percent drop),
     and the Dow Jones Industrial Average lost just over 5,500 points (a 13 percent drop). A
     substantial majority of those losses from March 3 to April 8—between 70 to 90 precent—
     occurred after the date of the Worldwide Tariff Order. Between April 2, and April 8, the S&P

     500 lost almost 700 points (a 12 percent drop), and the Dow Jones Industrial Average lost about
     4600 points (an 11 percent drop).
            92.     The effect on the market of the President’s partial suspension of the Worldwide
     Tariff Order further demonstrates the causal relationship. Following the President’s
     announcement that he would suspend the country-specific tariffs for 90 days, the markets

     partially recovered. On April 9, the S&P 500 recovered by about 480 points, a 9.5 percent gain
     from April 8 but still down 10 percent from January 21. Likewise, the Dow Jones Industrial

     Average recovered by about 3,000 points, an 8 percent gain from April 8 but still down 8 percent
     from January 21.
            93.     The market losses are primarily attributable to the IEEPA Tariff Orders. Trade
     organization publications, expert commentary, and news reporting is replete with evidence that
     the market losses are largely a reaction to the President’s threatened and imposed tariffs.
                             V.      THE PLAINTIFF STATES’ INTERESTS

     A.     The Plaintiff States will have increased costs when purchasing necessary equipment
            and supplies essential to their economies.
            94.     The Plaintiff States provide a wide range of public services to their residents and
     visitors. Essential to the provision of those services is the purchase of equipment, supplies, and
     parts, many of which are imported from other countries. Other products are manufactured in the


Page 21 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                 Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000

                                               - Appx185 -
               Case: 25-1812       Document: 148              Page: 189            Filed: 07/20/2025

               Case 1:25-cv-00077-N/A       Document 2              Filed 04/23/25       Page 22 of 38




     United States but contain components that are imported from other countries. Because tariffs
     directly impact the costs of these products, they cause direct financial harm to the Plaintiff
     States.
               95.   For example, the University of Oregon and Oregon State University are public
     research universities that purchase an array of items to provide educational opportunities for their
     students and to produce high quality research. The University of Oregon and Oregon State
     University are two of Oregon’s seven public universities established by Or. Rev. Stat. § 352.002,
     each of which is “a governmental entity performing governmental functions and exercising

     governmental powers.” Or. Rev. Stat. § 352.033. Among other things, the State of Oregon’s
     public universities act for the State of Oregon by ensuring access and affordability to education,
     fostering an informed citizenry, and creating original knowledge and advancing innovation. See,
     e.g., Or. Rev. Stat. §§ 352.039, 350.001, 350.005, 350.009.
               96.   Among the array of items that the University of Oregon purchases is specialized

     equipment for scientific research. Because specialized equipment must meet particular
     specifications and standards for the research group, it is often only reasonably available from a

     few sources, which are all foreign. Purchasing specialized equipment also often requires an order
     date several months in advance of delivery. To mitigate the risk of unexpected import costs,
     purchase-order terms frequently include a term allowing the vendor to make price adjustments
     before delivery.
               97.   That has already occurred. On November 8, 2024, the University of Oregon
     purchased a cryogenic single-photon counting detector system from ID Quantique, Inc., for its

     Center of Optics. At that time, the purchase price was $182,733. IDQ shipped the cryogenic
     system from Switzerland on April 8. At that time, the additional “reciprocal” tariff scheduled to
     go into effect for imports from Switzerland was 31 percent. The system arrived after the
     announced pause, resulting in the lower—but still substantial—10 percent worldwide tariff
     collected at the port by U.S. Customs and Border Protection. As a result of that additional tariff,

Page 22 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx186 -
            Case: 25-1812          Document: 148             Page: 190            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A          Document 2              Filed 04/23/25       Page 23 of 38




     the customs broker required the University of Oregon to pay an additional $18,579 before it
     would deliver the cryogenic system.
            98.     That is only one example of purchases that are awaiting shipment. If left in place,
     the unlawful IEEPA Tariff Orders will increase the cost of each purchase by, at minimum, an
     additional 10 percent imposing financial harm to the State of Oregon through the University of
     Oregon.
            99.     Among other goods, Oregon State University purchases scientific supplies for use
     by its students and researchers. Oregon State University’s vendor for these supplies notified

     Oregon State University that because of the U.S. Government’s tariffs on materials imported
     from China, as well as a tariff on imported steel and aluminum, the vendor was forced to
     implement a surcharge of 2.3% on products. The cost of this surcharge is passed on directly to
     Oregon State University. Other vendors are also passing along costs of the IEEPA Tariff Orders
     to Oregon State University. These surcharges and cost increases have a direct adverse impact on

     Oregon State University and, in turn, impose financial harm to the State of Oregon.
            100.    Another example is the cost of testing kits purchased by the Oregon Health &

     Sciences University. OHSU is a public corporation that performs functions and services for the
     benefit of the State of Oregon. It is a “governmental entity performing governmental functions
     and exercising governmental powers.” Or. Rev. Stat. § 353.020. Its purpose is to serve the people
     of Oregon by “providing education in health, science, [and] engineering”; “[c]onduct[ing]
     research in health care, engineering, biomedical sciences, and general sciences”; and provide and
     support healthcare throughout the state. Or. Rev. Stat. § 353.030.

            101.    OHSU’s pharmacy partner has already seen a 20 percent increase in the price of
     testing kits, due to both existing and impending tariffs. OHSU reasonably expects the pharmacy
     partner to pass those costs on to OHSU. Because OHSU requires testing kits on a monthly basis,
     these tariff impacts will be recurring so long as Tariff Orders—and the continued threatening of
     tariffs—remain in place.

Page 23 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                               Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax: (971) 673-5000

                                             - Appx187 -
            Case: 25-1812          Document: 148              Page: 191            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A           Document 2              Filed 04/23/25       Page 24 of 38




            102.    The Oregon Department of Transportation is a state agency that provides service,
     builds infrastructure, and maintains equipment to further transportation safety and efficiency. Or.
     Rev. Stat. § 184.615. For that purpose, ODOT has a long-term contract with URS Electronics for
     the purchase of traffic video surveillance equipment. On April 16, 2025, URS Electronics
     informed ODOT that one of its vendors, Bosch Security division, “announced a 7.9% across the
     board price increase that will go into effect on May 1st, to help offset some of their cost
     increases experienced due to current federal government trade policies.” Those vendor-price
     increases will be passed on to ODOT, harming ODOT with increased operations costs for the

     foreseeable future.
            103.    The Arizona Department of Transportation (ADOT) has a long list of
     procurement contracts for the purchase of equipment, supplies, or parts, many of which are
     imported from other countries or have component parts imported from other countries. The
     tariffs are already increasing costs for ADOT. Notably, on March 14, 2025, one contractor

     requested a price increase, citing the increased duty cost stated “in Executive Order 14228 of
     March 3, 2025.”

            104.    Arizona’s universities are also directly harmed by the tariffs imposed pursuant to
     the IEEPA Tariff Orders. For example, Arizona State University, the largest public university in
     the country, conducts research of national significance that depends on its ability to source
     specialized equipment not available from domestic sources. Using just one project as an
     exemplar, the SHIELD USA program spearheaded by Arizona State University faces the
     prospect of up to $1.4 million in increased costs from fully implemented tariffs. This would be

     especially counterproductive as SHIELD USA aims to drive innovation in the domestic
     microchip packaging ecosystem, expand capacity for domestic advanced packaging, and help to
     regain U.S leadership in microelectronics while strengthening national security.
            105.    As a purchaser of imported products from countries subject to one or more of the
     IEEPA Tariff Orders, the State of Delaware is directly harmed by these tariffs. For example, the

Page 24 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx188 -
            Case: 25-1812          Document: 148              Page: 192            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A           Document 2              Filed 04/23/25       Page 25 of 38




     Maintenance and Operations Division of the Delaware Department of Transportation purchases
     approximately 20 dump trucks per year: both the two-ton bodies of the trucks and truck rims are
     imported. Maintenance and Operations also purchases John Deere tractor parts that are made in
     Mexico, and Stihl chainsaws and trimmers that are made in Germany. The Office of Fleet
     Services of Delaware’s Office of Management and Budget provides state agencies with access to
     vehicles. Fleet Services manages a fleet of about 3,000 vehicles, 25 percent of which are
     minivans from Stellantis (Chrysler), assembled in Windsor, Ontario. Fleet Services purchases an
     average of 70 minivans per year. Also, as Delaware moves to electrify its fleet, Fleet Services

     will purchase vehicles such as the Ford Mach-E, Chevrolet Blazer EV, Chevrolet Equinox EV,
     and Toyota BZ4x, which are manufactured outside the United States. Even those vehicles in
     Delaware’s fleet assembled in the United States often include parts sourced worldwide. Any
     increase in tariffs caused by these unlawful tariffs inflicts a direct pecuniary injury to Delaware’s
     finances.

            106.    New York’s Office of General Services (NYOGS) estimates that tariffs,
     particularly those on Mexico, Canada, and China, will have significant impacts on bid prices,

     supply chains, and construction claims. NYOGS’s primary responsibilities include managing and
     leasing real property, designing and building facilities, and contracting for goods, services, and
     technology for the State of New York.
            107.    Energy pricing is particularly threatened. In 2024, New York State imported 7.7
     Terawatt-hours of Canadian electricity, valued in the hundreds of millions of dollars. Canada is
     the number one supplier of energy to the United States generally, including around 85 percent of

     U.S. electricity imports.
            108.    When President Trump imposed tariffs on Canada, the Ontario and Quebec
     Premiers threatened retaliatory restrictions on electricity exports to the U.S. This would be
     catastrophic. NYOGS estimates that if Ontario or Quebec restricted electricity exports to New
     York, prices would soar at a time when the State is facing capacity restraints and is relying more

Page 25 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx189 -
            Case: 25-1812             Document: 148            Page: 193            Filed: 07/20/2025

            Case 1:25-cv-00077-N/A          Document 2               Filed 04/23/25       Page 26 of 38




     heavily on Canadian hydropower than ever. New York cannot simply buy less electricity or buy
     electricity from other sources.
             109.    In the construction context, NYOGS bid about $1 billion in 2024, with
     approximately half on labor and half on materials. Assuming NYOGS bids a comparable annual
     portfolio, if even only 37 percent of these materials are subject to tariffs at 25 percent, then the
     potential cost impact could be between $40 million and $50 million to New York’s projects. In
     NYOGS’s experience, these price increases rarely fully recover to pre-event levels.
     Consequently, the tariffs will likely have a long-term negative effect on project costs and,

     consequently, agency capital programs.
             110.    Outside of the construction context, NYOGS estimates that 50 percent to 75
     percent of the products purchased by New York may be manufactured in a tariff-impacted
     nation. Based on an estimated average total spend of $5 billion, a 25 percent tariff on Mexico
     and Canada and a 10 percent tariff on China will likely have a portfolio-wide impact of roughly

     $106 million for New York State agencies.
             111.    NYOGS estimates that potential contractual impacts on active construction

     projects due to imposed tariffs would be similar to what New York experienced during
     COVID. Unlike during COVID, however, when New York was bidding projects in a soft and
     uncertain economy, there is no shortage of construction work today. Contractors are very busy
     despite higher interest rates.
             112.    The IEEPA Tariff Orders also injure Plaintiff States by increasing the price of
     goods and services that they purchase from domestic producers and suppliers that rely on

     imports. For example, Oregon’s largest natural gas utility imports most of its natural gas from
     Canada. It has already made a regulatory filing to reserve the right to show that the cost of tariffs
     “should be recovered in rates….” The State of Oregon uses natural gas for most of its building
     energy use and it would be injured as an electricity ratepayer by any increase in the rates for
     natural gas.

Page 26 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                 Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx190 -
            Case: 25-1812          Document: 148              Page: 194            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A           Document 2              Filed 04/23/25       Page 27 of 38



     B.     The President’s imposition, modification, and reinstatement of tariffs by executive
            order and memoranda forces the Plaintiff States to incur administrative costs.
            113.    The President’s invocation of the IEEPA to impose, modify, and reinstate tariffs
     by executive order, memoranda, social media post, and other means has resulted in national trade
     policy that reflects the President’s whims on a particular day rather than reasoned decision. The
     President’s abrupt policy changes have disrupted the economies of the Plaintiff States. In just
     March and April, the President has imposed sweeping tariff-rate changes on at least four
     occasions, with numerous purported clarifications and exemptions made in between, as well as
     the repeated retaliatory rate-hikes for China.

            114.    Those erratic swings in trade policy not only affect the markets, but they also
     harm the Plaintiff States’ ability to procure goods and services and to budget for and audit price
     adjustments.
            115.    For example, the Oregon Department of Transportation builds, maintains, and
     plans for the State of Oregon’s transportation infrastructure. See, e.g., ORS § 184.615. To build

     and maintain that infrastructure, ODOT frequently requires the work of general contractors.
     Conditions are currently changing far more quickly than normal. Due to cost volatility, material
     suppliers and subcontractors are substantially reducing the length of time that they will commit
     to prices, making it more challenging for ODOT to secure bid extensions from prime contractors.
     That results in a harm to ODOT by making it more difficult to obtain competitive bids from

     high-quality prime contractors.
            116.    The IEEPA Tariff Orders have also created procurement uncertainty for Oregon

     State University. Oregon State University regularly issues requests for proposals or solicitations
     and receives proposals from across the country and internationally. Because of the price
     uncertainty caused by the IEEPA Tariff Orders, many of the solicitations received are
     conditional and indicate that costs may change depending on cost fluctuations. For example,
     Oregon State University recently received a proposal for a robotics system for research from a
     Swiss manufacturer that stated the total price with the disclaimer that “[p]ricing is based on

Page 27 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx191 -
             Case: 25-1812          Document: 148               Page: 195            Filed: 07/20/2025

            Case 1:25-cv-00077-N/A           Document 2               Filed 04/23/25       Page 28 of 38




     current US tariff regulations for imports from Switzerland. In the event that new or increased
     tariffs are imposed on the quoted products or their components prior to delivery, [vendor]
     reserves the right to adjust the prices accordingly.” These conditional solicitations necessitated
     by the IEEPA Tariff Orders make it impossible for Oregon State University to evaluate which
     solicitation is the lowest bid and budget accordingly.
             117.    In Illinois, the Department of Information Technology (DOIT) purchases about
     15,000 imported personal computers for state employees each year, along with necessary
     accessories and support products (screens, docking stations, etc.). Because of the uncertainty

     surrounding tariffs, DOIT's ability to negotiate future contracts has been seriously hindered, and
     DOIT’s stock of available computers and hardware inventory has dwindled as negotiations
     dragged on. In the end, DOIT was constrained to accept a contract under which the vendor is
     explicitly permitted to pass on the cost of any tariff to the State of Illinois.
             118.    The potential for tariffs and the chaos around the on-again, off-again tariff

     policies have also impacted New York already. When contractors experience financial impacts
     that are beyond their control, they will attempt to identify ways to mitigate their losses and

     request notices under the contract for relief. New York has already experienced fluctuating prices
     and delays caused by vendors adjusting to higher risk.
             119.    Cost volatility also affects the ability of state agencies and entities to plan their
     budgets. For example, the University of Oregon is currently setting its budget for fiscal year
     2026 (July 1, 2025 through June 30, 2026). Due to the President’s purported ability to change
     tariffs by executive order or memorandum, budgeting for the additional cost of tariffs effectively

     requires the University of Oregon to predict the President’s state of mind at particular times of
     the fiscal year. As a result, the university must plan its FY 2026 budget with a potential tariff rate
     on any given item ranging from 10 to 145 percent, which substantially undermines the
     university’s ability to make financial plans and decisions.



Page 28 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                  Oregon Department of Justice
                                                     100 SW Market Street
                                                      Portland, OR 97201
                                              (971) 673-1880 / Fax: (971) 673-5000

                                                - Appx192 -
            Case: 25-1812          Document: 148              Page: 196            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A           Document 2              Filed 04/23/25       Page 29 of 38




            120.    As another example, OHSU is currently setting its budget for its Fiscal Year
     2026, with its fiscal years also being July 1 through June 30. OHSU’s Board of Directors will
     formally adopt the budget in May. Given the uncertainties related to tariffs, OHSU is unable to
     accurately plan its expenses for the next fiscal year. Already in past years, despite increasing
     revenue, spending has outpaced revenue. The substantial tariffs imposed and threatened by the
     President will only worsen that problem. If the costs of tariffs cause OHSU to significantly
     exceed its budget, it creates a serious risk that OHSU will need to cut expenses by scaling back
     its services and laying off staff, which harms OHSU and the State of Oregon.

            121.    Unpredictable tariffs also are already burdening or almost certainly will burden
     the Plaintiff States by increasing administrative costs. When tariff rates increased in the past,
     many Plaintiff States saw vendors and contractors claim the rate increases as the basis for price
     adjustments. Although vendors that ship directly from foreign ports can include documentation
     from U.S. Customs and Border Protection evidencing the applied tariff rate, that is not possible

     with most domestic manufacturers that use foreign-sourced components. Whether due to
     opportunism or avoidance of incurring their own administrative costs, many Plaintiff States have

     experienced some vendors and contractors attempting to impose price adjustments that are not
     reasonably based on increased tariff rates.
            122.    When a vendor or contractor seeks to impose a price-adjustment based on tariff
     rates, many Plaintiff States’ agencies audit the adjustment to ensure that it is reasonably based on
     actual costs incurred. That is particularly difficult with regard to domestically produced goods
     made in part with foreign-sourced components, or contracted services that use some foreign-

     sourced materials. Due to the President’s erratic—and sometimes inconsistent—tariff-rate
     directives, many of the Plaintiff States’ agencies must piece together the applicable tariff for a
     particular day by reviewing multiple executive orders, memoranda, social media posts, and so
     on, and also investigate how much of those costs were actually incurred by the vendor or
     contractor. That imposes a substantial and additional administrative cost to many Plaintiff States.

Page 29 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx193 -
             Case: 25-1812          Document: 148               Page: 197            Filed: 07/20/2025

            Case 1:25-cv-00077-N/A           Document 2               Filed 04/23/25       Page 30 of 38




                                            CAUSES OF ACTION
                                            Count I
           The IEEPA Tariff Orders are Ultra Vires and Violate the Separation of Powers
                                           (Against All Defendants)
             123.    The Plaintiff States incorporate by reference the allegations contained in the
     preceding paragraphs.
             124.    The Constitution grants only Congress, not the President, the “Power To lay and
     collect Taxes, Duties, Imposts and Excises….” Art. I, § 8, cl. 1.
             125.    No statute authorizes the President to issue the IEEPA Tariff Orders. The only
     statute conveying substantive authority to the President cited in the Orders is IEEPA. But IEEPA
     does not authorize the imposition of such tariffs, if it authorizes tariffs at all. In addition, the
     Worldwide Tariff Order does not address an “unusual and extraordinary threat.” Moreover, the
     tariffs the Orders impose are not designed “to deal with”—and thus have an insufficient nexus
     to—the purported “unusual and extraordinary threat[s]” the Orders identify.

             126.    The President’s authority under IEEPA may be exercised only to address an
     “unusual and extraordinary threat, which has its source in whole or substantial part outside the

     United States, to the national security, foreign policy, or economy of the United States, if the
     President declares a national emergency with respect to such threat.” 50 U.S.C. § 1701(a).
             127.    The statutory requirement of an “unusual and extraordinary threat” is not met by

     the President’s declaration of emergency accompanying the Worldwide Tariff Order. As the
     Worldwide Tariff Order acknowledges, “annual U.S. goods trade deficits” are “persistent”; thus,
     by definition, they are not “unusual and extraordinary.” There is no other “unusual and
     extraordinary threat” addressed by the Worldwide Tariff Order.
             128.    The President’s emergency powers under the IEEPA “may only be exercised to
     deal with an unusual and extraordinary threat with respect to which a national emergency has




Page 30 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                  Oregon Department of Justice
                                                     100 SW Market Street
                                                      Portland, OR 97201
                                              (971) 673-1880 / Fax: (971) 673-5000

                                               - Appx194 -
            Case: 25-1812          Document: 148              Page: 198            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A           Document 2              Filed 04/23/25       Page 31 of 38




     been declared for purposes of this chapter and may not be exercised for any other purpose.” 50
     U.S.C. § 1701(b).
            129.    The tariffs imposed under the Canada and Mexico Tariff Orders do not “deal
     with” the “unusual and extraordinary threat[s]” they identify: there is no connection between the
     border security threats the orders identify, including drug trafficking, and the tariffs imposed by
     the orders.
            130.    The tariffs imposed under the China Tariff Order does not “deal with” the
     “unusual and extraordinary threat” it identifies: there is no connection between the manufacture

     and trafficking of fentanyl and the tariffs imposed by the order.
            131.    The tariffs imposed under the Worldwide Tariff Order do not “deal with” the
     purported “unusual and extraordinary threat[s]” the Order identifies:
                    a.      The nearly worldwide 10 percent tariff level is wholly unconnected to the
                            stated basis of the emergency declaration: it applies without regard to any

                            country’s trade practices or purported threat to domestic industries.
                    b.      The level of additional tariffs published in Annex I of the Tariff Order

                            exceeds what is necessary “to deal with” the purported emergency.
                    c.      The Trump Administration has said that it intends to use the Tariff Order
                            to advance unrelated policy objectives in direct contravention of IEEPA.
                            White House Press Secretary Karoline Leavitt said during an April 8 press
                            briefing that: “The President ... is going to have a custom, tailor-made
                            approach to each and every country, and if that means discussions of

                            foreign aid, of our military presence in these countries, how those troops
                            are paid for ... that could be part of the negotiation.” With respect to a
                            potential change to the Tariff Order with respect to South Korea, the
                            President wrote: “I just had a great call with the Acting President of South
                            Korea. We talked about their tremendous and unsustainable Surplus,

Page 31 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx195 -
             Case: 25-1812          Document: 148               Page: 199            Filed: 07/20/2025

            Case 1:25-cv-00077-N/A           Document 2               Filed 04/23/25       Page 32 of 38




                             Tariffs, Shipbuilding, large scale purchase of U.S. LNG, their joint
                             venture in an Alaska Pipeline, and payment for the big time Military
                             Protection we provide to South Korea….”
                     d.      The President’s suspension of the country-specific tariffs underscores the
                             lack of nexus between the purported economic threats the Worldwide
                             Tariff Order identifies and the tariffs it imposes.
             132.    Plaintiff States have a non-statutory right of action to enjoin and declare unlawful
     official action that is unconstitutional and ultra vires.

             133.    The IEEPA Tariff Orders are not authorized by the IEEPA or any other statute.
     As such, they are ultra vires and unlawful.
             134.    Further, because the President lacks statutory authority to impose the tariffs in the
     IEEPA Tariff Orders, the IEEPA Tariff Orders are an exercise of Congressional authority in
     violation of separation of powers.
                                                 Count II
                               No statutory authority — 5 U.S.C. § 706(2)(C)
                              (Against U.S. Customs and Border Protection)
             135.    The Plaintiff States incorporate by reference the allegations contained in the
     preceding paragraphs.
             136.    U.S. Customs and Border Protection is an “agency” under the Administrative
     Procedure Act, 5 U.S.C. § 551(1).
             137.    The Customs and Border Protection’s Cargo Systems Messaging Service (CSMS)
     # 64297449 - Guidance: Additional Duties on Imports from Canada (as amended by CSMS #
     64472173, CSMS # 64514918, and CSMS # 64336037), CSMS # 64297292 – Guidance:
     Additional Duties on Imports from Mexico (as amended by CSMS # 64335789), and CSMS #
     64701128 – Updated Guidance – Reciprocal Tariffs – Increase in Rate for China and Reversion
     of Other Country-Specific Rates, Effective April 10, 2025 (each, a “Guidance”) are each a final


Page 32 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                  Oregon Department of Justice
                                                     100 SW Market Street
                                                      Portland, OR 97201
                                              (971) 673-1880 / Fax: (971) 673-5000

                                               - Appx196 -
               Case: 25-1812         Document: 148              Page: 200            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A             Document 2              Filed 04/23/25       Page 33 of 38




     agency action subject to review under the APA. Each Guidance marks the consummation of its
     decision-making process because it announces the agency’s implementation of the IEEPA Tariff
     Orders.
               138.    Each Guidance is an action by which rights or obligations have been determined
     or from which legal consequences will flow because it immediately changes tariffs rates charged
     at importation.
               139.    Each Guidance implements a series of tariffs that are without statutory
     authorization and are contrary to law. See Count I, above.

               140.    The APA requires that a court “hold unlawful and set aside agency action,
     findings, and conclusions found to be … in excess of statutory jurisdiction, authority, or
     limitations, or short of statutory right.” 5 U.S.C. § 706(2)(C).
               141.    Plaintiff States are also entitled to vacatur of each Guidance under 5 U.S.C. § 706,
     all appropriate preliminary relief under 5 U.S.C. § 705, and a preliminary and permanent

     injunction preventing U.S. Customs and Border Protection from implementing each Guidance.
                                                Count III
                              Arbitrary and Capricious — 5 U.S.C. § 706(2)(A)
                                (Against U.S. Customs and Border Protection)
               142.    The Plaintiff States incorporate by reference the allegations contained in the
     preceding paragraphs.
               143.    U.S. Customs and Border Protection is an “agency” under the Administrative
     Procedure Act, 5 U.S.C. § 551(1).
               144.    The Customs and Border Protection’s Cargo Systems Messaging Service (CSMS)
     # 64297449 - Guidance: Additional Duties on Imports from Canada (as amended by CSMS #

     64472173, CSMS # 64514918, and CSMS # 64336037), CSMS # 64297292 – Guidance:
     Additional Duties on Imports from Mexico (as amended by CSMS # 64335789), and CSMS #
     64701128 – Updated Guidance – Reciprocal Tariffs – Increase in Rate for China and Reversion


Page 33 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                  Oregon Department of Justice
                                                     100 SW Market Street
                                                      Portland, OR 97201
                                              (971) 673-1880 / Fax: (971) 673-5000

                                                - Appx197 -
               Case: 25-1812         Document: 148              Page: 201            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A             Document 2              Filed 04/23/25       Page 34 of 38




     of Other Country-Specific Rates, Effective April 10, 2025 (each, a “Guidance”) are each a final
     agency action subject to review under the APA. Each Guidance marks the consummation of its
     decision-making process because it announces the agency’s implementation of the IEEPA Tariff
     Orders.
               145.    Each Guidance is an action by which rights or obligations have been determined
     or from which legal consequences will flow because it immediately changes tariffs rates charged
     at importation.
               146.    The APA requires that a court “hold unlawful and set aside agency action,

     findings, and conclusions found to be ... arbitrary, capricious, [or] an abuse of discretion.” 5
     U.S.C. § 706(2)(A).
               147.    Agency action is arbitrary and capricious if the agency has “relied on factors
     which Congress has not intended it to consider, entirely failed to consider an important aspect of
     the problem, offered an explanation for its decision that runs counter to the evidence before the

     agency, or is so implausible that it could not be ascribed to a difference in view or the product of
     agency expertise.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43

     (1983).
               148.    Each Guidance is arbitrary and capricious because it relies on factors unrelated to
     an “unusual and extraordinary threat” as required under IEEPA, it fails to consider the economic
     consequences of the imposition of tariffs, and is implausible and counter to the evidence.
               149.    Plaintiff States are also entitled to vacatur of each Guidance under 5 U.S.C. § 706,
     all appropriate preliminary relief under 5 U.S.C. § 705, and a preliminary and permanent

     injunction preventing U.S. Customs and Border Protection from implementing each Guidance.




Page 34 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                  Oregon Department of Justice
                                                     100 SW Market Street
                                                      Portland, OR 97201
                                              (971) 673-1880 / Fax: (971) 673-5000

                                                - Appx198 -
            Case: 25-1812         Document: 148              Page: 202            Filed: 07/20/2025

           Case 1:25-cv-00077-N/A          Document 2              Filed 04/23/25       Page 35 of 38




                                         PRAYER FOR RELIEF
     WHEREFORE, the Plaintiff States pray that the Court:
                   a.      Declare that the IEEPA Tariff Orders, as amended, are ultra vires and
            contrary to law;
                   b.      Hold unlawful and set aside the Customs and Border Protection’s Cargo
            Systems Messaging Service (CSMS) # 64297449 - Guidance: Additional Duties on
            Imports from Canada (as amended by CSMS # 64472173, CSMS # 64514918, and
            CSMS # 64336037), CSMS # 64297292 – Guidance: Additional Duties on Imports from

            Mexico (as amended by CSMS # 64335789), and CSMS # 64701128 – Updated
            Guidance – Reciprocal Tariffs – Increase in Rate for China and Reversion of Other
            Country-Specific Rates, Effective April 10, 2025;
                   c.      Preliminarily and permanently enjoin Secretary Noem, Acting
            Commissioner Flores, the Defendant agencies, their agents, and anyone acting in concert

            or participation with them from implementing, instituting, maintaining, or giving effect to
            (i) the IEEPA Tariff Orders, as amended, and (ii) U.S. Customs and Border Protection’s

            Cargo Systems Messaging Service (CSMS) # 64297449 (issued March 3, 2025), CSMS #
            64336037 (issued March 6, 2025), CSMS # 64297292 (issued March 3, 2025), CSMS #
            64335789 (issued March 6, 2025), CSMS # 64299816 (issued March 3, 2025), CSMS #
            64701128 (issued April 10, 2025), and CSMS # 64724565 (issued April 11, 2025), by
            entering an order consistent with the constitutional requirement that “all Duties, Imposts
            and Excises shall be uniform throughout the United States,” U.S. Const., Art. I, § 8, cl. 1;




Page 35 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                               Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax: (971) 673-5000

                                             - Appx199 -
          Case: 25-1812         Document: 148              Page: 203              Filed: 07/20/2025

           Case 1:25-cv-00077-N/A         Document 2               Filed 04/23/25        Page 36 of 38




                   d.      Award the Plaintiffs States’ costs of suit and reasonable attorneys’ fees
            and expenses under any applicable law; and
                   e.      Award such additional relief as the interests of justice may require.
            DATED: April 23, 2025
     Respectfully submitted,

     DAN RAYFIELD                                                        KRISTIN K. MAYES
     Attorney General                                                    Attorney General
     State of Oregon                                                     State of Arizona

     By: /s/ Brian Simmonds Marshall                                     By: /s/ Syreeta A. Tyrell
     Benjamin Gutman                                                     Joshua D. Bendor*
     Solicitor General                                                   Solicitor General
     Dustin Buehler                                                      Syreeta A. Tyrell*
     Special Counsel                                                     Assistant Attorney General
     Brian Simmonds Marshall                                             2005 North Central Avenue
     Christopher A. Perdue*                                              Phoenix, Arizona 85004
     Nina R. Englander*                                                  Phone: (602) 542-8310
     Senior Assistant Attorneys General                                  Joshua.Bendor@azag.gov
     YoungWoo Joh**                                                      Syreeta.Tyrell@azag.gov
     Alexander C. Jones*                                                 ACL@azag.gov
     Assistant Attorneys General
     Oregon Department of Justice                                        Attorneys for the State of Arizona
     100 SW Market Street
     Portland, OR 97201
     Tel (971) 673-1880
     Fax (971) 673-5000
     Brian.S.Marshall@doj.oregon.gov
     Chris.Perdue@doj.oregon.gov
     Nina.Englander@doj.oregon.gov
     YoungWoo.Joh@doj.oregon.gov
     Alex.Jones@doj.oregon.gov
     Attorneys for the State of Oregon




Page 36 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                               Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax: (971) 673-5000

                                           - Appx200 -
         Case: 25-1812          Document: 148               Page: 204                Filed: 07/20/2025

           Case 1:25-cv-00077-N/A          Document 2                 Filed 04/23/25          Page 37 of 38




     PHILIP J. WEISER                                                  KEITH ELLISON
     Attorney General                                                  Attorney General
     State of Colorado                                                 State of Minnesota
                                                                       By: /s/ Pete Farrell
     By: /s/ Sarah H. Weiss                                            Peter J. Farrell*
     Sarah H. Weiss*                                                   Deputy Solicitor General
     Senior Assistant Attorney General                                 445 Minnesota Street, Suite 600
     1300 Broadway, #10                                                St. Paul, Minnesota, 55101
     Denver, CO 80203                                                  (651) 757-1424
     (720) 508-6000                                                    Peter.Farrell@ag.state.mn.us
     Sarah.Weiss@coag.gov                                              Attorneys for the State of
                                                                       Minnesota
     Attorneys for the State of Colorado

     WILLIAM TONG                                                      AARON D. FORD
     Attorney General                                                  Attorney General
     State of Connecticut                                              State of Nevada
                                                                       By: /s/ Heidi Parry Stern
     By: /s/ Michael K. Skold                                          Heidi Parry Stern*
     Michael K. Skold*                                                 Solicitor General
     Solicitor General                                                 Office of the Nevada Attorney
     165 Capitol Ave                                                   General
     Hartford, CT 06106                                                1 State of Nevada Way, Ste. 100
     (860) 808-5020                                                    Las Vegas, NV 89119
                                                                       HStern@ag.nv.gov
     Michael.skold@ct.gov
                                                                       Attorneys for the State of Nevada
     Attorneys for the State of Connecticut

     KATHLEEN JENNINGS                                                RAÚL TORREZ
     Attorney General                                                 Attorney General
     State of Delaware                                                State of New Mexico

     By: /s/ Ian R. Liston                                            By: /s/ James W. Grayson
     Ian R. Liston*                                                   James W. Grayson*
     Director of Impact Litigation                                    Chief Deputy Attorney General
     Vanessa L. Kassab*                                               New Mexico Department of Justice
     Deputy Attorney General                                          P.O. Drawer 1508
     Delaware Department of Justice                                   Santa Fe, NM 87504-1508
     820 N. French Street                                             (505) 490-4060
     Wilmington, DE 19801                                             jgrayson@nmdoj.gov
     (302) 683-8899
     vanessa.kassab@delaware.gov                                      Attorneys for the State of New Mexico

     Attorneys for the State of Delaware

Page 37 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                  Oregon Department of Justice
                                                     100 SW Market Street
                                                      Portland, OR 97201
                                              (971) 673-1880 / Fax: (971) 673-5000

                                           - Appx201 -
           Case: 25-1812          Document: 148             Page: 205              Filed: 07/20/2025

            Case 1:25-cv-00077-N/A         Document 2               Filed 04/23/25        Page 38 of 38




     KWAME RAOUL                                                        LETITIA JAMES
     Attorney General                                                   Attorney General
     State of Illinois                                                  State of New York

     By: /s/ Gretchen Helfrich                                          By: /s/ Rabia Muqaddam
     Cara Hendrickson*                                                  Rabia Muqaddam*
     Assistant Chief Deputy Attorney General                            Special Counsel for Federal
     Gretchen Helfrich*                                                 Initiatives
     Deputy Chief, Special Litigation Bureau                            28 Liberty St.
     Office of the Illinois Attorney General                            New York, NY 10005
     115 South LaSalle Street                                           (929) 638-0447
     Chicago, IL 60603                                                  rabia.muqaddam@ag.ny.gov
     Tel. (312) 814-3000
     Cara.Hendrickson@ilag.gov                                          Attorneys for the State of New York
     Gretchen.helfrich@ilag.gov
     Attorneys for the State of Illinois

     AARON M. FREY                                                      CHARITY R. CLARK
     Attorney General                                                   Attorney General
     State of Maine                                                     State of Vermont
     By: /s/ Vivian A. Mikhail
     Vivian A. Mikhail*                                                 By: /s/ Ryan P. Kane
     Deputy Attorney General                                            Ryan P. Kane*
     Office of the Maine Attorney General                               Deputy Solicitor General
     6 State House Station                                              109 State Street
     Augusta, ME 04333-0006                                             Montpelier, VT 05609
     (207) 626-8800                                                     (802) 828-2153
     Vivian.mikhail@maine.gov                                           Ryan.kane@vermont.gov
     Attorneys for the State of Maine
                                                                        Attorneys for the State of Vermont


     * Admission application forthcoming

     ** Admission application pending




Page 38 - COMPLAINT – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                            - Appx202 -
            Case: 25-1812    Document: 148       Page: 206     Filed: 07/20/2025




Case 1:25-cv-00077-GSK-TMR-JAR          Document 14-2        Filed 05/07/25   Page 1 of 53




             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


THE STATE OF OREGON, THE STATE OF              Case No. 1:25-cv-00077-GSK-TMR-JAR
ARIZONA, THE STATE OF COLORADO,
THE STATE OF CONNECTICUT, THE                  DECLARATION OF
STATE OF DELAWARE, THE STATE OF                PROFESSOR JAMES R. HINES JR.
ILLINOIS, THE STATE OF MAINE, THE
STATE OF MINNESOTA, THE STATE OF
NEVADA, THE STATE OF NEW MEXICO,
THE STATE OF NEW YORK, and THE
STATE OF VERMONT,

              Plaintiffs,

       v.

DONALD J. TRUMP, in his capacity as
President of the United States;
DEPARTMENT OF HOMELAND
SECURITY; KRISTI NOEM, in her official
capacity as Secretary of the Department of
Homeland Security; UNITED STATES
CUSTOMS AND BORDER PROTECTION;
PETER R. FLORES, in his official capacity as
Acting Commissioner for U.S. Customs and
Border Protection; and THE UNITED
STATES,

              Defendants.




                                      - Appx203 -
              Case: 25-1812                  Document: 148                 Page: 207              Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                               Document 14-2                   Filed 05/07/25                Page 2 of 53




                                                  Table of Contents


I.       Qualifications and methods................................................................................................. 1
         A.        Qualifications. ......................................................................................................... 1

         B.        Methods................................................................................................................... 1
II.      The Economic background. ................................................................................................ 2

III.     U.S. Current account deficits and U.S. manufacturing. .................................................... 11
IV.      Scope of recent tariff action. ............................................................................................. 15
V.       Economic impact of tariff action. ..................................................................................... 18

VI.      Impact of tariffs on prices of imported goods. .................................................................. 23
VII.     Exposures of state governments........................................................................................ 25
VIII.    Evaluation of recent tariff action. ..................................................................................... 32




Page i
                                                           - Appx204 -
           Case: 25-1812            Document: 148          Page: 208              Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                   Filed 05/07/25   Page 3 of 53




    I.     Qualifications and methods.
    A.     Qualifications.

           1.      I teach at the University of Michigan, where I am the Richard A. Musgrave
    Collegiate Professor of Economics in the Department of Economics and the L. Hart Wright
    Collegiate Professor of Law in the law school. My scholarly work concerns various aspects of
    government finance. I have a B.A. and M.A. from Yale University and a Ph.D. from Harvard
    University, all in economics.
           2.      Prior to joining the Michigan faculty, I was a full-time faculty member first at
    Princeton University and then at Harvard University; additionally, I have held visiting
    appointments at Columbia University, the London School of Economics, the University of
    California-Berkeley, the University of Melbourne, and Harvard Law School. I have testified
    before Congress on nine occasions, and in 2017 received the National Tax Association’s Daniel
    M. Holland Medal for lifetime achievement in the study of public finance.
           3.      I am a past President of the American Law & Economics Association and am the
    current President of the International Institute of Public Finance. I am a Research Associate of
    the National Bureau of Economic Research, Research Director of the International Tax Policy
    Forum, a Fellow of the CESifo group in Germany, an International Research Fellow of the
    Centre for Business Taxation at Oxford University, and a Fellow of the Society for Empirical
    Legal Studies. I am a former Co-Editor of the American Economic Association’s Journal of
    Economic Perspectives and previously served as an Economist in the Bureau of Economic
    Analysis of the U.S. Department of Commerce. Exhibit A provides more details about my
    experience and publications.
           4.      I am being paid $250 per hour for my work on this matter, which represents a
    significant discount from my usual rate for expert witness or other consulting work.

    B.     Methods.

           5.      This report was prepared based on reviews of the available evidence in the
    economics literature, and analysis of data available from various government documents and
    websites.

Page 1 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                           - Appx205 -
            Case: 25-1812         Document: 148             Page: 209              Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                   Filed 05/07/25   Page 4 of 53




    II.    The Economic background.
           6.      The U.S. economy was performing very well prior to the recent tariff actions of
    the U.S. government. In calendar year 2024, U.S. gross domestic product (GDP) was $29.2
    trillion, and $85,784 per capita, making the United States by far the world’s largest economy, and
    Americans among the richest people in the world. World Bank data indicate that, in 2023, and
    among all the world’s countries other than a few small oil producers and tax havens, only
    Switzerland had a per capita income adjusted for purchasing power parity exceeding that of the
    United States;1 the adjusted (in 2021 dollars) U.S. per capita income of $74,578 significantly
    exceeded the European average of $53,832, and also significantly exceeded the average incomes
    of Canada ($56,714), Australia ($60,447), the United Kingdom ($52,582), and Japan ($45,915).




    1
      The World Bank data are available at
    https://data.worldbank.org/indicator/NY.GDP.PCAP.PP.KD. In addition to the oil exporting
    countries Brunei, Norway, and Qatar, five small tax havens – Bermuda, the Cayman Islands,
    Ireland, Monaco, and Singapore – had reported per capita GDPs that exceeded the United States;
    but reporting difficulties can make it difficult to compare these GDPs to those of larger countries
    that are not tax havens.


Page 2 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                            - Appx206 -
           Case: 25-1812         Document: 148              Page: 210             Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                   Filed 05/07/25   Page 5 of 53




           7.      U.S. economic affluence is the product of many decades of consistent economic
    growth. Figure 1 depicts U.S. per capita income, in real (year 2017) dollars, for the years since
    World War Two.2 The shaded areas in the graph represent economic recession years – and
    predictably, economic growth falls during these occasional recessions, most recently during the
    Covid crisis. The U.S. pattern, however, is that, in the years following these recessions, average
    U.S. income resumes a consistent upward path. And that was indeed the experience of the U.S.
    economy following its recovery from the Covid crisis.

                    Figure 1: U.S. Per Capita annual GDP, in Real (2017) Dollars.




    2
     The data depicted in this graph come from the U.S. Department of Commerce, Bureau of
    Economic Analysis, via the FRED website provided by the Federal Reserve Bank of St. Louis,
    and are available at https://fred.stlouisfed.org/.


Page 3 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                            - Appx207 -
             Case: 25-1812        Document: 148            Page: 211              Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                   Filed 05/07/25   Page 6 of 53




             8.      Furthermore, the U.S. economy did not face significant evident headwinds prior
    to 1 February 2025. In its January 2025 projections of the budget and economic outlook for
    2025-2035,3 the Congressional Budget Office forecasted consistent annual real (inflation-
    adjusted) GDP growth of roughly two percent, which matches the U.S. experience over the last
    25 years. Figure 2 presents the Congressional Budget Office data on annual inflation-adjusted
    GDP growth over the last 25 years, and its projections for 2025-2035.

              Figure 2: U.S. Per Capita Inflation-Adjusted Annual GDP Growth Rates —
                                     Historical and CBO Projections.




             9.      High U.S. incomes translate into very high consumption levels for Americans; in
    2024, per capital U.S. consumption expenditures were $58,272. The World Bank international
    comparisons project indicates that the United States had the highest actual individual
    consumption per capita of any country in 2021, the last year for which internationally
    comparable consumption data were available.4




    3
     Congressional Budget Office, The Budget and Economic Outlook: 2025 to 2035 (Washington,
    DC: Congressional Budget Office, January 2025).
    4
        These data are available at https://www.worldbank.org/en/programs/icp.


Page 4 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                            - Appx208 -
           Case: 25-1812         Document: 148             Page: 212              Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                   Filed 05/07/25   Page 7 of 53




           10.      Over time, real U.S. consumption levels have exhibited the same consistent
    growth as has real U.S. GDP. Figure 3 depicts U.S. per capita consumption, in real (year 2017)
    dollars, for the years since World War Two. The pattern in Figure 3 matches that of Figure 1,
    steadily rising despite occasional dips due to recessions.

                 Figure 3: U.S. Per Capita Annual Consumption, in Real (2017) Dollars.




Page 5 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                            - Appx209 -
            Case: 25-1812         Document: 148             Page: 213              Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                   Filed 05/07/25   Page 8 of 53




           11.     The U.S. labor market was similarly well situated. The January 2025 U.S.
    unemployment rate of 4.0 percent was quite low by the standards of the last 75 years of U.S.
    economic history. Figure 4 depicts monthly seasonally-adjusted U.S. unemployment rates, as
    calculated by the Bureau of Labor Standards and reported by the Federal Reserve Bank of St.
    Louis. Only on brief occasions over the last 50 years has the U.S. unemployment rate been 4.0
    percent or below. While the Congressional Budget Office in January 2025 did not anticipate that
    the U.S. unemployment rate would remain this low, its 10-year projection was that the U.S.
    unemployment rate would rise only slightly, settling at a historically-favorable 4.3 percent rate,
    as depicted in Figure 5.5

                 Figure 4: U.S. Monthly Unemployment Rate, Seasonally Adjusted.




    5
      The data underlying Figure 4 are available at https://fred.stlouisfed.org/series/UNRATE.
    Figure 5 is drawn from Congressional Budget Office, The Budget and Economic Outlook: 2025
    to 2035 (Washington, DC: Congressional Budget Office, January 2025).


Page 6 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                            - Appx210 -
          Case: 25-1812     Document: 148            Page: 214              Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR         Document 14-2                   Filed 05/07/25   Page 9 of 53




                       Figure 5: CBO Projections of U.S. Unemployment.




Page 7 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                        Oregon Department of Justice
                                            100 SW Market Street
                                             Portland, OR 97201
                                     (971) 673-1880 / Fax (971) 673-5000

                                     - Appx211 -
            Case: 25-1812         Document: 148             Page: 215            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                Filed 05/07/25   Page 10 of 53




           12.     U.S. labor market health is also reflected in steady wage growth. Since the year
    2000, nominal U.S. wages have grown by roughly three percent each year, producing real
    purchasing power gains given a prevailing inflation rate of somewhat below two percent. And as
    of January 2025, the Congressional Budget Office projected U.S. wages to continue growing at a
    three percent annual rate over the next ten years, while inflation was projected to persist at two
    percent. Figure 6 presents these wage projections.6

              Figure 6: U.S. Annual Wage Growth — Historical and CBO Projections.




    6
     Wage and inflation projections are available in Congressional Budget Office, The Budget and
    Economic Outlook: 2025 to 2035 (Washington, DC: Congressional Budget Office, January
    2025).


Page 8 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                             - Appx212 -
            Case: 25-1812        Document: 148              Page: 216           Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-2                Filed 05/07/25   Page 11 of 53




           13.    It is also useful to consider the evolution over time of wages earned by workers at
    the median of the wage distribution. Figure 7 presents Bureau of Labor Standards calculations of
    median weekly earnings, in 1982 - 1984 dollars adjusted for changes in the consumer price
    index. Median earnings capture not only the labor market opportunities available to workers, but
    also the extent to which workers with different levels of human capital and labor market
    experience participate in the labor market. Figure 7 indicates that median wages kept pace with
    inflation between 2000 and 2014, but that real wages significantly increased over the following
    ten years.

                           Figure 7: Median Usual Weekly Real Earnings.




Page 9 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                             Oregon Department of Justice
                                                 100 SW Market Street
                                                  Portland, OR 97201
                                          (971) 673-1880 / Fax (971) 673-5000

                                           - Appx213 -
            Case: 25-1812         Document: 148             Page: 217            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                Filed 05/07/25   Page 12 of 53




            14.    It is clear from this and other evidence that the U.S. economy was performing at a
    high level as of January 2025, and indeed had performed at a high level over many years, despite
    occasional setbacks such as the Covid crisis. To be sure, there were concerns that U.S. economic
    performance might be difficult to sustain with an aging workforce, costly entitlement programs,
    and persistent government budget deficits. But one of the encouraging aspects of the high level
    of average U.S. incomes, average wages, average consumption, and high rate of employment is
    that these features of the U.S. economy were projected to persist strongly into the future, despite
    potential headwinds from other considerations. There was no U.S. economic crisis in January
    2025.




Page 10 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                            - Appx214 -
            Case: 25-1812         Document: 148             Page: 218            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                Filed 05/07/25   Page 13 of 53




    III. U.S. Current account deficits and U.S. manufacturing.
           15.     The United States has run persistent current account deficits since the mid-1970s,
    which means that imports of goods and services consistently exceed exports. In 2024, the United
    States exported goods and services worth $3.1802 trillion, representing 10.9 percent of GDP. In
    the same year, the United States imported goods and services worth $4.0833 trillion, representing
    14.0 percent of GDP.7 The resulting current account deficit of 3.1 percent of GDP is typical of
    recent years; and imports exceeding exports has been a consistent feature of the U.S. economy
    since the mid-1970s. Note that it is standard in such calculations to consider trade in goods and
    services combined, rather than separating these two categories, in part because traded goods
    often embody significant service components, and in part because goods and services both have
    economic value for which importers pay. The economics literature offers no reasons to focus
    exclusively on trade in goods or trade in services, instead indicating that what matters for policy
    and for our evaluation of economic performance is the sum of goods and services. This is the
    same reason why goods and services are combined in calculating individual incomes, economic
    output, and GDP.8




    7
     U.S. Bureau of Economic Analysis, U.S. International Trade in Goods and Services, December
    and Annual 2024, 5 February 2025, https://www.bea.gov/news/2025/us-international-trade-
    goods-and-services-december-and-annual-2024.
    8
      In calculating its national income, the former Soviet Union used a method that routinely
    disregarded much of the output of its service sector, thereby focusing official attention on
    tangible goods and manufacturing.


Page 11 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                             - Appx215 -
             Case: 25-1812         Document: 148             Page: 219            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-2                Filed 05/07/25   Page 14 of 53




             16.     Figure 8 presents net U.S. exports of goods and services as a fraction of GDP for
    the last 100 years, as calculated by the Bureau of Economic Analysis and reported by the Federal
    Reserve Bank of St. Louis.9 It is evident from the figure that imports of goods and services have
    exceeded exports by amounts that are volatile over time, but that has stabilized at roughly three
    percent of GDP annually for the last 15 years.

                   Figure 8: U.S. Net Imports of Goods and Services as Shares of GDP.




             17.     Despite running persistent trade deficits, the U.S. economy has thrived over the
    50 years since the mid-1970s. If trade deficits were damaging to economic performance, there
    should be ample evidence by now – but instead, the evidence if anything points in the opposite
    direction, one of a healthy U.S. economy with a current account deficit.




    9
        See https://fred.stlouisfed.org/series/A019RE1Q156NBEA.


Page 12 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                               Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax (971) 673-5000

                                             - Appx216 -
            Case: 25-1812         Document: 148             Page: 220            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                Filed 05/07/25   Page 15 of 53




           18.     The Trump administration’s 2 April 2025 tariff announcement called attention to
    low U.S. manufacturing output as a component of a national emergency that warrants the
    introduction of new tariffs. It is true that over time U.S. manufacturing has declined as a fraction
    of the U.S. economy – a pattern that is typical of wealthy countries, and a reflection of structural
    transformations associated with technology changes and rising economic affluence.10 U.S.
    manufacturing value added – manufacturing output minus the value of inputs purchased from
    suppliers – was 9.9 percent of U.S. GDP as of the end of 2024, representing a decline from 13.1
    percent 20 years earlier. Figure 9 presents this series as calculated by the Bureau of Economic
    Analysis and reported by the Federal Reserve Bank of St. Louis.11

                    Figure 9: U.S. Manufacturing Value Added as a Share of GDP.




    10
      For a comprehensive review of the evidence of long-run structural determinants of the
    declining manufacturing share of the economy, see Robert Z. Lawrence, Behind the curve: Can
    manufacturing still provide inclusive growth? (Washington DC: Peterson Institute for
    International Economics, 2024). Similarly, Timothy J. Kehoe, Kim J. Ruhl, and Joseph B.
    Steinberg, Global imbalances and structural change in the United States, Journal of Political
    Economy, April 2018, 126 (2), 761-796, presents evidence that no more than 15 percent of the


Page 13 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                             - Appx217 -
             Case: 25-1812       Document: 148             Page: 221             Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                Filed 05/07/25    Page 16 of 53




             19.    Despite recent declines, manufacturing remains an important part of the U.S.
    economy, with 12.8 million employees as of January 2025. Figure 10 presents the history of
    total U.S. employment in manufacturing, as calculated by the Bureau of Labor Statistics and
    reported by the Federal Reserve Bank of St. Louis.

                              Figure 10: U.S. Manufacturing Employment.




             20.    Figure 10 indicates that U.S. manufacturing employment peaked in the 1980s,
    declined over the subsequent two decades, and then dropped considerably between 2000 and
    2010. Total manufacturing employment has risen somewhat over the last 15 years.




    decline in U.S. goods-sector employment between 1992 and 2012 is attributable to U.S. trade
    deficits.
    11
         See https://fred.stlouisfed.org/series/VAPGDPMA.


Page 14 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                           - Appx218 -
            Case: 25-1812          Document: 148              Page: 222            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                 Document 14-2                Filed 05/07/25   Page 17 of 53




            21.     There is no crisis or emergency in U.S. manufacturing. Instead, activity levels of
    U.S. manufacturing firms ebb and flow as they are subject to the forces of supply and demand,
    within the United States and internationally; the same is true of all other U.S. industries. And as
    with other industries, supply and demand in manufacturing can be affected by U.S. and foreign
    government policies. Despite or perhaps because of these government policies, it is clearly
    feasible, and indeed profitable, for U.S. manufacturers to persist and thrive in business, as
    evidenced by their contribution of 9.9 percent of the U.S. economy and employment of 12.8
    million people.
            22.     If the U.S. government believes that the U.S. economy would benefit from having
    additional domestic manufacturing activity, it can offer favorable tax treatment or other subsidies
    that would encourage greater investment in manufacturing. Tariffs on imported manufacturing
    goods are extremely inefficient alternatives to such subsidies. While such tariffs have the
    potential to help some domestic firms whose output competes with imported goods, the
    assistance that tariffs offer is indirect and very costly relative to the benefits they might deliver to
    U.S. manufacturers. The economic principle of targeting is that efficiently-designed remedies
    are directed at the problems they seek to solve. Imposing costly tariffs to assist domestic
    manufacturing makes little sense given that governments have access to normal tax and spending
    policies that are much more cost-effective in subsidizing the activities of specific industries.

    IV.     Scope of recent tariff action.
            23.     The Trump administration has announced a series of tariff actions that collectively
    impose 10 percent across the board tariffs on imported goods, with specific countries and
    products targeted with higher rates. There are also limited exceptions to these tariffs.
    Automobiles, steel and aluminum are subject to higher tariff rates based on separate tariff
    authorities but are not subject to IEEPA-based tariffs. Imports from Canada, Mexico, and China
    are subject to higher IEEPA-based tariffs, and the administration has announced that imports
    from a large number of countries will be subject to tariffs at rates significantly exceeding 10
    percent in an effort to reduce or eliminate the associated U.S. bilateral trade deficits.




Page 15 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                                Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax (971) 673-5000

                                              - Appx219 -
            Case: 25-1812          Document: 148            Page: 223            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                Filed 05/07/25   Page 18 of 53




           24.     The 10 percent tariffs are entirely unjustified by U.S. economic conditions, as are
    the higher rates on specified products, and the higher rates on imports from Canada, Mexico,
    China, and other countries. There is no coherent economic theory or model that implies that a 10
    percent tariff rate is warranted by economic conditions in the United States; nor that a 10 percent
    tariff would enhance U.S. wages or U.S. consumption. Instead, the 10 percent tariff figure
    appears to be entirely arbitrary.
           25.     Bilateral trade deficits are differences between amounts imported from, and
    exported to, specific foreign countries. The United States has bilateral trade deficits with many
    countries, which is why, collectively, U.S. net exports of goods and services look as they do in
    Figure 8. Whatever economic significance there may be to the U.S. current account deficits
    depicted in Figure 8, there is clearly no economic significance to U.S. bilateral trade deficits with
    individual countries. In a barter economy, trade between transacting parties is always balanced;
    in a market economy it is not. Individuals in their daily lives “import” more from grocery stores
    than they “export” to them; but there is nothing wrong or undesirable about this trade imbalance,
    since it is a normal feature of a market economy, and does not prevent individuals (and grocery
    stores) from balancing their budgets and accounts. Indeed, attempts to economize on grocery
    store purchases by growing one’s own food, in an effort to shrink a consumer’s “trade deficit”
    with grocery stores, would be highly inefficient and counterproductive to the goal of maximizing
    economic welfare.
           26.     Bilateral international trade deficits are produced by normal trading imbalances.
    For example, the United States might export airplanes and agricultural products to Italy, and
    simultaneously import an equal value of clothes from Italy, producing balanced bilateral trade.
    Or the United States could export airplanes and agricultural products to Italy, Italy could export
    fabricated metal products to France, and France could export clothes to the United States. In the
    second example, the United States has a bilateral trade deficit with France (and a trade surplus
    with Italy), but the U.S. economic outcomes (exports and imports, treating French fashions to be
    equivalent in dollar terms to their Italian counterparts) are unchanged from the first example.




Page 16 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                             - Appx220 -
              Case: 25-1812          Document: 148             Page: 224            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-2                Filed 05/07/25    Page 19 of 53




              27.     The Trump administration’s efforts to impose tariffs on imports from individual
    countries based on U.S. bilateral trade deficits with those countries do not correspond to any
    coherent theory of trade. There is no theory that says that a country’s trade should be balanced
    with each individual trading partner, any more than a customer’s “trade” should be “balanced”
    with a grocery store. It is of course possible to design tariffs that will ensure that a country does
    not have bilateral trade deficits; a tariff rate sufficiently high to eliminate all imports will clearly
    suffice, as would somewhat lower rates. But tariffs set this way bear no connection to any
    coherent economic objectives.
              28.     The Office of the U.S. Trade Representative provides a document (“Reciprocal
    Tariff Calculations”) explaining the basis on which rates were chosen for the country-specific
    reciprocal tariffs announced on 2 April 2025.12 The lone equation appearing in this document,
    together with the assumed parameter values, implies that values of country-specific new tariffs
    will equal to the ratio of net U.S. imports from a country to gross U.S. imports from the same
    country. The reciprocal tariffs announced on 2 April 2025 do not, however, correspond to the
    rates produced by this formula, since instead of being based on net imports and gross imports
    from individual countries, they are based on net and gross imports of goods only, ignoring
    services. Furthermore, the announced reciprocal tariffs are exactly half the rates implied by the
    formula, with the important exception that the minimum tariff rate is ten percent.
              29.     Tariff rates chosen this way bear scant if any connection to the stated objective of
    balancing bilateral trade.




    12
         This document is available at https://ustr.gov/issue-areas/presidential-tariff-actions.


Page 17 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                                 Oregon Department of Justice
                                                     100 SW Market Street
                                                      Portland, OR 97201
                                              (971) 673-1880 / Fax (971) 673-5000

                                               - Appx221 -
            Case: 25-1812          Document: 148             Page: 225            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-2                Filed 05/07/25   Page 20 of 53




           30.     First, bilateral trade includes services as well as goods, but the calculations ignore
    net and gross service imports. Second, the assumed 0.25 pass-through of tariffs to import prices
    (the parameter  in the document) is too low by a factor of four, since the available evidence,
    including the study cited in the document as the basis of the assumed 0.25 pass-through rate,
    indicates that pass-through is roughly one for one. Third, there is no objective-based reason to
    divide the calculated tariff rate by two, or to impose a minimum ten percent rate. And fourth and
    most importantly, it is simply wrong to assume, as the calculations do, that “offsetting exchange
    rate and general equilibrium effects are small enough to be ignored.”
           31.     Partial equilibrium is a property of individual markets; general equilibrium is a
    property of all markets together. It is well understood that, to the extent that one market affects
    another, general equilibrium considerations mean that partial equilibrium reasoning delivers
    misleading answers. In the present context, the relevant general equilibrium consideration is that
    trade with one country affects trade with another. Consequently, when the United States imposes
    a tariff on trade with country A, the tariff will change the U.S. bilateral trade balance with
    country B and all other U.S. trading partners, in part by affecting relative currency values, and in
    part through the usual process of economic substitution. The “Reciprocal Trade Calculations”
    document, in assuming away any general equilibrium effects, ignores these important realities.
    As a result, even if the reciprocal tariffs were imposed exactly as described in the document, they
    would not support bilateral trade balance, nor would they advance any other objective.

    V.     Economic impact of tariff action.
           32.     The foundation of any modern economic system is trade between market
    participants. Trade permits people to work at jobs in which they perform limited numbers of
    tasks, and nonetheless lead lives in which they consume thousands of different goods and
    services. People need not produce everything they consume, because they can trade their
    services, and anything they might produce, in exchange for purchasing power they can then use
    to obtain everything else they want and can afford. Anyone living in the modern world is so
    accustomed to this system of trade that it can be easy to lose sight of just how pervasive it is.




Page 18 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                               Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax (971) 673-5000

                                             - Appx222 -
            Case: 25-1812          Document: 148               Page: 226           Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                 Document 14-2                Filed 05/07/25   Page 21 of 53




            33.     This market process of producing one thing and consuming another operates
    internationally as well as within a country’s borders. International trade has many of the same
    characteristics as the ordinary economic transactions that take place continually within countries.
    Of course there are differences; for example, since transporting things over long distances can be
    expensive, international transactions are somewhat less common than ordinary domestic
    transactions. And since governments control borders, they have the ability to impose tariffs on
    imported goods.
            34.     Tariffs impede the functioning of market economies by inserting additional costs
    into the operation of supply and demand in international markets. As a result of these additional
    costs, market actors forgo transactions that would otherwise be cost-reducing and therefore
    mutually beneficial. For example, the introduction of tariffs on goods that firms in an industry
    use in their production processes will raise production costs, encouraging firms in the industry to
    do a combination of reducing their production and seeking methods of producing that rely less
    on imports. Either of these reactions is costly to firms in the affected industry, for the simple
    reason that these options were available even prior to the introduction of tariffs – so the fact that
    the firm had not previously curtailed production or sought alternative production configurations
    indicates that it was costly to do so.
            35.     It is inefficient to induce producers to modify their production plans, since in the
    absence of such inducement the market gives firms incentives to choose cost-minimizing
    production configurations. The economic cost of distorting economic behavior is known as
    deadweight loss; and the magnitude of deadweight loss generally rises with the square of the tax
    or tariff rate that induces the behavior change.13 This square rule means that the cost of the
    economic distortion caused by a ten percent tariff is generally four times the cost of a five
    percent tariff on the same good; and a fifteen percent tariff would produce economic distortions
    that cost roughly nine times as much as those produced by a five percent tariff. Notably, the
    distortions introduced by tariffs apply both to sellers and buyers of traded goods, since given
    their mutual dependence, both are affected.

    13
       For a mathematical derivation of the square rule, and references to the extensive associated
    literature, see Alan J. Auerbach and James R. Hines Jr., Taxation and economic efficiency, in


Page 19 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                                Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax (971) 673-5000

                                               - Appx223 -
            Case: 25-1812         Document: 148                Page: 227            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-2                Filed 05/07/25    Page 22 of 53




           36.     Tariffs are inefficient because a country could avoid the associated deadweight
    losses simply by not imposing the tariffs. Countries that nevertheless persist in imposing
    significant tariffs do so at their economic peril. In distorting their own trade patterns, these
    countries make their economies less productive, and their residents correspondingly less
    prosperous. It is true that specific domestic firms that compete with importers can find their
    market positions improved by higher tariff-inclusive prices charged by their competitors, so firm
    owners and possibly also their employees can benefit from the market protection afforded by
    high tariffs. But it is a mistake to extrapolate this benefit to economic activity as a whole.
    Tariffs that protect and therefore benefit individual firms or industries come at an even larger
    cost to all firms and industries, so the net effect on incomes and employment is negative. These
    offsetting effects of specific tariffs on the rest of the economy can materialize even in local
    markets with unusually high concentrations of firms that stand to benefit from tariffs. Evidence
    of the impact of the U.S. tariffs introduced in 2018 shows no discernable employment gains in
    local commuting zones where firms were particularly exposed to competition from imports that
    were subject to the tariffs.14 Despite the benefits tariffs afforded local firms that compete with
    imports, the tariffs’ accompanying costs of distorting economic activity effectively neutralized
    any benefits to the local labor market.




    Alan J. Auerbach and Martin Feldstein, eds. Handbook of Public Economics, volume 3
    (Amsterdam: North-Holland, 2002), 1347-1421.
    14
      David Autor, Anne Beck, David Dorn, and Gordon H. Hanson, Help for the heartland? The
    employment and electoral effects of the Trump tariffs in the United States, National Bureau of
    Economic Research Working Paper No. 32082, January 2024.


Page 20 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                                 Oregon Department of Justice
                                                     100 SW Market Street
                                                      Portland, OR 97201
                                              (971) 673-1880 / Fax (971) 673-5000

                                               - Appx224 -
            Case: 25-1812           Document: 148            Page: 228            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-2                Filed 05/07/25   Page 23 of 53




            37.     In a market economy, workers are paid according to their economic
    productivities. Those who live and work in a country with a more productive economy are
    themselves more productive, and therefore receive greater market compensation. In distorting a
    country’s production patterns, tariffs reduce the productivity of firms and workers, and therefore
    reduce the wages and salaries received by workers, and the personal consumption that labor
    earnings support. In distorting the economy, and thereby reducing income levels, tariffs also
    make it more difficult to finance government activities since tax revenue is heavily dependent on
    incomes. Cross-country comparisons consistently show that government expenditures rise at
    least proportionately with national incomes, a pattern that holds even for welfare expenditures.15
            38.     Tariffs also damage economies by increasing the uncertainties and risks faced by
    firms, investors, workers, and consumers. To the extent that tariffs were unanticipated at the
    time that important investment decisions were made, the introduction of new tariffs is a major
    source of uncertainty. Once imposed, tariffs might be increased or reduced; and unilaterally
    imposed tariffs invite retaliation, though it can be difficult or impossible to anticipate what form
    any retaliation may take. Consequently, market actors are left guessing what incentives they and
    their competitors will face, now and in the future. Firms, investors, and other economic actors
    benefit from being able to plan their activities; and needless sources of uncertainty make
    everything they do more costly. As a result, firms, investors, and financial markets commonly
    react adversely to significant uncertainties.16 Consequently, the economic costs of tariffs consist
    not only of their distortionary effects on economic incentives, but also the costs of the economic
    uncertainties that tariffs introduce.




    15
      See James R. Hines Jr., Will social welfare expenditures survive tax competition? Oxford
    Review of Economic Policy, Fall 2006, 22 (3), 330-348.
    16
       For evidence of the impact of economic uncertainty on economic output, employment, and
    stock market returns, see Nicholas Bloom, The impact of uncertainty shocks, Econometrica, May
    2009, 77 (3), 623-685, and Scott R. Baker, Nicholas Bloom, and Stephen J. Terry, Using disasters
    to estimate the impact of uncertainty, Review of Economic Studies, March 2024, 91 (2), 720-
    747.


Page 21 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                               Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax (971) 673-5000

                                             - Appx225 -
            Case: 25-1812         Document: 148              Page: 229            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-2                Filed 05/07/25   Page 24 of 53




           39.     As economies have grown, and technological changes have reduced shipping and
    other transport costs, international trade has risen as a fraction of total economic activity. Higher
    trade levels bring with them greater potential for tariff distortions to damage economic
    performance. Research indicates that, even in the 1930s, with much lower levels of international
    trade relative to (then depressed) economic output, the distortions produced by tariffs
    significantly reduced U.S. investment and GDP.17 More recently, cross-country evidence for 151
    countries between 1963 and 2014 suggests that higher tariff levels are associated with higher
    unemployment and declines in domestic output and productivity.18
           40.     Tariffs announced by the Trump administration will distort the U.S. economy and
    reduce productivity accordingly. There is considerable scope for economic damage, given that,
    in 2024, U.S. imports of goods and services were $4.0833 trillion, representing 14.0% of GDP.
    A recent study by Mary Amiti, Stephen Redding, and David Weinstein estimates that the
    deadweight losses produced by the U.S. tariffs introduced in 2018 were roughly half the
    magnitude of the revenue collected.19 The 2018 tariffs that they analyze were much smaller in
    magnitude than the IEEPA-based tariffs, estimated to raise just $3.2 billion per month in revenue
    by the end of 2018. Since deadweight loss rises with the square of the tariff rate, and the 2025
    tariffs are so much larger, the lost economic value associated with the 2025 tariffs should be
    much more than half of the projected tariff revenue, representing a significant drag on the U.S.
    economy.




    17
      See Mario J. Crucini and James Kahn, Tariffs and aggregate economic activity: Lessons from
    the Great Depression, Journal of Monetary Economics, December 1996, 38 (3), 427-467.
    18
     See Davide Furceri, Swarnali A. Hannan, Jonathan D. Ostry, and Andrew K. Rose,
    Macroeconomic consequences of tariffs, NBER Working Paper No. 25402, December 2018.
    19
      Mary Amiti, Stephen J. Redding, and David E. Weinstein, The impact of the 2018 tariffs on
    prices and welfare, Journal of Economic Perspectives, Fall 2019, 33 (4), 187-210,


Page 22 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                               Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax (971) 673-5000

                                             - Appx226 -
            Case: 25-1812          Document: 148              Page: 230            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                 Document 14-2                Filed 05/07/25   Page 25 of 53




    VI. Impact of tariffs on prices of imported goods.
            41.     Tariffs are taxes on imports. Consequently, in the absence of other price changes,
    tariffs increase per-unit costs of providing imported goods. In a competitive market, goods are
    priced at cost, including any relevant economic opportunity costs, and certainly including the
    costs of taxes and tariffs. It follows that, in a competitive market setting, tariffs will increase the
    net-of-tariff prices of imported goods on a one-for-one basis, unless the tariffs induce changes in
    prices or other components of production costs. Since the world economy is large, with many
    buyers of traded goods, and many (competitive) sellers, there is ample reason to expect the
    competitive paradigm to offer an informative guide to the likely impact of tariffs.
            42.     It is useful to consider possible exceptions to the rule of complete tariff pass-
    through to prices in competitive markets. Since tariffs change trade and production levels and
    patterns, these changes can themselves affect factor prices and costs. In a competitive export
    industry with rising marginal costs, tariff-induced output reductions will also reduce average
    costs, and these cost reductions can somewhat mitigate the effect of tariffs on final prices paid by
    importing firms and consumers. Furthermore, it may be the case that some important exporters
    or importers have little market competition and therefore market power, which generally will
    mean that higher production costs are passed through to consumers on less than a one-for-one
    basis. As a result, it is possible that a country might introduce or increase its tariffs without its
    own firms and consumers bearing the full costs of the tariffs. The more economically
    competitive the scenario for firms and countries, particularly once enough time has elapsed for
    economic actors to react to any tariff changes, the less likely it is that tariff pass-through to final
    prices will be incomplete; but the impact of tariffs on import prices remains an empirical
    question.




Page 23 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                                Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax (971) 673-5000

                                              - Appx227 -
            Case: 25-1812          Document: 148              Page: 231           Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-2                Filed 05/07/25   Page 26 of 53




           43.     Evidence from recent tariff experiences strongly supports the conclusion that
    higher tariffs increase the costs of imported goods to the end customer on close to a one-to-one
    basis. Several studies consider effect of 2018 U.S. tariff increases on prices of U.S. imports,
    using variation in tariff intensity across goods and sectors to identify price effects. These studies
    consistently find that import prices rose one-for-one with the tariffs.20 This evidence is
    consistent with the implications of the competitive-market model, which holds that importers,
    including the United States, are unable to obtain price discounts from foreign suppliers simply by
    imposing tariffs on them. Instead, importing countries that introduce or raise tariffs impose costs
    on themselves in the form of the economic distortions introduced by their own tariffs.




    20
       See Mary Amiti, Stephen J. Redding, and David E. Weinstein, The impact of the 2018 tariffs
    on prices and welfare, Journal of Economic Perspectives, Fall 2019, 33 (4), 187-210; Mary
    Amiti, Stephen J. Redding, and David E. Weinstein, Who’s paying for the US tariffs? A longer
    term perspective, American Economic Review, Papers and Proceedings, May 2020, 110, 541-
    546; Alberto Cavallo, Gita Gopinath, Brent Neiman, and Jenny Tang, Tariff pass-through at the
    border and at the store: Evidence from US trade policy, American Economic Review: Insights,
    2021, 3 (1), 19-34; Pablo D. Fajgelbaum, Pinelopi K. Goldberg, Patrick J. Kennedy, and Amit K.
    Khandelwal, The return to protectionism, Quarterly Journal of Economics, February 2020, 135
    (1), 1-55. Similarly, Mumtaz Ahmad and Imtiaz Ahmad, Tariff pass-through and implications for
    domestic markets: Evidence from U.S. steel imports, Journal of International Trade & Economic
    Development, 2024, 33 (3), 482-496, finds that imported steel prices rose one-for-one with the
    2018 U.S. tariffs. The study by Alberto Cavallo, Gita Gopinath, Brent Neiman, and Jenny Tang
    is occasionally misinterpreted to imply that tariff costs are not fully passed through to importers
    – which is not what the study finds. Instead, a portion of the study considers evidence of prices
    charged to final consumers by two companies that sell imported goods, attempting to identify
    their pricing practices in response to higher supplier prices, and finding less than complete pass-
    through in the short run.


Page 24 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                               Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax (971) 673-5000

                                             - Appx228 -
             Case: 25-1812         Document: 148               Page: 232            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-2                Filed 05/07/25      Page 27 of 53




    VII. Exposures of state governments.
             44.   Direct expenditures by state and local governments represent significant portions
    of total U.S. consumption and income every year. For example, in 2022, the last year for which
    comprehensive data are available from the Census of Governments, direct expenditures by U.S.
    state and local governments summed to $4.296 trillion, representing 16.4 percent of U.S. GDP.
    Of these, the state governments of the 12 states that are parties to this action collectively had
    direct expenditures of $460 billion, representing 10.7 percent of the country’s total subnational
    government spending.21 Notably, of this $4.296 trillion of total expenditures, $1.135 trillion, or
    26 percent, represented wage and salary expense. The remaining $3.161 trillion of direct
    expenditure represented a combination of payments to business entities for goods and services,
    and transfer payments to individuals.
             45.   State government expenditures can be divided into two categories of potential
    exposure to tariff-related price increases. The first category is higher purchase prices faced by
    state governments. In order to understand the likely scope of tariff effects, it is helpful to review
    government purchasing patterns. The Census of Governments provides information on direct
    expenditures by category; figures for 2022, including totals for the 12 states that are parties to
    this action, appear in Table 1.22

         Table 1: 2022 State and Local Government Direct Expenditures ($ billions)

    Expenditure Classification                             S/L Total           12 States    State%      S/L%

     Total direct expenditure                                  4,296.3              459.6    10.7       23.3
       Direct general expenditure                              4,027.0              444.0    11.0       23.3
           Capital outlay                                        371.3               22.0     5.9       21.8
           Other direct general expenditure                    3,655.7              422.0    11.5       23.4




    21
     These states are Arizona, Colorado, Connecticut, Delaware, Illinois, Maine, Minnesota,
    Nevada, New Mexico, New York, Oregon, and Vermont.
    22
       Information in Table 1 is drawn from
    https://www.census.gov/data/datasets/2022/econ/local/public-use-datasets.html.


Page 25 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                                 Oregon Department of Justice
                                                     100 SW Market Street
                                                      Portland, OR 97201
                                              (971) 673-1880 / Fax (971) 673-5000

                                               - Appx229 -
           Case: 25-1812          Document: 148               Page: 233             Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-2                Filed 05/07/25       Page 28 of 53




        Education services:
             Education                                         1,264.4               76.9      6.1       22.4
                Capital outlay                                   118.0                4.5      3.8       21.5
               Higher education                                  340.4               53.2     15.6       19.3
                Capital outlay                                    32.6                4.3     13.3       15.9
               Elementary & secondary                            832.7                6.3      0.8       23.9
                Capital outlay                                    84.8                0.1      0.0       23.6
               Other education                                    91.3               17.3     19.0       20.6
             Libraries                                            14.1                0.1      0.6       26.9

        Social services and income maintenance:
              Public welfare                                     971.0              216.4     22.3       25.4
              Hospitals                                          261.2               19.6      7.5       17.5
                  Capital outlay                                  11.2                1.1     10.1       19.6
              Health                                             154.3               16.4     10.6       17.5
              Employment security administration                   5.9                1.2     19.7       21.8
              Veterans' services                                   1.5                0.1      9.1        9.9

        Transportation:
             Highways                                            210.6               21.7     10.3       20.3
                Capital outlay                                   115.5               13.2     11.4       18.9
             Air transportation (airports)                        31.3                0.2      0.6       29.1
             Parking facilities                                    2.1                  0      0.2       17.8
             Sea and inland port facilities                        6.9                  0      0.4       10.7

        Public safety:
              Police protection                                  139.9                4.0      2.9       22.8
              Fire protection                                     64.0                  0        0       22.3
              Correction                                          91.3               11.3     12.4       21.1
                 Capital outlay                                    2.5                0.3     12.6       19.9
              Protective inspection and regulation                19.1                1.6      8.4       15.3

        Environment and housing:
              Natural resources                                    40.8               4.2     10.3       17.4
                 Capital outlay                                     7.3               0.3      3.6       16.5
              Parks and recreation                                 50.8               1.6      3.2       25.5
                 Capital outlay                                    11.4               0.4      3.1       26.9
              Housing & community development                      74.0               3.2      4.3       24.7
              Sewerage                                             70.2               0.1      0.2       18.1
                 Capital outlay                                    23.5                 0      0.1       23.2
              Solid waste management                               29.8               0.2      0.8       20.9

Page 26 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                                 Oregon Department of Justice
                                                     100 SW Market Street
                                                      Portland, OR 97201
                                              (971) 673-1880 / Fax (971) 673-5000

                                              - Appx230 -
           Case: 25-1812           Document: 148             Page: 234            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-2                Filed 05/07/25         Page 29 of 53




                 Capital outlay                                    2.0               0         0.4       33.5

        Governmental administration:
              Financial administration                           70.7              10.4    14.7          21.4
              Judicial and legal                                 56.8               7.6    13.5          23.8
              General public buildings                           18.0               0.6     3.6          23.1
              Other governmental
               administration                                   47.3                2.2     4.7          19.7
        Interest on general debt                               104.3               10.9    10.4          31.0

        General expenditure, n.e.c.:
             Miscellaneous commercial activities                 4.6                  0     0.6           7.5
             Other and unallocable                             221.9               33.2    15.0          34.2

        Utility expenditure                                    258.4               14.8        5.7       24.0
               Capital outlay                                   57.6                1.7        2.9       23.3
           Water supply                                         83.0                0.1        0.1       18.9
           Electric power                                       84.0                7.3        8.9       19.9
           Gas supply                                            7.2                  0          0        9.1
           Transit                                              84.1                7.4        8.8       34.2

        Liquor store expenditure                                 11.0               0.8        7.6        8.9



           46.      The first column in Table 1 is direct expenditures by all U.S. state and local
    governments, while the second column is direct expenditures by the state governments of the 12
    states that are parties to this action. The third column is the fraction of total U.S. state and local
    government spending represented by the 12 state governments that are parties to this action; and
    the fourth column is the fraction of total U.S. state and local government spending represented
    by the 12 states that are parties to this action, inclusive of both their state and local components.




Page 27 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                               Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax (971) 673-5000

                                             - Appx231 -
            Case: 25-1812          Document: 148              Page: 235           Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-2                Filed 05/07/25   Page 30 of 53




           47.     The data in Table 1 indicate that the largest categories of state government
    expenditure are education; public welfare; hospitals and health; highways; corrections; financial
    and legal administration; electric utilities; and transit expenditures. While states vary in their
    distributions of these expenditures, the third column of Table 1 shows that the 12 states that are
    parties to this action have spending patterns that are broadly typical of U.S. state and local
    governments as a group. Thus for example, these 12 state governments represented 10.7 percent
    of all state and local government direct expenditures in 2022, including 6.1 percent of education
    spending, 10.3 percent of highway spending, and 8.9 percent of electric utility spending.
           48.     Tariffs directly affect the prices paid by state governments for imported goods.
    They also affect the prices paid for goods that are produced domestically but that rely, either
    directly or indirectly, on imported components. For example, imported steel may be used by a
    U.S. domestic vehicle manufacturer to produce a garbage truck purchased by a local government.
    And imported plastics may be used by a robot company to produce robots that are in turn
    purchased by the vehicle manufacturer and used to produce garbage trucks ultimately purchased
    by local governments. Since tariffs raise the costs of imported production inputs, they have
    effects on all of the prices along the production chain.
           49.     In order to trace the likely impact of tariffs on prices faced by state governments,
    it is necessary to identify the extent to which the goods that they purchase rely directly and
    indirectly on imports. Fortunately, it is possible to do so using the input-output matrix
    information on the U.S. economy produced by the Bureau of Economic Analysis of the U.S.
    Department of Commerce. These calculations use detailed information from periodic industrial
    censuses, updated with annual surveys, to identify the extent to which production of different
    commodities and industries rely on intermediate purchases from others. It is possible to use this
    information to infer how much steel production is required in garbage truck manufacture, taking
    account of the reality that many of the components of a garbage truck, and the equipment used in
    the manufacture of a garbage truck, themselves contain steel.




Page 28 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                               Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax (971) 673-5000

                                              - Appx232 -
            Case: 25-1812          Document: 148             Page: 236            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-2                Filed 05/07/25   Page 31 of 53




           50.     Importantly for the present purpose, it is possible to use the input-output matrix
    information to identify the extent to which goods that are consumed in the United Sates rely
    directly and indirectly on imports. What is known as the import matrix identifies the values of
    imports, distinguished by category, that are used directly and indirectly by different sectors of the
    U.S. economy. To the extent that tariffs increase the net costs of imported goods, the import
    matrix entries should indicate how much these higher costs are passed on to different sectors of
    the U.S. economy.
           51.     Table 2 presents import matrix entries for U.S. state and local government
    activities in 2023.23 The table indicates that purchases by state and local governments
    incorporated $123.0 billion of imported goods. Taking the 12 states that are parties to this action
    to be typical of others, and applying their 10.7 percent of total direct spending, it follows that
    their 2023 expenditures incorporated imports worth $13.2 billion. Instead applying the 23.3
    percent of total direct combined spending of state plus local governments in these 12 states, it
    follows that their 2023 expenditures incorporated imports worth $28.7 billion.




    23
      The import matrix is available at https://www.bea.gov/industry/input-output-accounts-data.
    Table 2 uses the input matrix after redefinitions, and combines different categories of state/local
    operations into a total figure for state and local government. Input matrix data are available only
    for combined state and local government purchases. Service imports are omitted from Table 2.


Page 29 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                               Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax (971) 673-5000

                                             - Appx233 -
             Case: 25-1812        Document: 148             Page: 237              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                Filed 05/07/25      Page 32 of 53




      Table 2: 2023 State and Local Government Purchases Import Requirements

    Import product category                               S/L government requirement ($ billions)

     Farms                                                                          0.5
     Forestry, fishing, and related activities                                      0.7
     Oil and gas extraction                                                         2.2
     Mining, except oil and gas                                                     0.9
     Utilities                                                                     0.04
     Wood products                                                                  0.9
     Nonmetallic mineral products                                                   1.0
     Primary metals                                                                 0.3
     Fabricated metal products                                                      2.4
     Machinery                                                                     10.5
     Computer and electronic products                                               5.6
     Electrical equipment, appliances, and components                               3.0
     Motor vehicles, bodies and trailers, and parts                                41.8
     Other transportation equipment                                                0.06
     Furniture and related products                                                 1.3
     Miscellaneous manufacturing                                                    2.5
     Food and beverage and tobacco products                                         6.7
     Textile mills and textile product mills                                        1.2
     Apparel and leather and allied products                                        0.7
     Paper products                                                                 1.6
     Printing and related support activities                                        0.3
     Petroleum and coal products                                                   21.1
     Chemical products                                                             12.6
     Plastics and rubber products                                                   5.2

     Total                                                                       $ 123.0




Page 30 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                             - Appx234 -
            Case: 25-1812         Document: 148              Page: 238           Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2                Filed 05/07/25   Page 33 of 53




           52.     This information makes it possible to estimate changes in the costs of goods
    purchased by state governments due to tariffs announced by the Trump administration citing its
    authority under the International Emergency Economic Powers Act (IEEPA). The Yale Budget
    Lab estimates that the Trump administration’s IEEPA-based February 1, 2025 orders for tariffs
    on Canada, Mexico, and China together impose burdens equivalent to an across the board 7.5
    percent tariff on all U.S. imports. The Yale Budget Lab also estimates that the Trump
    administration’s IEEPA-based April 2, 2025 order for worldwide tariffs imposes burdens
    equivalent to an across the board 11.5 percent additional tariff, making the combined burden of
    the tariffs under these two IEEPA-based orders equivalent to a 19 percent tariff.24 Of course the
    actual burden on state governments depends on the extent to which these tariffs are fully
    enforced, as well as the extent to which state government purchases are concentrated on goods
    subject to high tariff rates. Table 2 indicates that imports embedded in purchases by state and
    local governments are particularly concentrated in motor vehicles, which represent one-third of
    the total. Many (though not all) of these motor vehicle imports are not subject to IEPPA-based
    tariffs. Using the conservative assumption that the average IEEPA-based tariff rate on imports
    embedded in state government purchases is just 12 percent, and applying a 100 percent pass-
    through rate, it follows that the tariffs announced under IEEPA authority raise the costs of direct
    purchases by the governments of the 12 states that are parties to this action by $1.6 billion per
    year. Adding local government purchases in these 12 states increases the tariff-induced burden to
    $3.4 billion per year.




    24
       See https://budgetlab.yale.edu/research/fiscal-economic-and-distributional-effects-20-tariffs-
    china-and-25-tariffs-canada-and-mexico and https://budgetlab.yale.edu/research/where-we-
    stand-fiscal-economic-and-distributional-effects-all-us-tariffs-enacted-2025-through-april.


Page 31 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                              Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax (971) 673-5000

                                             - Appx235 -
             Case: 25-1812            Document: 148             Page: 239           Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-2                Filed 05/07/25   Page 34 of 53




            53.        The second category of potential state and local government exposure to tariff-
    related price increases lies in their responsibilities to provide income support to their populations.
    Table 1 indicates that state and local governments collectively spent $971 billion on public
    welfare in 2023, of which the state governments of the 12 states that are parties to this action
    spent $216.4 billion. Tariffs that raise prices faced by consumers erode the value of these
    welfare payments, requiring additional government expenditures simply to keep beneficiaries
    whole. Applying the 2024 U.S. ratio of imports to GDP (14.0 percent) to the $216.4 billion
    welfare expenditure, it follows that, with full pass-through of tariffs to prices, and again very
    conservatively taking the average tariff rate to be 12 percent, the 12 state governments that are
    parties to this action would need to increase their welfare spending by $3.6 billion to maintain
    their real values. Adding local government welfare expenditures increases this total to $4.1
    billion. Consequently, incorporating the need to maintain the real purchasing power of welfare
    expenditures more than doubles the implied burden on state governments because of the IEEPA-
    related tariffs.

    VIII. Evaluation of recent tariff action.
            54.        The IEEPA tariffs announced by the Trump administration will significantly
    impair the performance of the U.S. economy. This action is entirely unwarranted by prevailing
    economic conditions, since far from facing an economic emergency, the U.S. economy in
    January 2025 was the envy of the world. Indeed, the tariffs that the administration announced
    have the potential to create a significant economic crisis where one did not previously exist.
            55.        The IEEPA tariffs will reduce U.S. incomes, including U.S. real wages and
    consumption. They will impose costs on U.S. consumers, including state governments, without
    delivering economic benefits in return. The rates at which the tariffs are imposed – 10 percent in
    some cases, 25 percent in others, and based on U.S. bilateral trade deficits in still others – are
    unrelated to economic conditions or consequences for the U.S. economy, instead being entirely
    arbitrary.




Page 32 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                                 Oregon Department of Justice
                                                     100 SW Market Street
                                                      Portland, OR 97201
                                              (971) 673-1880 / Fax (971) 673-5000

                                                - Appx236 -
          Case: 25-1812        Document: 148            Page: 240             Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR            Document 14-2                Filed 05/07/25    Page 35 of 53




           I declare under penalty of perjury under the laws of the United States that, to the
    best of my knowledge, the foregoing is true and correct.

    Executed on May 6, 2025, at Chicago, Illinois.



                                                      JAMES R. HINES Jr.




Page 33 - DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v. Trump, et al.
                                           Oregon Department of Justice
                                               100 SW Market Street
                                                Portland, OR 97201
                                        (971) 673-1880 / Fax (971) 673-5000

                                        - Appx237 -
             Case: 25-1812       Document: 148       Page: 241      Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR            Document 14-2        Filed 05/07/25      Page 36 of 53



                                     JAMES R. HINES JR.
                                        Curriculum Vitae
                                           April 2025


 ECONOMICS OFFICE                            LAW OFFICE
 Department of Economics                     University of Michigan Law School
 University of Michigan                      964 Legal Research
 343 Lorch Hall                              801 Monroe Street
 611 Tappan Avenue                           Ann Arbor, MI 48109-1210
 Ann Arbor, MI 48109-1220                    jrhines@umich.edu
 jrhines@umich.edu


 EDUCATION
 Harvard University, Ph.D., Economics, 1986.
 Yale University, M.A., Economics, 1980.
 Yale College, B.A., cum laude, Economics, 1980.


 TEACHING POSITIONS
 L. Hart Wright Collegiate Professor of Law, University of Michigan Law School, 2009-present.
        Professor of Law, 2006-present. Visiting Professor, 2005-2006.
 Richard A. Musgrave Collegiate Professor of Economics, College of Literature, Science, and the
        Arts, University of Michigan, 2006-present. Professor of Economics, 2001-present.
 Visiting Professor of Economics and Visiting Professor of Law, University of California-
         Berkeley, 2008-2009.
 Visiting Professor of Law, Harvard Law School, 2005.
 Professor of Business Economics, Stephen M. Ross School of Business, University of Michigan,
        1999-2005. Professor by courtesy, 2005-present. Associate Professor, 1997-1999.
 Professor of Public Policy, Gerald R. Ford School of Public Policy, University of Michigan,
        2001-2005.
 Associate Professor of Public Policy, John F. Kennedy School of Government, Harvard
        University, 1992-1997. Visiting Assistant Professor, 1991-1992.
 Assistant Professor of Economics & Public Affairs, Department of Economics and School of
         Public and International Affairs, Princeton University, 1986-1991.
 Visiting Lecturer, Department of Economics, Harvard University, 1988-1989.
 Visiting Assistant Professor, Department of Economics, Columbia University, 1988.
 Teaching Fellow, Department of Economics, Harvard University, 1982-1985.

                                          - Appx238 -
              Case: 25-1812        Document: 148        Page: 242       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-2         Filed 05/07/25      Page 37 of 53
 James R. Hines Jr.                                                                        Page 2 of 18


 RESEARCH AFFILIATIONS
 Research Associate, National Bureau of Economic Research, 1997-present. Faculty Research
        Fellow, 1986-1997.
 Research Director, Office of Tax Policy Research, Stephen M. Ross School of Business,
        University of Michigan, 1997-present.
 Research Director, International Tax Policy Forum, 2001-present.
 Co-Director, Program in Law & Economics, University of Michigan Law School, 2009-present.
 Distinguished Fellow, CESifo Group, Germany, 2014-present. Research Fellow, 1999-2014.
 International Research Fellow, Centre for Business Taxation, Oxford University, 2007-present.
 Eminent Research Scholar, University of Melbourne, Australia, 2024. Academic Guest, 2023.
 Becker Friedman Visiting Fellow, University of Chicago, 2013.
 International Research Fellow, Institute for Fiscal Studies, London, United Kingdom,
         2007-2010.
 Visiting Research Associate, STICERD, London School of Economics, London, United
         Kingdom, 2003-2004.
 Visiting Scholar, Institute for International Integration Studies, Trinity College, Dublin, Ireland,
         2003.
 Associate Director, John M. Olin Program for the Study of Economic Organization and Public
        Policy, Princeton University, 1989-1991.



 EDITORIAL BOARDS
 Editorial Board, American Law and Economics Review, 2013-present.
 Editorial Advisory Board, National Tax Journal, 2019-present.
 Editorial Advisory Board, Journal of Risk and Financial Management, 2020-present.
 Editorial Advisory Board, The Economists’ Voice, 2012-2020. Co-Editor, 2010-2012.
 Co-Editor, Journal of Public Economics, 2010-2013.
 Co-Editor, Journal of Economic Perspectives, 2004-2010.
 Editor, FinanzArchiv, 2000-2003.
 Editor, National Tax Association Proceedings, 2001.
 Associate Editor, Journal of International Financial Markets, Institutions and Money,
        1997-2013.
 Editorial Board, B.E. Journal of Economic Analysis & Policy, 2001-2016.
 Associate Editor, Journal of Regional Science, 2003-2010.
 Associate Editor, New Palgrave Dictionary of Economics, 2nd edition (Basingstoke, UK:
        Palgrave Macmillan, 2008).
                                            - Appx239 -
              Case: 25-1812      Document: 148        Page: 243       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-2        Filed 05/07/25      Page 38 of 53
 James R. Hines Jr.                                                                     Page 3 of 18


 Associate Editor, Quarterly Journal of Economics, 1997-2001.
 Associate Editor, International Tax and Public Finance, 1993-1998.
 Board of Editors, World Politics, 1992-1998. Associate Editor, 1990-1991.


 PROFESSIONAL BOARDS
 President, International Institute of Public Finance, 2024-present. President-Elect, 2023-2024;
        Board of Management, 2020-2023.
 President, American Law & Economics Association, 2023-2024. Vice President, 2022-2023;
        Secretary-Treasurer, 2021-2022.
 Fellow, Society for Empirical Legal Studies, 2019-present. Board of Directors, 2016-2019. Co-
        President, Conference on Empirical Legal Studies, 2018.
 Scientific Advisory Board, MannheimTaxation ScienceCampus, Germany, 2014-present.
 Scientific Advisory Board, Ifo Institute and CESifo Council, Germany, 2016-2024.
 Board of Directors, National Tax Association, 2010-2013. Program Chair, National Tax
        Association annual conference, 2000.


 GOVERNMENT SERVICE
 Panel of International Academic Expertise on Business Tax, Her Majesty’s Revenue and
        Customs, United Kingdom, 2008-2012.
 Academic Advisory Panel, Massachusetts Special Commission on Business Tax Policy,
       1992-1993.
 Panel of Technical Experts, Social Security Advisory Council, U.S. Social Security Commission,
        1990.
 Economist, Bureau of Economic Analysis, United States Department of Commerce, 1980-1981.


 RESEARCH AWARDS
 Daniel M. Holland Medal, National Tax Association, 2017.
 Richard A. Musgrave Visiting Professorship, International Institute of Public Finance and
        CESifo, 2014.
 Researcher of the Year Award, University of Michigan Ross School of Business, 2005.
 Contribution to the Research Environment Award, University of Michigan Ross School of
        Business, 2000.
 TEACHING PRIZES
 Michigan Economics Society Outstanding Professor Award, University of Michigan, 2010.
 Dean’s Teaching Honor Roll, Ford School, University of Michigan, 2001, 2002, 2003 and 2005.
 Dean’s Teaching Award, Kennedy School, Harvard University, 1996 and 1997.
                                           - Appx240 -
               Case: 25-1812     Document: 148       Page: 244     Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR            Document 14-2        Filed 05/07/25     Page 39 of 53
 James R. Hines Jr.                                                                     Page 4 of 18


 Manuel Carballo Award for Excellence in Teaching, Kennedy School, Harvard University, 1994.
 Teaching Prize, Woodrow Wilson School Graduate Student Association, Princeton University,
        1990.
 Honorable Mention, Allyn Young Teaching Prize, Harvard University, 1983.
 Harvard-Danforth Certificate for Excellence in Teaching, Harvard University, 1982.

 KEYNOTE ADDRESSES
 Max Planck Institute for Tax Law and Public Finance Conference, Berlin, Germany, 2024.
 RSIT Conference, University of Tübingen, Germany, 2024.
 Inaugural Global Wealth Management Lecture, George Mason University, 2023.
 Presidential Address, American Law & Economics Association, Boston MA, 2023.
 RIDGE May Forum, Workshop on Public Economics, Montevideo, Uruguay, 2018.
 Werner Sichel Lecture, Western Michigan University, Kalamazoo MI, 2017.
 MannheimTaxation Annual Conference, Mannheim, Germany, 2017.
 Urban Economic Policy Annual Conference, Drexel University, Philadelphia PA, 2016.
 Royal Society Lecture, Institute for Fiscal Studies, London, United Kingdom, 2014.
 Bank of France Conference on Competitiveness and Corporate Taxation, Paris, France, 2014.
 Richard Musgrave Lecture, CESifo Group, Munich, Germany, 2014.
 Canadian Public Economics Group Annual Conference, Edmonton, Canada, 2013.
 International Institute of Public Finance Annual Conference, Dresden, Germany, 2012.


 BOOKS
 Global Goliaths: Multinational Corporations in the 21st Century Economy, edited, with C.
        Fritz Foley and David Wessel (Washington, DC: Brookings, 2021).
        ISBN 978-0-815-73855-8.

 International Taxation, edited (Cheltenham, UK: Edward Elgar, 2007).
        ISBN 981-1-84376-446-5.

 Comparative Fiscal Federalism: Comparing the European Court of Justice and the U.S.
       Supreme Court’s Tax Jurisprudence, edited, with Reuven S. Avi-Yonah and Michael
       Lang (Alphen aan den Rijn, The Netherlands: Kluwer Law International, 2007).
       ISBN 978-90-411-2552-1.
 Taxing Corporate Income in the 21st Century, edited, with Alan J. Auerbach and Joel Slemrod
       (Cambridge, UK: Cambridge University Press, 2007). ISBN 978-0-521-87022-1.

 International Taxation and Multinational Activity, edited (Chicago: University of Chicago
        Press, 2001). ISBN 0-226-34173-9.
                                          - Appx241 -
               Case: 25-1812     Document: 148        Page: 245      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-2        Filed 05/07/25      Page 40 of 53
 James R. Hines Jr.                                                                    Page 5 of 18


 Rethinking Estate and Gift Taxation, edited, with William G. Gale and Joel Slemrod
       (Washington, DC: Brookings, 2001). ISBN 0-8157-0069-5.

 The Effects of Taxation on Multinational Corporations, edited, with Martin Feldstein and R.
       Glenn Hubbard (Chicago: University of Chicago Press, 1995). ISBN 0-226-24095-9.

 Taxing Multinational Corporations, edited, with Martin Feldstein and R. Glenn Hubbard
       (Chicago: University of Chicago Press, 1995). ISBN 0-226-24094-0.


 ARTICLES AND BOOK CHAPTERS
 Risky trust investments, Michigan State Law Review, forthcoming.

 Capital gains realizations, (with Daniel Schaffa), Economics Letters, November 2024, 244
        (111990), 1-4.

 Martin Feldstein (1939-2019), in Robert A. Cord, ed. The Palgrave Companion to Harvard
        Economics, volume 2 (Cham, Switzerland: Palgrave Macmillan, 2024), 667-685.

 The role of trusts in taxing the rich, Oxford Review of Economic Policy, Autumn 2023, 39 (3),
        460-477.

 Digital tax arithmetic, National Tax Journal, March 2023, 76 (1), 119-143.

 Corporate taxes and union wages in the United States, (with R. Alison Felix), International Tax
       and Public Finance, December 2022, 29 (6), 1450-1494.

 Certain effects of random taxes, (with Michael J. Keen), Journal of Public Economics,
        November 2021, 203 (104412), 1-13.

 Multinational activity in the modern world, (with C. Fritz Foley, Raymond J. Mataloni Jr., and
        David Wessel), in C. Fritz Foley, James R. Hines Jr., and David Wessel, eds. Global
        Goliaths: Multinational Corporations in the 21st Century Economy (Washington, DC:
        Brookings, 2021), 1-32.

 Principles for policymakers, (with C. Fritz Foley and David Wessel), in C. Fritz Foley, James R.
        Hines Jr., and David Wessel, eds. Global Goliaths: Multinational Corporations in the
        21st Century Economy (Washington, DC: Brookings, 2021), 537-546.

 Taxes as pandemic controls, (with Ashley C. Craig), National Tax Journal, December 2020, 73
        (4), 969-986.

 Income inequality, progressive taxation, and tax expenditures, in Sisay Asefa and Wei-Chiao
       Huang, eds. The Political Economy of Inequality: U.S. and Global Dimensions
       (Kalamazoo, MI: Upjohn Press, 2020), 145-166.

 Inter vivos transfers of ownership in family firms, (with Niklas Potrafke, Marina Riem, and
         Christoph Schinke), International Tax and Public Finance, April 2019, 26 (2), 225-256.
                                           - Appx242 -
               Case: 25-1812     Document: 148        Page: 246      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-2        Filed 05/07/25      Page 41 of 53
 James R. Hines Jr.                                                                    Page 6 of 18



 Investment ramifications of distortionary tax subsidies, (with Jongsang Park), Journal of Public
        Economics, April 2019, 172 (1), 36-51.

 Perils of tax reform, National Tax Journal, June 2018, 71 (2), 357-376.

 Business tax burdens and tax reform, Brookings Papers on Economic Activity, Fall 2017, 48 (2),
        449-471.

 Multinational firms and tax havens, (with Anna Gumpert and Monika Schnitzer), Review of
        Economics and Statistics, October 2016, 98 (4), 713-727.

 Are PILOTs property taxes on nonprofits? (with Fan Fei and Jill R. Horwitz), Journal of Urban
        Economics, July 2016, 94 (1), 109-123.

 Taxing sales of depreciable assets, Michigan Business & Entrepreneurial Law Review, Spring
        2016, 5 (2), 161-172.

 Trade credit and taxes, (with Mihir A. Desai and C. Fritz Foley), Review of Economics and
        Statistics, March 2016, 98 (1), 132-139.

 Delegating tax, (with Kyle D. Logue), Michigan Law Review, November 2015, 114 (2), 235-
        274.

 Corporate taxation, in James D. Wright, ed. International Encyclopedia of the Social &
       Behavioral Sciences, 2nd Edition, volume 4 (Oxford, UK: Elsevier, 2015), 946-948.

 Understanding the AMT, and its unadopted sibling, the AMxT, (with Kyle D. Logue), Journal
       of Legal Analysis, Winter 2014, 6 (2), 367-408.

 How serious is the problem of base erosion and profit shifting? Canadian Tax Journal, June
       2014, 62 (2), 443-453.

 The redistributive potential of wealth transfer taxes, Public Finance Review, November 2013,
        41 (6), 885-903.

 How important are perpetual tax savings? in Jeffrey R. Brown, ed. Tax Policy and the Economy,
       volume 27 (Chicago: University of Chicago Press, 2013), 101-124.

 Who offers tax-based business development incentives? (with R. Alison Felix), Journal of
       Urban Economics, May 2013, 75 (1), 80-91.

 Income and substitution effects of estate taxation, American Economic Review, Papers and
       Proceedings, May 2013, 103 (3), 484-488.

 The tax revenue capacity of the U.S. economy, in Franklin Allen, Anna Gelpern, Charles
        Mooney and David Skeel, eds. Is U.S. Government Debt Different? (Philadelphia, PA:
        FIC Press, 2012), 113-125.
                                           - Appx243 -
              Case: 25-1812       Document: 148        Page: 247       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-2         Filed 05/07/25      Page 42 of 53
 James R. Hines Jr.                                                                      Page 7 of 18


 Tax policy and the efficiency of U.S. direct investment abroad, (with Mihir A. Desai and C. Fritz
        Foley), National Tax Journal, December 2011, 64 (4), 1055-1082.

 U.S. defense contracts during the tax expenditure battles of the 1980s, (with Susan J. Guthrie),
        National Tax Journal, June 2011, 64 (2), 731-752.

 Peter Mieszkowski and the general equilibrium revolution in public finance, Proceedings of the
        National Tax Association Annual Conference, 2010, 102, 213-216.

 State fiscal policies and transitory income fluctuations, Brookings Papers on Economic Activity,
         Fall 2010, 41 (2), 313-337.

 Treasure islands, Journal of Economic Perspectives, Fall 2010, 24 (4), 103-126.

 The last best hope for progressivity in tax, (with Edward J. McCaffery), Southern California
        Law Review, July 2010, 83 (5), 1031-1098.

 International capital taxation, (with Rachel Griffith and Peter Birch Sørensen), in James
         Mirrlees, Stuart Adam, Timothy Besley, Richard Blundell, Stephen Bond, Robert Chote,
         Malcolm Gammie, Paul Johnson, Gareth Myles and James Poterba, eds. Dimensions of
         Tax Design: The Mirrlees Review (Oxford, UK: Oxford University Press, 2010), 914-
         996.

 The attack on nonprofit status: A charitable assessment, (with Jill R. Horwitz and Austin
        Nichols), Michigan Law Review, May 2010, 108 (7), 1179-1220.

 Income misattribution under formula apportionment, European Economic Review, January
       2010, 54 (1), 108-120.

 Taxing inheritances, taxing estates, Tax Law Review, Fall 2009, 63 (1), 189-207.

 Which countries become tax havens? (with Dhammika Dharmapala), Journal of Public
       Economics, October 2009, 93 (9-10), 1058-1068.

         Reprinted in Dhammika Dharmapala, ed. The Economics of Tax Avoidance and
         Evasion (Cheltenham, UK: Edward Elgar, 2017).

 How globalization affects tax design, (with Lawrence H. Summers), in Jeffrey R. Brown and
       James M. Poterba, eds. Tax Policy and the Economy, volume 23 (Chicago: University of
       Chicago Press, 2009), 123-157.

 Domestic effects of the foreign activities of U.S. multinationals, (with Mihir A. Desai and C.
       Fritz Foley), American Economic Journal: Economic Policy, February 2009, 1 (1), 181-
       203.

 Reconsidering the taxation of foreign income, Tax Law Review, Winter 2009, 62 (2), 269-298.

 Foreign income and domestic deductions, National Tax Journal, September 2008, 61 (3), 461-
        475.
                                            - Appx244 -
               Case: 25-1812      Document: 148        Page: 248       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-2         Filed 05/07/25      Page 43 of 53
 James R. Hines Jr.                                                                       Page 8 of 18



 Capital structure with risky foreign investment, (with Mihir A. Desai and C. Fritz Foley),
        Journal of Financial Economics, June 2008, 88 (3), 534-553.

 Excess burden of taxation, in Steven N. Durlauf and Lawrence E. Blume, eds. The New
        Palgrave Dictionary of Economics, 2nd ed., volume 3 (Basingstoke, UK: Palgrave
        Macmillan, 2008), 75-77.

 Excise taxes, in Steven N. Durlauf and Lawrence E. Blume, eds. The New Palgrave Dictionary
        of Economics, 2nd ed., volume 3 (Basingstoke, UK: Palgrave Macmillan, 2008), 103-105.

 Tax havens, in Steven N. Durlauf and Lawrence E. Blume, eds. The New Palgrave Dictionary of
        Economics, 2nd ed., volume 8 (Basingstoke, UK: Palgrave Macmillan, 2008), 173-175.

 Taxation of foreign income, in Steven N. Durlauf and Lawrence E. Blume, eds. The New
        Palgrave Dictionary of Economics, 2nd ed., volume 8 (Basingstoke, UK: Palgrave
        Macmillan, 2008), 192-194.

 Market reactions to export subsidies, (with Mihir A. Desai), Journal of International
       Economics, March 2008, 74 (2), 459-474.

 Corporate taxation and international competition, in Alan J. Auerbach, James R. Hines Jr., and
       Joel Slemrod, eds. Taxing Corporate Income in the 21st Century (Cambridge, UK:
       Cambridge University Press, 2007), 268-295.

         Reprinted in Vito Tanzi and Howell H. Zee, eds. Recent Developments in Public
         Finance, volume 2 (Cheltenham, UK: Edward Elgar, 2011), 346-373.

 Dividend policy inside the multinational firm, (with Mihir A. Desai and C. Fritz Foley),
        Financial Management, Spring 2007, 36 (1), 5-26.

 The internal markets of multinational firms, (with Mihir A. Desai and C. Fritz Foley), Survey of
        Current Business, March 2007, 87 (3), 42-48.

 Taxing consumption and other sins, Journal of Economic Perspectives, Winter 2007, 21 (1), 49-
        68.

 Capital controls, liberalizations, and foreign direct investment, (with Mihir A. Desai and C. Fritz
        Foley), Review of Financial Studies, Winter 2006, 19 (4), 1433-1464.

         Reprinted in Vihang Errunza, ed. Finance in Emerging Markets, volume 2 (London,
         UK: Routledge, 2016).

 Will social welfare expenditures survive tax competition? Oxford Review of Economic Policy,
        Fall 2006, 22 (3), 330-348.

 The demand for tax haven operations, (with Mihir A. Desai and C. Fritz Foley), Journal of
       Public Economics, March 2006, 90 (3), 513-531.
                                            - Appx245 -
              Case: 25-1812       Document: 148         Page: 249      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-2         Filed 05/07/25       Page 44 of 53
 James R. Hines Jr.                                                                       Page 9 of 18


         Reprinted in Dhammika Dharmapala, ed. The Economics of Tax Avoidance and
         Evasion (Cheltenham, UK: Edward Elgar, 2017).

 Taxation and multinational activity: new evidence, new interpretations, (with Mihir A. Desai and
        C. Fritz Foley), Survey of Current Business, February 2006, 86 (2), 16-22.

 Do tax havens divert economic activity? (with Mihir A. Desai and C. Fritz Foley), Economics
        Letters, February 2006, 90 (2), 219-224.

 Foreign direct investment and the domestic capital stock, (with Mihir A. Desai and C. Fritz
        Foley), American Economic Review, Papers and Proceedings, May 2005, 95 (2), 33-38.

 Shortfalls in the long run: predictions about the social security trust fund, (with Timothy Taylor),
        Journal of Economic Perspectives, Spring 2005, 19 (2), 3-9.

 Do tax havens flourish? in James M. Poterba, ed. Tax Policy and the Economy, volume 19
        (Cambridge, MA: MIT Press, 2005), 65-99.

 A multinational perspective on capital structure choice and internal capital markets, (with Mihir
        A. Desai and C. Fritz Foley), Journal of Finance, December 2004, 59 (6), 2451-2487.

         Reprinted in Stijn Claessens and Luc Laeven, eds. A Reader in International Corporate
         Finance, volume 2 (Washington, DC: World Bank, 2006), 243-279.

         Reprinted in James R. Hines Jr., ed. International Taxation (Cheltenham, UK: Edward
         Elgar, 2007), 215-251.

 Foreign direct investment in a world of multiple taxes, (with Mihir A. Desai and C. Fritz Foley),
        Journal of Public Economics, December 2004, 88 (12), 2727-2744.

         Reprinted in James R. Hines Jr., ed. International Taxation (Cheltenham, UK: Edward
         Elgar, 2007), 143-160.

 Old rules and new realities: corporate tax policy in a global setting, (with Mihir A. Desai),
        National Tax Journal, December 2004, 57 (4), 937-960.

 Might fundamental tax reform increase criminal activity? Economica, August 2004, 71 (283),
        483-492.

 The costs of shared ownership: evidence from international joint ventures, (with Mihir A. Desai
        and C. Fritz Foley), Journal of Financial Economics, August 2004, 73 (2), 323-374.

 On the timeliness of tax reform, Journal of Public Economics, April 2004, 88 (5), 1043-1059.

 Sensible tax policies in open economies, Journal of the Statistical and Social Inquiry Society of
        Ireland, 2003/2004, 33, 1-36.

 Evaluating international tax reform, (with Mihir A. Desai), National Tax Journal, September
        2003, 56 (3), 487-502.
                                            - Appx246 -
               Case: 25-1812     Document: 148        Page: 250     Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-2        Filed 05/07/25      Page 45 of 53
 James R. Hines Jr.                                                                   Page 10 of 18



         Reprinted in James R. Hines Jr., ed. International Taxation (Cheltenham, UK: Edward
         Elgar, 2007), 496-511.

 Perfect taxation with imperfect competition, (with Alan J. Auerbach), in Sijbren Cnossen and
         Hans-Werner Sinn, eds. Public Finance and Public Policy in the New Century
         (Cambridge, MA: MIT Press, 2003), 127-153.

 Chains of ownership, regional tax competition, and foreign direct investment, (with Mihir A.
        Desai and C. Fritz Foley), in Heinz Herrmann and Robert Lipsey, eds. Foreign Direct
        Investment in the Real and Financial Sector of Industrial Countries (Berlin: Springer-
        Verlag, 2003), 61-98.

 Michigan’s flirtation with the Single Business Tax, in Charles L. Ballard, Paul N. Courant,
       Douglas C. Drake, Ronald C. Fisher, and Elisabeth R. Gerber, eds. Michigan at the
       Millennium (East Lansing, MI: Michigan State University Press, 2003), 603-628.

 Applied public finance meets general equilibrium: The research contributions of Arnold
        Harberger, Proceedings of the National Tax Association Annual Conference, 2002, 94,
        1-8.

 Expectations and expatriations: Tracing the causes and consequences of corporate inversions,
        (with Mihir A. Desai), National Tax Journal, September 2002, 55 (3), 409-440.

         Reprinted in James R. Hines Jr., ed. International Taxation (Cheltenham, UK: Edward
         Elgar, 2007), 272-303.

         Excerpted in Michael J. Graetz, ed. Foundations of International Income Taxation
         (New York: Foundation Press, 2004), 114-118.

 International taxation, (with Roger H. Gordon), in Alan J. Auerbach and Martin Feldstein, eds.
         Handbook of Public Economics, volume 4 (Amsterdam: North-Holland, 2002), 1935-
         1995.

         Excerpted in Michael J. Graetz, ed. Foundations of International Income Taxation
         (New York: Foundation Press, 2004), 525-526.

 Taxation and economic efficiency, (with Alan J. Auerbach), in Alan J. Auerbach and Martin
        Feldstein, eds. Handbook of Public Economics, volume 3 (Amsterdam: North-Holland,
        2002), 1347-1421.

 Repatriation taxes and dividend distortions, (with Mihir A. Desai and C. Fritz Foley), National
        Tax Journal, December 2001, 54 (4), 829-851.

         Reprinted in James R. Hines Jr., ed. International Taxation (Cheltenham, UK: Edward
         Elgar, 2007), 304-326.

                                           - Appx247 -
               Case: 25-1812     Document: 148        Page: 251      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-2        Filed 05/07/25      Page 46 of 53
 James R. Hines Jr.                                                                   Page 11 of 18


 Another look at whether a rising tide lifts all boats, (with Hilary W. Hoynes and Alan B.
       Krueger), in Alan B. Krueger and Robert M. Solow, eds. The Roaring Nineties: Can
       Full Employment Be Sustained? (New York: Russell Sage, 2001), 493-537.

 Corporate taxation, in Neil J. Smelser and Paul B. Baltes, eds. International Encyclopedia of the
       Social & Behavioral Sciences, volume 4 (Oxford, UK: Elsevier, 2001), 2810-2812.

 Exchange rates and tax-based export promotion, (with Mihir A. Desai), Proceedings of the
       National Tax Association Annual Conference, 2001, 93, 275-285.

 The uneasy marriage of export incentives and the income tax, (with Mihir A. Desai), in James M.
       Poterba, ed. Tax Policy and the Economy, volume 15 (Cambridge, MA: MIT Press,
       2001), 41-94.

 International taxation and the location of inventive activity, (with Adam B. Jaffe), in James R.
         Hines Jr., ed. International Taxation and Multinational Activity (Chicago: University of
         Chicago Press, 2001), 201-226.

 “Tax sparing” and direct investment in developing countries, in James R. Hines Jr., ed.
        International Taxation and Multinational Activity (Chicago: University of Chicago
        Press, 2001), 39-66.

         Reprinted in James R. Hines Jr., ed. International Taxation (Cheltenham, UK: Edward
         Elgar, 2007), 95-122.

 What is benefit taxation? Journal of Public Economics, March 2000, 75 (3), 483-492.

 The case against deferral: A deferential reconsideration, National Tax Journal, September 1999,
        52 (3), 385-404.

 Excess capital flows and the burden of inflation in open economies, (with Mihir A. Desai), in
        Martin Feldstein, ed. The Costs and Benefits of Price Stability (Chicago: University of
        Chicago Press, 1999), 235-268.

 Nonprofit business activity and the unrelated business income tax, in James M. Poterba, ed. Tax
       Policy and the Economy, volume 13 (Cambridge, MA: MIT Press, 1999), 57-84.

 Lessons from behavioral responses to international taxation, National Tax Journal, June 1999,
        52 (2), 305-322.
 Three sides of Harberger triangles, Journal of Economic Perspectives, Spring 1999, 13 (2),
        167-188.

 “Basket” cases: Tax incentives and international joint venture participation by American
       multinational firms, (with Mihir A. Desai), Journal of Public Economics, March 1999,
       71 (3), 379-402.

 Tax policy and the activities of multinational corporations, in Alan J. Auerbach, ed. Fiscal
        Policy: Lessons from Economic Research (Cambridge, MA: MIT Press, 1997), 401-445.
                                           - Appx248 -
              Case: 25-1812       Document: 148        Page: 252      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-2         Filed 05/07/25      Page 47 of 53
 James R. Hines Jr.                                                                    Page 12 of 18


 International taxation and corporate R&D: Evidence and implications, in James M. Poterba, ed.
         Borderline Case: International Tax Policy, Corporate Research and Development, and
         Investment (Washington, DC: National Academy Press, 1997), 39-52.

         Reprinted (with minor changes) as Doing R&D in the right places, Chemtech, August
         1998, 28 (8), 12-17.

 Altered states: Taxes and the location of foreign direct investment in America, American
        Economic Review, December 1996, 86 (5), 1076-1094.

         Reprinted in James R. Hines Jr., ed. International Taxation (Cheltenham, UK: Edward
         Elgar, 2007), 52-70.

 Dividends and profits: Some unsubtle foreign influences, Journal of Finance, June 1996, 51 (2),
        661-689.

 Fundamental tax reform in an international setting, in Henry J. Aaron and William G. Gale, eds.
       Economic Effects of Fundamental Tax Reforms (Washington, DC: Brookings, 1996),
       465-502.

 From each according to his surplus: Equi-proportionate sharing of commodity tax burdens, (with
       John C. Hlinko and Theodore J. F. Lubke), Journal of Public Economics, November
       1995, 58 (3), 417-428.

 The flypaper effect, (with Richard H. Thaler), Journal of Economic Perspectives, Fall 1995, 9
        (4), 217-226.

 Taxes, technology transfer, and the R&D activities of multinational firms, in Martin Feldstein,
        James R. Hines Jr., and R. Glenn Hubbard, eds. The Effects of Taxation on
        Multinational Corporations (Chicago: University of Chicago Press, 1995), 225-248.

 Interest allocation rules, financing patterns, and the operations of U.S. multinationals, (with
         Kenneth A. Froot), in Martin Feldstein, James R. Hines Jr., and R. Glenn Hubbard, eds.
         The Effects of Taxation on Multinational Corporations (Chicago: University of
         Chicago Press, 1995), 277-307.

 Taxes, technology transfer, and R&D by multinational firms, in Martin Feldstein, James R.
        Hines Jr., and R. Glenn Hubbard, eds. Taxing Multinational Corporations (Chicago:
        University of Chicago Press, 1995), 51-62.
 The tax treatment of interest and the operations of U.S. multinationals, (with Kenneth A. Froot),
        in Martin Feldstein, James R. Hines Jr., and R. Glenn Hubbard, eds. Taxing
        Multinational Corporations (Chicago: University of Chicago Press, 1995), 81-93.

 No place like home: Tax incentives and the location of R&D by American multinationals, in
        James M. Poterba, ed. Tax Policy and the Economy, volume 8 (Cambridge, MA: MIT
        Press, 1994), 65-104.

 Credit and deferral as international investment incentives, Journal of Public Economics,
         October 1994, 55 (2), 323-347.
                                           - Appx249 -
             Case: 25-1812       Document: 148        Page: 253      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-2        Filed 05/07/25      Page 48 of 53
 James R. Hines Jr.                                                                    Page 13 of 18



 Fiscal paradise: Foreign tax havens and American business, (with Eric M. Rice), Quarterly
         Journal of Economics, February 1994, 109 (1), 149-182.

         Reprinted in Dhammika Dharmapala, ed. The Economics of Tax Avoidance and
         Evasion (Cheltenham, UK: Edward Elgar, 2017).

         Reprinted in James R. Hines Jr., ed. International Taxation (Cheltenham, UK: Edward
         Elgar, 2007), 18-51.

 On the sensitivity of R&D to delicate tax changes: The behavior of US multinationals in the
        1980s, in Alberto Giovannini, R. Glenn Hubbard, and Joel Slemrod, eds. Studies in
        International Taxation (Chicago: University of Chicago Press, 1993), 149-187.

 Budget spillovers and fiscal policy interdependence: Evidence from the states, (with Anne C.
       Case and Harvey S. Rosen), Journal of Public Economics, October 1993, 52 (3), 285-
       307.

         Erratum, Journal of Public Economics, February 1994, 53 (2), 325.

         Reprinted in Harvey S. Rosen, ed. The Fiscal Behavior of State and Local Governments
         (Cheltenham, UK: Edward Elgar, 1997), 3-25.

         Reprinted in Wallace E. Oates, ed. The Economics of Fiscal Federalism and Local
         Finance (Cheltenham, UK: Edward Elgar, 1998), 535-557.

 Arm’s-length pricing: Some economic perspectives, (with Charles H. Berry and David F.
       Bradford), Tax Notes, 10 February, 1992, 54 (6), 731-740.

 The flight paths of migratory corporations, Journal of Accounting, Auditing and Finance,
         Fall 1991, 6 (4), 447-479.

 Capital flight and tax competition: Are there viable solutions to both problems? (with Alberto
        Giovannini), in Alberto Giovannini and Colin Mayer, eds. European Financial
        Integration (Cambridge, UK: Cambridge University Press, 1991), 172-210.

 Coming home to America: Dividend repatriations by U.S. multinationals, (with R. Glenn
        Hubbard), in Assaf Razin and Joel Slemrod, eds. Taxation in the Global Economy
        (Chicago: University of Chicago Press, 1990), 161-200.
 Investment tax incentives and frequent tax reforms, (with Alan J. Auerbach), American
        Economic Review, Papers and Proceedings, May 1988, 78 (2), 211-216.

 Taxation and U.S. multinational investment, in Lawrence H. Summers, ed. Tax Policy and the
        Economy, volume 2 (Cambridge, MA: MIT Press, 1988), 33-61.

 The tax treatment of structures, in Martin S. Feldstein, ed. Taxes and Capital Formation
        (Chicago: University of Chicago Press, 1987), 37-50.

 Anticipated tax changes and the timing of investment, (with Alan J. Auerbach), in Martin S.
                                          - Appx250 -
                Case: 25-1812     Document: 148       Page: 254      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-2        Filed 05/07/25      Page 49 of 53
 James R. Hines Jr.                                                                   Page 14 of 18


         Feldstein, ed. The Effects of Taxation on Capital Accumulation (Chicago: University of
         Chicago Press, 1987), 163-196.

 Notes on the tax treatment of structures, (with Roger H. Gordon and Lawrence H. Summers), in
        Martin S. Feldstein, ed. The Effects of Taxation on Capital Accumulation (Chicago:
        University of Chicago Press, 1987), 223-254.

 National accounting for non-renewable natural resources in the mining industries, (with J. Steven
        Landefeld), Review of Income and Wealth, March 1985, 31 (1), 1-20.


 REVIEWS AND MISCELLANEOUS PUBLICATIONS

 Comment on “Fiscal federalism and the role of the income tax,” in David R. Agrawal, James M.
      Poterba, and Owen M. Zidar, eds. Policy Responses to Tax Competition (Chicago:
      University of Chicago Press, forthcoming).

 Foreword: The 2018 Conference on Empirical Legal Studies, (with J.J. Prescott and Sonja Starr),
       Journal of Empirical Legal Studies, December 2019, 16 (4), 692.

 Comment on “Fundamental tax reform: A comparison of three options,” in Alan J. Auerbach and
      Kent Smetters, eds. The Economics of Tax Policy (New York: Oxford University Press,
      2017), 369-374.

 Reply to Becker and Fuest, National Tax Journal, June 2010, 63 (2), 278-280.

 International Financial Centers and the World Economy, STEP Report 2009 (London, UK:
        Society of Trust and Estate Practitioners, 2009).

 Tax policy experts express views on California’s proposed tax plan, (with Joseph Bankman,
        Arnold C. Harberger, Walter Hellerstein, Charles E. McLure Jr., Steven M. Sheffrin, Kirk
        Stark, John A. Swain, and George Zodrow), State Tax Notes, 28 September, 2009, 53
        (13), 916-918.

 Protectionist pitfalls in U.S. tax reform, in Robert Goulder, ed. Toward Tax Reform:
         Recommendations for President Obama’s Task Force (Falls Church, VA: Tax Analysts,
         2009), 48-50.

 Comment on “Capital levies and the transition to a consumption tax,” in Alan J. Auerbach and
      Daniel Shaviro, eds. Institutional Foundations of Public Finance: Economic and Legal
      Perspectives (Cambridge, MA: Harvard University Press, 2008), 147-153.

 Review of Jonathan Jones and Colin Wren, Foreign Direct Investment and the Regional
       Economy, Journal of Regional Science, October 2007, 47 (4), 845-847.

 Introduction, in James R. Hines Jr., ed. International Taxation (Cheltenham, UK: Edward Elgar,
        2007), xi-xviii.
                                           - Appx251 -
              Case: 25-1812      Document: 148        Page: 255      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-2        Filed 05/07/25      Page 50 of 53
 James R. Hines Jr.                                                                    Page 15 of 18


 Preface, (with Alan J. Auerbach and Joel Slemrod), in Alan J. Auerbach, James R. Hines Jr., and
        Joel Slemrod, eds. Taxing Corporate Income in the 21st Century (Cambridge, UK:
        Cambridge University Press, 2007), xi-xiii.

 Introduction, in Reuven S. Avi-Yonah, James R. Hines Jr., and Michael Lang, eds. Comparative
        Fiscal Federalism: Comparing the European Court of Justice and the U.S. Supreme
        Court’s Tax Jurisprudence (Alphen aan den Rijn, The Netherlands: Kluwer Law
        International, 2007), xix-xxiv.

 Harmful tax competition and its harmful remedies, British Tax Review, 2006, 50 (2), 209-212.

 More tax decadence: A review of C. Eugene Steuerle’s Contemporary U.S. Tax Policy, Journal
        of Policy Analysis and Management, Summer 2005, 24 (3), 624-627.

 Reply to Grubert, (with Mihir A. Desai), National Tax Journal, June 2005, 58 (2), 275-278.

 Introduction to international tax competition, Tax Notes International, 28 June, 2004, 34 (13),
        1295-1297.

 Review of Andreas Haufler, Taxation in the Global Economy, Journal of Economic Literature,
       March 2004, 41 (1), 193-194.

 Venture out alone, (with Mihir A. Desai and C. Fritz Foley), Harvard Business Review, March
        2004, 82 (3), 22.

 Comment on “An overview of international issues affecting U.S. tax administration,” in Henry
      Aaron and Joel Slemrod, eds. The Crisis in Tax Administration (Washington, DC:
      Brookings, 2004), 57-60.

 Corporate inversions: Stanley Works and the lure of tax havens, (with Mihir A. Desai and Mark
       F. Veblen), Harvard Business School Case 9-203-008, October 2002.

 Comment on “Charitable giving in life and death,” in William G. Gale, James R. Hines Jr., and
      Joel Slemrod, eds. Rethinking Estate and Gift Taxation (Washington, DC: Brookings,
      2001), 370-373.

 Comment on “Asset price effects of fundamental tax reform,” in Kevin A. Hassett and R. Glenn
        Hubbard, eds. Transition Costs of Fundamental Tax Reform (Washington, DC:
        American Enterprise Institute, 2001), 92-95.
 Introduction, in James R. Hines Jr., ed. International Taxation and Multinational Activity
        (Chicago: University of Chicago Press, 2001), 1-8.

 Comment on “Portfolio responses to taxation: Evidence from the end of the rainbow,” in Joel B.
      Slemrod, ed. Does Atlas Shrug? The Economic Consequences of Taxing the Rich
      (Cambridge, MA: Harvard University Press, 2000), 324-328.

 Comment on “The influence of income tax rules on insurance reserves,” in Kenneth A. Froot, ed.
      The Financing of Catastrophe Risk (Chicago: University of Chicago Press, 1999), 304-
      306.
                                           - Appx252 -
                Case: 25-1812    Document: 148       Page: 256      Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR            Document 14-2        Filed 05/07/25     Page 51 of 53
 James R. Hines Jr.                                                                 Page 16 of 18



 Introduction, (with Martin Feldstein and R. Glenn Hubbard), in Martin Feldstein, James R. Hines
        Jr., and R. Glenn Hubbard, eds. The Effects of Taxation on Multinational Corporations
        (Chicago: University of Chicago Press, 1995), 1-6.

 Introduction, (with Martin Feldstein and R. Glenn Hubbard), in Martin Feldstein, James R. Hines
        Jr., and R. Glenn Hubbard, eds. Taxing Multinational Corporations (Chicago:
        University of Chicago Press, 1995), 1-5.

 Review of Gary Clyde Hufbauer, U.S. Taxation of International Income, National Tax Journal,
       March 1993, 46 (1), 69-71.

 Comment on “State and federal tax equity: Estimates before and after the Tax Reform Act of
      1986,” Journal of Policy Analysis and Management, Winter 1993, 12 (1), 44-47.

 Review of David Newbery and Nicholas Stern, eds. The Theory of Taxation for Developing
       Countries, Journal of Economic Literature, December 1989, 27 (4), 1698-1700.

 Comment on “Decentralization in the public sector,” in Harvey S. Rosen, ed. Fiscal Federalism:
      Quantitative Studies (Chicago: University of Chicago Press, 1988), 29-32.

 More than its own reward (review of Charles T. Clotfelter’s Federal Tax Policy and Charitable
        Giving and Arthur Andersen & Co.’s Tax Economics of Charitable Giving), Foundation
        News, September/October 1986, 27 (5), 7l-72.


 GOVERNMENT TESTIMONY
 Testimony before the Committee on the Budget, United States Senate, 17 January, 2024,
       Washington, DC. Hearings on international taxation.

 Testimony before the Committee on Finance, United States Senate, 25 March, 2021,
       Washington, DC. Hearings on international taxation.

 Testimony before the Committee on Finance, United States Senate, 26 April, 2016, Washington,
       DC. Hearings on business tax reform.

 Testimony before the Committee on Finance, United States Senate, 8 September, 2011,
       Washington, DC. Hearings on international tax reform.
 Testimony before the Committee on Ways and Means, United States House of Representatives,
       12 May, 2011, Washington, DC. Hearings on comprehensive tax reform.

 Testimony before the Committee on Ways and Means, United States House of Representatives,
       22 July, 2010, Washington, DC. Hearings on international transfer pricing.

 Testimony before the State of California Commission on the 21st Century Economy, 12
       February, 2009, Los Angeles, CA. Hearings on new revenue sources.

                                          - Appx253 -
               Case: 25-1812      Document: 148       Page: 257       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-2          Filed 05/07/25   Page 52 of 53
 James R. Hines Jr.                                                                  Page 17 of 18


 Testimony before the Committee on Finance, United States Senate, 26 June, 2008, Washington,
       DC. Published in Foundation of International Tax Reform: Worldwide, Territorial,
       and Something in Between (Washington DC: U.S. Government Printing Office, 2008),
       3-4, 10, 12, 15-16, 19, 21-23, 61-75.

 Testimony before the Standing Committee on Finance, House of Commons, Canadian
       Parliament, 10 May, 2007, Ottawa, Canada. Hearings on tax havens and tax avoidance.

 Testimony before the Committee on Ways and Means, Select Revenue Measures Subcommittee,
       United States House of Representatives, 22 June, 2006, Washington, DC. Hearings on
       the impact of international tax reform on U.S. competitiveness.

 Testimony before the Presidential Advisory Panel on Federal Tax Reform, 12 May, 2005,
       Washington, D.C. Hearings on exempting foreign-source dividends from U.S. taxation.

 Testimony before the Committee on Finance, United States Senate, 15 July, 2003, Washington,
       DC. Published in An Examination of U.S. Tax Policy and Its Effect on the
       International Competitiveness of U.S.-Owned Foreign Operations (Washington DC:
       U.S. Government Printing Office, 2004), 28-29, 41, 65-75.

 UNPUBLISHED PAPERS
 Is C-SALT harmful to economic health? April 2025.

 Tax reform and the Laffer curve, (with Ana Gamarra and José Félix Sanz-Sanz), February
        2025.

 How large is the government? February 2025.

 Evaluating minimum taxation, NBER Working Paper No. 33140, November 2024.

 Banks and tax-exempt debt arbitrage, (with Emily Horton), NBER Working Paper No. 32647,
        July 2024.

 The effects of the reverse charge mechanism on the VAT gap, (with Albrecht Bohne, Antonios
        M. Koumpias, and Annalisa Tassi), February 2024.

 Evaluating tax harmonization, NBER Working Paper No. 31900, November 2023.

 Quality-aware tax incentives for charitable contributions, (with Zachary Halberstam), CESifo
        Working Paper No. 10250, January 2023.

 Corporate taxation and the distribution of income, NBER Working Paper No. 27939, October
       2020.

 Random policies in federations, June 2020.

 Rational choice and the rule against perpetuities, March 2020.
                                           - Appx254 -
              Case: 25-1812    Document: 148       Page: 258   Filed: 07/20/2025




Case 1:25-cv-00077-GSK-TMR-JAR           Document 14-2     Filed 05/07/25   Page 53 of 53
 James R. Hines Jr.                                                            Page 18 of 18


 Rational intestacy and probate reform, December 2019.




                                         - Appx255 -
           Case: 25-1812          Document: 148               Page: 259             Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR                 Document 14-4                   Filed 05/07/25   Page 1 of 3



                 IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

    THE STATE OF OREGON, THE STATE OF                       Case No. 1:25-cv-00077-GSK- TMR-JAR
    ARIZONA, THE STATE OF COLORADO,
    THE STATE OF CONNECTICUT, THE                           DECLARATION OF HANNA EMERSON
    STATE OF DELAWARE, THE STATE OF
    ILLINOIS, THE STATE OF MAINE, THE
    STATE OF MINNESOTA, THE STATE OF
    NEVADA, THE STATE OF NEW MEXICO,
    THE STATE OF NEW YORK, and THE
    STATE OF VERMONT,
                   Plaintiffs,

           v.
    DONALD J. TRUMP, in his capacity as
    President of the United States;
    DEPARTMENT OF HOMELAND
    SECURITY; KRISTI NOEM, in her official
    capacity as Secretary of the Department of
    Homeland Security; UNITED STATES
    CUSTOMS AND BORDER PROTECTION;
    PETER R. FLORES, in his official capacity as
    Acting Commissioner for U.S. Customs and
    Border Protection; and THE UNITED
    STATES,
                   Defendants.
    I, Hanna Emerson, declare as follows:

           1.      I am over the age of 18, competent to testify as to the matters herein, and testify
    based on personal knowledge, records kept in the ordinary course of business at Oregon State

    University (“OSU”), and information I learned from OSU personnel whose work I rely upon and
    who have assisted me in gathering this information from our institution.
           2.      I am the Director & Chief Procurement Officer in OSU’s Office of Procurement,
    Contracts and Material Management. In this role, I lead the team that is responsible for
    stewarding OSU’s many resources. This includes the Procurement team, which manages the
    competitive processes and establishment of contracts and purchases and goods and services that
    are critical to OSU’s ability to fulfill its mission of teaching, research, outreach and engagement.


Page 1 - DECLARATION OF HANNA EMERSON – Oregon, et al. v. Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                             - Appx256 -
           Case: 25-1812          Document: 148              Page: 260             Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-4                   Filed 05/07/25   Page 2 of 3




           3.      Oregon State University is a public land grant institution committed to teaching,
    research, outreach and engagement that promotes economic, social, cultural, and environmental
    progress for the people of Oregon, the nation and the World. OSU enrolls more than 37,000
    students and employs more than 6,000 individuals on a full-time equivalent basis. OSU has two
    campuses, 11 colleges, 12 experimental stations, and extension programs in all 36 Oregon
    counties. OSU receives the most research funding of Oregon’s public research universities and
    specializes in cutting edge research in fields such as engineering, earth, ocean and atmospheric
    sciences, and agriculture.
           4.      On average, OSU spends approximately $400M annually ($403.6M for the fiscal
    year ending on June 30, 2024) on goods and services that are critical to fulfilling its teaching,
    research, outreach and engagement mission.

    A.     The IEEPA Tariff Orders have increased costs on goods that OSU procures for its
           students and researchers.
           5.      In the regular course of its operations, OSU routinely purchases many goods that
    originate from sources outside the United States. The IEEPA Tariff Orders have already
    increased costs for OSU. As one example, one of OSU’s vendors for scientific supplies that are
    used by its students and researchers notified OSU that because of the U.S. Government’s tariffs

    on materials imported from China, as well as a tariff on imported steel and aluminum, the vendor
    was forced to implement a surcharge of 2.3% on products that was passed on directly to OSU.
           6.      In the past 12 months, OSU has spent approximately $18.1M on scientific
    supplies. Even a 2.3% surcharge (which is significantly lower than any of the IEEPA tariff rates)
    would significantly increase the costs to OSU of purchasing needed scientific supplies. If
    implemented as written, the increased costs resulting from the IEEPA Tariff Orders are likely to
    put OSU in the difficult position of having to forego purchasing goods and services that are
    critical to its mission. These surcharges and cost increases have a direct adverse impact on
    Oregon State University and, in turn, impose financial harm to the State of Oregon.


Page 2 - DECLARATION OF HANNA EMERSON – Oregon, et al. v. Trump, et al.

                                               Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax: (971) 673-5000

                                             - Appx257 -
           Case: 25-1812          Document: 148              Page: 261             Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-4                   Filed 05/07/25   Page 3 of 3



    B.     The IEEPA Tariff Orders have created procurement uncertainty for OSU
           7.      The IEEPA Tariff Orders have also created budgeting uncertainty for Oregon
    State University. OSU regularly issues requests for proposals or solicitations and receives
    proposals from across the country and internationally. Because of the price uncertainty caused by

    the IEEPA Tariff Orders, many of the solicitations received are conditional and indicate that
    costs may change depending on cost fluctuations. For example, in response to a solicitation,
    OSU recently received a proposal for a robotics system needed for research from a Swiss
    manufacturer that stated the total price but with the condition that “[p]ricing is based on current
    US tariff regulations for imports from Switzerland. In the event that new or increased tariffs are
    imposed on the quoted products or their components prior to delivery, [vendor] reserves the right
    to adjust the prices accordingly.” These conditional solicitation responses necessitated by the
    IEEPA Tariff Orders make it impossible for Oregon State University to evaluate which

    solicitation response is the lowest bid and budget accordingly.


            I declare under penalty of perjury under the laws of the United States that, to the
    best of my knowledge, the foregoing is true and correct.


           Executed on May 5, 2025, at Corvallis, Oregon

                                                    Hanna W. Digitally         signed by
                                                                       Hanna W. Emerson
                                                                       Date: 2025.05.05
                                                    Emerson            12:14:18 -07'00'
                                                    _____________________________________
                                                    Hanna Emerson
                                                    Director & Chief Procurement Officer
                                                    Procurement, Contracts & Materials Management
                                                    Oregon State University




Page 3 - DECLARATION OF HANNA EMERSON – Oregon, et al. v. Trump, et al.

                                               Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax: (971) 673-5000

                                             - Appx258 -
            Case: 25-1812        Document: 148        Page: 262      Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-5         Filed 05/07/25      Page 1 of 37




             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


THE STATE OF OREGON, THE STATE OF                 Case No. 1:25-cv-00077-GSK-TMR-JAR
ARIZONA, THE STATE OF COLORADO,
THE STATE OF CONNECTICUT, THE                     DECLARATION OF ELIZABETH HAYES,
STATE OF DELAWARE, THE STATE OF                   ASSISTANT COMMISSIONER FOR THE
ILLINOIS, THE STATE OF MAINE, THE                 MINNESOTA DEPARTMENT OF
STATE OF MINNESOTA, THE STATE OF                  ADMINISTRATION AND CHIEF
NEVADA, THE STATE OF NEW MEXICO,                  PROCUREMENT OFFICER FOR THE
THE STATE OF NEW YORK, AND THE                    STATE OF MINNESOTA
STATE OF VERMONT
                                                  (In support of Plaintiffs’ Motion for
                                                  Preliminary Injunction)
              Plaintiffs,

       v.

DONALD J. TRUMP, in his capacity as
President of the United States;
DEPARTMENT OF HOMELAND
SECURITY; KRISTI NOEM, in her official
capacity as Secretary of the Department of
Homeland Security; UNITED STATES
CUSTOMS AND BORDER PROTECTION;
PETER R. FLORES, in his official capacity as
Acting Commissioner for U.S. Customs and
Border Protection; and THE UNITED
STATES,
              Defendants.


I, ELIZABETH Hayes, declare as follows:

       1.     I am over the age of 18, competent to testify as to the matters herein, and testify

based on personal knowledge, records received and kept in the ordinary course of business at the

Minnesota Department of Administration, and information I learned from Minnesota Department

of Administration personnel whose work I rely upon and who have assisted me in gathering this

information from our department.

       2.     I work as the Chief Procurement Officer for the Minnesota Department of

Administration and as an Assistant Commissioner for Procurement and Community Services.

Within those roles, I manage and oversee the Office of State Procurement (an Office within the

                                           - Appx259 -
             Case: 25-1812        Document: 148        Page: 263         Filed: 07/20/2025



Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-5         Filed 05/07/25      Page 2 of 37




Department of Administration comprised of lawyers, and other personnel responsible for

procurement oversight and assisting state agencies as they go through the solicitation and

contracting process) as well as other teams within the Department of Administration.

       3.      The Office of State Procurement oversees approximately $2.1 billion in annual

purchases of goods and services by the State of Minnesota through its various executive

agencies. The Office of State Procurement manages approximately 1,600 goods and general

service contracts. These contracts focus on serving the executive branch of state government.

       4.      In addition to State of Minnesota agencies using these contracts for their direct

purchasing needs, many cities and other political subdivisions located within the State of

Minnesota also rely on the Office of Procurement’s contracts for their purchases of goods and

services. Though this cooperative primarily consists of other governmental entities within State

of Minnesota, it also includes other entities from across the country.

       5.      In addition to the Office of State Procurement, the Minnesota Department of

Administration is tasked with overseeing and managing a number of other administrative

functions for the State of Minnesota, including, but not limited to:

                 a. Maintaining and operating 21 state-owned buildings, including the State

                     Capitol, plus parking facilities, monuments, and associated grounds;

                 b. Managing more than 320 construction projects and 650 property leases

                     annually;

                 c. Managing fleet services related to vehicles leased or acquired for official

                     state business; and

                 d. A variety of other functions related to data practices, grants, strategic

                     planning, disability access, and more.

       6.      In the regular course of its operations, the Department of Administration routinely

negotiates enterprise contracts on behalf of other Minnesota state agencies and for its cooperative


                                            - Appx260 -
               Case: 25-1812       Document: 148        Page: 264       Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-5         Filed 05/07/25       Page 3 of 37




purchasing venture members to purchase goods that originate from sources outside the United

States.

          7.    The range of goods purchased pursuant to contracts falling under the Department

of Administration’s oversight is broad, and includes but is not limited to: raw materials related to

roadway projects (such as salt, sand and aggregates); fire suppression products; a broad range of

vehicles, including boats, helicopters, and planes for use in state public safety and law

enforcement; plow blades and other vehicle attachments; furniture, office supplies, cables,

copiers, audio visual equipment, and information technology including desktop/laptop

computers, server/storage, and networking equipment for governmental activities; dental

products, electrical supplies, fencing, filters, fuel, medical products and supplies, paint, radio

communication equipment, repair parts, equipment and containers related to waste and recycling

management, safety equipment to respond to fire management and pollution events; body-worn

cameras, body armor, and other equipment used by state law enforcement and public safety

officials; highway traffic counters and related accessories for state highway management; lab

equipment to support labs within the Minnesota Department of Health, Minnesota Pollution

Control Agency air laboratory, Minnesota Department Agriculture, and the Minnesota

Department of Natural Resources; and numerous other types of goods that may originate in

whole or in part from sources outside the United States.

          8.    The full impact of the President’s tariffs on pricing for goods purchased by the

State of Minnesota is still emerging, and it may be difficult to ever fully capture: some suppliers

and vendors may have sourced their materials or goods sufficiently in advance as to delay the

impact of the tariffs on their direct consumers; other vendors and suppliers may increase their

pricing without expressly explaining what percentage of the price increase is attributable to

tariffs. However, in recent weeks, the Office of Procurement has already begun receiving notice

from some vendors and suppliers indicating that they are increasing their prices or adding

surcharges due to tariffs. The paragraphs and accompanying exhibits highlight several examples

                                             - Appx261 -
              Case: 25-1812         Document: 148         Page: 265      Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-5         Filed 05/07/25    Page 4 of 37




of these types of notifications, or contract amendments which have already been initiated by

suppliers as a result of increased costs attributable to tariffs:

        9.      Attached as Exhibit A is a true and correct copy of e-mail correspondence

received by the Office of Procurement indicating a tariff-related price increase on traffic

monitoring equipment. Continuing to purchase a compliant product that meets the agency’s

business needs will be important to compatibility with existing investments and infrastructure.

Moreover, in this instance, the vendor was the only respondent to a related competitive bid

process. In the correspondence, the vendor indicates, “These increases are directly related to

current tariffs.”

        10.     Attached as Exhibit B is a true and correct copy of e-mail correspondence

received by the Office of Procurement and a record attached to that e-mail correspondence which

appears to be a Customs and Border Protection record. The correspondence relates to a supplier

requesting to amend the State’s contract to pass through a $2,500 tariff surcharge added to the

price of each school bus.

        11.     Attached as Exhibit C is a true and correct copy of a contract amendment which

was initiated by a vendor for air quality and sound monitoring safety equipment. Pursuant to the

amendment, the vendor may add a tariff surcharge of up to 5% of the original negotiated pricing.

        12.     Attached as Exhibit D is a true and correct copy of a contract amendment which

was initiated by a vendor for waste recycling and sorting containers. Pursuant to the amendment,

the vendor may pass through all increased tariff costs, up to 25% of the original negotiated

pricing.

        13.     Attached as Exhibit E is a true and correct copy of a contract amendment which

was initiated by a vendor for playground equipment. Pursuant to the amendment, the vendor may

add a tariff surcharge of up to 9% of the original negotiated pricing.

        14.     Attached as Exhibit F is a true and correct copy of e-mail correspondence

received by the Office of Procurement from a supplier of network technology. The e-mail

                                               - Appx262 -
              Case: 25-1812         Document: 148       Page: 266       Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-5         Filed 05/07/25       Page 5 of 37




provided notice that, “Effective today, HPE has implemented a price increase due to the impact

of U.S. tariffs.” The vendor acknowledged that the precise extent of the increase was under

review and that the situation created by the tariffs was “fluid.”

        15.     Based on my experience and familiarity with the Department of Administration’s

contracting activities, I expect that additional vendors and suppliers will pursue amendments to

existing contracts or will announce price increases and surcharges similar to those highlighted in

the examples attached hereto. Particularly where tariff price increases affect entire industries of

goods, or affect instances where there is a need to purchase specific products, the Department of

Administration does not anticipate being able to find alternate sources for goods to mitigate

against the price increases attributable to tariffs.

        16.     The President’s tariffs accordingly impose a financial harm to the State of

Minnesota by increasing the cost of procurement.

        17.     With regard to all of the purchasing made by the State of Minnesota, the vendors

and suppliers or their subcontractors would most typically be the importers of record, rather than

the State of Minnesota. Accordingly, the State of Minnesota would not be entitled to

reimbursement from U.S. Customs and Border Protection if the vendors were to successfully

challenge the tariff imposed.

        18.     If the Plaintiff States were to prevail in this case, it would not be administratively

feasible for the Department of Administration to re-review every single purchase made under

every agreement since the imposition of tariffs to determine whether the purchases were affected

by tariffs, what the amount of the applicable tariff was, and what amount should be reimbursed

to the purchasing agencies. Although that may be more feasible for certain agreements where

vendors are transparent and precise in their own communication of tariff costs and their

relationship to price increases, it is highly unlikely that will be the case in every instance

considering the state’s broad purchasing and procurement. By way of example, I am aware of at

least one supplier which has announced a forthcoming surcharge to be passed on to downstream

                                              - Appx263 -
             Case: 25-1812         Document: 148          Page: 267             Filed: 07/20/2025




Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-5              Filed 05/07/25                  Page 6 of 37




purchasers, but has asked its suppliers to keep the specific calculations related to tariff-

attributable amounts of that surcharge confidential.

       19.     Further, because different vendors will pass along the additional cost of the new

tariffs in different ways, it is highly unlikely that the State of Minnesota will be able to engage in

negotiations with each vendor for each purchase to determine an appropriate amount of

reimbursement if the Plaintiff States were to prevail in this case.

       20.     Accordingly, the State of Minnesota is unlikely to be able to recoup additional

amounts paid due to tariffs directly from vendors, or precisely calculate the extent of those costs

after the fact for recovery in damages.




       I declare under penalty of perjury under the laws of the United States that, to the

best of my knowledge, the foregoing is true and correct.

       Executed on May 6, 2025, at Saint Paul, Minnesota
                                                                        Digitally signed by Elizabeth
                                               Elizabeth Hayes Hayes
                                               _____________________________________
                                                               Date: 2025.05.06 16:49:57 -05'00'

                                                     Elizabeth Hayes




                                             - Appx264 -
             Case: 25-1812               Document: 148               Page: 268            Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                          Document 14-5                 Filed 05/07/25            Page 7 of 37


 From:               Youngquist, Allyson (She/Her/Hers) (ADM)
 To:                 Jannett, Luke (ADM)
 Subject:            FW: Mn State Contract 244144 Traffic Counters, Software, and Accessories
 Date:               Tuesday, April 22, 2025 12:52:19 PM



 I wanted to share this message from vendor since they reference tariffs as one of the causes
 for increase in pricing. This is for T-795(5), Contract 244144, with High Leah Electronics, Inc.,
 dba Diamond Traffic Products.

 Let me know if you have any questions.

 Thank you,
 Allyson

 From: Beth Ritz <beth@diamondtraffic.com>
 Sent: Friday, April 18, 2025 10:54 AM
 To: Youngquist, Allyson (She/Her/Hers) (ADM) <allyson.youngquist@state.mn.us>
 Subject: RE: Mn State Contract 244144 Traffic Counters, Software, and Accessories


    This message may be from an external email source.
    Do not select links or open attachments unless verified. Report all suspicious emails to Minnesota IT Services Security
    Operations Center.




 The price for the Omega G 2RT will be $665.00. The price for the Omega X3A-4RT will be
 $890.00. These increases are directly related to current tariffs.
 The price for each CENT-CC license will be reduced to $450.00.
 Please advise if you require any additional information.

 Beth Ann Ritz, Vice President of Sales
 Diamond Traffic Products
 a division of High Leah Electronics, Inc.
 P.O. Box 1455
 76433 Alder St
 Oakridge, OR 97463
 Office: 541.782.3903
 beth@diamondtraffic.com
 http://diamondtraffic.com


 From: Youngquist, Allyson (She/Her/Hers) (ADM) <allyson.youngquist@state.mn.us>
 Sent: Wednesday, April 16, 2025 11:01 AM
 To: Beth Ritz <beth@diamondtraffic.com>
 Subject: Mn State Contract 244144 Traffic Counters, Software, and Accessories


                                                      - Appx265 -
            Case: 25-1812         Document: 148           Page: 269       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                 Document 14-5          Filed 05/07/25    Page 8 of 37


 Good afternoon, Beth,

 My name is Allyson Youngquist. I work with Bonnie Lundgren and assisting her with this
 contract. It looks like it expired at the end of March. The State would like to extend if you agree.
 I can process the paperwork to extend the contract. Can you let me know if there will be any
 changes to the price schedule (included below). If you could let me know as soon as possible,
 that would be greatly appreciated.

                 EXHIBIT D, SUPPLEMENT 2, PRICE SCHEDULE
       Item                  Description                      Contract Pricing
                             Centurion City/County Software
       CV2-CC                License                          $650.00/license
                             Omega G 2RT Traffic
       OMEGA G 2RT           Counter/Classifier               $650.00/ea.
                             Omega X3A Traffic
       OMEGA X3A             Counter/Classifier               $875.00/ea.
                             C Cell Lithium, 3.6 Volt Battery
       700-C-Lith                                             $17.00/ea.
                             D Cell Lithium, 3.6 Volt Battery
       700-D-Lith                                             $24.00/ea.
                             Omega G Air Switches, Brass
       600-X3-BRASS          Nozzle ONLY*                     $6.00/ea.

   600-MEGA G FIN       Finished OMEGA G Air Switch         $35.00/ea.
                        Finished Omega G Case
   706-OMEGA G                                              $27.00/ea.
                        Annual Maintenance or support
                        costs.                              $0.00
                        Centurion City/County Software
   CV2-CC               License (“Additional Licenses”)     $650.00/ea.




 Best,
 Allyson




 Allyson Youngquist | Buyer II
 50 Sherburne Avenue, Suite 112
 Saint Paul, MN 55155

                                             - Appx266 -
                     Case: 25-1812                Document: 148               Page: 270            Filed: 07/20/2025

         Case 1:25-cv-00077-GSK-TMR-JAR                          Document 14-5                Filed 05/07/25            Page 9 of 37




From:                   Burns, Dustin (ADM)
Sent:                   Wednesday, April 23, 2025 3:35 PM
To:                     Jannett, Luke (ADM)
Subject:                FW: School Bus Contract-Tariff
Attachments:            7501_MCC_Canada_031825 Sample.pdf


Hello Luke,

Attached and below is a Tariff/surcharge request from Northcentral regarding the B-346 School bus contract.

We can discuss in our 1:1 next week.

Dustin

From: Sandy Kiehm <sandyk@northcentralinc.com>
Sent: Friday, April 11, 2025 3:18 PM
To: McIntyre, Karen (ADM) <karen.mcintyre@state.mn.us>
Subject: School Bus Contract-Tariff

   This message may be from an external email source.
   Do not select links or open attachments unless verified. Report all suspicious emails to Minnesota IT Services Security Operations Center.




Hi Karen…below is an email and attachment North Central received from Blue Bird after the State of
Minnesota asked for more information to help better understand and clarify the $2,500 tariff charge Blue
Bird is adding to all Blue Bird buses with delivery dates of March 17, 2025, and later.

Based on units ordered, we have a total of 22 buses that have been ordered via the State School Bus
Contract and will have the $2,500 tariff charge assessed. Blue Bird has already invoiced these specific
tariff charges as a separate line item. Many of these buses have been ordered, but have not been built
yet, so they will definitely contain materials impacted by the increased tariffs.

We have two requests:

   1. NC is requesting that the contract be amended to allow us to charge a $2,500 tariff charge on the
      22 School Buses that have been ordered off the State School Bus Contract. We can provide a list
      of the entity who ordered the bus, the order date, and the expected completion date at Blue Bird.
   2. NC is requesting that going forward on all new orders that we can pass through the $2,500 tariff
      charge on all School Buses ordered until the tariff is either rescinded or the contract expires.

We understand these are volatile times and this is a highly unusual request. We greatly appreciate your
consideration of this request. Please let us know if you have any questions or would like to set up a call
to discuss further.

                                                                        1

                                                               - Appx267 -
                  Case: 25-1812              Document: 148          Page: 271    Filed: 07/20/2025

      Case 1:25-cv-00077-GSK-TMR-JAR                        Document 14-5   Filed 05/07/25        Page 10 of 37


Thanks,
Sandy


From: Burleigh, Albert <albert.burleigh@blue-bird.com>
Sent: Thursday, April 10, 2025 11:08 AM
To: Paul Gauerke <paulg@northcentralinc.com>
Cc: Gordon, Tim <Tim.Gordon@blue-bird.com>; Murphy, Richard <Richard.Murphy@blue-bird.com>
Subject: Customs invoice


Attached you will see that these goods are initially sourced from China, by a Canadian manufacturer, and imported to
the USA by Blue Bird. For a value of goods of $39k we paid $28k in tariffs, or effectively 70% rate. The breakdown is as
follows:




    9903.01.24 NEW: Additional duties on products of China and Hong Kong pursuant to the International Emergency
    Economic Powers Act (IEEPA): For products of China and Hong Kong entered on or after March 4, 2025, heading
    9903.01.24 provides for an additional 20 percent ad valorem tariff and applies in addition to all other applicable
    duties, taxes, fees, exactions, and charges, including those of headings1 under section 301 of the Trade Act of 1974
    (19 U.S.C. 2411); For products of China and Hong Kong entered on or after February 5, 2025, and prior to March 4,
    2025, previous heading 9903.01.20 provided for an additional 10 percent ad valorem tariff (the 10% was replaced
    by the 20% on March 4, 2025)

    9903.88.03 OLD - Previous China tariffs at 25% since 2018, we have been covering these since then, they are not
    part of the current calculation on price increase.

    9903.81.93 NEW - 25% tariffs on Steel: The President issued Proclamation 10896 “Adjusting Imports of Steel into
    the United States,” (Steel Presidential Proclamation) on February 10, 2025, imposing specified rates of duty on
    imports of steel. In Proclamation 10896, the President authorized and directed the Secretary of Commerce to
    publish modifications to the Harmonized Tariff Schedule of the United States (HTSUS) so that it conforms to the
    amendments and effective dates in the proclamation. The duties set out in the annex to this document are effective
    with respect to certain products that are entered for consumption, or withdrawn from warehouse for consumption,
    on or after 12:01 a.m. Eastern Time on March 12, 2025.

Thanks,

                       Albert Burleigh
                       VP, North America Bus Sales
                       Blue Bird
                       3920 Arkwright Rd. Ste. 200
                       Macon, Georgia 31210
                       Cell 478.919.7311/Fax 478.822.3552
                       Albert.Burleigh@blue-bird.com


                                                                2

                                                            - Appx268 -
                    Case 1:25-cv-00077-GSK-TMR-JAR    Document 14-5   Filed 05/07/25   Page 11 of 37
Filed: 07/20/2025
Page: 272
Document: 148
Case: 25-1812




                                                     - Appx269 -
                                 Case: 25-1812          Document: 148       Page: 273       Filed: 07/20/2025




Docusign Envelope ID: 9C966E07-4E3D-4631-92CF-7CF3AE95ADE8
                                      Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-5          Filed 05/07/25        Page 12 of 37


                                                                                                 Office of State Procurement
                                                                                                 112 Administration Building
                                                                                                       50 Sherburne Avenue
                                                                                                          St. Paul, MN 55155
                                                                                                        Voice: 651.296.2600
                                                                                                           Fax: 651.297.3996

    March 21, 2025


    Ms. Linda Kimber
    Clarey's Safety Equipment
    1725 Hwy 14 E.
    Rochester, MN 55904


    Dear Ms. Kimber:

    The following document is enclosed for you to complete and return:

        •   Amendment No. 4 to SWIFT Contract No. 191518, Release No. S-852(5).
        •   Contractor is required to furnish annual Contract usage data (usage reports) by March 31, 2025, at the following
            email address: jeffrey.combs@state.mn.us. Contract usage reports must consist of the total dollars spent by State
            agencies. A final usage report is required at the expiration or termination the Contract. Failure to provide usage
            reports may result in contract cancellation. This term survives the expiration or termination of the Contract.


                                          Please sign and return all documents, via email, to
                                  Jeffrey Combs at jeffrey.combs@state.mn.us by March 25, 2025.


    If the Amendment is not properly executed it will be returned to you. Upon receipt of the properly executed document, and
    after signatures are obtained from the appropriate State authorities, a copy of the completed Amendment will be sent to
    your company.

    If you have any questions, please feel free to contact me.

    Sincerely,

    Jeffrey Combs
    AMS
    Enclosure




                                                                 - Appx270 -
                                 Case: 25-1812          Document: 148         Page: 274        Filed: 07/20/2025



Docusign Envelope ID: 9C966E07-4E3D-4631-92CF-7CF3AE95ADE8
                                      Case 1:25-cv-00077-GSK-TMR-JAR                   Document 14-5          Filed 05/07/25       Page 13 of 37

                           AMENDMENT NO. 4 TO CONTRACT NO. 191518, RELEASE NO. S-852(5)

    THIS AMENDMENT is by and between the State of Minnesota, acting through its commissioner of Administration
    (“State”), and Clarey's Safety Equipment, 1725 Hwy 14 E., Rochester, MN 55904 (“Contractor”).

    WHEREAS, the State has a Contract with the Contractor identified as Contract No. 191518, May 1, 2021 through
    February 28, 2025 (“Contract”), to provide Air Quality and Sound Level (Dosimeter) Safety Equipment; and

    WHEREAS, Minn. Stat. § 16C.03, subd. 5, affords the commissioner of Administration, or delegate pursuant to Minn. Stat.
    § 16C.03, subd. 16, the authority to amend contracts; and

    WHEREAS, the terms of the Contract allow the State to amend the Contract as specified herein, upon the mutual
    agreement of the Office of State Procurement and the Contractor in a fully executed amendment to the Contract.

    NOW, THEREFORE, it is agreed by the parties to amend the Contract as follows:

     1. That Contract No. 191518 is extended through February 28, 2026. The Original Contract and any previous
        amendments are incorporated into this amendment by reference.

     2. The Exhibit D: Price Schedule for Honeywell Analytics RAE Portable Gas 2022 Price List – US, dated October 15,
        2022, is DELETED in its entirety and REPLACED with the Honeywell RAE Portable Gas 2025 Price List – US, dated
        November 15, 2024, which is attached and incorporated herein.

     3. The Exhibit D: Price Schedule - RKI Premier Portables: Price List, dated July 15, 2022 is DELETED in its entirety and
        REPLACED with Exhibit D: Price Schedule - RKI Premier Portables: 2024 Price List, dated March 1, 2024, which is
        attached and incorporated herein.

     4. The Exhibit D: Price Schedule - Environics, Inc. 2023 Chempro Price List dated April 2023 is DELETED in its entirety
        and REPLACED with Exhibit D: Price Schedule - Environics, Inc. 2025 Chempro Price List which is attached and
        incorporated herein.

     5. The Exhibit D: Price Schedule Honeywell, Portable Gas Detection Price List USD dated 2022, is DELETED in its
        entirety and REPLACED with Exhibit D: Price Schedule Honeywell, Portable Gas Detection Price List USD dated
        November 15, 2024, which is attached and incorporated herein.

     6. Up to 5% tariff surcharge pass-through mark-up will be allowed on RAE Systems and BW Technologies by
        Honeywell. The Contractor must identify the applicable tariff surcharge as a separate line item on both the quote and
        invoice. In addition, the Contractor must submit third-party documentation from the supplier in writing to the State’s
        Authorized Representative or delegate and the Ordering Entity. The Contractor must document a clear correlation
        between the surcharge amount and the third-party documentation.

        If a tariff surcharge is lessened or removed at any time, the Contractor must contact the State’s Authorized
        Representative or delegate and the Ordering Entity in writing and the tariff surcharge is to be removed immediately
        from any applicable pending or future orders.

     7. All other terms, conditions and specifications remain the same.

    This Amendment is effective beginning March 1, 2025 or upon the date that the final required signatures are obtained,
    whichever occurs later, and shall remain in effect through contract expiration, or until the Contract is canceled, whichever
    occurs first.

    Except as herein amended, the provisions of the Original Contract and all previous amendments between the parties
    hereto are expressly reaffirmed, are incorporated by reference, and remain in full force and effect.




                                                                  - Appx271 -
                    Docusign Envelope ID: 9C966E07-4E3D-4631-92CF-7CF3AE95ADE8
                               Case 1:25-cv-00077-GSK-TMR-JAR                    Document 14-5   Filed 05/07/25   Page 14 of 37
Filed: 07/20/2025




                                                                           3/25/2025




                                                                           3/25/2025
Page: 275
Document: 148
Case: 25-1812




                                                                             - Appx272 -
                         Case: 25-1812             Document: 148              Page: 276           Filed: 07/20/2025
Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
            Case 1:25-cv-00077-GSK-TMR-JAR                        Document 14-5                Filed 05/07/25               Page 15 of 37


                                                                                                                 Office of State Procurement
                                                                                                                 112 Administration Building
                                                                                                                       50 Sherburne Avenue
                                                                                                                          St. Paul, MN 55155
                                                                                                                         Voice: 651.296.2600
                                                                                                                           Fax: 651.297.3996

    April 11, 2025


    Michaela Nagy
    Busch Systems International Inc.
    81 Rawson Avenue
    Barrie ON Canada L4N 6E5


    Dear Ms. Nagy,

    The following document is enclosed for you to complete and return:

                Amendment to SWIFT Contract No 211305, Release No. W-212(5)
                Amendment No. 3 – Attachment A: Price Schedule effective April 11, 2025
                Amendment No. 3 – Exhibit D: Pricing


                 Please sign and return the documents, VIA DocuSign or Email to Nicole Fuller at the following
                                email address: Nicole.Fuller@mn.state.us, by April 14, 2025.

    If the Amendment is not properly executed, it will be returned to you. Upon receipt of the properly executed document,
    and after signatures are obtained from the appropriate State authorities, a copy of the completed Amendment will be sent
    to your company.

    If you have any questions, please feel free to contact me.

    Sincerely,

    Nicole Fuller
    Nicole Fuller
    Buyer II
    Enclosure




                              Persons with a hearing or speech disability may contact us by dialing 711 or 1.800.627.3529


                                                                - Appx273 -
                         Case: 25-1812          Document: 148          Page: 277          Filed: 07/20/2025
Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
           Case 1:25-cv-00077-GSK-TMR-JAR                    Document 14-5            Filed 05/07/25          Page 16 of 37

                             AMENDMENT NO. 3 TO CONTRACT NO. 211305 RELEASE NO. W-212(5)

    THIS AMENDMENT is by and between the State of Minnesota, acting through its Commissioner of Administration
    (“State”), and Busch Systems International Inc., 81 Rawson Avenue, Barrie ON Canada L4N 6E5 (“Contractor”).

    WHEREAS, the State has a Contract with the Contractor identified as Contract No. 211305, April 1, 2024, through March
    31, 2025 (“Contract”), to provide Waste Recycling Containers and Sort Stations; and

    WHEREAS, Minn. Stat. § 16C.03, subd. 5, affords the Commissioner of Administration, or delegate pursuant to Minn.
    Stat. § 16C.03, subd. 16, the authority to amend contracts; and

    WHEREAS, the terms of the Contract allow the State to amend the Contract as specified herein, upon the mutual
    agreement of the Office of State Procurement and the Contractor in a fully executed amendment to the Contract.

    NOW, THEREFORE, it is agreed by the parties to amend the Contract as follows:

     1. That Contract No. 211305 is extended through March 31, 2026.The Original Contract and any previous amendments
        are incorporated into this amendment by reference.

     2. The Sample Contract, Exhibit D: Pricing has been DELETED in its entirety and REPLACED with Amendment No. 3 –
        Exhibit D: Pricing. The following language is added under section 1.2 Tariffs:

        1.2 Tariffs.

             1.2.1. Applicability. When an imported contracted product value is above $800 or the current posted De Minimis
             value on the U.S. Customs and Border Protection website on any one shipment, the Contractor may quote the
             applicable tariff for those products identified under the current Price Schedule as a separate line item. If the quote
             does not include the tariff, the tariff shall not be invoiced.

             1.2.2. Tariff Rate. The amount invoiced for the tariff shall be less than or equal to the amount paid to U.S.
             Customs and Border Protection for the products purchased based on Country of Origin and applicable HTS Code.
             The amount of the tariff passed onto the ordering entity shall not exceed 25% of the Amendment No. 3 –
             Attachment A: Price Schedule. Shipping & handling costs must be removed when applying the cost of the Tariff.
             An itemized statement must be provided upon request of the state showing the product cost, shipping and
             handling, and the calculation of any applicable tariff including the Tariff Rate applied.

             1.2.3. Potential Tariff Increases. In the event tariff rates increase beyond the “not to exceed” limit defined herein
             for a period of more than 30 calendar days, the Contractor may request the State’s contract manager to review
             proposed price increases caused by increasing or additional imposed tariffs with third-party supporting
             documentation. Additional price increases are not authorized without a mutually agreed upon and duly executed
             amendment.

                  1.2.3.1 Harmonized Tariff Schedule (HTS) Codes. The Contractor must provide third-party documentation in
                  the form of a supplier letter, invoice, bill of lading or other state approved document to verify imposed tariffs
                  passed onto the Contractor. Applicable HTS Codes must be noted for the State to verify any documentation
                  presented.

     3. The current Price Schedule is DELETED in its entirety and REPLACED with Amendment No. 3 – Attachment A: Price
        Schedule, which is attached and incorporated herein. Updates to the Price Schedule includes deletions of
        discontinued items and the additions of new products.

        3.1 Columns G - J are added to identify line items that are eligible to include imposed tariff costs along with their
        applicable Country of Origin and HTS Code.

     4. All other terms and conditions remain unchanged.

    This Amendment is effective beginning April 11, 2025, or upon the date that the final required signatures are obtained,
    whichever occurs later, and shall remain in effect through contract expiration, or until the Contract is canceled, whichever
    Contract Amendment 29 (Rev. 11.17.2022)                        Amendment No. 3 to Contract No. 211305, Release No. W-212(5)


                                                           - Appx274 -
                            Case: 25-1812              Document: 148            Page: 278           Filed: 07/20/2025
Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
             Case 1:25-cv-00077-GSK-TMR-JAR                           Document 14-5             Filed 05/07/25             Page 17 of 37

    occurs first.

    Except as herein amended, the provisions of the Contract between the parties hereto are expressly reaffirmed and remain
    in full force and effect.

  IN WITNESS WHEREOF, the parties have caused this Amendment to be duly executed intending to be bound thereby.

  1. BUSCH SYSTEMS INTERNATIONAL INC.                                     2. OFFICE OF STATE PROCUREMENT
        The Contractor certifies that the appropriate person(s) have            In accordance with Minn. Stat. § 16C.03, subd. 3.
        executed this Amendment on behalf of the Contractor as required
        by applicable articles, bylaws, resolutions, or ordinances.
                                                                          By:
  By:
           Signature                                                      Title: Acquisition Management Specialist / Buyer
           Michaela Nagy
                                                                                    4/14/2025
           Printed Name                                                   Date:
            Contracts Specialist
  Title:
           4/11/2025                                                      3. COMMISSIONER OF ADMINISTRATION
  Date:                                                                         Or delegated representative.

                                                                          By:
                                                                                    4/14/2025
                                                                          Date:




    Contract Amendment 29 (Rev. 11.17.2022)                               Amendment No. 3 to Contract No. 211305, Release No. W-212(5)


                                                                    - Appx275 -
                             Case: 25-1812                   Document: 148                 Page: 279               Filed: 07/20/2025
Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
              Case 1:25-cv-00077-GSK-TMR-JAR                                  Document 14-5                  Filed 05/07/25               Page 18 of 37



                                    Amendment No. 3 – Attachment A: Price Schedule
                                                                 Effective April 11, 2025
                                                             Busch Systems International Inc.
                                                                Contract Number 211305
Tier 1 Products
                                                                                                                                                              Tariff Rate ‐
                                                                                                                    Eligible for
                                                                                                                                   Country of                Percentage of
     Product         Model              Size                Color                Discount Quantity        Price        Tariff                    HTS Code
                                                                                                                                     Origin                  Sell Price (Not
                                                                                                                    Invoicing?
                                                                                                                                                               to exceed)
                                                 Composite & Steel designer
                                                 style single stream waste
  Waste or                                                                       Different container     $409.70
                                                 container w/hinged lid & full
  Recycling     Aristata Select     15 gallon                                  types can be combined                    No         Canada (CA)   9403.60.8        n/a
                                                 opening. Includes label &
  Container                                                                        to reach MOQ.
                                                 rigid liner. Color:                                     MOQ: 4
                                                 Slate/Glacier                                            units
                                                 Composite & Steel designer
                                                 style two stream waste
  Waste or                                                                         Different container   $615.60
                                                 container w/hinged lid. Full
  Recycling     Aristata Select     30 gallon                                    types can be combined                  No         Canada (CA)   9403.60.8        n/a
                                                 & recycling openings.
  Container                                                                          to reach MOQ.
                                                 Includes labels & rigid liners.                         MOQ: 4
                                                 Color: Slate/Glacier                                     units
                                                Composite & Steel designer
                                                style three stream waste
  Waste or                                                                       Different container     $763.72
                                                container w/hinged lid. Full &
  Recycling     Aristata Select     45 gallon                                  types can be combined                    No         Canada (CA)   9403.60.8        n/a
                                                recycling openings. Includes
  Container                                                                        to reach MOQ.
                                                labels & rigid liners. Color:                            MOQ: 4
                                                Slate/Glacier                                             units

                                                Composite & Steel designer
  Waste or                                      style single XL stream waste    Different container      $636.18
  Recycling    Aristata Select XL   28 gallon   container w/hinged lid & full types can be combined                     No         Canada (CA)   9403.60.8        n/a
  Container                                     opening. Includes label & rigid   to reach MOQ.
                                                liner. Color: Slate/Glacier                              MOQ: 4
                                                                                                          units
                                                Composite & Steel designer
                                                style two stream XL waste
  Waste or                                                                       Different container     $819.75
                                                container w/hinged lid. Full &
  Recycling    Aristata Select XL   56 gallon                                  types can be combined                    No         Canada (CA)   9403.60.8        n/a
                                                recycling openings. Includes
  Container                                                                        to reach MOQ.
                                                labels & rigid liners. Color:                            MOQ: 4
                                                Slate/Glacier                                             units
                                                Composite & Steel designer
                                                style three stream XL waste
  Waste or                                                                       Different container $1,040.98
                                                container w/hinged lid. Full &
  Recycling    Aristata Select XL   84 gallon                                  types can be combined                    No         Canada (CA)   9403.60.8        n/a
                                                recycling openings. Includes
  Container                                                                        to reach MOQ.
                                                labels & rigid liners. Color:                         MOQ: 4
                                                Slate                                                  units
                                                Composite & Steel designer
                                                style single stream waste
  Waste or                                                                        Different container    $486.30
                                                container w/hinged lid & full
  Recycling    Aristata Premium     15 gallon                                   types can be combined                   No         Canada (CA)   9403.60.8        n/a
                                                opening. Includes label & rigid
  Container                                                                         to reach MOQ.
                                                liner. Color: Mid‐Summer                                 MOQ: 25
                                                Flame                                                     units
                                                Composite & Steel designer
                                                style two stream waste
  Waste or                                                                       Different container     $671.25
                                                container w/hinged lid. Full &
  Recycling    Aristata Premium     30 gallon                                  types can be combined                    No         Canada (CA)   9403.60.8        n/a
                                                recycling openings. Includes
  Container                                                                        to reach MOQ.
                                                                           - Appx276 -
                             Case: 25-1812                  Document: 148                 Page: 280           Filed: 07/20/2025



Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
              Case 1:25-cv-00077-GSK-TMR-JAR                                    Document 14-5               Filed 05/07/25     Page 19 of 37

  Container                                                                        to reach MOQ.
                                              labels & rigid liners. Color:                             MOQ: 4
                                              Mid‐Summer flame                                           units
                                              Composite & Steel designer
                                              style three stream waste
  Waste or                                                                     Different container      $832.70
                                              container w/hinged lid. Full &
  Recycling    Aristata Premium   45 gallon                                  types can be combined                No    Canada (CA)   9403.60.8      n/a
                                              recycling openings. Includes
  Container                                                                      to reach MOQ.
                                              labels & rigid liners. Color:                             MOQ: 4
                                              Mid‐Summer Flame                                           units

                                              Composite & Steel designer
  Waste or                                    style single stream waste       Different container       $486.30
  Recycling      Aristata Elite   15 gallon   container w/hinged lid & full types can be combined                 No    Canada (CA)   9403.60.8      n/a
  Container                                   opening. Includes label & rigid   to reach MOQ.
                                              liner. Color: Western Breeze                              MOQ: 25
                                                                                                         units
                                              Composite & Steel designer
                                              style two stream waste
  Waste or                                                                     Different container      $671.25
                                              container w/hinged lid. Full &
  Recycling      Aristata Elite   30 gallon                                  types can be combined                No    Canada (CA)   9403.60.8      n/a
                                              recycling openings. Includes
  Container                                                                      to reach MOQ.
                                              labels & rigid liners. Color:                             MOQ: 4
                                              Western Breeze                                             units
                                              Composite & Steel designer
                                              style three stream waste
  Waste or                                                                     Different container      $832.70
                                              container w/hinged lid. Full &
  Recycling      Aristata Elite   45 gallon                                  types can be combined                No    Canada (CA)   9403.60.8      n/a
                                              recycling openings. Includes
  Container                                                                      to reach MOQ.
                                              labels & rigid liners. Color:                             MOQ: 4
                                              Western Breeze                                             units


                                              Stainless Steel two stream
  Waste or                                                                        Different container $1,756.11
                                              locking recycling & waste
  Recycling      Boka Double      52 gallon                                     types can be combined             Yes   Canada (CA)   9403.20.0   Up to 25%
                                              container. Includes labels &
  Container                                                                         to reach MOQ.
                                              bag retention ring.                                      MOQ: 4
                                                                                                        units


                                              Stainless Steel three stream
  Waste or                                                                        Different container $2,404.34
                                              locking recycling & waste
  Recycling      Boka Triple      78 gallon                                     types can be combined             Yes   Canada (CA)   9403.20.0   Up to 25%
                                              container. Includes labels &
  Container                                                                         to reach MOQ.
                                              bag retention ring.                                      MOQ: 4
                                                                                                        units
                                                                                       Project,
                                                                                 standardization, or
                                              LDPE Bodies w/ABS brushed             order‐specific
  Waste or
                                              pewter lids ‐ body color black.    discounts at $5,000
  Recycling      Evolve Cube      50 gallon                                                             $482.31   No    Canada (CA)   3926.90.9      n/a
                                              Multiple opening styles.          and $10,000 etc. may
  Container
                                              Includes opening labels.           be available. Please
                                                                                 contact your Busch
                                                                                         rep.

                                                                                       Project,
                                                                                 standardization, or
                                              LDPE Bodies w/ABS brushed             order‐specific
  Waste or
                                              pewter lids ‐ body color black.    discounts at $5,000
  Recycling    Evolve Cube Slim   23 gallon                                                             $369.38   No    Canada (CA)   3926.90.9      n/a
                                              Multiple opening styles.          and $10,000 etc. may
  Container
                                              Includes opening labels.           be available. Please
                                                                                 contact your Busch
                                                                                         rep.




                                                                              - Appx277 -
                               Case: 25-1812                Document: 148                  Page: 281            Filed: 07/20/2025

Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
              Case 1:25-cv-00077-GSK-TMR-JAR                                     Document 14-5            Filed 05/07/25               Page 20 of 37



                 Evolve Cube                  LDPE Bodies w/ABS brushed
  Waste or
                  Waste or                    pewter lids ‐ body colors: grey,
  Recycling                       50 gallon                                             n/a           $539.20        No         Canada (CA)   3926.90.9        n/a
                  Recycling                   blue, green. Multiple opening
  Container
                  Container                   styles. Includes opening labels.



               Evolve Cube Slim               LDPE Bodies w/ABS brushed
  Waste or
                   Waste or                   pewter lids ‐ body colors: grey,
  Recycling                       23 gallon                                             n/a           $397.50        No         Canada (CA)   3926.90.9        n/a
                  Recycling                   blue, green. Multiple opening
  Container
                  Container                   styles. Includes opening labels.



                                              Powder‐coated steel square
                                              recycling or waste container.
  Waste or
                                              Includes body, lid, rigid liner,
  Recycling     Spectrum Cube     24 gallon                                             n/a           $339.30        Yes        Canada (CA)   9403.20.0     Up to 25%
                                              label. Multiple opening styles.
  Container
                                              Color: silver lid, white, blue,
                                              green, black or grey body



                                              Powder‐coated steel
                                              rectangular recycling or waste
  Waste or                                    container. Includes body, lid,
                Spectrum Cube
  Recycling                       10 gallon   rigid liner, label. Multiple              n/a           $293.80        Yes        Canada (CA)   9403.20.0     Up to 25%
                     Slim
  Container                                   opening styles. Color: silver
                                              lid, white, blue, green, black
                                              or grey body



                                              Powder‐coated steel elliptical
                                              recycling or waste container.
  Waste or
                                              Includes body, lid, rigid liner,
  Recycling    Spectrum Ellipse   22 gallon                                             n/a           $398.80        Yes        Canada (CA)   9403.20.0     Up to 25%
                                              label. Multiple opening styles.
  Container
                                              Color: silver lid, white, blue,
                                              green, black or grey body




                                              Powder‐coated steel elliptical
                                              recycling or waste container.
  Waste or
               Spectrum Ellipse               Includes body, lid, rigid liner,
  Recycling                       8 gallon                                              n/a           $342.50        Yes        Canada (CA)   9403.20.0     Up to 25%
                     Slim                     label. Full opening. Color:
  Container
                                              silver lid, white, blue, green,
                                              black or grey body




                                              Powder‐coated steel square
                                              recycling or waste container.
  Waste or
                                              Includes body, lid, rigid liner,
  Recycling    Spectrum Cube XL   32 gallon                                             n/a           $477.30        Yes        Canada (CA)   9403.20.0     Up to 25%
                                              label. Multiple opening styles.
  Container
                                              Color: silver lid, white, blue,
                                              green, black or grey body



Tier 2 Products
                                                                                                                                                           Tariff Rate ‐
                                                                                                                 Eligible for
                                                                                                                                Country of                Percentage of
   Products         Model           Size                   Color                  Discount Quantity    Price        Tariff                    HTS Code
                                                                                                                                  Origin                  Sell Price (Not
                                                                                                                 Invoicing?
                                                                                                                                                            to exceed)

                                                                            - Appx278 -
                             Case: 25-1812                  Document: 148                Page: 282                Filed: 07/20/2025
Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
              Case 1:25-cv-00077-GSK-TMR-JAR                                Document 14-5                   Filed 05/07/25         Page 21 of 37


                                                Composite & Steel designer
  Waste or                                      style single stream waste         Different container   $409.70
  Recycling     Aristata Select     15 gallon   container w/hinged lid & full types can be combined                   No    Canada (CA)   9403.60.8   n/a
  Container                                     opening. Includes label &           to reach MOQ.
                                                rigid liner. Color: Slate/Glacier                       MOQ: 4
                                                                                                         units
                                                Composite & Steel designer
                                                style two stream waste
  Waste or                                                                        Different container   $615.60
                                                container w/hinged lid. Full
  Recycling     Aristata Select     30 gallon                                   types can be combined                 No    Canada (CA)   9403.60.8   n/a
                                                & recycling openings.
  Container                                                                         to reach MOQ.
                                                Includes labels & rigid liners.                         MOQ: 4
                                                Color: Slate/Glacier                                     units
                                                Composite & Steel designer
                                                style three stream waste
  Waste or                                                                        Different container   $763.72
                                                container w/hinged lid. Full
  Recycling     Aristata Select     45 gallon                                   types can be combined                 No    Canada (CA)   9403.60.8   n/a
                                                & recycling openings.
  Container                                                                         to reach MOQ.
                                                Includes labels & rigid liners.                         MOQ: 4
                                                Color: Slate/Glacier                                     units

                                                Composite & Steel designer
  Waste or                                      style single XL stream waste      Different container   $636.18
  Recycling    Aristata Select XL   28 gallon   container w/hinged lid & full types can be combined                   No    Canada (CA)   9403.60.8   n/a
  Container                                     opening. Includes label &           to reach MOQ.
                                                rigid liner. Color: Slate/Glacier                       MOQ: 4
                                                                                                         units
                                                Composite & Steel designer
                                                style two stream XL waste
  Waste or                                                                        Different container   $819.75
                                                container w/hinged lid. Full
  Recycling    Aristata Select XL   56 gallon                                   types can be combined                 No    Canada (CA)   9403.60.8   n/a
                                                & recycling openings.
  Container                                                                         to reach MOQ.
                                                Includes labels & rigid liners.                         MOQ: 4
                                                Color: Slate/Glacier                                     units
                                                Composite & Steel designer
                                                style three stream XL waste
  Waste or                                                                        Different container $1,040.98
                                                container w/hinged lid. Full
  Recycling    Aristata Select XL   84 gallon                                   types can be combined                 No    Canada (CA)   9403.60.8   n/a
                                                & recycling openings.
  Container                                                                         to reach MOQ.
                                                Includes labels & rigid liners.                        MOQ: 4
                                                Color: Slate                                            units
                                                Composite & Steel designer
                                                style single stream waste
  Waste or                                                                       Different container    $486.30
                                                container w/hinged lid & full
  Recycling    Aristata Premium     15 gallon                                  types can be combined                  No    Canada (CA)   9403.60.8   n/a
                                                opening. Includes label &
  Container                                                                        to reach MOQ.
                                                rigid liner. Color: Mid‐Summer                          MOQ: 25
                                                Flame                                                    units

                                                Composite & Steel designer
                                                style two stream waste
  Waste or                                                                        Different container   $671.25
                                                container w/hinged lid. Full
  Recycling    Aristata Premium     30 gallon                                   types can be combined                 No    Canada (CA)   9403.60.8   n/a
                                                & recycling openings.
  Container                                                                         to reach MOQ.
                                                Includes labels & rigid liners.
                                                Color: Mid‐Summer Flame                                 MOQ: 4
                                                                                                         units

                                                Composite & Steel designer
                                                style three stream waste
  Waste or                                                                        Different container   $832.70
                                                container w/hinged lid. Full
  Recycling    Aristata Premium     45 gallon                                   types can be combined                 No    Canada (CA)   9403.60.8   n/a
                                                & recycling openings.
  Container                                                                         to reach MOQ.
                                                Includes labels & rigid liners.
                                                Color: Mid‐Summer Flame                                 MOQ: 4
                                                                                                         units
                                                Composite & Steel designer
                                                style single stream waste
  Waste or                                                                      Different container     $486.30
                                                container w/hinged lid & full
  Recycling      Aristata Elite     15 gallon                                 types can be combined                   No    Canada (CA)   9403.60.8   n/a
                                                opening. Includes label &
  Container                                                                       to reach MOQ.
                                                                         - Appx279 -
                             Case: 25-1812               Document: 148                  Page: 283              Filed: 07/20/2025
Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
              Case 1:25-cv-00077-GSK-TMR-JAR                                 Document 14-5                Filed 05/07/25        Page 22 of 37

  Container                                                                      to reach MOQ.
                                              rigid liner. Color: Western                             MOQ: 25
                                              Breeze                                                   units

                                              Composite & Steel designer
                                              style two stream waste
  Waste or                                                                      Different container   $671.25
                                              container w/hinged lid. Full
  Recycling      Aristata Elite   30 gallon                                   types can be combined                No    Canada (CA)   9403.60.8      n/a
                                              & recycling openings.
  Container                                                                       to reach MOQ.
                                              Includes labels & rigid liners.
                                              Color: Western Breeze                                   MOQ: 4
                                                                                                       units
                                              Composite & Steel designer
                                              style three stream waste
  Waste or                                                                      Different container   $832.70
                                              container w/hinged lid. Full
  Recycling      Aristata Elite   45 gallon                                   types can be combined                No    Canada (CA)   9403.60.8      n/a
                                              & recycling openings.
  Container                                                                       to reach MOQ.
                                              Includes labels & rigid liners.                         MOQ: 4
                                              Color: Western Breeze                                    units


                                              Powder‐coated Steel single
                                              stream station with front
  Waste or                                                                      Different container $1,401.85
                                              door. Includes label, rigid
  Recycling    Courtside Single   32 gallon                                   types can be combined                Yes   Canada (CA)   9403.20.0   Up to 25%
                                              liner, casters and food tray
  Container                                                                       to reach MOQ.
                                              collection area. Color: grey
                                              with black accents                                      MOQ: 2
                                                                                                       units
                                              Powder‐coated Steel two
                                              stream station with front
  Waste or                                                                      Different container $1,634.80
                                              door. Includes label, rigid
  Recycling    Courtside Double   64 gallon                                   types can be combined                Yes   Canada (CA)   9403.20.0   Up to 25%
                                              liner, casters and food tray
  Container                                                                       to reach MOQ.
                                              collection area. Color: grey                           MOQ: 2
                                              with black accents                                      units

                                              Composite and steel station
                                              for office cafeterias,
  Waste or                                    restaurants, food courts w/   Different container $1,213.76
  Recycling    Sessanta Double    64 gallon   front doors. Two stream.    types can be combined                    No    Canada (CA)   9403.60.8      n/a
  Container                                   Order with sign frame or        to reach MOQ.
                                              tray holder option. Color:
                                              slate body, grey top                               MOQ: 2


                                              Composite and steel station
                                              for office cafeterias,
  Waste or                                    restaurants, food courts w/  Different container $1,269.73
  Recycling     Sessanta Triple   69 gallon   front doors. Three stream. types can be combined                     No    Canada (CA)   9403.60.8      n/a
  Container                                   Order with sign frame or       to reach MOQ.
                                              tray holder option. Color:
                                              slate body, grey top                              MOQ: 2


                                              Powder‐coated steel two
                                              stream recycling & waste
  Waste or                                    station with front doors,       Different container $1,364.30
  Recycling    Summit Double      30 gallon   rigid liners, labels. Flat or types can be combined                  Yes   Canada (CA)   9403.20.0   Up to 25%
  Container                                   sloped top with rectangular       to reach MOQ.
                                              openings. Color: grey body,
                                              silver lid.                                          MOQ: 4
                                                                                                    units

                                              Powder‐coated steel three
                                              stream recycling & waste
  Waste or                                    station with front doors,       Different container $1,677.70
  Recycling     Summit Triple     45 gallon   rigid liners, labels. Flat or types can be combined                  Yes   Canada (CA)   9403.20.0   Up to 25%
  Container                                   sloped top with rectangular       to reach MOQ.
                                              openings. Color: grey body,
                                                                            - Appx280 -
                            Case: 25-1812                   Document: 148                Page: 284            Filed: 07/20/2025

Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
              Case 1:25-cv-00077-GSK-TMR-JAR                                  Document 14-5                Filed 05/07/25       Page 23 of 37

                                                p      g       g y       y,
                                              silver lid.                                             MOQ: 4
                                                                                                       units

                                              Powder‐coated steel two
                                              stream recycling & waste
  Waste or                                    station with front doors,       Different container $1,824.79
  Recycling    Summit Double XL   64 gallon   rigid liners, labels. Flat or types can be combined                  Yes   Canada (CA)   9403.20.0   Up to 25%
  Container                                   sloped top with rectangular       to reach MOQ.
                                              openings. Color: grey body,
                                              silver lid.                                          MOQ: 4
                                                                                                    units

                                              Powder‐coated steel three
                                              stream recycling & waste
  Waste or                                    station with front doors,       Different container $2,361.80
  Recycling    Summit Triple XL   96 gallon   rigid liners, labels. Flat or types can be combined                  Yes   Canada (CA)   9403.20.0   Up to 25%
  Container                                   sloped top with rectangular       to reach MOQ.
                                              openings. Color: grey body,
                                              silver lid.                                          MOQ: 4
                                                                                                    units

                                              Powder‐coated steel two
                                              stream recycling & waste
  Waste or                                    station with hinged lids, rigid Different container  $1,078.30
  Recycling     Mezzo Double      30 gallon   liners, labels. Flat top with  types can be combined                 Yes   Canada (CA)   9403.20.0   Up to 25%
  Container                                   rectangular openings. Color:       to reach MOQ.
                                              white body, black, blue, or
                                              green lids.                                           MOQ: 4
                                                                                                     units

                                              Powder‐coated steel three
                                              stream recycling & waste
  Waste or                                    station with hinged lids, rigid Different container  $1,234.63
  Recycling      Mezzo Triple     45 gallon   liners, labels. Flat top with  types can be combined                 Yes   Canada (CA)   9403.20.0   Up to 25%
  Container                                   rectangular openings. Color:       to reach MOQ.
                                              white body, black, blue, or
                                              green lids.                                           MOQ: 4
                                                                                                     units

                                              Aluminum‐HDPE‐Sintra
                                              single stream waste or
  Waste or                                    recycling container w/four        Different container   $397.76
  Recycling      Mosaic Single    32 gallon   body surfaces that can be       types can be combined                No    Canada (CA)   3926.90.9      n/a
  Container                                   labelled. Includes colored          to reach MOQ.
                                              lid, labels, rigid liner and
                                              stock signs.                                            MOQ: 4
                                                                                                       units

                                              Aluminum‐HDPE‐Sintra two
                                              stream waste or recycling
  Waste or                                    container w/four body          Different container      $754.95
  Recycling     Mosaic Double     32 gallon   surfaces that can be         types can be combined                   No    Canada (CA)   3926.90.9      n/a
  Container                                   labelled. Includes colored       to reach MOQ.
                                              lid, labels, rigid liner and
                                              stock signs.                                            MOQ: 4
                                                                                                       units

                                              Aluminum‐HDPE‐Sintra
                                              three stream waste or
  Waste or                                    recycling container w/four        Different container $ 1,136.88 ‐
  Recycling      Mosaic Triple    32 gallon   body surfaces that can be       types can be combined                No    Canada (CA)   3926.90.9      n/a
  Container                                   labelled. Includes colored          to reach MOQ.
                                              lid, labels, rigid liner and
                                              stock signs.                                            MOQ: 4
                                                                                                       units

                                                                        - Appx281 -
                             Case: 25-1812                 Document: 148                Page: 285               Filed: 07/20/2025


Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
              Case 1:25-cv-00077-GSK-TMR-JAR                               Document 14-5                 Filed 05/07/25                Page 24 of 37



                                                                              Different container
                                              Heavy Duty HD Plastic ‐ color                        $7.49
Hanging Basket                      .75                                     types can be combined
                    BC1500                    green. Stock‐stamped or plain                                        No            Canada (CA) 3926.90.9         n/a
   with Lid                         gallon                                    to meet minimum
                                                 lid. 100% PCR Content
                                                                                     order.       Minimum
                                                                                                  Order: 5


                                                                              Different container
                                              Heavy Duty HD Plastic ‐ color                           $7.49
Hanging Basket                      .75                                     types can be combined
                    BC1500                    black. Stock‐stamped or plain                                        No            Canada (CA) 3926.90.9         n/a
   with Lid                         gallon                                    to meet minimum
                                                  lid 100% PCR Content
                                                                                     order
                                                                                                     Minimum
                                                                                                     Order: 5

Tier 3 Products
                                                                                                                                                           Tariff Rate ‐
                                                                                                                 Eligible for
                                                                                                                                Country of                Percentage of
   Products          Model           Size                 Color               Discount Quantity       Price         Tariff                    HTS Code
                                                                                                                                  Origin                  Sell Price (Not
                                                                                                                 Invoicing?
                                                                                                                                                            to exceed)


                                            HDPE rectangular deskside
                                                                               Different container    $6.05
                 Depends on                 recycling or waste baskets.
   14 Quart                       14 quarts                                  types can be combined                   No         Canada (CA)   3926.90.9        n/a
                 options chosen             Colors: blue, green, grey, black
                                                                                 to reach MOQ.
                                            100% PCR Content                                         MOQ: 10
                                                                                                      units


                                            HDPE rectangular deskside
                                                                               Different container    $7.45
                 Depends on                 recycling or waste baskets.
   28 Quart                       28 quarts                                  types can be combined                   No         Canada (CA)   3926.90.9        n/a
                 options chosen             Colors: blue, green, grey, black
                                                                                 to reach MOQ.
                                            100% PCR Content                                         MOQ: 10
                                                                                                      units


                                            HDPE rectangular deskside
                                                                               Different container    $11.75
                 Depends on                 recycling or waste baskets.
   41 Quart                       41 quarts                                  types can be combined                   No         Canada (CA)   3926.90.9        n/a
                 options chosen             Colors: blue, green, grey, black
                                                                                 to reach MOQ.
                                            100% PCR Content                                         MOQ: 10
                                                                                                      units
                                              HDPE rectangular
                                              desk/countertop container for
                                              collection of small batteries
                                                                               Different container    $15.80
   Battery       Depends on                   for recycling. With hinged lid
                                  2.25 gallon                                types can be combined                   No         Canada (CA)   3926.90.9        n/a
   Recycler      options chosen               that has a hole for battery
                                                                                 to reach MOQ.
                                              deposit and carry handle. Pre‐
                                              stamped. Colors: brown or                              MOQ: 10
                                              natural w/orange.                                       units


                                              HDPE low profile rectangular
                                                                              Different container     $7.24
   Deskside                                   deskside recycling bin. Pre‐
                 BC1001            3 gallon                                 types can be combined                    No         Canada (CA)   3926.90.9        n/a
 Recycling Bin                                stamped. Colors: blue, green,
                                                                                to reach MOQ.
                                              grey                                                   MOQ: 20
                                                                                                      units
                                              HDPE rectangular countertop
                                              container for collection of
                                                                              Different container     $14.30
   Kitchen                                    organics for composting. With
                 KC2000           2.25 gallon                               types can be combined                    No         Canada (CA)   3926.90.9        n/a
  Composter                                   hinged lid and carry handle.
                                                                                to reach MOQ.
                                              Colors: green. 100% PCR                                MOQ: 10
                                              Content                                                 units



                                                                        - Appx282 -
                              Case: 25-1812                 Document: 148                Page: 286               Filed: 07/20/2025


Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
              Case 1:25-cv-00077-GSK-TMR-JAR                                     Document 14-5              Filed 05/07/25        Page 25 of 37



                                               HDPE rectangular countertop
                                               container for collection of
                                                                                  Different container   $16.90
   Kitchen                                     organics for composting. With
                  KC2000VF         2.25 gallon                                  types can be combined                No    Canada (CA)   3926.90.9   n/a
  Composter                                    hinged vented lid, filter cage,
                                                                                    to reach MOQ.
                                               filter and carry handle. Colors:
                                               green. 100% PCR Content                                  MOQ: 10
                                                                                                         units


                                               HDPE basket style stackable
                                                                                 Different container    $12.80
                  Depends on                   recycling bin with handle. Pre‐
 Multi‐Recycler                     6 gallon                                   types can be combined                 No    Canada (CA)   3926.90.9   n/a
                  options chosen               stamped. Colors: blue, red,
                                                                                   to reach MOQ.
                                               green                                                    MOQ: 5
                                                                                                         units



                                               HDPE basket style stackable       Different container    $13.10
Multi‐Recycler ‐ Depends on
                                    6 gallon   recycling bin with handle. Pre‐ types can be combined                 No    Canada (CA)   3926.90.9   n/a
   Yellow        options chosen
                                               stamped. Color: yellow              to reach MOQ.

                                                                                                        MOQ: 5
                                                                                                         units
                                               HDPE Personal Document
                                               Container with locking, slotted
                  Depends on                   lid for desk‐side/under‐desk
      PDC                           9 gallon                                            n/a             $46.81       No    Canada (CA)   3926.90.9   n/a
                  options chosen               collection of confidential
                                               documents for shredding etc.
                                               Color: grey

                                               HDPE Single Unit Mountable
 Rise Recycling Depends on
                                   15 gallon   (No extrusion). Color: grey or           n/a             $82.46       No    Canada (CA)   3926.90.9   n/a
 or Waste Bin options chosen
                                               white


                                               HDPE Single w/wall bracket
 Rise Recycling   Depends on
                                   15 gallon   (extrusion). Color: grey or              n/a             $110.29      No    Canada (CA)   3926.90.9   n/a
 or Waste Bin     options chosen
                                               white


                                               HDPE Double w/wall bracket
 Rise Recycling   Depends on
                                   30 gallon   (extrusion). Color: grey or              n/a             $218.50      No    Canada (CA)   3926.90.9   n/a
 or Waste Bin     options chosen
                                               white


                                               HDPE Triple w/wall bracket
 Rise Recycling   Depends on
                                   45 gallon   (extrusion). Color: grey or              n/a             $318.60      No    Canada (CA)   3926.90.9   n/a
 or Waste Bin     options chosen
                                               white


                                               HDPE Quad w/wall bracket
 Rise Recycling   Depends on
                                   60 gallon   (extrusion). Color: grey or              n/a             $410.50      No    Canada (CA)   3926.90.9   n/a
 or Waste Bin     options chosen
                                               white


                                               HDPE Single w/wall bracket
 Rise Recycling   Depends on
                                   15 gallon   and Sign Extrusions. Color:              n/a             $171.20      No    Canada (CA)   3926.90.9   n/a
 or Waste Bin     options chosen
                                               grey or white


                                               HDPE Double w/wall bracket
 Rise Recycling   Depends on
                                   30 gallon   and Sign Extrusions. Color:              n/a             $277.70      No    Canada (CA)   3926.90.9   n/a
 or Waste Bin     options chosen
                                               grey or white



                                                                             - Appx283 -
                                Case: 25-1812                Document: 148                 Page: 287            Filed: 07/20/2025



Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
                Case 1:25-cv-00077-GSK-TMR-JAR                                   Document 14-5            Filed 05/07/25                Page 26 of 37


                                                HDPE Triple w/wall bracket
 Rise Recycling   Depends on
                                   45 gallon    and Sign Extrusions. Color:             n/a           $394.20         No         Canada (CA)   3926.90.9        n/a
 or Waste Bin     options chosen
                                                grey or white


                                                HDPE Quad w/wall bracket
 Rise Recycling   Depends on
                                   60 gallon    and Sign Extrusions. Color:             n/a           $503.30         No         Canada (CA)   3926.90.9        n/a
 or Waste Bin     options chosen
                                                grey or white


                                              HDPE Waste Watcher XL 30"
Waste Watcher     Depends on
                                   32 gallons Body only. Stock colors: Grey,            n/a           $108.98         No         Canada (CA)   3926.90.9        n/a
     XL           options chosen
                                              Black, Blue, Green


                                              HDPE Waste Watcher XL 24"
Waste Watcher     Depends on
                                   24 gallons Body only. Stock colors: Grey;            n/a           $107.60         No         Canada (CA)   3926.90.9        n/a
     XL           options chosen
                                              MOQ for Black, Blue, Green


                                              HDPE Waste Watcher XL 27"
Waste Watcher     Depends on
                                   28 gallons Body only. Stock colors: Grey;            n/a           $107.60         No         Canada (CA)   3926.90.9        n/a
     XL           options chosen
                                              MOQ for Black, Blue, Green


                                                HDPE diaper pail w/vented lid,
                  Depends on
  Diaper Pail                       7 gallons   filter cage & filter. Color:            n/a            $53.59         No         Canada (CA)   3926.90.9        n/a
                  options chosen
                                                white


                                              HDPE diaper pail w/vented lid,
                  Depends on
  Diaper Pail                      14 gallons filter cage & filter. Color:              n/a            $63.25         No         Canada (CA)   3926.90.9        n/a
                  options chosen
                                              white

                                                HDPE waste or recycling
                                                container with angled lid and
                  Depends on
  Smart Sort                       22 gallon    shaped opening. Color: grey             n/a           $101.44         No         Canada (CA)   3926.90.9        n/a
                  options chosen
                                                body & lid w/black, blue or
                                                green opening
                                                100% Post Consumer Recycled
                                                HDPE Bodies w/ABS brushed Different container        $326.50
                  Depends on
    Outlaw                         50 gallon    pewter look lids ‐ body color types can be combined                   No         Canada (CA)   3926.90.9        n/a
                  options chosen
                                                black or blue. Two opening    to reach MOQ.
                                                style options.                                      MOQ 4 units

Tier 4 Products
                                                                                                                                                            Tariff Rate ‐
                                                                                                                  Eligible for
                                                                                                                                 Country of                Percentage of
   Products           Model           Size                  Color                 Discount Quantity    Price         Tariff                    HTS Code
                                                                                                                                   Origin                  Sell Price (Not
                                                                                                                  Invoicing?
                                                                                                                                                             to exceed)

                                              HD plastic‐ color: grey bodies.
                                    23 gallon
Waste Watcher Quad system 30"                 Includes bodies, standard lids,                         $569.20         No         Canada (CA)   3926.90.9        n/a
                                   per stream
                                                sign frames, signs, lid labels


                                                LDPE round waste or recycling
 Euro Waste or                                  container with integral          Different container $ 760.04 ‐
               Depends on
   Recycling                       36 gallon    caNopy and locking front       types can be combined                  No         Canada (CA)   3926.90.9        n/a
               options chosen
   Container                                    door. Includes rigid liner and     to reach MOQ.
                                                label. Color: greystone                               MOQ: 4
                                                                                                        units




                                                                              - Appx284 -
                               Case: 25-1812                Document: 148                 Page: 288              Filed: 07/20/2025


Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
               Case 1:25-cv-00077-GSK-TMR-JAR                                   Document 14-5               Filed 05/07/25        Page 27 of 37


                                               LDPE square waste and
                                               recycling container with
                                               integral caNopy and locking
  Expression                       Single ‐ 45 front door. Single or two                                $905.02
                                                                                 Different container
   Waste &        Depends on         gallon    stream capacity. Includes
                                                                               types can be combined                 No    Canada (CA)   3926.90.9      n/a
   Recycling      options chosen   Double ‐ 40 opening inserts, rigid liners
                                                                                   to reach MOQ.
  Container                          gallon    and labels. Colors: Greystone.
                                               Stocked or custom body
                                               signage available at additional                          MOQ: 4
                                               cost.                                                     units


                                               LDPE single stream waste or
                                               recycling container w/eight
                                               body surfaces that can be         Different container    $429.60
                  Depends on
 Octo Standard                     32 gallon   labelled. Includes colored lid, types can be combined                 No    Canada (CA)   3926.90.9      n/a
                  options chosen
                                               labels and rigid liner. Colors:     to reach MOQ.
                                               Greystone body with blue,
                                               green or black lid                                       MOQ: 4
                                                                                                         units
                                               LDPE single stream waste or
                                               recycling container w/eight
                                               body surfaces that can be
                                                                                Different container     $500.28
                  Depends on                   labelled. Includes domed lid
 Octo CaNopy                       32 gallon                                  types can be combined                  No    Canada (CA)   3926.90.9      n/a
                  options chosen               with front opening, labels and
                                                                                  to reach MOQ.
                                               rigid liner. Colors: Greystone
                                               body with blue, green or black                           MOQ: 4
                                               trim.                                                     units

                                               Powder‐coated round heavy
                                               duty steel mesh recycling or       Different container $1,311.64
                  Depends on
 Toronto Single                    32 gallon   waste container with rigid       types can be combined                Yes   Canada (CA)   9403.20.0   Up to 25%
                  options chosen
                                               liner. Color: black body, blue       to reach MOQ.
                                               or black liner                                          MOQ: 4
                                                                                                        units

                                               Powder‐coated round heavy
                                               duty steel mesh recycling or     Different container $ 1,429.50 ‐
    Toronto       Depends on
                                   45 gallon   waste container with two rigid types can be combined                  Yes   Canada (CA)   9403.20.0   Up to 25%
    Double        options chosen
                                               liners. Color: black body, blue    to reach MOQ.
                                               and black liners                                       MOQ: 4
                                                                                                        units

                                               Powder‐coated round heavy
                                               duty steel recycling or waste      Different container $1,200.25
                Depends on
Portland Single                    45 gallon   container with rigid liner.      types can be combined                Yes   Canada (CA)   9403.20.0   Up to 25%
                options chosen
                                               Color: silver body, blue or          to reach MOQ.
                                               black lid and liner.                                    MOQ: 4
                                                                                                        units

                                               100% Post Consumer Recycled
                                               HDPE Body, and CaNopy with    Different container  $232.48
                  Depends on
   Renegade                        50 gallon   open sides. Color black or  types can be combined                     No    Canada (CA)   3926.90.9      n/a
                  options chosen
                                               blue. Two opening style         to reach MOQ.
                                               options.                                          MOQ 4 units



                                               HDPE rectangular curbside          Different container   $13.10
Curbside TRUE Depends on
                                   14 gallon   recycling container. Color:      types can be combined                No    Canada (CA)   3926.90.9      n/a
   14 Blue    options chosen
                                               blue                                 to reach MOQ.
                                                                                                        MOQ: 10
                                                                                                         units


                                                                             - Appx285 -
                             Case: 25-1812                 Document: 148                   Page: 289              Filed: 07/20/2025

Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
             Case 1:25-cv-00077-GSK-TMR-JAR                                      Document 14-5               Filed 05/07/25        Page 28 of 37



                                              HDPE rectangular curbside            Different container   $14.88
Curbside TRUE Depends on
                                  18 gallon   recycling container. Color:        types can be combined                No    Canada (CA)   3926.90.9      n/a
   18 Blue    options chosen
                                              blue                                   to reach MOQ.
                                                                                                         MOQ: 10

                                              LDPE rectangular two stream
                                              unit with angled hinged lid,
                                                                                   Different container   $873.50
Super Sorter 2‐ Depends on                    rigid liners, two stamped
                                  64 gallon                                      types can be combined                No    Canada (CA)   3926.90.9      n/a
     in‐1       options chosen                openings of desired
                                                                                     to reach MOQ.
                                              configuration. Color:                                      MOQ: 4
                                              greystone or sandstone                                      units
                                              LDPE rectangular three stream
                                              unit with angled hinged lid,
                                                                              Different container $1,129.30
Super Sorter 3‐ Depends on                    rigid liners, two stamped
                                  96 gallon                                 types can be combined                     No    Canada (CA)   3926.90.9      n/a
     in‐1       options chosen                openings of desired
                                                                                to reach MOQ.
                                              configuration. Color:                                MOQ: 4
                                              greystone or sandstone                                units
                                              LDPE two stream station with
                                              sloped top, front door, rigid
                                                                              Different container $1,348.39
   Uptown      Depends on                     liners, two colored shaped
                                  64 gallon                                 types can be combined                     No    Canada (CA)   3926.90.9      n/a
   Double      options chosen                 openings of desired
                                                                                to reach MOQ.
                                              configuration. Color:                                MOQ: 4
                                              greystone                                             units
                                              LDPE rectangular single or two
                                              stream unit with hinged lid,
Wave Single or Depends on                     rigid liners, one or two
                                  40 gallon                                                              $682.53      No    Canada (CA)   3926.90.9      n/a
  Double       options chosen                 stamped openings of desired
                                              configuration. Color:
                                              greystone

                                              Galvanized steel wire frame
  Wire Event                                  with HD plastic lid. Wire
               Depends on lids                                                                           $341.00/
Container Pack                    32 gallon   frames are stackable for                                                Yes   Canada (CA)   7326.90.8   Up to 25%
               chosen                                                                                      pack
     of 2                                     storage. Two different lid
                                              openings.


                                              Galvanized steel wire frame
  Wire Event                                  with HD plastic lid. Wire
               Depends on lids                                                                           $350.56/
Container Pack                    32 gallon   frames are stackable for                                                Yes   Canada (CA)   7326.90.8   Up to 25%
               chosen                                                                                      pack
     of 5                                     storage. 5 x one type of lid
                                              opening.


                                              HD plastic‐ color: grey bodies.
Waste Watcher Quad system 23"     16 gallon   Includes bodies, standard lids,                            $578.00      No    Canada (CA)   3926.90.9      n/a
                                                sign frames, signs, lid labels


                                              HD plastic‐ color: grey bodies.
Waste Watcher Triple system 30"   23 gallon   Includes bodies, standard lids,            n/a             $426.90      No    Canada (CA)   3926.90.9      n/a
                                                sign frames, signs, lid labels


                                              HD plastic‐ color: grey bodies.
Waste Watcher Triple system 23"   16 gallon   Includes bodies, standard lids,            n/a             $434.10      No    Canada (CA)   3926.90.9      n/a
                                                sign frames, signs, lid labels


                                              HD plastic‐ color: grey bodies.
Waste Watcher Double 30"          23 gallon   Includes bodies, standard lids,            n/a             $284.60      No    Canada (CA)   3926.90.9     n/a
                                                sign frames, signs, lid labels


                                                                            - Appx286 -
                                  Case: 25-1812                   Document: 148                  Page: 290              Filed: 07/20/2025
Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
                 Case 1:25-cv-00077-GSK-TMR-JAR                                        Document 14-5                 Filed 05/07/25                 Page 29 of 37


                                                    HD plastic‐ color: grey bodies.
Waste Watcher Double 23"                16 gallon   Includes bodies, standard lids,           n/a             $289.40           No         Canada (CA)    3926.90.9         n/a
                                                      sign frames, signs, lid labels


                                                    HD plastic‐ color: grey bodies.
Waste Watcher Single 30"                23 gallon   Includes bodies, standard lids,           n/a             $142.30           No         Canada (CA)    3926.90.9         n/a
                                                      sign frames, signs, lid labels


                                                    HD plastic‐ color: grey bodies.
Waste Watcher Single 23"                16 gallon   Includes bodies, standard lids,           n/a             $144.70           No         Canada (CA)    3926.90.9         n/a
                                                      sign frames, signs, lid labels


                                                     HD plastic‐ color: grey, black,                          $19.60
    Billi Box     Single 16"            7 Gallon    green, blue. Includes body, lid,          n/a                               No         Canada (CA)   3926.90.9          n/a
                                                      frame opening insert label
                                                                                                            MOQ 5 units


                                                     HD plastic‐color: grey, black,                         $31.20
    Billi Box                           10 gallon   green, blue. Includes body, lid,          n/a                               No         Canada (CA)   3926.90.9          n/a
                                                    frame opening insert and label
                                                                                                            MOQ 5 units


                                                                                                            Sign Frame
                                                                                                             & Sign for
                                                                                                               Waste
                                                                                                                                                         3926.90.9 &
  Signage Kits    all models            all sizes             all finishes                    n/a            Watcher            No         Canada (CA)                      n/a
                                                                                                                                                          4911.99.6
                                                                                                            35.66 / Billi
                                                                                                            Box Labels
                                                                                                               1.00


Busch Systems Accessories
                                                                                                                                                                        Tariff Rate ‐
                                                                                                                            Eligible for
                                                                                                                                           Country of                  Percentage of
   Products             Model             Size                   Color                  Discount Quantity      Price           Tariff                     HTS Code
                                                                                                                                             Origin                    Sell Price (Not
                                                                                                                            Invoicing?
                                                                                                                                                                         to exceed)
Bag Hooks                n/a              n/a                     n/a                         n/a               n/a             n/a           n/a            n/a            n/a
Doors                    n/a              n/a                     n/a                         n/a               n/a             n/a           n/a            n/a            n/a
Signage Pins             n/a              n/a                     n/a                         n/a               n/a             n/a           n/a            n/a            n/a


                                       depends on
Blank Labels       Billi Box, Evolve                         Single Label                     1/ea             $5.00            No         Canada (CA)    3919.90.9         n/a
                                        selection



                                       depends on
Blank Labels       Waste Watcher                             Single Label                     1/ea             $5.00            No         Canada (CA)    3919.90.9         n/a
                                        selection


                     Toronto or
                                                                                                              $220.11
                   Portland Dome
CaNopy Lid                                                    Single unit                     1/ea                              No         Canada (CA)    3926.90.9         n/a
                    for outdoor                                                                               MOQ: 4
                     containers                                                                                units


Casters                Aristata                             Kit of 4 casters                  1/ea          $130.20 ea.         Yes        Canada (CA)    8716.90.5      Up to 25%



                  Aristata XL Single
Casters            and Two Steam                            Kit of 4 casters                  1/ea          $147.80 ea.         Yes        Canada (CA)    8716.90.5      Up to 25%
                     Containers

                                                                                 - Appx287 -
                                 Case: 25-1812             Document: 148           Page: 291         Filed: 07/20/2025

Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
                Case 1:25-cv-00077-GSK-TMR-JAR                              Document 14-5       Filed 05/07/25        Page 30 of 37



                 Aristata XL Triple
Casters                                               Kit of 4 casters           1/ea       $219.10      Yes   Canada (CA)   8716.90.5   Up to 25%
                 Steam Containers




Caster Kit            Mosaic                          Kit of 4 casters           1/ea       $25.90       No    Canada (CA)   3923.10.0      n/a




                    Spectrum
Casters                                               Kit of 4 casters           1/ea       $48.76       No    Canada (CA)   3923.10.0      n/a
                    containers


Connector Kit
Connects 2
                      Evolve             Grey            Single unit             1/ea       $68.31       No    Canada (CA)   3926.90.9      n/a
Evolve units
together


Connector Kit         Mosaic                             Single Kit              1/ea       $80.40       Yes   Canada (CA)   7326.90.8   Up to 25%




                    Renegade
Connector Kit                                            Single Kit              1/ea        $7.90       No    Canada (CA)   3926.90.9      n/a
                   Connector Kit


Connector Kit
Connects 2
               Waste Watcher             Grey           Single Unit              1/ea       $15.66       No    Canada (CA)   3926.90.9      n/a
Waste Watcher
units together
                  Waste Watcher
                  Single powder
Dollies            coated steel          Grey            Single unit             1/ea       $108.15      Yes   Canada (CA)   8716.90.5   Up to 25%
                   frame with 4
                      wheels
                  Waste Watcher
                  Double powder
Dollies            coated steel          Grey        Single set of two           1/ea       $199.50      Yes   Canada (CA)   8716.90.5   Up to 25%
                   frame with 4
                      wheels


Dollies           Waste Watcher          Grey        Single set of three         1/ea       $284.80      Yes   Canada (CA)   8716.90.5   Up to 25%




Dollies           Waste Watcher          Grey        Single set of four          1/ea       $375.11      Yes   Canada (CA)   8716.90.5   Up to 25%



Extra Bodies
                                      Grey, Black,
30" Body only     Waste Watcher                         Single Unit              1/ea       $75.40       No    Canada (CA)   3926.90.9      n/a
                                      Blue, Green
HDPE 23 gallon


Extra Bodies
                                      Grey, Black,
27" Body only     Waste Watcher                         Single Unit              1/ea       $77.80       No    Canada (CA)   3926.90.9      n/a
                                      Blue, Green
HDPE 20 gallon


Extra Bodies
                                      Grey, Black,
24" Body only     Waste Watcher                         Single Unit              1/ea       $77.80       No    Canada (CA)   3926.90.9      n/a
                                      Blue, Green
HDPE 16 gallon


                                                                           - Appx288 -
                                   Case: 25-1812               Document: 148             Page: 292         Filed: 07/20/2025


Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
                   Case 1:25-cv-00077-GSK-TMR-JAR                                 Document 14-5       Filed 05/07/25        Page 31 of 37



                     Waste Watcher Grey, Black
Extra Lids                                                   Single unit               1/ea       $35.70       No    Canada (CA)    3926.90.9      n/a
                    Standard Lid HDPE Blue, Green



                     Waste Watcher      Grey, Black
Extra Lids                                                   Single unit               1/ea       $47.20       No    Canada (CA)    3926.90.9      n/a
                       Solid Lift       Blue, Green



                     Waste Watcher      Grey, Black
Extra Lids                                                   Single unit               1/ea       $52.90       No    Canada (CA)    3926.90.9      n/a
                      Vented Lift       Blue, Green



                     Waste Watcher      Grey, Black
Extra Lids                                                   Single unit               1/ea       $52.80       No    Canada (CA)   3926.90.9       n/a
                         Swing          Blue, Green



Hard ground         Euro, Expression,
                                                                1 Kit                  1/ea       $11.80       Yes   Canada (CA)    7326.90.8    Up to 25%
mount kit           Galaxy containers




Set of 2 Dolly      Waste Watcher XL       Grey            Single set of 2             1/ea       $204.20      Yes   Canada (CA)    8716.90.5    Up to 25%




Set of 3 Dolly      Waste Watcher XL       Grey            Single set of 3             1/ea       $301.20      Yes   Canada (CA)    8716.90.5    Up to 25%




Set of 4 Dolly      Waste Watcher XL       Grey            Single set of 4             1/ea       $379.80      Yes   Canada (CA)    8716.90.5    Up to 25%




Sign Frame           Aristata‐double       Steel             Single unit               1/ea       $124.20      Yes   Canada (CA)    7326.90.8    Up to 25%




Sign Frame            Aristata‐triple      Steel             Single unit               1/ea       $142.20      Yes   Canada (CA)    7326.90.8    Up to 25%




                                        depends on
Sign Frame                Evolve                       Single, with stock sign         1/ea       $89.02       Yes   Canada (CA)    7326.90.8    Up to 25%
                                         selection



                                        depends on                                                                                 3926.90.9 &
Sign Frames          Waste Watcher                     Single, with stock sign         1/ea       $31.20       No    Canada (CA)                    n/a
                                         selection                                                                                  4911.99.6




Single Dolly        Waste Watcher XL       Grey             Single Unit                1/ea       $112.20      Yes   Canada (CA)    8716.90.5    Up to 25%


Solid Lift Lid –
Full
                                        Grey, Black,
rectangular         Waste Watcher XL                            1 Lid                  1/ea       $57.11       No    Canada (CA)    3926.90.9       n/a
                                        Blue, Green
opening with
lift lid


                                                                                 - Appx289 -
                                 Case: 25-1812                    Document: 148                   Page: 293                Filed: 07/20/2025

Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
               Case 1:25-cv-00077-GSK-TMR-JAR                                        Document 14-5                    Filed 05/07/25                  Page 32 of 37


Standard Lid‐
                                Grey, Black,
multiple       Waste Watcher XL                                   1 Lid                       1/ea                $44.90          No         Canada (CA)    3926.90.9         n/a
                                Blue, Green
opening styles


                 Billi Box, Evolve, depends on
Stock Labels                                                  Single Label                    1/ea                $1.00           No         Canada (CA)    3919.90.9         n/a
                 Waste Watcher       selection



                                        depends on
Stock Labels     Waste Watcher                                Single Label                    1/ea                $1.00           No         Canada (CA)    3919.90.9         n/a
                                         selection

Vented Lift Lid‐
HDPE. Full
rectangular                       Grey, Black,
                 Waste Watcher XL                                 1 Lid                       1/ea                $68.08          No         Canada (CA)    3926.90.9         n/a
opening with                      Blue, Green
vented lift led
and filter

                                        depends on
Wheels               Evolve                                   Pack of four                    1/ea                $25.90          No         Canada (CA)    3923.10.0         n/a
                                         selection


                                                                                                                 Included
                    Renegade
                                                                                                                   with
Lid Tether       Outdoor CaNopy                                Single Kit                     1/ea                                n/a        Canada (CA)      n/a             n/a
                                                                                                                purchase of
                     Tether
                                                                                                                    bin


Body Sign                                                                                                         To be
                     Mosaic                               Custom single sign                  1/ea                                No         Canada (CA)    3926.90.9         n/a
Narrow                                                                                                           Quoted



                                                                                                                  To be
Body Sign Wide       Mosaic                               Custom single sign                  1/ea                                No         Canada (CA)    3926.90.9         n/a
                                                                                                                 Quoted


Busch Systems Services
                                                                                                                                                                          Tariff Rate ‐
                                                                                                                              Eligible for
                                                                                                                                             Country of                  Percentage of
 Service Item           Count (each)                                      Discount Quantity                        Price         Tariff                     HTS Code
                                                                                                                                               Origin                    Sell Price (Not
                                                                                                                              Invoicing?
                                                                                                                                                                           to exceed)

                                                     Project, standardization, or order‐specific discounts at
Customized                                                                                                         To be
                              1 label                  $5,000 and $10,000 etc. may be available. Please                           No         Canada (CA)    3919.90.9         n/a
Labels                                                                                                            quoted
                                                                    contact your Busch rep.


                                                     Project, standardization, or order‐specific discounts at
Additional                                                                                                         To be                                   3926.90.9 &
                              1 sign                   $5,000 and $10,000 etc. may be available. Please                           No                                          n/a
Signage                                                                                                           quoted                                    4911.99.6
                                                                    contact your Busch rep.


                                                     Project, standardization, or order‐specific discounts at
Customized                                                                                                         To be                                   3926.90.9 &
                              1 sign                   $5,000 and $10,000 etc. may be available. Please                           No                                          n/a
Signs                                                                                                             quoted                                    4911.99.6
                                                                    contact your Busch rep.


Custom                                               Project, standardization, or order‐specific discounts at
                                                                                                                   To be
Stamping per               1 plate                     $5,000 and $10,000 etc. may be available. Please                           n/a           n/a           n/a             n/a
                                                                                                                  quoted
plate                                                               contact your Busch rep.


Custom                                               Project, standardization, or order‐specific discounts at
                                                                                                                  Up to
Stamping per             1 stamp fee                   $5,000 and $10,000 etc. may be available. Please                           n/a           n/a           n/a             n/a
                                                                                                                 $350.00
side                                                                contact your Busch rep.

                                                                                   - Appx290 -
                        Case: 25-1812            Document: 148                   Page: 294               Filed: 07/20/2025




Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
              Case 1:25-cv-00077-GSK-TMR-JAR                        Document 14-5                  Filed 05/07/25           Page 33 of 37


                                     Project, standardization, or order‐specific discounts at
                                                                                                 To be
Custom Colors       Per project        $5,000 and $10,000 etc. may be available. Please                      n/a      n/a         n/a       n/a
                                                                                                quoted
                                                    contact your Busch rep.
                                     Project, standardization, or order‐specific discounts at
                                                                                                 To be
Extra holes        Per container       $5,000 and $10,000 etc. may be available. Please                      n/a      n/a         n/a       n/a
                                                                                                quoted
                                                    contact your Busch rep.
                                     Project, standardization, or order‐specific discounts at
Label                                                                                            To be
                   Per container       $5,000 and $10,000 etc. may be available. Please                      n/a      n/a         n/a       n/a
Application                                                                                     quoted
                                                    contact your Busch rep.




                                                                - Appx291 -
                          Case: 25-1812          Document: 148          Page: 295         Filed: 07/20/2025
Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
           Case 1:25-cv-00077-GSK-TMR-JAR                    Document 14-5             Filed 05/07/25          Page 34 of 37


                                                 Amendment No. 3 – Exhibit D: Pricing

        1. Contract Pricing.

             1.1        In General. Prices listed take into consideration all inherent costs of providing the requested goods and
                   services. The Contractor agrees to pay any and all fees, including, but not limited to: duties, custom fees,
                   permits, brokerage fees, licenses and registrations, government taxes, overhead, profit, parking permits,
                   proper disposal of materials, insurance payments. The State will not pay any additional charges beyond the
                   price(s) listed, unless otherwise provided for by law or expressly allowed by the Contract. Prices listed within
                   Exhibit D are maximum prices. These maximum prices shall remain firm for the initial term of the Contract.
                   The Price List may not include any additional terms or conditions. A unit price and a total for the quantity
                   must be stated for each item quoted. Prices must be quoted in United States currency. Any increase to
                   Contract pricing requires a duly executed amendment to this Contract. Contractor may provide lower pricing
                   at its discretion without requiring a duly executed amendment to the Contract.

                   1.2 Tariffs.

                       1.2.1. Applicability. When an imported contracted product value is above $800 or the current posted De
                       Minimis value on the U.S. Customs and Border Protection website on any one shipment, the Contractor
                       may quote the applicable tariff for those products identified under the current Price Schedule as a
                       separate line item. If the quote does not include the tariff, the tariff shall not be invoiced.

                       1.2.2. Tariff Rate. The amount invoiced for the tariff shall be less than or equal to the amount paid to
                       U.S. Customs and Border Protection for the products purchased based on Country of Origin and
                       applicable HTS Code. The amount of the tariff passed onto the ordering entity shall not exceed 25% of
                       the Amendment No. 3 – Attachment A: Price Schedule. Shipping & handling costs must be removed
                       when applying the cost of the Tariff. An itemized statement must be provided upon request of the state
                       showing the product cost, shipping and handling, and the calculation of any applicable tariff including
                       the Tariff Rate applied.

                       1.2.3. Potential Tariff Increases. In the event tariff rates increase beyond the “not to exceed” limit
                       defined herein for a period of more than 30 calendar days, the Contractor may request the State’s
                       contract manager to review proposed price increases caused by increasing or additional imposed tariffs
                       with third-party supporting documentation. Additional price increases are not authorized without a
                       mutually agreed upon and duly executed amendment.

                              1.2.3.1 Harmonized Tariff Schedule (HTS) Codes. The Contractor must provide third-party
                             documentation in the form of a supplier letter, invoice, bill of lading or other state approved
                             document to verify imposed tariffs passed onto the Contractor. Applicable HTS Codes must be
                             noted for the state to verify any documentation presented.

    Price Schedule(s).
    The following price schedule(s) are hereby attached and incorporated into this Exhibit D as follows:

        2.1 Exhibit D Price Schedule


    3. Prompt Payment Terms.
    Contractor’s payment terms are Net 30.
    Contract Amendment 29 (Rev. 11.17.2022)                         Amendment No. 3 to Contract No. 211305, Release No. W-212(5)


                                                           - Appx292 -
                         Case: 25-1812        Document: 148          Page: 296         Filed: 07/20/2025
Docusign Envelope ID: 9EA4DA03-0973-4489-AD7D-DFD14B542B8C
           Case 1:25-cv-00077-GSK-TMR-JAR                    Document 14-5          Filed 05/07/25          Page 35 of 37

    4. Label Services. Price of container and sorting stations must include label services as specified in Exhibit C:
    Specifications, duties, and scope of work.

    5. Delivery. Contractor must deliver the ordered goods 15 calendar days after receipt of order (ARO) or an alternate
    calendar date as specified in Exhibit C: Specifications, Duties and Scope of Work 6.1.

    6. Transportation.
    All prices must be FOB Destination, prepaid and allowed (with freight included in the price), to the ordering entity’s
    receiving dock or warehouse, or as otherwise instructed on the purchase order by the ordering entity. In those
    situations, in which the “deliver-to” address has no receiving dock or agents, the Contractor must be able to deliver to
    the person specified on the purchase order.

    7. Taxes.
    Do not add sales tax to the prices being offered. State Agencies hold a Direct Payment Authorization Letter which is used
    to pay applicable taxes directly to the Department of Revenue. Contractors may go to http://www.revenue.state.mn.us
    to learn about the applicable sales tax (search “Fact Sheet 142”).




    Contract Amendment 29 (Rev. 11.17.2022)                      Amendment No. 3 to Contract No. 211305, Release No. W-212(5)


                                                         - Appx293 -
                             Case: 25-1812              Document: 148           Page: 297           Filed: 07/20/2025

Docusign Envelope ID: 09428691-F0C1-43E9-BDDE-3A4903B78714
             Case 1:25-cv-00077-GSK-TMR-JAR                           Document 14-5             Filed 05/07/25             Page 36 of 37

                                AMENDMENT NO. 7 TO CONTRACT NO. 218090, RELEASE NO. P-949(5)

    THIS AMENDMENT is by and between the State of Minnesota, acting through its Commissioner of Administration
    (“State”), and St. Croix Recreation Fun Playgrounds, Inc., 1826 Tower Drive W, Stillwater, MN 55082 (“Contractor”).

    WHEREAS, the State has a Contract with the Contractor identified as Contract No. 218090, October 1, 2022, through
    September 30, 2025 (“Contract”), to provide park and playground equipment and installation; and

    WHEREAS, Minn. Stat. § 16C.03, subd. 5, affords the Commissioner of Administration, or delegate pursuant to Minn.
    Stat. § 16C.03, subd. 16, the authority to amend contracts; and

    WHEREAS, the terms of the Contract allow the State to amend the Contract as specified herein, upon the mutual
    agreement of the Office of State Procurement and the Contractor in a fully executed amendment to the Contract.

    NOW, THEREFORE, it is agreed by the parties to amend the Contract as follows:

     1. That Contract No. 218090 is revised to allow, at maximum, a 9% tariff surcharge pass-through markup for National
        Recreation Systems 2025 pricing. The Contractor must identify the applicable tariff surcharge for National Recreation
        Systems products as a separate line item on both the quote and invoice. In addition, the Contractor must submit third
        party documentation from National Recreation Systems in writing to the ordering entity. The Contractor must
        document a clear correlation between the surcharge amount and the third party documentation.
           If the tariff surcharge is lessened or removed at any time, the Contractor must contact the State’s Authorized
           Representative or delegate, and the ordering entity in writing, and the tariff surcharge is to be removed immediately
           from any applicable pending or future orders for National Recreation Systems products.
     2. All other prices, terms, and conditions remain the same.

    This Amendment is effective upon the date that the final required signatures are obtained, and shall remain in effect
    through contract expiration, or until the Contract is canceled, whichever occurs first.
    Except as herein amended, the provisions of the Contract between the parties hereto are expressly reaffirmed and remain
    in full force and effect.

  IN WITNESS WHEREOF, the parties have caused this Amendment to be duly executed intending to be bound thereby.

  1. ST. CROIX RECREATION FUN                                             2. OFFICE OF STATE PROCUREMENT
     PLAYGROUNDS, INC.                                                          In accordance with Minn. Stat. § 16C.03, subd. 3.
        The Contractor certifies that the appropriate person(s) have
        executed this Amendment on behalf of the Contractor as required   By:
        by applicable articles, bylaws, resolutions, or ordinances.

  By:                                                                     Title: Buyer III
            Signature
                                                                                    4/3/2025
            Christopher W Johnsen                                         Date:
            Printed Name

  Title: President                                                        3. COMMISSIONER OF ADMINISTRATION
                                                                                Or delegated representative.
  Date: 1/April/2025
                                                                          By:
  By:                                                                               4/3/2025
            Signature                                                     Date:
            Printed Name

  Title:

  Date:



                                                                    - Appx294 -
              Case: 25-1812               Document: 148               Page: 298           Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                          Document 14-5                Filed 05/07/25             Page 37 of 37


  From:               Jannett, Luke (ADM)
  To:                 Doran, Andy (ADM)
  Subject:            FW: HPE QUOTES - U.S. TARIFF PRICE INCREASES
  Date:               Tuesday, April 29, 2025 1:33:00 PM
  Attachments:        image006.png
  Importance:         High




  From: Jessica Fredrickson <jess.fredrickson@highpointnetworks.com>
  Sent: Wednesday, March 12, 2025 12:45:30 PM
  To: Jaeger, Brent (MNIT) <brent.jaeger@state.mn.us>
  Subject: HPE QUOTES - U.S. TARIFF PRICE INCREASES


     This message may be from an external email source.
     Do not select links or open attachments unless verified. Report all suspicious emails to Minnesota IT Services Security
     Operations Center.




  Hi Brent; I know we have several quotes out there, so wanted you to be aware of this!

  Effective today, HPE has implemented a price increase due to the impact of U.S. tariffs.
  HPE is going through all ‘active’ quotes right now updating the pricing to reflect this
  increase. Their plan is to update them all by Friday 3/14.

  If we order after they touch the quote, there will be an increase. I have no idea by how
  much.
  They are going through these as I type, so when they will touch yours is unknown. [VERY
  hard to plan, I know]

  If you are ready to order it would be in our best interest to get this in today, if possible, to
  avoid any price increases.

  The situation is fluid, so I will keep you posted as I learn more!
  Let me know your thoughts.

  Thank you! -Jess


  Jessica Fredrickson
  Account Manager, High Point Networks
  p: 952-715-3491
  e: jess.fredrickson@highpointnetworks.com
  w: www.highpointnetworks.com


                                                       - Appx295 -
         Case: 25-1812          Document: 148      Page: 299    Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR          Document 14-6      Filed 05/07/25   Page 1 of 75



                IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


    THE STATE OF OREGON, THE STATE OF              Case No. 1:25-cv-00077-GSK-TMR-JAR
    ARIZONA, THE STATE OF COLORADO,
    THE STATE OF CONNECTICUT, THE                  DECLARATION OF ROBERT JAROS
    STATE OF DELAWARE, THE STATE OF
    ILLINOIS, THE STATE OF MAINE, THE
    STATE OF MINNESOTA, THE STATE OF
    NEVADA, THE STATE OF NEW MEXICO,
    THE STATE OF NEW YORK, and THE
    STATE OF VERMONT,

                  Plaintiffs,

           v.

    DONALD J. TRUMP, in his capacity as
    President of the United States;
    DEPARTMENT OF HOMELAND
    SECURITY; KRISTI NOEM, in her official
    capacity as Secretary of the Department of
    Homeland Security; UNITED STATES
    CUSTOMS AND BORDER PROTECTION;
    PETER R. FLORES, in his official capacity as
    Acting Commissioner for U.S. Customs and
    Border Protection; and THE UNITED
    STATES,

                  Defendants.




Page 1 - DECLARATION OF ROBERT JAROS – Oregon, et al. v. Trump, et al.




                                       - Appx296 -
                Case: 25-1812      Document: 148        Page: 300      Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-6        Filed 05/07/25        Page 2 of 75




I, Robert Jaros, declare as follows:

        1.       I am over the age of 18, competent to testify as to the matters herein, and testify

based on personal knowledge, records kept in the ordinary course of business at the Office of the

State Controller (OSC) for the State of Colorado, and information I learned from OSC personnel

whose work I rely upon and who have assisted me in gathering this information from our

institutions.

        2.       I am employed by the State of Colorado as the Colorado State Controller. The OSC

is a state government office, housed within the Department of Personnel & Administration and

responsible for managing the finances and financial affairs of the State of Colorado.

        3.       My duties as State Controller include coordinating all procedures for financial

administration and financial controls, including establishing accounting forms, records, and

procedures for all state agencies, as well as other duties and functions established in C.R.S. § 24-

30-201 et seq.

        4.       In my capacity as Controller, I am responsible for overseeing the following units

within the Office of State Controller: Reporting and Analysis, Internal Audit, Central Payroll,

Central Accounting, Colorado Operations Resource Engine (CORE) Operations, Purchasing and

Contracts, Grants, and Risk Management. I lead a staff of 106 OSC employees, who perform duties

that include preparing all State financial reports, paying employees, paying contractors, running

the State’s financial, budgeting and payroll systems, approving price agreements and contracts,

developing policies and procedures and providing statewide oversight for financial reporting,

procurement, payroll, vendor management, grants administration , and risk management.

        5.       In recent months, one of my responsibilities has become the monitoring, reporting,

and budget adjustments for contracts procured across the state at its agencies, higher education

                                             - Appx297 -
             Case: 25-1812         Document: 148        Page: 301      Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-6         Filed 05/07/25       Page 3 of 75




institutions, and other State entities that have been impacted by tariffs imposed by the current

Presidential administration.

A. Institutes of Higher Education

       6.      Multiple institutions of higher education around the state have reported that their

purchasing and procurement departments are in the process of addressing change orders and

price increases related to bids and ongoing contracts. In order to monitor the rapidly changing

nature of these developments, institutions including the University of Colorado, Colorado State

University, and the Colorado School of Mines are monitoring and tracking the budgetary impact

of tariffs in instances where the vendor or merchant identifies tariff-specific changes to costs or

expenses. Doing so requires special analysis given that, despite the significant impact across

institution budgets, contracts and associated communications related to tariffs must be analyzed

and negotiated on a near contract-by-contract and vendor-by-vendor basis.

       7.      In the case of Colorado State University, several equipment contracts have

already been impacted. In the regular course of its operations, Colorado State University (CSU)

routinely purchases many goods that originate from sources outside the United States. These

goods include specialized equipment for scientific work that must meet particular specifications

and standards for the research group. Such equipment is often available only from a few sources,

all of which are foreign, and often requires an order date several months in advance of delivery.

       8.      For example, on January 15, 2025, CSU purchased high power diode laser

components from Coherent NA, Inc (Coherent) for its Advanced Beam Laboratory. According to

the documentation and my understanding, Coherent is based in the United States, but the product

at issue originates from Germany. Following the enactment of the tariffs, the vendor notified

CSU that it will only process the order if CSU agrees to pay the tariffs in effect at the time of

                                            - Appx298 -
             Case: 25-1812        Document: 148         Page: 302      Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-6         Filed 05/07/25       Page 4 of 75




import. In doing so, the vendor cited the shifting nature of the tariffs (then between 10% and

20%, depending on the day), and stated: “This is not something that we [Coherent] have any

control over. This is not something that we can absorb, that charge has to be passed on to the

customer.” The fact that vendors, much less the State, are unable to even determine what tariffs

will be in effect in the immediate future underscores the degree of uncertainty imposed on State

procurement efforts as a result of the new, ever-shifting tariff regime.

       9.       Appended as Attachment 1 is a true copy of email correspondence between CSU

and Coherent.

       10.      Similarly, CSU is attempting to purchase a Hafnium sputtering target used for

coating optics from a Chinese company, Changsha Advanced Engineering Materials, LTD

(Changsha). The initial quote for the equipment was for $36,564. However, the vendor informed

CSU on April 16 and 17, 2025 that it will only process the order once CSU agrees to pay the

tariffs in effect at the time of the import, which the vendor estimated at that time “could be as

high as 245%.” If imposed at that rate, CSU’s cost for this equipment would increase by

$43,717.

       11.      Appended as Attachment 2 is a true copy of email correspondence between CSU

and Changsha and the initial quote.

       12.      As another example, CSU is attempting to purchase electric switchgear equipment

from Canadian company Myers Powers Products Inc (Myers). This equipment plays a crucial

role in distributing electricity from a source to various loads across campus and is worth over

$1.5 million according to a proposal provided on April 11, 2025. The vendor estimated a lead

time for the equipment of as much as 76 weeks, and could not estimate possible tariffs at that

point in time. As a result, CSU was forced to agree when signing the contract in late April 2025

                                            - Appx299 -
             Case: 25-1812        Document: 148        Page: 303      Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-6        Filed 05/07/25       Page 5 of 75




to an open encumbrance without limit for this order due to the critical nature of the purchase

(reflected in the escalation clause). This uncertainty has already complicated CSU’s budgeting

process and will continue to do so until delivery.

       13.     Appended as Exhibit 3 is a true copy of purchase order, proposal, and execution

documentation related to this project.

       14.     The President’s tariffs accordingly impose financial harm to Colorado State

University by increasing the cost of procurement.

B. Department of Personnel & Administration (DPA)

       15.     The Department of Personnel & Administration (DPA) provides a range of

services to state government agencies to enable these entities to focus their resources on

delivering quality services to Coloradans. DPA collaborates with employees, agencies, vendors,

and Coloradans to develop innovative, cost-effective solutions that further the State's ability to

conduct its business. In the regular course of its procurement operations, DPA routinely

purchases many goods that originate from outside the United States.

       16.     In addition to standard procurement contracts, DPA also utilizes State Price

Agreements, which are contracts for goods and services that are commonly purchased by

multiple state agencies and/or local governments. State Price Agreements allow for streamlined

procurement of common items by satisfying requirements of the Colorado Procurement Code

without requiring additional solicitation.

       17.     Among other examples, DPA uses State Price Agreements to procure office

supplies for State agencies. Under this arrangement, the State has a contract with ODP Business

Solutions, and individual agencies spend their own budget against the contract as needed to

procure a wide range of items subject to the State Price Agreement.

                                             - Appx300 -
              Case: 25-1812         Document: 148       Page: 304       Filed: 07/20/2025



Case 1:25-cv-00077-GSK-TMR-JAR                 Document 14-6       Filed 05/07/25       Page 6 of 75




        18.     On February 26, 2025, ODP Business Solutions informed DPA that in response to

the newly announced tariffs imposed on China, it would be “implementing a price adjustment on

those products sourced from China.” It further explained that “all price adjustments for affected

products will be calculated based on the tariff’s specific impact on each product’s customer

selling price” and attached a list of the “impacted core list SKUs” for the office supplies State

Price Agreement.

        19.     This list specified price increases caused by the tariffs for over 7800 items subject

to the State Price Agreement. Several examples include: a 48x36 glass dry erase board, formerly

priced at $225.42, increased to $247.96 (a 10% increase); a high back mesh chair, formerly

priced at $342.08, increased to $376.29; (also a 10% increase); and black printer toner, formerly

priced at $166.47, increased to $183.12 (also a 10% increase).

        20.     Although the final cost of these increases remains to be determined given the

open-ended nature of procurements made via State Price Agreements, DPA Procurement

Officials believe that these new prices caused by the tariffs will increase the cost of this contract

by $350,000–$400,000 over the remaining two years of the State Price Agreement. These costs

will only rise if tariffs are further increased.

        21.     Appended as Attachment 4 is a true copy of correspondence from ODP Business

Solutions notifying DPA of the price increases caused by the tariffs.

        22.     The State Price Agreement for office supplies purchases is just one of many such

agreements that will be impacted by the tariffs. DPA has already received indication that other

Price Agreements will also be subjected to price increases, including ones in place for the

procurement of body armor. Body armor is of course mission-essential to the safety of law


                                               - Appx301 -
              Case: 25-1812        Document: 148         Page: 305       Filed: 07/20/2025




Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-6         Filed 05/07/25        Page 7 of 75




enforcement officers across Colorado, and the State puts the utmost importance on ensuring that

it has a ready supply of this equipment.

        23.     The President’s tariffs accordingly impose a financial harm to DPA—and the

State—by increasing the cost of procurement.

C. History Colorado State Historical Fund Restoration Project

        24.     The History Colorado State Historical Fund awards grants for significant

buildings, structures, objects, districts, or archaeology sites, or for preservation of historic

resources in Colorado. Among other things, these grants fund historic restoration projects, which

regularly require the purchase of goods that originate from outside the United States.

        25.     For example, the History Colorado State Historical Fund awarded a grant to an

entity who engaged a contractor to perform restoration repairs at a historic house of worship in

southeastern Colorado that is designated as a location of social importance to the community by

History Colorado and included on the National Register of Historic Places. Summit Sealants and

Restoration was contracted to complete a restoration and to install protective glazing on the

church’s historical stained glass windows. This project required the use of lead came, which is

used to fabricate stained glass. The project was originally slated to cost $181,915.

        26.     Six months after submitting its original bid, Summit Sealants and Restoration

informed the grantee who informed History Colorado that its lead came vendor was impacted by

the recently imposed tariffs. The vendor did not provide further information on the country of

origin for the product at issue. As a result of this tariff being imposed on the project’s vendors,

the price of the bid increased by $3,700.




                                             - Appx302 -
             Case: 25-1812         Document: 148        Page: 306       Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-6        Filed 05/07/25       Page 8 of 75




       27.     Appended as Attachment 5 is a true copy of the Change Order submitted by

Summit Sealants and Restoration Services to History Colorado detailing the price increase

caused by the tariffs.

       28.     The President’s tariffs accordingly impose a financial harm to History Colorado

by increasing the cost of essential services and construction.

D. Department of Local Affairs–Fort Lyon Supportive Residential Community Roof
Repair Project

       29.     Colorado’s Department of Local Affairs (DOLA) serves as the primary interface

between the State and local communities. Among DOLA’s myriad functions, it provides funding

for the Fort Lyon Supportive Residential Community, which provides recovery-oriented

transition for homeless individuals at a repurposed correctional facility. In addition to funding

the services provided at the facility, DOLA funds the maintenance and facilities management

required to ensure that it can continue providing essential support to vulnerable populations.

       30.     For example, DOLA recently awarded a bid to repair roofing at the Fort Lyon

Supportive Residential Community following a severe hail damage event.

       31.     The contractor, 7 Summit Exteriors, was engaged to install metal roofing, shingle

roofing, and to replace broken tiles. Their bid needed approval by the insurance carrier prior to

contracting. Between the bid award and the contract approval, DOLA received correspondence

declaring an increase on roofing materials.

       32.     In each of the instances described above, vendors were express and transparent in

naming the recently-enacted tariffs as the cause of the price increase passed on to the State.

However, in other instances, it has been my experience that vendors offer more vague language

referring to recent market volatility to justify the price increase. In some instances, the location

of the vendors or the source material indicated what country’s tariffs would apply. In others, the

                                              - Appx303 -
             Case: 25-1812         Document: 148        Page: 307       Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-6         Filed 05/07/25       Page 9 of 75




vendors were less forthcoming with those details. All of this further complicates vendor

negotiations and detracts from officers’ procurement efforts because they must follow up with

these vendors to obtain more specific information about the increases.

       33.     For example, returning to the DOLA roofing contract, after the winning bid had

been selected, 7 Summits Exteriors notified DOLA that it was submitting “revised price

estimates due to April 1st, 2025 supplier increases.” Two of 7 Summits Exteriors’ suppliers

increased their prices, citing general market factors. ABC Supply Co. Inc. explained that

“extreme volatility in the market” required it to apply a 10% price increase to all existing orders,

and warned that “we could see up to 25% increases in the next few months.” Similarly, Viking

Metals increased the price of its panels by 9-25%, and explained that its trims, fasteners,

secondary framing, and accessories “may be increased accordingly,” citing “significant

volatility” in both global and domestic raw materials markets and “price increases from all of our

major suppliers of steel, paint, and coatings.” As a result of these supplier price increases, 7

Summits Exteriors’ revised bid for the roofing project increased by over $110,000.

       34.     Appended as Attachment 6 is a true copy of the revised bid from 7 Summits

Exteriors, along with correspondence from its suppliers explaining the price increases.

E. The President’s constantly shifting tariff policy impairs OSC’s ability to accurately
budget for its yearly costs

       35.     To ensure responsible financial planning, the Colorado General Assembly sets a

budget every year for the next fiscal year. Setting a reliable budget is an important aspect of

protecting the public funds.

       36.     The OSC books (meaning enters) the budget approved by the General Assembly

in the State’s financial system for each agency and institution of higher education. The budget

includes line item detail for each funding source.

                                             - Appx304 -
              Case: 25-1812        Document: 148        Page: 308       Filed: 07/20/2025



Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-6          Filed 05/07/25      Page 10 of 75




        37.     The President’s repeated imposition, modification, suspension, and threatening of

 various tariffs has created substantial uncertainty regarding the expected cost of a wide range of

 goods and services.

        38.     Small cost fluctuations alone create budgeting challenges. For example, the

 Colorado State budget for fiscal year 2025-26 is $44 billion. An unexpected 5 to 10 percent

 increase in costs will result in over-expenditures of $2 million to $4 million, requiring action by

 agencies, the OSC, and the General Assembly. The State of Colorado Constitution requires that

 the State have a balanced budget, so agencies must cut costs to remain within their budget. The

 individual line item budgets will need to be constantly revised as tariffs change. As a result, the

 budget will no longer be a reliable financial and internal control.

        39.     Agencies and institutions of higher education will need to amend their agreements

 with their contractors and subrecipients. This will cause increased workload and challenge in

 monitoring grants and contracts with different price levels. These challenges will persist for

 planned and future projects, should circumstances persist.

        40.     Tariffs result in higher prices of goods and services resulting in a slowdown in

 economic growth. Reduced economic activity will result in reduced income tax and sales tax

 revenue. To maintain a balanced budget, the State will need to cut expenses to compensate for

 the decline in State revenue. These reductions will drive additional workload and reduced

 reliability on the budget as well as negatively impact the services the State is able to provide

 residents.

        41.     I am confident that I could provide upon request additional examples of increased

 financial and time burdens imposed on the state of Colorado as a result of the tariffs’ increases to


                                             - Appx305 -
              Case: 25-1812        Document: 148         Page: 309      Filed: 07/20/2025




Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-6         Filed 05/07/25             Page 11 of 75




 the costs of products purchased by the State, its agencies, and its higher education institutions to

 provide public services to the State’s residents and visitors.

        42.     Due to the scope of tariffs, the administrative cost of reviewing each transaction

 to determine what portion was tariffed and what tariffs apply, the State’s time and cost of

 negotiating a reasonable reimbursement with the vendor would be substantial.

        43.     The President’s use of emergency powers to repeatedly impose and change tariffs

 harms the ability of State agencies and institutions of higher education to accurately plan their

 budgets for the upcoming fiscal year.

        I declare under penalty of perjury under the laws of the United States that, to the

 best of my knowledge, the foregoing is true and correct.

        Executed on May 6, 2025, at Denver, Colorado.

                                                                        Digitally signed by Robert Jaros
                                                Robert Jaros            Date: 2025.05.06 12:42:33
                                                _____________________________________
                                                                        -06'00'

                                                Robert Jaros, State Controller, State of Colorado




                                             - Appx306 -
         Case: 25-1812   Document: 148   Page: 310   Filed: 07/20/2025




Case 1:25-cv-00077-GSK-TMR-JAR   Document 14-6   Filed 05/07/25    Page 12 of 75




                         Attachment 1




                                 - Appx307 -
         Case: 25-1812         Document: 148          Page: 311       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-6         Filed 05/07/25         Page 13 of 75


      Phone: 970 491 7751




           On Apr 14, 2025, at 9:53 AM, Stuart,Jeb
           <Jeb.Stuart@colostate.edu> wrote:

           Thanks Aaron,

           CSU is reviewing internally and I will follow up as soon as possible.

           Jeb Stuart
           Scientific Sourcing Specialist
           Colorado State University
           | P: (970) 491-6194 |
           ***Please join our informational sessions on Doing Business with
           CSU. Sessions held monthly***
           <image001.png>

           From: Aaron Johnson <Aaron.Johnson@coherent.com>
           Sent: Friday, April 11, 2025 11:58 AM
           To: Stuart,Jeb <Jeb.Stuart@colostate.edu>; Douglas Jahn
           <Douglas.Jahn@coherent.com>
           Cc: Bullis,Ryan <Ryan.Bullis@colostate.edu>; Yost,Dylan
           <Dylan.Yost@colostate.edu>; Loeser,Krysta
           <Krysta.Loeser@colostate.edu>
           Subject: RE: Purchase Order 937172 Colorado State University Quote
           COHR-335604-1

           ** Caution: EXTERNAL Sender **
           Hi Jeb,

           Thanks for getting back to me. I do have one correction, as things are
           becoming more clear (again, it didn’t really matter to anyone where
           the product was made until this week). This product actually
           originates from Germany, which could potentially have a different
           tariff rate than either Thailand or Singapore.

           Unfortunately I cannot quote a fixed dollar amount or guarantee a
           maximum tariff rate, since this is entirely out of our control. With the
           constant changes by the US government over the past week there is a
           lot of uncertainty on what will happen in 16 weeks when this product
           is ready to ship. It could be 10% like it is today, it could be 20% like it
           was on Monday (EU had a reciprocal tariff of 20% until the 90 day
                                            - Appx308 -
         Case: 25-1812                       Document: 148              Page: 312   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                   Document 14-6   Filed 05/07/25   Page 14 of 75


           pause earlier this week) or it could (hopefully) go away completely by
           then. This is not something that we have any control over. This is not
           something that we can absorb, that charge has to be passed on to the
           customer.

           So to answer the other part of your question, we can absolutely
           accept the PO as it is. Section 2 clause c of the previously negotiated
           terms and conditions says that the Buyer is responsible for any taxes
           or duties, which is what this ultimately is. Rather than accepting the
           order and potentially surprising you with a tariff fee added to your
           final invoice, we are being a good partner and reaching out to let you
           know about the potential charges ahead of time, as at the time the
           order was placed neither of us could have guessed that things would
           go this way. So we will wait to process the order until you can figure
           out how you want to handle this from your side.

           I look forward to hearing back from you.

           Best Regards,


           Aaron


           Aaron Johnson
           Senior Field Sales Engineer
           Scientific Sales

           m: 408-892-8232
           e: aaron.johnson@coherent.com
                                                                     
           <image002.png>

           www.coherent.com




           From: Stuart,Jeb <Jeb.Stuart@colostate.edu>
           Sent: Friday, April 11, 2025 9:41 AM
           To: Aaron Johnson <Aaron.Johnson@coherent.com>
           Cc: Bullis,Ryan <Ryan.Bullis@colostate.edu>; Yost,Dylan
           <Dylan.Yost@colostate.edu>; Loeser,Krysta
           <Krysta.Loeser@colostate.edu>
           Subject: [EXTERNAL]: RE: Purchase Order 937172 Colorado State
           University Quote COHR-335604-1
                                                                - Appx309 -
         Case: 25-1812        Document: 148          Page: 313        Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-6        Filed 05/07/25         Page 15 of 75




           Hi Aaron,

           Thanks for your email. The only way CSU can accept a possible increase
           under PO 937172 is to have an exact dollar value to review or have
           language stating the tariff amount cannot exceed 10% of the product
           value based on CSU not being able to accept an unknown encumbrance
           amoint. Please let me know if either is possible or if Coherent can accept
           the PO as is, so we can work out next steps?

           Jeb Stuart
           Scientific Sourcing Specialist
           Colorado State University
           | P: (970) 491-6194 |
           ***Please join our informational sessions on Doing Business with
           CSU. [procurement.colostate.edu] Sessions held monthly***
           <image001.png>

           From: Aaron Johnson <Aaron.Johnson@coherent.com>
           Sent: Thursday, April 10, 2025 5:28 PM
           To: Stuart,Jeb <Jeb.Stuart@colostate.edu>
           Cc: Bullis,Ryan <Ryan.Bullis@colostate.edu>
           Subject: RE: Colorado State University Quote COHR-335604-1

           ** Caution: EXTERNAL Sender **
           Hello Jeb, and Ryan,

           Circling back to this Verdi order, as it has not yet been booked in our
           system. Due to the recent administrative actions regarding tariffs, we
           need to point out that we are quoting DDP terms as a courtesy to the
           customer, so we remain importer of record and you do not need to
           contract with a customs broker in order to get the laser through the
           customs process, but we cannot be responsible for any tariffs. As
           this is a product of Singapore (I think I mistakenly listed Thailand, as it
           didn’t really matter for us until this week) the import tariff is currently
           at 10%, but final charges will be determined on the day the product is
           imported (could be 0% by then, or could be higher than 10%, but
           there is no guarantee either way). In order to book and schedule this
           order, I just need an email confirmation from you that CSU
           understands that they are responsible for any import duties. We will
           add those duties to the invoice as a separate line item once the
           product ships and the invoice is generated.

           Please let me know if you have any questions.

                                            - Appx310 -
         Case: 25-1812   Document: 148   Page: 314   Filed: 07/20/2025




Case 1:25-cv-00077-GSK-TMR-JAR   Document 14-6   Filed 05/07/25    Page 16 of 75




                         Attachment 2




                                 - Appx311 -
            Case: 25-1812            Document: 148     Page: 315       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-6         Filed 05/07/25       Page 17 of 75




  From: Peter Jiang <sales@aemdeposition.com>
  Sent: Thursday, April 17, 2025 7:23 PM
  To: Stuart,Jeb <Jeb.Stuart@colostate.edu>
  Subject: Re: Colorado State University Quote 20250213CSU



  ** Caution: EXTERNAL Sender **

  Dear Stuart. jeb,

  The HS code is 8112390010.
  Tariffs could be as high as 245%, presenting substantial challenges for importers.

  Best Regards,

  Peter Jiang
  CEO

  Changsha Advanced Engineering Materials Limited

  C3-1725, Building C1-C4,
  Forte Financial Center, No. 751 Xiaoxiang North Road,  
  Yuelu District, Changsha, Hunan 410013
  China
  Tel: +86-0731-89578196-811
    +86-18175985920
  Skype: peter.jiang81
  www.aemdeposition.com
  Email: sales@aemdeposition.com



  On Thu, Apr 17, 2025 at 11:52 PM Stuart,Jeb <Jeb.Stuart@colostate.edu> wrote:
    Thanks Peter,

    Do you have an estimate for duties and tariffs for the Hafnium target and if not an HTS code?

    Jeb Stuart
    Scientific Sourcing Specialist

                                            - Appx312 -
           Case: 25-1812         Document: 148          Page: 316       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-6          Filed 05/07/25        Page 18 of 75


   Colorado State University
   | P: (970) 491-6194 |
   ***Please join our informational sessions on Doing Business with CSU. Sessions held monthly***




   From: Peter Jiang <sales@aemdeposition.com>
   Sent: Wednesday, April 16, 2025 7:59 PM
   To: Stuart,Jeb <Jeb.Stuart@colostate.edu>
   Subject: Re: Colorado State University Quote 20250213CSU



   ** Caution: EXTERNAL Sender **

   Dear Stuart. jeb,

   Sorry, we cannot accept post-payment. U.S. policies toward China are changing too
   rapidly, and hafnium targets are quite expensive. We cannot afford to take on such a
   high risk.  

   Best Regards,

   Peter Jiang
   CEO

   Changsha Advanced Engineering Materials Limited

   C3-1725, Building C1-C4,
   Forte Financial Center, No. 751 Xiaoxiang North Road,  
   Yuelu District, Changsha, Hunan 410013
   China
   Tel: +86-0731-89578196-811
     +86-18175985920
   Skype: peter.jiang81
   www.aemdeposition.com
   Email: sales@aemdeposition.com



   On Wed, Apr 16, 2025 at 10:10 PM Stuart,Jeb <Jeb.Stuart@colostate.edu> wrote:
     Hello Changsha Advanced Engineering Materials,


                                            - Appx313 -
           Case: 25-1812         Document: 148         Page: 317       Filed: 07/20/2025




Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-6          Filed 05/07/25       Page 19 of 75


     I hope all is well. I work in Procurement at Colorado State University and received a purchase
     request for the attached quote. Based on the date of the quote can I get an updated version
     with the below as shipping address so I can review for a purchase order? CSU issues a purchase
     order as guarantee with net 30 day payment terms is this acceptable to Changsha Advanced
     Engineering Materials?

     Colorado State University
     Attn Carmen Menoni
     200 West Lake Street
     1320 Campus Delivery
     Fort Collins , CO   80523-1320
     United State

     Thank you,

     Jeb Stuart
     Scientific Sourcing Specialist
     Colorado State University
     | P: (970) 491-6194 |
     ***Please join our informational sessions on Doing Business with CSU. Sessions held monthly***




                                           - Appx314 -
                   Case: 25-1812         Document: 148        Page: 318         Filed: 07/20/2025




        Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-6          Filed 05/07/25         Page 20 of 75

                       Web: www.aemdeposition.com
                       Email: sales@aemdeposition.com
                                                                                          Quotation
                       Tel: +86-731-84472418
Changsha Advanced Engineering Materials Limited                                   Quote #              20250213CSU
Building 1, No. 31, Yinshan Road                                                  Date                     2/13/2025
Yuelu District, Changsha, Hunan 410013                                            Valid for                  30 days
China

This Quote Has Been Prepared For:

Colorado State University                                               D.A.P         Carmen Menoni, United States
3831 HARBOR WALK LANE, Carmen Menoni                                    Payment Terms             WT, in advance
United States                                                           Lead Time                       5-6 weeks
Contact: Carmen S. Menoni                                               Shipping Method      UPS or DHL or FedEx
Tel: +1 9704918659                                                      Transport Time                    5-8 days
Email:    carmen.menoni@colostate.edu

  Item                             Description                          Quantity Unit    Price (USD)     Total (USD)



          Hafnium Sputtering Targets (Hf)
    1     Purity: 99.95%, Zr<0.5%                                           1      pc    $ 36,304.00 $     36,304.00
          Size: 14“ diameterx 0.25" thickness



                                                                                        Subtotal        $ 36,304.00
                                                                                        Shipping        $    260.00

                                                                                        Total           $ 36,564.00

Please reference this Quote number when placing your order.
Unless otherwise stated, the above quotation reflects standard tolerances, practices, terms and conditions of
Advanced Engineering Materials




                                                   - Appx315 -
      Case: 25-1812    Document: 148     Page: 319    Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR    Document 14-6   Filed 05/07/25   Page 21 of 75




                       Attachment 3




                                 - Appx316 -
                  Case: 25-1812                                              Document: 148                       Page: 320              Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR                                                                Document 14-6               Filed 05/07/25                  Page 22 of 75


                                                                                                                             Purchase Order
                    COLORADO STATE UNIVERSITY                                                                                      PO/Reference No.
                                           SYSTEM                                                 Purchase Order Date                                             Revision No.
                    I:Orl..,^9IVit.7,tlf   • 0:135$.1.1.4.)linfrlIf   •r der • •:•a.   try."
                                                                                                   Apr 29, 2025                       914490                           0
                                                                                               Purchaser Information
                                                                                               Requestor Name                         Jeanette E Nicodemus
Colorado State University
Procurement Services                                                                           Requestor Email                        jeanette.nicodernus@colostate.edu
(970) 491-5105                                                                                 Requestor Phone                        +970 5682833

Colorado State University-Pueblo
Procurement Services
(719) 549-2355

Order acceptance instructions:
PO Terms & Conditions: https://procurement.colostate.edu/purchase-order-terms-and-conditions/

                              Supplier Information                                                                                    Delivery Information
 Myers Power Products Inc                                                                                  Delivery Address
                                                                                                           Colorado State University
 Address                                      2950 E Philadelphia St
                                                                                                            Name                             Brown, Tanner Alan
 City/State/Zip                               Ontario, CA 91761
                                                                                                            ContactEmail                     Jeanette.Nicodemus@colostate.edu
 Fax                                          +1 909-923-1806
                                                                                                            Phone                              970-568-2833
 F.O.B.                                                                                                                                      FACILITIES MANAGEMENT NORTH - Rm
                                                                                                            Building
 Payment Terms                                                                                                                               000
                                                                                                            6030-1
                                                                                                            200 West Lake Street
                                                                                                            6030 Campus Delivery
                                                                                                            Fort Collins, CO 80523-6030
                                                                                                            United States
                                                                                                            ShipTo Address Code                6030-1
                                                                                                           Delivery Information
                                                                                                            Delivery
                                                                                                            Expedite                         No
                                                                                                            Ship Via                         Best Carrier-Best Way

                                                                                               Shipping Instructions
 Note to Supplier                                                                                  (1) Executed Purchase Proposal Revsion #9
 Attachments for supplier

   Myers Power Produ...

 Supplier Terms and Conditions




                                                                                                - Appx317 -
                    Case: 25-1812                 Document: 148             Page: 321             Filed: 07/20/2025

      Case 1:25-cv-00077-GSK-TMR-JAR                           Document 14-6             Filed 05/07/25              Page 23 of 75


Line Item Details: Total lines ordered 1

                                                                                      Size /
Line No.      Product Description                                      Catalog No.    Packaging       Unit Price     Quantity j Ext. Price
1 of 1        PROJECT: REPLACE PITKIN S EAST SWITCHGEAR - PROJECT #:                       LOT        1,503,042.00      1 LOT   1,503,042.00
              21-031 - FURNISH AND DELIVER GENERAL PURPOSE POWER                                          USD                       USD
              DISTRIBUTION CENTER, MEDIUM VOLTAGE METAL-CLAD
              SWITCHGEAR, 48VDC BATTERY SYSTEM & FIELD SERVICES PER
              PROPOSAL 50032-TX1 Rev 9

                Taxable                      No
                Capital Expense              No
                PO Clauses                   Refer below



                                                                                                         Total           1,503,042.00 USD


                          Purchasing Information                                                 Billing Address

I Contract                        no value                             Company                       COLORADO STATE UNIVERSITY
 Quote number                                                          Phone                         970-491-1429
 Purchasing Agent                 Greg Smith (970) 491-5105        I ACCOUNTS PAYABLE
                                  Colorado State University          6003 CAMPUS DELIVERY
 970-491-5105                     no value                             FORT COLLINS, CO 80523-6003
                                                                   • United States

                                                                PO Terms

     There are no clauses
 associated with this Purchase
            Order.




                                                              - Appx318 -
               Case: 25-1812                      Document: 148                     Page: 322                 Filed: 07/20/2025

  Case 1:25-cv-00077-GSK-TMR-JAR                                       Document 14-6             Filed 05/07/25                        Page 24 of 75




                                                                 PowerPreis,Inc


           Power Delivery Solutions for . .

     Utility                                     Oil & Gas                               Industrial                                Transit


                                                                                                                                            "
                                                                 •
                                             •    "„       • • C - ' 1"
           1     .nrtTie             ..                   •I                                II   t!   1 lee




                                                                                                              -T-4. •




                                 50032-TX1 Rev 9
                       Pitkin East Switchgear Replacement
                                                                  April 11, 2025
                                                                  Gregory Smith
                                                           Gregorv.Smith@colostate.edu

                                                                      Prepared For:

                                                                            CSU


                           Prepared By: Donald Norris / 713.644.8182 / dnorris@mielectric.com



               The Myers Power Products Family of Companies
MIMS                                                   PAIMEIRS           PATEIRES          POVIEFIS                MIMS                    Rams
  Poivet 'Wats             ConlrolledPower                Mdfleclde          ASI-SIM84        IVC0                    PowerPaleslals            Pacific gliblvfrodocis



                              Empowering Energy Since 1946




                                                                      - Appx319 -
            Case: 25-1812                      Document: 148                     Page: 323              Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                     Document 14-6                Filed 05/07/25                Page 25 of 75




                 PowerProdaels,Ine.
Commercial Summary
Base Price includes the following equipment & services              $ 1,503,042USD
• Climate Controlled, 41' x 15' x 10'h ID Power Distribution Center
• HVAC System with no Redundancy
• Smoke Detectors with alarm contacts
• 48VDC Battery System
• Medium Voltage Metal-Clad Switchgear
• Training
• Field Services — Offloading and Installation Supervision only.
• Engineering, Design, Project Management, O&M Manuals, and Technical Literature

 Optional Adders:
 • Circuit Breaker Elements for Future and Cap Bank feeder                                         $      29,674 USD
 • State Certification                                                                             $      64,299 USD

 Bonds of any type are not included in our proposal unless specifically noted above.

Sales Tax is Not included and shall be borne by Buyer if applicable

 Estimated Freight Pricing as follows:
 • Estimated as FOB Destination, Freight Prepaid and Charge per Domestic Terms.
 • Offloading, craneage, traffic control etc. is not included.
 • Fuel Prices are subject to change based on time of shipment.
 • Delivery is based on Free and clear unfettered access by common carrier and any/all necessary traffic
     control to be secured by the customer. Freight charges in excess of this estimate below shall be
     borne by Buyer; surcharges and excess charges beyond the control of Supplier shall be borne by
     Buyer.

 Freight to (Fort Collins, CO) estimated at                                      $56,250 USD (Included in above Price)


 Bid Validity
 30 Days

 Estimated Delivery
 Standard Lead Times:
 Approval Drawings* 16-20 weeks ARO
 Customer Approval: 2 weeks
 Estimated Delivery 52-56 weeks ARAD

 Actual lead times may vary based on factory loading at time of order

 * Initial submittals shallbe based solely on the scope of work provided at time of quotation; no Request For Information MR) or revised
 drawings will be accepted. reviewed or considered during the Initial submittal process. Any RN's, updated drawings or change orders will
 ONLY be consideredafter initial approval of submittals basedon those provided at time of quotation.




   50032-TX1C.SU — Pitkin East Switchgear Replacement I Rev. #9—April 11, 2025




                                                                - Appx320 -
          Case: 25-1812                      Document: 148                       Page: 324   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                   Document 14-6          Filed 05/07/25   Page 26 of 75


                           •


                 PowerProducts,Ille.

 Progress Payments (payable per unit)
 1)      15%    Upon Submission of Submittals
 2)      15%    Approval of Submittals
 3)      25%    Release for Purchasing of Material
 4)      45%    Shipment Upon Receipt of CSU Written Notification of Funds Availability
               (Payment Predicated on Photographic Evidence from Myers of Equipment Ready to Ship)


 Terms of Payment
 Net 30 Days - Progress Payment Terms Apply — Pending Credit Verification; No Retentions Allowed; No Cash
 / Early Pay Discounts

 Purchase Order
 Purchase Order shall be addressed to Myers Power Products, Inc.

 Factory Location
 Myers Power Products has three (3) factory locations (Ontario, CA, Beaumont, TX, North Canton, OH) Final
 Factory location will be determined at time of PO which will be based on current shop loadings from each
 facility.

  Customer Inspection and Factory Acceptance Testing
  • Customer inspection and Factory FAT of equipment at Myers Power Products, Inc. is included in the
     quoted base price.

  Escalation - Material, Delay & Storage
  Escalation: All orders are subject to potential escalation ordered after the expiration of this quotation or; if
  shipped later than originally quoted or; in the event of force majeure or unforeseen market pressures
  caused by delays in the supply chain or; delays in the shipping schedule requested or caused by customer
  or customers end-user or; due to events otherwise outside of the control of supplier.

  Customer Delay: Should customer place a purchase order on hold, or delay any critical path item (e.g.
  drawing approval, owner furnished equipment arrival, acceptance testing delay, shipment, etc.), price
  escalation may apply, as determined by the company at the time of delay and/or release from hold.

  Storage: Should storage be required and unless included in the above quoted scope of work, storage costs
  shall be based on space availability and on the full purchase order value including all change orders;
  customer shall be required to insure such equipment while in storage and customer shall name Supplier
  (Myers) as an additional insured and shall provide proof thereof while in storage; Customer shall be
  required to pay for all equipment in full as if supplied to the job site after 30 days of storage; storage fees
  shall be in addition to and are not included in sell price.

  Pricing and delivery detailed in this proposal is based on current costs and lead times for the quoted scope
  of work and pursuant only to the quoted scope. Pricing and lead times for all future orders (including
  options quoted in this proposal, but not selected at time of order) may increase after the expiration date of
  this proposal; lead times shall be adjusted to factory loading at time of receipt of order.

 Documentation Control
 Shall be per Myers standard procedures and protocols unless specified otherwise herein.

   50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev. N9—April 11, 2025                                    2



                                                              - Appx321 -
           Case: 25-1812                       Document: 148                     Page: 325   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                     Document 14-6        Filed 05/07/25   Page 27 of 75


     PAIVIERS
               PowerProducts lile

Project Documentation
Myers Power Products, Inc. standard engineering documentation includes the following where applicable:

General:
   — Equipment Data Sheets
   — Bill of Materials and nameplate information
   — Recommended Startup and Spare parts

Mechanical:
   — Plan, arrangement, front and sectional views
   — Equipment weight and anchoring locations
   — Center of gravity and lifting details for E-Houses/PDC's

Electrical:
    — Single line and three-line diagrams
    — Protection and relay control schematics for electrically operated devices
    — AC/DC distribution and equipment utility diagrams (space heater circuits, lighting, small power, etc)
    — Wiring Diagrams
    — Panel and cable schedules

Warranty Period
Extended warranty 18 months after delivery. Myers Power Products, Inc. standard terms and conditions of
sale shall apply.

LD's / Backcharges
Myers Power Products, Inc. does not accept any Liquidated Damages or Back Charges

For FBO Equipment (Furnished by others)
Myers Power Products, Inc. is to be provided a current Certificate of Insurance and shown as additional
insured prior to our company receiving any/all customer furnished material. The Certificate of Insurance is
due two (2) weeks after order placement; however, prior to our receipt of FBO (furnished by others)
material. If FBO material is shipped to Myers prior to our receipt of the Certificate of Insurance showing
Myers Power Products, Inc. as additional insured, the material will be turned away at the dock.

Other Terms and Conditions
Unless otherwise noted, Myers Power Products, Inc. standard Terms & Conditions or those applicable to a
signed and active Master Service Agreement (MSA) apply to the scope of work outlined in this proposal,
including equipment, services, pricing, availability, etc. If additional Terms & Conditions are required, the
company reserves the right to update any or all aspects of the proposed scope of work.




 50032-TX1Cal - Pitkin East Svvitchgear Replacement I Rev. 119- April 11, 2025                                   3



                                                                - Appx322 -
          Case: 25-1812                       Document: 148                       Page: 326      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                   Document 14-6              Filed 05/07/25       Page 28 of 75




                 PowerProducts,/ac.
  General Purpose Power Distribution Center

  Configuration Details
  Nominal Dimensions                                                                  Ft.      In.
           Length                                                                     41       0
           Width                                                                      15       0
           Ceiling Height                                                             10       0

  Nominal Overall Exterior Dimensions                                                 Ft.      In.
           Length                                                                     41       0
           Width                                                                      15       0
           Height                                                                     12       3
           SQFT                                                                       615.0
           Estimated Empty Weight                                                     53,177   lbs.
           Estimated Equipment Weight                                                 41,085   lbs.
           Estimated Total Weight                                                     94,262   lbs.

  Design Information
            Location                                                                  North America
            Elevation                                                                 > 3200 ft.
            Installation                                                              Concrete Slab
            Area Classification                                                       General Purpose Non-Hazardous
            Roof Load - IBC (Latest Revision) in psf                                  35
            Ceiling Load - IBC (Latest Revision) in psf                               20
            Floor Loading - DL + LL in psf                                            250
            Wind Load - IBC (Latest Revision) in mph, Exp C min                       125
            Seismic                                                                   Per applicable IBC Code
            Base Deflection                                                           L/240
            Roof Slope                                                                Center Peak Roof 1/4 inch per foot
                                                                                      slope
              Estimated Interior Heat Load (Watts)                                    13,283
              Construction Type                                                       Interlocking - Onshore

  Engineering / Calculation Requirements
   Standard drawing package which includes the following:
   Elevation Views
   Base Detail
   Floor Plan View
   Electrical Plan View
   Cable Tray Plan View
   HVAC Details
   AC Electrical Details
   DC Electrical Details
   Miscellaneous Details
   Floor Cutout Detail
   Grounding Plan View




   50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev. 119—April 11, 2025                                            4




                                                               - Appx323 -
          Case: 25-1812                       Document: 148                    Page: 327         Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                   Document 14-6           Filed 05/07/25          Page 29 of 75


     MUM
      PowerProducts;Ifle
 Lift Lug Detail                                                                   yes
 Structural PE Calculations & Drawings                                             yes
 Electrical PE Stamped Drawings                                                    no
 Center of Gravity Design Calculations                                             yes
 Foundation Load Chart                                                             yes
 Anchoring Calculations                                                            no

Inspections
          Water Test                                                              no
          Welding Inspection                                                      no
          NRTL / UL Label                                                         none

HVAC Design Information
        Exterior Design Temperatures                                              105      ° F (Summer)
                                                                                  -30      ° F (Winter)
            Interior Design Temperatures                                          80       ° F (Max)
                                                                                  55       ° F (Min)
            HVAC Redundancy                                                       none

Construction
         Perimeter channels                                                       MC12 x 35.0      Structural "C" ASTM-36
         Cross Beam                                                               C10 x 15.30      Structural "C" ASTM-36
         Flat Bar                                                                 As Required
         Pre-Galvanized Structural Steel Upgrade                                  no
         Floor Plate                                                              0.25     in. hot rolled steel plate
         Lift Lugs                                                                Yes

Material - Walls, Ceiling & Roof
          A60 Galvanneal Sheet Metal                                              11 gauge         Exterior Walls
          A60 Galvanneal Sheet Metal                                              14 gauge         Interior Liners
          A60 Galvanneal Sheet Metal                                              11 gauge         Roof
          A60 Galvanneal Sheet Metal                                              14 gauge         Ceiling
          A60 Galvanneal Sheet Metal                                              14 gauge         Interior partition Wall
          Interior Partition Wall                                                 3.75     ft.

Finish
Paint Colors
          Skid-Floor                                                              Customer Choice
          Skid-Base                                                               Customer Choice
          Exterior Walls                                                          Customer Choice
          Exterior Roof                                                           Customer Choice
          Interior Liners and Ceiling                                             White
          HVAC Units                                                              MFG Standard




 50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev. #9—April 11, 2025                                                 5



                                                              - Appx324 -
          Case: 25-1812                      Document: 148                       Page: 328      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                   Document 14-6            Filed 05/07/25        Page 30 of 75




                 Power/tot/nix inc.
 Insulation
 Location                                       Type                                                Rating
 Walls (Cavity)                                 Rigid Board, flame spread less than 25              R-26.2
 Roof (Cavity)                                  Rigid Board, flame spread less than 25              R-30
 Floor                                          Spray Foam, flame spread less than 25               R-38 w/1/2" gypsum
                                                                                                    board

 Electrical Design Parameters
            Interior Conduit Type                                                    EMT
            Exterior Conduit Type                                                    RGS
            Wire Type                                                                THHN (B/W/G)
            Perimeter Internal Wireway (6"x 6")                                      yes
            Perimeter Ground Bus (1/4" x 2" Copper Bar)                              1/4x2 Bare Copper Bar Ground Loop
                                                                                     mounted on wall just above the floor
              Lighting Level - @ 3' Above Floor (Foot Candles)                       30
              Interior Lighting Fixture Type                                         LED

 Accessories
           Belly Pans                                                                no
           Cable Tray                                                                no
           Gutters & Downspouts                                                      no

 Personnel / Equipment Doors
 2        4080 DOOR KIT GALVANIZED
          • UL or NRTL Listed, 3 Hour Fire Rating
          • DKS 1654 4080 16GA GALVANIZED DOOR
          • CUSTOM 4080 14GA GALVANIZED FRAME WITH 12" TRANSOM
          • CR801 ALUM CLOSER
          • SH140US32D SPRING HINGE
          • BB31-4.5X4.5US32D HINGE
          • 9800EO36US32D RIM EXIT
          • NESC9800US26D ESCUTHEON TRIM
          • 806 DOOR SWEEP

  Rear Access Doors
  14       Equipment Doors

  Door Accessories
  2        Door Window 12"x 12" (View Area)
           • Window Frame Kit 12"x12"

  Cutouts
  20      Floor cutouts with 12 Gauge Galvanized Cover plate
  2       HVAC Wall cutout
  1       Exhaust Fan Wall cutout




   50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev. #9—April 11, 2025                                              6




                                                              - Appx325 -
           Case: 25-1812                      Document: 148                    Page: 329       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                    Document 14-6            Filed 05/07/25   Page 31 of 75


     IMIIIIMM
       PowerMaxis,Ille.
Grounding
1       1/4x2 Bare Copper Bar Ground Loop 3" mounted on wall just above the floor
4       SS ground pad
9       Ground Drops from Ground Loop to Small Equipment
         • Ground Circuit (Sized as required ≤ #8) Copper Wire
2        Ground Drops from Ground Loop to Large Equipment
         • Ground Circuit 4/0 Bare Copper Cable
2        Ground Drops from Ground Loop to Ground Pads
         • Ground Circuit 4/0 Bare Copper Cable

Equipment Installation Only
12        Sections, 15kV Switchgear
1         MV Breaker Test Cabinet
1         Battery System (Battery Rack, Charger, Disconnect)
***Batteries will ship directly to jobsite from battery manufacturer facility and installed by others***

Interior Lighting
5          Premium LED Wraparound Fixture, 48", 4000 Lumen, 120V, 4000K      Metalux #4WSNLED-
           LD4-40SL-F-UNV-L840-CD-U
           72     3/4 in dia. EMT Conduit (FT)
           1      #12 awg THWN-THHN Power Circuit
2          Combination Emergency Light / Exit Sign           Sure-lite # LPX70RWH-DH
           20     3/4 in dia. EMT Conduit (FT)
           1      #12 awg THWN-THHN Power Circuit

Switches & Receptacles
3        1-way switch NEMA 5-20R, 20 amp, 125v, spec grade Leviton # 1201-I
         30     3/4 in dia. EMT Conduit (FT)
         1      #12 awg THWN-THHN Power Circuit
2        3-way switch NEMA 5-20R, 20 amp, 125v, spec grade Leviton # 1203-I
         20     3/4 in dia. EMT Conduit (FT)
         1      #12 awg THWN-THHN Power Circuit
4        GFCI duplex receptacle, NEMA 5-20R, 20 amp, 125v, spec grade       Leviton # 7899-R
         40     3/4 in dia. EMT Conduit (FT)
         1      #12 awg THWN-THHN Power Circuit
2        Outdoor GFI duplex receptacle, NEMA 5-20R, 20 amp, 125VAC
         20     3/4 in dia. RGS Conduit (FT)
         1      #12 awg THWN-THHN Power Circuit

Exterior Lighting
2          20W, 120V, LED - Outdoor Fixture                                       Lumark
           • With Internal Photocell
           20     3/4 in dia. RGS Conduit (FT)
           1      #12 awg THWN-THHN Power Circuit




 50032-M. CSU — Pitkin East Switchgear Replacement I Rev. #9— April 11, 2025                                       7




                                                               - Appx326 -
          Case: 25-1812                       Document: 148                       Page: 330   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                   Document 14-6           Filed 05/07/25   Page 32 of 75


        NIFIFIERS
                 PowerProducts,Inc.
  Automatic Transfer Switches
  1        CH Automatic Transfer Switch
           Wall Mount, Open type, Switched neutral.
           200A, 120/240V, 1PH, 3W, 3P, 60HZ.
           With standard features: 1, 2, 3, 4, 5j, 6b, 7, 12c, 12d, 12g, 12h, 141,
           14m, 15e, 15f, 23a, 26p, 32f, 42
           DEV. ATS
           20     2 in dia. EMT Conduit (FT)
           2      4/0 awg THWN-THHN Power Circuit

  AC Panelboards
  1        CH Panelboard
           AC Panel Board Type 1 Surface Mount, 30 Circuits
           225A, 120/240VAC, 1PH, 3W, 10KAIC
           1- 200A/2P ED Main breaker at top
           2 - 90A/2P BAB Branch breaker
           2 - 35A/2P BAB Branch breaker
           2 - 30A/2P BAB Branch breaker
           4 - 30A/1P BAB Branch breaker
           2 - 20A/2P BAB Branch breaker
           10 - 20A/1P BAB Branch breaker
           BOX: 42"H x 20"W x 5.75"D
           10     2 in dia. EMT Conduit (FT)
           1      4/0 awg THWN-THHN Power Circuit



  DC Panelboards
  1        Ch Panelboard
           DC Panelboard Type 1 Surface mount, 42 Circuits
           225A, 125V Operated @48VDC, 2W, 10KAIC
           1- 200A/2P FD Main breaker at top
           1- 80A/2P GHB Branch breaker
           0 - 70A/2P GHB Branch breaker
           1- 50A/2P GHB Branch breaker
           13 - 30A/2P GHB Branch breaker
           3 - 20A/2P GHB Branch breaker
           6 - 1P GHB Branch provision
           BOX: TBD
           10     1 in dia. EMT Conduit (FT)
           1       #2 awg THWN-THHN Power Circuit




    50032-D(1CSU — Pitkin East Switchgear Replacement I Rev. #9— April 11, 2025                                    8




                                                               - Appx327 -
           Case: 25-1812                      Document: 148                    Page: 331         Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                    Document 14-6           Filed 05/07/25      Page 33 of 75


     PAVERS
               PowerProducts,11w,
HVAC Units
2        Bard 4 ton, 208/230/1/60, 10kW heat
         Each unit shall consist of the following features:
         A) Built in disconnect switch
         B) (9kW Heat for 6 ton and smaller) (15kW Heat for 7.5 ton and larger)
        C) High pressure switch
         D) Low pressure switch
         E) Compressor anti-short cycle timer
         F) Fan cycle switch for low ambient to 20° F
        G) Set of NO contacts for customer alarm
         H) Phase monitor for three phase units
        I)    Copper tube, Aluminum fins on both coils
        J) 2" Pleated Filter
         K) Brushed aluminum supply air register
         L) Brushed aluminum return air filter grille
         M) Electronic auto changeover thermostat
         20     3/4 in dia. EMT Conduit (FT)
         2      #6 awg THWN-THHN Power Circuit
2        External Disconnect
         20     3/4 in dia. EMT Conduit (FT)
         2      #8 awg THWN-THHN Power Circuit

Exhaust Fans
1        10" Shutter Mount Exhaust Fan
         • 600cfm @ 0.0 SP                                                        Dayton 1HLA1
         10    3/4 in dia. EMT Conduit (FT)
         1     #10 awg THWN-THHN Power Circuit

Fire Detection
2         Photoelectric Detector with alarm contacts                              Gentex 9123TF
          20      3/4 in dia. EMT Conduit (FT)
1         Indoor Horn/Strobe                                                      Notifier P2R
          10      3/4 in dia. EMT Conduit (FT)
          2       #12 awg THWN-THHN Power Circuit
2         20 lb. CO2 Handheld Fire Extinguisher                                   Ansul    431556 aluminum

Control Wiring                                                                    Destination
13       #14-2 cond. Type TC cable                                                Estimated control terminations

Interconnect Power Wiring (Single Cond.) - (Conduit)                              Destination
2        #12 awg THWN-THHN Power Circuit                                          FROM SWGR TO METER SOCKETS
         20     3/4 in dia. EMT Conduit (FT)
1        #10 awg THWN-THHN Power Circuit                                          FROM AC PNL TO BATTERY CHARGER
         10     3/4 in dia. EMT Conduit (FT)
1        1/0 awg THWN-THHN Power Circuit                                          FROM DC PNL TOP BATTERIES
         10     1.25 in dia. EMT Conduit (FT)




 50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev. k9—April 11, 2025                                          9



                                                               - Appx328 -
          Case: 25-1812                       Document: 148                        Page: 332   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                    Document 14-6           Filed 05/07/25   Page 34 of 75




                 PowerProducts,Inc.

 Misc.
 1            Structural PE Stamped drawings
 1            Center of Gravity Design Calculations
 1            Foundation Load Chart
 1            36"X24" Utility Table - Foldable
 1            Gravity Fed Eyewash Station- Wall Mounted 6 gal
 2            Meter Socket Form 9S

  Myers Power Products, Inc. standard PDC FAT

 Integrated Power Distribution Center
 Physical Inspection
 •       Verify all equipment is installed per project documentation.
 •       Verify all equipment has proper nameplates.
 •       Verify cutouts match plans and that wire ways are acceptable.
 •       Verify gutters and cable trays are properly installed.
 •       Verify that all equipment is properly grounded and building ground bus and pads are installed
 correctly.
 •       Verify internal PDC power connections are installed correctly per drawings (conductor size, routing,
 labeling, and termination).
 •       Review insulation resistance and/or voltage withstand test reports for power cabling.
 •       Apply voltage to equipment and perform a functional test on each piece of equipment provided.
 •       Provide a continuity check on Myers Power Products, Inc. provided cables
 •       **Owner furnished equipment (OFE) and/or vender supplied equipment shall not be energized
 during standard FAT.

  Building Utilities and Subsystems
  HVAC
  •       Verify that HVAC is the proper size and nameplate information per project documentation.
  •       Verify that power conductors and control circuit and are terminated correctly.
  •       Verify HVAC operation.

  Lighting and Receptacles
  •       Verify that all receptacles operate and are connected to the proper circuits.
  •       Verify all interior lights and switches operate and are connected to the proper circuits.
  •       Verify all emergency lights operate and are connected to the proper circuits.
  •       Verify all exterior lights operate and are connected to the proper circuits.
  •       Verify photo detector(s) and building lighting contactor box operate and are connected to the
  proper circuits.

  Panel boards
  •      Verify that the correct breakers are present and are sized per project documentation.
  •      Verify wiring is sized correctly.
  •      Verify panel schedule is installed and correct.
  •      Verify panel terminations.




   50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev. ti9— April 11, 2025                                    10



                                                               - Appx329 -
           Case: 25-1812                        Document: 148                     Page: 333   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                      Document 14-6        Filed 05/07/25   Page 35 of 75




               PoiretProgilelsIx.
         Verify branch circuits are operational.
         Verify transformer(s) are the proper size and nameplate information per project documentation.

UPS and DC Power Systems (If applicable)
•      Verify that the correct breakers are present and are sized per project documentation.
•      Verify wiring is sized correctly.
•      Verify UPS and DC system topology.
•      Verify that battery charger input voltage and output voltage when applicable.

Communications (If applicable)
•    Verify connectivity of communication network.
•    *Verify data transfer across communication network.




 50032-TX1 C.SU — Pitkin East Switchgear Replacement I Rev. 1$9— April 11, 2025                                   11



                                                                 - Appx330 -
             Case: 25-1812                       Document: 148                       Page: 334   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                       Document 14-6          Filed 05/07/25   Page 36 of 75


           MIENS
             PowerProdacts,lile
  Medium Voltage Metal-Clad Switchgear (5-27KV)

 1.0           SCOPE

 This scope of supply includes the basic design and functional features for medium voltage metal-clad
 switchgear with vacuum circuit breakers as outlined herein and as further described in accompanying
 sections of this proposal.

  2.0         STANDARDS/REFERENCES

 The metal-clad switchgear and all components shall be manufactured and tested in accordance with the
 latest applicable standards of NEMA SG-4 and SG-5, and IEEE C37.20.2.

  3.0          GENERAL DESIGN FEATURES/RATINGS

 The switchgear shall have a voltage rating of 15KV with breakers and auxiliary compartments are described
 in the bill of materials of this proposal. The switchgear is supplied in one high and two high configurations
 with indoor sections that are typically 95" x 36" wide. Depth of the equipment is adjusted to the
 application. End dress panels are provided on each end of the lineup. The switchgear is designed for
 operation on a 13,200V, three phase, three wire, 60 hertz system. The circuit breakers are designed with
 vacuum technology and incorporate a spring-operated mechanism.

  Switchgear Ratings

  Rated Maximum Voltage                                     15KV
  Operating Voltage                                         13,200V
  Main Bus Continuous Rating                                1200 Amps
  Basic Impulse Level                                       95KV BIL
  Control Bus AC/DC Voltage (nominal)                       48VDC
  Circuit Breaker Continuous Rating                         1200 Amps
  Circuit Breaker Interrupting                              25KA
  Breaker Interrupting Time                                 3 cycles.

 Temperature rise of the switchgear will meet the intent of latest revisions of ANSI C37.20.2 for metal clad
 switchgear.


  4.0          BILL OF MATERIALS

                                  Pitkin East Medium Voltage Switchgear - 13.2kV - 1200A - 25Ka

               Unit No. 1- Future Capacitor Bank Feeder/Data Line Compartment
  0            Eaton VCP-WC Breaker Element, 15kV 1200A 25kA 3 cycle
  1            Eaton VCP-W Breaker Compartment Kit, 1200A, with polyester supports
  1            Eaton VCP-W MOC and TOC Switch
  3            Current Transformers




      50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev. #9— April 11, 2025                                    12



                                                                  - Appx331 -
             Case: 25-1812                       Document: 148                     Page: 335   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                       Document 14-6        Filed 05/07/25   Page 37 of 75


        PAIIIIERS
           PowerProduelsine.
1           Schweitzer SEL-751A relay
1           Circuit Breaker Control Switch
2           Circuit Breaker Status Lights
2           ABB Test Switch
1           Set, arc flash detection fiber optic and/or point sensors
3           Station Class Lightning Arrestors
1           Section, indoor, metal-clad vertical housing
1           Section, 1200A main copper silverplated insulated buswork
1           Set, bus components for 1200A breaker compartment
1           Cabinet Space Heater
1           Cabinet Thermostat
1           Cabinet Interior Light and Switch
1           Cabinet Duplex Outlet

            Unit No. 2 - Future City Line Incomer
0           Eaton VCP-W Breaker Element, 15kV 1200A 25kA 3 cycle
1           Eaton VCP-W Breaker Compartment Kit, 1200A, with polyester supports
1           Eaton VCP-W MOC and TOC Switch
1           Voltage Transformer Drawout Tray w/porcelain supports
3           Voltage Transformers
3           Current Transformers - Relaying Class
3           Current Transformers - Metering Class
1           Schweitzer SEL-751A relay
1           Circuit Breaker Control Switch
2           Circuit Breaker Status Lights
2           ABB Test Switch
1           Device 86 Lockout Relay
1           Device 86 Healthy Circuit Light
1           Set, arc flash detection fiber optic and/or point sensors
3           Station Class Lightning Arrestors
1           Section, indoor, metal-clad vertical housing
1           Section, 1200A main copper silverplated insulated buswork
1           Set, bus components for 1200A breaker compartment
1           Set, power cabling and supports for VT auxiliary
1           Cabinet Space Heater
1           Cabinet Thermostat
1           Cabinet Interior Light and Switch
1           Cabinet Duplex Outlet

             Unit No. 3 - Feeder E and Control Power Transformer Auxiliary
1            Eaton VCP-W Breaker Element, 15kV 1200A 25kA 3 cycle
1            Eaton VCP-W Breaker Compartment Kit, 1200A, with polyester supports
1            Eaton VCP-W MOC and TOC Switch
1            Control Power Transformer Primary Fuse Drawout Tray with porcelain supports
2            Control Power Transformer Primary Fuses
1            Control Power Transformer, 37.5kVA, single phase, 13200V-120/240VAC




    50032-TX1CSU — Pitkln East 5witchgear Replacement I Rev. 119— April 11, 2025                                   13



                                                                  - Appx332 -
             Case: 25-1812                      Document: 148                       Page: 336   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                      Document 14-6          Filed 05/07/25   Page 38 of 75


          RIVERS
            PowerProductslim
 1            Control Power Transformer Secondary Breaker
 1            Control Power Transformer Key Interlock
 3            Current Transformers - Relaying Class
 1            Schweitzer SEL-751A relay
 1            Circuit Breaker Control Switch
 2            Circuit Breaker Status Lights
 2            ABB Test Switch
 1            Set, arc flash detection fiber optic and/or point sensors
 3            Station Class Lightning Arrestors
 1            Section, indoor, metal-clad vertical housing
 1            Section, 1200A main copper silverplated insulated buswork
 1            Set, bus components for 1200A breaker compartment
 1            Set, power cabling and supports for CPT auxiliary
 1            Cabinet Space Heater
 1            Cabinet Thermostat
 1            Cabinet Interior Light and Switch
 1            Cabinet Duplex Outlet
 1            CPT Indicating Light

              Unit No. 4 - North Tie Feeder
  1           Eaton VCP-W Breaker Element, 15kV 1200A 25kA 3 cycle
  1           Eaton VCP-W Breaker Compartment Kit, 1200A, with polyester supports
  1           Eaton VCP-W MOC and TOC Switch
  3           Current Transformers
  1           Schweitzer SEL-751A relay
  1           Circuit Breaker Control Switch
  2           Circuit Breaker Status Lights
  2           ABB Test Switch
  1           Set, arc flash detection fiber optic and/or point sensors
  3           Station Class Lightning Arrestors
  1           Section, indoor, metal-clad vertical housing
  1           Section, 1200A main copper silverplated insulated buswork
  1           Set, bus components for 1200A breaker compartment
  1           Cabinet Space Heater
  1           Cabinet Thermostat
  1           Cabinet Interior Light and Switch
  1           Cabinet Duplex Outlet

              Unit No. 5 - Future Feeder
  1           Eaton VCP-W Breaker Element, 15kV 1200A 25kA 3 cycle
  1           Eaton VCP-W Breaker Compartment Kit, 1200A, with polyester supports
  1           Eaton VCP-W MOC and TOC Switch
  3           Current Transformers
  1           Schweitzer SEL-751A relay
  1           Circuit Breaker Control Switch
  2           Circuit Breaker Status Lights




      50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev. N9—April 11, 2025                                    14




                                                                 - Appx333 -
              Case: 25-1812                       Document: 148                    Page: 337   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                       Document 14-6         Filed 05/07/25   Page 39 of 75


        RIVERS
          PowerProducts,Me.
2           ABB Test Switch
1           Set, arc flash detection fiber optic and/or point sensors
3           Station Class Lightning Arrestors
1           Section, indoor, metal-clad vertical housing
1           Section, 1200A main copper silverplated insulated buswork
1           Set, bus components for 1200A breaker compartment
1           Cabinet Space Heater
1           Cabinet Thermostat
1           Cabinet Interior Light and Switch
1           Cabinet Duplex Outlet

            Unit No. 6 - Bus Tie
1           Eaton VCP-W Breaker Element, 15kV 1200A 25kA 3 cycle
1           Eaton VCP-W Breaker Compartment Kit, 1200A, with polyester supports
1           Eaton VCP-W MOC and TOC Switch
3           Current Transformers - Relaying Class
1           Schweitzer SEL-751A relay
1           Circuit Breaker Control Switch
2           Circuit Breaker Status Lights
4           ABB Test Switch
2           Device 86 Lockout Relay
1           Set, arc flash detection fiber optic and/or point sensors
1           Section, indoor, metal-clad vertical housing
1           Section, 1200A main copper silverplated insulated buswork
1           Set, bus components for 1200A breaker compartment
1           Cabinet Space Heater
1           Cabinet Thermostat
1           Cabinet Interior Light and Switch
1           Cabinet Duplex Outlet
1           Remote Automation Controller, Schweitzer SEL-3530

             Unit No. 7 - Feeder C
1            Eaton VCP-W Breaker Element, 15kV 1200A 25kA 3 cycle
1            Eaton VCP-W Breaker Compartment Kit, 1200A, with polyester supports
1            Eaton VCP-W MOC and TOC Switch
3            Current Transformers
1            Schweitzer SEL-751A relay
1            Circuit Breaker Control Switch
2            Circuit Breaker Status Lights
2            ABB Test Switch
1            Set, arc flash detection fiber optic and/or point sensors
3            Station Class Lightning Arrestors
1            Section, indoor, metal-clad vertical housing
1            Section, 1200A main copper silverplated insulated buswork
1            Set, bus components for 1200A breaker compartment
1            Cabinet Space Heater




    50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev. #9— April 11, 2025                                   15



                                                                  - Appx334 -
             Case: 25-1812                       Document: 148                      Page: 338   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                      Document 14-6          Filed 05/07/25   Page 40 of 75


          MYERS
                    PowerProducts,Iiit
 1            Cabinet Thermostat
 1            Cabinet Interior Light and Switch
 1            Cabinet Duplex Outlet

              Unit No. 8 - South Tie Feeder
 1            Eaton VCP-W Breaker Element, 15kV 1200A 25kA 3 cycle
 1            Eaton VCP-W Breaker Compartment Kit, 1200A, with polyester supports
 1            Eaton VCP-W MOC and TOC Switch
 3            Current Transformers
 1            Schweitzer SEL-751A relay
 1            Circuit Breaker Control Switch
 2            Circuit Breaker Status Lights
 2            ABB Test Switch
 1            Set, arc flash detection fiber optic and/or point sensors
 3            Station Class Lightning Arrestors
 1            Section, indoor, metal-clad vertical housing
 1            Section, 1200A main copper silverplated insulated buswork
 1            Set, bus components for 1200A breaker compartment
 1            Cabinet Space Heater
 1            Cabinet Thermostat
 1            Cabinet Interior Light and Switch
 1            Cabinet Duplex Outlet

              Unit No. 9 - Feeder G and Control Power Transformer Auxiliary
  1           Eaton VCP-W Breaker Element, 15kV 1200A 25kA 3 cycle
  1           Eaton VCP-W Breaker Compartment Kit, 1200A, with polyester supports
  1           Eaton VCP-W MOC and TOC Switch
  1           Control Power Transformer Primary Fuse Drawout Tray with porcelain supports
  2           Control Power Transformer Primary Fuses
  1           Control Power Transformer, 37.5kVA, single phase, 13200V-120/240VAC
  1           Control Power Transformer Secondary Breaker
  1           Control Power Transformer Key Interlock
  3           Current Transformers - Relaying Class
  1           Schweitzer SEL-751A relay
  1           Circuit Breaker Control Switch
  2           Circuit Breaker Status Lights
  2           ABB Test Switch
  1           Set, arc flash detection fiber optic and/or point sensors
  3           Station Class Lightning Arrestors
  1           Section, indoor, metal-clad vertical housing
  1           Section, 1200A main copper silverplated insulated buswork
  1           Set, bus components for 1200A breaker compartment
  1           Set, power cabling and supports for CPT auxiliary
  1           Cabinet Space Heater
  1           Cabinet Thermostat
  1           Cabinet Interior Light and Switch




      50032-D(1 CSU — Pitkln East Switchgear Replacement I Rev. #9—April 11, 2025                                    16




                                                                 - Appx335 -
              Case: 25-1812                       Document: 148                    Page: 339   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                       Document 14-6        Filed 05/07/25   Page 41 of 75


         MEM
           Poweritoductslim
1           Cabinet Duplex Outlet
1           CPT Indicating Light

            Unit No. 10 - Future Feeder
1           Eaton VCP-W Breaker Element, 15kV 1200A 25kA 3 cycle
1           Eaton VCP-W Breaker Compartment Kit, 1200A, with polyester supports
1           Eaton VCP-W MOC and TOC Switch
3           Current Transformers
1           Schweitzer SEL-751A relay
1           Circuit Breaker Control Switch
2           Circuit Breaker Status Lights
2           ABB Test Switch
1           Set, arc flash detection fiber optic and/or point sensors
3           Station Class Lightning Arrestors
1           Section, indoor, metal-clad vertical housing
1           Section, 1200A main copper silverplated insulated buswork
1           Set, bus components for 1200A breaker compartment
1           Cabinet Space Heater
1           Cabinet Thermostat
1           Cabinet Interior Light and Switch
1           Cabinet Duplex Outlet

            Unit No. 11- City Line Incomer
1           Eaton VCP-W Breaker Element, 15kV 1200A 25kA 3 cycle
1           Eaton VCP-W Breaker Compartment Kit, 1200A, with polyester supports
1           Eaton VCP-W MOC and TOC Switch
1           Voltage Transformer Drawout Tray with porcelain supports
3           Voltage Transformers
3           Current Transformers - Relaying Class
3           Current Transformers - Metering Class
1           Schweitzer SEL-751A relay
1           Circuit Breaker Control Switch
2           Circuit Breaker Status Lights
2           ABB Test Switch
1           Device 86 Lockout Relay
1           Device 86 Healthy Circuit Light
1           Set, arc flash detection fiber optic and/or point sensors
3           Station Class Lightning Arrestors
1           Section, indoor, metal-clad vertical housing
1           Section, 1200A main copper silverplated insulated buswork
1           Set, bus components for 1200A breaker compartment
1           Set, power cabling and supports for VT auxiliary
1           Cabinet Space Heater
1           Cabinet Thermostat
1           Cabinet Interior Light and Switch
1           Cabinet Duplex Outlet




    50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev. t19—April 11, 2025                                   17



                                                                  - Appx336 -
             Case: 25-1812                      Document: 148                       Page: 340   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                      Document 14-6          Filed 05/07/25   Page 42 of 75


          MUM
           PowerProf/wall=

              Unit No. 12 - Capacitor Bank Feeder
  1           Eaton VCP-WC Breaker Element, 15kV 1200A 25kA 3 cycle
  1           Eaton VCP-W Breaker Compartment Kit, 1200A, with polyester supports
  1           Eaton VCP-W MOC and TOC Switch
  3           Current Transformers
  1           Schweitzer SEL-751A relay
  1           Circuit Breaker Control Switch
  2           Circuit Breaker Status Lights
  2           ABB Test Switch
  1           Set, arc flash detection fiber optic and/or point sensors
  3           Station Class Lightning Arrestors
  1           Section, indoor metal-clad vertical housing
  1           Section, 1200A main copper silverplated insulated buswork
  1           Set, bus components for 1200A breaker compartment
  1           Cabinet Space Heater
  1           Cabinet Thermostat
  1           Cabinet Interior Light and Switch
  1           Cabinet Duplex Outlet

              System Components
  1           Set, circuit breaker standard accessories
  1           Circuit breaker lift truck and lifting yoke
  1           Pendant style remote breaker control station
  12          Door-mounted receptacle to accept breaker remote control station umbilical
  1           Circuit breaker test cabinet
  1           Circuit breaker test jumper
  1           Circuit breaker electrical levering-in device
  2           Test Plug


  5.0 FACTORY TESTING

  5.1 The control circuits shall be tested at the normal voltage per ANSI and IEEE standards asapplicable.

      NOTE: There will be no medium voltage applied and the testing will be conducted in the low voltage test
      area.

  6.0 ENGINEERING DATA PROVIDED

  Myers Power Products, Inc. standard engineering document packages depict the equipment as specified
  and ordered. Standard drawing packages from Myers Power Products, Inc. shall be provided.




      50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev. U9—April 11, 2025                                    18




                                                                 - Appx337 -
           Case: 25-1812                      Document: 148                    Page: 341   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                    Document 14-6       Filed 05/07/25   Page 43 of 75


      MIMS
               PowerProduels,Ille
48VDC Battery System

1)       GNB Absolyte GP Series 20 Year VRLA Lead Calcium with absorbed glass matt electrolyte
stabilization.
125VDC 20 Year VRLA (AGM) Lead Calcium Station Battery sized per the below parameters:
Number of Cells: 24                            Minimum Temperature: 77 °F
Number of Jars: 24                            Design Margin: 1.10
Final volts per cell: 1.75 vpc (average)      Aging Factor: 1.25
Parallel Strings: 1

Profile: Step Load
Step 1: 198.5 amps for 1 minutes
Step 2: 6.5 amps for 478 minutes
Step 3: 198.5 amps for 1 minutes
Random Amp: N/A
Random Time: N/A
Total Time: 480 minutes
AH Removed: 58.40

Battery:
Model: 90G-09

Specific Gravity: 1.300
C8 Rating to 1.75ECV @ 77f: 344Ah
C8 Rating to 1.75ECV @ 77f: 36.12Ah
% of Requirement: 126.26%

Number of Cells: 24
Number of Jars: 24
Number of Plates: 9

System Weight: 1584 bs.
System Number: 1 Stack I 4 High

System Dimensions:
Length 26.19 in
Width 23.56 in
Height 34.12 in


Battery String Information:
Float vDC: 54.24 vDC Nominal Float (2.26vDC per cell)
Max vDC: 56.4.8 vDC Nominal Equalize (Equalize not recommended for VRLA product)

Electolyte Volume
Per cell: 1.01 gal




 50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev. #9—April 11, 2025                                   19




                                                               - Appx338 -
           Case: 25-1812                        Document: 148                       Page: 342   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                     Document 14-6           Filed 05/07/25   Page 44 of 75




                  PONSHIMMICISI I/iC
  Per string: 24.24 gal. (24 cells in the string)

  Heat Generation@ 6.5-amp discharge:
  Discharge: 187 Watts/hr/string
  Float: 5 Watts/hr

  Hydrogen Evolution:
  at Volts per Cell: 2.25
  at Temperature: 77.00 °F
  Per String: 0.0006 cu. Ft. per hour (24 cells in the string)

  Cell Resistance & Short Circuit:
  Short Circuit Current: 2594 max. amps. Maximum calculated Short Circuit Current in Amperes
  Cell Resistance: 0.000771 ohms. Resistance expressed in ohms, for Cell + 1 Connector.
  Optional Jar: Flame retardant, UL94 V-0/28% L.O.I.
  Safety Vent: Safety valve consisting of a pressure release vent and flame arrester. 3-10 psi opening
  pressure, self-resealing.
  Terminals: Solid copper insert

  2)     Spill Containment System:
  Enviroguard Hawk System — HWK-27-30
  Length 30 in.
  Width 27 in.
  Weight 29 lbs

  3)     Primax P4600 Series 10) Charger
  120v 1Ph input I 48VDC 20-amp output I Single Charger Configuration

  Charger capacity calculations: 1.1 X 58.4Ah removed/8 hr. recharge + 6.5 amps continuous = 14.53 amps.
  Use 20-amp charger.

  Model: P4600T-1-125-20 (T designates Battery Eliminator Filtration)
  Input=120 Volts +10/-12%, 1 Phase, 60 Hertz, 19 A
  Output voltage=48 VDC Nominal: Min VDC: 5.76 Max VDC: 57.6
  Output current=20 Amp Nominal: Min IDC: 0 Max IDC: 20
  Input circuit breaker=30A - 120V ac - 10KA IC
  Output circuit breaker=25A - 48V dc - 10KA IC
  CABINET = 50-ARM 350-1, 30Hx17Wx12D (in) 762Hx431.8Wx304.8D (mm) 16GA/1.5mm STEEL, GREY ANSI
  61 NEMA1, IP20,Weight 100lbs/45kg

  Dimensions and Weight Single Charger
  Height 30 in
  Width 17 in
  Depth 12 in
  Weight 161 lbs
  Floor Mount I top cable entry




    50032-TX1 csu — Pitkin East Switchgear Replacement I Rev. t19— April 11, 2025                                    20




                                                                - Appx339 -
           Case: 25-1812                       Document: 148                    Page: 343   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                     Document 14-6       Filed 05/07/25   Page 45 of 75


     -
     1 v/I
          PowerProducts,Ille.
Heat Loss 563 Btu/Hr. or .16 kW at 100% charger capacity
Input Amps required @ 120V-19 amps.




 50032-TX1 CSU — Pitkin East 5witchgear Replacement I Rev. #9— April 11, 2025                                   21




                                                                - Appx340 -
           Case: 25-1812                      Document: 148                       Page: 344   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                   Document 14-6           Filed 05/07/25   Page 46 of 75




                 PowerProducts,IflC
  Field Service

 Scope:                           Offloading and Assembly Supervision only

  Number of Techs:                1 tech to supervise for 2 days.




  Training

  Scope:                          Will provide personnel & equipment to perform (1) day of on-site training




   50032-TX1 CSU — PitkIn East Switchgear Replacement I Rev.119— April 11, 2025                                    22




                                                              - Appx341 -
            Case: 25-1812                       Document: 148                    Page: 345   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                     Document 14-6        Filed 05/07/25   Page 47 of 75



                PowerProducts;lilt,
Clarifications, Comments, and Exceptions

NOTE: THE FOLLOWING CLARIFICATIONS, COMMENTS AND EXCEPTIONS MUST BE ACKNOWLEDGED AND
RESOLVED IN WRITING PRIOR TO ANY PROJECT AWARD.

Rev.9:
1. Price Adjustment Update.
2. *Due to the recent increase in Tariffs, prices are subject to change for new and existing orders, if
   applicable. There may also be impacts to the supply chain for raw material and components, which may
   further impact our ability to ship orders in a timely manner. Myers Power Products, Inc. will do
   everything in our power to maintain the best pricing and shipment schedules pursuant to Market
   conditions during these uncertain times*

RE!v.
1. Price Refresh Update.

Rev. 7:
1. Price Refresh and Progress Payment Changes. No changes to the BOM have been made.

Rev. 6:
1. Price Refresh only. No changes to the BOM have been made.

Rev. 5:
1. Price Refresh only. No changes to the BOM have been made.

Rev. 4:
1. Per Teams meeting on 7/12/23, the following changes have been made:
    o MV Switchgear quoted identical to lineup previously sold Except for the sections for the Future and
        Cap Bank feeder sections that are offered as prepared spaces.
    o Future and Cap Bank feeder breakers are offered as an adder.
    o Some changes were made to PDC to match previously sold one.
    o State Certification was not required on previous order but has been provided this time as an
        optional adder if needed.
    o Field testing has been removed.
2. Note that HVAC units will be shipped separately and will require field installation by others.


1. Per Invitation to Negotiate #ITN-2023-066-GS and Section 26 13 13P dated 4.6.2023, the following
   changes have been made:
   o Per 2.2.C.2: Doors changed to 4070 (48"x 84").
   o Per 2.2.D.4: An indoor horn/strobe has been included.
   o Per 2.2.D.3: 2 3-way switches for emergency lighting have been included.
   o Per 2.2.D.5: An additional switch to control photocell has been added.
   o A preliminary schedule has been added. Note that an award date has not been provided. Myers has
       assumed start date. Actual lead times may vary based on factory loading at the time of order.




  50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev. #9— April 11, 2025                                   23




                                                                - Appx342 -
          Case: 25-1812                       Document: 148                       Page: 346   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                    Document 14-6          Filed 05/07/25   Page 48 of 75




                 Power/I/valets,Ine.

 1. The following changes were made based on previous PDC and switchgear sold to CSU.
    o Switchgear quoted as 1-high breaker sections.
    o Battery Section in switchgear has been removed. Batteries housed in the PDC battery
        compartment.
    o PDC dimensions resized per dimensions provided.




   50032-TX1 CSU — Pitkin East Switchgear Replacement I Rev, #9— April 11, 2025                                    24




                                                               - Appx343 -
           Case: 25-1812                       Document: 148                    Page: 347   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                    Document 14-6        Filed 05/07/25   Page 49 of 75


      INIIIIINS
         PowerProducts;Me

1. As requested in email dated 2/27/23, the following changes have been made:
   - PDC resized per specifications.
   - Switchgear lineup changed to a 2-high configuration.
2. Independent Services Contract: If we are awarded the contract and services are required, we will
   negotiate those terms at that time.

Rev. 0:
Power Distribution Center (PDC)
1. Reference Specification Section 26 13 13P dated 12.7.2022.
    a. Par. 1.8.B: O&M Manuals submitted 30 days after shipment in digital form.
    b. Par. 2.2.B.1: Insulation per BOM.
    c. Par. 2.3.A: Rear section of the SWGR is of welded design. The front section of the Switchgear is of
         bolted design.
    d. Par. 2.18: Exception taken to heat pump. Myers is offering a variable capacity air conditioner with
         electric strip heat. Units are rated to operate from -402F to +1312F.
2. UL listed/labeled components will be supplied where possible. No 3rd Party Certifications are included
   in base price.
3. All Power Distribution Center load weights and dimensions are approximations for quotation purposes
    only. Actual load weights and dimensions must be verified by structural calculations.
4. Control and Power wiring is included as detailed in our proposal. Additional circuits can be provided
    upon receipt of detailed information for an additional cost.
5. If required, an equipment interconnect wiring/cable list will be produced for subsequent use in the
    field. In the event of interfacing with customer equipment (whether internally installed CFEs or
    interfaces with external equipment), all pertinent information for such interfaces must be provided by
    the customer in the form of either customer provided wiring diagrams or wiring/cable schedules. The
    information to be included shall include source, destination, terminal#, wire/cable size, wire/cable type,
    and tagging requirements. If the information provided is not complete prior to release to
    manufacturing an adder will be provided to account for additional engineering resources to help
    determine the correct interconnect requirements.
6. If structural PE calculations are included in our proposal, please note the following: Preliminary
    calculations are provided for the approval process. Calculations sealed by the P.E. will be furnished
    after customer's final approval and release for construction. Any changes to the PEC affecting layout or
    design will result in added cost.
7. Customer Furnished Equipment (CFE): All CFE will be addressed during the project kickoff along with a
    schedule and letter submitted for due dates. At that time, all information (Drawings, Dimensions,
    Heat/Loss, Interconnect, Storage Requirements) regarding any CFE being issued by purchaser, to be
    installed by Myers Power Products, Inc. is required. If any information related to CFE is received after
    the release to manufacturing, Myers Power Products, Inc. has the right to place the project on hold,
    review the supplied information and issue a schedule revision and/or change order for incorporation of
    the delinquent information if capacity allows. Similarly, if the information required to properly install,
    wire, interconnect or test the CFE is not provided in a clear concise manner thereby requiring additional
    time to extract, extrapolate or coordinate with external parties to obtain relevant, applicable and
    pertinent information, Myers Power Products, Inc. reserves the right to issue a schedule revision and/or
    change order for such additional time. All CFE needs to be labeled and sent per instructions. If




  50032-TX1 CSU — Ritkin East Switchgear Replacement I Rev. #9—April 11, 2025                                   25



                                                               - Appx344 -
          Case: 25-1812                      Document: 148                      Page: 348   Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                  Document 14-6          Filed 05/07/25   Page 50 of 75


        MIDIS
          PowerProducts;Inc.
     shipments cannot be identified at Myers Power Products, Inc. receiving department, all trucks will be
     rerouted back to shipper until proper documentation is complete.
  8. Due to hazardous cargo considerations, batteries will ship directly to the jobsite from the battery
     manufacturer facility for installation in the field by others. Additional cost may ensue if battery storage
     is required.

  Medium Voltage Switchgear
  1. Reference Specification Section 26 13 13P
     a. Paragraph 2.7.B. — Relays and controls are quoted to match the previous project supplied to CSU in
          2018.
     b. Paragraph 2.9 — Current transformers with C800 accuracy class are not available, as these CTs are
         too large to fit around the circuit breaker primary bushings. C400 accuracy class CTs are quoted
          where only one set of CTs are required. C200 accuracy class CTs are quoted where more than one
         set of CTs are required, as the mounting space on the circuit breaker primary bushings limit the
          physical size of current transformers that can be positioned on the bushings.

  Battery System
  1. Battery systems sized per switchgear loads.
  2. A Certified Production Test Data per NEMA PE-5 is provided. Production test data report submitted
      before shipment.
  3. Approval drawings in PDF supplied via email.

  Training:
  1. Attendees will utilize the manufacturer's O&M Manuals.
  2. One day, one 8hr. session is included. Any more days or sessions will incur a change order.
  3. Not included are:
      - Video recording of training sessions.
      - Testing and commissioning.

  General
  1. Initial submittals shall be based on this quotation and the information provided at time of quotation.
  2. Standard Myers Power Products, Inc. inspection and test procedures will be performed on all Myers
     Power Products, Inc. furnished equipment in an ISO 9001 certified facility. Myers Power Products, Inc.
     standard documentation package is quoted.
  3. Commissioning and two-year spare parts list will be finalized after BOM acceptance.
  4. Welding will be per AWS D1.1.
  5. Material origins were not specified and shall be determined by Myers Power Products, Inc. and our sub-
     vendors.
  6. Drawings shall be provided in electronic (.DWG & .PDF) format, or B-Size 11x17" prints.
  7. Customer shall be responsible for any applicable taxes or fees.
  8. Seller shall not be responsible for any failure to perform, or delay in performance of, its obligations
     resulting from the COVID-19 pandemic or any future epidemic.
  9. Our proposal is based on the above bill of material. Any items, material or work, which are not
     specifically addressed in this quotation are not included. Changes can be provided if required for an
     additional cost.




   50032-TX1CSU — Pitkin East Switchgear Replacement I Rev. #9—April 11, 2025                                    26



                                                             - Appx345 -
                   Case: 25-1812                Document: 148                Page: 349            Filed: 07/20/2025

       Case 1:25-cv-00077-GSK-TMR-JAR                           Document 14-6              Filed 05/07/25            Page 51 of 75


                                                   COLORADO STATE UNIVERSITY
                                                      GENERAL CONDITIONS
                                             INVITATION FOR BID / DOCUMENTED QUOTE

 1.  This solicitation is governed by the following General Conditions and the Colorado State University Procurement Rules.
     Responding to this solicitation constitutes acceptance of these General Conditions. The CSU Procurement Rules, which can be
     viewed at http://www.purchasind.colostate.edu/pades/documents/ProcurementRules8-24-09.pdf, may differ from the State of
     Colorado Procurement Code and Rules. All inquiries regarding this solicitation should be directed to: Colorado State University,
     Office of Procurement Services, 6010 Campus Delivery, Fort Collins, CO 80523-6010; 970-491-5105.
 2. The bidder agrees to comply with all applicable state and federal laws relating to discrimination and unfair employment practices.
 3. The bidder certifies that prices and other terms in the Bid or Quote have been arrived at independently without consultation,
     communication, agreement with or knowledge of the contents of a Bid or Quote by any other competing bidder other than prices or
     terms gained through price lists or catalogs made available to the public by a competing bidder.
 4. Bidders are expected to examine CSU provided drawings, specifications, schedule of delivery and all instructions associated with
     this solicitation; failure to do so will be at the bidder's risk.
 5. Each bidder shall furnish all information required by the solicitation; the unit price for each item bid must be shown and a total for
     each item bid must be entered. In case of error in the extended price, the unit price prevails. Failure to provide requested information
     may result in disqualification.
 6. Specifications are provided to identify the product/service required and to establish an acceptable quality level. Bids or Quotes for
     products/services of equal quality and usability will normally be considered unless otherwise stated in the solicitation. The University
     will be the sole judge in determining "equals" in regard to price, quality and performance.
 7. All products shall be new and of the manufacturer's current model unless otherwise specified.
 8. Intentionally omitted.
 9. Colorado State University reserves the right to reject any and all Bids or Quotes and to waive formalities pursuant to the bidding,
     and to accept any portion of a Bid or Quote or all items bid, if deemed in the best interest of Colorado State University.
 10. This Invitation for Bid or Documented Quote does not obligate the University to pay any costs incurred in the preparation or the
     submission of such solicitation, or to purchase or contract for materials or services from such Invitation for Bid or Documented Quote
     if not in the best interests of Colorado State University In the sole judgment of the University.
 11. Treatment of any Confidential Information submitted in response to this solicitation will be governed by the Colorado State University
     Procurement Rules.
 12. A contract or purchase order will be awarded to the responsive and responsible bidder whose bid, conforming to the Invitation for
     Bid or Documented Quote, will be most advantageous to Colorado State University, price and other factors considered. Any
     purchase order issued as a result of this solicitation will be governed by the CSU Purchase Order Terms and Conditions (attached
     to the solicitation). Any contract executed between CSU and the successful bidder must contain certain required provisions for
     doing business with the State of Colorado, labeled "Special Provisions" (attached to the solicitation). The Special Provisions are
     required by law to be contained in every state contract without modification or exception. NOTWITHSTANDING ANY OTHER
     PROVISION CONTAINED IN THE SOLICITATION, QUOTE OR BID, OR ANY CONTRACT DOCUMENT ARISING FROM THIS
     SOLICITATION, THE UNIVERSITY IS PROHIBITED BY COLORADO LAW FROM AGREEING TO "INDEMNIFY," "DEFEND,"
     OR "HOLD THE CONTRACTOR HARMLESS" WITH RESPECT TO THIRD-PARTY CLAIMS THAT MAY BE BROUGHT AGAINST
     THE CONTRACTOR, WHERE PROVEN THE CONTRACTOR WAS AT FAULT. NO EXCEPTIONS TO THIS PROHIBITION
     ARE POSSIBLE AND ANY DOCUMENT PURPORTING TO CREATE SUCH INDEMNITY OBLIGATIONS SHALL BE
     REJECTED.
 13. No Bid shall be withdrawn for a period of 30 days subsequent to the submission of bids without the consent of the Colorado State
     University, Department of Procurement and Contracting Services.
 14. In its acceptance of any Bid or Quote, the University is relying on the delivery date and/or installation as material and basic to its
     acceptance, unless otherwise indicated. In the event of seller's failure to deliver, the University reserves the right to cancel its
     purchase order or contract, or any part thereof. Seller shall not be responsible for any failure to perform, or delay in performance of
     its obligations resulting from the COVID-19 pandemic or any future pandemic.
 15. In the event any item to be sold or delivered hereunder is covered by any patent, copyright, trademark, or application therefor, the
     seller will indemnify and hold harmless the University from directly related, verifiable costs, expenses, and reasonable attorney's
     fees on account of any claims, legal actions, or judgements on account of manufacturer, sale, or use of such item in violation,
     infringement or the like of rights, under such patent, copyright, trademark, or application.
 16. It is the responsibility of the bidder to ensure that the Bid or Quote, signed by an individual authorized to bind the bidder, arrives by
     the date and time and at the place indicated on the Invitation for Bid or Documented Quote. LATE BIDS WILL NOT BE ACCEPTED
     OR CONSIDERED. Receipt of a Documented Quote by the submission date and time is not an absolute criterion in determining
     responsiveness and Quotes received prior to the time of award may be considered, at the discretion of the University. The bidder Is
     responsible for submitting its response to either an Invitation for Bid or Documented Quote as directed by the solicitation.
 17. The bid or quoted price shall be exclusive of any federal, state or local taxes from which Colorado State University is exempt. Our
     Federal Excise Tax Exemption Certificate of Registry Number is 84-730-123K. Our Colorado State and Local Sales Tax Exemption
     Number is 98-02381.




Rev. September 10, 2020




                                                              - Appx346 -
                Case: 25-1812                 Document: 148                Page: 350            Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR                           Document 14-6              Filed 05/07/25            Page 52 of 75


 18. ANTI-KICKBACK ACT of 1986. Bidder represents that they have not provided or attempted to provide any kickback to any employee
      or agent of Colorado State University. All reports of possible kickbacks shall be submitted in writing to the Internal Auditing
      Department, Colorado State University System, Fort Collins, CO 80523-0019. Reports may also be made by telephone to 970- 491-
      6176.
 19. Insurance. If required by the solicitation, the Contractor shall obtain and maintain at all times during the performance of any
      contract or purchase order, insurance as specified. If insurance requirements are not specified in the solicitation, the Contractor
      represents that at the time of acceptance of any contract or purchase order, the Contractor maintains comprehensive general
      liability insurance in an amount not less than $1,000,000, combined single limit; worker's compensation insurance as required by
      law; and automobile liability insurance for all vehicles to be used by Contractor in the performance of the specified work. Upon
      request, Contractor shall provide proof of such coverages. Self-insurance programs do not meet the state's or the University's
      insurance requirements unless the Contractor provides satisfactory evidence of a loss reserve fund of not less than the minimum
      coverage amount specified in the solicitation, plus excess liability coverage as appropriate to the industry; financial statements of
      the business; and proof of Department of Labor certification of self-insurance program for worker's compensation.
 20. SMALL, WOMEN-OWNED, AND MINORITY-OWNED PARTICIPATION. It is the policy of the University to contribute to the
      establishment, preservation, and strengthening of small businesses and businesses owned by women, minorities, veteran,
      service-disabled veterans, and disadvantaged small business concerns, and to encourage their participation in State procurement
      activities. The University encourages Contractors to provide for participation of these businesses through subcontracts or other
      contractual opportunities in connection with the performance of the contract awarded under this solicitation. Submission of a
      report of past efforts to utilize the goods and services of such businesses and plans for involvement on this contract are not
      required, but may be considered by the evaluation committee reviewing the proposals.
 21. Cooperative Purchasing. It is the intent of this solicitation and any resulting Agreement to allow for cooperative purchasing.
      Accordingly, any public body (to include government/state agencies, political subdivisions, etc.), cooperative purchasing
      organizations, public or private health or educational institution, or any University related foundation may access the Agreement if
      authorized by the Selected Supplier(s). The Selected Supplier(s) will notify the University in writing of any participating entities who
      were denied access to this Agreement and why. Participation in this cooperative procurement is strictly voluntary. If authorized by
      the Selected Supplier(s), the Agreement may be extended to the entities indicated above to purchase goods and services in
      accordance with the Agreement. As a separate contractual relationship, the participating entity will place its own orders with the
      Selected Supplier(s) and will fully and independently administer its use of the Agreement to include contractual disputes, invoicing
      and payments without direct administration from the University. No modification of the Agreement or execution of a separate
      agreement is required to participate; however, the participating entity and the Selected Supplier(s) may modify the terms and
      conditions of the Agreement to accommodate specific governing laws, regulations, polices, and business goals required by the
      participating entity. Any such modification will apply solely between the participating entity and the Selected Supplier(s). The
      Selected Supplier(s) will notify the University in writing of any such entities accessing the Agreement. The Selected Supplier(s) will
      provide semi-annual usage reports for all entities accessing the Agreement. The University will not be held liable for any costs or
      damages incurred by any other participating entity as a result of any authorization by the Selected Supplier(s) to extend the
      Agreement. It is understood and agreed that the University is not responsible for the acts or omissions of any entity and will not be
      considered in default of the Agreement no matter the circumstances. Use of the Agreement does not preclude any participating
      entity from using other agreements or competitive processes as needed.




Rev. September 10, 2020                                                                                                                    2




                                                           - Appx347 -
                Case: 25-1812              Document: 148              Page: 351           Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR                       Document 14-6            Filed 05/07/25           Page 53 of 75


                                       SPECIFIC FOR MYERS POWER PRODUCTS
                                     PURCHASE ORDER TERMS AND CONDITIONS

                                                FOR PURCHASE OF GOODS

     This Purchase Order constitutes the entire contract between the Board of Governors of the Colorado State University
     System, acting by and through Colorado State University or Colorado State University-Pueblo (both Institutions referred
     to hereafter as "University"), and the named Vendor. The terms and conditions set forth herein may not be altered,
     deleted or added to without the express written consent of the University. Any terms and conditions contained in any
     attachment or other extraneous document shall be null and void unless expressly accepted by the University.
     Commencement of performance by Vendor constitutes agreement to the terms and conditions set forth herein
     regardless of whether or not Vendor has countersigned this Purchase Order.
2.   Payment: To ensure prompt payment, mail invoices in duplicate for each shipment. Invoices not mailed as directed
     may delay payment or become lost. Reference the purchase order number on the invoice(s) and mail invoice(s) to the
     appropriate institution: Colorado State University, Accounts Payable, 6003 Campus Delivery, Fort Collins, CO 80523
     or Colorado State University-Pueblo, Accounts Payable, 2200 N. Bonforte Blvd., Administration Building Room #212,
     Pueblo, CO 81001. The University's standard payment term is Net 30. Cash Discount Period (if applicable) will start
     from date of receipt of acceptable invoice or from date of receipt of acceptable merchandise at destination, whichever
     is the later.
s.   The laws of the State of Colorado, U.S.A., shall govern in connection with the formation, performance and the legal
     enforcement of this purchase order. Further, Procurement Rules established by each University, available at
     http://procurement.colostate.edu/policv/documents/CSU%20Proc%20Rules.pdf for Colorado State University or
     https://www.csupueblo.edu/purchasinq/ doc/procurement-rules-2019.pdf, govern this procurement. Unless otherwise
     specified in the solicitation or this order, venue for any judicial action arising out of or in connection with this purchase
     order shall be in the county wherein the applicable University is located. Vendor shall exhaust administrative remedies
     as set forth in the Procurement Rules, prior to commencing any judicial action against the University. All references in
     this purchase order to the Uniform Commercial Code shall mean the Uniform Commercial Code as adopted by the
     State of Colorado at Title 4, C.R.S., as amended.
4.   None of the terms or specifications stated in this purchase order may be added to, superseded or otherwise altered
     except in writing, signed by an authorized procurement representative of either University. Each shipment received by
     the University from Vendor shall be deemed to be only upon the terms contained in this purchase order and any signed
     contract of the parties, notwithstanding any terms that may be contained in any acknowledgement, invoice form or
     other document of Vendor and notwithstanding the acceptance or payment by the University.
5.   This purchase order is an acceptance of your offer as summarized in your quotation. When this purchase order is an
     offer to buy, your acceptance must show promised delivery date and method of shipping including routing and names
     of carriers. This purchase order shall not be deemed valid unless it is executed by a Purchasing Agent for either
     University. The University shall have no responsibility or liability for products or services delivered or performed prior
     to proper execution hereof.
6.   Please advise Purchasing Agent immediately if you cannot make complete shipment to arrive on your promised
     delivery date as noted, or if services cannot be commenced or completed as promised.
     a. Acknowledgement of purchase order (if required) must be signed and returned.
     b. Your acknowledgement must show expected shipping date and method of shipping. Routing and names of carriers
          to be provided prior to shipping.
     c. In the event of Vendor's failure to deliver specifically for reasons not related to any delays caused by the University,
          upon advanced written notice, the University reserves the right to cancel its purchase order or contract. In the event
          the delay to deliver is not the sole fault of the Seller, Seller's Cancellation Policy, attached herein, shall apply.
7.   This order is made of the following express terms:
     a. Goods are subject to University inspection upon arrival.
     b. Goods rejected due to failure to meet specifications, either when shipped or due to defects or damage in transit,
           may be returned to you for credit, and are not to be replaced except upon receipt of written instructions from the
           University. Seller shall make all transportation arrangements for the return of any goods. Free and unfettered
           access by common carrier shall be secured by the University.
     c. Additional charges for packing will not be accepted.
     d. A packing list must accompany each shipment.
     e. Intentionally Omitted
     f.    Shipments must be F.O.B., Colorado State University, Fort Collins, Colorado or F.O.B., Colorado State University-
           Pueblo, Pueblo, Colorado unless otherwise specified on this order. If permission is given to prepay freight and
           charge separately, original freight bill must accompany invoice.
     g. Colorado State University (CSU) and Colorado State University-Pueblo (CSU-P), agencies of the State of
           Colorado, are by statute exempt from state and local taxes. CSU Exemption Number is 98-02381and its Federal
           Excise Tax Exemption Certificate of Registry #84-730123K is on file with the Internal Revenue Service, Ogden,
PURCHASE ORDER TERMS AND CONDITIONS FOR PURCHASE OF GOODS                                              Revised September 23, 2021




                                                        - Appx348 -
               Case: 25-1812              Document: 148              Page: 352           Filed: 07/20/2025

      Case 1:25-cv-00077-GSK-TMR-JAR                     Document 14-6             Filed 05/07/25          Page 54 of 75


            Utah. CSU-P Exemption Number is 98-00585 and its Federal Excise Tax Exemption Certificate of Registry #84-
            0517947 is on file with the Internal Revenue Service, Denver, Colorado.
8.    Vendor certifies that it meets prevailing wage rates in its area and warrants compliance with the provisions of the Davis-
      Bacon Act when applicable.
9.    Quality. The University will be the sole judge in determining "equals" with regard to quality, price and performance. All
      products delivered shall be newly manufactured and of the manufacturer's current model, unless otherwise specified.
10.   Safety Information. All chemicals, equipment and materials proposed and/or used in the performance of this purchase
      order must conform to the standards required by the Occupational Safety and Health Act of 1970. Bidders must furnish
      Safety Data Sheets (SDS) for any regulated chemicals, equipment or hazardous materials at the time of delivery.
11.   Rights in Data, Documents, and Computer Software or Other Intellectual Property. Unless otherwise agreed in writing,
      any software, research, reports, studies, data, photographs, negatives or other documents, drawings or materials
      delivered by Vendor in the performance of its obligations under this purchase order shall be the exclusive property of
      the University. The ownership rights described herein shall include, but not be limited to, the right to copy, publish,
      display, transfer, prepare derivative works, or otherwise use the works.
12.   Indemnification. The Vendor shall indemnify, save and hold harmless the Board of Governors of the Colorado State
      University System acting by and through Colorado State University and Colorado State University-Pueblo, divisions of
      the State of Colorado, their employees and agents, against actual claims, damages, liability and court awards including
      verifiable, directly related costs, expenses, and reasonable attorney fees incurred as a result of any act or omission by
      the Vendor, or its employees, agents, subcontractors or assignees pursuant to the terms of this purchase order. In the
      event any article sold or delivered under this purchase order is covered by any patent, copyright, trademark, or
      application therefore, the vendor will indemnify and hold harmless the Board of Governors of the Colorado State
      University System acting by and through Colorado State University and Colorado State University-Pueblo, divisions of
      the State of Colorado, from actual liability, verifiable and directly related cost, expenses and reasonable attorney's fees
      incurred on account of any claims, legal actions, or judgments arising out of manufacture, sale or use of such article in
      violation, infringement or the like of rights under such patent, copyright, trademark or application.
13    Termination. Termination for Default/Cause.
      a. Except as otherwise agreed, the Uniform Commercial Code shall govern in the case of transactions in goods. In
           the case of services, if the Vendor refuses or fails to timely perform any of the provisions of this purchase order,
           with such diligence as will ensure its completion within the time specified in this purchase order, as mutually agreed
           between the Parties, the Purchasing Agent may notify the Vendor in writing of the non-performance, and if
           commence to cure is not within the time specified, such Agent may terminate the Vendor's right to proceed with
           the work or such part of the work as to which there has been delay or a failure to properly perform. The Vendor
           shall continue performance of the purchase order to the extent it is not terminated and may be liable for excess
           reasonable, verifiable and mutually agreed costs incurred in procuring similar goods or services elsewhere.
           Payment for completed services performed and accepted shall be at the purchase order price. Acceptance shall
           occur within five (5) days after delivery.
      b. In the case of remedies exercised under this paragraph for services, or analogous remedies exercised under the
           Uniform Commercial Code for transactions in goods, upon advanced written notice and agreement by the Vendor,
           the University may withhold amounts due to the Vendor as reasonably necessary and as mutually agreed between
           the University and Vendor to reimburse the University for excess costs incurred in curing, completing or procuring
           similar goods and services.
      c. The Vendor shall not be in default by reason of any failure in performance of this purchase order in accordance
           with its terms if such failure arises out of acts of God; acts of the public enemy; acts of the State and any
           governmental entity in its sovereign or contractual capacity; fires; floods; epidemics; quarantine restrictions; strikes
           or other labor disputes; freight embargoes; or unusually severe weather; provided, however, that such causes may
           entitle the University to terminate this order for convenience. In the event of termination, CSU shall pay vendor for
           all work in-process or completed prior to termination pursuant to the Vendor's Cancellation Policy included with
           this proposal. In no case will the payment exceed the value of the purchase order.
      d. If after rejection, revocation, or other termination of the Vendor's right to proceed under the provisions of the
           Uniform Commercial Code (in the case of transactions in goods) or this clause (in the case of services), it is
           determined for any reason that the Vendor was not in default under the provisions of this clause, or that the delay
           was excusable, the rights and obligations of the parties shall be the same as if the notice of termination had been
           issued pursuant to the termination for convenience clause.
14.   Termination for Convenience.
      a. Cancellation Prior to Contract Formation. When this purchase order is not accepted by written acknowledgment,
           this purchase order may be canceled by written notice to the Vendor prior to beginning of performance of services.
      b. Termination after Contract Formation. Unless otherwise agreed in writing, in addition to the rights and remedies
           governing transactions in goods in the Uniform Commercial Code, the Purchasing Agent may, when the interests
           of the University so require, terminate this purchase order in whole or in part, for the convenience of the University.
           The Purchasing Agent shall give written notice of the termination to the Vendor specifying the part of the purchase
           order terminated and when termination becomes effective. Upon receipt of the notice of termination, the Vendor
           shall incur no further obligations except to the extent necessary to mitigate costs of performance. In the case of
PURCHASE ORDER TERMS AND CONDITIONS FOR PURCHASE OF GOODS                                              Revised September 23, 2021




                                                       - Appx349 -
                 Case: 25-1812             Document: 148              Page: 353          Filed: 07/20/2025

      Case 1:25-cv-00077-GSK-TMR-JAR                      Document 14-6            Filed 05/07/25         Page 55 of 75


           services or specially manufactured goods, the University shall pay reasonable settlement expenses, the contract
           price or rate for supplies and services delivered and accepted, the reasonable costs of performance on unaccepted
           supplies and services, and a reasonable profit for that unaccepted work, in accordance with the cost principles
           promulgated under each University's respective Procurement Rules, as amended. In the case of existing goods,
           the University shall pay reasonable settlement expenses, the contract price for goods delivered and accepted,
           reasonable costs incurred in preparation for delivery of the undelivered goods, and a reasonable profit for that
           preparatory work. The amount of the termination liability under this paragraph shall not exceed the amount of the
           purchase order price plus a reasonable cost for settlement expenses. The Vendor agrees to submit a termination
           proposal as well as reasonable supporting documentation, cost and pricing data upon request of the Purchasing
           Agent. Vendors Cancellation Policy is attached for review and acceptance. CSU will confirm acceptance of
           Vendor's Cancellation Policy prior to the start of Work under this agreement.
15.   Receipt of merchandise, services or equipment in response to this order shall result in authorized payment on the part
      of the University. However, it is to be understood that final acceptance, which such final acceptance shall not exceed
      90 days after delivery of equipment, is dependent upon completion of all applicable required inspection procedures.
      Should the service rendered or merchandise furnished fail to meet all inspection requirements, the University reserves
      the right to reject all or some of the goods and services or exercise any other remedies provided by law during the
      warranty period. Vendor shall be notified in writing within 24 hours of such rejections with reason for rejection.
16.   Assignment and Successors. Neither the Vendor or CSU shall assign rights or delegate duties under this purchase
      order or subcontract any part of the performance required under the purchase order, without the express written
      consent of the other Party, which shall not be unreasonably withheld. This purchase order shall inure to the benefit of
      and be binding upon the parties hereto and their respective successors and assigns. In the event of assignment of
      accounts receivable, Seller shall notify the University in writing.
17.   All provisions and remedies of the Uniform Commercial Code relating to both implied and expressed warranties are
      herewith referred to and made part of this agreement.
18.   All parties to this purchase order agree that the representatives named herein are, in fact, bona fide and possess full
      and complete authority to bind said parties.
19.   Compliance with Laws. Vendor agrees to comply with all applicable federal and state laws, regulations and policies,
      as amended, including those regarding discrimination, unfair labor practices, anti-kick-back and collusion.
20.   Sensitive Data: To the extent Vendor comes in contact with individual personal data owned or otherwise held by the
      University as a result of performing under the purchase order ("Data"); Vendor agrees to use such Data, if at all, only
      to the extent required to perform its obligations under this purchase order and to abide by the requirements of any
      federal, state and local laws that address the protection and/or use of such Data.
21.   Americans with Disabilities Act (ADA) Requirements. If this purchase order includes the provision of university services
      to the public, the Vendor shall, in addition to any other requirements under Title 11 of the Americans with Disabilities
      Act, comply with the requirements of the Americans with Disabilities Act regarding the accessibility of the University's
      services and programs, as an explicit requirement. The Vendor assures that, at all times during the performance of
      this purchase order, no qualified individual with a disability shall, by reason of that disability, be excluded from
      participation in, or be denied benefits of, services, programs, or activities performed by the Vendor for the benefit of
      the University.
22.   Vendor acknowledges that providing goods and services under this purchase order is subject to compliance with laws
      that relate to the export of technical data or equipment, such as International Traffic in Arms Regulations ("ITAR")
      and/or Export Administration Act/Regulations ("EAR"). Vendor agrees to comply with all such laws, regulations and
      orders as currently in effect or hereafter amended. Vendor shall not disclose any export-controlled information, or
      provide any export-controlled equipment or materials to the University without prior written notice. In the event that the
      University agrees to receive such export-controlled information, equipment or materials, Vendor shall (i) include the
      Export Control Classification Number (ECCN) or ITAR notice on the packing documentation, and (ii) send an electronic
      copy of the ECCN number and packing documentation to the Office of the General Counsel at Colorado State
      University or Colorado State University - Pueblo.
23.   Fund Availability; Federal Funds Contingency. Financial obligations of the University, as a division of the State of
      Colorado, payable after the current fiscal year are contingent upon funds for that purpose being appropriated, budgeted
      and otherwise made available. If this purchase order is funded in whole or in part with federal funds, this purchase
      order is subject to and contingent upon the continuing availability of federal funds for the purposes hereof. If this
      purchase order contemplates the purchase of goods to be delivered in a single installment, the University represents
      that it has set aside sufficient funds to make payment under this purchase order in accordance with its term.
24.   Vendor Offset. Pursuant to CRS 24-30-202.4, as amended, the State Controller may withhold payment for debts owed
      to state agencies under the vendor offset intercept system for: (a) unpaid child support debt or child support arrearages;
      (b) unpaid balance of tax, accrued interest, or other charges specified in Article 21, Title 39, CRS; (c) unpaid loans due
      to the Student Loan Division of the Department of Higher Education; (d) owed amounts required to be paid to the
      unemployment compensation fund; and (a) other unpaid debts owing to the state or any agency thereof, the amount
      of which is found to be owing as a result of final agency determination or reduced to judgment as certified by the State
       Controller. In the event University must withhold payments for debts owed under this provision, University will notify
      Vendor in advance of withholding as early as possible.
PURCHASE ORDER TERMS AND CONDITIONS FOR PURCHASE OF GOODS                                            Revised September 23, 2021




                                                        - Appx350 -
                Case: 25-1812              Document: 148              Page: 354          Filed: 07/20/2025

      Case 1:25-cv-00077-GSK-TMR-JAR                     Document 14-6             Filed 05/07/25          Page 56 of 75


25.    Insurance. The Vendor shall obtain and maintain at all times during the term of this purchase order, insurance as
       specified in the solicitation or order. If insurance requirements are not specified in the solicitation or order, the Vendor
       represents that at the time of acceptance of this order the Vendor maintains comprehensive general liability insurance
       in an amount not less than $1,000,000, combined single limit; worker's compensation insurance as required by law;
       and automobile liability insurance for all vehicles to be used by Vendor in the performance of services under this order.
       Upon request, Vendor shall provide proof of such coverages. Self-insurance programs do not meet the state's or the
       University's insurance requirements unless the Vendor provides satisfactory evidence of a loss reserve fund of not less
       than the minimum coverage amount specified in the solicitation, plus excess liability coverage as appropriate to the
       industry; financial statements of the business; and proof of Department of Labor certification of self-insurance program
       for worker's compensation.
26.    INDEPENDENT CONTRACTOR. 4 CCR 801-2. Vendor shall perform its duties hereunder as an independent
       contractor and not as an employee. Neither Vendor nor any agent or employee of Vendor shall be or shall be deemed
       to be an agent or employee of the university. Vendor shall pay when due all required employment taxes and income
       taxes and local head taxes on any monies paid by the university pursuant to this contract. Vendor acknowledges that
       Vendor and its employees are not entitled to unemployment insurance benefits unless Vendor or a third party provides
       such coverage and that the University will not pay for or otherwise provide such coverage. Vendor shall have no
       authorization, express or implied, to bind the University to any agreement, liability or understanding, except as
       expressly set forth herein. Vendor shall provide and keep in force workers' compensation (and provide proof of such
       insurance when requested by the University) and unemployment compensation insurance in the amounts required by
       law and shall be solely responsible for its acts and those of its employees and agents.
27.    PUBLIC CONTRACTS FOR SERVICES. CRS §8-17.5-101. [Not Applicable to agreements relating to the offer,
       issuance, or sale of securities, investment advisory services or fund management services, sponsored projects,
       intergovernmental agreements, or information technology services or products and services] Vendor certifies,
       warrants, and agrees that it does not knowingly employ or contract with an illegal alien who will perform work under
       this contract and will confirm the employment eligibility of all employees who are newly hired for employment in the
       United States to perform work under this contract, through participation in the E-Verify Program or the Department
       program established pursuant to CRS §8-17.5-102(5)(c), Vendor shall not knowingly employ or contract with an illegal
       alien to perform work under this contract or enter into a contract with a subcontractor that fails to certify to Vendor that
       the subcontractor shall not knowingly employ or contract with an illegal alien to perform work under this contract.
       Vendor (a) shall not use E-Verify Program or Department program procedures to undertake pre-employment screening
       of job applicants while this contract is being performed, (b) shall notify the subcontractor and the university within three
       days if Vendor has actual knowledge that a subcontractor is employing or contracting with an illegal alien for work
       under this contract, (c) shall terminate the subcontract if a subcontractor does not stop employing or contracting with
       the illegal alien within three days of receiving the notice, and (d) shall comply with reasonable requests made in the
       course of an investigation, undertaken pursuant to CRS §8-17.5-102(5), by the Colorado Department of Labor and
       Employment. If Vendor participates in the Department program, Vendor shall deliver to the university a written,
       notarized affirmation, affirming that Vendor has examined the legal work status of such employee, and comply with all
       of the other requirements of the Department program. If Vendor fails to comply with any requirement of this provision
       or CRS §8-17.5-101 et seq., the University may terminate this purchase order for breach and, if so terminated, Vendor
       shall be liable for damages,
28.    PUBLIC CONTRACTS WITH NATURAL PERSONS. CRS §24-76.5-101. Vendor, if a natural person eighteen (18)
       years of age or older, hereby swears and affirms under penalty of perjury that he or she (a) is a citizen or otherwise
       lawfully present in the United States pursuant to federal law, (b) shall comply with the provisions of CRS §24-76.5-
       101 et seq., and (c) has produced one form of identification required by CRS §24-76.5-103 prior to the effective date
       of this purchase order.




PURCHASE ORDER TERMS AND CONDITIONS FOR PURCHASE OF GOODS                                               Revised September 23, 2021




                                                       - Appx351 -
            Case: 25-1812          Document: 148                 Page: 355   Filed: 07/20/2025

 Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-6           Filed 05/07/25      Page 57 of 75


PINVIEFES
   PowerProducts,Ing
                                          Cancellation Policy



    An order may be canceled by the purchaser only upon the written notice and upon payment to
    the company of reasonable and proper cancellation charges. The expenses to be covered by
    these charges would include an unrecoverable cost incurred by the company. In addition, a one-
    time charge will be made to compensate for lost profits, disruptions in schedules, planned
    production and other indirect costs. It is recognized that it is impossible to determine exactly
    these indirect costs. As such, it is agreed that the one-time charge is acceptable and proper.
    Total cancellation charges will be calculated as follows:

    Order Entry:
    After receipt of an order at the factory and order processing, but prior to the start of engineering,
    there will be a one-time 5 percent charge, with a minimum of $1,000.00 for any one order.

    Release for Engineering:
    After an order has been released for engineering, there will be a one-time 10 percent charge for
    cancellation plus any actual costs incurred including vendor cancellation charges, engineering
    labor expended plus costs associated with engineering overhead, selling, general and
    administrative expenses.

    Release for Manufacture:
    After an order has been released for manufacture and scheduled for production, there will be a
    one-time 10 percent charge for cancellation plus any actual costs incurred including, but not
    limited to, vendor cancellation charges, all materials received or expended, shop and
    engineering labor plus costs associated with manufacturing and engineering overhead, selling,
    general and administrative expenses.

    Cancellation Scheduled as follows:
        •    5% of Contract Value After Receipt of Order
        •    Plus 10% After Release to Engineering for Submittals
        •    Plus 50% After Release to Purchasing
        •    Plus 25% After Release to Production
        •    Up to 100% of Contract Value based on POC (percentage of completion)

    In addition to the above charges, a reasonable profit of 10 percent will be allowed and payable
    against all identified costs incurred by the time of cancellation. Cancellation costs will be due
    and payable within 30 days of submittal of a proper invoice for such costs. Any amount not paid
    within 30 days will be subject to late charges of 1 percent per month for each fraction of a
    month that payment is received late at MPP.




    EST-PC-255_rev 1                               7/8/2024                                    Page 1 of 1
                                               Uncontrolled If Printed




                                               - Appx352 -
          Case: 25-1812                         Document: 148                            Page: 356                      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                      Document 14-6                             Filed 05/07/25              Page 58 of 75


          IN WITNESS WHEREOF, THE PARTIES HERETO HAVE EXECUTED THIS AMENDMENT
   *Persons signing for Contractor hereby swear and affirm that they are authorized to act on Contractor's behalf
   and acknowledge that Colorado State University is relying on their representations to that effect and accept
   personal responsibility for any and all damages the University may incur for any errors in such representation.

                           CONTRACTOR:                                                                  STATE OF COLORADO
                     Myer's Power Products Inc.                                                         Jared Polis, GOVERNOR
                                                                                            Board of Governors of the Colorado State University
                                                                                          System, acting by and through Colorado State University

                  77Z/CE (24 VEZAA1
    By:   pie:10E dAVEZAN (Apr 25,2025 14:48 PDT)
                                                                                       By:      Brendan Haffon (Apr 28, 2025 09:08 HOT)
    Name: pATRICE dAVEZAN                                                                             Brendan Hanlon
                                                                                       Name:
    Title: Director, Contracts Management
                                                                                       Title:         Vice President for University Operations
    Date: Apr 25, 2025                                                                               Apr 28, 2025
                                                                                       Date:


                                                                                                                REQUIRED APPROVALS:

                                                                                                .5a44-ha. Siza.4141,
                                                                                       By:
                                                                                       Name: Sandy Sheahan
                                                                                       Title:        AVP of Facilities Operations



                                                                                       Account No:




                                                                                                                      LEGAL REVIEW
                                                                                                               Philip J. Weiser, Attorney General


                                                                                       By:
                                                                                                             Andel-som
                                                                                                Brian Anderson (Apr22, 202511:08 MDT)

                                                                                                Brian Anderson, Esq.
                                                                                                Associate Legal Counsel
                                                                                                Office of the General Counsel


          ALL EXPENDITURE CONTRACTS REOUIRE APPROVAL by the UNIVERSITY CONTROLLER

   CRS §24-30-202 and University policy require the University Controller to approve all expenditure contracts.
   This Amendment is not valid until signed and dated below by the University Controller or delegate. Contractor is
   not authorized to begin performance until such time. If Contractor begins performing prior thereto, the
   University is not obligated to pay Contractor for such performance or for any goods and/or services provided
   hereunder.

                                           COLORADO STATE UNIVERSITY CONTROLLER
                                                               David Ryan
                                                    By:     ozvg1Rpo (Apr 29.2025 C6:31 MDT)




                                                    Date:        Apr 29, 2025




                                                                 - Appx353 -
         Case: 25-1812   Document: 148   Page: 357   Filed: 07/20/2025




Case 1:25-cv-00077-GSK-TMR-JAR   Document 14-6   Filed 05/07/25    Page 59 of 75




                         Attachment 4




                                 - Appx354 -
                     Case: 25-1812              Document: 148                 Page: 358             Filed: 07/20/2025

       Case 1:25-cv-00077-GSK-TMR-JAR                          Document 14-6                 Filed 05/07/25               Page 60 of 75
4/30/25, 8:34 AM                               State.co.us Executive Branch Mail - Fwd: Tariff Impact and Price Adjustments



                                                                                Chapman - DPA, John <john.chapman@state.co.us>



  Fwd: Tariff Impact and Price Adjustments
  Swift - DPA, Brian <brian.swift@state.co.us>                                                                Mon, Apr 28, 2025 at 11:14 AM
  To: John Chapman - DPA <john.chapman@state.co.us>

     Passing your way.


     Regards,
     Brian Swift
     State Procurement Administrator
     State Purchasing and Contracts Office




     1525 Sherman St., Denver, CO 80203
     brian.swift@state.co.us I www.colorado.gov/osc/spo

     With Canary for State Price Agreements, you can now provide feedback on the suppliers that you’ve worked with!
     Please visit our Canary for State Price Agreements webpage for more information.



     ---------- Forwarded message ---------
     From: OfficeDepot PricingCompliance <OfficeDepotPricingCompliance@officedepot.com>
     Date: Wed, Feb 26, 2025 at 3:21 PM
     Subject: Tariff Impact and Price Adjustments
     To: brian.swift@state.co.us <brian.swift@state.co.us>




     2/26/2025

     Dear Brian Swift,

     As you may be aware, the U.S. government has announced that it will be imposing tariffs on goods imported from China,
     Mexico, and Canada. These tariffs will increase the cost of the products from these countries, and we simply are unable
     to absorb the entire financial burden.

     Therefore, effective on March 1, 2025, we will be implementing a price adjustment on those products sourced from China.
     All price adjustments for affected products will be calculated based on the tariff’s specific impact on each product’s
     customer selling price. Attached to this letter is a list of your impacted core list SKUs.

     Going forward, we will continuously monitor the imposition of any additional tariffs on products imported from Canada and
     Mexico, as well as on any other country supplying products to our business, and as a result, we may need to make further
     price adjustments as may be necessary.

     Please know that we are actively exploring ways to mitigate the financial impact of these tariffs and as always, despite
     these extreme global economic challenges, our commitment to providing you with high-quality products and exceptional
     service remains unwavering. We believe that these price adjustments are critical to ensuring both the continued
     sustainability of our business as well as our ability to deliver the utmost value you expect from ODP Business Solutions.

     Your service representative will be reaching out with additional details and information so please let them know should
     you have questions. We appreciate your understanding as we navigate this situation.

https://mail.google.com/mail/u/0/?ik=224794d056&view=pt&search=all&permmsgid=msg-f:1830667470071900631&simpl=msg-f:1830667470071900631    1/2
                                                              - Appx355 -
                         Case: 25-1812                    Document: 148                   Page: 359               Filed: 07/20/2025

       Case 1:25-cv-00077-GSK-TMR-JAR                                      Document 14-6                   Filed 05/07/25                 Page 61 of 75
4/30/25, 8:34 AM                                        State.co.us Executive Branch Mail - Fwd: Tariff Impact and Price Adjustments


     Thank you for your valued partnership,

     Tom Riccio
     SVP of Sales
     ODP Business Solutions

     ***CONFIDENTIALITY NOTICE: The information contained in this email and attached document(s) may contain confidential information that is intended only
     for the addressee(s). If you are not the intended recipient, you are hereby advised that any disclosure, copying, distribution or the taking of any action in
     reliance upon the information is prohibited. If you have received this email in error, please immediately notify the sender and delete it from your system.


     TArifFs2025NA

      2 attachments


                                              Logo.jpg
                                              5K


           NASPO State of Colorado +1% - 1459 - 2025 Tariffs.xlsx
           368K




https://mail.google.com/mail/u/0/?ik=224794d056&view=pt&search=all&permmsgid=msg-f:1830667470071900631&simpl=msg-f:1830667470071900631                               2/2
                                                                         - Appx356 -
         Case: 25-1812   Document: 148   Page: 360   Filed: 07/20/2025




Case 1:25-cv-00077-GSK-TMR-JAR   Document 14-6   Filed 05/07/25    Page 62 of 75




                         Attachment 5




                                 - Appx357 -
             Case: 25-1812       Document: 148          Page: 361     Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-6       Filed 05/07/25       Page 63 of 75




   Denver Office                      Main Office/Accounting                    Seattle Office
   2000 W. Quincy Ave                      2450 N. Townsend Ave                  4210 B St NW, Ste A
  Englewood, CO 80110                       Montrose, CO 81401                   Auburn, WA 98001
    P: 720-389-8633                          P: 970-240-5971                      P: 253-243-6172
    F: 720-242-9276                          F: 970-240-0951                      F: 253-243-6194


April 11, 2025                                       Email: geoffry@formworksdesigngroup.com

Formworks Design Group                                  Re:
P.O. Box 476 | Eastlake, CO 80614                             LEADED GLASS PANEL CHANGE ORDER



We are providing this Change Order for review and approval. All work will be performed as directed
by the FormWorks+ Design Group. All materials will be installed in accordance with the
manufacturer’s written recommendations.

Leaded Glass Panel Material Change Order

Due to the most recent tariffs imposed on our vendors, we are providing this Change Order for
review and approval. Denver Art Glass has notified Summit that the cost of the lead came is affected
and therefore is requesting additional funding.



Change Order Total:                                                              $3,700.00


Upon review and approval Summit Sealants and Restoration Services Inc. will submit all necessary
schedules, mock-ups, samples, technical data sheets etc.

Sincerely,
Derek L. Cole
Summit Sealants and Restoration Services Inc.

Derek L. Cole
Project Manager
970-964-8056
derekc@summitsealants.com



April 11, 2025                                                                                Page: 1/1

      “At the Top of the Industry in the Western United States for Over 20 Years”
                                            - Appx358 -
            Case: 25-1812        Document: 148         Page: 362      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-6         Filed 05/07/25        Page 64 of 75




    Denver Office                     Main Office/Accounting                     Seattle Office
    2000 W. Quincy Ave                    2450 N. Townsend Ave                    4210 B St NW, Ste A
   Englewood, CO 80110                     Montrose, CO 81401                     Auburn, WA 98001
     P: 720-389-8633                        P: 970-240-5971                        P: 253-243-6172
     F: 720-242-9276                        F: 970-240-0951                        F: 253-243-6194


 September 19, 2024                                 Email:                       @gmail.com

                                                       Re:                  PHASE 5 -WINDOW
                                                             RESTORATION AND PROTECTIVE
                                                             GLAZING


 In accordance with Formworks design group request to perform Historic Restoration repairs at the
 above-mentioned property, we are providing our proposal for review and approval. All work will be
 performed as directed by the Formworks design group. All materials approved and specified will be
 installed in accordance with the manufacturer written recommendations.

 Task A: East Monumental and Select North and East Window Restoration                  $95,881.00

     •    East Sanctuary Monumental #113, North and East tilt windows #’s 105, 106, 107 and 111.
     •    Coordinate with DAG for stained glass panel restoration. Frame and Sash restoration follow
          Preservation Brief 9. Glass panel restoration from DAG included in line-item pricing.

 Task B: East Monumental and Select North and East Window Protective Glazing            $25,133.00

     •    East Sanctuary Monumental #113, North and East tilt windows #’s 105, 106, 107 and 111.
     •    ¼” Clear Tempered protective glazing including venting foam tape.

 General Conditions                                                                     $38,345.00
 Bonding                                                                                $5,484.00
 Overhead & Profit                                                                      $17,072.00



 Total for all line items listed above                                               $181,915.00




 September 19, 2024                                                                            Page: 1/3

         “At the Top of the Industry in the Western United States for Over 20 Years”
                                           - Appx359 -
           Case: 25-1812        Document: 148          Page: 363       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-6          Filed 05/07/25        Page 65 of 75




    Denver Office                    Main Office/Accounting                        Seattle Office
    2000 W. Quincy Ave                    2450 N. Townsend Ave                     4210 B St NW, Ste A
   Englewood, CO 80110                     Montrose, CO 81401                      Auburn, WA 98001
     P: 720-389-8633                        P: 970-240-5971                         P: 253-243-6172
     F: 720-242-9276                        F: 970-240-0951                         F: 253-243-6194




 *** ADD/ALTERNATE***                                                  $6,378.00
 Owner Funded Glass panel restoration with religious iconography/connotation, #113 Bottom
 Center.


 Total for all line items listed above including Alternate                          $188,293.00




 Recommended to include a contingency minimum of 10%.
 The proposed work is to be completed during regular working hours M-F, 7:00 am – 3:30 pm.


 Payment Terms: “Net 30 Days. Price is valid for 30 days.”
 This proposal is proprietary and confidential, intended only for the recipients addressed above.


 Due to the rapid change in cost associated with materials and labor Summit Sealants reserves the
 right to adjust the pricing accordingly. Pricing is based on current material costs and labor rates.
 Any change in pricing will be executed with a written Change Order and authorized prior to
 execution.


 General Exclusions: Adequate- water, power, sanitation, staging/laydown area, notifying
 tenants/public of noise associated with work, landscaping, temporary storage, uninterrupted
 access to work location, Removal or replication of any interior furnishings, including window
 treatments and coverings, multiple mobilizations/demobilizations, Fencing, abatement, Parking,
 any scope of work outside of what is mentioned in this proposal.


 September 19, 2024                                                                             Page: 2/3

      “At the Top of the Industry in the Western United States for Over 20 Years”
                                           - Appx360 -
           Case: 25-1812       Document: 148          Page: 364     Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-6         Filed 05/07/25       Page 66 of 75




    Denver Office                   Main Office/Accounting                      Seattle Office
    2000 W. Quincy Ave                   2450 N. Townsend Ave                   4210 B St NW, Ste A
   Englewood, CO 80110                    Montrose, CO 81401                    Auburn, WA 98001
     P: 720-389-8633                       P: 970-240-5971                       P: 253-243-6172
     F: 720-242-9276                       F: 970-240-0951                       F: 253-243-6194




 Summit Sealants and Restoration Services Inc. proposal is based on its review of the Form+Works
 Construction Documents Dated March 26, 2024 and on our experience in the industry performing
 similar scopes of work. Should work reveal hidden problems or defects, changes may be required in
 the scope of work with additional costs associated with this new work.


 Upon review and approval, Summit Sealants and Restoration Services Inc. will submit all necessary
 schedules, mock-ups, samples, technical data sheets etc.



 Sincerely,
 Summit Sealants and Restoration
 Derek Cole
 Project Manager
 970-964-8056
 derekc@summitsealants.com




 September 19, 2024                                                                          Page: 3/3

      “At the Top of the Industry in the Western United States for Over 20 Years”
                                         - Appx361 -
         Case: 25-1812   Document: 148   Page: 365   Filed: 07/20/2025




Case 1:25-cv-00077-GSK-TMR-JAR   Document 14-6   Filed 05/07/25    Page 67 of 75




                         Attachment 6




                                 - Appx362 -
                                                  Case: 25-1812                                         Document: 148                                         Page: 366                     Filed: 07/20/2025




                   Case 1:25-cv-00077-GSK-TMR-JAR                                                                                     Document 14-6                                   Filed 05/07/25       Page 68 of 75




                                                                                            7 Summits Exteriors, DBA: 7 Summits Roofing LLC
  Ft Lyon Hail Damage Roofing Repairs – P051036                              melani.burcham@state.co.us                        720-668-0377
                                                                   4775 Suite 104 Centennial Blvd; Colorado Springs, CO 80907
                                                        Phone: (719) 432-8619 FAX: (719) 447-0606 EMAIL: geoffb@7summitsexteriors.com
   We hereby submit revised price estimates due to April 1st 2025 supplier increases for the Fort Lyon Supportive Residential Community:

  SCOPES OF WORK:
 Colorado Department of Local Affairs                                                                                  PROPOSAL
                                                                                                             Melani Burcham                                                        4-1-25
    - Shingle Roofs (2286 sq)
           o Install shingle roofs per scope of work detailed by UBS in pre-bid documents: $1,310,306.00
PROPOSAL SUBMITTED TO:
JOB- NAME:
      Metal Roofs (Corrugated, Standing Seam, R-Panel)                                EMAIL:                                    CONTACT:                                           PHONE:       DATE
           o Install metal roofs per scope of work detailed by UBS in pre-bid documents: $531,020.00
   -  Tile Repair (4206 tiles to repair)
           o Replace broken Ludowici tiles on buildings as detailed by UBS in the pre-bid documents: $159,333.00
   -  Flat Roofs (110 sq)
           o Replace the low slope roofs per scope of work detailed by UBS in the pre-bid documents $348.000.00

     Taxes are not included.

    Anything not included in the UBS scope of work will be excluded from contract.

    All work will be done according to the manufacturer’s specifications and procedures. All work will have a 1-yr. workmanship warranty per
  the warranty requirements as published by the Colorado Department of Local Affairs

  Base Estimate as Written in UBS Scope of work as of April 1st, 2025. Includes all material, labor, overhead and profit:

            Two Million Three Hundred and Forty Eight Thousand, Six Hundred and Fifty Nine Dollars and Zero Cents ($2,348,659.00)

    Payment Terms: Materials Billed when Purchased and on Site, remaining billing as written in DBB contract with 10% retainage held until
                                                            final completion.
  All material is guaranteed to be as specified. All work is to be completed in a workmanlike manner according to standard practices. Any alteration or deviation from the above
  specifications involving extra costs will be charged accordingly. Not responsible for roof leaks in areas other than those worked on. Under no circumstance is 7 Summits
  Roofing and Exteriors responsible for existing damages to the building, its contents or roof deck.



                                                                                      Accepted By:



                                                                                      ______________________________________ Date____________
    Geoffrey Bray. Vice President Residential and Steep Slope
    Roofing




                                                                                                                                 - Appx363 -
                           Case: 25-1812            Document: 148             Page: 367         Filed: 07/20/2025




          Case 1:25-cv-00077-GSK-TMR-JAR                        Document 14-6             Filed 05/07/25           Page 69 of 75




SPECIAL CONDITIONS: The following provisions are incorporated into the foregoing proposal (the “Proposal”) by this reference:

        1.) Either party may request additions and/or alterations to the Proposal. Any such proposed alterations and/or modification must be
        in writing and approved by both parties in order to be binding.

        2.) Any work not included within this Proposal will be performed only upon written work order approved by both parties at the
        additional cost of $90.00 per hour for labor and materials and/or other costs plus 15%.

        4.) Any HVAC condenser units that have Freon lines going through the roof through pitch pans or some type of flashing box must
        have the existing sealant cleaned and new sealant applied as a part of the re-roofing process. Rarely, but occasionally, these Freon
        lines are damaged or weak resulting in breakage and/or loss of the Freon causing problems for the unit. This is an inevitable result
        of this cleaning process and both parties agree that if this happens it will be the owner or building tenant's responsibility to have
        these lines and any resulting consequences repaired at no cost to 7 Summits Roofing.

        5.) The customer agrees to pay 7 Summits Roofing upon receipt of their invoice. Invoices due, which are unpaid, shall bear interest
        from the date payment is due, at the rate of 14% per annum, simple interest. Payment shall be considered to be in default 30 days
        after the date of the invoice, unless otherwise specified in writing.

        6.) In the event the customer’s account is in default, the customer agrees to pay all reasonable attorney fees, court costs or cost of
        collection incurred by 7 Summits Roofing in connection with this Proposal.

CUSTOMER AWARENESS:

        1.) Before job commencement, it is the customer's responsibility to remove all breakable objects from interior walls and to cover all
        interior items where previous leaks have occurred.

        2.) A precautionary walk-through of the building will be necessary, and is strongly recommended, by contractor and owner's
        representative, prior to the commencement of work, in order to ensure protection of all breakable objects and possible leak areas.

WORK/MATERIAL NOT INCLUDED:

        1.) Repair of roof for damage caused by others or catastrophic damage due to natural catastrophe are not encompassed by the work
        in this Proposal.

        2.) Other than those items specifically described in the foregoing Proposal, no corrections, replacement, or repair of any structural
        defects, vents, or mechanical equipment, or any electric related work including any required disconnection and re-connection of
        existing roof top equipment will accommodate the new roofing installation.


        All roofing removed and job site waste will be removed from site and disposed of in an EPA State approved landfill




                                                                - Appx364 -
            Case: 25-1812        Document: 148        Page: 368      Filed: 07/20/2025



Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-6         Filed 05/07/25      Page 70 of 75




 February 21st, 2025


 To our valued Customers,

 Due to manufacturer’s price increases and extreme volatility in the market, ABC Supply will have a
 10% increase as of April 1st, 2025. This increase will apply to all new and existing orders. All
 existing orders that are shipped prior to this date will be honored, however any orders placed but
 not shipped will be subject to the price increase. Future increases are possible and we could see
 up to 25% increases in the next few months. Please consider factoring these increases into your
 quotes moving forward. We thank you for your business and look forward to working with you in the
 future.


 Regards,


 Jake Hayden

 Office: 719-380-9911

 Fax: 719-380-9907

 Cell:719-243-4574

 Jake.hayden@abcsupply.com

 2675 Akers Dr.

 Colorado Springs, CO 80922




                                           - Appx365 -
           Case: 25-1812         Document: 148      Page: 369       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR            Document 14-6        Filed 05/07/25       Page 71 of 75




  1120 Elkton Dr. Suite H
  Colorado Springs, CO 80907
  O: 719-203-4803
  vikingmetalsoffice@gmail.com                                      www.vikingmetalsupply.com




  Date: March 14, 2025
  To: Valued Viking Metals Customer
  Re: Price Increase - Effective March 16, 2025

  Dear Valued Customer,

  We appreciate and value your continued trust in Viking Metals and thank you for your
  partnership. Although Viking Metals only deals in domestic steel, both the global and domestic
  markets for raw materials have experienced significant volatility since the beginning of 2025.
  In recent weeks, we have received price increases from all of our major suppliers of steel,
  paint, and coatings. Furthermore, ongoing inflation pressures on lumber, packaging,
  maintenance and labor have further impacted costs. Despite our efforts to mitigate these
  increases, it has been become necessary to to implement a price adjustment to ensure we
  maintain the service, reliability and quality we strive to provide to our customers.

  Effective on all orders received after March 16th, 2025:
  • Panels: Increase of 9-25%
  • Trims, fasteners, secondary framing, and accessories: May be increased accordingly

  Viking Metals is committed to transparency, and will continue to keep our customers informed
  of any other developments or changes. If you have any questions regarding these
  adjustments, please feel free to reach out to your sales representative or the Viking Metals
  office for any additional details.

  We profoundly appreciate your understanding and support. Viking Metals is committed to our
  slogan: "Our mission is to deliver top-notch metal products to our customers at a competitive
  price, accompanied by exceptional service, setting a unique standard unmatched by any
  other company in the industry.” And we look forward to our continuing partnership.


  Sincerely,

  Justin Evenson
  Owner of Viking Metals




                                         - Appx366 -
                    Case: 25-1812                 Document: 148                Page: 370             Filed: 07/20/2025

       Case 1:25-cv-00077-GSK-TMR-JAR                               Document 14-6                 Filed 05/07/25              Page 72 of 75

QRUZRUWPÿXUYUXÿf[                                       PLAL?DHMDFKÿSÙ?HFLCh?ÿ^GABHIÿ[AC@ÿdÿ[AL?GCA@Kÿ^Fj`?LÿTM@@MidFS

                                                                            0123456ÿ8ÿ9           ÿ5ÿ65123456531

   !"ÿ$%&'ÿ()!!)*+%,
  -ÿ/0112301
  $%456ÿ+ÿ789:;ÿ!<ÿ=>?@ABCDEFGHIA>JKLAL?DHMDFKN                                                  OIFPÿRSGÿTPÿUVUWÿALÿXVYWZÿR[
  OMYÿ\?M]]ÿ^GA_ÿ=`?M]]EJaKF>>CLKGMM]CB`DHM>N
  bHYÿOABAÿcAB?ÿdÿefRÿ=LABAD@AB?JKLAL?DHMDFKN
    gCÿ\?M]]P
    R]L?GÿG?hC?iCB`ÿ_MFGÿjMHF>?BLALCMBPÿi?ÿIAh?ÿ]MFBjÿLIALÿLI?ÿ>AL?GCA@KÿCBHG?AK?ÿLMÿLI?ÿEFj`?LÿjM?KÿBMLÿIAh?ÿ>ABF]AHLFG?G
    MGÿKFSS@C?GÿjMHF>?BLALCMBÿLMÿKFSSMGLÿLICKÿSGCH?ÿCBHG?AK?D
    kLÿCKÿSMKKCE@?ÿ_MFÿIAh?ÿK?BLÿLICKÿLMÿelcRDÿmC@@ÿ_MFÿS@?AK?ÿG?K?BjÿC]ÿLIALÿCKÿLI?ÿHAK?nÿkÿIAh?ÿ@MKLÿKM>?ÿLICB`KÿCBÿMFGÿKLA]]CB`
    HIAB`?ÿMh?GÿLI?ÿSAKLÿi??oD
    pq2rsÿtuvw
    x0y2rz
    {{ ÿ|
    |}~ÿ
    ÿÿ|}
    }ÿÿ}~}ÿ}
    }}ÿÿ}}
    ¡ÿ£¤ÿ¥¤¦§ÿ̈©ªÿ£ªÿ«¤¡¤¦¡¬ÿÿ­®¬«¯ª­ÿ°±²±
    ³12ÿ8´ÿµ8¶·¸¹
    º»¼½¾¿ÀÁÿ½ÃÄÿ½Åÿ½ÅÅ¿¼ÆÿÇÿ5ÈÿÉÊ8É¸ÿË1ÿÉ¸ÿÌÿÉÍ
    ÎÏÐÑÏÿÓÔÑÔÕÖ×ÿm?ØG?ÿ?ÙHCL?jÿLMÿ?ÙSABjÿLI?ÿeChCKCMBÿM]ÿgMFKCB`ÿL?A>Dÿb@CHoÿ°±²±ÿ]MGÿMFGÿB?i?KLÿÚMEÿSMKLCB`KD


    ÛÜÛÜÿÞßàáâãäÿÞåæçÿèééâÿÜêëÿìàäíàáçÿîïÿðëêëÜ
    ñ±òóôõö÷ø²ù°óñúûüóü±öùýöøûÿþÿÿÿ012344532600ÿþÿÿ8889  9 
    ÿÿÿÿ!"#ÿ$%ÿ&'(ÿ)*+ÿ!$+!,
    -./01ÿ340ÿ567618/6ÿ9:0.ÿ;0<61/=ÿ><3ÿ?59;>@Aÿ877ÿB0==8C0=ÿ=0.3ÿDEÿ61ÿ36ÿB0ÿ6.ÿ34F=ÿ=3830G6H.0/ÿ0GB8F7ÿ8<<6I.3ÿB8EÿD0ÿ=IDJ0<3ÿ36ÿ:ID7F<
    /F=<76=I10K


  L)MMÿ$Nÿ=`?M]]EJaKF>>CLKGMM]CB`DHM>N                                                          OIFPÿRSGÿTPÿUVUWÿALÿXXYUaÿR[
  OMYÿ^FGHIA>ÿelcRÿ[?@ABCÿ=>?@ABCDEFGHIA>JKLAL?DHMDFKN
  bHYÿOABAÿcAB?ÿefRÿ=LABAD@AB?JKLAL?DHMDFKN
    gCÿ[?@ABCP
    O?KPÿkÿSG?hCMFK@_ÿK?BLÿLI?>ÿLMÿ^G?LLPÿEFLÿkÿiMF@jÿE?ÿIASS_ÿLMÿSAKKÿLI?>ÿA@MB`ÿLICKÿA]L?GBMMBDÿ
    PCBH?G?@_P
    \?M]]
ILLSKYRR>AC@D̀MM`@?DHM>R>AC@RFRVRnCoUQ?TQU]HQVVWhC?iUSLWK?AGHIUA@@WS?G>LICjULIG?AjdAYGaVUTXVXWaVUVXaXVaXaWKC>S@U>K`dAYGaVUWTQQVXUQUTQWY     XRQ
                                                                 - Appx367 -
                     Case: 25-1812            Document: 148             Page: 371          Filed: 07/20/2025

      Case 1:25-cv-00077-GSK-TMR-JAR                          Document 14-6              Filed 05/07/25           Page 73 of 75

áâ8â8 7ÿ88 ÿW                                    ã Q0QTÿäåæÿ51ÿ ÿÿ 5Tÿç[ÿè00/4
            01ÿ345ÿ67ÿ898 7ÿ ÿ937ÿ5 ÿÿ037ÿ1ÿ!"#$%&'()!*+,!,$(-$&+.ÿ/50

            1234567ÿ5695ÿ:;776<=


  >?@ABCDÿFÿGHIJKÿLMNCOPÿ1QR5 ST Q0QT.                                                    U7ÿ345ÿ67ÿ898 ÿ ÿ8VÿW
  U0ÿX0YYÿ5Zÿ[0YYRSVTT500Y1[Q0.
  \ÿU1 ÿ 1ÿW3ÿ 1 Q1ST Q0QT.
    U 1]ÿZ07ÿX0YY
    1234567ÿ5695ÿ:;776<=
    1234567ÿ5695ÿ:;776<=

  ^M_``ÿ>@Caÿ[0YYRSVTT500Y1[Q0.                                                               U7ÿ345ÿ67ÿ898 ÿ ÿ9ÿW
  U0ÿb5 ÿÿ037ÿ1bÿ1QR5 ST Q0QT.
  \ÿU1 ÿ 1ÿW3ÿ 1 Q1ST Q0QT.
    cdÿfghijdÿijkÿlijim
    nhgiogÿoggÿpqgÿirisqgkÿktsuvgjpoÿwxtvÿtuxÿpytÿouzzhdgxoÿikkxgoodj{ÿpqgÿ|zxdhÿ}opÿzxdsgÿdjsxgiogoÿygÿixg
    uodj{ÿwtxÿpqgÿ~pÿtjoÿzxtgspÿÿjÿpqgÿsiogÿtwÿpqgÿddj{ÿfgpihoÿhgrgxmÿpqgdxÿdjsxgiogÿyioÿggsgÿtjÿfixsq
    }pqÿ
    lqijÿtu
     ÿ
    ÿÿÿ¡¢£ÿ¡¤
    ¥¦ÿ§¨©ª§«§ª¬§¬­
    ®¦ÿ§¨©ª¯°±ª­²¨©




    ³´µ¶·ÿ̧uxsqivÿ¹ÿº»|mÿfghijdÿ¼!"#$%&'()!*+,!,$(-$&+½
    ¾¿ÀÁ·ÿlquxokimÿ|zxdhÿÂmÿÃÄÃÅÿ}ÃÆÅÇÿnf
    Èµ·ÿÉgtÿ̧xiÿ¼Ê-ËË%*Ì+&#,+'--Ë#"Ê$(-½
    ÍÎ·ÿlijiÿijgÿºn|ÿ¼,!"!$!"*+,!,$(-$&+½
    ¾ÏÐÑ¿ÎÁ·ÿÒgÆÿfipgxdihoÿ̧uk{gpÿ~thhty¹uz
    ÿ
    1234567ÿ5695ÿ:;776<=
     ÓÿCÔÔCABDMOÔÕ
         J>Öÿ×?ØØNaÿÙOA@MCÕMÿO_ÔPAMÿÚÛÜÛÓÝÓÞÛØß`
         8à
 4Tââ Q[00[Q0â ââ9âé]êá6á8Yáëëìæ/ê4ìT 5ê ì45 çê5 ç5V986íë Vë89íVíëVíVìT4êT[5V98 6áá9í8á86á î   8âá
                                                               - Appx368 -
                     Case: 25-1812              Document: 148                Page: 372            Filed: 07/20/2025

       Case 1:25-cv-00077-GSK-TMR-JAR                            Document 14-6                 Filed 05/07/25            Page 74 of 75

ÓåÙå>8ÿ@ÿBC                                     æ0?0'34(3-,ÿçè'4-0/ß'ÿE1?247ÿC?/JÿFÿC?0'1/?J,ÿE-Þ&'0ÿé(JJ(àF-;
          01234ÿ26314784ÿ6498 4 41ÿÿÿ
          
   !ÿ"#$ÿ%&'())*+,-../0,1(()/2&34(.5                                                                       67-8ÿ:;1ÿ<8ÿ=>ÿ?0ÿ@>AÿBC
  6(@ÿDE-147?.ÿFÿGHI:8ÿC'J?2/Dÿ%.'J?2/3*-147?.+,0?0'34(3-,5
  K4@ÿ6?2?ÿI?2'ÿGB:ÿ%0?2?3J?2'+,0?0'34(3-,5
    LMNNOP
    QRÿTUONOVWMXPÿYÿZ[X\ÿ]M^MW_M`ÿ\aMÿbONNOcWdVÿ^Oee[dW^TfOdÿb]Oeÿghiÿj[UUNRÿ\aWXÿeO]dWdVkÿY\ÿT``]MXXMXÿ\aM
    ^[]]Md\ÿeT]lM\ÿTd`ÿ[U`T\MXÿOdÿaOcÿU]W^MXÿ^O[ǸÿmMÿ_ONTfNMÿWdÿ\aMÿb[\[]MÿcW\aÿXaO]\ÿdOf^Mkÿnm_WO[XNRPÿ\aM
    O[\^OeMXÿObÿ\aWXÿ^Oee[dW^TfOdÿT]MÿdO\ÿWdÿMoM^\ÿZ[X\ÿRM\Pÿm[\ÿ\aMXMÿWd^]MTXMXÿcO[ǸÿmMÿOdÿ\OUÿObÿO[]
    ^[]]Md\ÿWd^]MTXMkÿY\ÿ[d`M]X^O]MXÿ\aMÿWeUO]\Td^MÿbO]ÿ[Xÿ\OÿeO_Mÿp[W^lNRÿ\OÿXM^[]MÿU]W^WdVk
    qaTdlÿRO[k
    rs tuuÿwxyz
    {|}~ÿ~|~ÿÿ~|~|ÿ|
    ÿ
    ÿ




    ÿMOoÿh]TRÿ¡¢£¤¤¥¦§¨©ªª«¬¨­££¤«®¡°̄£ª±
    ²³´µÿqa[]X`TRPÿgU]WNÿ¶Pÿ·¸·¹ÿº»¹¸ÿ¼Q
    ½ÿh[]^aTeÿ¾ÿ¿nÀgPÿQMNTdWÿª¢ÁÂ®«¥̄©­°ÃÂª¦¨¬Â¬¢°̄£¯©¨±
    ÄÅÆÇÈÉÊÿÈÉÌÈÿÍÎÊÊÉÏÐ
    ÿ
    ÄÅÆÇÈÉÊÿÈÉÌÈÿÍÎÊÊÉÏÐ
          7"3ÿ8Ñ$ÿ##ÿ6!Ò!
          Ó
  "Ñ#ÒÔÕÿÿÖ× 7Øÿÿ%.'J?2/3*-147?.+,0?0'34(3-,5                                                   C(28ÿ:;1ÿ8ÿ=>ÿ?0ÿÙ@<ÿ:C
  6(@ÿÚ'())ÿE1?Ûÿ%&'())*+,-../0,1(()/2&34(.5
  K4@ÿ6?2?ÿI?2'ÿGB:ÿ%0?2?3J?2'+,0?0'34(3-,5
    Ü/ÿÚ'())F
    Ý?20'Þÿ0(ÿ;1(ß/Þ'ÿÛ(-ÿà/07ÿ,0?0-,ÿ(2ÿ07/,ÿ4(201?403ÿáÿ,'20ÿÛ(-1ÿ?ÞÞ/0/(2?Jÿ/2)(1.?0/(2ÿ(2ÿ0(ÿ(-1ÿ/2,-1?24'ÿ?Þâ-,0'13ÿáÿ?.
    7(;/2&ÿ0(ÿ7'?1ÿ*?4ãÿ)1(.ÿ7/.ÿ0(Þ?Û3ÿáäJJÿã'';ÿÛ(-ÿ;(,0'Þ3
    ÄÅÆÇÈÉÊÿÈÉÌÈÿÍÎÊÊÉÏÐ
    ÄÅÆÇÈÉÊÿÈÉÌÈÿÍÎÊÊÉÏÐ

   !ÿ"#$ÿ%&'())*+,-../0,1(()/2&34(.5                                                                      C(28ÿ:;1ÿ8ÿ=>ÿ?0ÿÙ@<Óÿ:C
  6(@ÿDE-147?.ÿFÿGHI:8ÿC'J?2/Dÿ%.'J?2/3*-147?.+,0?0'34(3-,5
700;,@åå.?/J3&((&J'34(.å.?/Jå-å=åê/ãëÓ'<Ó)4Óììíß/'àë;0í,'?147ë?JJí;'1.07/Þë071'?ÞF?@1=<Aì>ì=AAìAí,/.;Jë.,&F?@1=><ÓÓ=AÓ<Ó>î   <åÓ
                                                                 - Appx369 -
                    Case: 25-1812            Document: 148               Page: 373           Filed: 07/20/2025

      Case 1:25-cv-00077-GSK-TMR-JAR                         Document 14-6                Filed 05/07/25         Page 75 of 75

()*+)*,-ÿ.*/*.ÿ01                                   231ÿ4537ÿ6563ÿ1 77ÿ8ÿ1 577ÿ628ÿ917718:

    0112ÿ41567689ÿ 6ÿ19ÿ11768ÿ15 52ÿ1ÿ8768ÿ7ÿ768ÿ41768
    ÿ
    
    !"ÿ!#ÿ$%""!&'




 :/))4 7781187314)4 77));)<7=(>(*3(??@7=:@ 53= 77@:5472=5 28/5A;*>B?.,A?*;BAB?ABA@74:7=488/5A;*,>((;B*(*>(,C   ()(
                                                              - Appx370 -
              Case: 25-1812           Document: 148        Page: 374      Filed: 07/20/2025



Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-7         Filed 05/07/25       Page 1 of 6




              IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


THE STATE OF OREGON, THE STATE OF                     Case No. 1:25-cv-00077
ARIZONA, THE STATE OF COLORADO,
THE STATE OF CONNECTICUT, THE                         DECLARATION OF JENIFER JOHNSON
STATE OF DELAWARE, THE STATE OF
ILLINOIS, THE STATE OF MAINE, THE
STATE OF MINNESOTA, THE STATE OF
NEVADA, THE STATE OF NEW MEXICO,
THE STATE OF NEW YORK, AND THE
STATE OF VERMONT,


                   Plaintiffs,

        v.

DONALD J. TRUMP, in his capacity as
President of the United States;
DEPARTMENT OF HOMELAND
SECURITY; KRISTI NOEM, in her official
capacity as Secretary of the Department of
Homeland Security; UNITED STATES
CUSTOMS AND BORDER PROTECTION;
PETER R. FLORES, in his official capacity as
Acting Commissioner for U.S. Customs and B
order Protection; and THE UNITED
STATES,
                   Defendants.


I, Jenifer Johnson, declare as follows:

        1.         I am over the age of 18, competent to testify as to the matters herein, and testify

based on personal knowledge, records kept in the ordinary course of business at the Illinois

Department of Innovation and Technology (“DOIT”), and information I learned from DOIT

personnel whose work I rely upon and who have assisted me in gathering this information from

our institution.

        2.         I am the Chief of Staff at DOIT. As Chief of Staff, I am the principal advisor to the

DOIT Secretary to ensure that DOIT operations are aligned with DOIT’s strategic goals and that


                                               - Appx371 -
              Case: 25-1812        Document: 148        Page: 375       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-7         Filed 05/07/25      Page 2 of 6




DOIT is delivering technology solutions that enhance efficiency and effectiveness for state

government.

        3.      DOIT is a state agency responsible for providing a wide range of information

technology services to numerous agencies, boards, and commissions organized under the Governor

of Illinois, as well as other state entities. 120 ILCS 1370.

A.      Need to Equip State Employees with Computers
        4.      In its role as the information technology service provider for agencies, boards, and

commissions under the Governor, DOIT regularly needs to supply personal computers, along with

necessary accessories and support products (monitors, docking stations, and peripherals such as

mice, keyboards, memory, hard drives, etc.), to state employees. This may occur at various times:

including when new state employees are onboarded, as needed to fix or replace damaged or

malfunctioning devices, or as part of scheduled rolling replacements of older devices that are

currently in use.

        5.      DOIT deploys over 20,000 new computers to state employees each year, including

an average of about 300 computers deployed each month to new hires. While DOIT generally tries

to maintain some amount of inventory for these products on hand, we frequently must place

additional orders for these products to keep up with state needs.

        6.      Under Illinois law, competitive source selection methods are often required for state

contracts, such that many state contracts are awarded to vendors following a competitive

solicitation, with the expectation that terms such as pricing will remain relatively stable across the

life of the contract.

        7.      Many of the computer products we purchase are imported by our vendors from

China and Mexico. The vendor the state relies on to provide most of its laptops had to scramble to

shift some of its production to Vietnam in response to the tariff announcements.

        8.      DOIT has experienced difficultly in placing orders with its vendors on existing

contracts for these products starting from late January of 2025, in expectation of tariffs and as the

tariff announcements began. As a result, DOIT generally has not received new shipments of these
                                             - Appx372 -
             Case: 25-1812        Document: 148        Page: 376      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-7         Filed 05/07/25       Page 3 of 6




products during that time, and has now mostly (or, in many cases, entirely) exhausted its on-hand

inventory of new products.

       9.      Due to these product shortages, DOIT has paused its ongoing, rolling efforts to

replace older devices in use by state employees, despite there being over 16,000 such computers

currently eligible for replacement. The continued use of outdated technology by state workers will

result in slower processing times for some computer transactions, increased down time for support

and repair of older systems, greater security risks including the possibility of becoming

unsupported by vendors, and related impacts to Illinois residents and the state government services

they rely upon.

       10.     As a result of these circumstances, it is already unavoidable that DOIT will soon

need to begin deploying older computer devices to state workers to meet its onboarding needs for

new hires, as well as to fix or replace any damaged or malfunctioning devices for current state

employees. In addition to the risks of outdated technology, the impact of continued delays also

means that DOIT technical teams will need to do double the work for all these deployments, as

they will eventually need to replace any temporary devices deployed with new devices, when those

eventually become available, and also wipe all temporary devices received back.

       11.     Other impacts include delays to ongoing efforts to deploy new operating system

software to many state computers, ahead of the current deadline to complete the transition for all

systems—currently set by the software vendor for October 2025. Apart from older computers

eligible for replacement, numerous other devices require upgraded memory or hard drive capacity

to support the transition to the new operating system, but those upgrades have now been delayed.

This is because DOIT was unable to resolve tariff concerns with its vendors on existing contracts

over product pricing during February and March, and as a result was unable to place any orders

during that time. As a consequence of tariffs, these upgrades are expected to cost significantly

more to provide once the component orders can eventually be filled. This transition needs to be

done on a rolling basis to ensure sufficient support for state end users; the ongoing delays caused

by the tariff announcements will place greater demands on our staff and make it less and less likely
                                            - Appx373 -
             Case: 25-1812         Document: 148         Page: 377      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-7         Filed 05/07/25       Page 4 of 6




that the state will be able to accomplish the transition in the remaining time. The longer the delays

go on, the greater the pressure will become on DOIT’s staff, and the less realistic it will be that the

deadline can be met with available resources. To the extent the state ultimately cannot meet the

software vendor’s deadline, caused by these tariff-related delays in receiving needed computer

equipment, DOIT expects significantly higher support costs for impacted devices.

       12.     Beginning in late January of this year, DOIT worked with vendors that provide

some of these products to amend the contracts at issue to allow for the possibility of price increases

due to extreme cost increases outside of the vendors’ control. This was needed in part because

those contracts would not allow vendors to separately bill the State for any applicable tariffs. DOIT

then agreed to an amendment that would allow for 20% price increases on a key contract, in

response to tariffs that had at that point been applied to China.

       13.     Despite DOIT agreeing to those changes, problems remained as contract

amendments simply could not keep up with additional tariff announcements that have since

occurred, as well as their unpredictability. As a result, DOIT has continued to experience

difficulties in getting its vendors to issue quotes that would allow DOIT to place the orders it needs

for these products.

       14.     Given those ongoing difficulties, DOIT has now pivoted to negotiate and put in

place a new contract that will allow it more flexibility, with a goal of obtaining these products.

DOIT has had to agree that orders placed against that contract will provide that any legally required

tariffs will be passed on to and paid by DOIT and the State of Illinois, with the applicable tariffs

listed as separate line items on the invoice the vendor will submit for payment in connection with

each order placed. In the interest of quickly getting this contract in place to provide an alternate

path forward, DOIT also has had to agree to forgo the inclusion of updated contract language on

topics including security issues and protections for data loss and data breach issues—which would

have required a longer period of negotiation.

       15.     However, ongoing uncertainty surrounding the tariffs—their actual magnitude and

when they would be in effect—seriously hindered DOIT’s ability to negotiate the initial attempts
                                             - Appx374 -
             Case: 25-1812          Document: 148        Page: 378      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                 Document 14-7        Filed 05/07/25      Page 5 of 6




at contract amendments, as well as this new contract. And as the negotiations dragged on, DOIT’s

stock of available computers and equipment dwindled.

       16.        DOIT has faced similar problems in attempting to negotiate other contracts with

technology vendors during this time period—which has included some vendors: (1) attempting to

substantially increase quoted prices prior to contract execution, (2) walking away from contract

negotiations, or (3) insisting on including unusual language to protect them against the application

of tariffs (either by ensuring those costs are passed on to the state, or to excuse related non-

performance by the vendor under the contract).

       17.        DOIT’s staff has also expended considerable effort and numerous work hours

during the past several months in connection with these tariff-related challenges, in assessing,

reacting, and responding to the unavailability and/or increased costs of needed products from our

vendors, and in attempting to find new ways to nonetheless obtain those products in order to

continue to provide our services to client agencies.

       18.        The President’s tariffs accordingly impose a financial harm to DOIT in multiple

different ways.

B.     Need to Budget for Expenditures and Charge-Back Costs to Client Agencies
       19.        DOIT utilizes a charge-back method when delivering its services to client agencies,

billing them for the cost of the technology products and services DOIT deploys, which allows

DOIT to pay its own bills to vendors.

       20.        The President’s repeated imposition, modification, suspension, and threatening of

various tariffs has created substantial uncertainty regarding the expected cost of a wide range of

goods and services, which impacts not only DOIT’s ability to predict and budget for its own costs,

but also its client agencies’ ability to predict and budget for the invoices they will in turn receive

from DOIT for the products and services they receive.

       21.        The President’s use of emergency powers to repeatedly impose and change tariffs

thus harms DOIT’s ability to accurately plan its budgets for the upcoming fiscal year and to pass

on predictable costs to its client agencies.
                                               - Appx375 -
          Case: 25-1812       Document: 148      Page: 379      Filed: 07/20/2025




Case 1:25-cv-00077-GSK-TMR-JAR           Document 14-7        Filed 05/07/25     Page 6 of 6




       I declare under penalty of perjury under the laws of the United States that, to the

best of my knowledge, the foregoing is true and correct.

       Executed on May 2, 2025, at Springfield, IL


                                          _____________________________________
                                                 Jenifer Johnson




                                       - Appx376 -
             Case: 25-1812         Document: 148         Page: 380       Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-8         Filed 05/07/25       Page 1 of 6



                  IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


     THE STATE OF OREGON, THE STATE OF                  Case No. 1:25-cv-00077-GSK-TMR-JAR
     ARIZONA, THE STATE OF COLORADO,
     THE STATE OF CONNECTICUT, THE                      DECLARATION OF JEANETTE MOY
     STATE OF DELAWARE, THE STATE OF
     ILLINOIS, THE STATE OF MAINE, THE                  (In support of Plaintiffs’ Motion for
     STATE OF MINNESOTA, THE STATE OF                   Preliminary Injunction)
     NEVADA, THE STATE OF NEW MEXICO,
     THE STATE OF NEW YORK, and THE
     STATE OF VERMONT,

                    Plaintiffs,

            v.

     DONALD J. TRUMP, in his capacity as
     President of the United States;
     DEPARTMENT OF HOMELAND
     SECURITY; KRISTI NOEM, in her official
     capacity as Secretary of the Department of
     Homeland Security; UNITED STATES
     CUSTOMS AND BORDER PROTECTION;
     PETER R. FLORES, in his official capacity as
     Acting Commissioner for U.S. Customs and
     Border Protection; and THE UNITED
     STATES,

                    Defendants.


     I, Jeanette Moy, declare as follows:

            1.      I am over the age of 18, competent to testify as to the matters herein, and testify

     based on personal knowledge and records kept in the ordinary course of business at New York’s

     Office of General Services (OGS).

            2.      I am the Commissioner of OGS. As Commissioner, I oversee and manage agency

     operations that include the management and leasing of real property owned by the State of New

     York, design and build of such properties, the contracting of goods, services and technology on

     behalf of the State, and the delivery of broad scope critical services for New York State agencies.




Page 1 -   DECLARATION OF JEANETTE MOY



                                             - Appx377 -
             Case: 25-1812          Document: 148         Page: 381       Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-8         Filed 05/07/25       Page 2 of 6




            3.      OGS was established in 1960 to provide essential support services for the

     operations of the New York State government. Since its inception, OGS has developed expertise

     in centralizing critical support and service functions leading to a cost-effective government.

     Among other things, OGS is the centralized procurer of many major goods and services for New

     York State agencies and authorized users. OGS facilitates and administers approximately 1,500

     centralized procurement contracts for goods, services, and technology needed by state agencies,

     municipal governments, and educational institutions. OGS also performs architectural,

     engineering, and construction management services for buildings statewide.

            4.      On April 2, 2025, President Trump signed Executive Order 14257, 90 Fed. Reg.

     15041 (the “Worldwide Tariff Order”). The Worldwide Tariff Order imposed a 10% tariff on

     most imports to the United States, effective April 5, and additional “reciprocal” tariffs on 57

     countries, effective April 9. The President revised the additional “reciprocal” tariffs on April 3.

            5.      On February 1, 2025, President Trump issued Executive Order 14193, 90 Fed.

     Reg. 9113 (the “Canada Tariff Order”) and Executive Order 14194, 90 Fed. Reg. 9117 (the

     “Mexico Tariff Order”). The Canada and Mexico Tariff Orders, as amended later by the

     President, impose a 25% additional tariff on imports from Canada and Mexico. The President has

     now modified these tariffs twice, including by exempting some products from Mexico and

     Canada from additional tariffs and temporarily reducing the tariff rate for fertilizer from Canada

     and Mexico and energy from Canada to the 10% rate implemented through the Worldwide Tariff

     Order, as amended.

            6.      The President has imposed, paused, and reimposed an escalating series of tariffs

     on goods from China. On February 1, 2025, President Trump issued the first round of these

     through Executive Order 14195, 90 Fed. Reg. 9121 (the “China Tariff Order”). Currently, the

     China Tariff Order and Worldwide Tariff Order, as amended, impose a 145% tariff rate for

     imports from China (except for electronics, steel, aluminum, automotive, copper,



Page 2 -   DECLARATION OF JEANETTE MOY



                                              - Appx378 -
             Case: 25-1812          Document: 148         Page: 382        Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-8           Filed 05/07/25     Page 3 of 6




     pharmaceutical, lumber, certain minerals, and energy products, among other products, which are

     only subject to a 20% rate under the China Tariff Order).

            7.      The imposition of these tariffs threatens severe economic consequences for New

     York State.

            8.      When President Trump imposed tariffs on Canada, the Ontario and Quebec

     Premiers threatened retaliatory tariffs on electricity to the U.S. 1 This would have severe

     consequences for New York. The State is facing capacity restraints and is more heavily reliant on

     Canadian hydropower than ever. Based on information from the New York Independent System

     Operator (NYISO), which manages New York’s electric grid and its wholesale electric

     marketplace, New York State imported approximately 7.7 Terawatt-hours of Canadian

     electricity.2 Canada is the number one foreign supplier of energy to the United States generally,

     including around 85% of U.S. electricity imports.3 OGS anticipates that if Ontario or Quebec

     imposed restrictions on electricity exports to New York, prices would soar. New York cannot

     simply buy less electricity or buy electricity from other sources.

            9.       Canadian electricity generators located in Quebec and Ontario export electricity

     into the NYISO hourly, wholesale energy markets. New York State load-serving entities (LSEs),

     such as the six investor-owned utilities (IOUs) and OGS, purchase power directly from the same

     NYISO hourly, wholesale markets. These LSEs in turn provide electricity directly to end users,

     including households, businesses, and government agencies. Additionally, Hydro-Quebec, the

     1
       Max Saltman, Ontario premier threatens to ‘shut off electricity completely’ for US if trade war
     escalates, CNN Business (Mar. 11, 2025), https://www.cnn.com/2025/03/10/business/canada-
     electricity-us-tariffs-doug-ford/index.html; The Canadian Press, Quebec considering surcharge
     on electricity exports to 2 U.S. states amid trade war, CTV News (Mar. 11, 2025),
     https://www.ctvnews.ca/montreal/article/quebec-considering-surcharge-on-electricity-exports-to-
     2-us-states-amid-trade-war/.
     2
      New York Independent System Operator, How Electricity Imports from Canada, Neighboring
     States Support Grid Reliability (Mar. 24, 2025), https://www.nyiso.com/-/how-electricity-
     imports-from-canada-neighboring-states-support-grid-reliability.
     3
      Government of Canada, Connect 2 Canada, Powering our Nations,
     https://connect2canada.com/canada-u-s-relationship/energy-and-the-environment/.

Page 3 -   DECLARATION OF JEANETTE MOY



                                              - Appx379 -
             Case: 25-1812         Document: 148         Page: 383       Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-8         Filed 05/07/25      Page 4 of 6




     electricity generation entity owned by the Province of Quebec, bids capacity into the NYISO

     Installed Capacity strip, monthly and through spot auctions. LSEs purchase Installed Capacity

     from the same auctions. There are no contracts that exist between Canadian generators and NY-

     based utilities or LSEs. All power flows through the NYISO markets. Imports of both electricity

     and installed capacity from these two Canadian provinces, particularly from Quebec, are

     significantly important to reducing electricity costs to consumers and for grid reliability through

     the capacity market.

            10.     The OGS NYISO purchasing program, which serves the 100 largest electrical

     accounts for 21 state agencies including OGS, averages roughly 680,000 megawatt-hours

     annually. OGS and other New York State agencies will need to pay far more for these electricity

     purchases if Canada increases the costs of its energy exports in response to President Trump’s

     tariffs. Assuming a cost of 20 cents per kilowatt-hour,4 which is close to the estimate of recent

     prices in New York State, and 680,000 megawatt-hours purchased annually, the OGS NYISO

     program would spend $136 million for a year. In that scenario, a 10% cost increase imposed by

     Canada in response to President Trump’s tariff could thus impose a $13.6 million increase on

     OGS. In such a situation, we expect tariff costs to be built into the hourly price that the Canadian

     generators bid into the NYISO market where New York State purchases its electricity, so that

     state agencies will be subject to the higher prices being bid by the Canadian generators.

            11.     Outside of the construction context, if it is assumed that 50%-75% of the products

     purchased by New York are manufactured in a tariff-impacted nation and there is an estimated


     4
       The New York State Energy Research and Development Authority (NYSERDA) has published
     approximate prices per kilowatt-hour in 2025 for New York State-wide commercial and
     residential usage. For January of 2025, the approximate price for commercial purchasers
     (including OGS) was around $.20. NYSERDA, Monthly Average Retail Price of Electricity-
     Commercial (last updated Apr. 9, 2025), https://www.nyserda.ny.gov/Energy-
     Prices/Electricity/Monthly-Avg-Electricity-Commercial. The approximate price for residential
     purchasers was $.24. NYSERDA, Monthly Average Retail Price of Electricity-Residential (last
     updated April 9, 2025), https://www.nyserda.ny.gov/Energy-Prices/Electricity/Monthly-Avg-
     Electricity-Residential.

Page 4 -   DECLARATION OF JEANETTE MOY



                                              - Appx380 -
              Case: 25-1812         Document: 148         Page: 384        Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-8          Filed 05/07/25      Page 5 of 6




     average total spend of $5 billion, a 25% tariff on Mexico and Canada and a 10% tariff on China

     will likely have a portfolio-wide impact of roughly +$106 million for New York State agencies.

            12.     In the construction context, OGS bid approximately $1 billion in 2024, with

     approximately half on labor and half on materials. Assuming OGS bids a comparable annual

     portfolio, if even only 37% of these materials are subject to tariffs at 25%, then the potential cost

     impact could be between $40 and $50 million to New York’s projects within OGS’ portfolio. In

     OGS’s experience, these price increases rarely fully recover to pre-event levels. Consequently,

     the tariffs will likely have a long-term negative effect on project costs and, in turn, agency capital

     programs.

            13.     OGS anticipates that potential contractual impacts on active construction projects

     due to imposed tariffs would be similar to what New York experienced during COVID, when

     shutdowns depressed the construction market and delayed construction projects. Unlike during

     COVID, however, when New York was bidding projects in a soft and uncertain economy, there

     is no shortage of construction work today. Contractors are very busy despite higher interest rates.

            14.     In OGS’ experience, when contractors experience financial impacts that are

     beyond their control, they will attempt to identify ways to mitigate their losses and request

     notices under the contract for relief which leads to fluctuating prices and delays caused by

     vendors adjusting to the higher risk. Accordingly, we anticipate receiving contractor requests

     across our portfolio, which includes over 170+ active construction projects, for contractual relief

     due to price increases, and also for extensions in contract duration and delay damages, especially

     if tariffs cause supply chain delays and/or the unavailability of specified products. Thus, the State

     faces significant uncertainty with respect to how much tariffs will cause costs to increase for

     construction, goods and services procured by the State, and the likely budgetary impacts. In

     addition, there is uncertainty around whether such increases will cause delays to receiving goods

     and supplies, and delays in the completion of projects, including delays caused when contractors

     submit change orders to the state for higher prices and longer timelines than originally agreed to.

Page 5 -   DECLARATION OF JEANETTE MOY



                                               - Appx381 -
            Case: 25-1812      Document: 148        Page: 385      Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR           Document 14-8        Filed 05/07/25     Page 6 of 6




            I declare under penalty of perjury under the laws of the United States that, to the

     best of my knowledge, the foregoing is true and correct.

            Executed on May 6, 2025, in Albany, New York


                                                _____________________________________
                                                       JEANETTE MOY




Page 6 -   DECLARATION OF JEANETTE MOY



                                         - Appx382 -
                Case: 25-1812          Document: 148         Page: 386      Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR                     Document 14-9      Filed 05/07/25       Page 1 of 4




                     IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


     THE STATE OF OREGON, THE STATE OF                      Case No. 1:25-cv-00077-GSK-TMR-JAR
     ARIZONA, THE STATE OF COLORADO,
     THE STATE OF CONNECTICUT, THE                          DECLARATION OF AMY RAMSDELL
     STATE OF DELAWARE, THE STATE OF
     ILLINOIS, THE STATE OF MAINE, THE                      (In support of Plaintiffs’ Motion for
     STATE OF MINNESOTA, THE STATE OF                       Preliminary Injunction)
     NEVADA, THE STATE OF NEW MEXICO,
     THE STATE OF NEW YORK, and THE
     STATE OF VERMONT,

                      Plaintiffs,

              v.

     DONALD J. TRUMP, in his capacity as
     President of the United States;
     DEPARTMENT OF HOMELAND
     SECURITY; KRISTI NOEM, in her official
     capacity as Secretary of the Department of
     Homeland Security; UNITED STATES
     CUSTOMS AND BORDER PROTECTION;
     PETER R. FLORES, in his official capacity as
     Acting Commissioner for U.S. Customs and
     Border Protection; and THE UNITED
     STATES,

                      Defendants.


     I, Amy Ramsdell, declare as follows:

              1.      I am over the age of 18, competent to testify as to the matters herein, and testify

     based on personal knowledge, records kept in the ordinary course of business at the Oregon

     Department of Transportation, and information I learned from ODOT personnel whose work I

     rely upon and who have assisted me in gathering this information from our institution.

              2.      I am the Delivery and Operations Division Administrator at ODOT. As the

     Delivery and Operations Division Administrator, I am responsible for the maintenance and

     operations of the highway as well as the delivery of our capital investment program. In this role,

     I oversee maintenance and capital projects that require a variety of equipment and materials.


Page 1 -   DECLARATION OF AMY RAMSDELL
           BM2/rn1/ODOT A. Ramsdell Declaration FINAL
                                                  - Appx383 -
                   Case: 25-1812        Document: 148        Page: 387   Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR                     Document 14-9    Filed 05/07/25      Page 2 of 4




              3.       We are responsible for the state highways and administer the duties and functions

     described in ORS chapter 366 as delegated to the Director and the Division by the Oregon

     Transportation Commission.

              4.       In the regular course of its operations, ODOT routinely purchases many goods

     that originate from sources outside the United States. Examples include our equipment for

     maintenance such as our snow blows and snow blowers, traffic signal components, bridge

     bearings, steel, etc. In order to repair our roadways and bridges, we hire contractors who also

     procure a variety of materials and equipment. Items that we have identified that are potentially

     subject to tariffs include our snow blowers, which we purchase from Canada, fly ash which is

     utilized in concrete to improve its durability and sustainability, cement, bridge and traffic signal

     components. We have identified these through conversations with our contractors and

     maintenance and design teams. In discussions with one vendor that supplies our snow-blowers

     they indicated to staff that any tariffs added beyond the current 25 percent tariff we pay will be

     added to the cost of the equipment.

              5.       ODOT is currently setting its budgets for its Maintenance and Project Delivery

     programs. The budgeting process happens every two years within May and June. Our

     maintenance budgets cover labor, equipment and supplies. We break the available budget

     between our headquarters functions and 14 maintenance districts. This budget includes over 200

     different labor categories and a wide variety of supplies from 10-yard vehicles, mowers, various

     types of de-icer, pesticides, paint and more. Our capital improvement plan covers the projects

     delivered through the federally mandated Statewide Transportation Investment Program required

     by 49 U.S.C. 5304(g). This is a four-year plan that is currently updated every two years. We

     program design and construction phases based upon our cost estimates the information available

     at the time of programming.




Page 2 -   DECLARATION OF AMY RAMSDELL
           BM2/rn1/ODOT A. Ramsdell Declaration FINAL
                                                  - Appx384 -
                   Case: 25-1812        Document: 148        Page: 388      Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR                     Document 14-9      Filed 05/07/25       Page 3 of 4




              6.       ODOT has a specified amount of funds granted by the legislature that it must

     efficiently distribute. Further, accurate budgeting is necessary to ensure responsible and fair

     spending across the department and its districts.

              7.       Increased tariffs are categorized as a risk to the project budget. There is a

     significant level of cost uncertainty that will require us to program fewer projects to set aside

     funds within our projects for the anticipated costs. The results of this could put the agency into a

     position where we either a) didn’t set aside enough funds to pay for the increased costs and

     subsequently cancel projects or b) over-program the costs and potentially lose federal funding if

     we do not quickly reallocate the funding to projects on the wait list. Either one provides a level

     of uncertainty and risk to the capital improvement plan.

              8.       As part of the current budgeting process, ODOT is budgeting out for the purchase

     of two types of snow blowers, which are required for the removal of snow. The snow blowers

     are manufactured in Canada, and ODOT’s vendor for snow blowers has recently indicated that it

     intends to pass on increased tariff costs. These snow blowers are specialty equipment that are not

     reasonably available from domestic manufacturers.

              9.       The first type of snow blower is a T-80 self-propelled blower, which was

     originally priced at $870,297. With the added cost of the 25 percent tariff levied against Canada,

     the blower will cost an additional $217,574.

              10.      The second type of snow blower is a D-65 “loader mounted blower,” which can

     be affixed to the back of a truck. The original price for that blower was $289,362. The 25 percent

     tariff will add an additional $72,340 to the price.

              11.      There is further uncertainty about tariff costs due to the President’s repeated use

     of his emergency powers to change tariff policies with very little notice and lead time.

     Additionally, it is not even clear what tariff rates will apply when ODOT ultimately purchases

     the snow blowers. That uncertainty impairs ODOT’s ability to accurately budget its limited

     funding.

Page 3 -   DECLARATION OF AMY RAMSDELL
           BM2/rn1/ODOT A. Ramsdell Declaration FINAL
                                                   - Appx385 -
                 Case: 25-1812          Document: 148        Page: 389    Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR                     Document 14-9    Filed 05/07/25      Page 4 of 4




               12.    ODOT anticipates a large number of other procurement and services (including

     construction) will see increases in price due to passed-through tariff costs, because many of those

     goods and the materials used for services are sourced from outside of country. That will

     necessarily result in increased costs to ODOT for the same amount of procurement and services.

               13.    The increased costs due to tariffs will further impair ODOT by reducing the

     services it is able to provide. For example, to address the unexpected costs of increased tariffs for

     procurement, the most likely result is that ODOT will need to buy fewer units of a tariffed good,

     such as the snow blowers, which will reduce the level of service ODOT can provide to the

     public.

               I declare under penalty of perjury under the laws of the United States that, to the

     best of my knowledge, the foregoing is true and correct.

               Executed on May 6, 2025, at Salem, Oregon


                                                        _____________________________________
                                                        Amy RAMSDELL (May 6, 2025 13:58 PDT)
                                                               Amy Ramsdell




Page 4 -   DECLARATION OF AMY RAMSDELL
           BM2/rn1/ODOT A. Ramsdell Declaration FINAL
                                                   - Appx386 -
              Case: 25-1812           Document: 148         Page: 390      Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-10          Filed 05/07/25      Page 1 of 30




               IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


 THE STATE OF OREGON, THE STATE OF                      Case No. 25-CV-77
 ARIZONA, THE STATE OF COLORADO,
 THE STATE OF CONNECTICUT, THE                          DECLARATION OF JOSHUA ROOT,
 STATE OF DELAWARE, THE STATE OF                        DEPUTY CHIEF COUNSEL AND CHIEF
 ILLINOIS, THE STATE OF MAINE, THE                      DATA OFFICER FOR THE MINNESOTA
 STATE OF MINNESOTA, THE STATE OF                       DEPARTMENT OF TRANSPORTATION
 NEVADA, THE STATE OF NEW MEXICO,
 THE STATE OF NEW YORK, AND THE
 STATE OF VERMONT,


                    Plaintiffs,

         v.

 DONALD J. TRUMP, in his capacity as
 President of the United States;
 DEPARTMENT OF HOMELAND
 SECURITY; KRISTI NOEM, in her official
 capacity as Secretary of the Department of
 Homeland Security; UNITED STATES
 CUSTOMS AND BORDER PROTECTION;
 PETER R. FLORES, in his official capacity as
 Acting Commissioner for U.S. Customs and
 Border Protection; and THE UNITED
 STATES,
                    Defendants.


 I, Joshua Root, declare as follows:

         1.         I am over the age of 18, competent to testify as to the matters herein, and testify

 based on personal knowledge, records kept in the ordinary course of business by the Minnesota

 Department of Transportation (MnDOT), and information I learned from various MnDOT

 personnel whose work I rely upon and who have assisted me in gathering this information from

 our institution.

         2.         I am the Deputy Chief Counsel and Chief Data Officer. In my role, I oversee the

 records management, data dissemination, and general legal strategy for the agency’s information

 management practices.

                                                - Appx387 -
              Case: 25-1812           Document: 148    Page: 391       Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-10         Filed 05/07/25      Page 2 of 30




        3.      The Minnesota Department of Transportation (MnDOT) is a multimodal

 transportation system entity responsible for planning, building, operating, and maintaining a safe,

 accessible, and reliable transportation network for the State of Minnesota. MnDOT's mission is

 to connect and serve all people in Minnesota through a safe, equitable, and sustainable

 transportation system.

        4.      MnDOT's strategic direction focuses on maximizing the health of people, the

 environment, and the economy. The department's values include safety, service, equity,

 sustainability, innovation, and collaboration. MnDOT is committed to creating a comprehensive

 transportation system that serves Minnesotans now and into the future, including enhancing

 pedestrian safety, reducing greenhouse gas emissions, and cultivating a diverse transportation

 industry and workforce.

        5.      MnDOT provides statewide construction and maintenance services for the State

 of Minnesota’s state roads as generally authorized by Minnesota Statutes chapter 162. MnDOT

 constructs new roads, ensures roads are travelable in various weather conditions, and manages

 roads throughout their life cycle.

        6.      MnDOT has a duty to monitor roads using scientific and non-scientific tools, test

 construction materials, conduct research on road-related equipment or materials, and to improve

 the ability of people to get from one location to another by sharing operating conditions and

 options to complete trips.

        7.      MnDOT annually expends $3 - $5 billion to conduct its work. MnDOT

 expenditures include staff salaries, consultant or other professional services costs and hundreds

 of millions of dollars on tangible goods purchasing. In the regular course of its operations,

 MnDOT routinely purchases many goods that happen to originate from sources outside the

 United States, be assembled outside the United States, or only exist in other countries. Tangible

 goods purchasing can be generically broken into three buckets: (i) electronic equipment, (ii)

 physical assets, and (iii) raw materials or commodities.

                                             - Appx388 -
                 Case: 25-1812     Document: 148        Page: 392      Filed: 07/20/2025



Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-10         Filed 05/07/25      Page 3 of 30




 Electronic Equipment

        8.        MnDOT purchases electronic equipment such as sensors, dynamic signs, cameras,

 computers, electronic cabinets, and voluminous other types of lights, cables, or technical

 equipment. As required by state and federal procurement laws MnDOT utilizes the “low bid”

 contracting method to acquire the various goods it needs to meet the agency’s mission. Under

 that method, the lowest bidder related to an anticipated procurement is presumed to be the entity

 MnDOT will contract with for the goods. MnDOT and the low bidder will typically enter into a

 contract for a duration of time with fixed costs for series of identified goods. One example of

 this arrangement is over-road dynamic signs. Over-road dynamic signs are large signs that exist

 above the travel lanes on a roadway and have the ability to change the message they convey.

 Tolls, safety messages, lane conditions, warnings, are all examples of the types of things these

 signs are used for. The signs come in a wide range of sizes and shapes but all generally contain

 some form of illumination to display information the travelling public would benefit from

 knowing.

        9.        In 2024, MnDOT completed a request for proposal (RFP) for these types of signs

 and received multiple bidders. The lowest bidder was a manufacturer in Canada. The Canadian

 firm currently under contract has informed MnDOT prices will increase by 5% to 30%

 depending on the sign. In analyzing the alternative low bidders to the last RFP, the alternative

 bidders to the contract solicitations had prices in their proposals that were up to 350% higher

 than the low bidder Canadian firm. Attached as Exhibit A is an accurate analysis of the 2024

 RFP responses for dynamic sign pricing. The analysis defines the specific type of sign the

 current vendor costs as well as the two other proposing vendors costs for those same items. The

 analysis was completed for the purpose of picking which vendor was the lowest bidder based on

 the type and volume of sign MnDOT procures and identifies each vendors pricing above the

 lowest price.


                                            - Appx389 -
                 Case: 25-1812      Document: 148        Page: 393      Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-10         Filed 05/07/25      Page 4 of 30




           10.     The bid result analysis demonstrating the bid prices for all proposers. Given the

 anticipated price increases, MnDOT now has three options: (i) find a mechanism to pay the

 prices which exceed the contract allowance; (ii) enforce the contract assuming the vendor

 breaches its contractual obligation; or (iii) switch to a higher priced vendor.

           11.    In any scenario, MnDOT will be spending more money to acquire the same items

 as a result of the tariffs placed on the Canadian manufacturer. The outcome of a contractual

 dispute is very uncertain, and its most likely outcome is a mediated increase in our contractual

 prices. A higher-priced, US-based vendor—or simply paying the tariff related increases—all

 result in higher costs for MnDOT, and they result in higher costs without a designated source for

 MnDOT to cover the difference in price. The tariff-related increased costs are not theoretical as

 the agency has, over the last decade purchased approximately 40 dynamic signs per year (since

 2015 MnDOT has never purchased fewer than 10 and has never purchased more than 92). This

 year MnDOT expects to be a bit higher than our 10-year average with about 50 signs expected.

 There are several large construction projects underway which require them as well as several

 replacement signs needed in locations where the older sign has malfunctioned and is beyond

 repair.

           12.    Additionally, under the electronic equipment category are the communication

 tools utilized by MnDOT and other first responders. The Allied Radio Matrix for Emergency

 Response (ARMER) is a statewide radio network managed by MnDOT. The radio network is a

 series of 335 towers in every corner of Minnesota with specialized equipment which makes it

 possible for first responders to communicate with their various departments. Significantly this

 system also allows everyone one to talk to each other. MnDOT had the tragic need to test the

 functionality of this system in 2007 when a large bridge collapsed in Minnesota and there were

 Emergency Medical Services, Minneapolis Firefighters, Minneapolis Police, State Troopers,

 United State Coast Guard and various other federal partners all on the same network

 communicating with each other at the same time.

                                              - Appx390 -
               Case: 25-1812       Document: 148         Page: 394      Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-10          Filed 05/07/25       Page 5 of 30




        13.     The statewide ARMER network has hundreds of components that regularly reach

 the end of their lifespan. Each of these components can only be sourced from selected specialists

 and the components come from around the world. The consumable nature of the vast network,

 the criticality of the network being operational, and the cost of having additional components on

 hand means this is one of the first tariff impacts MnDOT has received invoices for. There is not

 an option of going to a different vendor, the components are extremely specialized with very few

 vendors and in most instances there is only one source as the market does not support

 competition. MnDOT cannot pick a Beta tape for VHS player. The tariffs on the purchases

 invoiced to date are generally 20% higher than the same item prior to the tariff increases.

 Attached as Exhibit B are true copy of invoices received for various radio components. These

 documents clearly identify the country of origin for the component and the amount of additional

 tariff costs. Also Attached as Exhibit C is a price quotation from a vendor for actual products

 with the anticipated tariff impacts for the items MnDOT needs to keep the ARMER system

 operations.

        14.     The multinational nature of the products MnDOT receives raises additional

 concerns about how likely the products will be received at all let alone within the timeline

 promised, will the products be double tariffed (directly or indirectly), will the logistics firms be

 able to manage the changing tariff landscape to ensure accurate accounting. Attached as Exhibit

 D is a true copy of the type of communication MnDOT has received from various vendors who

 anticipate increased costs related to tariff changes. The impact those changes will have on our

 contractual relationship and what the conditions of those changes will have on MnDOT’s

 purchases.

 Physical Assets

        15.     MnDOT also purchases large, high cost, pieces of equipment. These physical

 assets are typically complex multicomponent items. Plow trucks are a prime example. MnDOT

 purchases approximately 57 plow trucks a year. Each truck begins as a chassis. The chassis is

                                             - Appx391 -
              Case: 25-1812        Document: 148        Page: 395       Filed: 07/20/2025


Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-10          Filed 05/07/25      Page 6 of 30




 the building block of a truck (basically the engine and the part a person rides in bolted onto the

 undercarriage on which the tires are mounted). MnDOT receives the chassis and then adds plow

 systems, computer systems, dump truck beds, radio networks, sensors, cameras, GPS equipment,

 and many other pieces of technology.

        16.     Plow construction is an iterative process where numerous components are

 installed from various manufacturers over many weeks. Each item is from a different vendor and

 is itself made of many components.

        17.     MnDOT has been informed that the 57 plow chassis we have scheduled for build

 this year will have a price increase of $3,000.00 per unit. There are likely additional increases

 for the technology or steel however those stages are later in the build process an no costs have

 been shared with MnDOT.

 Raw Materials

        18.     Raw materials and commodities are the third category of tariff-related price

 impacts. Raw materials consist of cement, fly ash, steel, glass beads, and the many types of

 materials that go into the creation of roads and bridges.

        19.     The two most significant commodities purchased by MnDOT are fuel and salt.

 Of these two, salt is currently the most variable. Most salt in Minnesota is sourced from within

 the United States; however, northern Minnesota has existing agreements with vendors that

 purchase from Canadian mines. MnDOT also uses specific salt in the road pre-treatment brine

 process. As with all specialty purchases, the availability from a vendor impacts the source

 location and the requirement to adhere to a low bid purchase may require sourcing from outside

 of the United State. As with most commodities salt is subject to broad price influences typically

 impacted by exchanges. However, when the salt is ultimately sent from Canada, there will now

 also be an added tariff costs. MnDOT typically buys salt in the summer months with delivery at

 the convenience of the supplier, so hard costs have not been determined but early indications

 from typical sources are that the low bid provider expects 15%-25% increases.

                                             - Appx392 -
              Case: 25-1812     Document: 148      Page: 396       Filed: 07/20/2025




Case 1:25-cv-00077-GSK-TMR-JAR            Document 14-10         Filed 05/07/25   Page 7 of 30




        20.     The President’s tariffs accordingly impose a financial harm to MnDOT by

 increasing the cost of procurement.

        Executed on May 6, 2025, at Minneapolis, Minnesota



                                             Joshua           Digitally signed by
                                                              Joshua Root

                                             Root             Date: 2025.05.06
                                                              13:08:03 -05'00'
                                            _____________________________________
                                                   Joshua Root




                                         - Appx393 -
                            Case: 25-1812   Document: 148        Page: 397   Filed: 07/20/2025

                          Case 1:25-cv-00077-GSK-TMR-JAR         Document 14-10       Filed 05/07/25      Page 8 of 30


              DYNAMIC SIGN TYPE                      Current         Bidder                  Bidder
                                                     Vendor            B                       C
W18C3-20 (walk in 18ft color 3 line)        each    $60,000.00      $65,754.00   109.59%    $63,085.00    105.14%
W18C4-20 (walk in 18ft color 4 line)        each    $76,000.00      $78,461.00   103.24%    $75,185.00     98.93%
W24C3-20 (walk in 24ft color 3 line)        each    $78,000.00      $78,814.00   101.04%    $76,985.00     98.70%
W30C3-20 (walk in 30ft color 3 line)        each    $99,750.00      $91,950.00    92.18%    $90,285.00     90.51%
W30C4-20 (walk in 30ft color 4 line)        each   $129,000.00     $112,052.00    86.86%   $113,285.00     87.82%
W40C3-20 (walk in 40ft color 3 line)        each   $141,000.00     $126,606.00    89.79%   $128,185.00     90.91%
W40C4-20 (walk in 40ft color 4 line)        each   $182,000.00     $154,596.00    84.94%   $158,885.00     87.30%

F8C1-20 (front access 8ft color 1 line)     each    $15,500.00      $42,250.00   272.58%     $24,285.00   156.68%
F8C2-20 (front access 8ft color 2 line)     each    $22,500.00      $36,627.00   162.79%     $30,385.00   135.04%
F14C1-20 (front access 14ft color 1 line)   each    $21,000.00      $49,250.00   234.52%     $30,585.00   145.64%
F14C2-20 (front access 14ft color 2 line)   each    $35,100.00      $47,941.00   136.58%     $41,385.00   117.91%
F14C3-20 (front access 14ft color 3 line)   each    $50,400.00      $52,460.00   104.09%     $48,185.00    95.61%
F18C1-20 (front access 18ft color 1 line)   each    $24,200.00      $51,900.00   214.46%     $39,585.00   163.57%
F18C2-20 (front access 18ft color 2 line)   each    $42,400.00      $52,696.00   124.28%     $49,785.00   117.42%
F18C3-20 (front access 18ft color 3 line)   each    $60,600.00      $58,044.00    95.78%     $56,585.00    93.37%

R8C1-20 (rear access 8ft color 1 line)      each    $13,000.00      $45,250.00   348.08%     $33,385.00   256.81%
R8C2-20 (rear access 8ft color 2 line)      each    $20,100.00      $39,701.00   197.52%     $38,785.00   192.96%
R14C1-20 (rear access 14ft color 1 line)    each    $20,000.00      $53,750.00   268.75%     $39,285.00   196.43%
R14C2-20 (rear access 14ft color 2 line)    each    $31,700.00      $52,213.00   164.71%     $48,885.00   154.21%
R14C3-20 (rear access 14ft color 3 line)    each    $44,800.00      $57,509.00   128.37%     $55,485.00   123.85%
R18C1-20 (rear access 18ft color 1 line)    each    $22,800.00      $56,750.00   248.90%     $41,885.00   183.71%
R18C2-20 (rear access 18ft color 2 line)    each    $38,400.00      $57,764.00   150.43%     $52,985.00   137.98%
R18C3-20 (rear access 18ft color 3 line)    each    $52,000.00      $63,286.00   121.70%     $60,685.00   116.70%

ILCS (4 foot high by 4 foot wide)           each     $9,250.00      $31,900.00   344.86%     $23,185.00   250.65%
ILCS (5 foot high by 5 foot wide)           each    $13,300.00      $34,200.00   257.14%     $26,385.00   198.38%

SIGN CONTROLLER                             each     $4,600.00       $4,100.00   89.13%       $4,385.00    95.33%
COLOR DISPLAY MODULE                        each       $750.00         $660.00   88.00%         $735.00    98.00%

                                                      - Appx394 -
                     Case: 25-1812   Document: 148          Page: 398   Filed: 07/20/2025




                    Case 1:25-cv-00077-GSK-TMR-JAR           Document 14-10      Filed 05/07/25      Page 9 of 30


ILCS COLOR DISPLAY MODULE            each         $750.00         $660.00    88.00%        $585.00    78.00%
TRAINING                             Per occu   $4,200.00       $4,000.00    95.24%      $3,390.00    80.71%
COMMISSIONING PER WALK-IN SIGN       each         $850.00         $900.00   105.88%      $1,495.00   175.88%
COMMISSIONING PER NON-WALK-IN SIGN   each         $700.00         $900.00   128.57%      $1,495.00   213.57%
COMMISSIONING TRIP                   each       $3,200.00       $1,500.00    46.88%      $1,695.00    52.97%
STATIC SIGN MOUNT                    Ln FT        $195.00         $400.00   205.13%        $385.00   197.44%




                                                 - Appx395 -
                                           Case: 25-1812                       Document: 148                       Page: 399                  Filed: 07/20/2025

                     701Brooks Case      1:25-cv-00077-GSK-TMR-JAR Document
                                 Ave South,                             www.didikey_com14-10                                          Filed 05/07/25                 Page 10 of 30
Digikey              PO Box 677
                     Thief River Falls, MN 56701-0677
                                                                    Global Customer Support
                                                                 1-800-344-4539 or 218-681-6674
                                                                                                                                                                                           Invoice # 111416537
                     USA                                                                                                                                                            Completed Salesorder USD $

 0                                                                      0                                                                             Purchase Order.                 3000812760
     MN DOT & COMM                                                        GERALD SCHWARTZ
     3487 HADLEY AVE N                                                 2- MN DOT SW RADIO COMM                                                        Salesorder t Packlist:          91834272 / PL1
     OAKDALE MN 55128                                                  En 7694 INDUSTRIAL PARK RD                                                     Account:                        3311
                                                                          ATTN RADIO                                                                  Customer                        15858179
                                                                          BAXTER MN 56425-8266                                                        Payment Terms:                  Net 38 Days
                                                                                                                                                      Shipping Method:                XGT
                                                                                                                                                      Tracking 4:                     452445515550
     KELLY LEPINSKI                                                    E DIGI-KEY ELECTRONICS
                                                                       O
     STATE OF MN/DEPARTMENT OF TRANSPORTATION                          LL 701 BROOKS AVE. SOUTH
     STATEWIDE RADIO COMMUNICATIONS                                    a. P.O. BOX 677

     3487 HADLEY AVE N                                                 cn THIEF RIVER FALLS MN 56701-0677
     OAKDALE MN 55128-3307


     Order Source:            Order Date:                Invoice Date:                   Ship Date:                 Document Date:
      INTERNET               31-Mar-2025                 31-Mar -2825                   31-Mar-2025                31-Mar-2025/AUTO

Line                                                                                                                                                                                         Unit Price               Amount
         Ordered     Cancelled     Shipped                                                                 item Number/ Description
Item                                                                                                                                                                                           119D S                  USD S
  1        10            B           ie           PART: 123-A-N04/4-SF-ND                                 DESC: CONN MOD PLUG 4P4C UNSHIELDED                                                 0.22200                    2.22
                                                  MFG : Assmann WSW Components / A-MO 4/4-SF
                                                  COO : CHINA                               ECCN: EAR99                      HTSUS: 8536.69.8800
                                                  ROHS3 COMP REACH UNAFFECTED Jun-2024
                                                  Mercury: Cert on File. For more information contact EnvironmentalaDioiKev.com
                                                  Section 301 Tariff                                                                                                                                    .........__    v 0.22

 2         10           0             10          PART: 123-A-M06/6-F50-ND                                DESC: CONN MOD PLUG 6P6C UNSHIELDED                                                    0.18900 --'''''''''.....1.89
                                                  MFG : Assmann WSW Components / A-MO 6/6-F50
                                                  COO : CHINA                               ECCN: EAR99                      HTSUS: 8536.69.8000
                                                  ROHS3 COMP REACH UNAFFECTED Jun-2024
                                                  Mercury: Cert on File. For more information contact Environmental@DioiKey.com
                                                  Section 301 Tariff                                                                                                                                           ---> 0.19
                                                                                                                                                                                                             N.,........__
 3          5            0            5           PART: 1873-1030-ND                                                         DESC: DESOLDER BRAID ROSIN 0.055" 5'                                4.38000                21.90
                                                  MFG : Techspray / 1809-SF
                                                  COO : UNITED STATES OF AMERICA                          ECCN: EAR99                                 HTSUS: 7413.00.5090
                                                  ROHS3 COMP RFArH UNAFFECTED Jun-2022


                                                                                                                                                                                 Sales Amount                           26.01
                                                                                                                                                                                Tariff Amount                            6.41
                                                                                                                                                                       Total Sales and Tariff                           26.42
                                                                                                                                                                     Shipping charges applied                            6.99
                                                                                                                                                                       " Charges subtotal *'                            33.41
                                                                                                                                                            Total due - Pay from this invoice                           33.41
                                                                                                                                                                                                                        USD $
                                                                                                                                                                                    Tax Exempt




                                            DUNS No: 05 760 2120 FEI No: XX-XXXXXXX Any applicable sales tax not collected on this invoice is the responsibility of the customer.
                                                                                                                                                                                                                      Page 1 of 2




                                                                                                - Appx396 -
                                                    Case: 25-1812                        Document: 148                Page: 400                Filed: 07/20/2025

                                    Case 1:25-cv-00077-GSK-TMR-JAR                                    Document 14-10                     Filed 05/07/25                    Page 11 of 30

                      701 Brooks Ave South,                                                        www.digikey.com                                  Ship Method:             XGT     I      272/ A4C9               j Packlist tf      1
EligiKey              PO Box 677                                                               Global Customer Support                              Customer PO:                   3000812750                                       AUTO
                      Thief River Falls, MN 56701-0577                                       1-800.344-4539 or 218-681-6674                              H1111113
                      USA

       KELLY LEPINSKI                                                                 GERALD SCHWARTZ                                               Sales Order:                     91834272        MERIN 1111111M
       STATE OF MN/DEPARTMENT OF TRANSPORTATION                                       MN DOT SW RADIO COMM                                          Invoice:                         3.11416537      ll111111111111111111I1111111
 0
       STATEWIDE RADIO COMMUNICATIONS                                            to
                                                                                  -   7694 INDUSTRIAL PARK RD
                                                                                                                                                    Order Date:                      31-Mar -2025
       3487 HADLEY AVE N                                                          o   ATTN RADIO
                                                                                                                                                    Document Date:                   31-mar-2025
 01    OAKDALE iiN 55128-3307                                                         BAXTER MN 56425-8266
                                                                                                                                                    Shippable Items:                 3
                                                                                                                                                    THE ORDER IS COMPLETE




               Line
 Ordered                 Location                                                                   Item Number I Description                                                                         Shipped                 Backordered
               kern
      18        1                    PART: 113 -A-M04 /4 - SF- ND                                          DESC: CONN t•1OD PLUG 4P4C UNSHIELDED                             ECCN: 6A.499                  10                      0
                                     MFG::: A-NO 4/4-SF                                                    RTStiS: 8538.69.8060                                              CAGE: C3189
                                           III if Willi I IIIIIIl@ IIIIIIIIM UM 111
                                     MFG : Assmann WSW Components
                                     ROItS3 COMP     REACH UNAFFECTED Jun • 2824                                                                                                                              5 PAI:.""
                                                                                                                 DATE CODE: Aug -2022    LOT CODE: 22325016576100018000                                         A-
                                     COO: Claim                                     LOT QTY: 16                                                                                                           r               .
                                     Mercury: t.en on File for more intormahon contact Environmentalte`OigiKey.corn


                                     QTT: II I Mil III! III

      10        2                    PART: 223 -A-M06/ 5- F50 -NO                                          DESC: CONN MOD PLUG SPEC UNSHIELDED                               ECCN: E.AR99                  10                      9
                                     MFG::: A-MO 616-F59                                                   HTSUS: 8536.89.8096                                               CAGE: C3189




                                                                                                                                                                                                       rtv _
                                         MIUMUMIMUURIMMEIHNI
                                     MFG : Assmann WSW Components
                                     ROHS3 COMP               REACH UNAFFECTED Jun-2624
                                     COO: CHINA                                       LOT QTY: 10                 DATE CODE: Aug-21524   LOT CODE: 24355915716009030080
                                     Mercury: Cert on File. For more information contact Envirotunentat@DigiKey.com


                                     UV: iii ilillialn

      5          3                   PART: 1873-1030 -ND                                                   MSC: DESOLDER BRAID ROSIN 0.055" 5'                               ECCN: EAR99                       5                   0
                                     MFG::: 1899-5F                                                        Irrs us : 7413.80.5000                                            CAGE: 21267
                                         (1UIMMEEHMEI
                                     MFG : rmhspray                                                                                                                                                      1W.
                                     ROH53 COMP      REACH UNAFFECTED Jun -2022
                                     COO: UNITED STATES OF AHERICA         LOT QTY: 5                         DATE CODE: Oct -2923 LOT CODE: 23303
                                                                                                                                                                                                        VC
                                                                                                                                                                                                              N.
                                                                                                                                                                                                         -..A"-
                                                                                                                                                                                                            4:5-
                                     qn% 1RIUMila

           General -t8     ORDER ID: 355432476

  These items are controlled by the U.S. Government and authorized for export only to the country of ultimate destination for use by the ultimate consignee or end-user(S) herein
Identified. They may not be resold, transferred, or otherwise disposed of, to any other country or to any person other than the authorized ultimate consignee or end-user(s),
either in their original form or after being incorporated into other items, without first obtaining approval from the U.S. Government or as otherwise authorized by U.S. law and
regulations.                                                                                                                                 /1

                                                                                                                                                             t T'   E--1
                                                                                                                                               -'                           .,       _ ..
                                                                                                                                                         ,                                       „
                                                                                                                                                                                 /          c,
 1111111111111111I1111111
           91,1E111
                 .111H1111111111111
                                 !MI                                                                                                                                                                                            Page 1 of 2




                                                                                                     - Appx397 -
                                             Case: 25-1812                       Document: 148                        Page: 401                  Filed: 07/20/2025

                                  Case 1:25-cv-00077-GSK-TMR-JAR                                     Document 14-10                      Filed 05/07/25                  Page 12 of 30
                      701Brooks Ave South,                                                        wvvw_didikey.com
                      PO Box 677                                                              Global Customer Support
                                                                                                                                                                                                    Invoice # 111416534
                      Thief River Falls, MN 56701-0677                                     1-80D-344-4539 or 218-681-6674
                      USA                                                                                                                                                              Completed Salesorder USD $


                                                                           GERALD SCHWARTZ                                                             Purchase Order:                    3000812768
     MN DOT & COMM
     3487 HADLEY AVE N
                                                                        C. MN DOT SW RADIO COMM                                                        Salesorder I Packlist:             91834271 / P L1
     OAKDALE MN 55128                                                      7694 INDUSTRIAL PARK RD                                                     Account:                           3311
                                                                           ATTN RADIO                                                                  Customer:                          15858179
                                                                           BAXTER MN 56425-8266                                                        Payment Terms:                     Net 30 Days
                                                                                                                                                       Shipping Method:                   MPG
                                                                                                                                                       Tracking #:                        9405530109355127153_866
     KELLY LEPINSKI                                                     O E-Z-HOOK
     STATE OF MN/DEPARTMENT OF TRANSPORTATION                              5108 AZUSA CANYON ROAD
                                                                        C. IRWINDALE CA 91706-0000
     STATEWIDE RADIO COMMUNICATIONS
     3487 HADLEY AVE N                                                 rn
     OAKDALE MN 55128-3307


      Order Source:            Order Date:               Invoice Date:                   Ship Date:                  Document Date:
       INTERNET               31-Mar -2025               01-Apr-2025                    01-Apr-2025                 01-Apr-2025/AUTO                                                dAct---•
                                                                                                                                                                                                                          -
Line                                                                                                                                                             -"-----------------          L-Miit Price     Amount
          Ordered     Cancelled      Shipped                                                                Item Number/ Description
Item                                                                                                                                                                                             UsoS            USD S
             1            0             1        PART: A62-1164-ND                                        DESC: MINI HOOK TO MINI HOOK 18" lePC                                                     76.50009
 1                                                                                                                                                                                                                76.50
                                                 MFG : E-Z-Hook / 604XR-18-S
                                                 COO : UNITED STATES OF AMERICA            ECCN: EARSO                      HTSUS: 8544.42.9090
                                                 ROHS NONC REACH UNAFFECTED Jan-2022
                                                 Mercury: Cert on File. For mare information contact Environmental0Diqiitey.com


                                                                                                                                                                                 Sales Amount                    76.50
                                                                                                                                                                     Shipping charges applied                    10.50
                                                                                                                                                                       '" Charges subtotal '*                    87.09
                                                                                                                                                            Total due - Pay from this invoice                    87.00
                                                                                                                                                                                                                 USD S
                                                                                                                                                                                       Tax Exempt


       Digi-Key Electronics                                                                    Swift Code: NSBTUS44
       Northern State Bank                                                                     Account #: 11-595-7
       201 East Third Street                                                                   ABA No: 091216146
       Thief RiVer Falls MN 56701



  ' These items are controlled by the U.S. Government and authorized for export only to the country of ultimate destination for use by the ultimate consignee or end-user(s)
  herein identified. They may not be resold, transferred, or otherwise disposed of, to any other country or to any person other than the authorized ultimate consignee or end-
     user(s), either in their original form or after being incorporated into other items, without first obtaining approval from the U.S. Government or as otherwise authorized by
     U.S. law and regulations.




                                             DUNS No: 05760 2120 FEI No: XX-XXXXXXX Any applicable sales tax not collected on this Invoice is the responsibility of the customer_

                                                                                                                                                                                                               Page 1 of 2




                                                                                                  - Appx398 -
       Case: 25-1812      Document: 148      Page: 402     Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR       Document 14-10    Filed 05/07/25             Page 13 of 30




                                          PICK TICKET -




     8 -Z-HOOK DIV TEKTEST INC                ORDER NO.     DATE              CUSTOMER NO.         PAGE
     5108 AZUSA CANYON ROAD                      94290    03/31/25            000000318500
     IRWINDALE, CA 91706
     FAX: 626-446-0972                             CUSTOMER PO NUMBER                         JOB NO.
     626-446-6175                                  3000812760


  SHIP VIA               SHIP DATE       SHIPPING INSTRUCTIONS
  USPS MAIL               A.S.A.P.       SHIP ON 04/14/2025 OR SOONER
                                         SM FLAT RATE BOX
  TERMS             WHSE. LOCATION
  NET 3Q DAYS       ARCADIA




C
  BILL TO:                                     SHIP TO:
  DIGI-KEY MP                                  MN DOT SW RADIO COMM
  701 BROOKS AVENUE SO TH                      '7694 INDUSTRIAL PARK RD
  INVOICE ON https://a th.digikey.com/         ATTN GERALD SCHWARTZ RADIO
      F RIVER FALLS,    56701                  BAXTER, MN 56425-8266
  USA                                          USA

      QTY.        REQ.     ITEM NUMBER/DESCRIPTION        PICK                  QTY.    QTY.
    ORDERED       DATE                             UOM    SEQ.              TO SHIP    PICKET
                        ***Warning: Duplicate Picking Ticket***                    2 -
                03/31/25 604XR-18-S                 EA                          / 1.00
                                                                                t...._    1
         1.00
                         SET,10, 1 EA 10 COLORS
                         DIGKEY PART4 461-1164-ND
                                                             .. n - • ;- ' -r:.
                            All Line Items Picked                             .       .   i

                                                                   ..   '     L   ,




                                                       e,




                                                               Shipped
                                                                            3 17:21)

                                                               E-Z-Hook

                   MISCELLANEOUS CHARGES                                     FREIGHT CHARGES
                                .00                                                     .00




                                     - Appx399 -
                  Case: 25-1812         Document: 148                     Page: 403           Filed: 07/20/2025



                                                                                11 stir 1111 I 1UI iii 11
       Case 1:25-cv-00077-GSK-TMR-JAR                    Document 14-10                 Filed 05/07/25            Page 14 of 30
             MINNeSOTA                      Purchase
                                              Order
    Transportation Department                          CHANGE ORDER                                                    Dispatch Via Email
 Statewide Radio Communications                        Purchase Order           Date                  Revision           Page
                                                       17901-3000812760         03/31/2025            1 - 04/09/2025     1 of 2
                                                       Payment Terms            Freight Terms         Ship Via           Event ID
                                                       Net 30                   FOB Destination,      GROUND
                                                                                Prepd & Add
                                                       Buyer                    Phone                 Currency          Agency Reference
                                                       Lepinski,Kelly J         651/366-4407          USD               445789

Supplier:                       Ship To:                                  Attention:                     Bill To:
0000202529                      MNDOT SW RADIO COMM                       See Detail Below               MNDOT SW RADIO COMM OAKDALE
DIGI KEY CORP                   BAXTER                                                                   OAKDALE
521 1ST ST E                    BAXTER                                                                   3487 HADLEY AVE N (4W)
THIEF RIVER FLS MN 56701-0677   7694 INDUSTRIAL PARK RD                                                  OAKDALE MN 65128-3307
United States                   BAXTER MN 56425-8266                                                     United States
                                United States


Tax Exempt?                     Tax Exempt ID:                             Replenishment Option: Standard
Line - Sch  Item/Description                       Manufacturer             Quantity UOM           PO Price            Extended Amt    Due Date
            Mfg Item ID                            Name

1-1         Digl key #461-1164-ND                                              1.0000   EA            76.50000                 76.50   03/31/2025
            Mfr# 604XR-18-S
            MINI HOOK TO MINI HOOK 18" 10PC        8
            445789 Bax
                                                                                               MISC                        10.91
                                                                                                Attention: Gerald Schwartz
                                                                                        Schedule Total                     87.41
                                                                                        Item Total                             87.41

2 -1        Digl-key # 123-A-MO4/4-SF-ND                                      10.0000   EA             0,22200                  2,22   03/31/2025
            MFRit A-MO 4/4-SF
            CONN MOD PLUG 4P4C UNSHIELD

            445789 Bax
                                                                                               FREIGHT                          0.60
                                                                                                Attention: Not Specified
                                                                                        Schedule Total                          2.82

                                                                                        Item Total                              2.82


3 -1        Digl Key # 123-A-MO6/6-F50-ND
            Mrf#A-MO 6/6-F50
                                              ft                              10.0000   EA             0.18900                  1.89   03/31/2025

            CONN MOD PLUG 6P6C UNSHIELDED

            445789 Bax
                                                                                               FREIGHT                          0.51
                                                                                                Attention: Not Specified
                                                                                        Schedule Total                          2.40
                                                                                        Item Total                              2,40


            Digi-key # 1809-5F                                                 5.0000   EA             4.38000                 21.90   03/31/2025
4 -1
            MFR# 809-SF
            DESOLDER BRAID ROSIN 0.055" 5
            Techspray

             44579 Bax
                                                                                                FREIGHT                         5.88
                                                                                                 Attention: Not Specified
                                                                                         Schedule Total                        27.78

                                                                                         Item Total                            27.78



Issuer certifies that funds have been encumbered                                Issued By:
and appropriate approvals have been obtained.                                   Kelly J Lepinski

                                                       - Appx400 -
                    Case: 25-1812                 Document: 148                  Page: 404            Filed: 07/20/2025



                                                                                                    iuII11 1111iii11 NI 1111
       Case 1:25-cv-00077-GSK-TMR-JAR                            Document 14-10                 Filed 05/07/25          Page 15 of 30
  T1 MINNeSOTA                                    Purchase
                                                      Order
     Transportation Department                                CHANGE ORDER                                                   Dispatch Via Email
Statewide Radio Communications                                Purchase Order Date                           Revision          Page
                                                              T7901-3000812760         03/31/2025           1 - 04/09/2025    2 of 2
                                                              Payment Terms            Freight Terms        Ship Vla          Event ID
                                                              Net 30                   FOB Destination,     GROUND
                                                                                       Prepd & Add
                                                              Buyer                    Phone                Currency          Agency Reference
                                                              Lepinski,Kelly J         651/366-4407         USD               445789

Supplier:                              Ship To:                                  Attention:                    Bill To:
0000202529                             MNDOT SW RADIO COMM                       See Detail Below              MNDOT sW RADIO COMM OAKDALE
DIGI KEY CORP                          BAXTER                                                                  OAKDALE
521 1ST ST E                           BAXTER                                                                  3487 HADLEY AVE N (4W)
THIEF RIVER FLS MN 56701-0677          7694 INDUSTRIAL PARK RD                                                 OAKDALE MN 55128-3307
United States                          BAXTER MN 56425-8266                                                    United States
                                       United States


Tax Exempt?                            Tax Exempt ID:                                Replenishment Option: Standard
                                                                                                Total PO Amount                    120.41
              1. Show the purchase order number on invoice and all tags, packages and
              correspondence.
              2. This purchase order incorporates by reference all terms, conditions, and
              specifications in the Contract.
              In case of a conflict in terms, the order of precedence shall be: First this P.O.
              and second the Contract.
              3. If this purchase order is awarded from a solicitation, it Incorporates by
              reference all terms, conditions and specifications of the Sample Contract
              attached to the SWIFT Event,
              In case of a contlict In terms, the order of precedence shall be: First this P.O.
              and second the Sample Contract.
              4, All deliveries hereunder shall comply with all applicable State of Minnesota
              and Federal laws.
              5. Invoicing must match line items on the purchased order.
              6, DO NOT COLLECT SALES TAX on this order unless instructed to do so on
              this Purchase Order or the solicitation document, Effective July 1, 1995,
              Minnesota State agencies use a Direct Pay Authorization to pay the
              applicable sales and use tax directly to the Department of Revenue under
              Minnesota Tax ID 4405717. The Department of Revenue does not require
              State agencies to complete the ST3 Form with this order.
              7. Payment terms are Net 30 unless a discount is offered for early payment,




Issuer certifies that funds have been encumbered                                       Issued By:
and appropriate approvals have been obtained.                                          Kelly J Lepihski

                                                                - Appx401 -
                                             Case: 25-1812                        Document: 148                        Page: 405                  Filed: 07/20/2025

                                 Case 1:25-cv-00077-GSK-TMR-JAR                                      Document 14-10                      Filed 05/07/25                  Page 16 of 30
                     701Brooks Ave South,                                                           vvvvw.diqikey.com

 0-qii(ey            PO Box 677
                     Thief River Falls, MN 56701-0677
                                                                                                Global Customer Support
                                                                                             1-800-344-4539 or 218-681-6674
                                                                                                                                                                                                Invoice # 111737153
                     USA                                                                                                                                                                 Completed Salesorder USD S

 0 MN DOT & COMM                                                          0
                                                                          I- MNDOT SW RADIO
                                                                                                                                                         Purchase Order:                   3000814538
       3487 HADLEY AVE N                                                  0. SW RADIO COMM ST CLOUD                                                      Salesorder I Packlist:            92028280 /
       OAKDALE MN 55128                                                   to MNDOT                                                                       Account:                          3311
                                                                             3725 12TH ST N                                                              Customer:                         15858179
                                                                             PETER NIERENGARTEN                                                          Payment Terms:                    Net 30 Days
                                                                             SAINT CLOUD MN 56303-2107                                                   Shipping Method:                  XGT
                                                                                                                                                         Tracking #-                 _     454109991879
     KELLY LEPINSKI
     STATE OF MN/DEPARTMENT OF TRANSPORTATION                             0 DIGI-KEY ELECTRONICS
                                                                          tr_ 701 BROOKS AVE. SOUTH
     STATEWIDE RADIO COMMUNICATIONS                                        0. P.O. BOX 677
     3487 HADLEY AVE N                                                        THIEF RIVER FALLS MN 56701-0677
     OAKDALE MN 55128-3307


     Order Source:           Order Date:                   Invoice Date:                   Ship Date:                  Document Date:
       INTERNET             10-Apr-2025                    10-Apr -2025                   10-Apr -2025               10-Apr-2025/AUTO

Line                                                                                                                                                                                             Unit Price   Amount
          Ordered    Cancelled     Shipped                                                                   Itenitsiumber/ Description
Item                                                                                                                                                                                               USE'S       USOS
  1         10          0              10          PART: 732-61802524823-ND                                                    DESC: CONN D-SUE PLUG 25POS SOLDER CUP                        -. . 2.13300       21.33
                                                   MFG : Worth Elektronik / 61802524823
                                                   COO : CHINA                                              ECCN: EAR99                                HTSUS: 8536.69.8000
                                                   ROHS3 COMP REACH UNAFFECTED Nov-2024
                                                   Section 301 Tariff                                                                                                                                             2.13

 2          10          0         -s' 10           PART: WM1030-ND                                          &ESC: CONN PLUG HSG 2POS VERT DUAL                                                    0.28400         2.84
                                                   MFG : Molex / 0039013023
                                                   COO : UNITED STATES OF AMERICA            ECCN: EAR99                       HTSUS: 6536.69.8000
                                                   ROHS3 COMP REACH UNAFFECTED Jul-2017
                                                   Mercury: Cert on File. For more information contact EnvironmentalaDicliKey.com

 3          25          0         -... 25          PART: WM2590-ND                                          DESC: CONN PIN 18-24AWG CRIMP TIN                                                     0.12100     ...._ 3.04
                                                   MFG : Molex / 0039000041
                                                   COO : UNITED STATES OF AMERICA            ECCN: EAR99                      HTSUS: 6536.90.4000
                                                   ROHS3 COMP REACH UNAFFECTED Jul-2017
                                                   mercury: Cert on File. For more information contact Environmental0DicliKev.com

 4          6           0           --.. 6         PART: WM1927-ND                                          DESC: CONN RCPT HSG 2POS 10.00MM                                                     1.52000      -- 9.12
                                                   MFG : Molex / 0428160212
                                                   COO : INDIA                               ECCN: EAR99                      HTSUS: 8536.69.8000
                                                   ROHS3 COMP REACH UNAFFECTED Jul-2017
                                                   Mercury: Cert on File. For more information contact EnvironmentaleDigiKey.com




                                             DUNS No: 05 760 2120 FEI No: XX-XXXXXXX Any applicable sales tax not collected on this invoice is the responsibility of the customer.




                                                                                                   - Appx402 -
                                                                 Case: 25-1812                        Document: 148                         Page: 406                 Filed: 07/20/2025

                                                     Case 1:25-cv-00077-GSK-TMR-JAR                                      Document 14-10                      Filed 05/07/25                  Page 17 of 30
                                          701Brooks Ave South,                                                           www.digikey.com
                            El         PO Box 677                                                                   Global Customer Support
                                                                                                                                                                                                                      Invoice # 111737153
                                          Thief River Falls, MN 56701-0677                                       1-800-344-4539 or 218-681-6674
                                                                                                                                                                                                         Completed Salesorder            USD
                                       USA

Line                                                                                                                                                                                                                  Unit Price    Amount
                         Ordered      Cancelled         Shipped                                                                   Item Number/ Description                                                             USDS          USDS
Item



      5                    12                0         --   12          PART: Wm9167CT-ND                                        DESC: CONN SOCKET 8AWG CRIMP GOLD                                                    1.27200           15.26
                                                                        MFG : Molex (VA) / 0428150032
                                                                        COO : UNITED STATES OF AMERICA            ECCN: EAR99                       HTSUS: 8536.90.4000
                                                                        ROHS3 COMP REACH UNAFFECTED Jul-2017
                                                                        Mercury: Cert on File. For more information contact Environmental@DicliKev.com

    6                      6                 0              6          PART: CP-1453-ND                                                             DESC: CONN RCA PLUG MONO 2COND                                    1.58000      '4 9.48
                                                                       OUST: ROC-95177-3
                                                                       MFG : Same Sky (Formerly CUI Devices) / RCP-021
                                                                       COO : TAIWAN, PROVINCE OF CHINA           ECCN: EAR99                                               HTSUS: 8536.69.8000
                                                                       ROHS3 COMP REACH UNAFFECTED Jan-2021

    7                      5                 e                         PART: APP-001-15ANP-ND                                                       DESC: AUTO PWR PLUG 12V 15A W/LED BLK                             5.42000      --   27.10
                                                                       MFG : MPD (Memory Protection Devices) / APP-001-15AMP•
                                                                       COO : TAIWAN, PROVINCE OF CHINA           ECCN: EAR99                                               HTSUS: 8536.69.8000
                                                                       ROHS COMP REACH UNAFFECTED Jan-2023


                                                                                                                                                                                                      Sales Amount                      88.17
                                                                                                                                                                                                     Tariff Amount                       2.13
                                                                                                                                                                                            Total Sales and Tariff                      90.30
                                                                                                                                                                                          Shipping charges applied                       6.99
                                                                                                                                                                                               Charges subtotal                         97.29
                                                                                                                                                                                 Total due - Pay from this invoice                      97.29
                                                                                                                                                                                                                                        USD S
                                                                                                                                                                                                         Tax Exempt
ACHIWire Iran:




                 Digi-Key         Electronics                                                                        Swift     Code: NSBTUS44
                 Northern         State     Bank                                                                     Account       #:    11-596-7
                 201     East     Third     Street                                                                   ABA No:       091216146
                 Thief     River     Falls       MN 56701




  ' These items are controlled by the U.S. Government and authorized for export only to the country of ultimate destination for use by the ultimate consignee or end-user(s)
  herein identified. They may not be resold, transferred, or otherwise disposed of, to any other country or to any person other than the authorized ultimate consignee or end-
  uSer(s), either in their original form or after being incorporated into other items, without first obtaining approval from the U.S. Government or as otherwise authorized by
  U.S. law and regulations.


Box                    Ship Method                   Tracking                                   Weight                   Line Item                                       Part                               Quantity

     I                      XGT       454109991879                              8.60 kgs / 1 lbs 5 oz                         1         732-61802524823 -ND                                                    10

                                                                                                                              2         WM1030-ND                                                              10

                                                                                                                              3         WM2500-ND                                                              25

                                                                                                                              4         WM1927-NO                                                              6




                                                                 DUNS NO: 05 760 2120 FEI Ho: XX-XXXXXXX Any applicable sales tax not collected on this invoice is the responsibility of the customer.




                                                                                                                       - Appx403 -
                                                         Case: 25-1812                     Document: 148                        Page: 407                 Filed: 07/20/2025

                                            Case 1:25-cv-00077-GSK-TMR-JAR                                    Document 14-10                      Filed 05/07/25               Page 18 of 30
                               701Brooks Ave South.                                                           www.digikey. corn                                 Ship Method:                            ZeD4A7US        1Packlist d           1


   oigiKey                     PO Box 677
                               Thief River Falls, MN 56701-0677
                                                                                                          Global Customer Support
                                                                                                      1-300-3.4.1-4539 or 218-681.6674
                                                                                                                                                                Customer PO:
                                                                                                                                                                     IIIUIIIIIAIIIIIiltlli
                                                                                                                                                                                             330081.4533
                                                                                                                                                                                              --
                                                                                                                                                                                                                                 i       t._ 70


                               USA

                   KELLY LEPINSKI                                                        MNDOT SW RADIO                                                        Sates Order:                  92028280
                   STATE OF MN/DEPARTMENT OF TRANSPORTATION                              SW RADIO COMM ST CLOUD                                                Invoice:                      111737153 PUHRIBUIRIMIld
         0         STATEWIDE RADIO COMMUNICATIONS                                        MNDOT                                                                 Order Date:                   10-Apr -2025
                   $407._MADLEY_AVEN__                                                   3725 -12TH ST N
     0                                                                                                                                                         Document Date:                10-Apr -2925
     in            OAKDALE MN 55228-3307                                                 PETER NIERENGARTEN
                                                                                         SAINT CLOUD MN 56303-2107                                              Shippable Items:             7
                                                                                                                                                                THE ORDER IS COMPLETE




                        Line                                                                                                                                                                                  Shipped Backordered
   Ordered                       Location                                                                      Item Number 1Description
                        kem
'---..        3.2         2                  PART: 732-6160252462D -ND                                                 DESC: CORM G-EuB PLUG 25POS SOLDER CLIP          '               ECCN: EAR90                le                ti
                                             UFG=: 61602524623                                                         NTSUS: 8586.69.8089                                              CAGE: 06R22
                                                    lilt!mintiann in
                                             MFG : WOrtn ElekLr.1"1.                                                                                                                                           viroz4,
              Nii                            ROHS3 COMP      REACH UDAFREc7ED Nriv..7e24                                                                                                                       -
                                                                                                                                                                sese2oe1224Beee                                        A
                                                                                                                                                                                                                       LS
                                             COO: CHINA                                      LOT QTY: li.                 DATE CODE: lcv.2822 LOT CODE:
                                             QTY: II

              16         2                   PART: Wm103E-ND                                                           DESC: corm Dulo eS6 ?PDS VER7 DUAL                               ECCN: EAR99                16                0
                                             Wets: 8339023622                                                          MTSUS: 9536.69.8090                                              CAGE: 111X99.
                                                    EHUBHHINUMill
                                             MFG : molex                                                                                                                                                            •
                                             ROHS3 COMP              REACH UNAFFECTED Jul -2811
         \fli/
                                             COO: UNITED STATES OF AMERICA.                  LOT QTY: 16                  DATE CODE: Fob -282.% LOT CODE: 251480074
                                             Mercury: Cert on Fee For more intounatio•I contact Environmerrair5Y09Key.corn


                                             QTT:111 11131111III

          2s             3                   PART: Wm2506-ND                                                           DESC: Cor N PI% 33.24413!, CPINP TI%                             ECCN: EAR45                25            8
                                             mFGa: e639eueez1                                                          MTSOS: *3E 96.1,180                                              CAGE: .-.0,,99
                                                    IIIIIIIIIIIIIIIIIIIII
         y/t                                 MFG : mOlex
                                             RONS3 COMP           REACH uNAFFELTED Jul -2017
                                             COO: UNITED STATES OF r$ERICA                     LOT QTY: 25                     DATE CODE: .e.:- Zen   LOT CODE: 36:7.4387
                                             Mercury: Coil on File. For more irilDrinatiun cumacI Fn, ironinemialitiDrgiKt-..orn


                                             QTV:   IIIIIIIIIII am
              f,         s                   PART: :041927 -MD                                                        DESC: CONK RCPT 456 2PDS 3o.oceiq                                 ECCN: EAR09                6                 8
                                             MFG4: 0428168212                                                         NTSUS: RS36.59.8863                                               CAGE: 3UX99
                                                    VIMIUNIIIMIIII111
          i                                  MFG : MO1c
                                             MISS COMP               REACm :.NAFFECTED Jul -2817
                                             COO: INDIA                                      LOT QTY: 3                   DATE CODE: Der -2024 LOT CODE: 801102171




               11111111131110111MIIIIIIIIII1110E111011
                                                                                                            - Appx404 -
                                            Case: 25-1812                     Document: 148                Page: 408              Filed: 07/20/2025

                                Case 1:25-cv-00077-GSK-TMR-JAR                              Document 14-10                 Filed 05/07/25                Page 19 of 30
                      701 Brooks Ave South.                                                  .vww.digikey.com                              Ship Method:       XGT    I    280/A7U9           IPacklist #      1
  MillKey             PO Box 677
                      Thief River Falls, MN 56701-0677
                                                                                         Global Customer Support
                                                                                      1-300-344-4539 or 218-681-6674
                                                                                                                                           Customer PO:             3686814538                             AUTO

                      USA

                         Location

               Line
    Ordered              Location                                                             Item Number t Description                                                         Shipped         Backordered
,,— _          Ite
                                                                                                                                                          -
                                    coo: INDIA                                      LOT QTY: 5                DATE CODE: Oct -2824 LOT CODE: 861162171
                                    Mercury: Cert on Re. For more inforrnaton cnrita.4^Environmenta0DigiKey.com

                                    QTY: Ill Illifie

     12         5                   PART: WM9167CT-ND                                                ()ESC: CONN SOCKET 8AWG CRImp GOLD                       ECCN: EARS?             12               0
                                    MFG=: 6428158032                                                 HTSUS: .35.36.26.40e°                                    CAGE: 110,99
                                         IIIIIIIIIIMMINII
                                    MPG : Molex (VA)
                                    ROHS3 COMP          REACH UNAFFECTED Jul-2917                                                                                                    g
                                                                                                                                                                                      .
                                    COO: UNITED STATES OF AMERICA                LOT QTY: 12            DATE CODE: Oct-2022 LOT CODE: 308647906346
                                    Mercury: Cerron File. For more ;Narmada+ concactEnwronmentagDoKey.com

                                    Cirr:II IIIIIMIIIII

      6         6                   PART: CP-1453-ND                                                DESC: CM RCA PLUG MONO 2COND                              ECCN: EAR99            6                 3
                                    COST: ROC-95177-3                                               HTSUS: 8536.69.6969                                       CAGE: EFVV6
                                         RI I II111I ONIIIIIMIEUIIIIIIllIli
                                    Mr-a#: RCP-@21
                                         III IIIIIMIIIIIIIIIIIIIII
                                    MFG : Same Sky (Formerly CUI Devices)                                                                                                        At"
                                    ROHS3 COMP      REACH UNAFFECTED Jan-2821
                                                                                                                                                                                 tiIA,*
                                                                                                                                                                                    1/ 71,
                                    COO: TAIWAN, PROVINCE OF CHINA       LOT QTY: 6                    DATE CODE: Mar-2825 LOT CODE: 2519                                        31.—;4:
                                    QTY:IIIIIIIIIII

     5          7                   PART: AP?-691.1SAYP-ND                                          DESC: AUTO PWR PLUG 12V 15A WILED ELK                     ECCN: EAR99            5                U
                                    MF6m: APP-081-15AmP                                             NTSUS: 6536.69.8e08                                       CAGE: 6524
                                        NI 0I IMINIMINNOIMIIIMIn
                                    WO : MOO (memory Protection Devices)                                                                                                              '•"`
                                    ROHS COMO      REACH UNAFFECTEC Jan -2923
                                    COO: TAIWAN, PROVINCE OF CHINA        LOT QTY: 5                   GATE COOE: Feb -2825 LOT CODE: 4546597                                        3..,
                                    OW: Ill RHEIN

          General - wE5 ORDER 13: 356241402

• These items are cont,olled by the u.S. Government and authorized for export only to the country of ultimate destination for use by :he ultimate consignee or end-users i herein
idunCi.fied. They may not be resold, transferred, or otherwise oisposed of. to any other country or to any person other than the authorized ultimate consignee or onci-u5ers),
exrher in their original form or after being incorporated Into other items. without first obtaining approval from the U.S. Government or as otherwise authorized by U.S. law arm
regulations.




                                                                     R(df-

                                                                     19e-4-eti
                                                       IMO III                                                                                                                                   Dan. 7 e...f




                                                                                          - Appx405 -
             Case: 25-1812             Document: 148                 Page: 409               Filed: 07/20/2025

  Case 1:25-cv-00077-GSK-TMR-JAR                   Document 14-10                    Filed 05/07/25               Page 20 of 30

beipvt'
            MINNesuTA Purchase
                                             Order
                                                                                                                  II
   Transportation Department                                                                                      Dispatch Via Email
                                                  Purchase Order          Date                       Revision          Page
Statewide Radio Communications                    T7901-3000814538        04/10/2025                                   1 of 3
                                                  Payment Terms           Freight Terms              Ship Via          Event ID
                                                  Net 30                  FOB Destination,           GROUND
                                                                          Prepd & Add
                                                  Buyer                   Phone                      Currency          Agency Reference
                                                  Lepinski,Kelly J        651/366-4407               USD               447054

Supplier:                       Ship To:                             Attention:                         Bill To:
0000202529                      MNDOT SW RADIO COMM ST               See Detail Below                   MNDOT SW RADIO COMM OAKDALE
DIGI KEY CORP                   CLOUD                                                                   OAKDALE
521 1ST ST E                    ST CLOUD                                                                3487 HADLEY AVE N (4W)
THIEF RIVER FLS MN 56701-0677   3725 12TH ST NORTH                                                      OAKDALE MN 55128-3307
United States                   ST CLOUD MN 56303-2107                                                  United States
                                United States


Tax Exempt?                      Tax Exempt ID:                       Replenishment Option: Standard
Line • Sch  Item/Description                      Manufacturer         Quantity UOM           PO Price             Extended Amt           Due Date
            Mfg item ID                           Name

1-1         DICKEY P/N 732-61802524823-ND                                10.0000     EA                2.13300                21.33       04/10/2025
            MFG P/N 61802524823
            Wurth Elektronik
            D-Sub Standard Connectors WR-DSUB
            Male 25Pln Solder Bucket

             447054 St CI
                                                                                            FREIGHT                       1.69
                                                                                            MISC                          2.13
                                                                                             Attention: Peter Nierengarten
                                                                                     Schedule Total                      25.15

                                                                                     Item Total                               25.15


2-1          DIGIKEY P/N WM1030-ND                                        10.0000    EA                0.28400                    2,84    04/10/2025
             MFG P/N 39-01-3023
             MOLEX
             2 CIRCUIT PLUG HOUSING

             447054 St CI
                                                                                               FREIGHT                            0.23
                                                                                                Attention: Not Specified
                                                                                        Schedule Total                            3.07

                                                                                        Item Total                                3,07


 3-1         DIGIKEY P/N WM2500-ND                                        25,0000       EA             0.12160                    3.04    04/10/2025
             MFG P/N 39.00.0041
             MOLEX
             WIRE HEADER MALE PIN

              447054 St CI
                                                                                               FREIGHT                            0.26
                                                                                                Attention: Not Specified
                                                                                        Schedule Total                            3.30

                                                                                        Item Total                                3,30


 4 -1         DIGIKEY P/N WM1927-ND                                         6,0000      EA              1.52000                   9.12     04/10/2025
              MFG P/N 0428160212
              MOLEX
              CONN RCPT HSG 2POS 10,00MM

              447054 St CI
                                                                                                 FREIGHT                           0.72


 Issuer certifies that funds have been encumbered                           Issued By:
 and appropriate approvals have been obtained.                              Kelly J Lepinski




                                                  - Appx406 -
              Case: 25-1812                    Document: 148                    Page: 410                  Filed: 07/20/2025

 Case 1:25-cv-00077-GSK-TMR-JAR                                 Document 14-10                     Filed 05/07/25              Page 21 of 30

              MINNebvTA Purchase
                                                       Order                                                                                             11
   Transportation Department                                                                                                   Dipatch Via Email
                                                                Purchase Order          Date                       Revision      Page
Statewide Radio Communications                                  T7901-3000814538        04/10/2025                               2 of 3
                                                                Payment Terms           Freight Terms              Ship Via      Event ID
                                                                Net 30                  FOB Destination,           GROUND
                                                                                        Prepd & Add
                                                                Buyer                   Phone                      Currency      Agency Reference
                                                                Lepinski,Kelly J        651/366-4407               USD           447054

Supplier:                               Ship To:                                   Attention:                         Bill To:
0000202529                              MNDOT SW RADIO COMM ST                     See Detail Below                   MNDOT SW RADIO COMM OAKDALE
DIGI KEY CORP                           CLOUD                                                                         OAKDALE
521 1ST ST E                            ST CLOUD                                                                      3487 HADLEY AVE N (4W)
THIEF RIVER FLS MN 56701-0677           3725 12TH ST NORTH                                                            OAKDALE MN 55128.3307
United States                           ST CLOUD MN 56303.2107                                                        United States
                                        United States


Tax Exempt?                             Tax Exempt ID:                              Replenishment Option: Standard
                                                                                                        Attention: Not Specified
                                                                                               Schedule Total                               9.84

                                                                                                   Item Total                               9.84


5-1           DIGIKEY P/N WM9167CT-ND                                                  12.0000     EA                1.27200             15.26      04/10/2025
              MFG P/N 0428150032
              MOLEX
              CONN SOCKET 8AWG CRIMP GOLD

              447054 St CI
                                                                                                          FREIGHT                           1,21
                                                                                                           Attention: Not Specified
                                                                                                   Schedule Total                        16.47

                                                                                                   Item Total                            16.47


6-1           DIGIKEY P/N CP-1453-ND                                                     6.0000    EA                1.58000                9.48    04/10/2025
              MFG P/N RCP-021
              SAME SKY
              CONN RCA PLUG MONO 2 CONDUCTOR

              447054 St CI
                                                                                                           FREIGHT                          0.75
                                                                                                            Attention: Not Specified
                                                                                                    Schedule Total                       10.23

                                                                                                      Item Total                         10.23


 7 1          DIGIKEY P/N APP-001-15AMP-ND                                               6.0000       EA             5,42000             27.10      04/10/2025
              MFG P/N APP-001.15AMP
              MPD
              AUTO PWR PLUG 12V 15A W/LED BLK

              447054 St CI
                                                                                                             FREIGHT                         2.13
                                                                                                              Attention: Not Specified
                                                                                                      Schedule Total                        29.23

                                                                                                      Item Total                            29.23


                                                                                                      Total PO Amount                       97.29
               1. Show the purchase order number on invoice and all tags, packages and
               correspondence.
               2. This purchase order Incorporates by reference all terms, conditions, and
               specifications in the Contract.
               In case of a conflict in terms, the order of precedence shall be: First this P.O.
               and second the Contract,
 Issuer certifies that funds have been encumbered                                         Issued By:
 and appropriate approvals have been obtained.                                            Kelly J Lepinski




                                                              - Appx407 -
                                                 Case: 25-1812                          Document: 148                         Page: 411                  Filed: 07/20/2025

                                       Case 1:25-cv-00077-GSK-TMR-JAR                                       Document 14-10                       Filed 05/07/25                  Page 22 of 30
                                701 Brooks Ave South,                                                        tivmv.digikeycorn
                                PO Box 677                                                               Global Customer Support
                                                                                                                                                                                                         Invoice # 111900013
                                Thief River Palls, MN 56701-0677                                     1-800-344-4539 or 218-681-6674
                                USA                                                                                                                                                          Completed Salesorder USD $

       0                                                                           0                                                                           Purchase Order:                 3000815560
                MN DOT & COMM                                                     r- MICAH SPINELLI
     a)
     _= 3487         HADLEY AVE N                                                                                                                              Salesorder f Packlist           92129478        PL1
                                                                                     SW RADIO COMM
                OAKDALE MN 55128                                                     101 HOOVER RD N                                                           Account:                        3311
                                                                                     VIRGINIA MN 55792-3412                                                    Customer:                       15858179
                                                                                                                                                               Payment Terms:                  Net 30 Days
                                                                                                                                                               Shipping Method:                XGT
                                                                                                                                                               Tracki                          454755149489
       KELLY LEPINSKI                                                             = DIGI-KEY ELECTRONICS

    co STATE OF MN/DEPARTMENT OF TRANSPORTATION                                   L.17 701 BROOKS AVE. SOUTH
                                                                                   O P.O. BOX 677
       STATEWIDE RADIO COMMUNICATIONS
       3487 HADLEY AVE N
                                                                                  =
                                                                                       THIEF RIVER FALLS MN 56701-0677
                                                                                                                                                                                      Lt) (095 5
       OAKDALE MN 55128-3307                                                                                                                                                               a-Lf • )-5
                Order Source:           Order Date:                Invoice Date:                   Ship Date:                 Document Date:
                 INTERNET              16 -Apr -2025               16-Apr -2025                   16 -Apr -2025              16-Apr-2025/AUTO

Line                                                                                                                                                                                                     Unit Price    Amount
                    Ordered     Cancelled     Shipped                                                                Item Number/ Description
Item                                                                                                                                                                                                       USD S        USDS
  1                    20          0             20         PART: P8309-ND                                          DESC: RELAY GEN PURPOSE SPOT 20A 24V                                                  5.56000       111.20
                                                            MFG : TO Connectivity Potter & Brumfield Relays / T9AS5022-24
                                                            COO : CHINA                               ECCN: EAR99                     HTSUS: 8536.41.0050
                                                            ROHS3 COMP REACH AFFECTED Jan-2021
                                                            Section 301 Tariff                                                                                                                                           2_4. 6


                                                                                                                                                                                         Sales Amount                  111.20
                                                                                                                                                                                        Tariff Amount                   24.46
                                                                                                                                                                               Total Sales and Tariff                  135.66
                                                                                                                                                                               "  Charges subtotal "                   135.66
                                                                                                                                                                    Total due - Pay from this invoice                  135.06
                                                                                                                                                                                                                        USD $
                                                                                                                                                                                            Tax Exempt
ACIaire Iran;




                Digi-Key Electronics                                                                     Swift Code: NSBTUS44
                Northern State Bank                                                                      Account #: 11-596-7
                201 East Third Street                                                                    ABA No: 091216146
                Thief River Falls MN 56701



     These items are controlled by the U.S. Government and authorized for export only to the country of ultimate destination for use by the ultimate consignee or end-user(s)
   herein identified. They may not be resold, transferred, or otherwise disposed of, to any other country or to any person other than the authorized ultimate consignee or end-
   user(s), either in their original form or after being incorporated into other items, without first obtaining approval from the U.S. Government or as otherwise authorized by
   u.S. law and regulations.




                                                      DUNS No:05 760 2120 FEI No:XX-XXXXXXX Any applicable sales tax not collected on this invoice is the responsibility of the customer.

                                                                                                                                                                                                                      Page 1 of 2




                                                                                                          - Appx408 -
                                                               Case: 25-1812                                 Document: 148                                Page: 412                         Filed: 07/20/2025

                                              Case 1:25-cv-00077-GSK-TMR-JAR                                                          Document 14-10                             Filed 05/07/25                          Page 23 of 30
                               701Brooks Ave South,                                                                                www.digikey.com                                                          Method:                  XGT                478/A2CF               [Packlist #      1
  DigiKey                      PO Box 677                                                                                       Global Customer Support                                                 Customer PO:                        3009815560                                       AUTO
                               Thief River Falls, MN 56701-0677                                                              1-800-3444539 or 218-681-6674                                                                         liE
                               USA

           KELLY LEPINSKI                                                                                    MICAH SPINELLI                                                                            Sales Order                           92129478              MEE ME
           STATE OF MN/DEPARTMENT OF TRANSPORTATION
                                                                                                       0
                                                                                                             SW RADIO COMM                                                                             Invoice:                              111988013    IIIIIIEHMINMEI E
           STATEWIDE RADIO COMMUNICATIONS                                                                    101 HOOVER RD N                                                                           Order Date:                           16-Apr -2925
           3487 HADLEY AVE N                                                                            C.
                                                                                                             VIRGINIA MN 55792-3412
    to     OAKDALE MN 55128-3307                                                                       in
                                                                                                                                                                                                       Document Date:                        16-Apr-ms
                                                                                                                                                                                                       Shippable Items:
                                                                                                                                                                                                       THE ORDER IS COMPLETE




                       Lin                                                                                                                                                                                                                                                    N ordcred
                                                                                                                                                                                                                                                                     ShippedBackordered
   Ordered                          Location                                                                                            Item Number I Description
                       Item
                          e
         26              2                            PART: PB369-ND                                                                              DESC: RELAY GEN PURPOSE SPOT 26A 24V                                                ECCC: EAR99                        28
                                                     MFG*: T9AS5022-24                                                                            HTSUS: 8536,41.965e                                                                 CAGE: 77342

                                                          il   II MEI MUM I EIEHMEIEEI E
                                                      mF0 : TE Connectivity              Potter      & Brumfield Relays
                                                      ROHS3 COMP                REACH AFFECTED Jan -2021
                                                     COO: CHINA                                                   LOT QTY:       23                   DATE CODE: Jan -2622              LOT CODE: 35688908143394

                                                     QrY: PIMEI LI

               General       - WEB ORDER ID: 3584 65661


   These items are controlled by the U.S. Government and authorized for export only to the country of ultimate oestination for use by the ultimate consignee or end -users)       herein
ioentified.    They may not be resold,  transferred,  or otherwise disposed of, to any other country or to any person other than the authorized ultimate consignee or end-user(s),
either    in their original form or after   being incorporated into other items, without first obtaining approval from the U.S. Government or as otherwise authorized by U.S. law ono
regulations.


CERTIFICATE OP COsmoueetrM:
The Cacr-Key or supplier direct ship products :it:Jude:1 n Ire above shipment were purchased from the original manureclurer or through the man tat                :to-Mot-4W deattlxmOri. The Oritynal manufacoSer warrants and comieS drat the products IktcY Produce meet thee
                                                                                                                                                                                                                                                                          must StuPaiwit
'-'4,Cc:fiCaliOrlS• Test reports (cherw-al physiml. eleelocal. etC.)SupPOrtincl their ceSirterien are on lee (ems at Clig-Key, the supplier cc in the piem of the manuracater) and ,vrti be made available upon request. This ['loco:tient is evidence of Conformity that
cnt •t:CluirememS of Div-Roles Quality Mormeentent System andity Furcrume Order requirements weed on between etc cusxuner and Diqi•Key. Thus erratic-aeon is •emid only to We on3inal customer and 4 not Vanslerable.




                  Pam I...eland, Senior manager. C.ustemer Resosion- Americas




                                                                        All transactions with DigiKey, including Its affiliates. are subject to DigiKey's Terms of use and Conditions of Order.




 1111111111111111i141
          9       11111111111
                    .        11                                                                                                                                                                                                                                                        Page 1 of 1




                                                                                                                                  - Appx409 -
              Case: 25-1812                    Document: 148                      Page: 413              Filed: 07/20/2025

  Case 1:25-cv-00077-GSK-TMR-JAR                                Document 14-10                     Filed 05/07/25           Page 24 of 30

            MINNeSOTA                            Purchase
                                                   Order                                         11                   111111 11
   Transportation Department                                                                                                Dispatch Via Email
                                                              Purchase Order            Date                    Revision      Page
Statewide Radio Communications                                T7901-3000815560          04/16/2025                            1 of 1
                                                              Payment Terms             Freight Terms           Ship Via      Event ID
                                                              Net 30                    FOB Destination,        GROUND
                                                                                        Prepd & Add
                                                               Buyer                    Phone                   Currency      Agency Reference
                                                               Lepinski,Kelly J         651/366-4407            USD           447910

Supplier:                              Ship To:                                   Attention:                        Bill To:
0000202529                             MNDOT SW RADIO COMM                        Micah Spinelli                    MNDOT SW RADIO COMM OAKDALE
DIGI KEY CORP                          VIRGINIA                                                                     OAKDALE
521 1ST ST E                           VIRGINIA                                                                     3487 HADLEY AVE N (4W)
THIEF RIVER FLS MN 56701-0677          101 NORTH HOOVER RD                                                          OAKDALE MN 55128-3307
United States                          VIRGINIA MN 55792-3412                                                       United States
                                       United States


Tax Exempt?                            Tax Exempt ID:                               Replenishment Option: Standard
Line - Sch  Item/Description                                 Manufacturer            Quantity UOM           PO Price        Extended Amt         Due Date
            Mfg Item ID                                      Name

1-1          PB309-ND                                                                  20.0000     EA             5.56000          111.20        04/16/2025
             T9AS5D22.24
             TE Connectivity Potter & Brumfield Relays
             RELAY GEN PURPOSE SPDT 20A 24V

             447910 Vir
                                                                                                           MISC                      24.46

                                                                                                   Schedule Total                  135.66

                                                                                                   Item Total                      135.66


                                                                                                   Total PO Amount                 135.66    I




               . Show the purchase order number on invoice and all tags, packages and
             correspondence.
             2. This purchase order incorporates by reference all terms, conditions, and
             specifications in the Contract.
             In case of a conflict in terms, the order of precedence shall be: First this P.O.
             and second the Contract.
             3. If this purchase order is awarded from a solicitation, it incorporates by
             reference all terms, conditions and specifications of the Sample Contract
             attached to the SWIFT Event.
             In case of a conflict in terms, the order of precedence shall be: First this P.O.
             and second the Sample Contract.
             4. All deliveries hereunder shall comply with all applicable State of Minnesota
             and Federal laws.
             5. Invoicing must match line items on the purchased order.
             6. DO NOT COLLECT SALES TAX on this order unless instructed to do so on
              this Purchase Order or the solicitation document. Effective July 1, 1995,
              Minnesota Stale agencies use a Direct Pay Authorization to pay the
              applicable sales and use tax directly to the Department of Revenue under
              Minnesota Tax ID 4405717. The Department of Revenue does not require
              State agencies to complete the ST3 Form with this order.
              7. Payment terms are Net 30 unless a discount is offered for early payment.




Issuer certifies that funds have been encumbered                                         Issued By:
and appropriate approvals have been obtained.                                            Kelly J Lepinski




                                                              - Appx410 -
                                           Case: 25-1812                        Document: 148                        Page: 414                 Filed: 07/20/2025

                               Case 1:25-cv-00077-GSK-TMR-JAR                                      Document 14-10                      Filed 05/07/25                  Page 25 of 30
                      701Brooks Ave South,                                                         www.digikey.com

 DiqiKey              PO Box 677
                      Thief River Falls, MN 56701-0677
                                                                                               Global Customer Support
                                                                                            1-800-344-4539 or 218-681-6674
                                                                                                                                                                                                     Invoice # 110428414
                      USA                                                                                                                                                              Completed Salesorder USD $

  0                                                                      0                                                                             Purchase Order:                     3000807136
       MN DOT & COMM                                                     I-  JOE SIKES
       3487 HADLEY AVE N                                                  0. SW RADIO COMM                                                             Salesorder / Packlist:              91215860 / PL1
                                                                         1E                                                                            Account:                            3311
       OAKDALE MN 55128                                                  In 2055 LILAC DR N
                                                                             SW RADIO                                                                  Customer:                           15858179
                                                                             MINNEAPOLIS MN 55422-4038                                                 Payment Terms:                      Net 30 Days
                                                                                                                                                       Shipping Method:                    XGT
                                                                                                                                                       Tracking :                          446162869785
       KELLY LEPINSKI                                                    E DIGI-KEY ELECTRONICS
       STATE OF MN/DEPARTMENT OF TRANSPORTATION                          LL701 BROOKS AVE. SOUTH
       STATEWIDE RADIO COMMUNICATIONS
       3487 HADLEY AVE N
                                                                           P.O. BOX 677
                                                                        in THIEF RIVER FALLS MN 56701-0677
                                                                                                                                                                    _ lot) 1 07
       OAKDALE MN 55128-3307


      Order Source:            Order Date:                Invoice Date:                   Ship Date:                 Document Date:
        INTERNET              24-Feb -2025                24 -Feb-2025                   24-Feb -2025               24-Feb-2025/AUTO

Line                                                                                                                                                                                                Unit Price    Amount
          Ordered     Cancelled     Shipped                                                                 Item Number/ Description
Item                                                                                                                                                                                                  USDS         USD S
 1           14           0           14          PART: A144221-ND                                                            DESC: CONN RCPT HSG MULTI-BEAM 2POS                                    6.29643        88.15
                                                  MFG : TE Connectivity AMP Connectors / 1600798-2
                                                  COO : CHINA                               ECCN: EAR99                                              HTSUS: 8538.90.6000
                                                  ROHS3 COMP REACH NOT AVAILABLE Jan-2021
                                                  Section 381 Tariff                                                                                                                                                 8.82

 2          30           0            30          PART: A108864CT-ND                                      DESC: CONTACT BLADE SCKT PWR 12-16AWG                                                     1.92800         57.84
                                                  MFG : TE Connectivity AMP Connectors (VA) / 1-1600961-8
                                                  COO : CHINA                               ECCN: EAR99                     HTSUS: 8536.90.4000
                                                  ROHS3 COMP REACH UNAFFECTED Jun-2023
                                                  Section 301 Tariff                                                                                                                                                 5.78

3           30           0            30         PART: A107484-ND                                                            DESC: SECONDARY LOCK PWR RECEP MBXL                                    0.25520          7.66
                                                 GUST: DUL-158780-3
                                                 MFG : TE Connectivity AMP Connectors / 1600903-1
                                                 COO : CHINA                               ECCN: EAR99                                               HTSUS: 8538.90.6000
                                                 ROHS COMP REACH NOT AVAILABLE Jan-2021
                                                 Section 301 Tariff                                                                                                                                                  0.77


                                                                                                                                                                                    Sales Amount                  153.65
                                                                                                                                                                                   Tariff Amount                   15.37
                                                                                                                                                                          Total Sales and Tariff                  169.02
                                                                                                                                                                          -4 Charges subtotal '-                  169.02
                                                                                                                                                           Total due - Pay from this invoice                      169.02
                                                                                                                                                                                                                   USD $
                                                                                                                                                                                     Tax   Exempt




                                           DUNS No: 05 760 2120 FEI No: XX-XXXXXXX Any applicable sales tax not collected on this invoice is the responsibility of the customer.

                                                                                                                                                                                                                 Page 1 of 2



                                                                                                 - Appx411 -
                                                 Case: 25-1812                              Document: 148                Page: 415             Filed: 07/20/2025

                                   Case 1:25-cv-00077-GSK-TMR-JAR                                          Document 14-10                 Filed 05/07/25                Page 26 of 30

                                                                                                           www.digikey.com                           Ship Method:               XGT           860/A949               IPack list #   1
                        701 Brooks Ave South,
                                                                                                                                                     Customer PO:                      3000807136                              I AUTO
            Key         PO Box 677
                        Thief River Falls, MN 56701-0677
                                                                                                      Global Customer Support
                                                                                                   1-800-344 4539 or 218-681-6674                         111111 lllllllll 111111111
                        USA

        KELLY LEPINSKI                                                                     JOE SIKES                                                Sales Order:                       91215860
        STATE OF MN/DEPARTMENT OF TRANSPORTATION
                                                                                       O
                                                                                           SW RADIO COMM                                            Invoice:                           110428414                                  El
   0                                                                                       2055 LILAC DR N
        STATEWIDE RADIO COMMUNICATIONS                                                                                                              Order Date:                        24 -Feb -2025
        3487    HADLEY AVE N                                                               SW RADIO
   0                                                                                                                                                Document Date:                     24 -Feb -2025
  CO    OAKDALE MN 55128-3307                                                              MINNEAPOLIS MN 55422-4038
                                                                                                                                                    Shippable Items:                   3
                                                                                                                                                                                                                            tir
                                                                                                                                                    THE ORDER IS COMPLETE




                 Line                                                                                       Rem Number I Description                                                                   Shipped           Backordered
 Ordered                   Location
                 Item                                                                                                                                                                                      --,.
                                                                                                                                                                                                                                  0
       14          1                   PART: A244221- ND                                                          DESC: CONN RCPT HSG MULTI-BEAM 2POS                           ECCN: EAR99              71 2/-
                                                                                                                                                                                                         ,-.
                                       MFGA: 1680798-2                                                            HTSUS: 8538 . 90 . 6000                                       CAGE: 00779                C V
                                             EIIIIIIIIIIIIIIIIIIIIIIIIIIIII
                                       MFG :     TE Connectivity AMP Connectors                                                                                                                        ft'           t
                                                           REACH NOT AVAILABLE Jan -2021                                                                                                               ea        -
                                       ROHS3 COMP                                                                                                                                                          -
                                       COO: CHINA                                            LOT QTY: 14            DATE CODE: Oct-2020    LOT CODE: 31495784/                                                  --

                                       QTY:El lifilfillill

                                       PART: A108864CT-ND                                                         DESC: CONTACT BLADE SCKT PWR 12-26AWG                         ECCN: EAR90                 31.1                  0
       30         2
                                                                                                                  HTSUS: 8536.90.4000                                           CAGE: 00779
                                       MFG-#: 1-1600961-8
                                                                                                                                                                                                       VC Ltd
                                           III IIIIIIIIffinillill IIIIIIIIIIIII III
                                       MFG : TE Connectivity AMP Connectors (vA)                                                                                                                       )I-' .V.7
                                       ROMS3 COMP             REACH UNAFFECTED Jun-2023
                                       COO: CHINA                                            LOT QTY: 30            DATE CODE: Nov -2023   LOT CODE: 23446M

                                       QTY:  Ill MI111111111
                                                                                                                  DESC: SECONDARY LOCK PWR RECEP m6XL                           ECCN: EAR99             /6                        La
       30         3                    PART: A107484-NO                                                                                                                                                 ',_,...,
                                       CUST: DUL-158780-3                                                         HTSUS: 853E.90.6000                                           CAGE: 00779
                                              IlI ll11111lEIIIIIIIIIIIIIIIIIIIIIIIIll El                                                                                                               c:c... ‘',.- .
                                       mFGrt: 1600903-1
                                           13111IIIIIIIIIIIIIIIIIIIIIIIII
                                       MEG : TE Connectivity AMP Connectors                                                                                                                            '1
                                                                                                                                                                                                       - t.i
                                                                                                                                                                                                           i LZ
                                                           REACH NOT AVAILABLE Jan -2021                                                                                                                1V-4.531:
                                       ROHS COMP
                                       COO: CHINA                                            LOT QTY: 30            DATE CODE: Jan-2024    LOT CODE: 200229088144

                                       QTY:ill 111 11111 Hill


            General - WEB ORDER ID: 354920785

                                                                                                                                       [he ultimate consignee or end-user(s) herein
   These items are controlled by [he U.S. Government and authorized for export only to the country of ultimate destination for use by
                                                                                                                         than the authorized ultimate consignee or end-user(s),
idcrltified. They may no: be resold, transferred, or otherwise disposed of, to any other country or to any person other
eitrter in their original  form or after being incorporated into other items, witnout first obtaining approval from the U.S. Government or as otherwise authorized by U.S. law and
regulations.                                                                 •—••
                                                                                           -7.0)


                  111111111111IIIIIIIIIIIIIIIIIIIIII
 11111111111111IIIIIIIIII
                        91215860.1.110428414                                                                                                                                                                              Page 1 of 2




                                                                                                           - Appx412 -
               Case: 25-1812                    Document: 148                      Page: 416               Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                                Document 14-10                      Filed 05/07/25            Page 27 of 30


M           MINNeSOTA Purchase
                                                      Order
                                                                                       11                                               iiiui
   Transportation Department                                                                                                  Dispatch Via Email
                                                               Purchase Order          Date                     Revision         Page
Statewide Radio CommunicationS-------                          T7901.3000807136        02/24/2025                                1 of 2
                                                               Payment Terms           Freight Terms            Ship Via         Event ID
                                                               Net 30                  FOB Destination,         GROUND
                                                                                       Prepd & Add
                                                               Buyer                   Phone                    Currency         Agency Reference
                                                               Lepinski,Kelly J        651/366-4407             USD              441263

Supplier:                             Ship To:                                    Attention:                       Bill To:
0000202529                            MNDOT SW RADIO COMM GV                      See Detail Below                 MNDOT SW RADIO COMM OAKDALE
DIGI KEY CORP                         GOLDEN VALLEY                                                                OAKDALE
521 1ST ST E                          2055 NORTH LILAC DR                                                          3487 HADLEY AVE N (4W)
THIEF RIVER FLS MN 56701-0677         ATTN DOOR 7                                                                  OAKDALE MN 55128-3307
United States                         GOLDEN VALLEY MN 55422-4038                                                  United States
                                      United States

Tax Exempt?                            Tax Exempt ID:                              Replenishment Option: Standard
Line - Sch  Item/Description                                  Manufacturer          Quantity UOM           PO Price            Extended Amt        Due Date
            Mfg Item ID                                       Name

1-1         DigiKey# A144221-ND                                                       14.0000    EA               6.29643               88.15      02/24/2025
            Manufacture# 1600798-2
            CONN RCPT HSG MULTI-BEAM 2POS

             441263 GV
                                                                                                        MISC                                8.82
                                                                                                         Attention: Joe Sikes
                                                                                                 Schedule Total                         96.97

                                                                                                 Item Total                             96.97


2-1          DigiKey # A108864CT-ND - Cut Tape (CT)                                    30.0000   EA               1.92800               57.84      02/24/2025
             Manufacture # 1-1600961-8
             CONTACT BLADE SCKT PWR 12-16AWG

             441263 GV
                                                                                                        MISC                                5.79
                                                                                                         Attention: Not Specified
                                                                                                 Schedule Total                         63.63

                                                                                                 Item Total                             63.63


3-1          DigiKey # A107484-ND                                                      30.0000   EA               0.25520                   7.66   02/24/2025
             Manufacturer # 1600903-1
             SECONDARY LOCK PWR RECEP MBXL

             441263 GV
                                                                                                            MISC                            0.76
                                                                                                             Attention: Not Specified
                                                                                                     Schedule Total                         8.42

                                                                                                 Item Total                                 8.42


                                                                                                     Total PO Amount            N. 169.02
             1. Show the purchase order number on invoice and all tags, packages and
             correspondence.
             2. This purchase order incorporates by reference all terms, conditions, and
             specifications in the Contract.
             In case of a conflict in terms, the order of precedence shall be: First this P.O.
             and second the Contract.
             3. If this purchase order is awarded from a solicitation, it incorporates by
             reference all terms, conditions and specifications of the Sample Contract
             attached to the SWIFT Event.
             In case of a conflict in terms, the order of precedence shall be: First this P.O.
             and second the Sample Contract.

 Issuer certifies that funds have been encumbered                                        Issued By:
 and appropriate approvals have been obtained.                                           Kelly J Lepinski




                                                               - Appx413 -
                         Case: 25-1812      Document: 148           Page: 417      Filed: 07/20/2025

              Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-10          Filed 05/07/25   Page 28 of 30




                                                                                              Quotation
Customer                                               Information
MNDOT SW RADIO COMM OAK                                Quote Number            2124562
3487 HADLEY AVENUE N (4W)
                                                       Quote Date              04/18/2025
SAINT PAUL MN 55128
USA                                                    Customer No.            131417
                                                       Currency                USD
                                                       Validity Start Date     04/18/2025
Ship-To-Party                                          Validity End Date       05/18/2025
MNDOT SW Radio                                         Sales Rep               JASON DARDA
Jon Thompson                                           Customer Name
2505 Transportation Rd
WILLMAR MN 56201
                                                       Customer Email
USA                                                    Customer Phone


 Header Information
 Terms of payment:  Net due in 30 days
** PAYMENT TERMS ARE SUBJECT TO CHANGE PENDING CREDIT APPROVAL **
 Incoterms:         FOB PPD Destination

Kelly Lepinski
Mn/Dot Statewide Radio
651 366 4407
kelly.lepinski@state.mn.us

EQUIPMENT LEAD TIME IS 5-10 BUSINESS DAYS
QUOTE INCLUDEs FREIGHT
APPLICABLE TAXES ARE BASED ON THE ACTUAL SHIP TO ADDRES

Item        Material Number / Cat. Num / Description                Quantity     Unit Price              Amount
10          F1403411/ ASSY RC 101 NETWORK ALL                        16 EA            33.90               542.40
            FLASHHEAD

20          F1403412/ ASSY RC 102 NETWORK FH 306 307 308              16 EA          33.90                542.40

30          F8288200/ ASSY COUPLING AND TRIGGER                       10 EA         143.51               1,435.10
            TRANSFORMERS

40          FT0-FLSH-310/ Flash Tube PC310 Replaces OEM                5 EA         348.50               1,742.50

50          FT0-FLSH-312/ Flash Tube PC312 Replaces OEM                5 EA         348.50               1,742.50

60          F1884301/ ASSY TUBE SOCKET & INSERT FH 324                12 EA          25.62                307.44

 Item 70 on next page




     SPX Aids to Navigation
     332 Nichol Mill Lane
     Franklin, TN 37067 USA
     Phone: 615-503-2000
     Fax:615-261-2600                                                                              Page 1 of 2
     TAX ID: XX-XXXXXXX

                                                       - Appx414 -
                        Case: 25-1812                Document: 148               Page: 418            Filed: 07/20/2025

           Case 1:25-cv-00077-GSK-TMR-JAR                           Document 14-10               Filed 05/07/25            Page 29 of 30




                                                                                                                     Quotation
Quote Number 2124562                   Quote Date 04/18/2025                   Customer No. 131417

Item     Material Number / Cat. Num / Description                                Quantity         Unit Price                         Amount
70       91000260/ OBS-Tariffs                                                     1 EA

                                                                                                 Tariffs291.70/ 1 EA                   291.70



                                                                                                               Tariffs                 291.70
                                                                                                              Freight                   30.00
                                                                                                      Net Before Tax                 6,634.04
                                                                                                           Total Tax
                                                                                                      Final amount:                  6,634.04


ACCEPTANCE:
By execution below, or by sending a Purchase Order referencing this proposal, the undersigned accepts this proposal to furnish equipment and/or
services on this schedule subject to the
SPX Aids to Navigation ("SPX AtoN") Terms and Conditions of Sale (the "SPX AtoN Terms"), which are incorporated by reference herein and shall
solely and exclusively govern this transaction, and authorizes SPX AtoN to proceed with the procurement and fabrication of this equipment. Our
acceptance and performance of any order is expressly conditioned upon your acceptance of the SPX AtoN Terms and your agreement to be bound by
and comply with them. Any conflicting or additional terms or conditions set forth in a Purchase Order or other document from you are expressly
rejected and not binding upon SPX AtoN.


Signature __________________________________________________ Date __________________________


Requested Ship Date: _______________________




   SPX Aids to Navigation
   332 Nichol Mill Lane
   Franklin, TN 37067 USA
   Phone: 615-503-2000
   Fax:615-261-2600                                                                                                          Page 2 of 2
   TAX ID: XX-XXXXXXX

                                                                  - Appx415 -
               Case: 25-1812          Document: 148            Page: 419          Filed: 07/20/2025

 Case 1:25-cv-00077-GSK-TMR-JAR                    Document 14-10            Filed 05/07/25        Page 30 of 30

Rob Gorman
VP, GM
SPX Aids to Navigation


m: +1.913.406.6452
e: rob.gorman@spx.com




April 11, 2025

Dear Valued Customer,

I’m reaching out to share an important update regarding our pricing policy considering ongoing and newly
implemented government trade actions. Recent tariffs taking effect in Q1 2025—primarily impacting materials
imported from Canada, Mexico, China, and other countries—have introduced significant cost pressures across the
global supply chain.

While SPX has absorbed some of these cost increases, the scale and scope of these trade measures now require us
to implement corresponding pricing adjustments. In the near term, this includes a line-item surcharge on all
invoices for products and sub-assemblies containing affected components. These adjustments will be applied as of
the effective date of the applicable government orders.

Going forward, this policy will also apply to any future tariffs or trade remedies imposed by the U.S. or foreign
jurisdictions. Our intent is to communicate with any changes as quickly and transparently as possible. Where
feasible, we will provide tariff classifications and support documentation.

We understand the challenges these developments pose and deeply appreciate your support and partnership.
Please feel free to contact your sales representative or reach out to me directly with any questions.

Thank you again for your continued trust in SPX Aids to Navigation. We remain committed to working closely with
you as we adapt to the evolving global trade environment.

Sincerely




_________________________
Rob Gorman
VP, GM
SPX AtoN




                                                  - Appx416 -
                   Case: 25-1812         Document: 148      Page: 420       Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-11         Filed 05/07/25          Page 1 of 7



                     IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


     THE STATE OF OREGON, THE STATE OF                     Case No. 1:25-cv-00077-GSK-TMR-JAR
     ARIZONA, THE STATE OF COLORADO,
     THE STATE OF CONNECTICUT, THE
     STATE OF DELAWARE, THE STATE OF
     ILLINOIS, THE STATE OF MAINE, THE                     DECLARATION OF GREGORY SHABRAM
     STATE OF MINNESOTA, THE STATE OF
     NEVADA, THE STATE OF NEW MEXICO,                      (In support of Plaintiffs’ Motion for
     THE STATE OF NEW YORK, and THE                        Preliminary Injunction)
     STATE OF VERMONT,


                       Plaintiffs,

              v.

     DONALD J. TRUMP, in his capacity as
     President of the United States;
     DEPARTMENT OF HOMELAND
     SECURITY; KRISTI NOEM, in her official
     capacity as Secretary of the Department of
     Homeland Security; UNITED STATES
     CUSTOMS AND BORDER PROTECTION;
     PETER R. FLORES, in his official capacity as
     Acting Commissioner for U.S. Customs and
     Border Protection; and THE UNITED
     STATES,
                       Defendants.



     I, Gregory Shabram, declare as follows

              1.       I am over the age of 18, competent to testify as to the matters herein, and testify

     based on personal knowledge, records kept in the ordinary course of business at the University of

     Oregon, and information I learned from university personnel whose work I rely upon and who

     have assisted me in gathering this information from our institution.

              2.       I am the Chief Procurement Officer at the University of Oregon. As the Chief

     Procurement Officer, I oversee all transactions for non-construction related goods and services

     purchased by the University.


Page 1 -   DECLARATION OF GREGORY SHABRAM
           BM2/rn1/G. Shabram Declaration FINAL
                                                  - Appx417 -
                   Case: 25-1812         Document: 148     Page: 421       Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-11        Filed 05/07/25       Page 2 of 7




              3.       In this role I manage a team authorized by University of Oregon Policy to sign

     contracts and issue purchase orders for goods and services, including goods and equipment

     manufactured overseas and then delivered directly to the University.

     A.       Tariff impacts to specially ordered scientific equipment
              4.       In the regular course of its operations, the University of Oregon routinely

     purchases many goods that originate from sources outside the United States. One category of

     those goods is specially ordered scientific equipment. The following is an example of purchased

     equipment that has been impacted by tariffs.

              5.       First, the University of Oregon’s Center of Optics purchased a cryogenic single

     photon counting detector system from ID Quantique, Inc., a company based in Switzerland. The

     University issued the purchase order on November 8, 2024, at which time there was no tariff

     against imports from Switzerland.

              6.       IDQ shipped the cryogenic system from Switzerland on April 8, and the

     cryogenic system arrived on April 10. At arrival, the tariff rate for imports from Switzerland was

     10 percent.

              7.       For import purposes, the value of the cryogenic system was $185,798. As the

     importer of record, the University was assessed an import duty of $18,579, which was paid on its

     behalf by its customs broker to allow release and delivery of the cryogenic system.

              8.       Attached as Exhibit A is a true copy of the entry summary provided by the U.S.

     Customs and Border Protection to the University’s customs broker for the cryogenic system.

              9.       That is only one example of tariffs that the University expects to pay under the

     tariff orders issued by the President. Attached as Exhibit B is a spreadsheet of large purchases

     currently in process that will likely be subject to those new tariffs, should they remain in place.

     For each of those purchases, the tariffs are an unexpected additional cost that the University

     could not reasonably expect when it initially budgeted for those items.



Page 2 -   DECLARATION OF GREGORY SHABRAM
           BM2/rn1/G. Shabram Declaration FINAL
                                                  - Appx418 -
                 Case: 25-1812           Document: 148      Page: 422      Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-11         Filed 05/07/25       Page 3 of 7




              10.      As indicated in that spreadsheet, many of the goods involved in those purchases

     have not yet arrived at a port of entry. It is likely, either because the University of Oregon is the

     importer of record, or because vendor will pass on costs to the University of Oregon, that the

     University of Oregon will be required to pay the new tariff costs to have U.S. Customs and

     Border Protection release those goods.

              11.      The purchases described in Exhibit B are only a selection of the purchases that

     will be impacted by tariffs. The university is still assessing the impact of tariffs and expects to

     identify additional similar purchases in the coming months.

              12.      For some of those purchases, the substantial increase in costs due to tariffs will

     require departments to identify additional funds to ensure delivery of the purchased items.

              13.      For example, the University’s Materials Science Institute is purchasing a

     transmission electron microscope from Corrected Electron Optical Systems GmbH, a German

     manufacturer. The purchase price of the equipment is about $1 million. At the current 10 percent

     tariff levied against goods from Germany, the import duty will be about $100,000. The Materials

     Science Institute is still attempting to identify funding to cover those additional tariff costs.


     B.       The President’s constantly shifting tariff policy impairs the University of Oregon’s
              ability to accurately budget for critical research equipment and other goods for
              Fiscal Year 2026.
              14.      To ensure responsible financial planning, each department at the University of

     Oregon sets a budget every fiscal year. These budgets are used, not only to ensure fiscal

     responsibility, but also to apply for grants from both public and private sources to fund this

     critical research equipment.

              15.      The University is currently setting the budget for Fiscal Year 2026 and University

     researchers are regularly applying for grants based on that budget.

              16.      The President’s repeated imposition, modification, suspension, and threatening of

     various tariffs has created substantial uncertainty regarding the expected cost of a wide range of


Page 3 -   DECLARATION OF GREGORY SHABRAM
           BM2/rn1/G. Shabram Declaration FINAL
                                                  - Appx419 -
                 Case: 25-1812           Document: 148    Page: 423       Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR                 Document 14-11        Filed 05/07/25              Page 4 of 7




     goods and services making it much harder allocate resources and make investments in the

     University’s research equipment and represent budgets accurately when applying for grants.

              17.      For example, the University of Oregon’s Robert and Beverly Lewis Center for

     Neuroimaging is a core service that operates two MRI machines used by many University

     researchers conduct research in humans. These MRI machines are made by Siemens in Germany.

     One of these MRI machines is reaching its end of life. The Lewis Center makes long-term

     investments in these machines, expecting them to support research over more than a decade. The

     lead time for a new MRI machine is at least three to six months. Given the variability and

     uncertainly in the President’s tariff policies, the Lewis Center is unable to budget for this

     purchase and may need to operate a reduced capacity if the end-of-life MRI machine is

     decommissioned. Such a reduction in capacity would slow University researchers’ ability to

     conduct their research and meet the requirements of their grant contracts.

              18.      The President’s use of emergency powers to repeatedly impose and change tariffs

     thus makes it difficult for the university to accurately plan its budgets for research equipment for

     the upcoming fiscal year. To account of the uncertainty of future tariff costs, the university and

     its departments will need to increase the amount of funding set aside for tariff contingencies. As

     a result, the university will necessarily need to reduce investments in some research equipment,

     reducing the capabilities and productivity of our researchers.

              I declare under penalty of perjury under the laws of the United States that, to the

     best of my knowledge, the foregoing is true and correct.

              Executed on May 5, 2025, at Eugene, Oregon


                                                                            Digitally signed by Greg Shabram
                                                                            Date: 2025.05.05 13:04:52 -07'00'
                                                     _____________________________________
                                                           Gregory Shabram
                                                           Chief Procurement Officer
                                                           University of Oregon


Page 4 -   DECLARATION OF GREGORY SHABRAM
           BM2/rn1/G. Shabram Declaration FINAL
                                                  - Appx420 -
                       Case: 25-1812                   Document: 148                   Page: 424               Filed: 07/20/2025

        Case 1:25-cv-00077-GSK-TMR-JAR                                   Document 14-11                  Filed 05/07/25                Page 5 of 7
                                                      DEPARTMENT OF HOMELAND SECURITY
               ACE Version: 001.00                                                                                           OMB APPROVAL NO. 1651-0022
                                                      U.S. Customs and Border Protection                                      EXPIRATION DATE 03/31/2025
               HBS                                           ENTRY SUMMARY

1. Filer Code/Entry No.           2. Entry Type              3. Summary Date         4. Surety No. 5. Bond Type 6. Port Code             7. Entry Date
9PS        1163908-9              01 ABI/A                   04/10/2025 054                             8             2910                04/10/2025
8. Importing Carrier                              9. Mode of Transport               10. Country of Origin                               11. Import Date
LH                                                          40                       CH                                                   04/10/2025
12. B/L or AWB No.                                13. Manufacturer ID                14. Exporting Country                               15. Export Date
02035564605                                       CHIDQSA3CAR                        CH                                                   04/08/2025
16. I.T. No.                      17. I.T. Date              18. Missing Docs        19. Foreign Port of Lading               20. U.S. Port of Unlading
02035564605                       04/10/2025                                                                                  3029
21. Location of Goods/G.O. No.         22. Consignee No.                             23. Importer No.                         24. Reference No.
WBU8 FLT: 490                           SAME                                         46-472780000
25. Ultimate Consignee Name and Address                                              26. Importer of Record Name and Address
                                                                                     UNIVERSITY OF OREGON
                                                                                     1505 FRANKLIN BLVD


City                                       State    OR         Zip                   City EUGENE                               State OR        Zip 97403
                                                                                            32.                        33.                        34.
  27.                     28. Description of Merchandise                                                     A. HTSUS Rate             Duty and I.R. Tax
                   29.                    30.               31.                      A. Entered Value        B. AD/CVD Rate            Dollars          Cents
  Line     A. HTSUS No.          A. Gross Weight     Net Quantity in                 B. CHGS                 C. IRC Rate
  No.      B. AD/CVD Case No.    B. Manifest Qty.     HTSUS Units                    C. Relationship         D. Visa No.
           M 02035564605               H 4001150333                                                                  2 CTN
                                                                                     NOT RELATED
           INVOICE 00001
001        OTHR N/EL INST:USING OPT R
           9903.01.25
           9027.50.8060        179                                         17NO              175798 10%                                      17579.80
                                                                                               C426
           MERCHANDISE PROCESSING FEE                                                               0.3464%                                        608.96

                                                                                       -------                                            ----------
                                                                                        175798 CARRIED FORWARD                              18188.76




Other Fee Summary for Block 39
MPF                499      634.62
                                   35. Total Entered Value                            CBP USE ONLY                                      TOTALS
                                                             185,798.00              A. LIQ CODE             B. Ascertained Duty       37. Duty
                                          $
                                          Total Other Fees
                                                                                                                                              18579.80
                                                                                      REASON CODE            C. Ascertained Tax        38. Tax
                                          $                             634.62
36. DECLARATION OF IMPORTER OF RECORD (OWNER                                                                 D. Ascertained Other      39. Other
OR PURCHASER) OR AUTHORIZED AGENT                                                                                                                  634.62
I declare that I am the    importer of record and that the actual owner,                                     E. Ascertained Total      40. Total
purchaser, or consignee for CBP purposes is as shown above, OR X             owner                                                            19214.42
or purchaser or agent thereof. I further declare that the merchandise    X    was obtained pursuant to a purchase or agreement to purchase and that the
prices set forth in the invoices are true, OR       was not obtained pursuant to a purchase or agreement to purchase and the statements in the invoices as
to value or price are true to the best of my knowledge and belief. I also declare that the statements in the documents herein filed fully disclose to the be
of my knowledge and belief the true prices, values, quantities, rebates, drawbacks, fees, commissions, and royalties and are true and correct, and that all
goods or services provided to the seller of the merchandise either free or at reduced cost are fully disclosed.
I will immediately furnish to the appropriate CBP officer any information showing a different statement of facts.
41. DECLARANT NAME                                       TITLE                                SIGNATURE                                   DATE
Clearpoint International                                 A.I.F.                                                                            04/10/2025
42. Broker/Filer Information (Name, address, phone number)                           43. Broker/Importer File No.
Clearpoint International                                                             1163908
1111 Corporate Center Drive
# 103                                                                                                                          CBP Form 7501 (5/22)
Monterey Park, CA 91754 310-488-8458
EDITRADE                                                                      RECORD
                                                                        - Appx421 -
                           Case: 25-1812                  Document: 148           Page: 425          Filed: 07/20/2025

         Case 1:25-cv-00077-GSK-TMR-JAR                                Document 14-11              Filed 05/07/25          Page 6 of 7
                                                                                                                                Page:          2
                                                                                                                   OMB APPROVAL NO. 1651-0022
                                                     DEPARTMENT OF HOMELAND SECURITY                                EXPIRATION DATE 03/31/2025
                                                     U.S. Customs and Border Protection
                                                          ENTRY SUMMARY CONTINUATION SHEET
1. Filer Code/Entry No.
9PS       1163908-9
  27.                           28. Description of Merchandise                         32.                  33.                     34.
                                                                                                   A. HTSUS Rate
                          29.                  30.                   31.                                                   Duty and I.R. Tax
                                                                                A. Entered Value   B. AD/CVD Rate         Dollars          Cents
  Line    A. HTSUS No.                 A. Gross weight      Net Quantity in     B. CHGS            C. IRC Rate
  No.     B. AD/CVD Case No.           B. Manifest Qty.     HTSUS Units         C. Relationship    D. Visa No.
                             BROUGHT FORWARD                                        175798                                      18188.76
002       AIR COMPRESRS,TURBO/SPR CHARGE
          9903.01.25
          8414.80.0500         10          1NO                                           10000 10%                                1000.00
                                                                                           C24
          MERCHANDISE PROCESSING FEE                                                           0.3464%                               34.64

          TOTAL EV INV. 00001                              185798.00
                                                                 TEV$                  185798                                   19223.40




   EDITRADE                                                                   RECORD                                    CBP Form 7501 (5/22)
                                                                     - Appx422 -
                                                                      Case: 25-1812                        Document: 148                         Page: 426                    Filed: 07/20/2025




                                                 Case 1:25-cv-00077-GSK-TMR-JAR                                                Document 14-11                                Filed 05/07/25                  Page 7 of 7


                                                                                                                                                                                 Ad                            Estimated
 Contract/                                                                                                                                                                    Varlorem On Pause                Anticipated
  PO Date    Contractor                  PCS Number         Value/Budget    Description                         Department                           Originating Country       Rates     Rate   HTS Code       Additional   Exception Date of Entry Notes
                                                                                                                                                                                                                                                    Dept has not yet identifed
          Corrected Electron Optical                                        Transmission Electron Microscope                                                                                                                                        funding for all of additional
4/19/2024 Systems GmbH                   600000-05818         $1,044,095.00 Energy Filtering and Imaging Device Research - Materials Science Institute Germany                  20%      10%    9012.90.00      $104,409.50 No        N/A           tariff costs.

             Andor Technology / Oxford
4/14/2025 Instruments America Inc        600000-06465-PO         $20,718.00 ZL41 5.5 CaneraLink                 Research - Materials Science Institute Northern Ireland/UK      20%      10%    8525.80.40        $2,071.80 No          N/A
                                                                                                                                                                                                                                                      Awarded, but PO has not been
   N/A       N/A                         110400-01742-PO       $357,510.00 Reactive Ion Etcher                  Knight Campus                        Japan                      24%      10%    8486.20.00       $35,751.00 Maybe       N/A           issued.
                                                                           Superconducting Nanowire Single      Research - Center for Optical
11/21/2024 ID Quantique Inc.             600000-06214-PO       $182,733.00 Photon Detector System               Molecular & Quantum Science          Switzerland                31%      10%    9027.50.8060     $18,273.30               4/10/2025 Paid to clear customs 4/14/2025
                                                                                                                                                                                                                                                    Awarded but PO has not been
   N/A       N/A                         600000-06340-RFP      $473,700.00 Sputtering System                    Research - Materials Science Institute Canada                            10%                     $47,370.00 Unclear     N/A         isued.
   N/A       N/A                         110400-01721-RFQ       $73,860.00 Stylus Profilometer                  Knight Campus                                                            10%                      $7,386.00             N/A
   N/A       N/A                         110400-01724-RFP      $375,000.00 Direct Write Lithography Tools       Knight Campus                                                            10%                     $37,500.00             N/A
   N/A       N/A                         110400-01727-RFP      $400,000.00 Manual Mask Aligner                  Knight Campus                                                            10%                     $40,000.00             N/A
   N/A       N/A                         110400-01735-RFQ      $200,000.00 Semiconductor Parameter Analyzer     Knight Campus                                                            10%                     $20,000.00             N/A
                                                                                                                                                                                                                                                    Tariff rates to be at actuals
                                                                                                                                                                                                                                                    when delivered and only for the
                                                                                                                                                                                                                                                    components that have those
4/15/2025 Datrose, Inc.                                        $315,000.00 Automated Package Locker System
                                         470000-00928-O (Amend 2)                                               UO Housing                           China                     145%     145%    Varies          $456,750.00 No          N/A         charges.
                                                                                                                                                                                                                $769,511.60




                                                                                                                             - Appx423 -
              Case: 25-1812         Document: 148         Page: 427       Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR             Document 14-12         Filed 05/07/25      Page 1 of 3




                    IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


      THE STATE OF OREGON, THE STATE OF                Case No. 1:25-cv-00077
      ARIZONA, THE STATE OF COLORADO,
      THE STATE OF CONNECTICUT, THE                    DECLARATION OF TODD STROLE
      STATE OF DELAWARE, THE STATE OF
      ILLINOIS, THE STATE OF MAINE, THE
      STATE OF MINNESOTA, THE STATE OF
      NEVADA, THE STATE OF NEW MEXICO,
      THE STATE OF NEW YORK, AND
                              '    THE
      STATE OF VERMONT,


                     Plaintiffs,

             v.

      DONALD J. TRUMP, in his capacity as
      President of the United States;
      DEPARTMENT OF HOMELAND
      SECURITY; KRISTI NOEM, in her official
      capacity as Secretary of the Department of
      Homeland Security; UNITED STATES
      CUSTOMS AND BORDER PROTECTION
      PETER R. FLORES, in his official capacity as
      Acting Commissioner for U.S. Customs and
      Border Protection; and THE UNITED
      STATES,

                     Defendants.



      I, Todd Stole, declare as follows:

             1.     I am over the age of 18, competent to testify as to the matters herein, and testify

     based on personal knowledge, records kept in the ordinary course of business at the Illinois

     Department of Natural Resources ("IDNR"), and information I learned from IDNR personnel

     whose work I rely upon and who have assisted me in gathering this information from our

     institution.

             2.     I am the Assistant Director of IDNR. IDNR' s mission is to manage, conserve

     and protect Illinois' natural, recreational, and cultural resources, further the public's

     understanding and appreciation of those resources, and promote the education, science, and


Page 1 -   DECLARATION OF TODD STROLE




                                              - Appx424 -
             Case: 25-1812           Document: 148           Page: 428      Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-12        Filed 05/07/25       Page 2 of 3




      public safety of Illinois' natural resources for present and future generations. In my role, I

      provide executive level oversight for the Department as part of a leadership team.              My

      responsibilities include leadership and/or coordination with all aspects of the agency such as

     budget, human resources, legal, legislation, law enforcement, site management and natural

     resource management.

     A.      IDNR Annual Purchases
             3.      In the regular course of its operations, IDNR makes annual purchases of a variety

     of goods that originate from sources outside the United States or which have component parts that

     originate from such sources.

             4.     This year, IDNR will have to purchase drones, utility terrain vehicles (UTVs),

     Tractors, Lift Station parts, electronic parts (for HVAC, elevator, and other facility repairs), golf

     carts, cameras for multiple purposes, boats, automated external defibrillators (AEDs), radios and

     radar for law enforcement, excavators, multifunction printers, GPS units, parts for fire alarms, EV

     charging stations, and uniforms for staff and IDNR law enforcement. All of these products are

     imported or have component parts imported to the United States and are subject to the new tariffs.

             5.     In addition, a significant part of IDNR's responsibilities is managing nearly

     500,000 acres of land in Illinois which includes State Parks, State Fish and Wildlife Areas, State

     Recreational Areas, State Forests, and State Historic Sites. To carry out its land management tasks,

     IDNR purchases, and will have to purchase this year, numerous pieces of equipment containing

     small engines. This year, for example, IDNR will purchase mowers, chain saws, weed-eaters, leaf

     blowers, and pumps for fire protection and for spraying pesticides. Small engines and other

     component parts for equipment of this type are almost entirely manufactured overseas. This means

     that even when IDNR purchases this equipment domestically, the engines or other parts originate

     outside the United States and are subject to tariffs.

            6.      The President's tariffs accordingly impose a financial harm on IDNR by increasing

     the cost of procurement.


Page 2 -   DECLARATION OF TODD STROLE




                                                - Appx425 -
             Case: 25-1812         Document: 148        Page: 429        Filed: 07/20/2025

     Case 1:25-cv-00077-GSK-TMR-JAR            Document 14-12          Filed 05/07/25   Page 3 of 3




             I declare under penalty of perjury under the laws of the United States that, to the

      best of my knowledge, the foregoing is true and correct.

             Executed on May 2, 2025, at Springfield, Illinois



                                                        Todd Strol '




Page 3 -   DECLARATION OF TODD STROLE




                                             - Appx426 -
          Case: 25-1812            Document: 148          Page: 430       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-13          Filed 05/07/25       Page 1 of 4




                                 IN THE UNITED STATES COURT
                                   OF INTERNATIONAL TRADE




   STATE OF OREGON; et al.,
                   Plaintiffs,

           v.                                               Case No. 1:25-cv-00077-GSK-TMR-
                                                            JAR
   DONALD TRUMP, in his official capacity as
   President of the United States; et al.,
                   Defendants.




                             DECLARATION OF KRISTINE WARD

         Pursuant to 28 U.S.C. § 1746, I, Kristine Ward, declare as follows:

         1.      I am a resident of the State of Arizona. I am over the age of 18 and have

  personal knowledge of all the facts stated herein, except to those matters stated upon

  information and belief; as to those matters, I believe them to be true. If called as a witness, I

  could and would testify competently to the matters set forth below.

         2.      I am currently employed by the Arizona Department of Transportation (ADOT)

  as Deputy Director/Chief Financial Officer. ADOT provides highway infrastructure and

  transportation services for Arizona with the aim of safely connecting people and empowering

  Arizona’s economy. Particularly, ADOT is responsible for planning, designing, constructing,

  maintaining, and operating the state’s highway transportation system, and procures numerous

  goods and services to meet this responsibility. In addition, ADOT provides driver’s license and




                                                      1
                                            - Appx427 -
          Case: 25-1812          Document: 148           Page: 431      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-13         Filed 05/07/25      Page 2 of 4




  registrations services, is responsible for commercial vehicle enforcement and registration

  compliance, operates the Grand Canyon National Park Airport, and maintains the state fleet.

         3.      As ADOT’s Chief Financial Officer, I oversee financial management services,

  budget and research, procurement and ADOT’s information technology group. I oversee the

  financial administration of a significant portion of Arizona’s transportation budget. This

  includes directing the financial management of Arizona’s Five-Year Facilities Construction

  Program, ADOT’s annual operating budget and the ADOT’s debt portfolio.

         4.      ADOT is currently working to advance its 2025-2029 Strategic Plan. This

  strategic plan focuses on making significant enhancements in safety, mobility and connectivity

  in Arizona’s transportation system, including implementing the State Transportation Board’s

  $8.1 billion Five-Year Transportation Facilities Program.

         5.      If not reversed, the series of Executive Orders imposing tariffs that President

  Trump has issued will cause significant harm to ADOT’s ability to serve the State of Arizona.

  At a minimum, the tariffs will increase costs, and likely have a chilling effect on Arizona’s

  economy and the revenues supporting its transportation infrastructure.

         6.      Indeed, Arizona is already experiencing increasing costs as a result of the

  tariffs. As of April 21, 2025, ADOT has already received requests for price increases to pass

  on costs stemming from the tariffs to the State. One contractor has requested the maximum

  contractual increase available to it “due to the 20% increase in duty costs as stated in Executive

  Order 14228 of March 3, 2025.” President Trump proclaimed Executive Order 14228 as

  “Further Amendment to Duties Addressing the Synthetic Opioid Supply Chain in the People’s

  Republic of China.”




                                                     2
                                           - Appx428 -
          Case: 25-1812           Document: 148             Page: 432      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                Document 14-13          Filed 05/07/25        Page 3 of 4




          7.      Other vendors have informed ADOT that they anticipate increasing costs that

  will affect prices they charge the State. But, the extent of the impact of the tariffs is still to be

  determined due to the unpredictability of the President issuing tariffs and then pausing some of

  them for a certain period of time. However, even in preliminary conversations, contractors

  have indicated that ADOT should expect high increases in price. For example, an irrigation

  system supplier anticipates a 17% increase in prices for their materials coming from Israel.

          8.      Based on conversations with vehicle and heavy equipment suppliers, ADOT

  estimates that over 160 currently established operating and maintenance contracts could be

  impacted by the tariffs.

          9.      ADOT’s budget for its operations, maintenance and capital program, are

  predicated on revenue forecasts. ADOT has a very robust forecasting methodology that

  has proven quite accurate over the years. The number of bridges repaired, the number of

  highway miles maintained, the number of safety improvements completed are bound by the

  amount of revenue available. The forecasts and subsequent revenues dictate the degree to

  which Arizona’s transportation system will advance or decline.

          10.     The implementation of tariffs has introduced considerable uncertainty into

  ADOT’s operations and financial forecasting. Inherent in any forecasting process, is a review

  of historical revenues and economic events. It has been nearly 100 years since the last time

  wide-spread tariffs were imposed. With no recent historical precedents to draw from, a highly

  interconnected global economy, and the reactions of impacted countries, U.S. industry, and

  consumers in question, accurately forecasting the revenue available for Arizona’s

  transportation infrastructure is nearly impossible.




                                                        3
                                             - Appx429 -
          Case: 25-1812           Document: 148           Page: 433      Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR              Document 14-13          Filed 05/07/25                Page 4 of 4




         11.     Arizona’s highway maintenance program utilizes a wide range of materials that

  are impacted by tariffs. Although ADOT is working with existing contractors and vendors to

  assess the tariff impacts, what remains to be seen are the impacts to future solicitations and

  pricing as the tariffs become realized throughout the global economy.

         12.     As a result of the tariffs, ADOT must now grapple with the consequences of

  potentially not having adequate suppliers, and trying to figure out how to remediate impacts to

  overall bid pricing, and the ability of selected contractors to obtain essential materials and

  services to help ADOT complete its work, including to maintain and enhance Arizona’s

  highway system.

         I declare under penalty of perjury under the laws of the United States that, to the best of

  my knowledge, the foregoing is true and correct.

         Executed on May 6, 2025, at Phoenix, Arizona.

                                                  Kristine Ward          Digitally signed by Kristine Ward
                                                                         Date: 2025.05.06 15:04:34 -07'00'
                                                 _____________________________________
                                                       Kristine Ward, ADOT
                                                       Deputy Director/Chief Financial Officer




                                                      4
                                            - Appx430 -
                   Case: 25-1812       Document: 148        Page: 434      Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-14         Filed 05/07/25          Page 1 of 3




                     IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


     THE STATE OF OREGON, THE STATE OF                     Case No. 1:25-cv-00077-GSK-TMR-JAR
     ARIZONA, THE STATE OF COLORADO,
     THE STATE OF CONNECTICUT, THE                         DECLARATION OF JAKE ZELENKA
     STATE OF DELAWARE, THE STATE OF
     ILLINOIS, THE STATE OF MAINE, THE                     (In support of Plaintiffs’ Motion for
     STATE OF MINNESOTA, THE STATE OF                      Preliminary Injunction)
     NEVADA, THE STATE OF NEW MEXICO,
     THE STATE OF NEW YORK, and THE
     STATE OF VERMONT,

                       Plaintiffs,

              v.

     DONALD J. TRUMP, in his capacity as
     President of the United States;
     DEPARTMENT OF HOMELAND
     SECURITY; KRISTI NOEM, in her official
     capacity as Secretary of the Department of
     Homeland Security; UNITED STATES
     CUSTOMS AND BORDER PROTECTION;
     PETER R. FLORES, in his official capacity as
     Acting Commissioner for U.S. Customs and
     Border Protection; and THE UNITED
     STATES,

                       Defendants.



     I, Jake Zelenka, declare as follows:

              1.       I am over the age of 18, competent to testify as to the matters herein, and testify

     based on personal knowledge, records kept in the ordinary course of business at the Oregon

     Water Resources Department, and information I learned from OWRD personnel whose work I

     rely upon and who have assisted me in gathering this information from our institution.

              2.       I am the Fiscal Manager. As Fiscal Manager, I oversee the accounting, budgeting,

     and procurement activities of OWRD.

              3.       OWRD is the state agency tasked by law with managing the state’s water

     resources, administering the state’s water-rights programs, and enforcing the state’s water laws.

Page 1 -   DECLARATION OF JAKE ZELENKA
           BM2/rn1/OWRD Declaration FINAL
                                                - Appx431 -
                   Case: 25-1812      Document: 148         Page: 435      Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR                  Document 14-14         Filed 05/07/25       Page 2 of 3




     OWRD’s mission is to serve the public by practicing and promoting responsible water

     management.

              4.       To serve that purpose, OWRD employs and equips 23 watermasters across the

     state. Watermasters ensure the distribution of water in accordance with existing water rights,

     gather information and data to understand the state of water resources in their district, and

     investigate potential water-right violations and concerns.

              5.       It is essential that watermasters are properly equipped to carry out their duties. To

     that end, OWRD is currently purchasing stream measuring meters for watermasters. These

     meters are necessary for watermasters to accurately measure the amount of water in streams and

     rivers, as these supply water for diversion from streams.

              6.       The meters are required to replace existing and aging equipment or to provide to

     new staff. At this time, OWRD estimates that it will need to purchase two meters over the next

     few months.

              7.       Accurate measurement of water being diverted is required for the Department to

     evaluate whether regulation is required. Additionally, measurements of streamflow provide

     foundational data for quantifying water supplies.

              8.       The budget for purchasing meters was set based on pre-tariff price expectations.

     However, on April 7, 2025, the vendor for the equipment, which is supplied from Canada,

     indicated that it would need to increase prices by at least 7 percent due to the impacts of tariffs.

     An updated price agreement with the vendor was then signed on May 2, 2025. As a result, the

     cost of purchasing each meter will now be between $7,305 and $7,615 instead of the originally

     expected $6,070 to $6,545.

              9.       Even if the tariffs were declared unlawful, it would not be administratively

     feasible to recover the tariff surcharge from the vendor. OWRD is unable to force the vendor to

     challenge the tariff. And even if the vendor were to do so, OWRD would need to spend

     disproportionate resources to try to negotiate a reimbursement amount.

Page 2 -   DECLARATION OF JAKE ZELENKA
           BM2/rn1/OWRD Declaration FINAL
                                                - Appx432 -
               Case: 25-1812         Document: 148      Page: 436      Filed: 07/20/2025

    Case 1:25-cv-00077-GSK-TMR-JAR               Document 14-14         Filed 05/07/25      Page 3 of 3




              10.     For those reasons, the tariffs will cause irreparable financial harm to OWRD.

              I declare under penalty of perjury under the laws of the United States that, to the

     best of my knowledge, the foregoing is true and correct.

              Executed on May 7, 2025, at Salem, Oregon.

                                                                      Digitally signed by Jake
                                                                      Zelenka
                                                    Jake Zelenka      Date: 2025.05.07 10:44:30
                                                   _____________________________________
                                                                      -07'00'
                                                            Jake Zelenka




Page 3 -   DECLARATION OF JAKE ZELENKA
           BM2/rn1/OWRD Declaration FINAL
                                             - Appx433 -
            Case: 25-1812     Document: 148              Page: 437             Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR            Document 47-1                    Filed 05/20/25   Page 1 of 11



              IN THE UNITED STATES COURT OF INTERNATIONAL TRADE

THE STATE OF OREGON, THE STATE OF                   Case No. 1:25-cv-00077-GSK-TMR-JAR
ARIZONA, THE STATE OF COLORADO,
THE STATE OF CONNECTICUT, THE                       SECOND DECLARATION OF PROFESSOR
STATE OF DELAWARE, THE STATE OF                     JAMES R. HINES, JR.
ILLINOIS, THE STATE OF MAINE, THE
STATE OF MINNESOTA, THE STATE OF
NEVADA, THE STATE OF NEW MEXICO,
THE STATE OF NEW YORK, and THE
STATE OF VERMONT,
               Plaintiffs,

       v.
DONALD J. TRUMP, in his capacity as
President of the United States;
DEPARTMENT OF HOMELAND
SECURITY; KRISTI NOEM, in her official
capacity as Secretary of the Department of
Homeland Security; UNITED STATES
CUSTOMS AND BORDER PROTECTION;
PETER R. FLORES, in his official capacity as
Acting Commissioner for U.S. Customs and
Border Protection; and THE UNITED
STATES,

               Defendants.




                                            Department of Justice
                                           100 SW Market Street
                                             Portland, OR 97201
                                    (971) 673-1880 / Fax: (971) 673-5000

                                         - Appx434 -
            Case: 25-1812                    Document: 148                    Page: 438               Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR                                Document 47-1                   Filed 05/20/25                 Page 2 of 11



                                                   TABLE OF CONTENTS


I.       SCOPE. ............................................................................................................................... 1
II.      TRADE DEFICITS. ............................................................................................................ 1
III.     TARIFF PASS-THROUGH TO PRICES. ......................................................................... 4
IV.      IMPACT OF TARIFFS ON THE ECONOMY.................................................................. 6




Page i
                                                               Department of Justice
                                                              100 SW Market Street
                                                                Portland, OR 97201
                                                       (971) 673-1880 / Fax: (971) 673-5000

                                                            - Appx435 -
           Case: 25-1812           Document: 148              Page: 439              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                 Document 47-1                    Filed 05/20/25   Page 3 of 11




    I.     Scope.

           1.      I have reviewed Defendants’ response in opposition to Plaintiffs’ motion for
    preliminary injunction and summary judgment. Counsel invited me to comment on three issues
    raised in the response: the history of trade deficits; pass-through of tariffs to prices; and two
    studies cited in the response regarding the economic impact of tariffs.


    II.    Trade Deficits.

           2.      Page 35 of Defendants’ response concedes that “Trade deficits are not new,” but
    immediately thereafter adds “…but the United States’s trade deficit has increased by 40 percent
    over the last five years. The scope and gravity of the trade deficit and trade barriers – along with
    the acuity of their effects – built up over time, constitute the unusual and extraordinary threat.”

    Section III of my prior declaration, including the accompanying Figure 8, presents data
    indicating that the United States has experienced persistent trade deficits for the last 50 years. It
    is, therefore, useful to consider what the data say about the extent to which the last five years
    might represent a break from prior experience.
           3.     There are mild seasonal cycles in international trade patterns, and occasional
    temporary events such as natural disasters, armed conflicts, and foreign financial crises that
    cause unusual short-term movements in actual and recorded trade deficits. As a result, in
    evaluating the trade performance of the economy it is customary and helpful to consider data
    over periods longer than a day, week, month, or quarter. Table 3 below presents annual U.S.
    trade deficits, as a fractions of GDP, for years starting in 2000. As the table reports, the U.S.
    trade deficit from January-December 2024 was 3.1 percent of GDP. The U.S. trade deficit in
    2019 was 2.7 percent of GDP, which is the smallest annual U.S. trade deficit of the last 25 years;
    but despite that, the 2024 figure of 3.1 percent is less than 15 percent higher than the
    corresponding annual deficit five years earlier.


Page 1 - SECOND DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v.
         Trump, et al.


                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                             - Appx436 -
          Case: 25-1812         Document: 148                Page: 440               Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                 Document 47-1                    Filed 05/20/25   Page 4 of 11




                                                   Table 31

                     Annual U.S. Trade Deficits as Percentages of GDP

                                    Year                    Trade Deficit

                                     2000                             3.7

                                     2001                             3.6

                                     2002                             4.0

                                     2003                             4.6

                                     2004                             5.2

                                     2005                             5.7

                                     2006                             5.7

                                     2007                             5.1

                                     2008                             5.0

                                     2009                             2.9

                                     2010                             3.5

                                     2011                             3.7

                                     2012                             3.4

                                     2013                             2.8

                                     2014                             2.9

                                     2015                             2.9

                                     2016                             2.7

                                     2017                             2.8


    1
     Tables are numbered continuously from my first declaration. The figures in Table 3 represent
    annual averages of U.S. quarterly trade deficits to GDP, constructed from data provided by the
    U.S. Bureau of Economic Analysis, and as reported by the Federal Reserve Bank of St. Louis in
    https://fred.stlouisfed.org/series/A019RE1Q156NBEA.

Page 2 - SECOND DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v.
         Trump, et al.


                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                             - Appx437 -
           Case: 25-1812         Document: 148                  Page: 441             Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                  Document 47-1                    Filed 05/20/25   Page 5 of 11



                                      2018                             2.9

                                      2019                             2.7

                                      2020                             2.9

                                      2021                             3.6

                                      2022                             3.7

                                      2023                             2.9

                                      2024                             3.1

           4.      It is also useful to consider longer time windows. Over the 5-year period from
    January 2020 to December 2024, the U.S. trade deficit averaged 3.2 percent of U.S. GDP.2
    Table 4 below presents average trade deficits, as a fraction of GDP, for recent 5-year periods
    starting in January 2000. It is clear from these data that the U.S. economy during the five years
    ending in December 2024 did not have trade deficits that were abnormally high by the standards
    of recent U.S. experience. In fact, an average trade deficit of 3.2 percent of GDP is well below
    the 25-year average (2000-2024) of 3.7 percent of GDP. It is true that the 3.2 percent of GDP
    trade deficit from January 2020 to December 2024 is somewhat higher than the 2.7 percent of
    GDP trade deficit from January 2015 to December 2019; but it is noteworthy that the 2015-2019
    trade deficit was unusually low compared to other five-year periods in this millennium.

                                                     Table 4

                Five-Year Average U.S. Trade Deficits as Percentages of GDP

                  2000-2004     2005-2009           2010-2014             2015-2019         2020-2024

                     4.2            4.9                   3.3                  2.7             3.2



    2
      This 3.2 percent number, and the figures in Table 4, represent 5-year averages of U.S. quarterly
    trade deficits to GDP, constructed from data provided by the U.S. Bureau of Economic Analysis,
    and as reported by the Federal Reserve Bank of St. Louis in
    https://fred.stlouisfed.org/series/A019RE1Q156NBEA.

Page 3 - SECOND DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v.
         Trump, et al.


                                                 Oregon Department of Justice
                                                    100 SW Market Street
                                                     Portland, OR 97201
                                             (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx438 -
           Case: 25-1812          Document: 148              Page: 442              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                 Document 47-1                   Filed 05/20/25   Page 6 of 11




    III. Tariff Pass-Through to Prices.

           5.      The text of page 12 of Defendants’ response offers the observation that “Prices
    are set by independent private actors and informed by multiple, complex market forces.
    Plaintiffs cannot reasonably infer that importers will uniformly pass on not just these costs but
    also any savings (like duty refunds or post-tariff price decreases) to consumers – let alone onto
    these specific plaintiffs.” Economic understanding informed by decades of theory and evidence
    takes a contrary position. While it is correct that prices are set by independent private actors in
    large markets, it is these very market forces that ensure that costs imposed by tariffs will be
    borne by consumers. Competition in large markets disciplines firms to behave in certain
    predictable ways, lest they be driven out of business by their competitors. As a result, in
    standard competitive markets, consumer prices rise one-for-one with tariffs. And indeed the
    evidence from the recent U.S. tariff experience, reviewed in Section VI (pp. 24–25) of my prior
    declaration, is entirely consistent with this standard economic proposition.
           6.      In a separate section of their reply (p. 38), Defendants rely on a recent
    International Trade Commission report for the proposition that tariffs have only small effects on
    prices: “In 2023, the International Trade Commission issued a report analyzing the effects of the
    President’s previous tariffs, imposed under Sections 232 and 301, on more than $300 billion of
    U.S. imports. U.S. Int’l Trade Comm’n, Economic Impact of Section 232 and 301 Tariffs on
    U.S. Industries, Inv. No. 332-591, USITC Pub. No. 5405 (May 2023). This analysis revealed
    that the tariffs…had very minor effects on U.S. prices. Id. at 21-22.” This is an entirely
    inaccurate reading of the findings of the International Trade Commission study, which instead
    repeatedly finds that that costs imposed by the tariffs were passed on to consumers one-for-one.
    See, e.g., Economic Impact of Section 232 and 301 Tariffs, USITC Pub. No. 5405, at 124 (of the
    International Trade Commission study: “The delivered price of covered steel imports increasing
    by nearly the full value of the tariff is consistent with the chapter 6 econometric results and the
    academic literature, which both estimate that tariffs under sections 232 and 301 [are] passed
    through fully into U.S. importer prices.”).



Page 4 - SECOND DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v.
         Trump, et al.


                                               Oregon Department of Justice
                                                  100 SW Market Street
                                                   Portland, OR 97201
                                           (971) 673-1880 / Fax: (971) 673-5000

                                             - Appx439 -
            Case: 25-1812          Document: 148              Page: 443              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                 Document 47-1                    Filed 05/20/25   Page 7 of 11




           7.      The confusion that appears in Defendants’ reading of the International Trade
    Commission report arises because imports are only a fraction of the U.S. market, so higher tariff-
    inclusive import prices are reflected not only in the prices of imported goods, but also in the
    prices of the domestic goods with which they compete in the market. In such a setting, tariffs
    whose costs are borne one-for-one by consumers will nonetheless raise observed market prices
    by less than one-for-one, because the market itself consists not solely of imports. For example, if
    imports represent ten percent of the goods in a market, then a $10 tariff whose cost is entirely
    borne by consumers will raise the average market price of all goods, imported and domestic
    combined, by (approximately) $1, not $10. Market prices must be carefully analyzed to draw
    accurate inferences about the degree to which consumers bear the cost of tariffs, since even with
    full pass-through of tariff costs to consumers, average market prices may exhibit small reactions
    to tariff changes.3 Furthermore, in the cases of the tariffs considered by the report Defendants
    cited, it is clear that consumers bore the entire cost of the tariffs. The analysis in Section VII of
    my prior declaration, which analyzes the costs that the IEEPA-based tariffs imposed on state
    governments, relies on a methodology that accurately captures the effects of tariffs in settings
    where imported goods compete with domestic goods in the same markets, so can draw reliable
    inferences in settings where naïve readings of price responses would be entirely misleading.




    3
     This is a standard proposition in the theory of tax incidence. See, e.g., Laurence J. Kotlikoff &
    Lawrence H. Summers, Tax incidence, in 2 Handbook of Public Economics, 1043, 1043–1092
    (Alan J. Auerbach and Martin Feldstein, eds.1987).

Page 5 - SECOND DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v.
         Trump, et al.


                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx440 -
            Case: 25-1812          Document: 148              Page: 444              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                 Document 47-1                    Filed 05/20/25   Page 8 of 11




    IV. Impact of Tariffs on the Economy.

           8.      Defendants claim (p. 38) that “plaintiffs ignore the evidence that supports the
    President,” drawing attention to the International Trade Commission report cited in Section II
    above, maintaining that “this analysis revealed that the [earlier Sections 232 and 301] tariffs
    reduced imports from China, were effective in stimulating increased U.S. production of steel and
    aluminum, and had very minor effects on U.S. prices.” Defendants’ response adds that “the
    Coalition for a Prosperous America released an economic model simulating a worldwide 10
    percent tariff on U.S. imports and found that the ‘tariff makes imports less competitive and
    domestic production of manufactured and other goods rise to take advantage of the
    opportunities’ leading to ‘more jobs and more capital investment.’” It is useful to consider
    whether the calculations offered by these two studies in fact support the President’s position.
           9.      As noted in Section V of my original declaration, tariffs impede the functioning of
    market economies, making their firms and workers less productive, with accompanying
    reductions in national output, firm profits and individual incomes. It clearly follows that it is not
    possible to introduce significant tariffs that would have the effect of “improving this nation’s
    ‘domestic production capacity’” (Defendants’ report, at 37 (quoting Executive Order 14257).)
    Because domestic production capacity consists of many sectors and industries, it is necessary to
    look beyond just those industries that most closely compete with imports, in order to obtain a
    comprehensive view of the impact of tariffs on domestic production. In the cases of tariffs on
    steel and aluminum, the U.S. industries that use steel and aluminum as inputs to production will
    be adversely affected by the tariffs, as will other industries for which their outputs are
    subsequently used as inputs. These adverse effects must then be considered along with any
    expansions of import-competing industries in evaluating the impact of tariffs on domestic
    production capacity.




Page 6 - SECOND DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v.
         Trump, et al.


                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx441 -
           Case: 25-1812           Document: 148              Page: 445              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                 Document 47-1                    Filed 05/20/25   Page 9 of 11




           10.     The International Trade Commission report on which Defendants rely documents
    a wealth of negative effects of the earlier steel and aluminum tariffs on output by industries that
    rely, directly or indirectly, on steel and aluminum inputs. For example, Appendix Table F.13 (p.
    303) reports that the tariffs were responsible for a 3.35 percent reduction in output by the U.S.
    Industrial Machine Manufacturing industry, a 1.38 percent reduction in output by the Engine and
    Turbine Manufacturing industry, a 0.83 percent reduction in output by the Electrical Equipment
    Manufacturing industry, a 0.71 percent reduction in output by the Household Appliance
    Manufacturing industry, and significant output declines in countless other manufacturing
    industries. Unfortunately, the International Trade Commission does not display its findings in a
    way that makes it possible for an external analyst to summarize what the report claims to be the
    impact of the earlier Section 232 and 301 tariffs on aggregate U.S. manufacturing production
    capacity; but it is clear from the appendix tables that appear in the report that significant
    predicted negative effects on U.S. production levels are strewn across the manufacturing sector.




Page 7 - SECOND DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v.
         Trump, et al.


                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                             - Appx442 -
            Case: 25-1812          Document: 148              Page: 446            Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 47-1                 Filed 05/20/25   Page 10 of 11




           11.     The policy brief circulated by the Coalition for a Prosperous America does not
    claim to analyze the impact of higher tariffs on the U.S. economy, but instead considers a
    simultaneous combination of higher tariffs and reduced average and marginal tax rates in the
    U.S. individual income tax. The model used by the Coalition for a Prosperous America is
    constructed in a way that ensures that lower tax rates will produce model predictions of greater
    economic activity, greater employment, and higher levels of aggregate investment.4 Because the
    simulation described by the policy brief includes both higher tariffs and lower taxes, it is not
    possible to identify which if any of the economic effects described by the brief are the
    consequences of tariffs that would appear without the specific individual income tax changes
    also included in the simulation. Indeed, the significantly negative manufacturing output effects
    described by the International Trade Commission report on which Defendants also rely suggest
    that any positive aggregate output effects appearing in the Coalition for a Prosperous America’s
    simulation exercise are likely due to the tax cuts, not the tariffs. Though it is important also to
    not that the policy simulation offered by the Coalition for a Prosperous America is not grounded
    in modern economic theory, nor does it use carefully calibrated empirical evidence to obtain its
    predictions.
           12.     A correct reading of the International Trade Commission report, together with the
    Coalition for a Prosperous America policy brief, reinforces the conclusion that significant tariffs
    will significantly impair the performance and productive capacity of the U.S. economy.




    4
      The model and simulation used by the Coalition for a Prosperous America is itself an
    idiosyncratic exercise informed by its understanding that “traditional international economic
    models are based on unrealistically rigid assumptions which bias the model to favor free trade,”
    so as a corrective matter, the Coalition for a Prosperous America adopts a framework in which
    the U.S. economy is assumed to have access to unlimited resources. This innovative approach
    certainly distinguishes the Coalition for a Prosperous America’s framework from all of modern
    economics, this inconsistency coming at the cost of relying on an entirely unrealistic and
    untenable assumption.

Page 8 - SECOND DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v.
         Trump, et al.


                                                Oregon Department of Justice
                                                   100 SW Market Street
                                                    Portland, OR 97201
                                            (971) 673-1880 / Fax: (971) 673-5000

                                              - Appx443 -
         Case: 25-1812        Document: 148             Page: 447              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR            Document 47-1                 Filed 05/20/25    Page 11 of 11




           I declare under penalty of perjury under the laws of the United States that, to the
    best of my knowledge, the foregoing is true and correct.

    Executed on May 19, 2025, at Ann Arbor, Michigan.



                                                      s/ James R. Hines, Jr.
                                                      JAMES R. HINES Jr.




Page 9 - SECOND DECLARATION OF PROFESSOR JAMES R. HINES, JR. – Oregon, et al. v.
         Trump, et al.


                                            Oregon Department of Justice
                                               100 SW Market Street
                                                Portland, OR 97201
                                        (971) 673-1880 / Fax: (971) 673-5000

                                        - Appx444 -
            Case: 25-1812        Document: 148       Page: 448      Filed: 07/20/2025


Case 1:25-cv-00066-GSK-TMR-JAR              Document 53        Filed 05/23/25       Page 1 of 24




                UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:          THE HONORABLE GARY S. KATZMANN, JUDGE
                 THE HONORABLE TIMOTHY M. REIF, JUDGE
                 THE HONORABLE JANE A. RESTANI, JUDGE
__________________________________________
                                           )
V.O.S. SELECTIONS, INC., PLASTIC           )
SERVICES AND PRODUCTS, LLC d/b/a           )
GENOVA PIPE, MICROKITS, LLC,               )
FISHUSA INC., TERRY PRECISION              )
CYCLING LLC,                               )      Court No. 25-00066
                                           )
                 Plaintiffs,               )
                                           )
v.                                         )
                                           )
DONALD J. TRUMP in his official capacity,  )
EXECUTIVE OFFICE OF THE PRESIDENT,         )
THE UNITED STATES, U.S. CUSTOMS AND )
BORDER PROTECTION, PETE R. FLORES          )
in his official capacity, JAMIESON GREER   )
in his official capacity, OFFICE OF THE    )
UNITED STATES TRADE                        )
REPRESENTATIVE, and HOWARD                 )
LUTNICK in his official capacity,          )
                                           )
                 Defendants.               )
                                           )

                           NOTICE OF ADDITIONAL EXHIBITS

       Defendants respectfully submit the attached declarations in support of their response in

opposition to plaintiffs’ motion for a preliminary injunction and summary judgment. The

declarations were made by four members of the President’s cabinet: Marco Rubio, Secretary of

State; Scott K. H. Bessent, Secretary of the Treasury; Howard W. Lutnick, Secretary of

Commerce; and Jamieson Lee Greer, United States Trade Representative. They provide up-to-

date information on sensitive negotiations with trading partners and describe the catastrophic

harm to American foreign policy and national security that would ensue from granting the relief

                                          - Appx445 -
         Case: 25-1812         Document: 148         Page: 449       Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR               Document 53        Filed 05/23/25       Page 2 of 24




requested in plaintiffs’ motions. These facts establish the unavailability of preliminary or

permanent injunctive relief, which requires showings on both the balance of the equities and

public interest.



DATED: May 23, 2025                                  Respectfully submitted,

OF COUNSEL:                                          YAAKOV M. ROTH
                                                     Acting Assistant Attorney General
ALEXANDER K. HAAS
Director                                             ERIC J. HAMILTON
                                                     Deputy Assistant Attorney General
STEPHEN M. ELLIOTT
Assistant Director                                   PATRICIA M. McCARTHY
U.S. Department of Justice                           Director
Civil Division
Federal Programs Branch                              /s/ Claudia Burke
                                                     CLAUDIA BURKE
                                                     Deputy Director

                                                     /s/ Justin R. Miller
                                                     JUSTIN R. MILLER
                                                     Attorney-In-Charge
                                                     International Trade Field Office

                                                     /s/ Sosun Bae
                                                     SOSUN BAE
                                                     Senior Trial Counsel
                                                     LUKE MATHERS
                                                     CATHERINE M. YANG
                                                     BLAKE W. COWMAN
                                                     COLLIN T. MATHIAS
                                                     Trial Attorneys
                                                     U.S. Department of Justice
                                                     Civil Division
                                                     Commercial Litigation Branch
                                                     PO Box 480, Ben Franklin Station
                                                     Washington, DC 20044
                                                     (202) 305-7568
                                                     sosun.bae@usdoj.gov


                                                     Attorneys for Defendants



                                                 2
                                         - Appx446 -
      Case: 25-1812   Document: 148   Page: 450    Filed: 07/20/2025




Case 1:25-cv-00066-GSK-TMR-JAR   Document 53      Filed 05/23/25   Page 3 of 24




                      ATTACHMENTS




                             - Appx447 -
                    Case 1:25-cv-00066-GSK-TMR-JAR            Document 53         Filed 05/23/25      Page 4 of 24




                                   UNITED STATES COURT OF INTERNATIONAL TRADE

                    BEFORE:       THE HONORABLE GARY S. KATZMANN, JUDGE
                                  THE HONORABLE TIMOTHY M. REIF, JUDGE
                                  THE HONORABLE JANE A. RESTANI, JUDGE

                    PRINCESS AWESOME, LLC; STONEMAIER,     )
                    LLC; 300 BELOW, INC.; UPWARD GLANCE, )
                    LLC d/b/a QUENT CORDAIR FINE ART;      )
Filed: 07/20/2025




                    KINGS EAL CORPORATION D/B/A WESCO      )
                    ENTERPRISES, INC.; MISCHIEF, LLC d/b/a )
                    MISCHIEF TOY STORE; SPIELCRAFT         )
                    GAMES, LLC; ROOKIE MAGE GAMES,         )
                    LLC; XYZ GAME LABS, INC.; TINKERHOUSE,)
                    INC.; RECLAMATION STUDIO, LLC          )
                    d/b/a WITSEND MOSAIC,                  )
                                                                       )       Court No. 25-00078
                          Plaintiffs,                                  )
Page: 451




                                                                       )
                                  V.                                   )
                                                                       )
                    UNITED STATES CUSTOMS AND BORDER                   )
                    PROTECTION; PETER. FLORES, Acting                  )
Document: 148




                    Commissioner for U.S. Customs and                  )
                    Border Protection; DEPARTMENT OF                   )
                    HOMELAND SECURITY; KRISTI NOEM,                     )
                    Secretary of the Department of Homeland             )
                    Security; UNITED STATES INTERNATIONAL               )
                    TRADE COMMISSION; DONALD J. TRUMP,                  )
                    President of the United States; EXECUTIVE           )
                    OFFICE OF THE PRESIDENT; and the                    )
Case: 25-1812




                    UNITED STATES OF AMERICA,                           )
                                                                        )
                          Defendants.                                   )


                                         DECLARATION OF HOWARD W. LUTNICK,
                                        UNITED STATES SECRETARY OF COMMERCE

                    I, HOWARD W. LUTNICK, hereby state and declare as follows:

                       I. I am the Secretary of Commerce for the United States and the head of the United States

                          Department of Commerce, an Executive Department of the United States. See 5 U.S.C.

                          § 101. The purpose of this declaration is to assert, in my official capacity and opinion, the




                                                          - Appx448 -
                    Case 1:25-cv-00066-GSK-TMR-JAR           Document 53         Filed 05/23/25      Page 5 of 24




                         irreparable harm that a ruling for plaintiffs in this case will have on President

                         Donald J. Trump's constitutional power to conduct foreign affairs. Such a ruling will

                         fundamentally impede President Trump's foreign-policymaking abilities to address

                         national emergencies that threaten the national-security and economic-security interests of

                         the United States and the American people. The statements made herein are based on my
Filed: 07/20/2025




                         personal knowledge and on information provided to me in my official capacity as Secretary

                         of Commerce.

                      2. I have been tasked by President Trump to lead his tariff and trade agenda. See Statement

                         by President-elect Donald J. Trump Announcing the Nomination of Howard Lutnick as
Page: 452




                         Secretary      of      Commerce,         The        American      Presidency       Project,

                         https://www.presidency.ucsb.edu/node/375586. As part of my duties as Secretary of

                         Commerce, I have strategized with President Trump and members of his cabinet, including
Document: 148




                         United States Trade Representative Jamieson Greer, on policies to conduct trade diplomacy

                         and address grave national emergencies. Many of these national emergencies, ranging

                         from the hollowing out of our defense-industrial and manufacturing base to the illicit flow

                         of narcotics and the national-security threats posed by authoritarian regimes, are caused by
Case: 25-1812




                         our foreign-trading partners.

                      3. For example, on February 1, 2025, President Trump found in Executive Orders 14,193 and

                          14, 194 that the failure of the governments of Mexico and Canada to stop the influx of

                         illegal drugs and illegal immigrants across our southern and northern borders is a national

                         emergency, threatening the lives of our citizens.

                      4. Likewise, on the same day, President Trump found in Executive Order 14,195 that the

                         People's Republic of China has encouraged Chinese businesses to export illegal drugs and



                                                                  2



                                                          - Appx449 -
                    Case 1:25-cv-00066-GSK-TMR-JAR             Document 53         Filed 05/23/25       Page 6 of 24




                         precursors for manufacturing those drugs to the United States, which constitutes a national

                         emergency that threatens the lives of our citizens.

                      5. Then, on April 2, 2025, President Trump found in Executive Order 14,257 that our foreign-

                         trading partners' non-reciprocal trading practices, including both tariff and non-tariff

                         barriers, have produced persistent annual U.S. goods trade deficits, which has hollowed
Filed: 07/20/2025




                         out our domestic manufacturing and defense-industrial base and has resulted in a lack of

                         advanced domestic manufacturing capacity, a defense-industrial base dependent on inputs

                         from foreign adversaries, vulnerable domestic supply chains, and a sensitive geopolitical

                         environment. President Trump found the persistent annual U.S. goods trade deficits have
Page: 453




                         resulted in a national emergency, threatening our national and economic security.

                      6. President Trump determined that it was in the foreign-policy interests of the United States

                         to levy a 10 percent tariff for all trading partners. In addition, depending on the significance
Document: 148




                         of the trade imbalances with foreign-trading partners, President Trump determined that

                         some trading partners would receive higher duties.

                      7. Following President Trump's April 2, 2025, announcement, scores of countries

                         immediately reached out to the Department of Commerce and the Office of the United
Case: 25-1812




                          States Trade Representative. President Trump's 10 percent tariffs for all trading partners

                         went into effect at 12:0 l a.m. on April 5, 2025-over two days after President Trump

                          announced them. The country-specific tariff rates went into effect at 12:01 a.m. on April

                          9, 2025- nearly a week after they were announced. The vast majority of these countries

                          saw it in their own national interests not to retaliate against the United States, as a matter

                          of their own foreign-policy objectives.       In short, the preliminary U.S. foreign-policy

                          objectives of the tariffs worked- foreign-trading partners that have run trade deficits in



                                                                    3



                                                           - Appx450 -
                    Case 1:25-cv-00066-GSK-TMR-JAR            Document 53          Filed 05/23/25    Page 7 of 24




                         goods for years, and helped hollow out the American manufacturing base, immediately

                          came to the negotiating table.

                      8. On April 9, 2025, after consultation with me and other members of his cabinet, President

                         Trump announced a 90-day pause and lowered the country-specific tariffs on most

                          countries to a temporary flat rate of 10 percent. See Exec. Order No. 14,266, 90 Fed. Reg.
Filed: 07/20/2025




                          15625. In that same announcement, President Trump declared that the tariff rate on China

                          would increase to 125 percent. In doing this, President Trump furthered the foreign-policy

                          objectives of the United States in two important ways.

                      9. First, countries that had approached his administration, including the Department of
Page: 454




                          Commerce, without retaliating received the benefit of a pause designed to allow for

                          substantive negotiations to remedy the national emergency. The pause has been a success.

                      10. On May 8, 2025, President Trump and Prime Minister Keir Starmer ofthe United Kingdom
Document: 148




                          announced the tenns of the first trade deal- a deal that had been illusory for years- which

                          directly benefits the U.S. manufacturing base. These tenns- which I helped construct-

                          reflect extensive diplomatic effort to align United States and allied supply chains and

                          eliminate foreign dependencies in sensitive sectors. The deal would not have happened but
Case: 25-1812




                          for the International Emergency Economic Powers Act tariffs.

                       11. Further, because ofthe IEEPA tariffs and the 90-day pause, I am, together with Ambassador

                          Greer, participating in dozens of ongoing negotiations with foreign-trading partners.

                          Again, such negotiations would not have happened but for the IEEPA tariffs.

                       12. Second, the increased tariff rate against China applied additional pressure to achieve the

                          foreign-policy objective of bringing China- the greatest contributor to the national

                          emergency and a well-known strategic adversary- to the negotiating table. In 2024 alone,



                                                                   4



                                                           - Appx451 -
                    Case 1:25-cv-00066-GSK-TMR-JAR              Document 53         Filed 05/23/25       Page 8 of 24




                          the United States had a trade deficit of $295 billion with China, and China's total trade

                          surplus of nearly $1 trillion created excess export capacity that flooded the United States

                          through other countries, as well. Yet, because of the IEEPA tariffs, the United States and

                          China reached a 90-day agreement on May 12, 2025, to reduce China's tariffs on U.S.

                          exports while the Trump administration works to address longstanding disputes with China.
Filed: 07/20/2025




                          Under that asymmetrical agreement, reached because of the pressures of the IEEPA tariffs,

                          China lowered its universal tariff rate on U.S. goods to 10 percent, while the United States

                          maintained a higher rate of 30 percent.

                      13. An adverse ruling by this Court, enjoining the implementation of these IEEPA tariffs or
Page: 455




                          circumscribing the President's authority to act in this domain, threatens all of these foreign-

                          policy accomplishments and objectives. IEEPA gives the President of the United States a

                          pivotal tool to express his foreign policy promptly and decisively to address national
Document: 148




                          emergencies that manifest through economic and commercial channels. An adverse ruling

                          would take away one of the most important tools the President possesses that is broad,

                          immediate, and adaptable enough to counter emergency threats in real time.

                       14. IEEPA is a necessary tool given to the President to broadly and swiftly respond to national
Case: 25-1812




                          emergencies caused by the economic and commercial machinations of our foreign-trading

                          partners. Other tools afforded to the President are not designed for national emergencies.

                          For example, while Section 232 of the Trade Expansion Act of 1962 and Section 301 of

                          the Trade Act of 1974 are indispensable tools of U.S. trade law, they are procedurally time-

                          consuming and do not allow for immediate action, as IEEPA does. Under Section 232, the

                          Department of Commerce has up to 270 days to conduct an investigation and submit a

                          report to the President, who then has up to 90 additional days to decide whether to act, and



                                                                     5



                                                            - Appx452 -
                    Case 1:25-cv-00066-GSK-TMR-JAR             Document 53        Filed 05/23/25      Page 9 of 24




                          up to 15 additional days to implement that action.          19 U.S.C. §§ l 862(b)(3)(A),

                          (c)(l)(B). Similarly, under Section 301, the United States Trade Representative must

                          complete an investigation within 12 months, with additional time to implement any

                          retaliatory action.    19 U.S.C. §§ 2414(a)(2)(B), 2415(a)(l).    IEEPA is different and

                          authorizes the President to take immediate action to protect national interests where all of
Filed: 07/20/2025




                          IEEPA's conditions are satisfied. Without this tool, the President's foreign-policymaking

                          abilities would be severely constrained and our national security would be threatened.

                      15. Beyond the practical effects that enjoining or circumscribing the President's lEEPA

                          authority would have on addressing ongoing national emergencies, the real-world foreign-
Page: 456




                          policy effects on this set ofIEEPA tariffs would be monumental. For one, an adverse ruling

                          would undermine the United States-United Kingdom trade deal that was negotiated in

                          reliance on the President's emergency tariff authority. In addition, an adverse ruling would
Document: 148




                          jeopardize the dozens of similar arrangements with foreign-trading partners that I am

                          negotiating. Each of these negotiations is premised on the credible threat of enforcement

                          of the IEEPA tariffs. If this Court limits that authority, foreign counterparts will have

                          reduced incentives to reach meaningful agreements-resulting in the status quo that led to
Case: 25-1812




                          the national emergency. It would destroy the carefully crafted China trade agreement,

                          which is asymmetric in America's favor, in order to address the emergency of our persistent

                          goods trade deficit.

                       16. What's more, an adverse ruling by this Court also will affect President Trump's authority

                          to invoke IEEPA to address other national emergencies of significant concern.            For

                          example, on February 1, 2025, President Trump invoked IEEPA to impose tariffs on China,

                          Mexico, and Canada, respectively, due to the national emergency caused by "the sustained



                                                                    6



                                                           - Appx453 -
                    Case 1:25-cv-00066-GSK-TMR-JAR             Document 53         Filed 05/23/25          Page 10 of 24




                          influx of synthetic opioids," which "kill[] approximately two hundred Americans per day."

                          Exec. Order No. 14,195, 90 Fed. Reg. 9121; Exec. Order No. 14,194, 90 Fed. Reg. 9117;

                          Exec. Order No. 14,193, 90 Fed. Reg. 9113. And, on March 24, 2025, President Trump

                          invoked IEEPA to place "secondary" tariffs on countries that purchase oil from the Maduro

                          regime in Venezuela, given the threat that the regime's policies pose to U.S. national
Filed: 07/20/2025




                          security. Exec. Order No. 14,245, 90 Fed. Reg. 13829. Without IEEPA, the President

                          could not quickly and effectively address grave national emergencies-caused by foreign

                          actors- that directly threaten the lives of Americans.

                       17. The imposition of IEEPA tariffs signals to foreign governments that certain conduct-
Page: 457




                          whether economic predation, trade manipulation, or narcotics trafficking- will incur

                          serious consequences. Diluting this authority would not only unravel the current IEEPA

                          actions but also would undermine future deterrence. Allies and adversaries alike monitor
Document: 148




                          U.S. courts for signs of constraint on presidential power. A ruling that narrows IEEPA

                          would have ripple effects across every domain in which economic instruments are used for

                          strategic effect.

                       18. For example, India and Pakistan- two nuclear powers engaged in combat operations just
Case: 25-1812




                          13 days ago- reached a tenuous ceasefire on May l 0, 2025. This ceasefire was only

                          achieved after President Trump interceded and offered both nations trading access with the

                          United States to avert a full-scale war. An adverse ruling that constrains presidential power

                          in this case could lead India and Pakistan to question the validity of President Trump's

                          offer, threatening the security of an entire region and the lives of millions.

                       19. All told, an invalidation of President Trump's ability to use IEEPA would dismantle a

                          cornerstone of President Trump's national security architecture, irreparably harm the



                                                                     7



                                                            - Appx454 -
                    Case 1:25-cv-00066-GSK-TMR-JAR            Document 53         Filed 05/23/25          Page 11 of 24



                         government's ability to respond to evolving foreign threats, and severely disrupt the

                         Department of Commerce's coordination of foreign policy-related economic actions on

                         behalf of the President. It would jeopardize vital trade agreements, collapse ongoing

                         negotiations, allow for Chinese aggression during a period of strategic competition, leave

                         the American people exposed to predatory economic practices by foreign actors, and
Filed: 07/20/2025




                         threaten national security. It also would come after the democratically elected United

                         States Senate failed to garner the necessary votes to revoke President Trump's IEEPA

                         emergency declaration on April 30, 2025.
Page: 458




                         I declare under the penalty of perjury that the foregoing is true and correct.

                         Executed this   di~ day of May, 2025, in the Ci o
Document: 148




                                                                        Ho ar W. Lutnick
                                                                        41 st United States Secretary of Commerce
Case: 25-1812




                                                                   8




                                                           - Appx455 -
      Case: 25-1812         Document: 148          Page: 459      Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR               Document 53   Filed 05/23/25      Page 12 of 24



                 UNITED STATES COURT OF INTERNATIONAL TRADE

  BEFORE:       THE HONORABLE GARY S, KATZMANN, JUDGE
                THE HONORABLE TIMOTHY M. REIF, JUDGE
                THE HONORABLE JANE A. RESTANI, JUDGE

 PRINCESS AWESOME, LLC; STONEMAJER,                  )
 LLC; 300 BELOW, INC.; UPWARD GLANCE,                )
 LLC d/b/a QUENT CORDAIR FINE ART;                   )
 KINGSEAL CORPORATION D/B/A WESCO                    )
 ENTERPRISES, INC.; MISCHIEF, LLC d/b/a              )
 MISCHIEF TOY STORE; SPIELCRAFT                      )
 GAMES, LLC; ROOKIE MAGE GAMES,         )
 LLC; XYZ GAME LABS, INC.; TINKERHOUSE, J
 INC.; RECLAMATION STUDIO, LLC          )
 d/b/a WITSEND MOSAIC,                  )
                                        )                  Court No. 25-00078
        Plaintiffs,                     )
                                                     )
               V.                                    )
                                                     )
 UNITED STATES CUSTOMS AND BORDER                    )
 PROTECTION; PETER. FLORES, Acting                   )
 Commissioner for U.S. Customs and                   )
 Border Protection; DEPARTMENT OF                    )
 HOMELAND SECURITY; KRISTI NOEM,                     )
 Secretary of the Department of Homeland             )
 Security: UNITED STATES INTERNATIONAL               )
 TRADE COMMISSION; DONALD J. TRUMP,                  )
 President of the United States; EXECUTIVE           )
 OFFICE OF THE PRESIDENT; and the                    )
 UNITED STATES OF AMERJCA,                           )
                                                     )
        Defendants.                                  )


            DECLARATION OF SECRETARY OF STATE MARCO RUBIO

  I, Marco Rubio, hereby state as follows:

    1. I am the Secretary of State of the United States and head of the United States Department

       of State, an Executive Department of the United States. See 22 U.S.C. § 2651. As

       Secretary of State, I am the President's chief foreign affairs advisor. I carry out the




                                       - Appx456 -
      Case: 25-1812         Document: 148            Page: 460     Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR            Document 53         Filed 05/23/25     Page 13 of 24



        President's foreign policy through the State Department and the Foreign Service of the

        United States. See 22 U.S.C. § 2651a.

    2. The statements made herein are based on my personal knowledge, on information provided

        to me in my official capacity, reasonable inquiry, and information obtained from various

        records, systems, databases, State Department employees, and information portals

        maintained and relied upon by the United States Government in the regular course of

        business, and on my evaluation of that information.

    3. The purpose of this Declaration is to confirm, in my capacity as Secretary of State and head

        of the Department of State, that a ruling for the plaintiffs in this case would cause

       significant and irreparable harm to U.S. foreign policy and national security. Such a ruling

       would derail critical ongoing negotiations with our foreign trading partners and threaten

       broader U.S. strategic interests internationally.

    4. In the International Emergency Economic Powers Act (IEEPA), see 50 U.S.C. § 1701 et

       seq., Congress granted to the President dynamic, flexible authority to respond to crises on

       a global scale. President Trump has exercised that authority to impose tariffs in response

       to crises threatening America's national security.

    5. In particular, the President found in Executive Orders 14,193 and 14,194 that the failure of

       the governments of Mexico and Canada to stop the influx of illegal drugs and illegal aliens

       across our southern and northern borders is an emergency for the United States and its

       citizens.

    6. Likewise, the President found in Executive Order 14,195 that the encouragement by the

       People's Republic of China (PRC) of PRC businesses to export illegal drugs and precursors




                                                 2



                                       - Appx457 -
      Case: 25-1812          Document: 148           Page: 461       Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR             Document 53         Filed 05/23/25      Page 14 of 24




        for manufacturing those drugs in the United States is an emergency for the United States

        and its citizens.

    7. Last, the President found in Executive Order 14,257 that our trade partners' non-reciprocal

        trading practices, including both tariff and non-tariff barriers, and resulting large and

        persistent annual U.S. goods trade deficits have given rise to acute national security threats

        driven by our hollowed-out manufacturing base, lack of advanced domestic manufacturing

        capacity, vulnerable supply chains, a defense-industrial base that depends on foreign

        adversaries, and the sensitive geopolitical environment.

    8. The United States is presently pursuing potential trade deals with Mexico, Canada, PRC,

        and dozens of other countries. These negotiations could address the urgent threats of mass

        migration at our northern and southern borders, the tlow of fentanyl into our country, and

       the erosion of our domestic production capacity caused in substantial part by the large and

       persistent annual U.S. goods trade deficient stemming from our trade partners' non-

        reciprocal trading practices.

    9. The negotiations are currently in a delicate state, with discussions ongoing and final deals

       not yet reached. In some cases, we have reached frameworks with our trading partners,

       while we continue to negotiate on details. In other cases, we have not yet reached a

       framework agreement or arrangement.

    10. These negotiations have been one of the country"s top foreign policy priorities since the

       reciprocal tariffs were announced on April 2. Reflecting the urgency of the emergency,

       much ofU.S. global diplomacy in the last six weeks has been focused on these negotiations.

    11. In each case, the negotiations are premised on the ability of the President to impose tariffs

       under IEEPA If the President is enjoined or limited from exercising his authority under




                                                 3



                                        - Appx458 -
     Case: 25-1812           Document: 148           Page: 462       Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR            Document 53         Filed 05/23/25       Page 15 of 24



       IEEPA to impose tariffs to address these urgent threats, that would cause irreparable hann

       to our efforts to secure the U.S. production and manufacturing base through our ongoing

       negotiations and other diplomatic efforts.

    12. For example, if the Court were to enjoin the President from imposing tariffs, our trade

       partners would likely believe that the President lacks power under IEEPA to promptly

       respond to their actions during the ongoing negotiations. They may also perceive such a

       ruling as a vulnerability and en-courage them to retaliate against the United States for

       attempting to impose tariffs and negotiate agreements to protect our national security. See

       Executive Order 14,266, § 3. Notably, other countries declined to retaliate against the

       United States after the President made clear he would exercise his authority under IEEPA

       to impose additional tariffs, as he did with PRC.

    13. The political branches, not the courts, are appropriately situated to handle and intervene in

       matters of foreign policy and national security. This case and the real-world diplomacy

       inherent in it exemplify why the courts must not interfere in such foreign affairs. U.S.

       foreign policy has an exceptional need for consistent implementation of the decision the

       President has already made under IEEPA. A conflicting pronouncement by this Court on

       the same issue would lead to embarrassment of the United States on a global stage.

    14. Beyond diplomatic embarrassment, which itself is dangerous as it emboldens allies and

       adversaries alike, the Court's interference would perpetuate the United States' industrial

       decline and unsustainable trade deficits. The President found in Executive Order 14,257

       that the United States' large and persistent trade deficits are a structural imbalance in the

       global trading system that has hollowed out a number of critical industries. Without robust

       domestic production capacity, the United States will not be able to produce the weapons




                                                 4



                                       - Appx459 -
        Case: 25-1812           Document: 148           Page: 463       Filed: 07/20/2025

Case 1:25-cv-00066-GSK-TMR-JAR                Document 53         Filed 05/23/25       Page 16 of 24



         and other resources necessary to defend itself or :Support the critical industries necessary to

         avoid being held hostage by foreign adversaries. That weakened position will have a direct

         impact on the President's ability to conduct foreign policy and advance the United States'

         interests.

      15. Congress has reserved for itself the power to review the President's exercise of his powers

         under IEEPA.      Exercising that role, Congress considered whether to tenninate the

         President's emergency declaration, and it has appropriately declined to do so, recognizing

         the appropriateness of the President's exercise of powers and the delicate, ongoing

         international diplomacy that is unfolding as a result.

    16. It is critical to the foreign policy and national security of the United States for the Court to

         decHne to enjoin or restrain the President from exercising his power under IEEPA to

         impose tariffs in recognition of the unusual -and extraordinary threats at issue in this

         litigation.



I declare, under penalty of perjury, that the foregoing is true and correct.



Executed on this 23rd day of May, 2025.




  7
   1tft
Marco Rubio
Secretary of State




                                                    5



                                           - Appx460 -
                    Case 1:25-cv-00066-GSK-TMR-JAR             Document 53       Filed 05/23/25      Page 17 of 24




                                     UNITED STATES COURT OF INTERNATIONAL TRADE

                    BEFORE:        THE HONORABLE GARY S. KATZMANN, JUDGE
                                   THE HONORABLE TIMOTHY M. REIF, JUDGE
                                   THE HONORABLE JANE A. REST ANI, JUDGE

                    PRINCESS AWESOME, LLC; STONEMAIER,     )
                    LLC; 300 BELOW, INC.; UPWARD GLANCE,   )
                    LLC d/b/a QUENT CORDAIR FINE ART;      )
Filed: 07/20/2025




                    KINGSEAL CORPORATION D/B/A WESCO       )
                    ENTERPRISES, INC.; MISCHIEF, LLC d/b/a )
                    MISCHIEF TOY STORE; SPIELCRAFT         )
                    GAMES, LLC; ROOKIE MAGE GAMES,         )
                    LLC; XYZ GAME LABS, INC.; TINKERHOUSE, )
                    INC.; RECLAMATION STUDIO, LLC          )
                    d/b/a WITSEND MOSAIC,                  )
                                                                        )      Court No. 25-00078
                           Plaintiffs,                                  )
Page: 464




                                                                        )
                                   V.                                   )
                                                                        )
                    UNITED STATES CUSTOMS AND BORDER                    )
                    PROTECTION; PETER. FLORES, Acting                   )
Document: 148




                    Commissioner for U.S. Customs and                   )
                    Border Protection; DEPARTMENT OF                    )
                    HOMELAND SECURITY; KRISTI NOEM,                     )
                    Secretary of the Department of Homeland             )
                    Security; UNITED STATES INTERNATIONAL               )
                    TRADE COMMISSION; DONALD J. TRUMP,                  )
                    President of the United States; EXECUTIVE           )
                    OFFICE OF THE PRESIDENT; and the                    )
Case: 25-1812




                    UNITED STATES OF AMERICA,                           )
                                                                        )
                          Defendants.                                   )


                                                            DECLARATION

                     I, Scott K. H. Bessent, hereby state as follows:

                       1. I am the Secretary of the Treasury. I have been the Secretary of the Treasury since January

                          28, 2025.




                                                            - Appx461 -
                    Case 1:25-cv-00066-GSK-TMR-JAR              Document 53         Filed 05/23/25       Page 18 of 24




                       2. President Trump has exercised his IEEPA authority to impose tariffs in response to crises

                           threatening America's national security and economy.

                       3. In particular, the President found in Executive Orders 14,193 and 14,194 that the failure

                           of the governments of Mexico and Canada to stop the influx of illegal drugs and illegal

                           immigrants across our southern and northern borders is an emergency for the Nation and
Filed: 07/20/2025




                           its citizens.

                       4. The President also found in Executive Order 14,257 that our trading partners' non-

                           reciprocal trading practices, including both tariff and non-tariff barriers, have given rise to

                           a presently acute national security threat of large and persistent annual U.S. goods trade
Page: 465




                          deficits, which have led to the hollowing out of our manufacturing base, lack of advanced

                          domestic manufacturing capacity, vulnerable supply chains, and a defense-industrial base

                           that depends on foreign adversaries.
Document: 148




                       5. Tariffs are a crucial tool for protecting America's national security and advancing

                           American foreign policy by addressing the unusual and extraordinary threats the President

                           has identified.

                       6. The tariffs have proven to be well-tailored to bring trading partners to the table to address
Case: 25-1812




                          these urgent threats. The United States is presently negotiating agreements with Mexico,

                          Canada, PRC, and many of our key trading partners, in order to address the urgent threats

                          at our northern and southern borders, posed by illegal drugs, and to our domestic

                          production capacity caused in subst~ntial part by the large and persistent annual U.S. goods

                          trade deficient stemming from our trade partners' non-reciprocal trading practices.

                       7. There are currently ongoing negotiations to address this emergency with dozens of

                          countries. Those negotiations are presently in a delicate state, with discussions ongoing




                                                                     2


                                                             - Appx462 -
                    Case 1:25-cv-00066-GSK-TMR-JAR               Document 53        Filed 05/23/25       Page 19 of 24




                           and formal, final deals not yet reached. In some cases, we have reached framework

                           agreements with our trading partners, while we continue to negotiate on details. In other

                          cases, we have not yet reached a framework agreement.

                       8. For example, on May 8, 2025, the United States and the United Kingdom announced a

                          framework agreement as a result of such negotiations. The U.S.-UK framework agreement
Filed: 07/20/2025




                          will bolster U.S. economic and national security by enhancing market access for American

                          exporters and lowering tariff and non-tariff barriers.

                       9. These negotiations have been one of the country's top foreign policy priorities since the

                          reciprocal tariffs were announced on April 2.
Page: 466




                       10. In each case, those ongoing, delicate negotiations are premised on the President's tariffs at

                          issue in this case. If the President is enjoined from imposing these tariffs, it could shatter

                          our negotiations with dozens of countries.
Document: 148




                       11. If the Court were to enjoin the President from imposing tariffs, our trading partners may

                          feel a renewed boldness to take advantage of that new vulnerability by retaliating against

                          the United States for attempting to impose tariffs and negotiate agreements to protect our

                          national security.
Case: 25-1812




                       12. In short, the maintenance of the tariffs is crucial to the President's ability to conduct real-

                          world diplomacy and his ability to protect the national security and economy of the United

                          States.

                       13. Congress considered whether to terminate the President's emergency declaration, and

                          declined to do so. See H.J.Res. 72 (2025); H.J.Res.73 (2025). It is critical to the national

                          security and economy of the United States for the Court to decline to block the President

                          from imposing these tariffs as well.




                                                                     3


                                                             - Appx463 -
                    Case 1:25-cv-00066-GSK-TMR-JAR              Document 53         Filed 05/23/25   Page 20 of 24




                    I declare, under penalty of perjury, that the foregoing is true and correct.



                    Executed on this day of May 23, 2025.
Filed: 07/20/2025




                    Isl_ _ _ _ _ _ _ _ _ _ __

                    Scott K. H. Bessent
                    Secretary
Page: 467




                    Department of the Treasury
Document: 148
Case: 25-1812




                                                                      4


                                                             - Appx464 -
                    Case 1:25-cv-00066-GSK-TMR-JAR           Document 53          Filed 05/23/25    Page 21 of 24




                                   UNITED STATES COURT OF INTERNATIONAL TRADE

                    BEFORE:       THE HONORABLE GARY S. KATZMANN, JUDGE
                                  THE HONORABLE TIMOTHY M. REIF, JUDGE
                                  THE HONORABLE JANE A. RESTANI, JUDGE

                    PRINCESS AWESOME, LLC; STONEMAIER, )
                    LLC; 300 BELOW, INC.; UPWARD GLANCE, )
                    LLC d/b/a QUENT CORDAIR FINE ART;         )
Filed: 07/20/2025




                    KINGSEAL CORPORATION D/B/A WESCO          )
                    ENTERPRISES, INC.; MISCHIEF, LLC d/b/a    )
                    MISCHIEF TOY STORE; SPIELCRAFT            )
                    GAMES, LLC; ROOKIE MAGE GAMES,            )
                    LLC; XYZ GAME LABS, INC.; TINKERHOUSE, )
                    INC.; RECLAMATION STUDIO, LLC             )
                    d/b/a WITSEND MOSAIC,                     )
                                                              )                Court No. 25-00078
                           Plaintiffs,                        )
Page: 468




                                                              )
                                    v.                        )
                                                              )
                    UNITED STATES CUSTOMS AND BORDER          )
                    PROTECTION; PETER. FLORES, Acting         )
Document: 148




                    Commissioner for U.S. Customs and         )
                    Border Protection; DEPARTMENT OF          )
                    HOMELAND SECURITY; KRISTI NOEM,           )
                    Secretary of the Department of Homeland   )
                    Security; UNITED STATES INTERNATIONAL )
                    TRADE COMMISSION; DONALD J. TRUMP,        )
                    President of the United States; EXECUTIVE )
                    OFFICE OF THE PRESIDENT; and the          )
Case: 25-1812




                    UNITED STATES OF AMERICA,                 )
                                                              )
                           Defendants.                        )
                    _ _ _ _ _ _ _ _ _ _ _ _)

                                                          DECLARATION

                     I, Ambassador Jamieson Lee Greer, hereby state as follows:

                       1. I am the United States Trade Representative.      I have been the United States Trade

                          Representative since February 26, 2025. In this capacity, I serve as the principal advisor




                                                                  1


                                                          - Appx465 -
                    Case 1:25-cv-00066-GSK-TMR-JAR                Document 53     Filed 05/23/25      Page 22 of 24




                          to the President on international trade policy and the chief representative for the United

                           States in international trade negotiations. See 19 U.S.C. § 2171(c)(l)(B)(C).

                       2. In IEEP A, Congress granted to the President dynamic, flexible authority to respond to

                          crises on a global scale.

                       3. President Trump has exercised that authority to impose tariffs in response to crises
Filed: 07/20/2025




                          threatening America's national security and the economy.

                       4. The President found in Executive Order 14,257 that our trade partners' non-reciprocal

                          trading practices, including both tariff and non-tariff barriers, have been an important

                          driver of large and persistent annual U.S. goods trade deficits, which have grown over 40
Page: 469




                          percent in the past five years, and created a presently acute threat to national security and

                          the economy. The President found that structural asymmetries in our bilateral trade

                          relationships significantly constrain U.S. e_xports and artificially incentivize foreign
Document: 148




                          production. The President found further that these conditions have led to a hollowing out

                          of the U.S. manufacturing and defense-industrial base, leaving the United States dependent

                          upon foreign supply chains for national-security-sensitive products and with insufficient

                          domestic manufacturing capacity to remain competitive in the global economy.
Case: 25-1812




                       5. Tariffs imposed under IEEPA are a crucial tool for protecting America's national security

                          and advancing American foreign policy by addressing the unusual and extraordinary

                          threats the President has identified.

                       6. This case does not present an abstract question of law. The Court's ruling will have a

                          concrete and immediate effect on United States national security and foreign policy.




                                                                     2


                                                            - Appx466 -
                    Case 1:25-cv-00066-GSK-TMR-JAR             Document 53        Filed 05/23/25       Page 23 of 24




                       7. The tariffs have proven to be well tailored to address these urgent threats. The United States

                          is presently negotiating with Mexico, Canada, and the PRC in order to address the urgent

                          threats at our northern and southern borders.

                       8. Furthermore, on April 9, the President issued a 90-day pause of the country-specific

                          reciprocal tariffs so that he might negotiate with trading partners who are willing to take
Filed: 07/20/2025




                          significant steps to remedy their non-reciprocal trading practices and align with the United

                          States on national and economic security matters.

                       9. The United States is currently negotiating with dozens of countries regarding the terms of

                          that alignment. Those negotiations are presently in a delicate state, with discussions
Page: 470




                          ongoing and final deals not yet reached. For example, on May 8, President Trump and

                          United Kingdom (UK) Prime Minister Keir Starmer announced the general terms of an

                          agreement that will provide U.S. companies with more than US$5 billion in expanded
Document: 148




                          access to the UK market while bolstering United States national security. Similarly, on

                          May 12, President Trump reached an agreement with China to reduce retaliatory tariffs and

                          non-tariff barriers imposed after his April 2 Executive Order and set a path for future

                          discussions to open the Chinese market to more U.S. exports. In many other cases, the
Case: 25-1812




                          United States continues to negotiate agreements in principle to structure final deals.

                       10. These negotiations have been one of the country's top foreign policy priorities since the

                          tariffs were announced on April 2. Reflecting the urgency of the emergency, much of U.S.

                          global diplomacy in the last six weeks has been focused on these negotiations.

                       11. In each case, those ongoing, delicate negotiations are premised on the ability of the

                          President to impose tariffs under IEEP A. If the President is enjoined from exercising his




                                                                    3


                                                            - Appx467 -
                    Case 1:25-cv-00066-GSK-TMR-JAR               Document 53         Filed 05/23/25       Page 24 of 24




                            authority under IEEP A to impose tariffs to address these urgent threats, the premise of

                            these important negotiations will be eliminated.

                        12. A decision enjoining the President from imposing tariffs under IEEPA would create a

                            foreign policy disaster scenario.

                        13. If the Court disrupts U.S. trade policy imperatives by enjoining the President from
Filed: 07/20/2025




                            imposing tariffs, the United States' ability to address national and econo~ic security

                            matters would suffer serious damage.

                        14. If the Court were to enjoin the President from imposing tariffs, it will signal to our trading

                            partners that the President lacks power to promptly respond to future emergencies under
Page: 471




                            IEEP A, and they may feel emboldened to further distort the conditions of competition for

                            U.S. exporters.

                        15. It is critical to the national security of the United States for the Court to decline to enjoin
Document: 148




                           the President from exercising his power under IEEP A to impose tariffs in recognition of

                           the unusual and extraordinary threats at issue in this litigation.



                    I declare, under penalty of perjury, that the foregoing is true and correct.
Case: 25-1812




                    Executed on thi~ ·i'iay of May, 2025.




                         assador Jamieson Lee Greer
                    United States Trade Representative



                                                                      4


                                                                - Appx468 -
              Case: 25-1812       Document: 148        Page: 472     Filed: 07/20/2025



Case 1:25-cv-00077-GSK-TMR-JAR                Document 67        Filed 05/28/25      Page 1 of 3




             IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
BEFORE:         THE HONORABLE GARY S. KATZMANN, JUDGE
                THE HONORABLE TIMOTHY M. REIF, JUDGE
                THE HONORABLE JANE A. RESTANI, JUDGE
__________________________________________
                                             )
THE STATE OF OREGON, THE STATE OF            )
ARIZONA, THE STATE OF COLORADO,              )
THE STATE OF CONNECTICUT, THE                )
STATE OF DELAWARE, THE STATE OF              )
ILLINOIS, THE STATE OF MAINE, THE            )
STATE OF MINNESOTA, THE STATE OF             )
NEVADA, THE STATE OF NEW MEXICO,             )
THE STATE OF NEW YORK, and THE               )
STATE OF VERMONT,                            )
                                             )
                Plaintiffs,                  )   Court No. 25-00077
                                             )
                v.                           )
                                             )
DONALD J. TRUMP, in his capacity as          )
President of the United States;              )
DEPARTMENT OF HOMELAND                       )
SECURITY; KRISTI NOEM, in her official       )
capacity as Secretary of the Department of   )
Homeland Security; UNITED STATES             )
CUSTOMS AND BORDER PROTECTION;               )
PETER R. FLORES, in his official capacity as )
Acting Commissioner for U.S. Customs and     )
Border Protection; and THE UNITED            )
STATES,                                      )
                                             )
                Defendants.                  )
___________________________________________ )

                            DEFENDANTS’ NOTICE OF APPEAL

         Notice is hereby given that defendants appeal to the United States Court of Appeals for

the Federal Circuit from the Court’s opinion and final judgment of May 28, 2025. See ECF Nos.

65-66.




                                            - Appx469 -
        Case: 25-1812        Document: 148       Page: 473     Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR         Document 67           Filed 05/28/25     Page 2 of 3




DATED: May 28, 2025                              Respectfully submitted

OF COUNSEL:                                      YAAKOV M. ROTH
                                                 Acting Assistant Attorney General
ALEXANDER K. HAAS
Director                                         ERIC J. HAMILTON
                                                 Deputy Assistant Attorney General
STEPHEN M. ELLIOTT
Assistant Director                               PATRICIA M. McCARTHY
U.S. Department of Justice                       Director
Civil Division
Federal Programs Branch                          /s/ Claudia Burke
                                                 CLAUDIA BURKE
                                                 Deputy Director

                                                 /s/ Justin R. Miller
                                                 JUSTIN R. MILLER
                                                 Attorney-In-Charge
                                                 International Trade Field Office

                                                 /s/ Sosun Bae
                                                 SOSUN BAE
                                                 Senior Trial Counsel
                                                 LUKE MATHERS
                                                 CATHERINE M. YANG
                                                 BLAKE W. COWMAN
                                                 COLLIN T. MATHIAS
                                                 Trial Attorneys
                                                 U.S. Department of Justice
                                                 Civil Division
                                                 Commercial Litigation Branch
                                                 PO Box 480, Ben Franklin Station
                                                 Washington, DC 20044
                                                 (202) 305-7568
                                                 sosun.bae@usdoj.gov


                                                 Attorneys for Defendants




                                             2

                                    - Appx470 -
          Case: 25-1812        Document: 148       Page: 474       Filed: 07/20/2025

Case 1:25-cv-00077-GSK-TMR-JAR              Document 67       Filed 05/28/25    Page 3 of 3




                               CERTIFICATE OF SERVICE

       I hereby certify that, on May 28, 2025, I caused the foregoing “NOTICE OF APPEAL”

to be filed and served electronically via the Court’s CM/ECF system.


                                       /s/ Claudia Burke




                                               3

                                        - Appx471 -
            Case: 25-1812          Document: 148              Page: 475              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 72-1                    Filed 06/02/25        Page 1 of 10



                 IN THE UNITED STATES COURT OF INTERNATIONAL TRADE


    THE STATE OF OREGON, THE STATE OF                      Case No. 1:25-cv-00077-GSK-TMR-JAR
    ARIZONA, THE STATE OF COLORADO,
    THE STATE OF CONNECTICUT, THE                          THIRD DECLARATION OF BRIAN
    STATE OF DELAWARE, THE STATE OF                        SIMMONDS MARSHALL
    ILLINOIS, THE STATE OF MAINE, THE
    STATE OF MINNESOTA, THE STATE OF
    NEVADA, THE STATE OF NEW MEXICO,
    THE STATE OF NEW YORK, and THE
    STATE OF VERMONT,

                   Plaintiffs,

           v.
    DONALD J. TRUMP, in his capacity as
    President of the United States;
    DEPARTMENT OF HOMELAND
    SECURITY; KRISTI NOEM, in her official
    capacity as Secretary of the Department of
    Homeland Security; UNITED STATES
    CUSTOMS AND BORDER PROTECTION;
    PETER R. FLORES, in his official capacity as
    Acting Commissioner for U.S. Customs and
    Border Protection; and THE UNITED
    STATES,

                   Defendants.


           I, Brian Simmonds Marshall, declare under penalty of perjury as follows:
           1.      I am employed as an assistant attorney general with the Oregon Department of

    Justice. I represent the State of Oregon in this case. I previously executed two declarations in this

    case (ECF 14-3, ECF 32-2), which attached exhibits A–M to my declarations.
           2.      On May 29, 2025, before the U.S. Court of Appeals for the Federal Circuit issued

    its administrative stay of this Court’s decision, National Economic Council Director Kevin

    Hassett was interviewed on Mornings With Maria on Fox Business, a recording of which is

    available by video at https://youtu.be/Z5-laLH84oU?si=w07U730F3U9uChQi. The States will



Page 1 - THIRD DECLARATION OF BRIAN SIMMONDS MARSHALL – Oregon, et al. v.
         Trump, et al.

                                               Oregon Department of Justice
                                                  100 SW Market Street                               ATTACHMENT 1, Page 1 of 10
                                                   Portland, OR 97201                       to States' Response to Motion for a Stay
                                           (971) 673-1880 / Fax: (971) 673-5000         of Enforcement of Judgment Pending Appeal
                                                                                          US CIT No. 1:25-cv-00077-GSK-TMR-JAR
                                              - Appx472 -
            Case: 25-1812           Document: 148              Page: 476              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                 Document 72-1                    Filed 06/02/25        Page 2 of 10




    conventionally file a copy of this video on hard media and label the file Exhibit N to this

    declaration.

           3.       I personally reviewed Exhibit N and verify that this is an accurate transcription of

    2:56–6:29:
                 Q: Well, I mean, that’s the thing. I mean the International Emergency
                 Economic Powers Act of 1977 is what the courts are deeming to say, look,
                 this does not, this does not equate to an emergency under this Act of 1977.
                 I know that the lawyers for the Administration immediately appealed. But
                 what do you want to say about this, right now, strike down of these global
                 tariffs? What happens in the interim now, Kevin?

                 Kevin Hassett: Well, what’s going to happen is, first, we’re going to see
                 what happens on appeal, and we’re very confident in our success there,
                 because after all, hundreds and hundreds of thousands of Americans have
                 died because of mostly Chinese fentanyl and Chinese fentanyl coming in
                 from Mexico and Canada. And the idea that having more people die from
                 fentanyl than died in the Vietnam War, and that’s not an emergency—that
                 we need to use every power that we have to try to address—is ludicrous to
                 me. But the second thing is, the trade law is very complex, and this part of
                 the trade law is the thing that was most accurately used, very precisely
                 used, by USTR Trade Representative, Jamieson Greer, because this is the
                 one that where we actually have the most authority for doing what we’re
                 exactly doing. But there are three or four other ways to do it, and we don’t
                 have to go into the numbers right now. I think everybody will go back to
                 sleep, Maria. But the fact is that there are things that measures that we can
                 take with different numbers that we can start right now. There are different
                 approaches that would take a couple of months to put these in place and
                 using procedures that have been approved in the past or approved in the
                 last administration. But we’re not planning to pursue those right now
                 because we’re very, very confident that this really isn’t correct.

                 Q: Kevin, I guess the threat here is, what does this do to any negotiations
                 that are currently pending, right? I mean, you and Scott Bessent have been
                 saying that we’re going to see more deals happening. You’ve already
                 locked up a new deal with the U.K. You were talking about potentially
                 India being close. And, of course, the President has, has put the China 90-
                 day changes in place. Does this ruling from these judges put a crimp in
                 anything that you’re working on currently?

                 Kevin Hassett: No, it doesn’t at all. And you know, we’ll have to get
                 Jamieson out here, who’s the trade lawyer, to go through the play-by-play.

Page 2 - THIRD DECLARATION OF BRIAN SIMMONDS MARSHALL – Oregon, et al. v.
         Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street                               ATTACHMENT 1, Page 2 of 10
                                                    Portland, OR 97201                       to States' Response to Motion for a Stay
                                            (971) 673-1880 / Fax: (971) 673-5000         of Enforcement of Judgment Pending Appeal
                                                                                           US CIT No. 1:25-cv-00077-GSK-TMR-JAR
                                               - Appx473 -
            Case: 25-1812          Document: 148              Page: 477              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 72-1                    Filed 06/02/25        Page 3 of 10




               But if we put our eyes on the horizon, that what’s going to happen is that
               in a month or two, you’re going to look ahead and see that countries have
               opened their markets to American products, they’ve lowered their non-
               tariff barriers, they’ve lowered their tariffs, and all of the countries that
               have done that are being treated very respectfully and well by the U.S. The
               countries that don’t do that are going to see some form of reciprocal tariff
               that’s higher than what the people who are acting well get. And that’s
               what you’re going to see on the horizon. And if there are little hiccups
               here or there because of decisions that activist judges make, then it
               shouldn’t just concern you at all, and it’s certainly not going to affect the
               negotiations. Because, in the end, people know President Trump is 100%
               serious, and they also have seen that President Trump always wins.

               Q: So you, so you said that we’re going to see probably more deals—and
               Scott Bessent, the Treasury secretary, said the same thing—in the coming
               weeks. Do you still believe that?

               Kevin Hassett: Yes, I do. Yes, I do. And I saw last week at the end of the
               week three that were basically ready for the President’s decision. I don’t
               know if people have had that conversation with him yet. But yes, there are
               many, many deals coming and there were three that are basically look like
               they’re done.

    4.      On May 29, 2025, before the U.S. Court of Appeals for the Federal Circuit issued its

    administrative stay of this Court’s decision, White House Senior Counselor for Trade and

    Manufacturing Peter Navarro was interviewed on Bloomberg Television, a recording of which is
    available by video at https://youtu.be/8DnUddNeVTY?si=4WJyhZCwyarIReoG. The States will

    conventionally file a copy of this video on hard media and label the file Exhibit O to this

    declaration.

    5.      I personally reviewed Exhibit O to verify that this is an accurate transcription of 1:22–
    3:50:
               Peter Navarro: So we think we have a strong case. Yes, we will
               immediately appeal and try to stay the ruling. But, at the same time, the
               court, interestingly enough, basically said we were right, just use different
               rules and laws. So nothing has really changed here in that sense. We’re
               still, as we speak, having countries call us and tell us they want a deal. So
               these deals are going to happen. So that’s kind of where we’re at. And it’s
               troublesome here because if you look broadly at the pattern, we’ve got             I
Page 3 - THIRD DECLARATION OF BRIAN SIMMONDS MARSHALL – Oregon, et al. v.
         Trump, et al.

                                               Oregon Department of Justice
                                                  100 SW Market Street                               ATTACHMENT 1, Page 3 of 10
                                                   Portland, OR 97201                       to States' Response to Motion for a Stay
                                           (971) 673-1880 / Fax: (971) 673-5000         of Enforcement of Judgment Pending Appeal
                                                                                          US CIT No. 1:25-cv-00077-GSK-TMR-JAR
                                              - Appx474 -
            Case: 25-1812          Document: 148              Page: 478              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 72-1                    Filed 06/02/25        Page 4 of 10




               courts in this country who are basically engaged in attacks on the
               American people. The President ran on stopping the fentanyl poisoning,
               stopping international trade unfair practices from stealing our factories and
               jobs. And courts keep getting in the way of that. The courts get in the way
               of our trying to deal with the border issues. Now they’re getting in the way
               of our trying to deal with the fentanyl crisis. And that’s where we stand
               here. And I think, I think part of what’s going to be important about this
               ruling -- demonstrates yet again to the American people that the judiciary
               in this country has been weaponized in ways which are contrary to their
               interests.

               Q: Well, Peter, you would have heard a lot of people come on this
               program and ultimately say you still have tons of options and you’ve
               alluded to one of them.

               Peter Navarro: Yes.

               Q: You will, of course, appeal. But could you describe what you might do
               in the interim, the way you might pursue your ultimate objective any way
               with the tools you have still available to you?

               Peter Navarro: I’m going to let Jamieson Greer, the USTR, inform you
               on that and you’ll be hearing from him soon on that. But I mean look, any
               trade lawyer knows it’s just a number of different options we can take. If
               you look at the kind of things we’ve already done, it kind of give you a
               roadmap on that. There’s all sorts of numbers out there. There’s 122,
               there’s 301, there’s 232, there’s 338. There’s all sorts of things we can do
               well within the law. But look, we think that what we’ve done already is is
               perfectly appropriate. So that’s why the appeal will take case. …

    6.      I personally reviewed Exhibit O to verify that this is an accurate transcription of 7:10–
    9:08:
               Q: But if the court said, if the ruling said, Peter, and we’ve been talking
               about this page 34, 35, they say basically you are in your right if you use
               Section 122. Why didn’t you guys do that from the beginning?

               Peter Navarro: Well, Section 122 only gives you 150 days. So there’s
               your answer right there.

               Q: (interrupting) So are Section 122, if you use this now for 150 days
               (crosstalk), could it be a bridge to 301 or a bridge to 232? What are you
               thinking more long term?



Page 4 - THIRD DECLARATION OF BRIAN SIMMONDS MARSHALL – Oregon, et al. v.
         Trump, et al.

                                               Oregon Department of Justice
                                                  100 SW Market Street                               ATTACHMENT 1, Page 4 of 10
                                                   Portland, OR 97201                       to States' Response to Motion for a Stay
                                           (971) 673-1880 / Fax: (971) 673-5000         of Enforcement of Judgment Pending Appeal
                                                                                          US CIT No. 1:25-cv-00077-GSK-TMR-JAR
                                              - Appx475 -
            Case: 25-1812          Document: 148              Page: 479              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 72-1                    Filed 06/02/25        Page 5 of 10




               Peter Navarro: You can be the strategist on that, but those are the kinds
               of thoughts. And look, look, if anybody thinks this caught the
               administration by surprise, think again. Okay. Because you could see in
               the oral arguments where those judges were going and that the lead judge
               in this. I mean, the problem with that court, it’s so such an obscure court,
               but it’s consistently been globalist, pro-importer, giving us bad rulings.
               The lead judge there ruled against the 232s originally and had to get
               overturned by the appeals court. So that gives you an idea of the, the bias
               against the President’s tariff policy right on that court. But I think the big
               picture here is we’ve got a very strong case with IEEPA, but the court
               basically tells us if we lose that we just do some other thing. So nothing’s
               really changed. I want to say this to the world. You’re cheating us. We’re
               coming after you. Deal. And let’s make this right. Because ultimately
               what’s at stake here is the global international environment -- getting it in
               a way where it’s fair to America and thereby if it’s fair to America and we
               structure this thing in a way we’ll have just more stability in terms of
               financial flows and capital and everything like that.

               Q: (interrupting) Dr. Navarro.

               Peter Navarro: It’s wildly out of balance now.

    7.      On May 29, 2025, after the U.S. Court of Appeals for the Federal Circuit issued its
    administrative stay of this Court’s decision, Mr. Navarro spoke to reporters outside at the White
    House, a recording of which is available by video at

    https://www.youtube.com/watch?v=JnFplVEpGkI. The States will conventionally file a copy of
    this video on hard media and label the file Exhibit P to this declaration.

    8.      I personally reviewed Exhibit P to verify that this is an accurate transcription of 7:03–

    8:39:

               Q: Thank you so much, Peter. And just given this appeals court
               temporarily reinstating the tariffs, what does that mean for you and your
               position? And does it buy the administration more time in your view?

               Peter Navarro: “Me and my?” You’re not talking about me personally,
               you’re talking about the Administration?

               Q: The Administration, of course.



Page 5 - THIRD DECLARATION OF BRIAN SIMMONDS MARSHALL – Oregon, et al. v.
         Trump, et al.

                                               Oregon Department of Justice
                                                  100 SW Market Street                               ATTACHMENT 1, Page 5 of 10
                                                   Portland, OR 97201                       to States' Response to Motion for a Stay
                                           (971) 673-1880 / Fax: (971) 673-5000         of Enforcement of Judgment Pending Appeal
                                                                                          US CIT No. 1:25-cv-00077-GSK-TMR-JAR
                                              - Appx476 -
            Case: 25-1812          Document: 148              Page: 480              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 72-1                    Filed 06/02/25        Page 6 of 10




               Peter Navarro: So, look, the the tariff the tariffs remain in place. The
               court told us—they didn’t all but tell us—they they told us go do it another
               way. So you can assume that even if we lose we will do it another way.
               And I can assure the American people that the Trump tariff agenda is
               alive, well, healthy and will be implemented to protect you, to save your
               jobs and your factories, and to stop shipping foreign wealth -- our wealth
               into foreign hands.

               Q: You are working on a plan B right now?

               Peter Navarro: Of course, there’s no plan B. It’s plan A. Okay. Plan A
               encompasses all strategic options. And when we move forward, we had a
               full view of what the battlefield looks like. We, we are not naive about
               rogue justices in the judiciary and Democrats filing lawsuits. This has got
               to stop, by the way. This, this, this weaponization of the judiciary to stop
               the Trump, President Trump from doing what he promised the American
               people. This has got to stop. It’s, the people of America have the lowest
               level of of confidence in the American judiciary they’ve had in a hundred
               years. And, and it’s getting close to what they think about Congress and
               that’s a low bar to hit.

    9.      I personally reviewed Exhibit P to verify that this is an accurate transcription of 8:59–

    9:49:

               Q: Peter, I want to ask you what do the conversations look like right now
               with other countries as you’re seeing the courts pushing back here in the
               United States?

               Peter Navarro: Well, great question. In fact, that is the question in many
               ways. This morning, we were getting plenty of phone calls from countries
               saying, “We saw the ruling. So, what? We’re going to continue to
               negotiate in good faith because we understand that there’s a problem. And
               based on that court decision, we understand that that court decision is not
               going to stop you from doing what you need to do. So, we’re going to
               work with you.” So, I can assure you—and by the way there’s going to be
               within the next I don’t know say few days because that puts me too much
               on the spot—but you will see a cascade of new deals coming out in the
               near future and these will all be good for the American people.

    10.     On May 30, 2025, the U.S. Trade Representative, Ambassador Jamieson Greer, appeared
    on CNBC, a recording of which is available by video at


Page 6 - THIRD DECLARATION OF BRIAN SIMMONDS MARSHALL – Oregon, et al. v.
         Trump, et al.

                                               Oregon Department of Justice
                                                  100 SW Market Street                               ATTACHMENT 1, Page 6 of 10
                                                   Portland, OR 97201                       to States' Response to Motion for a Stay
                                           (971) 673-1880 / Fax: (971) 673-5000         of Enforcement of Judgment Pending Appeal
                                                                                          US CIT No. 1:25-cv-00077-GSK-TMR-JAR
                                              - Appx477 -
            Case: 25-1812          Document: 148              Page: 481              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                Document 72-1                    Filed 06/02/25        Page 7 of 10




    https://www.youtube.com/watch?v=M_crUiRBDb8. The States will conventionally file a copy

    of this video on hard media and label the file Exhibit Q to this declaration.

    11.     I personally reviewed Exhibit Q to verify that this is an accurate transcription of 0:17–

    2:25:

               Q: I guess we’ll start with with some of your comments about that -- the
               rulings yesterday and the prospects for what is likely to happen. I know
               there’s a lot of things that are being discussed right now. Do you think if
               you were to get emergency relief from the Supreme Court, do you think
               they’d come down on on the president’s side? Do you think you have a
               strong case, or will it stand the way it is right now?

               Ambassador Greer: Well, I think we have a very strong case. Congress
               clearly delegated to the President the ability to take action when there’s a
               national emergency. We’ve declared a national emergency. We’ve taken
               action. We have a stay from the circuit court right now. All the other
               countries I’m dealing with in negotiations are treating this as just kind of a
               bump in the road rather than any fundamental change. So, I feel pretty
               confident about the case. And if the case, you know, goes the other way,
               we have other tools as well.

               Q: Yeah, I was -- I’ve expressed that sentiment earlier that you don’t
               know what you’ve got until it’s gone. I, you know, as a pure conservative
               and a markets-type guy, tariffs, I think they can be effective. But there’s
               times when you kind of wish that we would just maybe not be doing as
               many. But then we’ve we’ve come along so far, Mr. Ambassador, that to
               pull the rug out from the negotiating ability by making all these countries
               we’re negotiating with think that the tariffs might not stick, that’s
               frustrating. But you’re telling me, again, that none of those countries
               expressed any -- they weren’t saying, all right, we’re going to pull out of
               these negotiations because we don’t need to anymore?

               Ambassador Greer: It’s actually the opposite. You know, when I woke
               up, you know, the morning after the initial ruling—before we had the
               stay—you know, I had emails and texts from foreign officials saying, you
               know, we’re just going to keep negotiating with you as before. You know,
               we understand these are, you know, this is litigation. Things go up and
               down. We understand the U.S. policy going forward. And we’re
               negotiating with you as before. So that’s what’s happening.




Page 7 - THIRD DECLARATION OF BRIAN SIMMONDS MARSHALL – Oregon, et al. v.
         Trump, et al.

                                               Oregon Department of Justice
                                                  100 SW Market Street                               ATTACHMENT 1, Page 7 of 10
                                                   Portland, OR 97201                       to States' Response to Motion for a Stay
                                           (971) 673-1880 / Fax: (971) 673-5000         of Enforcement of Judgment Pending Appeal
                                                                                          US CIT No. 1:25-cv-00077-GSK-TMR-JAR
                                              - Appx478 -
            Case: 25-1812           Document: 148              Page: 482              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR                 Document 72-1                    Filed 06/02/25        Page 8 of 10




    12.    On June 1, 2025, Secretary of Commerce Howard Lutnick was interviewed on Fox News

    Sunday, a recording of which is available by video at

    https://youtu.be/t0UtSmEWhbw?si=YvCa5tGe3iGkyoD2. The States will conventionally file a

    copy of this video on hard media and label the file Exhibit R to this declaration.
    13.    I personally reviewed Exhibit R to verify that this is an accurate transcription of the

    interview:

                 Q: And now back to the uncertain future of President Trump’s vast tariffs,
                 and what’s next after a flurry of court rulings. Joining me now, Commerce
                 Secretary Howard Lutnick, welcome back to the show.

                 Secretary Lutnick: Great to be back.

                 Q: Okay, so we want to start here with the Court of International Trade.
                 This is a decision that went against the President days ago. They said,
                 “Because of the Constitution’s express allocation of the tariff power to
                 Congress … an unlimited delegation of tariff authority [to the President]
                 would constitute an improper abdication of legislative power to another
                 branch of government.” Just to boil that down, they said he can’t do it, but
                 that decision is on hold for now. What is the backup plan?

                 Secretary Lutnick: Well, think about how silly that is, right? So,
                 Congress gives the President, under this IEEPA authority, the ability to
                 take on other countries who are creating a national emergency, and the
                 $1.2 trillion trade deficit and all the underlying implications of that is a
                 national emergency. It’s gutting our manufacturing base. The President
                 takes that on, and Congress lets him do it—specifically, does not vote to
                 take it away, calls a vote and says he can keep it. So, what’s going to
                 happen is we’re going to take that up to higher courts. The President’s
                 going to win, like he always does. But rest assured, tariffs are not going
                 away. He has so many other authorities that even in the weird and unusual
                 circumstance where this was taken away, we just bring on another or
                 another or another. Congress has given this authority to the President, and
                 he’s going to use it.

                 Q: Okay. So you know that these two federal courts have so far said the
                 use of that law as emergency power is not proper, it is on appeal. So we’ll
                 see what they—potentially Supreme Court—has to say about it. But in the
                 meantime, it sparks this question about whether, if other countries think
                 that our court system is potentially going to shut down these bigger, more

Page 8 - THIRD DECLARATION OF BRIAN SIMMONDS MARSHALL – Oregon, et al. v.
         Trump, et al.

                                                Oregon Department of Justice
                                                   100 SW Market Street                               ATTACHMENT 1, Page 8 of 10
                                                    Portland, OR 97201                       to States' Response to Motion for a Stay
                                            (971) 673-1880 / Fax: (971) 673-5000         of Enforcement of Judgment Pending Appeal
                                                                                           US CIT No. 1:25-cv-00077-GSK-TMR-JAR
                                               - Appx479 -
          Case: 25-1812         Document: 148              Page: 483              Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR             Document 72-1                    Filed 06/02/25        Page 9 of 10




            sweeping tariffs, you’re losing some kind of advantage in negotiations.
            Reuters quotes an E.U. official saying this. Quote, the uncertainty as to the
            legality of the reciprocal tariffs certainly gives us meaning them extra
            leverage. Here is how Jonathan Turley put it.

                   Jonathan Turley: Trump has been saying, you know,
                   using these tariffs like a gun to the head of these other
                   countries, and the court just removed the bullets.

            Q: So, have you lost leverage? And where are we on the talks with the
            EU?

            Secretary Lutnick: All right, so the President said he was going to put a
            50% tariff on the EU, and as I said, not only does he have this authority
            under IEEPA, but he has many, many other authorities. The European
            Union sent in—after this—their first offer. So they are at the table. They
            are negotiating. You can’t listen to silly people making silly comments.
            All of the countries that are negotiating with us understand the power of
            Donald Trump and his ability to protect the American worker. And so
            what they’re doing is they’re negotiating with us. I think it cost us a
            week—maybe cost us a week—but then everybody came right back to the
            table. Everybody is talking to us. You’re going to see over the next couple
            of weeks, really first-class deals for the American worker, opening their
            markets and setting on tariffs to make sure that we are treated fairly
            around the world.

            Q: Well, I know you and Secretary Bessent are talking to a lot of these
            countries trying to get those deals across the finish line. He has said talks
            with China are stalled. What’s the latest?

            Secretary Lutnick: Well, I think, what happened is Secretary Bessent and
            Ambassador Greer went to Geneva, they made a deal with the Chinese.
            And really the right way to say it is they’re just slow rolling the deal. So, I
            think slow rolling is the right way to say it, and I think Donald Trump is
            on it. We are taking certain actions to show them what it feels like on the
            other side of that equation. But my view is Donald Trump and President
            Xi—you know, our President understands what to do. He’s going to go
            work it out and, and I am confident that this is going to work out either
            way. The President understands the power of our economy. He said it over
            and over again: we are the consumer of the world. We are the consumer of
            Chinese goods. If we don’t open our markets to them, their economy is in
            really, really tough shape. So I think -- I love having all of this power in
            the President’s hands. He knows how to wield it correctly for the benefit
            of the American worker.


Page 9 - THIRD DECLARATION OF BRIAN SIMMONDS MARSHALL – Oregon, et al. v.
         Trump, et al.

                                            Oregon Department of Justice
                                               100 SW Market Street                               ATTACHMENT 1, Page 9 of 10
                                                Portland, OR 97201                       to States' Response to Motion for a Stay
                                        (971) 673-1880 / Fax: (971) 673-5000         of Enforcement of Judgment Pending Appeal
                                                                                       US CIT No. 1:25-cv-00077-GSK-TMR-JAR
                                           - Appx480 -
          Case: 25-1812          Document: 148               Page: 484           Filed: 07/20/2025

   Case 1:25-cv-00077-GSK-TMR-JAR              Document 72-1                 Filed 06/02/25        Page 10 of 10




             Q: Okay, quickly, because we got to go, the 90-day pause on the major
             tariffs is due to expire at the beginning of July. You get a lot of deals to
             get done. Will the President extend that pause?

             Secretary Lutnick: I think we’re going to get a lot, a lot of deals done. I
             think they’re all being set up. We could sign lots of deals now, but I think
             we’re trying to make them better and better and better. And, as the
             President said, or he’ll just set rates and he’ll set the terms of the deal. So I
             don’t see today that an extension is coming. In fact, I think that’s the
             deadline and the President’s just going to determine what rates people
             have. If they can’t get a deal done, President Trump is going to determine
             what deal there’s going to be.

             Q: Okay, Secretary Lutnick, great to see you. Thanks for your time.

             Secretary Lutnick: Great to be here.

          I declare under penalty of perjury that the foregoing is true and correct.

          EXECUTED on June 2, 2025, in Portland, Oregon.


                                                        s/ Brian Simmonds Marshall
                                                        BRIAN SIMMONDS MARSHALL
                                                        Senior Assistant Attorney General




Page 10 - THIRD DECLARATION OF BRIAN SIMMONDS MARSHALL – Oregon, et al. v.
          Trump, et al.

                                              Oregon Department of Justice
                                                 100 SW Market Street                           ATTACHMENT 1, Page 10 of 10
                                                  Portland, OR 97201                    to States' Response to Motion for a Stay
                                          (971) 673-1880 / Fax: (971) 673-5000      of Enforcement of Judgment Pending Appeal
                                                                                      US CIT No. 1:25-cv-00077-GSK-TMR-JAR
                                             - Appx481 -
